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                                                                                                    FILED
                                                                                                  US DISTRICT COURT
                        IN THE UNITED STATES DISTRICT COURT                                     STERN DISIRICT ARKANSAS
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION                                                  FEB 0 3 2016

                                                                                     ~~:M~~CLERK
                                               )                                                                   DEPCLERK
ROBIN HALL                                     )
                                               )
                Plaintiff,                     )
                                               )
                v.                             )        Case No.:    ~f \\J C\J 0 ~61- ~&B
                                               )
ARKANSAS BLUE CROSS AND                        )
BLUE SHIELD, a Mutual Insurance                )       This case assigned to District Judge
Company                                        )       and to Magistrate Judge_\\:;..;:;~;;...;04'-"-.....
                                                                                                      ·&._______
                                               )
                Defendant.                     )
~~~~~~~~~~~~~~-                                )

                                    NOTICE OF REMOVAL

       Defendant USAble Mutual Insurance Company, d/b/a Arkansas Blue Cross and Blue

Shield ("BCBS-AR") respectfully removes this action to the United States District Court for the

Eastern District of Arkansas, and states as follows:

       1.     Plaintiff Robin Hall ("Plaintiff') filed a "Petition for Declaratory Judgment" against

BCBS-AR in the Circuit Court of Faulkner County, Arkansas, Case No. 23CV-2016-12 (the

"Petition" or "Pet."). BCBS-AR was purportedly served with the Complaint and a summons on

January 8, 2016. Pursuant to 28 U.S.C. § 1446(a), BCBS-AR has attached copies of all process,

pleadings, or orders purportedly served on it at Exhibit A to this Notice of Removal.

       2.     BCBS-AR files this removal notice within the 30-day period required in 28 U.S.C

§ 1446(b).

       3.     BCBS-AR removes this case pursuant to 28 U.S.C. § 1442(a)(l), which permits

removal where a person acting under the direction of a federal agency and its officers is sued for

actions taken under color of federal office. In addition, BCBS-AR removes this case pursuant to
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28 U.S.C. § 1441 as an action over which this Court has federal question jurisdiction under 28

U.S.C. § 1331 because Plaintiffs claims turn on the construction of federal government contracts

and federal common law.

                                       NATURE OF THE CASE

        4.      At all times relevant to this case, Plaintiff was enrolled in the Blue Cross and Blue

Shield Service Benefit Plan (or "the Plan"), one of the federal government's health benefits plans

for federal employees and their dependents. Declaration of Joel        Stafford,~   3 (Ex. B). The Plan

was created by a federal government contract between the United States Office of Personnel

Management ("OPM") and the Blue Cross and Blue Shield Association ("BCBSA") pursuant to

the Federal Employees Health Benefits Act ("FEHBA"), 5 U.S.C. §§ 8901-14. See generally

2008 Service Benefit Plan Master Contract (Ex. C) [hereinafter "2008 Master Contract"]; 2013

Service Benefit Plan Master Contract (Ex. D) [hereinafter "2013 Master Contract"]; see also

2011 Statement of Benefits for the Service Benefit Plan at 3 (Ex. E) [hereinafter "2011 Statement

of Benefits"]; 2012 Statement of Benefits for the Service Benefit Plan at 3 (Ex. F) [hereinafter

"2012 Statement of Benefits"]; 2013 Statement of Benefits for the Service Benefit Plan at 4 (Ex.

G) [hereinafter "2013 Statement of Benefits"]; 2014 Statement of Benefits for the Service

Benefit Plan at 5 (Ex. H) [hereinafter "2014 Statement of Benefits"]; 2015 Statement of Benefits

for the Service Benefit Plan at 5 (Ex. I) [hereinafter "2015 Statement of Benefits"]; 2016

Statement of Benefits for the Service Benefit Plan at 5 (Ex. J) [hereinafter "2016 Statement of

Benefits"]. 1




I The 2008 Master Contract and the 2013 Master Contract (along with annual amendments thereto) were
the operative contracts governing the Service Benefit Plan since 2011 - the year Plaintiff was injured in a
car accident. The 2011, 2012, 2014, 2015, and 2016 annual amendments are attached hereto as Exhibits
K though 0. The 2011through2016 Statements of Benefits, which are incorporated into the relevant
                                                                      (footnote continued on next page)


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        5.     In contracting to establish the Plan, BCBSA acts on behalf of local Blue Cross and

Blue Shield companies that administer the Plan in their respective localities; BCBS-AR is such a

company and administers the Plan in Arkansas. See 2011 Statement of Benefits at 3; 2012

Statement of Benefits at 3; 2013 Statement of Benefits at 4; 2014 Statement of Benefits at 5;

2015 Statement of Benefits at 5; 2016 Statement of Benefits at 5.

        6.     In 2011, Plaintiff was injured in a car accident and sustained injuries (the "Injuries")

for which she received medical treatment. Pet. ,-r,-r 6-7, 9. The Plan "paid certain medical

expenses on Plaintiff's behalf'' in connection those Injuries. Id. ,-r 9.

        7.     Plaintiff claimed that her Injuries were caused by the negligent acts of a third-party

tortfeasor. Id. ,-r 8. Plaintiff made recovery from the tortfeasor in connection with the accident

that caused the Injuries. Id.

        8.     The Plan's Statement of Benefits states expressly that the Plan shall have a right to

reimbursement from an enrollee for benefits paid to that enrollee, in the event the enrollee

recovers for a condition or injury from a third party and the Plan had paid benefits in association

with that condition or injury. 2011 Statement of Benefits at 135-36; 2012 Statement of Benefits

at 125-26; 2013 Statement of Benefits at 135-36; 2014 Statement of Benefits at 133-34; 2015

Statement of Benefits at 137-38; 2016 Statement of Benefits at 136-37. Pursuant to this

provision, BCBS-AR asserted, on the Plan's behalf, a lien on Plaintiff's settlement funds. Pet.

,-r9.

        9.     However, Plaintiff contends that she was not "made whole" by her recovery from

the tortfeasor and thus, under Arkansas state law, she is not obligated to reimburse the Plan for

(footnote continued from previous page)
Master Contract or annual amendment, were the applicable plan brochures distributed to Plan enrollees
(like Plaintiff) during those years.




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any amounts. Id.        ~~   10-11. On this theory, Plaintiff seeks a declaration that the Plan "holds no

subrogation interest" in her recovery from the tortfeasor. Id.        ~   11.

            10. The Plan's express terms, however, require that all of the benefits that the Plan paid

in connection with the Injuries be reimbursed to the Plan. Specifically, those terms state that the

Plan is entitled to "[a]ll recoveries" and do not allow for any amount to be paid to the emollee

unless the Plan has recovered all of the benefits it paid (or the Plan's carrier consents in writing,

which has not occurred here). E.g., 2011 Statement of Benefits at 135; 2012 Statement of

Benefits at 125; 2015 Statement of Benefits at 137. Moreover, the Plan specifically states that

the Plan is "entitled under [its] right of recovery to be reimbursed for [its] benefit payments even

if you [the emollee] are not 'made whole' for all of your damages in the recoveries you receive."

E.g., id.

        11. Accordingly, under the Plan's express terms as agreed to with OPM, the Plan is

entitled to recover from Plaintiff the entire amount of benefits that it paid in connection with the

Injuries, regardless of whether Plaintiff was "made whole" by her recovery with the tortfeasor.

                        CONTRACTUAL AND REGULATORY BACKGROUND

        12. FEHBA and the regulations implementing it set forth a comprehensive framework

for the supervision and administration of FEHBA plans, including the Service Benefit Plan.

                   a.         Under FEHBA, OPM is vested with sole authority to contract for the

provision of health plans, to determine the benefit structure of each plan, and to promulgate the

official description of a plan's terms in a Statement of Benefits. See 5 U.S.C. §§ 8902(a), (d),

8907. The Statement of Benefits is incorporated into the government contract between OPM and

BCBSA. See 2008 Master Contract§ 2.2(a); 2013 Master Contract§ 2.2(a).




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                b.     OPM's regulations require that "[a]ll health benefit plan contracts shall

provide that the Federal Employees Health Benefits (FEHB) carrier is entitled to pursue

subrogation and reimbursement recoveries." 5 C.F.R. § 890.106(a); see also id.§ 890.106(c),

(g). OPM's regulations define "[r]eimbursement" as "a carrier's pursuit of a recovery if a

covered individual has suffered an illness or injury and has received, in connection with that

illness or injury, a payment from any party that may be liable, any applicable insurance policy, or

a workers' compensation program or insurance policy, and the terms of the carrier's health

benefits plan require the covered individual, as a result of such payment, to reimburse the carrier

out of the payment to the extent of the benefits initially paid or provided." Id.§ 890.lOl(a).

OPM' s regulations state that any "reimbursement recovery on the part of a FEHB carrier shall be

effectuated against the recovery first (before any of the rights of any other parties are

effectuated) and is not impacted by how the judgment, settlement, or other recovery is

characterized, designated, or apportioned." Id.§ 890.106(e).

               c.      The Statement of Benefits for the Plan (which, again, is part of the

FEHBA contract between OPM and BCBSA) states expressly that the Plan shall have a right to

reimbursement from an enrollee for benefits paid to that enrollee, in the event the enrollee

recovers for a condition or injury from a third party and the Plan had paid benefits in association

with that condition or injury. 2011 Statement of Benefits at 135-36; 2012 Statement of Benefits

at 125-26; 2013 Statement of Benefits at 135-36; 2014 Statement of Benefits at 133-34; 2015

Statement of Benefits at 137-38; 2016 Statement of Benefits at 136-37. As noted above, the

Statement of Benefits does not allow for an elimination or reduction in the Plan's right of

recovery because the enrollee has not been "made whole," nor does it allow the enrollee to keep




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any settlement proceeds unless and until the Plan has recovered all of the benefits it paid in

connection with the injuries at issue. Id.

               d.      In addition, the federal contract between OPM and BCBSA provides:

       The Carrier's subrogation rights, procedures and policies, including recovery
       rights, shall be in accordance with the provisions of the agreed upon brochure text
       [i.e., the Statement of Benefits], which is incorporated in this Contract in
       Appendix A. As the member is obligated by Section 2.3(a) to comply with the
       terms of this Contract, the Carrier, in its discretion, shall have the right to file suit
       in federal court in order to enforce those rights.

2008 Master Contract § 2.5(a); see also 2013 Master Contract § 2.5(a).

               e.      The OPM-BCBSA contract also requires the carrier to make "a reasonable

effort to seek recovery of amounts to which it is entitled to recover in cases which are brought to

its attention." 2008 Master Contract§ 2.5(c) (as amended by§ 4.10)); 2013 Master Contract§

2.5(c) (as amended by§ 4.l(m)); see also Empire HealthChoice Assurance, Inc. v. McVeigh, 547

U.S. 677, 685 (2006) (quoting contractual language).

               f.      Benefits paid under the Plan come from a special fund in the U.S.

Treasury. See 5 U.S.C. § 8909(a); 48 C.F.R. §§ 1632.l 70(b), 1652.216-71(b). All

reimbursement and subrogation recoveries under the Plan must be returned to that fund in the

federal Treasury (net of the expenses in obtaining the recoveries). 48 C.F.R. §§ 31.201-5,

1631.201-70(a) & (g), 1652.216-71(b)(2)(i); see also McVeigh, 547 U.S. at 685 ("Pursuant to the

OPM-BCBSA master contract, reimbursements obtained by the carrier must be returned to the

Treasury Fund."); 2008 Master Contract§ 2.5(b); 2013 Master Contract§ 2.5(b).

               g.      Congress intended federal employees in every state to be treated

consistently under FEHBA plans. For example, FEHBA includes a preemption provision. 5

U.S.C. § 8902(m)(l) (2000 Supp.) (as amended by the Federal Employees Health Care

Protection Act of 1998, Pub. L. No. 105-266, § 3(c), 112 Stat. 2363, 2366). With this



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preemption provision, Congress sought to "strengthen the ability of national plans to offer

uniform benefits and rates to enrollees regardless of where they may live." H.R. Rep. No. 105-

374, at 9 (1997); accord S. Rep. No. 95-903, at 2 (1978) (legislative history of FEHBA's original

preemption provision); see also McVeigh, 547 U.S. at 686. lbis policy of nation-wide

consistency also applies to subrogation and is embodied in the contract between OPM and BCBSA:

"Effective January 1, 1997, all Participating Plans shall subrogate under a single, nation-wide policy

to ensure equitable and consistent treatment for all Members under the contract." 2008 Master

Contract§ 2.5(f) (as amended by§ 4.lG)); 2013 Master Contract§ 2.5(f) (as amended by

§ 4.l(m)). In part because Congress intended enrollees in a FEHBA plan to be treated the same

regardless of the state in which they live, OPM's regulations expressly state that FEHBA's

preemption provision preempts state laws that limit or prohibit reimbursement or subrogation.

See 80 Fed. Reg. 931, 932 (Jan. 7, 2015); 80 Fed. Reg. 29203, 29203 (May 21, 2015); 5 C.F.R.

§ 890.106(h). Reimbursement "rights and responsibilities are therefore effective notwithstanding

any state or local law, or any regulation issued thereunder, which relates to health insurance or

plans." 5 C.F.R. § 890.106(h).

                                  GROUNDS FOR REMOVAL

        13. This case is removable for two independent reasons. First, this case is removable

under the Federal Officer Removal Statute, 28 U.S.C. § 1442(a)(l), which authorizes removal of

an action against "any officer (or person acting under that officer) of the United States or of any

agency thereof, in an official or individual capacity, for or relating to any act under color of such

office." 28 U.S.C. § 1442(a)(l). Second, this case is removable pursuant to 28 U.S.C. § 1441

because there is federal question jurisdiction in this Court.




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                       Removal Under the Federal Officer Removal Statute

        14. In other recent cases involving the Plan, the Eighth Circuit and a district court within

the Circuit confirmed that FEHBA reimbursement disputes just like the one in this case are

removable by the Plan's administrators under the Federal Officer Removal Statute. See Jacks v.

Meridian Res. Co., 701 F.3d 1224 (8th Cir. 2012); Bell v. Blue Cross & Blue Shield of Okla., No.

5:14-CV-05046, 2014 U.S. Dist. LEXIS 155723 (W.D. Ark. Nov. 3, 2014).2

        15. As pertinent to 28 U.S.C. § 1442(a)(l), a private defendant is deemed to be sued for

actions under the direction of a federal agency and federal officers where, as is the case with

BCBS-AR's administration of the Service Benefit Plan here, it is administering the terms of a

federal government contract or federal program under the direct and detailed supervision of a

federal agency. Government contractors may remove a case pursuant to the Federal Officer

Removal Statute where "the acts for which they are being sued ... occurred because of what

they were asked to do by the Government," even ifthe acts were not "specifically contemplated

by the government contract." Isaacson v. Dow Chem. Co., 517 F.3d 129, 137, 138 (2d Cir.



2 See also Omega Hosp., L.L.C. v. La. Health Serv. & Indem. Co., 592 F. App'x (5th Cir. 2014) (removal
by FEHBA plan administrator under section 1442(a)(l) was objectively reasonable); Anesthesiology
Assocs. of Tallahassee, Fla., P.A. v. Blue Cross & Blue Shield ofFla., Inc., No. 03-15664, slip op. at 3-5
(11th Cir. Mar. 18, 2005) (holding that Blue Cross Blue Shield entity administering FEHBA plan
properly invoked section 1442(a)(l) to remove claim) (Ex. P); Goncalves v. Rady Children's Hosp. San
Diego, 65 F. Supp. 3d 985, 989-91 (S.D. Cal. 2014) (holding that FEHBA reimbursement disputes are
removable under Federal Officer Removal Statute, except in limited situation where case involves certain
state probate court proceedings); Ala. Dental Ass 'n, v. Blue Cross & Blue Shield ofAla., Inc., No. 2:05-
cv-01230-MEF, 2007 U.S. Dist. LEXIS 685, at *21-25 (M.D. Ala. Jan. 3, 2007); accord Peterson v. Blue
Cross/Blue Shield of Tex., 508 F.2d 55, 56-57 (5th Cir. 1975) (holding that Blue Cross Blue Shield
entities administering Medicare plan properly removed claim brought by provider, pursuant to section
1442(a)(l)); Group Health, Inc. v. Blue Cross Ass 'n, 587 F. Supp. 887, 891 (S.D.N.Y. 1984)(same);
Thompson v. Cmty. Ins. Co., No. C-3-98-323, 1999 U.S. Dist. LEXIS 21725, at *6-28 (S.D. Ohio Mar. 3,
1999) (holding that HMO administering Medicare plan properly removed case pursuant to section
1442(a)(l)); Holton v. Blue Cross & Blue Shield ofS.C., 56 F. Supp. 2d 1347, 1351-52 (M.D. Ala. 1999)
(holding that Blue Cross Blue Shield entity administering health benefits plan for dependents of military
retirees properly removed case pursuant to section 1442(a)(l)).




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2008). Here, BCBS-AR (and other local Blue Cross and Blue Shield companies) "help the

government fulfill the basic task of establishing a health benefits program for federal employees.

OPM has direct and extensive control over these benefit contracts under the FEHBA." Jacks,

701 F.3d at 1233. "[B]roadly speaking, the subrogation provision [in the OPM-BCBSA

contract] is necessarily a product of the benefit payment process, a process over which OPM

exerts regulatory control." Id. For these reasons, among others, the Eighth Circuit concluded

that in making efforts to obtain reimbursement, a local Blue Cross and Blue Shield company was

"acting under" an agency of the United States within the meaning of28 U.S.C. § 1442(a)(l).

Jacks, 701 F.3d at 1230-35. This case is no different.

        16. In addition, Plaintiff sues BCBS-AR expressly because of actions taken in the

course of administering the Plan - specifically, in paying benefits and seeking reimbursement

following Plaintiffs recovery from a third party. As noted above, BCBS-AR's actions in

seeking reimbursement are mandated by OPM in the Service Benefit Plan's Statement of

Benefits and the terms of the pertinent government contract. On this basis, Plaintiffs Petition is

causally connected to BCBS-AR's actions under the direction of a federal agency and its

officers. See id at 1230 n.3 (finding the requisite causal connection).

       17. Also consistent with the requirements of28 U.S.C. § 1442(a)(l), there are colorable

federal defenses to Plaintiffs assertion that the Plan's reimbursement rights are invalid.

               a.      First, Plaintiff's claims are preempted by FEHBA's express preemption

provision, 5 U.S.C. § 8902(m)(l), which provides that the terms ofFEHBA contracts concerning

benefits and benefits payments shall supersede state law. See Nesseim v. Mail Handlers Benefit

Plan, 995 F.2d 804, 806 (8th Cir. 1993) (finding that "section 8902(m)(l) mandates that once the

OPM enters into a benefits contract, that contract has the preemptive force of federal law.").




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Essentially every federal court to have decided the issue has held that FEHBA preempts state

laws limiting or prohibiting subrogation or reimbursement. See Helfrich v. Blue Cross & Blue

Shield Ass'n, 804 F.3d 1090, 1104-10 (10th Cir. 2015); Shields v. Gov't Emps. Hosp. Ass'n, 450

F.3d 643, 648 (6th Cir. 2006); Bell, 2014 U.S. Dist. LEXIS 155723, at *11-21; Calingo v.

Meridian Res. Co., No. 11 CV 628, 2013 U.S. Dist. LEXIS 42759, at *7-12 (S.D.N.Y. Feb. 20,

2013); MedCenters Health Care, Inc. v. Ochs, 854 F. Supp. 589, 591-93 (D. Minn. 1993), ajf'd,

26 F.3d 865, 867 (8th Cir. 1994); NALC Health Benefit Plan v. Lunsford, 879 F. Supp. 760, 763

(E.D. Mich. 1995). And, OPM's regulations expressly state that preemption occurs in cases

exactly like this one. See 5. C.F.R. § 890.106(h).

               b.      Second, Plaintiff's state-law claims are displaced by federal common law,

which governs the federal contract at the heart of this case. In a similar reimbursement dispute

involving the Plan, the Tenth Circuit recently held that, because federal common law governs the

FEHBA contract at issue, state law limiting reimbursement is displaced. Helfrich, 804 F.3d at

1095-1104.

               c.      Third, there is a colorable defense of sovereign immunity. In this regard,

Plaintiff seeks to override the Plan's terms with Arkansas state law, thereby interfering with the

federal government's administration ofFEHBA benefits; and Plaintiff pursues a remedy under

state law to thwart reimbursement that is not permitted against the United States, to whose

benefit reimbursement recoveries inure. See Ctr. for Reconstructive Breast Surgery, LLC v. Blue

Cross Blue Shield of La., No. 11-806, 2014 U.S. Dist. LEXIS 139442, at *19-23 (E.D. La. Sept.

30, 2014) (dismissing state law claims against Service Benefit Plan administrator on sovereign

immunity grounds); Mentis El Paso, LLP v. Health Care Serv. Corp., 58 F. Supp. 3d 745, 751-57

(W.D. Tex. 2014) (same); Innova Hosp. San Antonio, L.P. v. Blue Cross & Blue Shield of




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Georgia, Inc., No. 3:12-cv-1607-0, 2014 U.S. Dist. LEXIS 12750 (N.D. Tex. Feb. 3, 2014)

(same); Calingo v. Meridian Res. Co. LLC, No. 7:1l-cv-628,2011 U.S. Dist. LEXIS 83496

(S.D.N.Y. July 29, 2011) (holding sovereign immunity barred claims for monetary damages

against FEHBA carrier in reimbursement dispute); see also Omega Hosp., 592 F. App'x at 272

(citing Innova ). In Jacks, the Eighth Circuit found each of the three defenses just listed -

preemption, displacement by federal common law, and sovereign immunity - to be colorable for

purposes of the Federal Officer Removal Statute. Jacks, 701 F.3d at 1235.

                 d.    Fourth, there is a defense based on ordinary conflict preemption

principles, because OPM's regulations provide that "[a]ny subrogation or reimbursement

recovery on the part of a FEHB carrier shall be effectuated against the recovery first (before any

of the rights of any other parties are effectuated) and is not impacted by how the judgment,

settlement, or other recovery is characterized, designated, or apportioned." 5 C.F.R.

§ 890.106(e). This provision directly conflicts with Arkansas state law that, at least according to

Plaintiff, gives her primary rights in the recovery from the tortfeasor by requiring her to be

"made whole" before the Plan is entitled to any reimbursement.

          Removal Under 28 U.S.C. § 1441 Based on Federal Question Jurisdiction

       18. Aside from being removable under 28 U.S.C. § 1442(a)(l), this case also is

removable pursuant to 28 U.S.C. § 1441 based on federal question jurisdiction existing under 28

U.S.C. § 1331.

       19. In Empire HealthChoice Assurance, Inc. v. McVeigh, 547 U.S. 677 (2006), the

Supreme Court signaled that FEHBA reimbursement matters will be governed by federal

common law if there is a "significant conflict ... between an identifiable federal policy or

interest and the operation ofstate law." Id at 693 (internal quotation marks omitted; emphasis




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added). In McVeigh, federal common law did not govern because the parties' dispute was solely

over factual issues associated with reimbursement and subrogation (such as whether the Plan

properly calculated the reimbursement amount owed, see id at 701); McVeigh did not involve an

enrollee seeking to invoke a specific state law's operation so as to override either the Plan's

authorization for full reimbursement or any of FEHBA's underlying objectives. See Empire

HealthChoice Assurance, Inc. v. McVeigh, 396 F.3d 136, 141 (2d Cir. 2005) ("Tellingly,

Empire's briefs on appeal fail to mention a single state law or state-imposed duty that runs

contrary to the federal interests asserted in this case."). However, federal common law

potentially can displace state law and allow for federal jurisdiction if a dispute exists between a

FEHBA-plan enrollee and a FEHBA plan over the operation of a specific state law that conflicts

with the Plan's reimbursement and subrogation terms or with FEHBA's objectives. See Empire,

396 F.3d at 150-51 (Sack, J. concurring); accord Empire, 547 U.S. at 693 (citing concurring

opinion of Sack, J., in 2d Cir. disposition); see also Blue Cross Blue Shield Health Care Plan of

Ga., Inc. v. Gunter, 541F.3d1320, 1322 nn.1 & 2 (11th Cir. 2008).

       20. A significant conflict exists in this case between the operation of state law and

federal policies and objectives because Arkansas's make whole doctrine, which Plaintiff invokes

as the basis for her lawsuit, purports to limit or negate altogether the Plan's right to

reimbursement from an enrollee for benefits the Plan paid to that enrollee. See Pet. iii! 10-11.

Because, as stated above, reimbursement recoveries by the Plan are returned to the federal

Treasury, application of Arkansas state law would prevent money from being returned to the

government's coffers. Furthermore, Congress mandated uniformity in Plan administration, and

the OPM-BCBSA contract likewise requires national uniformity in the Plan's reimbursement and

subrogation practices. See supra if 12.g. Applying individual states' laws, such as Arkansas's




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make whole doctrine, will result in enrollees in different states having different reimbursement

obligations in similar situations - a disuniformity contrary to Congress's objectives and the terms

of the OPM-BCBSA contract. For precisely these reasons, the court in Helfrich found that

federal common applied. See 804 F.3d at 1095-1104.

       21. Because federal common law governs, the case raises a federal question and is

removable to federal court. See Nat'! Farmers Union Ins. Cos. v. Crow Tribe of Indians, 471

U.S. 845, 850 (1985) (Section 1331 's "statutory grant of 'jurisdiction will support claims

founded upon federal common law as well as those of a statutory origin"') (citation omitted);

New SD, Inc. v. Rockwell Int'! Corp., 79 F.3d 953, 955 (9th Cir. 1996) (removal jurisdiction

upheld because federal common law controlled dispute); Rievley v. Blue Cross Blue Shield of

Tenn., 69 F. Supp. 2d 1028, 1037 (E.D. Tenn. 1999) (in FEHBA case, upholding removal

because federal common law displaced state law); Kight v. Kaiser Found. Health Plans of the

Mid-At!. States, Inc., 34 F. Supp. 2d 334, 340-41 (E.D. Va. 1999) (same).

                                               ***
       22. Pursuant to 28 U.S.C. § 1446(d), BCBS-AR will promptly provide written notice of

this removal to the Circuit Court of Faulkner County, Arkansas.



                                             Respectfully submitted,

February 3, 2016
                                             Allan W. Home, ABN 60022
                                             Mark Allison, ABN 85001
                                             Carl F. "Trey" Cooper III, ABN 2007294
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                            Anthony F. Shelley (pro hac vice application to be
                            filed)
                            Adam P. Feinberg (pro hac vice application to be
                            filed)
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                 Exhibit A
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                  IN 1HE CIRCUIT COURT OF FAULKNER COUNTY, ARKANSAS                                RECEIVED
                801 LOCUST STREET~ CONWAY - FAULKNER COUNTY, AR 72034
                                                                                                    JAN 08 2016
                           'tat OJVlSIO~UMMONS
PLAINTIFF: ROBIN HALL
                                                                                                CR-LEGAL
PLATNTIFF'S ATTORNEY: Chip Leibovich, 1000 Front St., Conway, AR 72032, (501) 336~8788

        v.                                     Case No. 23CV 2016-_.l'-"l.
                                                                       _ __
DEFENDANT: ARKANSAS BLUE CROSS BLUE SHIELD

TO THE ABOVE NAMED DEFENDANT(S):
1.     You are hereby notified that a lawsuit has been filed against you; the relief asked is stated in the
attached complaint.
2.     The attached complaint will be considered admitted by you and a judgm.ent by default may be
entered against you for the relief asked in the complaint unless you file a pleading and thereafter appear
and present your defense. Your pleading or answer must meet the following requirements:
       A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure.
       B.     It must be filed in the Court Clerk's office within 30 days from the day you were served
              the swmnons; OR; within 30 days if you are a non-resident of this state or within 60 days
               if you are a person incarcerated in any jail, penitentiary, or other correctional facility in this
               state.
3.      If you desire to be represented by an attorney, you should immediately contact your attorney so
that an answer can be filed for you within the time allowed.
4.      Additional Notices:

Witness m.y hand and seal of said Court of FAULKNER COUNTY

       CIRCUIT COURT CLERK:                    Rhonda Wharton

               by:   ~l?mc.<'lf,. .§<                                  Date: January 4. 2016

STATE OF ARKANSAS
COUNTY OF~~~~~~-

        On this _ _ day of                           201_ at          o'clock _ _a.m.               p.m.,
I have duly served the foregoing Summons by delivering a copy thereof (or stating the substance thereof),
together with a copy of the complaint, to such person begin:

CHECK APPLICABLE SQUARE:

 The person named therein as defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 A member of the defendant's family above 14 years of age at the defendant's usual place of abode,

namcly _ _~-------~---~~--~------------
 The duly designated agent for service of process for the defendant, namely - - - - - - - - -



                                                       BY:~-----------~-~
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                                                                                                                 Rr:CEIVED
            lN THE CIRCUIT COURT OF FAULKNER COUNTY, AlU(ANSAS                                                     JAN 08-2016
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                         .,.., .. O'" "'SIONDIVISION
                                                                                                            CRuLEGAL
  ROBIN HALL                                                                            PLPf!IFF
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                                                            ' ..,                      /!,       lJ
  v.                                Case No.   23CV-2016-,/.""'"--            o,,
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  ARKANSAS BLUE CROSS BLUE SIUELD                                        _, r~EFENDANf ti?,'i
                                                                                        -·-,-~
                        PETITION FOR DECLARATORY nJDGMENT                                                 ·---....... _ \;

            Comes now Plaintiff, Robin Hall (herei.pafl:er, "Plaintiff'' or "Robin Hall"), by and

  through her attorney, Chip Leibovich, Law Offices of Bennett & Williams, and her cause

  of action against Defendant, Arkansas Blue Cross Blue Shield (hereinafter, "Defendant"),

  states:

                                PARTIES AND .roRISDICTION

            I.     Plaintiff is an individual and a resident of Faulkner County, Arkansas.

            2.     Defendant is an insurance company licensed to do business in Arkansas.

            3-     All acts and events relevant to this action occurred in Faulkner County,

  Arkansas.

            4.     This petition is brought pttrsuant to Rule 57 of the Arkansas Rules of Civil

  Procedure and A.C.A. 16-111-101 et. seq. to determine what rights to imbrogation, if any,

  are held by Defendant.

            5.     This Cotut has jurisdiction over the subject matter and parties, and venue

  is proper in this Court.

                                               FACTS

            6.     On the morning of September 6, 2011, Robin Hall was traveling on

  Highway 64 East, stopped at a traffic light.
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          7.      When the light turned green, Robin Hall began to move through the

  intersection when struck by another vehicle from behind.

          8.     A lawsuit was filed and recovery had against the original tortfeasor.

          9.      The Defendant paid certain medical expenses on Plaintif('s behalf and has

  asserted its right to subrogation.

          10.     After deduction of her costs of collection, per A.C.A. 23-89-207. the

  tortfeasor' s payment to Plaintiff has not made her whole.

                                       RELIEF REQUESTED

          11.    Plaintiff prays this Court issue declaratory judgment that Plaintiff has not

  been made-whole from her settlement with her tortfeasor and that Defendant holds no

  subrogation interest.

          12.    Plaintiff is entitled to costs of proceeding pursuant to AC.A. 16-111-111.

                                               Respectfully submitted,




                                                    P LEIBOVICH        #2003154
                                                aw Offices of Bennett & Williams
                                               Attorney for Plaintiff
                                               1000 Front Street
                                               Con\¥3.y,All 72032
                                               Telephone: (501) 336-8788
                                               Facsimile: (501) 336-8708




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                 Exhibit B
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DMSION


                                              )
 ROBIN HALL                                   )
                                              )
                Plaintiff,                    )
                                              )
                v.                            )       Case No.: - - -
                                              )
 ARKANSAS BLUE CROSS AND                      )
 BLUE SHIELD, a Mutual Insurance              )
 Company                                      )
                                              )
                Defendant.                    )
 --~~~~~~~~~~~                                )

                             DECLARATION OF JOEL STAFFORD

        I, Joel Stafford, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

        1.     I am over the age of 18 years and competent to testify to the following facts, of

which I have personal knowledge.

        2.     I am employed as Manager of Member Services at the Blue Cross and Blue Shield

Association ("BCBSA"), Federal Employee Program in Washington, D.C. "Federal Employee

Program" is a nickname for the Blue Cross and Blue Shield Service Benefit Plan, which is one of

the federal government's health benefits plans for federal employees, retirees, and their

dependents. BCBSA is the carrier of the Service Benefit Plan. As Manger of Member Services,

I have access to the enrollment records of those individuals enrolled in the Service Benefit Plan.

       3.      I have reviewed the enrollment records for the Service Benefit Plan, and they

establish that Robin Hall (the plaintiff in this case) was continuously enrolled in the Blue Cross

and Blue Shield Service Benefit Plan from January 10, 1993 to the present.
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       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct. Executed this 2nd day of February, 2016.




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                 Exhibit C
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                 FEDERAL EMPLOYEES
             HEALTH BENEFITS PROGRAM




                  STANDARD CONTRACT



                            FOR




              FEE-FOR-SERVICE CARRIERS




                            2008




                                                      (FFS-2008)
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                                         CONTRACT FOR FEDERAL EMPLOYEES HEALTH BENEFITS


                             CONTRACT NO: CS 1039                                 FULL CONTRACT
                             EFFECTNE:    January 1, 1960                         EFFECTNE: January 1, 2008

                             BETWEEN:            The United States Office of Personnel Management
                                                 hereinafter called OPM, the Agency, or the Government

                                                 Address:                         1900 E Street, NW
                                                                                  Washington, DC 20415-3610

                             AND

                             CONTRACTOR:         Blue Cross and Blue Shield Association
                                                 hereinafter also called the Carrier

                                                 Address:                         1310 G Street, NW., Suite 900
                                                                                  Washington, DC 20005


                             In consideration of payment by the Agency of subscription charges set forth in Appendix
                             B, the Carrier agrees to perfonn all of the services set forth in this contract, including
                             Appendix A

                             FOR THE CARRIER                      FOR THE GOVERNMENT



                             Stephen W. Gammarino
                             Name of Person Authorized to
                             Execute Contract (Type or Print)
                             Sr. Vice Pres. Nat. Proarams

                             Title




--

         ~           \   I   I   (   '


             '
     '           '
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                                PART I - GENERAL PROVISIONS

 SECTION l.l
 DEFINITIONS OF FEHB TERMS (JAN 1998)

 For purpose of this contract, the following definitions apply:

 FEHBP:          Federal Employees Health Benefits Program.
 Enrollee:       The Federal employee, annuitant, fonner spouse, temporarily-covered former
                  Federal employee or dependent, enrolled under this contract.
Member:          The Enrollee and/or an eligible dependent for benefit purposes, and sometimes
                 referred to as subscriber.
Act:             The Federal Employees Health Benefits Act, as amended; chapter 89 of title 5,
                 United States Code.
Regulations: (I) The Federal Employees Health Benefits Regulations; part 890, title 5, Code
                 of Federal Regulations, and (2) Chapters I and 16 of title 48, Code of Federal
                 Regulations.
Benefits:        Covered services or payment for covered services set forth in Appendix A, to
                 which Members are entitled to the extent provided by this contract.
Carrier:         As defined by chapter 89 of title 5, United States Code, and may be used
                 interchangeably with the tenn Contractor.
Subcontractor: Any supplier, distributor, vendor, or firm that furnishes supplies or services to or
                 for a prime contractor, or another subcontractor, except for providers of direct
                 medical services or supplies pursuant to the Carrier's health benefits plan.
Letter of Credit: The method by which certain Carriers, and their underwriters if authorized,
                 receive recurring premium payments and contingency reserve payments by
                 drawing against a commitment (certified by a responsible OPM official) which
                 specifies a dollar amount available. For each Carrier participating in the Letter
                 of Credit arrangement for payment under FEHBAR I632. I 70(b), the terms
                 "carrier reserves" and "special reserves" include any balance in the Carrier's
                 Letter of Credit account.

SECTION 1.2
ENTIRE CONTRACT (JAN 2003)

        (a) This document as despribed in the Table of Contents constitutes the entire contract
between the parties. No oral statement of any person shall modify or otherwise affect the terms,
conditions, or specifications stated in this contract. All modifications to the contract must be
made in writing by the duly authorized Contracting Officer.
        (b) All statements concerning coverage or benefits made by OPM, the Carrier or by any
individual covered under this contract shall be deemed representations and not warranties. No
such statement shall convey or void any coverage, increase or reduce any benefits under this
contract or be used in the prosecution of or defense of a claim under this contract unless it is
contained in writing and a copy of the instrument containing the statement is or has been
furnished to the Member or to the person malting the claim.

SECTION 1.3
                                                                                       (FFS-2008)
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 ORDER OF PRECEDENCE (JAN 1996)

         Any inconsistency in this contract shall be resolved by giving precedence in the
 following descending order: The Act, the regulations in part 890, title 5, Code of Federal
 Regulations, the regulations in chapters l and 16, title 48, Code of Federal Regulations, and this
 contract.

 SECTION 1.4
 INCORPORATION OF LAWS AND REGULATIONS (JAN 2002)

         (a) The applicable provisions of (l) chapter 89 of title 5, United States Code; (2) OPM's
regulations as contained in part 890 of title 5, Code of Federal Regulations; and (3) chapters 1
and 16 of title 48, Code of Federal Regulations constitute a part of this contract as if fully set
forth herein, and the other provisions of this contract shall be construed so as to comply
therewith.
         (b) If the Regulations are changed in a manner which would increase the Carrier's
liability under this contract, the Contracting Officer will make an equitable adjustment in
accordance with the changes clause, Section 5.38 -- Changes-Negotiated Benefits Contracts.

SECTION 1.5
RECORDS AND INFORMATION TO BE FURNISHED BY OPM (NOV 2000)

     (a) OPM shall maintain or cause to be maintained records from which the Carrier may
 determine the names and social security numbers of all Enrollees. OPM, other agencies of the
 Federal Government, or the FEHB Clearinghouse shall furnish the information to the Carrier at
 such times and in such fonn and detail as will enable the Carrier to maintain a currently accurate
 record of all Enrollees.
         (b) The Carrier is entitled to rely on information furnished to it under paragraph (a).
 OPM agrees that any liabilities incurred under this contract in reliance upon such information
 shall be a valid charge against the contract. Errors or delays in keeping or reporting data relating
 to coverage shall not invalidate coverage that would otherwise be validly in force and shall not
 continue coverage that would otherwise be tenninated. OPM shall make an equitable adjustment
of premiums upon discovery of errors or delays under this Section.
         (c) Clerical error (whether by OPM, any other Government agency, the FEHB
Clearinghouse, or the Carrier) in keeping records pertaining to coverage under this contract,
delays in making entries thereon, or failure to make or account for any deduction of enrollment
charges, shall not invalidate coverage otherwise validly in force or continue coverage otherwise
validly tenninated. OPM shall make an equitable adjustment of premiums when an error, delay,
or failure is discovered. If any person finds relevant facts pertaining to a person covered under
this contract to be misstated, and if the misstatement affects the existence, amount, or extent of
coverage, the actual facts shall determine whether coverage is in force under the terms of this
contract and in what amount or to what extent. Any claim payments the Carrier makes before an
adjustment or determination shall be a valid charge against this contract.
   (d) The OPM shall direct the agencies to provide the Carrier or the FEHB Clearinghouse, not
less often than quarterly, the names of Enrollees enrolled under the contract by payroll office and
the premium paid for those Enrollees for the current pay cycle. The Carrier shall at least


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              '''                           1-2                                              FFS-2008
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 quarterly reconcile its enroJlment records with those provided by the Government or the FEHB
 Clearinghouse.

 SECTION 1.6
 CONFIDENTIALITY OF RECORDS
 (JAN 1991) (FEHBAR 1652.224-70)

          (a) The Carrier shall use the personal data on employees and annuitants that is provided
 by agencies and OPM, including social security numbers, for only those routine uses stipulated
 for the data and published annually in the Federal Register as part of OPM's notice of systems of
 records.
         (b) The Carrier shall also hold all medical records, and information relating thereto, of
Federal subscribers confidential except as follows:
         (I) As may be reasonably necessary for the administration of this contract;
         (2) As authorized by the patient or his or her guardian;
         (3) As disclosure is necessary to permit Government offic!als having authority to
investigate and prosecute alleged civil or criminal actions;
         (4) As necessary to audit the contract;
         (5) As necessary to carry out the coordination of benefit provisions of this contract; and
         (6) For bona fide medical research or educational purposes. Release of information for
medical research or educational purposes shall be limited to aggregated information of a
statistical nature that does not identify any individual by name, social security number, or any
other identifier unique to an individual.
         (c) If the Carrier uses medical records for the administration of the contract, or for bona
fide research or educational purposes, it shall so state in the Plan's brochure.

SECTION l.7
STATISTICS AND SPECIAL STUDIES (JAN 2003)

         (a) The Carrier shall maintain or cause to be maintained statistical records of its
operations under the contract and shall furnish OPM, in the form prescribed by the Contracting
Officer, the statistical reports reasonably necessary for the OPM to carry out its functions under
Chapter 89 of title 5, United States Code.
        (b) The Carrier shall furnish such other reasonable statistical data and reports of special
studies as the Contracting Officer may from time to time request for the purpose of carrying out
its functions under Chapter 89 of title 5, United States Code.
        (c) The Carrier shall furnish the routine reports in the required number of copies as
instructed by OPM.                                                                ·
        (d) The Carrier shall notify the OPM Contract Representative immediately upon a change
in the name or address of the Carrier's contract administrator(s).

SECTION l.8
NOTICE (JAN 2003)




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         Where the contract requires that notice be given to the other party, such notice must be
 given in writing to the address shown on this contract's signature page. To notify OPM, the
 Carrier must write to the Contracting Officer, unless otherwise specified.

 SECTION 1.9
 PLAN PERFORMANCE-EXPERIENCE-RATED FFS CONTRACTS (JAN 2007)

           (a) Detection of Fraud and Abuse. The Carrier shall conduct a program to assess its
  vulnerability to fraud and abuse and shall operate a system designed to detect and eliminate
  fraud and abuse internally by Carrier employees and subcontractors, by providers providing .
  goods or services to FEHB Members, and by individual FEHB Members. The program must -
  specify provisions in place for cost avoidance not just fraud detection, along with criteria for
  follow-up actions. The Carrier must submit to OPM an annual analysis of the costs and
  benefits of its fraud and abuse program. The Carrier must also submit annual reports to OPM
  by March 31 addressing the following: number of cases; dollars identified as lost and
  recovered; actual and projected savings; cases referred by law enforcement and resolved
 through negotiated settlement; and number of arrests and criminal convictions. The report wilJ
 also include the industry standards checklist.
          (b) Clinical Care Measures. The Carrier shall measure and/or collect data on the
 quality of the health care services that are provided to its members as requested by OPM.
 Measurement/data collection efforts may include perfonnance measurement systems such as
 Health Employer Data and Information Set (HEDIS) or similar measures developed by
 accrediting organizations such as the National Committee for Quality Assurance (NCQA), the
 Joint Commission on Accreditation of Healthcare Organizations (JCAHO), or URAC. Costs
 incurred by the Carrier for collecting or contracting with a vendor to collect quality
 measures/data shall be the Carrier's responsibility and are allowable administrative expenses,
 subject to the administrative cost limitation.
          (c) Patient Safety. The Carrier shall implement a patient safety improvement program.
 At a minimum, the Carrier shall --
         ( l) Report to OPM on its current patient safety initiatives;
         (2) Report to OPM on how it will strengthen its patient safety program for the future;
         (3) Assist OPM in providing its members with consumer information and education
 regarding patient safety; and
         (4) Work with its providers, independent accrediting organizations, and others to
implement patient safety improvement programs.
         (d) Accreditation. To demonstrate its commitment to providing quality, cost-effective
health care, the Carrier shall continue to pursue and maintain accreditation according to the
steps and timeframes outlined in the carrier's current business plan. The carrier shall submit
accreditation changes and business plan updates to its OPM contract representative.
         (e) Consumer Assessments of Healthcare Providers and Systems CCAHPS). In
addition to any other means of surveying Plan members that the Carrier may develop, the
Carrier shall participate in the HEDIS Consumer Assessments of Healthcare Providers and
Systems (CAHPS) to provide feedback to enrollees on enrollee experience with the various
FEHBP plans. The Carrier shall take into account the published results of the survey, or other
results as directed by OPM, in identifying areas for improvement as part of the Carrier's




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  quality assurance program. Payment of survey charges will be in accordance with Section
  3.1 l.
           (f) Contract Quality Assurance. The Carrier shall develop and apply a quality
  assurance program specifying procedures for assuring contract quality. At a minimum the
  carrier shall meet the following standards and submit an annual report to OPM on these
  standards by July l of the following contract period:
           ( 1) Claims Processing Accuracy - the number of FEHB claims processed accurately
  and the total number of FEHB claims processed for the given time period, expressed as a
  percentage.
          REQUIRED STANDARD: An average of 95 percent of FEHB claims must be processed
  accurately.
         (2) Claims Coding Accuracy - the number of FEHB claims coded accurately divided by
  the total number of FEHB claims coded for the given time period, expressed as a percentage.
          REQUIRED STANDARD: An average of 98 percent of FEHB claims shall be coded
 accurately.
          (3) Recovery of Erroneous Payments - the average number of working days it takes for
 the Carrier to begin collection action against an FEHB provi~er or member following
 identification of an erroneous payment, including overpayments.
          REQUIRED STANDARD: The Carrier takes an average of no more than 30 working days
 from the date it identifies an FEHB erroneous payment to the date it begins the collection
 action.
          (4) Coordination of Benefits (COB)- the Carrier must demonstrate that a statistically
 valid sampling technique is routinely used to identify FEHB claims prior to or after processing
 that require(d) coordination of benefits (COB) with a third party payer. As an alternative, the
 Carrier may provide evidence that it pursues all claims for COB.
          (5) Claims Timeliness - the average number of working days from the date the Carrier
 receives an FEHB claim to the date it adjudicates it (paid, denied or a request for further
 infonnation is sent out), for the given time period, expressed as a cumulative percentage.
          REQUIRED STANDARD: The Carrier adjudicates 95 percent of claims within 30 working
 days.
         (6) Processing ID cards on change of plan or option - the number of calendar days
 from the date the Carrier receives the enrollment from the enrollee's agency or retirement
system to the date it issues the ID card.
          REQUIRED STANDARD: The Carrier issues the ID card within fifteen calendar days after
receiving the enrollment from the enroUee's agency or retirement system except that the Carrier
will issue ID cards resulting from an open season election within fifteen calendar days or by
December 15, whichever is later.
         (7) Member Inquiries - the number of working days taken to respond to an FEHB
member's written inquiry, expressed as a cumulative percentage, for the given time period.
         REQUIRED STANDARD: The Carrier responds to 90 percent of inquiries within 15
working days (including internet inquiries).
         (8) Telephone Access - the Carrier shall report on the following statistics concerning
telephone access to the member services department (or its equivalent) for the given time
period. Except that, if the Carrier does not have a computerized phone system, report results of
periodic surveys on telephone access.




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                (i) Call Answer Timeliness - the average number of seconds elapsing before the
Carrier connects a member's telephone call to its service representative.
         REQUIRED STANDARD: On average, no more than 30 seconds elapse before the Carrier
connects a member's telephone call to its service representative.
                (ii) Telephone Blockage Rate - the percentage of time that callers receive a
busy signal when calling the Carrier.
         REQUIRED STANDARD: No more than 5% of callers receive a busy signal.
                (iii) Telephone Abandonment Rate - the number of calls attempted but not
completed (presumably because callers tired of waiting to be connected to a Carrier
representative) divided by the total number of calls attempted (both completed and not
completed), expressed as a percentage.
         REQUIRED STANDARD: On average, enrollees abandon the effort no more than 5 percent
of the time.                            ·
                (iv) Initial Call Resolution - the percentage of issues resolved during the initial
call.
         REQUIRED STANDARD: On average, caller's issues must be resolved during the initial
call at least 60% of the time.
        (9) Responsiveness to FEHB Member Requests/or Reconsideration:
          REQUIRED STANDARD: For 100 percent of written FEHB disputed claim requests
 received for the given time period, within 30 days after receipt by the Carrier, the Carrier shall
 affirm the denial in writing to the FEHB member, pay the claim, provide the service, or request
 additional information reasonably necessary to make a determination.
          (g) Quality Assurance Plan. The Carrier must demonstrate that a statistically valid
 sampling technique is routinely used prior to or after processing to randomly sample FEHB
 claims against Carrier quality assurance/fraud and abuse prevention standards.
         (h) Reoorting Compliance. The Carrier shall keep complete records of its quality
 assurance procedures and fraud prevention program and the results of their implementation and
 make them available to the Government as determined by OPM.
        (i) Correction of Deficiencies. The Contracting Officer may order the correction of a
deficiency in the Carrier's quality assurance program or fraud prevention program. The Carrier
shall take the necessary action promptly to implement the Contracting Officer's order. If the
Contracting Officer orders a modification of the Carrier's quality assurance program or fraud
prevention program pursuant to this paragraph (i) after the contract year has begun, the costs
incurred to correct the deficiency may be excluded from the administrative expenses -- for the
contract year -- that are subject to the administrative expenses limitation specified at Appendix
B; provided the Carrier demonstrates that the correction of the deficiency significantly
increases the Carrier's liability under this contract.
         (j) In order to allow sufficient implementation time, the Contracting Officer will notify
the Carrier reasonably in advance of any new requirement(s) under paragraphs (a) through (i).

SECTION 1.10
NOTICE OF SIGNIFICANT EVENTS (JUL 2005) (FEHBAR 1652.222-70)

        (a) The Carrier agrees to notify the Contracting Officer of any Significant Event within
ten (10) working days after the Carrier becomes aware of it. As used in this section, a
Significant Event is any occurrence or anticipated occurrence that might reasonably be expected


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  to have a material effect upon the Carrier's ability to meet its obligations under this contract,
   including, but not limited to, any of the following:
            ( 1) Disposal of major assets;
            (2) Loss of 15% or more of the Carrier's overall membership;
            (3) Tennination or modification of any contract or subcontract if such termination or
  modification might have a material effect on the Carrier's obligations under this contract;
           (4) Addition or termination of provider agreements;
           (5) Any changes in underwriters, reinsurers or participating plans;
           (6) The imposition of, or notice of the intent to impose, a receivership, conservatorship,
  or special regulatory monitoring;
           (7) The withdrawal of, or notice of intent to withdraw State licensing, HHS qualification,
  or any other status under Federal or State law;
           (8) Default on a loan or other financial obligation;
           (9) Any actual or potential labor dispute that delays or threatens to delay timely
  performance or substantially impairs the functioning of the Carrier's facilities or facilities used
  by the Carrier in the perfonnance of the contract;
           ( 10) Any change in its charter, constitution, or by-laws which affects any provision of
  this contract or the Carrier's participation in the Federal Employees Health Benefits Program;
           ( 11) Any significant changes in policies and procedures or interpretations of the contract
 or brochure which would affect the benefits available under the contract or the costs charged to
 the contract;
           ( 12) Any fraud, embezzlement or misappropriation of FEHB funds; or
          ( 13) Any written exceptions, reservations or qualifications expressed by the independent
 accounting firm (which ascribes to the standards of the American Institute of Certified Public
 Accountants) contracted with by the Carrier to provide an opinion on its annual financial
 statements.
          (b) Upon learning of a Significant Event OPM may institute action, in proportion to the
 seriousness of the event, to protect the interest of Members, including, but not limited to--
          ( 1) Directing the Carrier to take corrective action;
          (2) Suspending new enrollments under this contract;
          (3) Advising Enrollees of the Significant Event and providing them an opportunity to
 transfer to another plan;
          (4) Withholding payment of subscription income or restricting access to the Carrier's
 Letter of Credit account;                                             ·          .
          (5) Terminating the enrollment of those Enrollees who, in the judgment of OPM, would
be adversely affected by the Significant Event; or
          (6) Terminating this contract pursuant to Section l.15, Renewal and Withdrawal of
Approval.
         (c) Prior to taking action as described in paragraph (b) of this clause, the OPM will
notify the Carrier and offer an opportunity to respond.
         (d) The carrier will insert this clause in any subcontract or subcontract modification if
the amount of the subcontract or modification charged to the FEHB Program (or in the case of a
community-rated carrier, applicable to the FEHB Program) equals or exceeds $550,000 and is at
least 25 percent of the total subcontract cost. The amount of the dollar charge to the FEHB
Program shall be adjusted by the same amount and at the same time as any change to the
threshold for application of the Truth in Negotiations Act pursuant to 41 U.S.C. 254b(a)(7).



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 SECTION 1.11
 FEHB INSPECTION (JUL 2005) (FEHBAR 1652.246-70)

          (a) The Contracting Officer, or an authorized representative of'the Contracting Officer,
 has the right to inspect or evaluate the work performed or being performed under the contract,
 and the premises where the work is being performed, at all reasonable times and in a manner that
 wiU not unreasonably delay the work.
         (b) The Contractor shall maintain and the Contracting Officer, or an authorized
representative of the Contracting Officer, shall have the right to examine and audit all books and
records relating to the contract for purposes of the Contracting Officer's determination of the
Carrier's subcontractor or Large Provider's compliance with the terms of the contract, including
its payment (including rebate and other financial arrangements) and performance provisions.
The Contractor shall make available at its office at all reasonable times those books and records
for examination and audit for the record retention period specified in the Federal Employees
Health Benefits Acquisition Regulation (FEHBAR), 48 CFR 1652.204-70. This subsection is
applicable to subcontract and Large Provider Agreements with the exception .of those that are
subject to the "Audits and Records - Negotiation" clause, 48 CFR 52.215-2.
         (c) If the Contracting Officer, or an authorized representative of the Contracting Officer,
performs inspection, audit or evaluation on the premises of the Carrier, the subcontractor, or the
Large Provider, the Carrier shall furnish or require the subcontractor or Large Provider to furnish
all reasonable facilities for the safe and convenient performance of these duties.
         (d) The Carrier shall insert this clause, including this subsection (d), in all subcontracts
for underwriting and claim payments and administrative services and in all Large Provider
Agreements and shall substitute "contractor", "Large Provider," or other appropriate reference
for the term "carrier."

SECTION 1.12
CORRECTION OF DEFICIENCIES (JAN 1997)

         (a) The Carrier shall maintain sufficient financial resources, facilities, providers, staff
 and other necessary resources to meet its obligations under this contract. lf the OPM determines
that the Carrier does not demonstrate the ability to meet its obligations under this contract, the
OPM shall notify the Carrier of the asserted deficiencies. The Carrier agrees that, within ten ( 10)
working days following notification, it shall present detailed plans for correcting the deficiencies.
These plans shall be presented in a form prescribed by the OPM. Pending submission or
implementation of plans required under this Section, the OPM may institute action as it deems
necessary to protect the interests of Members, including, but not limited to:
        ( 1) Suspending new enrollments under this contract;
        (2) Advising Enrollees of the asserted deficiencies and providing them an opportunity to
transfer to another plan;
        (3) Withholding payment of subscription income or restricting access to the Carrier's
Letter of Credit account; or
        (4) Terminating the enrollment of those Enrollees who, in the judgment of OPM, would
be adversely affected by the deficiency.


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        (b) The Carrier agrees that failure to submit or to diligently implement plans which are
 required under this Section shall constitute sufficient grounds for tennination of this contract
 pursuant to Section l.15, Renewal and Withdrawal ofApproval.
        (c) Prior to taking action as described in paragraph (a) the OPM shall notify the Carrier
 and offer an opportunity to respond.
        (d) The Carrier shall include the substance of this clause in the contract with its
 underwriter and substitute an appropriate term for "Carrier."

 SECTION l.13
 INFORMATION AND MARKETING MATERIALS (JAN 2005)

         (a) OPM and the Carrier shall agree upon language setting forth the benefits, exclusions
 and other language of the Plan. The Carrier bears full responsibility for the accuracy of its
 FEHB brochure. OPM in its sole discretion, may order the Carrier to produce and distribute the
agreed upon brochure text in a format and quantity approved by OPM, including an electronic
508 compliant brochure version, Section 508 of the Rehabilitation Act of 1973, as amended
29 U.S.C. § 794d, for OPM's web site. This formatted document is referred to as the FEHB
brochure. The Carrier shall distribute the FEHB brochure on a timely basis to all Federal
employees, annuitants, fonner spouses and former employees and dependents enrolled in the
Plan. The Carrier shall also distribute the document(s) to Federal agencies to be made available
to such individuals who are eligible to enroll under this contract. At the direction of OPM, the
Carrier shall produce and distribute an audio cassette version of the approved language. The
Carrier may print additional FEHB brochures for distribution for its own use, but only in the
approved format and at its own expense.
        (b) Supplemental material. Only marketing materials or other supplemental literature
prepared in accordance with FEHBAR 1652.203-70 (Section l.14 of this contract) may be
distributed or displayed at or through Federal facilities.
        (c) The Carrier shall reflect the statement of benefits in the agreed upon brochure text
included at Appendix A of this contract, verbatim, in the FEHB brochure.
        (d) OPM may order the Carrier to prepare an addendum or reissue the FEHB brochure or
any piece(s) of supplemental marketing material at no expense to the Government if it is found to
not conform to the agreed upon brochure text and/or supplemental marketing materials
preparations described in paragraphs (a), (b) and (c) of this section.

SECTION l.14
MISLEADING, DECEPTIVE OR UNFAIR ADVERTISING (JAN 1991) (FEHBAR 1652.203-
70)

        (a) The Carrier agrees that any advertising material, including that labeled promotional
material, marketing material, or supplemental literature, shall be truthful and not misleading.
   (b) Criteria to assess compliance with paragraph (a) of this clause are ~vailable in the FEHB
Supplem6nta/ Literature Guidelines which are developed by OPM and should be used, along
with the additional guidelines set forth in FEHBAR 1603.7002, as the primary guide in preparing
material; further guidance is provided in the NAIC Advertisements of Accident and Sickness
Insurance Model Regulation. The guidelines are periodically updated and provided to the Carrier
byOPM.



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         (c) Failure to confonn to paragraph (a) of this clause may result in a reduction in the
 service charge, if appropriate, and corrective action to protect the interest of Federal Members.
 Corrective action will be appropriate to the circumstances and may include, but is not limited to
 the following actions by OPM:
         ( l) Directing the Carrier to cease and desist distribution, publication, or broadcast of the
 material;
         (2) Directing the Carrier to issue corrections at the Carrier's expense and in the same
 manner and media as the original material was made; and
         (3) Directing the Carrier to provide, at the Carrier's expense, the correction in writing by
 certified mail to all enrollees of the Plan(s) that had been the subject of the original material.
         (d) Egregious or repeated offenses may result in the following action by OPM:
         (l) Suspending new enrollments in the Carrier's Plan(s);
         (2) Providing Enrollees an opportunity to transfer to another plan; and
         (3) Tenninating the contract in accordance with Section 1.15, Renewal and Withdrawal
ofApproval.
        (e) Prior to taking action as described in paragraphs (c) and (d) of this clause, the OPM
will notify the Carrier and offer an opportunity to respond.
        (t) The Carrier shall incorporate this clause in subcontracts with its underwriter, if any,
and other subcontractors directly involved in the preparation or distribution of such advertising
material and shall substitute "Contractor" or other appropriate reference for the tenn "Carrier."

SECTION l.15
RENEWALANDWITHDRAWALOFAPPROVAL (JAN 1991) (FEHBAR 1652.249-70)

         (a) The contract renews automatically for a tenn of one ( l) year each January first,
unless written notice of non-renewal is given either by OPM or the Carrier not Jess than 60
calendar days before the renewal date, or unless modified by mutual agreement.
         (b) This contract also may be tenninated at other times by order of OPM pursuant to 5
U.S.C. 8902(e). After OPM notifies the Carrier of its intent to terminate the contract, OPM may
take action as it deems necessary to protect the interests of Members, including but not limited
to-
         ( 1) Suspending new enrollments under the contract;
         (2) Advising Enrollees of the asserted deficiencies; and
         (3) Providing Enrollees an opportunity to transfer to another plan.
         (c) OPM may, after proper notice, terminate the contract at the end of the contract term if
it finds that the Carrier did not have at least 300 Enrollees enrolled in its Plan at any time during
the two preceding contract terms.

SECTION 1.16
SUBCONTRACTS (JUL 2005) (FEHBAR 1652.244-70)

        (a) The Carrier will notify the Contracting Officer in writing at least 30 days in advance
of entering into any subcontract or subcontract modification, or as otherwise specified by this
contract, if the amount of the subcontract or modification charged to the FEHB Program equals or
exceeds $550,000 and is at least 25 percent of the total subcontract cost. The amount of the dollar
charge to the FEHB Program shall be adjusted by the same amount and at the same time as any



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              change to the threshold for application of the Truth in Negotiations Act pursuant to 41 U.S.C.
             254b(a)(7). Failure to provide advance notice may result in a Contracting Officer's disallowancc
              of subcontract costs or a penalty in the performance aspect of the Carrier's service charge. In
             detennining whether the amount chargeable to the FEHB Program contract for a given
             subcontract or modification equals or exceeds the $550,000 threshold, the following rules apply:
                       ( 1) For initial advance notification, the Carrier shall add the total cost/price for the base year
             and all options, including quantity or service options and option periods.
                       (2) For contract modifications, options and/or renewals (e.g. evergreen contracts) not
             accounted for in paragraph (a)( l ) of this clause, the carrier shall provide advance notification if they
             cause the total price to equal or exceed the threshold. OPM's review will be of the modification(s),
             itself, but documentation for the original subcontract will be required to perform the review. The
             $550,000 threshold will be adjusted by the same amount and at the same time as any change to the
             threshold for application of the Truth in Negotiations Act. All subcontracts or subcontract
             modifications that equal or exceed the threshold are subject to audit under FAR 52.215-2 "Audit and
             Records-Negotiations" if based on cost analysis or 48 CFR 1646.30 I and 1652.246-70 "FEHB
             Inspection" if based on price analysis.
                       (b) The advance notification required by paragraph (a) of this clause shall include the
             infonnation specified below:
                       ( l) A description of the supplies or services to be subcontracted;
                      (2) Identification of the type of subcontract to be used;
                      (3) Identification of the proposed subcontractor and an explanation of why and how the
             proposed subcontractor was selected, including the competition obtained;
                      (4) The proposed subcontract price and the Carrier's cost or price analysis;
                      (5) The subcontractor's current, complete, and accurate cost or pricing data and
             Certificate of Current Cost or Pricing Data, must be submitted to the Contracting Officer if
            required by Jaw, regulation, or other contract provisions.
                      (6) (Reserved)
                      (7) A negotiation memorandum reflecting-
                      (i) The principal elements of the subcontract price negotiations;
                      (ii) The most significant consideration controlling establishment of initial or revised
            prices;
                      (iii) An explanation of the reason cost or pricing data are not required, if the Carrier
            believes that cost or pricing data are not required.
                      (iv) The extent, if any, to which the Carrier did not rely on the subcontractor's cost or
            pricing data in determining the price objective and in negotiating the final price;
                      (v) The extent, if any, to which it was recognized in the negotiation that the
            subcontractor's cost or pricing data were not accurate, complete, or current; the action taken by
            the Carrier and the subcontractor; and the effect of any such defective data on the total price
            negotiated; ·
                     (vi)The reasons for any significant difference between the Carrier's price objective and
            the price negotiated; and
                     (vii) A complete explanation of the incentive fee or profit plan when incentives arc used.
            The explanation will identify each critical performance element, management decisions used to
            quantify each incentive element, reasons for the incentives, and a summary of all trade-off
            possibilities considered.



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          (c) The Carrier will obtain the Contracting Officer's written consent before placing any
 subcontract for which advance notification is required under paragraph (a) of this clause.
 However, the Contracting Officer may ratify in writing any such subcontract for which written
 consent was not obtained. Ratification will constitute the consent of the Contracting Officer.
          (d) The Contracting Officer may waive the requirement for advance notification and
 consent required by paragraphs (a), (b) and (c) of this clause where the Carrier and subcontractor
 submit an application or renewal as a contractor team arrangement as defined in FAR Subpart
 9.6 and--
         ( I) The Contracting Officer evaluated the arrangement during negotiation of the contract
 or contract renewal; and
         (2) The subcontractor's price and/or costs were included in the Plan's rates that were
 reviewed and approved by the Contracting Officer during negotiation of the contract or contract
renewal.
         (e) If the carrier follows the notification and consent requirements of paragraphs (a), (b)
and (c) of this clause and subsequently obtains the Contracting Officer's consent or ratification,
then the reasonableness of the subcontract's costs will be inferred as provided for in 1631.205-
81. However, consent or ratification by the Contracting Officer will not constitute a
determination:
         ( 1) Of the acceptability of any subcontract terms or conditions;
         (2) Of the allowability of any cost under this contract; or
         (3) That the Carrier should be relieved of any responsibility for perfonning this contract.
         (f) No subcontract placed under this contract will provide for payment on a cost-plus-a-
percentage-of-cost basis. Any fee payable under cost reimbursement type subcontracts will not
exceed the fee limitations in FAR 15.404-4(c)(4)(i). Any profit or fee payable under a
subcontract will be in accordance with the provision of Section 3.7, Service Charge.
         (g) The Carrier will give the Contracting Officer immediate written notice of any action
or suit filed and prompt notice of any claim made against the Carrier by any subcontractor or
vendor that, in the opinion of the Carrier, may result in litigation related in any way to this
contract with respect to which the Carrier may be entitled to reimbursement from the
Government.

SECTION 1.17
NOVATION AGREEMENT(JAN 1996)

        The agreement at FEHBAR 1642.1204 shall be submitted for approval to OPM when the
Carrier's assets or the entire portion of the assets pertinent to the performance of this contract, as
determined by the Government, are transferred.

SECTION 1.18
AGREEMENT TO RECOGNIZE CARRIER'S CHANGE OF NAME (JAN 1996)

        The agreement at FEHBAR 1642.1205 shall be submitted for approval to OPM when the
carrier changes its name and the Government's and Contractor's rights and obligations remain
unaffected.

SECTION 1.19


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 UNDERWRITER (JAN 1991)

         (a) If this Plan is underwritten, the Carrier agrees not to modify (except as allowed in
Section 2.3, Payment of Benefits and Provision of Services and Supplies) or terminate the policy
issued by the Underwriter of the Plan or give notice of termination or intent not to renew the
poJicy without prior express approval of the Contracting Officer. The Carrier shaU notify the
Contracting Officer in writing of its decision to change Underwriters as soon as is reasonable
after the decision is made but no later than at the time the Carrier submits its benefit and rate
proposal to OPM for the succeeding contract term.
         (b) In the event of any inconsistency between the terms of this contract between OPM
and the Carrier and the terms of the policy issued by the Underwriter to the Carrier, the terms of
this contract shall prevail.
         (c) If this Plan is underwritten, the policy issued to the Carrier by its Underwriter is a
part of this contract and is incorporated therein by reference. The Carrier shall include paragraph
(b) in the contract with its Underwriter.

SECTION 1.20
CERTIFICATION UNDER P.L. 104-191 (HEALTH INSURANCE PORTABILITY AND
ACCOUNTABILITY ACT OF 1996) (JAN 1998)

        The Carrier will issue a certification of coverage for members in accordance with the
regulations issued by the Department of Health and Human Services.

SECTION 1.21
PATIENTS' BILL OF RIGHTS (JAN 1999)

        (a) The Carrier shall implement the recommendations in the Health Care Consumer Bill
of Rights and Responsibilities ("Patients' Bill of Rights") in accordance with OPM guidance.
        (b) During the Carrier's provider contract renewal process, the Carrier shall make any
necessary modifications to such provider contracts to comply with the recommendations of the
Patients' Bill of Rights in accordance with OPM guidance. All new provider contracts with the
Carrier shall comply with the recommendations of the Patients' Bill of Rights in accordance with
OPM guidance.

SECTION 1.22
ADMINISTRATNE SIMPLIFICATION-HIPAA (JAN 2008)

        (a) The Carrier shall implement and be in compliance with the Department of Health and
Human Services (DHHS) regulations regarding the standards for electronic transactions, code
sets and unique identifiers on the date DHHS specifies. Subject to paragraph (c) of this section,
the regulations at 45 CFR parts 160 and 162 are incorporated by reference in this contract.
        (b) Tlie Carrier shall implement and be in compJiance with the DHHS regulations
regarding the standards for privacy and security of individually identifiable health information on
the date DHHS specifies. Subject to paragraph (c) of this section, the regulations at 45 CFR parts
160 and 164 are incorporated by reference in this contract.




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         (c) Because OPM has determined that the DHHS administrative simplification
 regulations should serve as a uniform nationwide standard for the FEHB Program. and because
 of the preemption provision at 5 U.S.C. 8902(m)(l), the provisions of 45 CFR part 160, subpart
 B are inapplicable to the Carrier with respect to the Plan.
         (d) If the Carrier is an employee organization that retains an underwriter, then these
 requirements also apply to the underwriter with respect to the Plan. If the Carrier for the plan
 authorized under 5 U.S.C. 8903(1), qualifies for limited application of the HHS Privacy Rule as a
 business associate. then the HHS Privacy Rule requirements apply to the underwriting
 participating affiliates.

 SECTION 1.23
 HIPAA COMPLIANCE (JAN 1998)

  (a) The Carrier shall comply with and shall talce all steps reasonably necessary to ensure that its
affiliates, subcontractors, and agents comply with the guaranteed availability provisions of the
Health Insurance Portability and Accountability Act of 1996 (HIPAA) and implementing
regulations. "Guaranteed availability" means the Carrier, affiliates. subcontractors, and agents
do not engage in practices that: I) decline to offer health insurance coverage (as defined in
section 2791 (b)(I) of the Public Health Service Act "the Act" ) to, or deny enrollment of an
eligible individual (as defined in section 2741(b) of the Act); or. 2) impose any preexisting
condition exclusion (as defined in section 270l(b)(l)(A) of the Act), with respect to such
coverage.
         (b) A State or Federal enforcement action as the result of noncompliance with the
requirements of HIPAA is a significant event under Section l.10 of this contract, Notice of
Significant Events. If the Carrier, or any affiliate. subcontractor, or agent, is notified of any
enforcement action by any Federal or State authority with regard to HIPAA compliance. the
Carrier must notify OPM within ten working days of learning of the action.

SECTION 1.24
NOTICE ON TERMINATION OF FEHBP OR PROVIDER CONTRACT (JAN 2003)

          (a) Members who are undergoing treatment for a chronic or disabling condition or who are
 in the second or third trimester of pregnancy at the time a carrier terminates (I) its FEHBP contract,
 (2) the members' specialty provider contract, or (3) a Preferred Provider Organi7.ation (PPO) or
 Point ofService (POS) network contract, for reasons other than cause, may be able to continue to
 see their specialty provider for up to 90 days or through their postpartum care.
          (b) The Carrier shall notify its members in writing of its intent to terminate its FEHBP
contract, the members' specialty provider contract. or a PPO or POS network contract, for reasons
other than cause, in order to allow sufficient time for the members to arrange for continued care
after the 90-day period or their postpartum care, whichever applies. The Carrier shall send the
required notice to the member if the Carrier has in its records an address for the member different
from the enrollee's address; otherwise, the Carrier may send the notice to the enrollee. The Carrier
shall send the notice in time to ensure it is received by the members no less than 90 days prior to the
date it terminates the contract. unless the Canier demonstrates it was prevented from doing so for
reasons beyond its control. The Carrier's prompt notice will ensure that the notification period and
the transitional care period run concurrently.



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 SECTION 1.25
 TRANSITIONAL CARE (JAN 2003)

         (a) ''Transitional care" is specialized care provided for up to 90 days or through the
 postpartum period, whichever is later, to a member who is undergoing treatment for a chronic or
 disabling condition or who is in the second or third trimester of pregnancy when the Carrier
 terminates (I) its FEHBP contract, (2) the member's specialty provider contract, or (3) a
 Preferred Provider Organization (PPO) or Point of Service (POS) network contract for reasons
 other than cause. The 90-day period begins the earlier of the date the member receives the notice
 required under Section 1.24, Notice on Termination of FEHBP or Provider Contract, or the date
 the Carrier's or the provider's contract ends.
         (b) The Carrier shall ensure the following:
         ( 1) If it terminates a specialty provider contract or a PPO or POS network contract other
 than for cause, it allows members who are undergoing treatment for a chronic or disabling
condition or who are in the second or third trimester of pregnancy to continue treatment under
the specialty provider for up to 90 days, or through their postpartum period, whichever is later,
under the same tenns and conditions that existed at the beginning of the transitional care period;
and
         (2) If it enrolls a new member who voluntarily changed carriers because the member's
former carrier was no longer available in the FEHB Program, it provides transitional care for the
member if he or she is undergoing treatment for a chronic or disabling condition or is in the
second or third trimester of pregnancy for up to 90 days, or through the postpartum period,
whichever is later, under the same terms and conditions the member had under the prior carrier.
        (c) In addition, the Carrier shall (I) pay for or provide the transitional care required under
this clause at no additional cost to members;
        (2) require the specialty provider or network to promptly transfer all medical records to
the designated new provider d'uring or upon completion of the transition period, as authorized by
the patient; and,
        (3) require the specialty provider or network to give all necessary information to the
Carrier for quality assurance purposes.

SECTION l.26
STANDARDS FOR PHARMACY BENEFIT MANAGEMENT COMPANY (PBM)
ARRANGEMENTS (JAN 2008)

The Carrier will ensure that the following standards are included in new, renewing or amended
contracts with vendors providing a retail pharmacy network and/or a mail order pharmacy to
enrollees and dependents (hereafter "PBM") effective on or after January 2, 2005, and, through
amendment, all existing contracts by January l, 2006.

(a) Transparency Standards
       (I) The PBM is not majority-owned or majority-controlJed by a pharmaceutical
manufacturing company.
       (2) The PBM agrees to credit to the Health Plan either as a price reduction or by cash
refund all Manufacturer Payments to the extent negotiated, if such an arrangement exists



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     between the Carrier and the PBM. Manufacturer Payments are any and all compensation or
     remuneration the PBM receives from a pharmaceutical manufacturer, including but not limited
     to, discounts; credits; rebates, regardless of how categorized; market share incentives,
     commissions, and administrative or management fees. The term also includes any fees received
     for sales of utilization data to a pharmaceutical manufacturer. This term does not include
     purchase discounts based upon invoiced purchase terms.
              (3) If the Carrier has negotiated with the PBM to receive all or a portion of Manufacturer
     Payments as described in (2) above, the PBM will provide the Carrier with quarterly and annual
     Manufacturer Payment Reports identifying the following information. This information shall be
     presented for both the total of all prescription drugs dispensed through the PBM, acting as a mail
     order pharmacy, and its retail network and in the aggregate for the 25 brand name drugs that
     represent the greatest cost to the Health Plan or such number of brand name drugs that together
     represent 75% of the total cost to the Health Plan, whichever is the greater number:
             (i) the dollar amount of Total Product Revenue for the reporting period, with
              respect to the PBM's entire client base. Total Product Revenue is the PBM's
              net revenue which consists of sales of prescription drugs to clients, either
             through retail networks or PBM-owned or controlled mail order pharmacies.
             Net revenue is recognized at the prescription price negotiated with clients and
             associated administrative fees;
             (ii) the dollar amount of total drug expenditures for the Health Plan;
             (iii)the dollar amount of all Manufacturer Payments earned by the PBM for the
             reporting period;
             (iv)the percentage of all Manufacturer Payments earned by the PBM for the
             reporting period that were Manufacturer Formulary Payments, which are
             payments the PBM receives from a manufacturer in return for fonnulary
             placement and/or access, or payments that are characterized as "formulary" or
             "base" rebates or payments pursuant to the PBM's agreements with
             pharmaceutical manufacturers;
             (v) the percentage of all Manufacturer Payments received by the PBM during the
             reporting period that were Manufacturer Additional Payments, which are all
             Manufacturer Payments other than Manufacturer Formulary Payments.
         (4) The PBM agrees to provide the Carrier, at least annually, with all financial and utilization
    information requested by the Carrier relating to the provision of benefits to eligible enrollees
    through the PBM and all financial and utilization information relating to services provided to
    Carrier.
         (5) The Carrier agrees to provide any information it receives from the PBM, including a copy
    of its contract with the PBM to OPM. A PBM providing information to a Carrier under this
    subsection may designate that information as confidential commercial information. The PBM,
    by contracting with the Carrier, consents to the disclosure of this information to OPM. OPM
    shall treat such designated information as confidential. However, this information may be subject
    to FOIA disclosure under 5 C.F.R. § 294.112.
        (6) If the Health Plan's PBM arrangement is with an Underwriter rather than with the
    Carrier, then all references to the Carrier appearing in this Section 1.26 shall be deemed to be
    references to the Underwriter.

    (b) Integrity Standard


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 The Carrier will require that its PBM contractors agree to adopt and adhere to a code of ethics
 promulgated by a national professional association, such as the Code of Ethics of the American
 Pharmacists Association (dated October 27, 1994), for their employed pharmacists.

(c) Performance Standards
The Carrier will require that its PBM contractors develop and apply a quality assurance program·
specifying procedures for insuring contract quality on the following standards at a minimum and
submit reports to the Carrier on their performance. PBMs must meet, at minimum, the member
inquiry, telephone customer service, paper claims processing, and other applicable standards set
for carriers at Section I .9(f)( I), (2), (5), (7), and (8). All other standards discussed below will
have specific target goals the PBM is expected to achieve. Carriers may permit PBMs to
measure compliance using statistically valid samples for the PBMs book of business. Agreed to
standards shall be provided to OPM for its review and comment. If OPM has concerns about a
particular standard, the Carrier agrees to present OPM's concerns to the PBM and either revise
the standard as requested by OPM or revise the standard to the extent feasible and present to
OPM information demonstrating the problems associated with making the requested revisions in
full.

    (l) Retail Pharmacy Standards

       (i)      Point of Service (POS) system response time. The PBM's network electronic
                transaction system provides rapid response to network pharmacies.
      (ii)      POS system availability. The PBM's network electronic transaction system
                generally is available to, and accessible by, network pharmacies.
        (iii)   Licensing - The PBM verifies the appropriate licensing of its
                network pharmacies.

    (2) Mail Service Pharmacy Standards

       (i)     Dispensing accuracy-The PBM dispenses its prescriptions to the correct patient
               and for the correct drug, drug strength and dosage in accordance with the
               physician's prescription not less than 99.9% of the time.
       (ii)    Turnaround time - The PBM promptly dispenses and ships at least 98% on
               average of all prescriptions not requiring intervention or clarification within 3
               business days or meets an equivalent measure approved by OPM.
   (4) Prior Aooroval- if applicable-The PBM promptly reviews and responds to requests for
       prior approval for specific drugs following receipt of all required information.

   (d) Alternative Drug Options
   The Carrier will require that its PBM contractors, at a minimum, utilize the following
   protocols for PBM initiated drug interchanges (any change from the original prescription)
   other than generic substitutions:

       (i)      The PBM must treat the prescribing physician, and not itself, as t9e ultimate
                decision-maker. Furthermore, to the extent appropriate under the circumstances,
                the PBM must allow the patient input into that decision-making process. At a



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                 minimum, the PBM must provide the patient with a written notice in the package
                 sent to the patient that the drug interchange has occurred with the approval of the
                 Prescriber.
        (ii)    The PBM will obtain authorization for a drug interchange only with the
                express, verifiable authorization from the Prescriber as communicated
                directly by the Prescriber, in writing or verbally, or by a licensed medical
                 professional or other physician's office staff member as authorized by the
                Prescriber.
        (iii)   The PBM must memorialize in appropriate detail all conversations with
                patients and physicians in connection with drug interchanging requests,
                including the identity of the contact person at the physician's office and
                the basis for his or her authority.
        (iv)    The PBM will only interchange a patient's drug from a lower priced drug
                to a higher priced drug to patient or Plan when authorized by the Carrier or
                the Plan.
        (v)     The PBM will permit pharmacists to express their professional judgment to both
                the PBM and physicians on the impact of drug interchanges and to answer
                physicians' questions about dosing. PBMs will not require pharmacists to, and
                will not penalize pharmacists for refusing to, initiate calls to physicians for drug
                interchanges that in their professional judgment should not be made.
        (vi)    The PBM will offer to disclose, and if requested, will disclose to
                physicians, the Carrier, and patients (i) the reason(s) why it is suggesting a
                drug interchange and (ii) how the interchange will affect the PBM, the
                Plan, and the patients financially.

SECTION 1.27
DISCLOSURE NOTICE UNDER P.L. 108-173 (MEDICARE MODERNIZATION ACT OF
2003) (JAN 2006)

       The Carrier will issue, as part of its FEHB benefits brochure, a disclosure notice
concerning creditable prescription drug coverage in accordance with the regulation at 42 CFR
§423.56 issued by the Department of Health and Human Services.

SECTION 1.28
CARRIER DISASTER RECOVERY PLAN (JAN 2007)

The Carrier must implement a disaster recovery plan that addresses flexibility for the following:
      (a) Medical and phannacy procedures and requirements
      (b) Barriers to accessing needed health care;
      (c) Requests for out-of-network medical services;
      (d) Alternatives for medical pre-certification, referrals, medical necessity review and
          notification of hospital admissions;
      (e) Accessing other PCPs or specialists;
      (f) Pharmacy restrictions, refilJs, additional supplies of medications as backup;
      (g) Mail-order phannacy;
      (h) Adhering to recommendations for vaccinations from the Center for Disease Control;


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        (i) Claims payments;
        (j) Crisis toll free hotline;
        (k) Ability to identify current members;
        (I) Recovery procedures for critical business functions (i.e., system, network,
           communication, work area recovery); and
        (m)Sccure backup site (hot/cold). A "hot work site" is a designated location to be used in
           the event of a disaster that is fully prepared for continuation of work to which the
           employees can go. A "cold work site" is a designated location to use in the event of a
           disaster that is not fully prepared for continuation of work to which the employees
           can go.

The Carrier must provide OPM with the following information:
      (a) description of its disaster recovery plan;
      (b) the carrier's current state of readiness and the frequency of evaluations;
      (c) the carrier's work with its subcontractor on this issue;
      (d) a timeline; and
      (e) any potential problem areas.

The Carrier may implement its own additional measures.

Carriers must submit this information by January l, 2007. Carriers who enter the FEHBP
subsequent to 2007, must submit this information by January l st of their first FEHBP contract
year. Any material changes to the disaster recovery plan, such as a prime disaster recovery
subcontract change or a hot site change, should be reported to OPM.

SECTION 1.29
HEALTH INFORMATION TECHNOLOGY REQUIREMENTS (JAN 2008)

        (a) The Carrier agrees that as it implements, acquires, or upgrades health information
technology systems, it shall utilize, where available, certified health information technology
systems and products that meet interoperability standards recognized by the Secretary of Health
and Human Services, as existing on the date of the implementation, acquisition, or upgrade of
health information technology systems ("Interoperability Standards").
        (b) The Carrier agrees that such health information technology systems will have already
been pilot tested in a variety of live settings and refined, if needed, before the Carrier will
consider them for implementation.
        (c) The Carrier agrees that as its provider agreements are established or renewed, it will
encourage contracted providers to comply with applicable Interoperability Standards.




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                                       PART II-BENEFITS

 SECTION 2.1
 ENROLLMENT ELIGIBILITY AND EVIDENCE OF ENROLLMENT (JAN 1999)

         (a) Enrollment.
         (I) Each eligible individual who wishes to be enrolled in the plan offered by this Carrier
shall, as a prerequisite to such enrollment, complete a Health Benefits Election Form, or use an
electronic or telephonic method approved by OPM, within the time and under the conditions
specified in 5 CPR Part 890. The Government personnel office having cognizance over the
Enrollee shall promptly furnish notification of such election to the Carrier.
        (2) A person's eligibility for coverage, effective date of enrollment, the level of benefits
(option}, the effective date of termination or cancellation of a person's coverage, the date any
extension of a person's coverage ceases, and any continuance of benefits beyond a period of
enrollment and the date any such continuance ceases, shall all be determined in accordance with
regulations or directions of OPM given pursuant to chapter 89, title 5, United States Code.
        (b) Special Limitations With Regard To Employee Organizations.
        ( 1) A plan sponsored by an employee organization as defined by the Act, is available
only to eligible employees, annuitants, former spouses, and former employees and dependents
(and eligible members of their families) who must be or must become members of the
sponsoring organization to enroll in the Plan.
        (2) Employees with membership status in an employee organization at the time they
become annuitants may retain their membership in the organization and, if eligible, continue
their enrollment in the Plan. Survivor annuitants of Enrollees in the Plan may continue their
enrollment in the Plan without becoming members of the sponsoring employee organization.
        (c) The Carrier shall issue evidence of the Enrollee's coverage and furnish to the Enrollee
copies of any forms necessary to make claim for benefits.

SECTION2.2
BENEFITS PROVIDED (JAN 2007)

         (a) The Carrier shall provide the benefits as described in the agreed upon brochure text
 found in Appendix A.
        (b) In addition to providing benefits in accordance with (a) above, the Carrier shall be
authorized to modify them as follows:
        ( 1) To permit methods of treatment not expressly provided for, but not prohibited by law,
rule or Federal policy, if otherwise contractually appropriate, and if such treatment is medically
necessary and is as cost effective as providing benefits to which the Member may otherwise be
entitled.
        (2) To pay for or provide a health service or supply in an individual case which does not
come within the specific benefit provisions of the contract, if the Carrier determines the benefit is
within the intent of the contract, and the Carrier determines that the provision of such benefit is
in the best interests of the Federal Employees Health Benefits Program.
        (3) In individual cases, the Carrier, after consultation with and concurrence by the
Member and provider(s), may offer a benefit alternative not ordinarily covered under this


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contract which will result in equally effective medical treatment at no greater benefit cost. An
 alternative benefit will be made available for a limited time period and is subject to the Carrier's
ongoing review. Members must cooperate with the Carrier's review process.
         (c)The decision to offer, deny, or withdraw coverage for a modified an alternative benefit
is solely the Carrier's discretion (unless the Carrier and member have entered into an alternative
benefits agreement that expressively modifies this authority), and is not subject to OPM review
under the disputed claims process.
           (d) In each case when the Carrier provides a non-covered benefit in accordance with
(b) above, the authority of (b) above, the Carrier shall document in writing prior to the provision
of such benefit the reasons and justification for its determination. The writing may be in the
form·of an alternative benefit agreement with the Member. Such payment or provision of
services or supplies while a valid charge under the contract shall not be considered to be a
precedent in the disposition of similar cases or extensions in the same case beyond the approved
period.
         (e) Except as provided for in (b) above, the Carrier shall provide benefits for services or
supplies in accordance with Appendix A.
        (f) The Carrier, subject to (g) below, shall determine whether in its judgment a service or
supply is medically necessary or payable under this contract.
        (g) The Carrier agrees to pay for or provide a health service or supply in an individual
case if OPM finds that the Member is entitled thereto under the terms of the contract.

SECTION2.3
PAYMENT OF BENEFITS AND PROVISION OF SERVICES AND SUPPLIES (JAN 2003)

         (a) By enrolling or accepting services under this contract, Members are obligated to all
 terms, conditions, and provisions of this contract. The Carrier may request Members to complete
 reasonable fonns or provide information which the Carrier may reasonably request, provided,
 however, that the Carrier shall not require Members to complete any form as a precondition of
 receiving benefits unless the form has first been approved for use by OPM. Notwithstanding
Section 2.9, Claims Processing, forms requiring specific approval do not include claim forms
and other fonns necessary to receive payment of individual claims.
         (b) All benefits shall be paid (with appropriate documentation of payment) within a
reasonable time after receipt of reasonable proof covering the occurrence, character, and extent
of the event for which the claim is made. The claimant shall furnish satisfactory evidence that all
services or supplies for which expenses are claimed are covered services or supplies within the
meaning of the contract.
         (c) The procedures and time period for filing claims shall be as specified in the agreed
upon brochure text (Appendix A). However, failure to file a claim within the time required shall
not in itself invalidate or reduce any claim where timely filing was prevented by administrative
operations of Government or legal incapacitation, provided the claim was submitted as soon as
reasonably possible.
        (d) The Carrier may request a Member to submit to one or more medical examinations to
determine whether benefits applied for are for services and supplies necessary for the diagnosis
or treatment of an illness or injury or covered condition of the Member and may withhold
payment of such benefits pending completion of the examinations. The examinations shall be
made at the expense of the Carrier by a physician selected by the Member from a panel of at


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  least three physicians whose names are furnished by the Carrier, and the results of the
  examinations shall be made available to the Carrier and the Member.
           (e) As a condition precedent to the provision of benefits hereunder, the Carrier, to the
  extent reasonable and necessary and consistent with Federal law, shall be entitled to obtain from
  any person, organization or Government agency, including the Office of Personnel Management,
  all information and records relating to visits or examination of, or treatment rendered or supplies
  furnished to, a Member as the Carrier requires in the administration of such benefits. The Carrier
  may obtain from any insurance company or other organization or person any information, with
  respect to any Member, which it has determined is reasonably necessary to:
           ( 1) identify enrollment in a plan,
           (2) verify eligibility for payment of a claim for health benefits, and
           (3) carry out the provisions of the contract, such as subrogation, recovery of payments
  made in error, workers compensation, and coordination of benefits.
           (t) Benefits are payable to the Enrollee in the Plan or his or her assignees. However,
  under the following circumstances different payment arrangements are allowed:
           (1) Reimbursement Payments for the Enrollee. If benefits become payable to the estate
 of an Enrollee or an Enrollee is a minor, or an Enrollee is physically or mentally not competent
 to give a valid release, the Carrier may either pay such benefits directly to a hospital or other
 provider of services or pay such benefits to any relative by blood or connection by marriage of
 the Enrollee determined by the Carrier to be equitably entitled thereto.
          (2) Reimbursement Payments for a minor child. If a child is covered as a family member
 under the Enrollee's self and family enrollment and is in the custody of a person other than the
 Enrollee, and if that other person certifies to the Carrier that he or she has custody of and
 financial responsibility for the dependent child, then the Carrier may issue an identification card
 for the dependent child(ren) to that person and may reimburse that person for any covered
 medical service or supply.
          (3) Reimbursement Payments to family members covered under the Enrollee's self and
 family enrollment. If a covered child is legally responsible, or if a covered spouse is legally
 separated, and if the covered person does not reside with the Enrollee and certifies such
conditions to the Carrier, then the Carrier may issue an identification card to the person and may
 reimburse that person for any covered medical service or supply. In the case of a legally
 separated spouse, the Carrier may also furnish the explanation of benefits to the spouse when
determined by the Carrier to be required.
          (4) Reimbursement payments to Government programs, such as Mecticaid. If Federal
law provides that reimbursement is payable to a Government program under coordination of
benefits or similar rules, in lieu of being payable to the Enrollee or other covered person, the
Carrier may reimburse the other Government program for any covered medical service or supply.
To the degree that the Carrier is able to identify Mecticaid beneficiaries, the Carrier will process
claims directly to the provider of service or reimburse the Meclicaid agency if the Medicaid
agency has already paid the provider and is seeking reimbursement. When this situation is
identified, the Carrier will update the member's records to ensure proper adjudication of claims.
         (5) Compliance with the HIPAA Privacy Rule. The Carrier may pay benefits to a
covered person other than the Enrollee when in the exercise of its discretion the Carrier decides
that such action is necessary to comply with the HIPAA Privacy Rule, 45 C.F.R. § 164.500 ~
~·
        (6) Any payments made in good faith in accordance with paragraphs (t)(l) through (t)(5)
shall fully discharge the Carrier to the extent of such payment.

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              (g) Erroneous Payments. If the Carrier or OPM determines that a Member's claim has
   been paid in error for any reason (except in the case of fraud or abuse), the Carrier shall make a
   prompt and diligent effort to recover the erroneous payment to the member from the member or,
   if to the provider, from the provider. The Carrier shall follow general business practices and
   procedures in collecting debts owed under the Federal Employees Health Benefits Program.
   Prompt and diligent effort to recover erroneous payments means that upon discovering that an
  erroneous payment exists, the Carrier shall--
             ( l) Send a written notice of erroneous payment to the member or provider that provides:
  (A) an explanation of when and how the erroneous payment occurred, (B) when applicable, cite
   the appropriate contractual benefit provision, (C) the exact identifying information (i.e., dollar
  amount paid erroneously, date paid, check number, date of service and provider name), (D) a
  request for payment of the debt in full, and (E) an explanation of what may occur should the debt
  not be paid, including possible offset to future benefits. The notice may also offer an installment
  option. In addition, the Carrier shall provide the debtor with an opportunity to dispute the
  existence and amount of the debt before proceeding with collection activities;
             (2) After confirming that the debt does exist and in the appropriate amount, send follow-
  up notices to the member or the provider at 30, 60 and 90 day intervals, if the debt remains
  unpaid and undisputed;
             (3) The Carrier may off-set future benefits payable to the member or to a provider on
  behalf of the member to satisfy a debt due under the FEHBP if the debt remains unpaid and
  undisputed for 120 days after the first notice;
             (4) After applying the first three steps, refer cases when it is cost effective to do so to a
 collection attorney or a collection agency if the debt is not recovered;
             (5) Make prompt and diligent effort to recover erroneous payments until the debt is paid
  in full or determined to be uncollectible by the Carrier because it is no longer cost effective to
 pursue further collection efforts or it would be against equity and good conscience to continue
 collection efforts;
            (6) Suspend recovery efforts for a debt which is based upon a claim that has been
 appealed as a disputed claim under Section 2.8, until the appeal has been resolved;
            (7)(i) The Carrier may charge the contract for ben~fit payments made erroneously but in
 good faith provided that it can document that it made a prompt and diligent effort to recover
 erroneous payments as described above.
           (ii) Notwithstanding (g)(7)(i), the Carrier may not charge the contract for the
 administrative costs to correct erroneous benefit payments (or to correct processes or procedures
 that caused erroneous benefit payments) when the errors are egregious or repeated. These costs
are deemed to be unreasonable and unallowable under section 3.2(b )(2)(ii);
            (8) Maintain records that document individual unrecovered erroneous payment coJlection
activities for audit or future reference.
            (9) At the request of OPM, the Carrier shall provide evidence that it has taken the steps
enumerated above in this subsection to promptly recover erroneous payments identified through
the OPM audit process, including but not limited to overpayments related to Medicare
coordination of benefits. The Contracting Officer may require the Carrier to establish and
submit to the Contracting Officer a written corrective action plan.
           (h) Erroneous payment recoveries may be reduced by any legal or collection agency fees
expended to obtain the recoveries and which are not otherwise payable under this experience-rated
contract. The amount credited to the contract shall be the net amount remaining after deducting the
related legal or collection agency fees.
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          (i) AU health benefit refunds and recoveries, including eaoneous payment recoveries, must be
 deposited into the worlcing capital or investment account within 30 days and returned to or accounted
 for in the FEHBP letter of credit account within 60 days after receipt by the Carrier.
          G) Notwithstanding subsection (f), the Carrier reserves the right to pay the Member
 directly for all covered services described in the agreed upon brochure text attached as Appendix
 A.
         ( l 0) In compliance with the provisions of the Contract Disputes Act, the Carrier shall
 return to the Program an amount equal to the uncollected erroneous payment where the
 Contracting Officer determines that (a) the Carrier's failure to appropriately apply its operating
 procedure caused the erroneous payment and (b) that the Carrier failed to make a prompt and
 diligent effort to recover an erroneous payment.

SECTION2.4
TERMINATION OF COVERAGE AND CONVERSION PRIVILEGES (JAN 1996)

         (a) A Member's coverage is terminated as specified in regulations issued by the OPM.
 Benefits after tennination of coverage are as specified in the regulations.
         (b) A Member is entitled to a temporary continuation of coverage or an extension of
 coverage under the conditions and to.the extent specified in the regulations.
       . (c) A Member whose coverage hereunder has tenninated is entitled, upon application
 within the times and under the conditions specified in regulations, to a non-group contract
 regularly offered for the purpose of conversion from the contract or similar contracts. The
conversion contract shall be in compliance with 5 U.S.C., chapter 89, and regulations issued
thereunder.
         (d) Costs associated with writing or providing benefits under conversion contracts shall
not be an allowable cost of this contract.
         (e) The Carrier shall maintain on file with OPM copies of the conversion policies offered
to persons whose coverage under this contract terminates and advise OPM promptly of any
changes in the policies. The Contracting Officer may waive this requirement where because of
the large number of different conversion policies offered by the Carrier it would be impractical
to maintain a complete up-to-date file of all policies. In this case the Carrier shall submit a
representative sample of the general types of policies offered and provide copies of specific
policies on demand.

SECTION 2.5
SUBROGATION (JAN 2006)

         (a) The Carrier's subrogation rights, procedures and policies, including recovery rights,
shall be in accordance with the provisions of the agreed upon brochure text, which is
incorporated in this Contract in Appendix A. As the member is obligated by Section 2.3(a) to
comply with the terms of this Contract, the Carrier, in its discretion, shall have the right to file
suit in federal court in order to enforce those rights.
         (b) Subrogation recoveries may be reduced by any legal fees expended to obtain the
recoveries and which are not otherwise payable under this experience-rated contract. The
amount credited to the contract shall be the net amount remaining after deducting the related
legal fees.


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 SECTION2.6
 COORDINATION OF BENEFITS (JAN 2001) (FEHBAR 1652.204-71)

          (a) The Carrier shall coordinate the payment of benefits under this contract with the
payment of benefits under Medicare, other group health benefits coverages, and the payment of
medical and hospital costs under no-fault or other automobile insurance that pays benefits
without regard to fault.
         (b) The Carrier shall not pay benefits under this contract until it has determined whether
it is the primary carrier or unless permitted to do so by the Contracting Officer.
         (c) In coordinating benefits between plans, the Carrier shall follow the order of
precedence established by the NAIC Group Coordination of Benefits Model Regulation, Rules
for Coordination of Benefits, as specified by OPM.
         (d) Where ( l ) the Carrier makes payments under this contract which are subject to COB
provisions; (2) the payments are erroneous, not in accordance with the terms of the contract, or in
excess of the limitations applicable under this contract; and (3) the Carrier is unable to recover
such COB overpayments from the Member or the providers of services or supplies, the
Contracting Officer may allow such amounts to be charged to the contract; the Carrier must be
prepared to demonstrate that it has made a diligent effort to recover such COB overpayments.
         (e) COB savings shall be reported by experience-rated carriers each year along with the
Carrier's annual accounting statement in a form specified by OPM.
         (f) Changes in the order of precedence established by the NAIC Group Coordination of
Benefits Model Regulation, Rules for Coordination of Benefits, implemented after January 1 of
any given year shall be required no earlier than the beginning of the following contract term.
   [NOTE: In the event that benefits are payable to the Member under no-fault automobile
   insurance, the no-fault automobile insurer shall be the Primary Carrier if it is obligated
   legally to pay benefits for health care expenses without regard to other health benefits
   coverage that the Member may have. The term "no-fault automobile insurance" includes
   any automobile insurance policy under which the insurer pays benefits for health care
   expenses resulting from the accident without regard to whether the insured's conduct
   contributed to the accident.]

SECTION2.7
DEBARMENT AND OTHER SANCTIONS (JAN 1999)

        (a) Notwithstanding 5 U.S.C. 8902(j) or any other provision of the law and regulations,
if, under 5 U.S.C. 8902a, 5 CFR 970, or Public Law 103-123 (or other applicable appropriations
law), a provider is barred from participating in the Program under 5 U.S.C. or the provider's
services under 5 U.S.C. are excluded, the Carrier agrees that no payment shall be made by the
Carrier pursuant to any contract under 5 U.S.C. (either to such provider or by reimbursement) for
any service or supply furnished by such provider during the period of the debarment, except as
provided in 5 CFR 970.2CIO(b).
        (b) The OPM shall notify the Carrier when a provider is barred from the FEHBP.

SECTION2.8
FILING HEALTH BENEFIT CLAIMS/COURT REVIEW OF DISPUTED CLAIMS (MAR
1995) (FEHBAR 1652.204-72)


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            (a) General. (1) The Carrier resolves claims filed under the Plan. All health benefit
  claims must be submitted initially to the Carrier. If the Carrier denies a claim (or a portion of a
  claim), the covered individual may ask the Carrier to reconsider its denial. If the Carrier affirms
  its denial or fails to respond as required by paragraph (b) of this clause, the covered individual
  may ask OPM to review the claim. A covered individual must exhaust both the Carrier and
  OPM review processes specified in this clause before seeking judicial review of the denied
  claim
           (2) This clause applies to covered individuals and to other individuals or entities who arc
  acting on the behalf of a covered individual and who have the covered individual's specific
  written consent to pursue payment of the disputed claim.
           (b) Time limits for reconsidering a claim. (I) The covered individual has 6 months from
  the date of the notice to the covered individual that a claim (or a portion of a claim) was denied
  by the Carrier in which to submit a written request for reconsideration to the Carrier. The time
  limit for requesting reconsideration may be extended when the covered individual shows that he
 or she was prevented by circumstances beyond his or her control from making the request within
  the time limit.
           (2) The Carrier has 30 days after the date of receipt of a timely-filed request for reconsid-
 eration to:
           (i) Affirm the denial in writing to the covered individual;
           (ii) Pay the bill or provide the service; or
           (iii) Request from the covered individual or provider additional information needed to
 make a decision on the claim. The Carrier must simultaneously notify the covered individual of
 the information requested if it requests additional information from a provider. The Carrier has
 30 days after the date the information is received to affirm the denial in writing to the covered
 individual or pay the bill or provide the service. The Carrier must make its decision based on the
 evidence it has if the covered individual or provider does not respond within 60 days after the
 date of the Carrier's notice requesting additional information. The Carrier must then send written
 notice to the covered individual of its decision on the claim. The covered individual may request
 OPM review as provided in paragraph (b)(3) of this clause ifthe Carrier fails to act within the
 time Jim.it set forth in this paragraph.
          (3) The covered individual may write to OPM and request that OPM review the Carrier's
decision if the Carrier either affirms its denial of a claim or fails to respond to a covered
individual's written request for reconsideration within the time limit set forth in paragraph (b)(2)
of this clause. The covered individual must submit the request for OPM review within the time
limit specified in paragraph (e)( l) of this clause.
          (4) The Carrier may extend the time limit for a covered individuaJ's submission of
additional information to the Carrier when the covered individual shows he or she was not
notified of the time limit or was prevented by circumstances beyond his or her control from
submitting the additional information.
         (c) Information required to process requests for reconsideration. (I) The covered
individual must put the request to the Carrier to reconsider a claim in writing and give the
reasons, in terms of applicable brochure provisions, that the denied claim should have been
approved.
         (2) If the Carrier needs additional information from the covered individual to make a
decision, it must:
         (i) Specifically identify the information needed;
         (ii) State the reason the information is required to make a decision on the claim;

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           (iii) Specify the time limit (60 days after the date of the Carrier's request) for submitting
  the information; and
           (iv) State the consequences of failure to respond within the time limit specified, as set out
  in paragraph (b )(2) of this section.
           (d) Carrier detenninations. The Carrier must provide written notice to the covered
  individual of its detennination. If the Carrier affirms the initial denial, the notice must inform
  the covered individual of:
           ( l) The specific and detailed reasons for the denial;
           (2) The covered individual's right to request a review by OPM; and
           (3) The requirement that requests for OPM review must be received within 90 days after
  the date of the Carrier's denial notice and include a copy of the denial notice as well as
 documents to support the covered individual's position.
          (e) OPM review. (I) If the covered individual seeks further review of the denied claim,
 the covered individual must make a request to OPM to review the Carrier's decision. Such a
 request to OPM must be made:
          (i) Within 90 days after the date of the Carrier's notice to the covered individual that the
 denial was affirmed; or
          (ii) If the Carrier fails to respond to the covered individual as provided in paragraph
 (b}(2) of this clause, within 120 days after the date of the covered individual's timely request for
 reconsideration by the Carrier; or
          (iii) Within 120 days after the date the Carrier requests additional information from the
 covered individual, or the date the covered individual is notified that the Carrier is requesting
 additional information from a provider. OPM may extend the time limit for a covered
 individual's request for OPM review when the covered individual shows he or she was not
 notified of the time limit or was prevented by circumstances beyond his or her control from
 submitting the request for OPM review within the time limit.
          (2) In reviewing a claim denied by the Carrier, OPM may
         (i) Request that the covered individual submit additional information;
         (ii) Obtain an advisory opinion from an independent physician;
         (iii) Obtain any other information as may in its judgment be required to make a
 determination; or
         (iv) Make its decision based solely on the information the covered individual provided
 with his or her reques~ for review.
         (3) When OPM requests information from the Carrier, the Carrier must release the
information within 30 days after the date of OPM's written request unless a different time limit is
specified by OPM in its request.
         (4) Within 90 days after receipt of the request for review, OPM will either:
         (i) Give a written notice of its decision to the covered individual and the Carrier; or
         {ii) Notify the individual of the status of the review. If OPM does not receive requested
evidence within 15 days after expiration of the applicable time limit in paragraph (e)(3) of this
clause, OPM may make its decision based solely on information available to it at that time and
give a written notice of its decision to the covered individual and to the Carrier.
        {f) OPM, upon its own motion, may reopen its review if it receives evidence that was
unavailable at the time of its original decision.
        (g) Court review. (1) A suit to compel enrollment under§ 890.102 of Title 5, Code of
Federal Regulations, must be brought against the employing office that made the enrollment
decision.

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         (2) A suit to review the legality of OPM's regulations under this part must be brought
 against the Office of Personnel Management.
         (3) Federal Employees Health Benefits (FEHB) carriers resolve FEHB claims under
 authority of Federal statute (chapter 89, title 5, United States Code). A covered individual may
 seek judicial review of OPM's final action on the denial of a health benefits claim. A legal action
 to review final action by OPM involving such denial of health benefits must be brought against
 OPM and not against the Carrier or the Carrier's subcontractors. The recovery in such a suit
 shaJJ be limited to a court order directing OPM to require the Carrier to pay the amount of
 benefits in dispute.
         (4) An action under paragraph (3) of this clause to recover on a claim for health benefits:
         (i) May not be brought prior to exhaustion of the administrative remedies provided in
 paragraphs (a) through (f) of this clause;
         (ii) May not be brought later than December 31 of the 3rd year after the year in which the
 care or service was provided; and
         (iii) WiJJ be limited to the record that was before OPM when it rendered its decision
 affirming the Carrier's denial of benefits.

SECTION2.9
CLAIMS PROCESSING (JAN 2001)

        A stan~ized claims filing process shall be used by all FEHB carriers. The Carrier
shall apply procedures for using the standard claims process. · At a minimum the Carrier's
program must achieve the following objectives:
  (1) The majority of provider claims should be submitted electronically;
  (2) All providers shall be notified that future claims must be submitted electronically, or on the
Centers for Medicare and Medicaid Services 1500 form or the UB-92 form;
  (3) The Carrier shall not use any unique provider claim form(s) for such FEHB member
claims;
  (4) The Carrier should reject all such claims submitted on forms other than the CMS 1500 form
or the UB-92 form and shall explain the reason on the Explanation of Benefits form; and
  (5) The Carrier shall advise OPM of its progress in implementing this policy as directed by the
Contracting Officer.

SECTION 2.10
CALCULATION OF COST SHARING PROVISIONS (JAN 1996)

  When the Member is required to pay a specified percentage of the cost of covered services, the
Member's obligation for covered services shall be based on the amount the provider has agreed
to accept as full payment, including future discounts that are known and that can be accurately
calculated at the time the claim is processed. This includes for example, prompt pay discounts as
weJJ as other discounts granted for various business reasons. Any discount not determined at the
time of the actual adjudication shall be placed in the Special Reserve upon its determination.

SECTION 2.11
BENEFITS PAYMENTS WHEN MEDICARE IS PRIMARY (JAN 2007)



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   When a Member who is covered by Medicare Part A, Part B, or Parts A and B on a fee-for-
 service basis (a) receives services that generally are eligible for coverage by Medicare (regard-
 less of whether or not benefits are paid by Medicare) and are covered by the Carrier, and (b)
 Medicare is the primary payer and the Carrier is the secondary payer for the Member under the
 order of benefit determination rules stated in Appendix A and Appendix D of this contract, then
 the Carrier shall Jimit its payment to an amount that supplements the benefits payable by
 Medicare (regardless of whether or not Medicare benefits are paid). For Medicare Part B
 prescription drugs, the Carrier will coordinate benefits except when prescription drugs are
 purchased from retail or mail order. When emergency services have been provided by a
 Medicare nonparticipating institutional provider and the provider is not reimbursed by Medicare,
 the Carrier shall pay its primary benefits. Payments that supplement Medicare include amounts
 necessary to reimburse the Member for Medicare deductibles, coinsurance, copayments, and the
 balance between the Medicare approved amount and the Medicare limiting charge made by non-
 participating providers.

 Carriers may use the Department of Veterans Affairs (VA) Medicare-equivalent remittance
 advice (MRA) when the form is submitted to determine the Plan's benefits payment for covered
 services provided to members who have Medicare as their primary payer, when Medicare does
 not pay the VA facility.

 SECTION 2.12
 CONTINUING REQUIREMENTS AFTER TERMINATION OF THE CARRIER
 (JAN 2004)

         (a) The Carrier shall fulfill all of the requirements agreed to under the contract that
 continue after termination. The order of precedence for the applicable laws, regulations, and the
 contract are listed in Section 1.3.
         (b) Contract requirements extend beyond the date of the Carrier's termination until the
 effective date of the new enrollment including processing and paying claims incurred prior to the
 effective date of the new enrollment.
         (c) When the prior carrier is discontinued in whole or in part, the gaining carrier assumes
 full coverage on the effective date of the new enrollment.

SECTION 2.13 LARGE PROVIDER AGREEMENTS (OCT 2005) (FEHBAR 1652.204-74)

         (a) Notification and Information Requirements. ( I) The experience-rated Carrier must
provide notice to the Contracting Officer of its intent to enter into or to make a significant
modification of a Large Provider Agreement:
        (i) Not less than 60 days before entering into any Large Provider Agreement; and
        (ii) Not less than 60 days before exen:ising a renewal or other option, or significant
modification to a Large Provider Agreement, when such action would result in total costs to the
FEHB Program of an additional 20 percent or more above the existing contract. However, if a
Carrier is exercising a simple renewal or other option contemplated by a Large Provider
Agreement that OPM previously reviewed, and there are no significant changes, then a statement
to the effect that the renewal or other option is being exercised along with the dollar amount is
sufficient notice.


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            (2) The Carrier's notification to the Contracting Officer must be in writing and must, at a
  minimum:
            (i) Describe the supplies and/or services the proposed provider agreement will require;
            (ii) Identify the proposed basis for reimbursement;
            (iii) Identify the proposed provider agreement, explain why the Carrier selected the
 proposed provider, and what contracting method it used, where applicable, including the kind of
 competition obtained;
           (iv) Describe the methodology the Carrier used to compute the provider's profit; and,
           (v) Describe provider risk provisions.
           (3) The Contracting Officer may request from the Carrier any additional information on
 a proposed provider agreement and its tenns and conditions prior to a provider award and during
 the performance of the agreement.
           (4) Within 30 days of receiving the Carrier's notification, the Contracting Officer will
 give the Carrier either written comments or written notice that there will be no comments. If the
 Contracting Officer comments, the Carrier must respond in writing within I0 calendar days, and
 explain how it intends to address any concerns.
           (5) When computing the Carrier's service charge, the Contracting Officer will consider
 how well the Carrier complies with the provisions of this section, including the advance
 notification requirements, as an aspect of the Carrier's performance factor.
           (6) The Contracting Officer's review of any Large Provider Agreement, option, renewal,
 or modification will not constitute a detenillnation of the-acceptability of the terms and conditions
of any provider agreement or of the allowability of any costs under the Carrier's contract, nor will
 it relieve the Carrier of any responsibility for perfonning the contract.                          ·
          (b) Records and Inspection. The Carrier must insert in all Large Provider Agreements the
requirement that the provider will retain and make available to the Government all records
relating to the agreement that support the annual statement of operations and enrollee records--
 Retain for 6 years after the agreement tenn ends.
          (c) Audit and Records - Negotiation. The provisions of FAR 52.215-2, "Audit and
Records--Negotiation," when required, or FEHBAR 1652.246-70, "FEHB Inspection" apply to
all experience-rated Carriers' Large Provider Agreements. The Carrier will insert the clauses at
FAR 52.215-2, when applicable, or FEHBAR 1652.246-70 in all Large Provider Agreements. In
FAR 52.215-2 the Carrier will substitute
          (I) The term "Large Provider" for the tenn "Contractor" throughout the clause, and
          (2) The term "Large Provider Agreement" for the tenn "Subcontracts" in paragraph (g) of
FAR 52.215-2. The term "Contracting Officer" will mean the FEHB Program Contracting
Officer at OPM. The Carrier will be responsible for ensuring the Large Provider complies with
the provisions set forth in the clause.
          (d) Prohibited Agreements. No provider agreement made under this contract will provide
for payment on a cost-plus-a-percentage-of-cost basis.
         (e) The Carrier will insert this clause, 1652.204-74, in all Large Provider Agreements.

SECTION 2.14
COORDINATION OF PRESCRIPTION DRUG BENEFITS WITH MEDICARE (JAN 2006)

   (a) The Carrier shall comply with the Center for Medicare and Medicaid Services' (CMS)
       Part D Coordination of Benefits Guidance when the mechanisms and systems indicated in
       this guidance are in place and functioning properly. This guidance provides the

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       requirements and procedures for coordination of benefits between Part D plans and other
       providers of prescription drug coverage.
   (b) For Medicare Part B covered prescription drugs, the Carrier will coordinate benefits with
       Medicare except when such prescription drugs are purchased from retail or mail order
       pharmacies. The Carrier may pay its benefits on retail pharmacy or mail order drugs
       eligible for Medicare Part B coverage.




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                   PART III - PAYMENTS, CHARGES AND ACCOUNTING

 SECTION 3.1
 PAYMENTS-EXPERIENCE-RATED CONTRACTS (JAN 2003) (FEHBAR 1652.232-71)

  (a) OPM will pay to the Carrier, in full settlement of its obligations under this contract, subject
to adjustment for error or fraud, the subscription charges received for the Plan by the Employees
 Health Benefits Fund (hereinafter called the Fund) less the amounts set aside by OPM for the
Contingency Reserve and for the administrative expenses of OPM and amounts for obligations
due pursuant to paragraph (b) of this clause, plus any payments made by OPM from the
Contingency Reserve.
  (b) OPM will notify the Carrier of amounts due for outstanding obligations under the contract.
Not later than 60 days after the date of written notice from OPM, the Carrier shall reimburse
OPM. If payment is not received within the prescribed time frame, OPM shall withhold the
amount due from the subscription charges owed the Carrier under paragraph (a) of this clause.
  (c) The specific subscription rates, charges, allowances and limitations applicable to the
contract are set forth in Appendix B.
  (d) Recurring payments from premiums shall be made available for carrier drawdown not later
than thirty days after receipt by the Fund. The Contracting Officer may authorize special non-
recurring payments from the Contingency Reserve in accordance with OPM's regulations.
  (e) In the event this contract between the Carrier and OPM is terminated or not renewed in
accordance with General Provision 1.15, Renewal and Withdrawal ofApproval, the Contingency
Reserve of the Carrier held by OPM shall be available to the Carrier to pay the necessary and
proper charges against this contract to the extent that the Carrier reserves are insufficient for that
purpose.

SECTION 3.2
ACCOUNTING AND ALLOWABLE COST (JAN 2003) (FEHBAR 1652.216-71)

     (a) Annual Accounting Statements.
     ( l) The Carrier shall furnish to OPM an accounting of its operations under the contract. In
 preparing the accounting, the Carrier shall follow the reporting requirements and statement
 formats prescribed by OPM in the OPM Annual and Fiscal Year Financial Reporting
Instructions.
      (2) The Carrier shall have its Annual Accounting Statements and that of its underwriter, if
any, audited in accordance with the FEHBP Experienced-Rated Carrier and Service Organization
Audit Guide (Guide). The Carrier shall submit the audit report and the Annual Accounting
Statements to OPM in accordance with the requirements of the Guide.
     (3) Based on the results of either the independent audit prescribed by the Guide or a
Government audit, OPM may require the Carrier to adjust its annual accounting statements (i) by
amounts found not to constitute actual, allowable, allocable and reasonable costs; or (ii) to reflect
prior overpayments or underpayments.
    (4) The Carrier shall develop corrective action plans to resolve audit findings identified in
audits that were performed in accordance with the Guide. The corrective action plans wilJ be
prepared in accordance with and as defined by the Guide.
    (b) Definition of costs. ( I) The Carrier may charge a cost to the contract for a contract term
if the cost is actual, allowable, allocable, and reasonable. In addition, the Carrier must:

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       (i) on request, document and make available accounting support for the cost to justify that the
   cost is actual, reasonable and necessary; and
       (ii) detennine the cost in accordance with: (A) the tenns of this contract, and (8) Subpart
   31.2 of the Federal Acquisition Regulation (FAR) and Subpart 1631.2 of the Federal Employees
   Health Benefits Program Acquisition Regulation (FEHBAR) applicable on the first day of the
   contract period.
       (2) In the absence of specific contract terms to the contrary, the Carrier shall classify contract
   costs in accordance with the following criteria:
       (i) Benefits. Benefit costs consist of payments made and liabilities incurred for covered
   health care services on behalf of FEHBP subscribers less any refunds, rebates, allowances or
  other credits received.
       (ii) Administrative expenses. Administrative expenses consist of all actual, allowable,
  allocable and reasonable expenses incurred in the adjudication of subscriber benefit claims or
  incurred in the Carrier's overall operation of the business. Unless otherwise stated in the contract,
  administrative expenses include, in part: all taxes (excluding premium taxes, as provided in
  section 1631.205-41), insurance and reinsurance premiums, medical and dental consultants used
  in the adjudication process, concurrent or managed care review when not billed by a health care
  provider and other fonns of utilization review, the cost of maintaining eligibility files, legal
  expenses incurred in the litigation of benefit payments and bank charges for letters of credit.
  Administrative expenses exclude the cost of Carrier personnel, equipment, and facilities directly
  used in the delivery of health care services, which are benefit costs, and the expense of managing
  the FEHBP investment program which is a reduction of investment income earned.
      (iii) Investment income. While compliance with the checks presented letter of credit
 methodology will minimize funds on hand, the Carrier shall invest and reinvest all funds on
 hand, including any in the Special Reserve or any attributable to the reserve for incurred but
 unpaid claims, which arc in excess of the funds needed to discharge promptly the obligations
 incurred under the contract. Investment income represents the net amount earned·by the Carrier
 after deducting investment expenses. Investment expenses are those actual, allowable, allocable,
 and reasonable contract costs that are attributable to the investment of funds, such as consultant
 or management fees.
      (iv) Other charges. (A) Mandatory statutory reserve. Charges for mandatory statutory
 reserves are not allowable unless specifically provided for in the contract. When the term
 "mandatory statutory reserve" is specifically identified as an allowable contract charge without
 further definition or explanation, it means a requirement imposed by State law upon the Carrier
to set aside a specific amount or rate of funds into a restricted reserve that is accounted for
separately from all other reserves and surpluses of the Carrier and which may be used only with
the specific approval of the State official designated by law to make such approvals. The amount
chargeable to the contract may not exceed an allocable portion of the amount actually set aside.
If the statutory reserve is no longer required for the purpose for which it was created, and these
funds become available for the general use of the Carrier, the Carrier shall return to the FEHBP a
pro rata share based upon FEHBP's contribution to the total Carrier's set aside shall be returned
to the FEHBP in accordance with FAR 31.201-5.
     (B) Premium taxes. (l) When the term "premium taxes" is used in this contract without
further definition or explanation, it means a tax, fee, or other monetary payment directly or
indirectly imposed on FEHB premiums by any State, the District of Columbia, or the
Commonwealth of Puerto Rico or by any political subdivision or other governmental authority of


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those entities, with the sole exception of a tax on net income or profit, if that tax, fee, or payment
is applicable to a broad range of business activity.
    (2) For purposes of this paragraph (B), OPM has detennined that the term "State" as used in 5
U.S.C. 8909(f) includes, but is not limited to, a territory or possession of the United States.
   (c) Certification of Accounting Statement Accuracy. (1) The Carrier shall certify the annual
and fiscal year accounting statements in the form set forth in paragraph (c)(3) of this clause. The
Carrier's chief executive officer and the chief financial officer shall sign the certificate.
   (2) The Carrier shall require an authorized agent of its underwriter, if any, also to certify the
annual accounting statement.
   (3) The certificate required shall be in the following form:

                              CERTIFICATION OF ACCOUNTING
                                 STATEMENT ACCURACY

    This is to certify that I have reviewed this accounting statement and to the best of my
knowledge and belief:
    l. The statement was prepared in conformity with the guidelines issued by the Office of
Personnel Management and fairly presents the financial results of this reporting period in
conformity with those guidelines.
   2. The costs included in the statement are actual, allowable, allocable, and reasonable in
accordance with the terms of the contract and with the cost principles of the Federal Employees
Health Benefits Acquisition Regulation and the Federal Acquisition Regulation;
   3. Income, rebates, allowances, refunds and other credits made or owed in accordance with
the terms of the contract and applicable cost principles have been included in the statement;
   4. If applicable, the letter of credit account was managed in accordance with 5 CFR part 890,
48 CFR chapter 16, and OPM guidelines.
CarrierName: _ _ _ _ _ _ _ _ _ _ _ _ __
Name of Chief Executive Officer:
(Type or Print)

Name of Chief Financial Officer:

Signature of Chief Executive Officer:

Signature of Chief Financial Officer:

Date Signed:

Date Signed:
Underwriter:

Name and Title of Responsible Corporate Official:
(Type or Print:)

Signature of Responsible Corporate Official:

Date Signed: _ _ _ _ _ _ _ _ __

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                                         (End of Certificate)

 SECTION 3.3
 SPECIAL RESERVE (JAN 2003)

        (a) This contract is experience rated. The Special Reserve represents the cumulative
difference between income to the plan (subscription income plus interest on investments [item
(b)(2)(iii) in Section 3.2, Accounting and Allowable Cost, which also includes income gain or
loss]) and plan expenses (benefit costs plus allowable administrative expenses and retentions).
The Special Reserve held by or on behalf of the Carrier is to be used only for payment of charges
against this contract.
  (b) If this contract is terminated or not renewed and there is a positive balance remaining in
the Special Reserve after all allowable costs chargeable to the contract in accordance with
Section 3.2 plus an agreed-upon amount of administrative expenses for contract liquidation have
been paid. the balance of any funds held by the Carrier, including current income on its
investment, shall be paid to OPM for credit to the Carrier's Contingency Reserve maintained by
OPM when the Carrier submits its annual accounting statement for the final contract year.
  (c) The Carrier shall incorporate this clause in all agreements with underwriters of the Carrier's
FEHB Plan.

SECTION 3.4
INVESTMENT INCOME (JAN 1998) (FEHBAR 1652.215-71)

    (a) The Carrier shall invest and reinvest all FEHB funds on hand that are in excess of the funds
 needed to promptly discharge the obligations incurred under this contract. The Carrier shall seek
 to maximize investment income with prudent consideration to the safety and liquidity of
 investments.
   (b) All investment income earned on FEHB funds shall be credited to the Special Reserve on
 behalf of the FEHBP.
   (c) When the Contracting Officer concludes that the Carrier failed to comply with paragraphs
(a) or (b) of this clause, the Carrier shall credit the Special Reserve with investment income that
 would have been earned, at the rate(s) specified in paragraph (f) of this clause, had it not been for
the Carrier's eoncompliance. "Failed to comply with paragraphs (a) or (b)" means: (1) making
any charges against the contract which are not allowable, allocable, or reasonable; or (2) failing
to credit any income due the contract and/or failing to place excess funds, including subscription
income and payments from OPM not needed to discharge promptly the obligations incurred
under the contract, refunds, credits, payments, deposits, investment income earned, uncashed
checks, or other amounts owed the Special Reserve, in income producing investments and
accounts.
   (d) Investment income lost as a result of unallowable, unallocable, or unreasonable charges
against the contract shall be paid from the first day of the contract term following the contract
term in which the unallowable charge was made and shall end on the earlier of: ( l) the date the
amounts arc returned to the Special Reserve (or the Office of Personnel Management); (2) the
date specified by the Contracting Officer; or (3) the date of the Contracting Officer's Final
Decision.
  (e) Investment income lost as a result of failure to credit income due the contract or failure to
place excess funds in income producing investments and accounts shall be paid from the date the

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 funds should have been invested or appropriate income was not credited and shall end on the
 earlier of: ( 1) the date the amounts arc returned to the Special Reserve (or the Office of
 Personnel Management); (2) the date specified by the Contracting Officer; or (3) the date of the
 Contracting Officer's Final Decision.
   (f) The Carrier shall credit the Special Reserve for income due in accordance with this clause.
 All lost investment income payable shall bear simple interest at the quarterly rate determined by
 the Secretary of the Treasury under the authority of26 U.S.C. 6621(a)(2) applicable to the
 periods in which the amount becomes due, as provided in paragraphs (d) and (e) of this clause.
   (g) The Carrier shall incorporate this clause into agreements with underwriters of the Carrier's
 FEHB plan and shall substitute "underwriter" or other appropriate reference for the term
 "Carrier".

 SECTION3.5
 NON-COMMINGLING OF FUNDS (JAN 1991) (FEHBAR 1652.232-72)

  (a) The Carrier and/or its underwriter shall keep all FEHBP funds for this contract (cash and
investments) physically separate from funds obtained from other sources. Accounting for such
FEHBP funds shall not be based on allocations or other sharing mechanisms and shall agree with
the Carrier's accounting records.
  (b) In certain instances the physical separation of FEHBP funds may not be practical or
desirable. In such cases, the Carrier may request a waiver from this requirement from the
Contracting Officer. The waiver shall be requested in advance and the Carrier shall demonstrate
that accounting techniques have been established that will clearly measure FEHBP cash and
investment income (i.e., subsidiary ledgers). Reconciliations between amounts reported and
actual amounts shown in accounting records shall be provided as supporting schedules to the
Annual Accounting Statements.
  (c) The Carrier shall incorporate this clause in aH subcontracts that exceed $25,000 and shall
substitute "contractor" or other appropriate reference for "Carrier and/or its underwriter".

SECTION3.6
UNCASHED CHECKS (JAN 1996)

  Payment of checks issued pursuant to this contract shall be voided if the checks have been
outstanding for two (2) years. The amounts represented by these checks shall be credited to the
Special Reserve of this contract no later than the 25th month after issuance. The term "Check"
shall include any written instrument issued to pay or reimburse the payment of benefits, or any
services, supplies or subcontracts hereunder.

SECTION3.7
SERVICE CHARGE (JAN 1996)

  (a) Any service charge negotiated shall be set forth in Appendix B and shall be the total profit
that can be charged to the contract. The amount set forth in Appendix B shall encompass all
profit (whether entitled service charge, profit, fee, contribution to reserves or surpluses or any
other title) that may be included in major subcontracts in accordance with the provisions of
FEHBAR 1631.205-80, Major Subcontractor Service Charges.


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   (b) One-twelfth of the service charge for the contract term accrues on the last day of each
 month during the contract term. The Carrier shall withdraw the sel"Vice charge from the Special
 Reserve when it accrues.
   (c) If this contract is renewed by operation of section l.lS(a), the amount of the service charge
 accrued under (b) shall be "one-twenty-fourth" rather than "one-twelfth." The remainder of the
 service charge not otherwise accrued during the contract term shall accrue on the last day of the
 contract term.

 SECTION 3.8
 CONTRACTOR RECORDS RETENTION (JUL 2005) (FEHBAR 1652.204-70)

  Notwithstanding the provisions of Section 5.7 (FAR 52.215-2(f)), Audit and Records -
Negotiation the Carrier will retain and make available all records applical:>le to a contract term
that support the annual statement of operations and, for contracts that equal or exceed the
threshold at FAR 15.403-4(a)( l ), the rate submission for that contract term for a period of six
years after the end of the contract term to which the records relate. This includes alJ records of
Large Provider Agreements and subcontracts that equal or exceed the threshold requirements. In
addition, individual enrollee and/or patient claim records will be maintained for six years after
the end of the contract term to which the claim records relate. This clause is effective
prospectively as of the 2005 contract year.


SECTION3.9
APPROVAL FOR ASSIGNMENT OF CLAIMS (JAN 1991) (FEHBAR 1652.232-73)

  (a) Notwithstanding the provisions of Section 5.35 [FAR 52.232-23], Assignment of Claims,
the Carrier shall not make any assignment under the Assignment of Claims Act without the prior
written approval of the Contracting Officer.
  (b) Unless a different period is specified in the Contracting Officer's written approval, an
assignment shall be in force only for a period of one year from the date of the Contracting
Officer's approval. However, assignments may be renewed upon their expiration.

SECTION 3.10
AUDIT, FINANCIAL, AND OTHER INFORMATION (JAN 2001)

  The Carrier shall furnish to OPM audit, financial, and other information in the format and
within the time frames specified in the Audit Guide for Financial Statement Audits, Reporting on
Internal Controls and Compliance with Laws and Regulations, Attestation Reports, Agreed-Upon
Procedures, and Reporting on Internal Controls of Third Party Servicing Organizations.
Information and reports shall be furnished in the required number of copies to the addresses
specified by OPM.

SECTION 3.J l
SURVEY CHARGES (JAN 2002)

 (a) If the Carrier participates in an FEHB annual consumer assessment survey, it shall pay
OPM' s contractor a pro rata share of the total cost of consolidating and reporting the survey

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 results to OPM. The Carrier shall pay a separate fee for each plan option and /or rating area. The
 Carrier agrees to pay the contractor's invoice within 30 days of.the billing date. If the Carrier
 does not remit payment to the contractor within 60 days of the billing date, OPM shall withhold
 the amount due from the Carrier's subscription charges according to FEHBAR 1652.232-71,
 Payment~xpericnce-ratcd contracts, and forward payment to the contractor.
   (b) Costs incurred by the Carrier for contracting with a vendor to conduct the survey shall be
 the Carrier's responsibility and constitute allowable administrative charges.

 SECTION 3.12
 FEHB CLEARINGHOUSE (JAN 2002)

         (a) The FEHB Clearinghouse will facilitate the reconciliation of enrollments between
 carriers and Federal agencies. The Carrier shall pay a pro rata share based on its proportion of
 FEHB premiums as determined by OPM for the cost of developing and operating the
 Clearinghouse.
         (b) OPM shall withhold the amount due from the Carrier's subscription charges under
 the authority of FEHBAR 1652.232-71, Payments--Experience-Rated Contracts, and shall
 forward payment to the FEHB Clearinghouse.

SECTION 3.13
TAXPAYER IDENTIFICATION NUMBER (JAN 2000) (FEHBAR 1652.204-73)

 (a)      Definitions.
     Common parent, as used in this provision, means that corporate entity that owns or controls
 an affiliated group of corporations that files its Federal income tax returns on a consolidated
 basis, and of which the Carrier is a member.                                  -
     Taxpayer Identification Number (TIN), as used in this provision, means the number required
 by the Internal Revenue Service (IRS) to be used by the Carrier in reporting income tax and
 other returns.
     (b) The Carrier must submit the information required in paragraphs (d) through (t) of this
clause to comply with debt collection requirements of 31 U.S.C. 770l(c) and 3325(d), reporting
 requirements of26 U.S.C. 6041, 6041A, and 6050M, and implementing regulations issued by the
 IRS. The Carrier is subject to the payment reporting requirements described in Federal
 Acquisition Regulation (FAR) 4.904. The Carrier's failure or refusal to furnish the information
will result in payment being withheld until the TJN number is provided.
    (c) The Government may use the TIN to collect and report on any delinquent amounts arising
out of the Carrier's relationship with the Government (31 U.S.C. 770l(c)(3)). The TJN provided
hereunder may be matched with IRS records to verify its accuracy.
    (d) Taxpayer Identification Number (TJN).
TJN: ~~~~~~-
    (e) Type of organization.
:J       Sole proprietorship;
 J       Partnership;
'.J      Corporate entity (not tax-exempt);
 J       Corporate entity (tax-exempt);
0        Other.~~~~~~~~~~
    (t) Common parent.

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 0       Carrier is not owned or controlled by a common parent as defined in paragraph (a) of
 this clause.
 D       Name and TIN of common parent:
 Name~~~~~~~
 TIN~~~~~~~-




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  Part N-SPECIAL PROVISIONS is deleted and re.placed with the following:

  SECTION4.l
  ALTERATIONS IN CONTRACT (JAN 2006) (FAR 52.252-4)

  Portions of this contract are altered as follows:

  (a) Section 1.6 Confidentiality of Records. The following subsection is added:

          (d) Local Blue Cross and/or Blue Shield Plans may combine the personal data and
  medical records of Federal subscribers, and information relating thereto, with the same
  information of other individuals who have health benefits coverage under the Local Blue
  Cross and/or Blue Shield Plan. This combined data may only be used and disclosed for
  the Plan's health care operations and payment activities, as such terms and conditions are
  defined under the Health Insurance Portability and Accountability Act, and its
  implementing regulations (45 CFR § 164.501). Such activities include, but are not
  limited to: care management; prevention, detection, and recovery of funds subject to
  fraud and abuse; and negotiation of provider contracts.

         (e) As used in subsection (b)(l) of this section, "administration of this contract":
  means health care operations and payment activities, as such terms and conditions are
  defined under the

  Health Insurance Portability and Accountability Act, and its implementing regulations
  (45 CFR § 164.501).

  (b) Section 1.9 Plan Performance-Experience-Rated FFS Contracts.

  The Carrier may use the appropriate systems for measurement and/or collection of data
  on the quality of the health care services as described in subparagraph 1.9(b).

  (c) Section 1.14, Misleading, Deceptive, or Unfair Advertising, is amended by removing
  the reference to the NAIC Advertisements of Accident and Sickness Insurance Model
  Regulation (Appendix D-b). Carrier should continue to use the FEHB Supplemental
  Literature Guidelines (now at the renumbered Appendix C) along with FEHBAR
  1603.7002.

  (d) Section 1.15 Renewal and Withdrawal of Approval (FEHBAR). The following
  subsections are added:

          (d) If the agency suspends payment of the subscription charges for any reason, the
  Carrier may (1) suspend making benefit payments until payment of all subscription
  charges due is fully restored; or (2) terminate the contract without prior notice.

  (e) Section 1.21 Patient Bill of Rights. For the purpose of compliance with this Section,
  the Carrier will conduct the following minimum activities: (I) the Carrier will provide
  subscribers with a Fact Sheet that includes information about the disenrollment rate in the
  Blue Cross and Blue Shield Service Benefit Plan, as well as Local Plan-specific

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   information including compliance with Federal and State financial requirements, public
   corporate infonnation, years in existence, and accreditation status; (2) Provider
   Directories will include language advising subscribers to contact their providers directly
   to obtain infonnation about the providers, including but not limited to board
   certifications, languages spoken, availability of interpreters, facility accessibility, and
   whether the provider is accepting new patients.

  (f) Section 2.2 Benefits Provided. The following paragraph is added to subsection 2.2(a):

          (4) The Carrier may pay the Preferred Provider Organization level of benefits
  under this contract to ease the hardship of members affected by natural disasters such as
  earthquakes, floods, etc., when because of the natural disaster members have difficulty
  gaining access to Preferred network providers. The Carrier may pay the Preferred level
  of benefits without regard to the provider's contractual relationship with the Carrier and
  will detennine an appropriate time frame based on local conditions during which the
  provision of this paragraph will apply. Benefits provided under this paragraph will be
  made available to all members similarly affected by the natural disaster.

  (g) Section 2.3 Payment of Benefits and Provision of Services and Supplies.
  Notwithstanding subsection (f} of Section 2.3, benefits provided under the contract are
  not assignable by the Member to any person without express written approval of the
  carrier, and in the absence of such approval, any such assignment shall be void.
  Notwithstanding such approval, no assignment of benefits may be made in any case prior
  to the time that a valid claim for benefits arises.

  (h) Section 2.3 Payment of Benefits and Provision of Services and Supplies. Subsection
  (g)(7)(ii) of Section 2.3 is amended to read as follows:

  Notwithstanding (g)(7)(i), the Carrier may not charge the contract for the administrative
  costs to correct erroneous benefit payments (or to correct processes or procedures that
  caused erroneous benefit payments) when the errors are egregious and repeated. These
  costs are deemed to be unreasonable and unallowable under Section 3.2(b). The term
  "repeated" in the previous sentence does not apply to situations in which a claims
  processing system error causes multiple erroneous payments or to situations that involve
  audit findings on errors that are endemic to the provision of insurance and claims
  processing.

  (i) Section 2.3 Payment of Benefits and Provision of Services and Supplies. Subsection
  (g)(lO) of Section 2.3 is amended to read as follows:

      (10) In compliance with the Contracts Disputes Act, the Carrier shall return to the
  Program an amount equal to the uncollected erroneous benefit payment where the
  Contracting Officer determines that the Carrier failed to make a prompt and diligent
  effort, as that term is described above, to recover the erroneous benefit payment. This
  provision applies to benefit payments which have been paid in error for any reason
  (except in the case of fraud or abuse).




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  G) Section 2.4 Tennination of Coverage and Conversion Privileges. The conversion
  contract set forth in Section 2.4(c) may be a contract that is regularly offered by the local
  Blue Cross and/or Blue Shield Plan.

  (j) Section 2.5 Subrogation. The following subsections are added:

          (c) To the extent that a Member has received benefits for covered services under
  this contract for an injury or illness caused by a third party, the Carrier shall have the
  right to be subrogated and succeed to any rights of recovery against any person or
  organization from whom the Member is legally entitled to receive all or part of those
  same benefits, including insurers of individuals (non-group) policies ofliability insurance
  that are issued to and in the name of the Member.
  The obligation of the Carrier to recover amounts through subrogation is limited to
  making a reasonable effort to seek recovery of amounts to which it is entitled to recover
  in cases which are brought to its attention. The Carrier shall not be required to recover
  any amounts from any person or organization who causes an injury or illness for which
  the Member makes claims for benefits.

         (d) The Carrier may also recover directly from the Member all amounts received
  by the Member by suit, settlement, or otherwise from any third party or its insurer, or the
  Member's insurer under an individual policy or liability insurance, for benefits which
  have also been paid under this contract.

           (e) The Member shall take such action, furnish such information and assistance,
  and execute such papers as the Carrier or its representative believes are necessary to
  facilitate enforcement of its rights, and shall take no action which would prejudice the
  interests of the Carrier to subrogation.

          (f) Effective January l, 1997, all Participating Plans shall subrogate under a
  single, nation-wide policy to ensure equitable and consistent treatment for all Members
  under the contract.

  (k) Section 2.6 Coordination of Benefits (FEHBAR). The following subsections are
  added:

          (g) The benefits payable by this Plan shall be determined, on a claim by claim
  basis, only for those claims in excess of $100, except where Medicare is the primary
  payer of benefits.

         (h) Whenever payments which should have been made under this contract in
  accordance with this provision have been made under any other group health coverage,
  the Carrier shall have the right, exercisable alone and in its sole discretion, to pay over to
  any organizations making such other payments any amount it shall determine to be
  warranted in order to satisfy the intent of this provision, and amounts so paid shall be
  deemed to be benefits paid under this contract and, to the extend of such payments
  discharged from liability under the contract.

  (1) Section 3.1 Payments (FEHBAR). The following sentence is added to the end of

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  Section 3.l(a):

  OPM will withhold from the subscription charges amounts for other obligations due
  under the contract only to the extent that OPM and the Carrier have agreed in writing to
  specific deductions for such other obligations.

  (m) Section 3.1 Payments (FEHBAR). The following subsection is added:

          (g) Except as required pursuant to Sections 1.25 and 2.12, in the event this
  contract is terminated or not renewed, the agency shall be liable for all sums due and
  unpaid, including subscription charges, for the period up to the last day of the Member's
  entitlement to benefits.


  (n) Section 3.2 Accounting and Allowable Cost (FEHBAR). Section 3.2(b)(2)(ii) of this
  contract is amended to comply with 5 U.S.C. 8909(f) as follows:

          (I) No tax, fee, or other monetary payment may be imposed, directly or indirectly,
  on a Carrier or an underwriting or plan administration subcontractor of an approved
  health benefits plan by any State, the District of Columbia, or the Commonwealth of
  Puerto Rico, or by any political subdivision or other governmental authority thereof, with
  respect to any payment made from the Fund.

          (2) Paragraph (I) shall not be construed to exempt any Carrier or subcontractor of
  an approved health benefits plan from the imposition, payment, or collection of a tax, fee,
  or other monetary payment on the net income or profit accruing _to or realized by such
  Carrier or underwriting or plan administration subcontractor from business conducted
  under this Chapter, if that tax, fee, or payment is applicable to a broad range of business
  activity.

  (o) Section 3.2 Accounting and Allowable Cost (FEHBAR). The provision in Section 3.2
  (b)(2)(iv)(A) is supplemented as follows:

  Charges for mandatory statutory reserves (Section 3.2(b)(2)(iv)(A)) to satisfy mandatory
  statutory reserve requirements of Participating Plans are allowable to the extent that such
  requirements exceed that portion of the service charge at Appendix B, Subscription
  Rates, Charges, Allowances and Limitations applicable to such Plans.

  (p) Section 3.2 Accounting and Allowable Cost (FEHBAR). This section is modified as
  follows:

  The Carrier, as required by the Blue Cross and Blue Shield Service Benefit Plan
  Workplan, shall furnish OPM an accounting ofits operations under the contract not less
  than 120 days after the end of the calendar year contract period.

  (q) Section 3.3 Special Reserve. The provision in Section 3.3(a) is supplemented as
  follows:



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  The Special reserve held by or on behalf of the Carrier is to be used only for payment of
  charges against this contract, including advance payments to Participating Plans and to
  hospitals.

  (r) Section 3.10, Audit, Financial, and Other Information. Compliance by the Carrier and
  Participating Blue Cross and Blue Shield Plans with the Blue Cross Blue Shield Service
  Benefit Plan Workplan, as agreed upon between the Carrier and OPM, will constitute
  compliance with the Audit Guide referred to in Sections 3.2 and 3.10.

  SECTION4.2
  HOSPITAL (FACILITY) BENEFIT PAYMENTS AND CONDITIONS (JAN 1991)

  (a) Benefits described in the agreed upon brochure text shall be provided to the extent
  practicable in the form of services rendered by hospitals, freestanding ambulatory
  facilities, and home health care agencies, and payment, therefore, by or on behalf of the
  carrier shall constitute a complete discharge of their obligations under this contract to the
  extent of services rendered in accordance with the terms and conditions of the contract

  (b) Benefits for inpatient hospital care shall be available only to a Member admitted to
  the hospital on the recommendation, and while under the active medical supervision of a
  duly licensed physician or alternative provider as described in section 8902(k)(l) oftitle
  5 U.S.C. who is a member of the staff of, or acceptable to, the hospital selected.

  (c) Hospital service is subject to all the rules and regulations of the hospital selected
  including rules governing admissions.

  (d) While a Member may elect to be hospitalized in any hospital, the Carrier does not
  undertake to guarantee the admission of such Member to the hospital, nor the availability
  of any accommodations or services therein requested by the Member or his physician.

  SECTION 4.3
  DEFINITION OF CARRIER (JAN 1991)

  The Carrier is the Blue Cross and Blue Shield Association, an illinois not-for-profit
  corporation, acting on behalf of participating Blue Cross and Blue Shield Plans and
  pursuant to authority specified in Exhibit A for and in behalf of the organizations
  specified in Exhibit A (hereinafter sometimes referred to as "Participating Plans").

  SECTION 4.4
  AUDIT DISPUTES (JAN 2000)

  (a) Any questioned costs or issues documented by or on behalf ofOPM's Office of the
  Inspector General (OIG) in draft or final audit reports examining the Carrier's and
  Participating Plans' performance under this contract, that are provided to the Carrier and
  that were initially raised in the timeframe set forth in subsection (c) below, remain open
  until resolved. Audit issues related to monetary findings for which extensions of the
  waiver period for the issuance of final decisions and processing of prior period
  adjustments were obtained in previous contract terms also remain open until resolved.

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  (b) Resolution of a questioned cost or issue can be the result of a resolution letter or the
  issuance of a final decision by the Contracting Officer, or by the processing of a prior
  period adjustment, an adjustment to the Special reserve, or submission of a claim to OPM
  (as appropriate) by the Carrier or Participating Plan. A prior period adjustment intended
  to partially or fully resolve an audit finding will not be considered closed until properly
  reported on the calendar year Annual Accounting Statement.

  (c) A claim seeking, as a matter of right, the payment of money, in a sum certain,
  pursuant to 48 CFR section 52.233-1, shall not be made more than five years following
  the last day prescribed by the contract for filing the calendar year Annual Accounting
  Statement for the year with respect to which the claim arises. A claim includes, in the
  case of the carrier, a charge against the contract.

  SECTION 4.5
  ASSOCIATION DUES (JAN 2004)

  A Participating local Blue Cross and Blue Shield Plan may charge to this contract
  Association Dues, with the exception of dues related to those lobbying costs and Special
  Assessments determined to be unallowable. In calculating the unallowable portion of
  dues related to lobbying costs for a contract year, the Blue Cross and Blue Shield Plan
  will rely on the percentage of dues, less any special assessments, as determined by the
  BCBSA for IRS pwposes, to be not tax deductible from the previous contract year.

  SECTION 4.6
  TRAVEL COSTS (JAN 1996)

  The Carrier may charge and account for travel expenses related to administration of the
  contract on a per diem basis, subject to the maximums prescribed by the Federal Travel
  Regulations. For those travel costs for each contract term that are subject to the Federal
  per diem rates set forth at 48 CFR section 31.205-46, the Carrier shall charge to the
  contract an amount equal to the lesser of:

  (i)     the actual aggregate charges for those costs, or
  (ii)    the aggregate charges calculated using the per diem rates set forth in the Federal
  travel Regulations.

  SECTION4.7
  MARKET RESEARCH COSTS (JAN 1996)

  (a) Costs of market research surveys or studies are generally allowable ifthe survey or
  study is:

  1. directed to current Members and Members who left the Blue Cross and Blue Shield
  Service Benefit Plan· in the most recent Open season, or
  2. focused on long-range planning, industry state-of-the-art developments, or product
  development issues for which a direct benefit or potential benefit to the FEHB Program
  can be identified, or
  3. pre-approved by the Contracting Officer.

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  (b) Costs of market research surveys or studies are generally not allowable ifthe primary
  purpose is to survey or study an otherwise unallowable cost item, such as: to determine
  the effectiveness of advertising or sales strategies; to evaluate image effectiveness or
  ways to achieve image
  enhancement; or to perform a competitive analysis with other carriers in the FEHB
  Program. Such costs are unallowable, regardless of who receives the research surveys or
  studies.

  (c) This provision does not supersede other contract requirements, such as prior approval
  for subcontracts under Section 1.16 Subcontracts (FEHBAR 1652.244-70).
  SECTION4.8
  PRESCRIPTION DRUG BENEFITS WANER PROVISIONS (JAN 2002)

  (a) For the purposes of applying the special provisions in this section, the Standard
  Option Mail Service Prescription Drug Program service standards are:
          ( l) When a prescription order is placed by phone or facsimile, the prescription
  order shall be processed within two business days so the enrollee may expect to receive
  the medication within 7 calendar days.
          (2) When a prescription order is placed by mail, the prescription order shall be
  processed within five business days from the date of receipt so the enrollee may expect to
  receive the medication within 14 calendar days.
  (b) The special provisions described in paragraphs ( c)(1 ), (2), and (3) shall become
  effective automatically when less than 98 percent of the prescriptions are filled within the
  service standards described in either paragraph (a)(l) or (a)(2) for 7 consecutive business
  days. The special provisions shall terminate when for 7 consecutive business days 98
  percent or more of the prescriptions are filled within the service standards described in
  paragraphs (a)(l) and (a)(2) _of this section.       ·

  (c) The special provisions are:                                      .
          (1) The Carrier shall waive during the effective periods in paragraph (b) the
  coinsurance for a 21 day prescription filled at a Preferred retail phannacy when the Mail
  Service Prescription Drug Program vendor is unable to fill the prescription within the
  service standards. This waiver of the coinsurance shall be in effect for 14 calendar days
  after notice to the enrollee as described in paragraph (c)(2) below.

          (2) The Carrier shall provide the enrollee a written or telephone notice no later
  than 2 business days prior to the end of the service standard timeframes stated in (a)(l)
  and (a)(2). This notice shall:
          (i) advise the enrollee that the Mail Service Prescription Drug Program may not
  be able to fill the prescription(s) within the service standard timeframes;
          (ii) advise the enrollee that any applicable coinsurance will be waived for a 21 day
  supply of the medication(s) when filled at a Preferred retail pharmacy;
          (iii) provide the enrollee with instructions on how to use the waiver, and
          (iv) advise the enrollee when the waiver will expire.
          (3) The Carrier may use next day delivery service at no additional cost to the
  enrollee in order to meet the service standards in (a)(l) and (a)(2).

  SECTION 4.9
  SMALL BUSINESS SUBCONTRACTING PLAN (JAN 2002) (FAR 52.219-9) (AS
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      AMENDED)

      An amended clause 52.219-9, Small Business Subcontracting Plan, is attached to
      AppendixE.

      SECTION 4.10

      LETTER OF CREDIT (JAN 1997)

      As of January 1, 1997, OPM will administer Letter of Credit drawdowns directly with the
      local Plans.

      SECTION 4.11
      PILOTING OF COST CONTAINMENT PROGRAMS (JAN 2001)

      Upon approval by the Contracting Officer, the Carrier may design and implement pilot
      programs in one or more local Plan areas that test the feasibility and examine the impact
      of various managed care initiatives. The Carrier shall brief the Contracting Officer on a
      pilot program prior to its implementation, advise the Contracting Officer of the progress
      of the pilot program and provide a written evaluation at the conclusion of the pilot
      program. The evaluation of the pilot program shall, at a minimum, assess the cost
      effectiveness, effect on quality of care and/or quality of life, and customer satisfaction,
      and recommend whether the pilot program should be continued or expanded.

      SECTION 4.12
      TRANSITION COSTS FOR PLAN TERMINATIONS (JAN 1999)

      In the event a Participating Plan's license to use the Blue Cross and/or Blue Shield
      service marks is terminated, thereby rendering it ineligible to participate in this Contract,
      the costs of transitioning the terminated Plan's Service Benefit Plan subscribers to a
      successor Plan shall be subject to advance approval. The Carrier shall submit to OPM a
      proposed transition plan, together with a detailed estimate of costs, prior to the incurrence
      of any significant transition costs. OPM and the Carrier shall negotiate an advance
      agreement pursuant to FAR 31.109 that covers the extent of allowable transition costs.

      SECTION 4.13
      PAYMENT BY ELECTRONIC FUNDS TRANSFER-CENTRAL CONTRACTOR
      REGISTRATION (MAY 1999) (FAR 52.232-33)

      The references to the Central Contractor Registration in FAR 52.232-33 are not
      applicable to this contract.




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                                  PART V - REQUIRED CLAUSES


 SECTION 5.1
 DEFINIDONS (July 2004) (FAR 52.202-1)

    a) When a solicitation provision or contract clause uses a word or term that is defined in the
       Federal Acquisition Regulation (FAR), the word or term has the same meaning as the
       definition in FAR 2.10 l in effect at the time the solicitation was issued, unless-
               ( l) The solicitation, or amended solicitation, provides a different
               definition;
               (2) The contracting parties agree to a different definition;
               (3) The part, subpart, or section of the FAR where the provision or clause
                is prescribed provides a different meaning; or
               (4) The word or term is defined in FAR Part 31, for use in the cost
               principles and procedures.
    b) The FAR Index is a guide to words and terms the FAR defines and shows where each
       definition is located. The FAR Index is available via the Internet at
       http://www.acgnet.gov at the end of the FAR, after the FAR Appendix.

  SECTION 5.2
 [RESERVED]

 SECTION 5.3
 GRATUITIES (APR 1984) (FAR 52.203-3)

    (a) The right of the Contractor to proceed may be terminated by written notice if, after notice
 and hearing, the agency head or a designee determines that the Contractor, its agent, or another
 representative -
   ( l) Offered or gave a gratuity (e.g., an entertainment or gift) to an officer, official, or employee
of the Government; and
   (2) Intended, by the gratuity, to obtain a contract or favorable treatment under a contract.
   (b) The facts supporting this determination may be reviewed by any court having lawful
jurisdiction.
   (c) If this contract is terminated under paragraph (a) above, the Government is entitled -
   ( l) To pursue the same remedies as in a breach of the contract; and
   (2) In addition to any other damages provided by law, to exemplary damages of not less than 3
nor more than 10 times the cost incurred by the Contractor in giving gratuities to the person
concerned, as determined by the agency head or a designee. (This subparagraph (c)(2) is
applicable only if this contract uses money appropriated to the Department of Defense.)
   (d) The rights and remedies of the Government provided in this clause shaJJ not be exclusive
and are in addition to any other rights and remedies provided by law or under this contract.

SECTION 5.4
COVENANT AGAINST CONTINGENT FEES (APR 1984) (FAR 52.203-5)


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    (a) The Contractor warrants that no person or agency has been employed or retained to solicit
  or obtain this contract upon an agreement or understanding for a contingent fee, except a bona
  fide employee or agency. For breach or violation of this warranty, the Government shall have
  the right to annul this contract without liability or, in its discretion, to deduct from the contract
  price or consideration, or otherwise recover, the full amount of the contingent fee.
    (b) "Bona fide agency," as used in this clause, means an established commercial or selling
  agency, maintained by a contractor for the purpose of securing business, that neither exerts nor
  proposes to exert improper influence to solicit or obtain Government contracts nor holds itself
 out as being able to obtain any Government contract or contracts through improper influence.
    "Bona fide employee," as used in this clause, means a person, employed by a contractor and
 subject to the contractor's supervision and control as to time, place, and manner of performance,
 who neither exerts nor proposes to exert improper influence to solicit or obtain Government
 contracts nor holds out as being able to obtain any Government contract or contracts through
 improper influence.           ·
    "Contingent fee", as used in this clause, means any commission, percentage, brokerage, or
 other fee that is contingent upon the success that a person or concern has in securing a
 Government contract.
    "Improper influence," as used in this clause, means any influence that induces or tends to
 induce a Government employee or officer to give consideration or to act regarding a Government
 contract on any basis other than the merits of the matter.

SECTION 5.5
ANTI-KICKBACK PROCEDURES (JUL 1995) (FAR 52.203-7)

    (a) Definitions.
    "Kickback," as used in this clause, means any money, fee, commission, credit, gift, gratuity,
 thing of value, or compensation of any kind which is provided, directly or indirectly, to any
 prime Contractor, prime Contractor employee, subcontractor, or subcontractor employee for the
 purpose of improperly obtaining or rewarding favorable treatment in connection with a prime
 contract or in connection with a subcontract relating to a prime contract.
   "Person," as used in this clause, means a corporation, partnership, business association of any
 kind, trust, joint-stock company, or individual.
   "Prime contract," as used in this clause, means a contract or contractual action entered into by
 the United States for the purpose of obtaining supplies, materials, equipment, or services of any
 kind.
   "Prime Contractor," as used in this clause, means a person who has entered into a prime
contract with the United States.
   "Prime Contractor employee," as used in this clause, means any officer, partner, employee, or
agent of a prime Contractor.
   "Subcontract," as used in this clause, means a contract or contractual action entered into by a
prime Contractor or subcontractor for the purpose of obtaining supplies, materials, equipment, or
services of any kind under a prime contract.
   "Subcontractor," as used in this clause, ( l) means any person, other than the prime Contractor,
who offers to furnish or furnishes any supplies, materials, equipment, or services of any kind
under a prime contract or a subcontract entered into in connection with such prime contract, and
(2) includes any person who offers to furnish or furnishes general supplies to the prime
Contractor or a higher tier subcontractor.
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    "Subcontractor employee," as used in this clause, means any officer, partner, employee, or
 agent of a subcontractor.
   (b) The Anti-Kickback Act of 1986 (41U.S.C.51-58) (the Act), prohibits any person from --
   (I) Providing or attempting to provide or offering to provide any kickback;
   (2) Soliciting, accepting, or attempting to accept any kickback; or
   (3) Including, directly or indirectly, the amount of any kickback in the contract price charged
 by a prime Contractor to the United States or in the contract price charged by a subcontractor to a
 prime Contractor or higher tier subcontractor.
   (c)( 1) The Contractor shall have in place and follow reasonable procedures designed to prevent
 and detect possible violations described in paragraph (b) of this clause in its own operations and
 direct business relationships.
   (2) When the Contractor has reasonable grounds to believe that a violation described in
paragraph (b) of this clause may have occurred, the Contractor shall promptly report in writing
the possible violation. Such reports shall be made to the inspector general of the contracting
agency, the head of the contracting agency if the agency does not have an inspector general, or
the Department of Justice.
   (3) The Contractor shall cooperate fully with any Federal agency investigating a possible
violation described in paragraph (b) of this clause.
  (4) The Contracting Officer may (i) offset the amount of the kickback against any monies owed
by the United States under the prime contract and/or (ii) direct that the Prime Contractor
withhold, from sums owed a subcontractor under the prime contract, the amount of any
kickback. The Contracting Officer may order the monies withheld under subdivision (c)(4)(ii) of
this clause be paid over to the Government unless the Government has already offset those
monies under subdivision (c)(4)(i) of this clause. In either case, the Prime Contractor shall
notify the Contracting Officer when the monies are withheld.
  (5) The Contractor agrees to incorporate the substance of this clause, including this
subparagraph (c)(5) but excepting subparagraph (c)(I), in all subcontracts under this contract
which exceed $100,000.

SECTIONS.6
[RESERVED]

SECTIONS.7
AUDIT AND RECORDS-NEGOTIATION (JUN 1999) (FAR 52.215-2)

   (a) As used in this clause, "records" includes books, documents, accounting procedures and
practices, and other data, regardless of type and regardless of whether such items are in written
form, in the form of computer data, or in any other form.
   (b) Examination of costs. If this is a cost- reimbursement, incentive, time-and-materials, labor-
hour, or price redeterminable contract, or any combination of these, the Contractor shall maintain
and the Contracting Officer, or an authorized representative of the Contracting Officer, shall
have the right to examine and audit all records and other evidence sufficient to reflect properly
all costs claimed to have been incurred or anticipated to be incurred directly or indirectly in
performance of this contract. This right of examination shall include inspection at all reasonable
times of the Contractor's plants, or parts of them, engaged in perfonning the contract.
  (c) Cost or pricing data. If the Contractor has been required to submit cost or pricing data in
connection with any pricing action relating to this contract, the Contracting Officer, or an
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  authorized representative of the Contracting Officer, in order to evaluate the accuracy,
 completeness, and currency of the cost or pricing data, shaH have the right to examine and audit
 aH of the Contractor's records, including computations and projections, related to--
     ( I) The proposal for the contract, subcontract, or modification;
     (2) The discussions conducted on the proposal(s), including those related to negotiating;
     (3) Pricing of the contract, subcontract, or modification; or
    (4) Performance of the contract, subcontract or modification.
    (d) Comptroller General -- ( 1) The Comptroller General of the United States, or an authorized
 representative, shall have access to and the right to examine any of the Contractor's directly
 pertinent records involving transactions related to this contract or a subcontract hereunder.
    (2) This paragraph may not be construed to require the Contractor or subcontractor to create or
 maintain any record that the Contractor or subcontractor does not maintain in the ordinary course
 of business or pursuant to a provision of law.
    (e) Reports. ff the Contractor is required to furnish cost, funding, or performance reports, the
 Contracting Officer or an authorized representative of the Contracting Officer shall have the
 right to examine and audit the supporting records and materials, for the purpose of evaluating--
 ( 1) The effectiveness of the Contractor's policies and procedures to produce data compatible with
 the objectives of these reports and (2) The data reported.
    (f) Availability. The Contractor shall make available at its office at all reasonable times the
records, materials, and other evidence described in paragraphs (a), (b), (c), (d), and (e) of this
clause, for examination, audit, or reproduction, until 3 years after final payment under this
contract or for any shorter period specified in Subpart 4. 7, Contractor Records Retention, of the
Federal Acquisition Regulation (FAR), or for any longer period required by statute or by other
clauses of this contract. In addition--( 1) If this contract is completely or partially terminated, the
Contractor shall make available the records relating to the work terminated until 3 years after any
resulting final termination settlement; and (2) The Contractor shaH make available records
relating to appeals under the Disputes clause or to litigation or the settlement of claims arising
under or relating to this contract until such appeals, litigation, or claims are finally resolved.
   (g) The Contractor shall insert a clause containing all the terms of this clause, including this
paragraph (g), in all subcontracts under this contract that exceed the simplified acquisition
threshold and-
   (1) That are cost-reimbursement, incentive, time-and-materials, labor-hour, or price-
redeterminable type or any combination of these;
   (2) For which cost or pricing data are required; or
   (3) That require the subcontractor to furnish reports as discussed in paragraph (e) of this clause.
   The clause may be altered only as necessary to identify properly the contracting parties and the
Contracting Officer under the Government prime contract.

SECTIONS.8
PRICE REDUCTION FOR DEFECTIVE COST OR PRICING DATA (OCT 1997) (FAR
52.215-10)

  (a) If any price, including profit or fee, negotiated in connection with this contract, or any cost
reimbursable under this contract, was increased by any significant amount because ( l) the
Contractor or a subcontractor furnished cost or pricing data that were not complete, accurate, and
current as certified in its Certificate of Current Cost or Pricing Data, (2) a subcontractor or
prospective subcontractor furnished the Contractor cost or pricing data that were not complete,
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  accurate, and current as certified in the Contractor's Certificate of Current Cost or Pricing Data,
  or (3) any of these parties furnished data of any description that were not accurate, the price or
  cost shaJJ be reduced accordingly and the contract shall be modified to reflect the reduction.
      (b) Any reduction in the contract price under paragraph (a) of this clause due to defective data
  from a prospective subcontractor that was not subsequently awarded the subcontract shall be
  limited to the amount, plus applicable overhead and profit markup, by which ( l) the actual
  subcontract; or (2) the actual cost to the Contractor, if there was no subcontract, was less than the
  prospective subcontract cost estimate submitted by the Contractor; provided, that the actual
  subcontract price was not itself affected by defective cost or pricing data.
     (c)(l) If the Contracting Officer determines under paragraph (a) of this clause that a price or
  cost reduction should be made, the Contractor agrees not to raise the following matters as a
 defense:
     (i) The Contractor or subcontractor was a sole source supplier or otherwise was in a superior
 bargaining position and thus the price of the contract would not have been modified even if
  accurate, complete, and current cost of pricing data had been submitted;
     (ii) The Contracting Officer should have known that the cost or pricing data in issue were
 defective even though the Contract9r or subcontractor took no affirmative action to bring the
 character of the data to the attention of the Contracting Officer;
     (iii) The contract was based on an agreement about the total cost of the contract and there was
 no agreement about the cost of each item procured under the contract; or
     (iv) The Contractor or subcontractor did not submit a Certificate of Current Cost or Pricing
 Data.
    (2)(i) Except as prohibited by subdivision (c)(2)(ii) of this clause, an offset in an amount
 determined appropriate by the Contracting Officer based upon the facts shall be allowed against
 the amount of a contract price reduction if--
    (A) The Contractor certifies to the Contracting Officer that, to the best of the Contractor's
 knowledge and belief, the Contractor is entitled to the offset in the amount requested; and
    (B) The Contractor proves that the cost or pricing data were available before the "as of' date
specified on its Certificate of Current Cost or Pricing Data, and that the data were not submitted
before such date.
    (ii) An offset shall not be allowed if--
    (A) The understated data were known by the Contractor to be understated before the "as of'
date specified on its Certificate of Current Cost or Pricing Data; or
    (B) The Government proves that the facts demonstrate that the contract price would not have
increased in the amount to be offset even if the available data had been submitted before the "as
of' date specified on its Certificate of Current Cost or Pricing Data.
   (d) If any reduction in the contract price under this clause reduces the price of items for which
payment was made prior to the date of the modification reflecting the price reduction, the
Contractor shall be liable to and shall pay the United States at the time such overpayment is
repaid--
   ( l) Simple interest on the amount of such overpayment to be computed from the date( s) of
overpayment to the Contractor to the date the Government is repaid by the Contractor at the
applicable underpayment rate effective for each quarter prescribed by the Secretary of the
Treasury under 26 U.S.C. 662l(a)(2); and
   (2) A penalty equal to the amount of the overpayment, if the Contractor or subcontractor
knowingly submitted cost or pricing data which were incomplete, inaccurate, or noncurrent.


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 SECTION 5.9
 [RESERVED]

 SECTION 5.10
 SUBCONTRACTOR COST OR PRICING DATA (OCT 1997) (FAR 52.215-12)

  (a) Before awarding any subcontract expected to exceed the threshold for submission of cost or
pricing data at FAR 15.403-4, on the date of agreement on price or the date of award, whichever
is later; or before pricing any subcontract modification involving a pricing adjustment expected
to exceed the threshold for submission of cost or pricing data at FAR 15.403-4, the Contractor
shall require the subcontractor to submit cost or pricing data (actually or by specific
identification in writing), unless an exception under FAR 15.403-1 applies.
  (b) The Contractor shall require the subcontractor to certify in substantially the form prescribed
in FAR 15.406-2 that, to the best of its knowledge and belief, the data submitted under paragraph
(a) of this clause were accurate, complete, and current as of the date of agreement on the
negotiated price of the subcontract or subcontract modification.
  (c) In each subcontract that exceeds the threshold for submission of cost or pricing data at FAR
15.403-4, when entered into, the Contractor shall insert either --
  (l) The substance of this clause, including this paragraph (c), if paragraph (a) of this clause
requires submission of cost or pricing data for the subcontract; or
  (2) The substance of the clause at FAR 52.215-13, Subcontractor Cost or Pricing Data -
Modifications.

SECTION 5.11
[RESERVED]

SECTION 5.12
[RESERVED]

SECTION 5.13
[RESERVED]

SECTION 5.14
UTILJZATION OF SMALL BUSINESS CONCERNS (MAY 2004) (FAR 52.219-8)

         (a) It is the policy of the United States that small business concerns, veteran-owned small
business concerns, service-disabled veteran-owned small business concerns, HUBZone small
business concerns, small disadvantaged business concerns, and women-owned small business
concerns shall have the maximum practicable opportunity to participate in performing contracts
let by any Federal agency, including contracts and subcontracts for subsystems, assemblies,
components, and related services for major systems. It is further the policy of the United States
that its prime contractors establish procedures to ensure the timely payment of amounts due
pursuant to the terms of their subcontracts with small business concerns, veteran-owned small
business concerns, service-disabled veteran-owned small business concerns, HUBZone small
business concerns, small disadvantaged business concerns, and women-owned small business
concerns.
         (b) The Contractor hereby agrees to carry out this policy in the awarding of subcontracts

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  to the fullest extent consistent with efficient contract performance. The Contractor further agrees
  to cooperate in any studies or surveys as may be conducted by the United States SmaJI Business
  Administration or the awarding agency of the United States as may be necessary to detennine the
  extent of the Contractor's compliance with this clause.
            (c) Definitions. As used in this contract-
            "HUBZone smaJI business concern" means a small business concern that appears on the
  List of Qualified HUBZone Small Business Concerns maintained by the Small Business
  Administration.
            "Service-disabled veteran-owned smaJI business concern"--
            ( l) Means a small business concern--
            (i) Not less than 51 percent of which is owned by one or more service-disabled veterans
  or, in the case of any publicly owned business, not less than 51 percent of the stock of which is
 owned by one or more service-disabled veterans; and
            (ii) The management and daily business operations of which are controlled by one or
 more service-disabled veterans or, in the case of a veteran with permanent and severe disability,
 the spouse or pennanent caregiver of such veteran.
           (2) Service-disable" veteran means a veteran, as defined in 38 U.S.C. 101(2), with a
 disability that is service-connected, as defined in 38 U.S.C. 101( 16).
           "Small business concern" means a small business as defined pursuant to Section 3 of the
 SmaJI Business Act and relevant regulations promulgated pursuant thereto.
           "SmaJI disadvantaged business concern" means a small business concern that represents,
 as part of its offer that--
           ( 1) It has received certification as a small disadvantaged business concern consistent with
 13 CFR part 124, Subpart B;
           (2) No material change in disadvantaged ownership and control has occurred since its
 certification;
           (3) Where the concern is owned by one or more individuals, the net worth of each
 individual upon whom the certification is based does not exceed $750,000 after taking into
 account the applicable exclusions set forth at 13 CPR 124.104(c)(2); and
           (4) It is identified, on the date of its representation, as a certified small disadvantaged
 business in the database maintained by the Small Business Administration (PRO-Net).
           "Veteran-owned small business concern" means a small business concern--
          (1) Not less than 51 percent of which is owned by one or more veterans (as defined at 38
 U.S.C. 101(2)) or, in the case of any publicly owned business, not less than 51 percent of the
stock of which is owned by one or more veterans; and
          (2) The management and daily business operations of which are controlled by one or
more veterans.
          "Women-owned small business concern" means a small business concern--
          ( I) That is at least 51 percent owned by one or more women, or, in the case of any
publicly owned business, at least 51 percent of the stock of which is owned by one or more
women; and
          (2) Whose management and daily business operations are controlled by one or more
women.
          (d) Contractors acting in good faith may rely on written representations by their
subcontractors regarding their status as a small business concern, a veteran-owned small business
concern, a service-disabled veteran-owned small business concern, a HUBZone small business
concern, a smaJI disadvantaged business concern, or a women-owned small business concern.
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 SECTION 5.15
 [RESERVED]

 SECTION 5.16
 [RESERVED]

 SECTION 5.17
 CONVICT LABOR (JUN 2003) (FAR 52.222-3)

        (a) Except as provided in paragraph (b) of this clause, the Contractor shall not employ in
 the performance of this contract any person undergoing a sentence of imprisonment imposed by
 any court of a State, the District of Columbia, Puerto Rico, the Northern Mariana Islands,
 American Samoa, Guam, or the U.S. Virgin Islands.
         (b) The Contractor is not prohibited from employing persons-
         ( l) On parole or probation to work at paid employment during the term of their sentence;
         (2) Who have been pardoned or who have served their terms; or
         (3) Confined for violation of the laws of any of the States, the District of Columbia,
 Puerto Rico, the Northern Mariana Islands, American Samoa, Guam, or the U.S. Virgin Islands
who are authorized to work at paid employment in the community under the laws of such
jurisdiction, if-
        (i) The worker is paid or is in an approved work training program on a voluntary basis;
        (ii) Representatives of local union central bodies or similar labor union organizations
have been consulted;
        (iii) Such paid employment will not result in the displacement of employed workers, or
be applied in skills, crafts, or trades in which there is a surplus of available gainful labor in the
locality, or impair existing contracts for services;
        (iv) The rates of pay and other conditions of employment will not be less than those paid
or provided for work of a similar nature in the locality in which the work is being performed; and
        (v) The Attorney General of the United States has certified that the work-release laws or
regulations of the jurisdiction involved are in confonnity with the requirements of Executive
Order 11755, as amended by Executive Orders 12608 and 12943.

SECTION 5.18
CONTRACT WORK HOURS AND SAFETY STANDARDS ACT-- OVERTIME COMPEN-
SATION (JUL 2005) (FAR 52.222-4)

    (a) Overtime requirements. No Contractor or subcontractor employing laborers or
mechanics (see Federal Acquisition Regulation 22.300) shall require or permit them to work over
40 hours in any workweek unless they are paid at least l and Y2 times the basic rate of pay for
each hour worked over 40 hours.
  (b) Violation; liability for unpaid wages; liquidated damages. The responsible Contractor and
subcontractor are liable for unpaid wages if they violate the terms in paragraph (a) of this clause.
In addition, the Contractor and subcontractor are liable for liquidated damages payable to the
Government. The Contracting Officer will assess liquidated damages at the rate of $10 per
affected emolo_vee for each ~alendar day on which the employer required or pennitted the
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  employee to work in excess of the standard workweek. of 40 hours without paying overtime
   wages required by the Contract Work Hours and Safety Standards Act.
     (c) Withholding for unpaid wages and liquidated damages. The Contracting Officer will
  withhold from payments due under the contract sufficient funds required to satisfy any
  Contractor or subcontractor liabilities for unpaid wages and liquidated damages. If amounts
  withheld under the contract are insufficient to satisfy Contractor or subcontractor liabilities, the
  Contracting Officer will withhold payments from other Federal or federally assisted contracts
  held by the same Contractor that are subject to the Contract Work Hours and Safety Standards
  Act.
     (d) Payrolls and basic records. (1) The Contractor and its subcontractors shall maintain
  payrolls and basic payroll records for all laborers and mechanics working on the contract during
  the contract and shall make them available to the Government until 3 years after contract
 completion. The records shall contain the name and address of each employee, social security
  number, labor classifications, hourly rates of wages paid, daily and weekly number of hours
  worked, deductions made, and actual wages paid. The records need not duplicate those required
 for construction work by Department of Labor regulations at 29 CFR 5.5(a)(3) implementing the
 Davis-Bacon Act.
    (2) The contractor and its subcontractors shall allow authorized representatives of the Contract-
 ing Officer or the Department of Labor to inspect, copy, or transcribe records maintained under
 paragraph (d)( l) of this clause. The Contractor or subcontractor also shall allow authorized
 representatives of the Contracting Officer or Department of Labor to interview employees in the
 workplace during working hours.
    (e) Subcontracts. The Contractor shall insert the provisions set forth in paragraphs (a) through
 (d) of this clause in subcontracts that may require or involve the employment of laborers and
 mechanics and require subcontractors to include these provisions in any such lower tier
 subcontracts. The Contractor shall be responsible for compliance by any subcontractor or lower-
 tier subcontractor with the provisions set forth in paragraphs (a) through (d) of this clause.

SECTION 5.19
EQUAL OPPORTUNITY (MAR 2007) (FAR 52.222-26)

         (a) Definition. "United States," as used in this clause, means the 50 States, the District of
Columbia, Puerto Rico, the Northern Mariana Islands, American Samoa, Guam, the U.S. Virgin
Islands, and Wake Island.
      (b)(l) If, during any 12-month period (including the 12 months preceding the award of this
contract), the Contractor has been or is awarded nonexempt Federal contracts and/or
subcontracts that have an aggregate value in excess of$ I 0,000, the Contractor shall comply with
this clause, except for work performed outside the United States by employees who were not


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   recruited within the United States. Upon request, the Contractor shall provide information
   necessary to determine the applicability of this clause.
         (2) If the Contractor is a religious corporation, association, educational institution, or
  society, the requirements of this clause do not apply with respect to the employment of
  individuals of a particular religion to perform work connected with the carrying on of the
  Contractor's activities (41CFR60-1.5).
     (c)(I) The Contractor shall not discriminate against any employee or applicant for
  employment because of race, color, religion, sex, or national origin. However, it shall not be a
  violation of this clause for the Contractor to extend a publicly announced preference in
  employment to Indians living on or near an Indian reservation, in connection with employment
  opportunities on or near an Indian reservation, as permitted by 41 CFR 60-1.5.
         (2) The Contractor shall take affirmative action to ensure that applicants are employed, and
  that employees are treated during employment, without regard to their race, color, religion, sex,
  or national origin. This shall include, but not be limited to--
           (i) Employment;
           (ii) Upgrading;
           (iii} Demotion;
           (iv) Transfer;
           (v) Recruitment or recruitment advertising;
           (vi) Layoff or termination;
           (vii) Rates of pay or other forms of compensation; and
           (viii) Selection for training, including apprenticeship.
        (3) The Contractor shall post in conspicuous places available to employees and applicants
 for employment the notices to be provided by the Contracting Officer that explain this clause.
        (4) The Contractor shall, in all solicitations or advertisements for employees placed by or on
 behalf of the Contractor, state that all qualified applicants will receive consideration for
 employment without regard to race, color, religion, sex, or national origin.
        (5) The Contractor shall send, to each labor union or representative of workers with which it
 has a collective bargaining agreement or other contract or understanding, the notice to be
 provided by the Contracting Officer advising the labor union or workers' representative of the
 Contractor's commitments under this clause, and post copies of the notice in conspicuous places
 available to employees and applicants for employment.
       (6) The Contractor shall comply with Executive Order 11246, as amended, and the rules,
regulations, and orders of the Secretary of Labor.
       (7) The Contractor shall furnish to the contracting agency all information required by
Executive Order 11246, as amended, and by the rules, regulations, and orders of the Secretary of
Labor. The Contractor shall also file Standard Form 100 (EE0-1), or any successor form, as
prescribed in 41CFRPart60-1. Unless the Contractor has filed within the 12 months preceding
the date of contract award, the Contractor shall, within 30 days after contract award, apply to

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  either the regional Office of Federal Contract Compliance Programs (OFCCP) or the local office
  of the Equal Employment Opportunity Commission for the necessary forms.
        (8) The Contractor shall permit access to its premises, during normal business hours, by the
  contracting agency or the OFCCP for the purpose of conducting on-site compliance evaluations
  and complaint investigations. The Contractor shall permit the Government to inspect and copy
  any books, accounts, records (including computerized records), and other material that may be
  relevant to the matter under investigation and pertinent to compliance with Executive
  Order l 1246, as amended, and rules and regulations that implement the Executive Order.
        (9) If the OFCCP determines that the Contractor is not in compliance with this clause or any
  rule, regulation, or order of the Secretary of Labor, this contract may be canceled, terminated, or
  suspended in whole or in part and the Contractor may be declared ineligible for further
 Government contracts, under the procedures authorized in Executive Order 11246, as amended.
 In addition, sanctions may be imposed and remedies invoked against the Contractor as provided
 in Executive Order 11246, as amended; in the rules, regulations, and orders of the Secretary of
 Labor; or as otherwise provided by law.
       (I 0) The Contractor shall include the terms and conditions of this clause in every
 subcontract or purchase order that is not exempted by the rules, regulations, or orders of the
 Secretary of Labor issued under Executive Order 11246, as amended, so that these terms and
 conditions will be binding upon each subcontractor or vendor.
       ( 11) The Contractor shall take such action with respect to any subcontract or purchase order
 as the Contracting Officer may direct as a means of enforcing these terms and conditions,
 including sanctions for noncompliance, provided, that if the Contractor becomes involved in, or
 is threatened with, litigation with a subcontractor or vendor as a result of any direction, the
 Contractor may request the United States to enter into the litigation to protect the interests of the
 United States.
    (d) Notwithstanding any other clause in this contract, disputes relative to this clause will be
 governed by the procedures in 41 CFR 60-1. l.

SECTION 5.20
[RESERVED]

SECTION 5.21
NOTIFICATION OF VISA DENIAL (JUN 2003) (FAR 52.222-29)

   It is a violation of Executive Order 11246 for a Contractor to refuse to employ any applicant or
not to assign any person hired in the United States, Puerto Rico, the Northern Mariana Islands,
American Samoa, Guam, the U.S. Virgin Islands, or Wake Island on the basis that the
individual's race, color, religion, sex, or national origin is not compatible with the policies of the
country where the work is to be performed or for whom the work will be performed (41 CFR 60-
! . IO~. The C'.>n~rector.shal! ~:>tify the U.S. Department of State, Assistant Secretary, Bureau of
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 Political-Military Affairs (PM), 2201 C Street NW, Room 6212, Washington, DC 20520, and the
 U.S. Department of Labor, Deputy Assistant Secretary for Federal Contract Compliance, when it
 has knowledge of any employee or potential employee being denied an entry visa to a country
 where this contract will be performed, and it believes the denial is attributable to the race, color,
 religion, sex, or national origin of the employee or potential employee.

 SECTION 5.22
 EQUAL OPPORTUNITY FOR SPECIAL DISABLED VETERANS, VETERANS OF THE
 VIETNAM ERA, AND OTHER ELIGIBLE VETERANS (SEP 2006) (FAR 52.222-35)

           (a) Definitions. As used in this clause-
     "All employment openings" means all positions except executive and top management, those
  positions that will be filled from within the Contractor's organization, and positions lasting
  3 days or less. This term includes full-time employment, temporary employment of more than
  3 days duration, and part-time employment.
     "Executive and top management" means any employee-
       ( l) Whose primary duty consists of the management of the enterprise in which the
  individual is employed or of a customarily recognized department or subdivision thereof;
       (2) Who customarily and regularly directs the work of two or more other employees;
       (3) Who has the authority to hire or fire other employees or whose suggestions and
 recommendations as to the hiring or firing and as to the advancement and promotion or any other
 change of status of other employees will be given particular weight;
       (4) Who customarily and regularly exercises discretionary powers; and
       (5) Who does not devote more than 20 percent or, in the case of an employee of a retail or
 service establishment, who does not devote more than 40 percent of total hours of work in the
 work week to activities that are not directly and closely related to the performance of the work
 described in paragraphs (1) through (4) of this definition. This paragraph (5) does not apply in
 the case of an employee who is in sole charge of an establishment or a physically separated
 branch establishment, or who owns at least a 20 percent interest in the enterprise in which the
 individual is employed.
    "Other eligible veteran" means any other veteran who served on active duty during a war or in
 a campaign or expedition for which a campaign badge has been authorized.
    "Positions that will be filled from within the Contractor's organization" means employment
openings for which the Contractor will give no consideration to persons outside the Contractor's
organization (including any affiliates, subsidiaries, and parent companies) and includes any
openings the Contractor proposes to fill from regularly established "recall" lists. The exception
does not apply to a particular opening once an employer decides to consider applicants outside of
its organization.


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      "Qualified special disabled veteran" means a special disabled veteran who satisfies the
   requisite skill, experience, education, and other job-related requirements of the employment
   position such veteran holds or desires, and who, with or without reasonable accommodation, can
  perform the essential functions of such position.
      "Special disabled veteran" means-
         (1) A veteran who is entitled to compensation (or who but for the receipt of military retired
  pay would be entitled to compensation) under laws administered by the Department of Veterans
  Affairs for a disability-
             (i) Rated at 30 percent or more; or
             (ii) Rated at lO or 20 percent in the case of a veteran who has been determined under
  38 U.S.C. 3106 to have a serious employment handicap (i.e., a significant impairment of the
  veteran's ability to prepare for, obtain, or retain employment consistent with the veteran's
  abilities, aptitudes, and interests); or
        (2) A person who was discharged or released from active duty because of a service-
  connected disability.
     "Veteran of the Vietnam era" means a person who--
        (I) Served on active duty for a period of more than 180 days and was discharged or released
  from active duty with other than a dishonorable discharge, if any part of such active duty
 occurred-
            (i) In the Republic of Vietnam between February 28, 1961, and May 7, 1975; or
            (ii) Between August 5, 1964, and May 7, 1975, in all other cases; or
        (2) Was discharged or released from active duty for a service-connected disability if any
 part of the active duty was performed-
            (i) In the Republic of Vietnam between February 28, 1961, and May 7, 1975; or
            (ii) Between August 5, 1964, and May 7, 1975, in all other cases.
     (b) General.
        (l) The Contractor shall not discriminate against the individual because the individual is a
 special disabled veteran, a veteran of the Vietnam era, or other eligible veteran, regarding any
position for which the employee or applicant for employment is qualified. The Contractor shall
 take affirmative action to employ, advance in employment, and otherwise treat qualified special
disabled veterans, veterans of the Vietnam era, and other eligible veterans without discrimination
based upon their disability or veterans' status in all employment practices such as-
           (i) Recruitment, advertising, and job application procedures;
           (ii) Hiring, upgrading, promotion, award of tenure, demotion, transfer, layoff,
termination, right of return from layoff and rehiring;
          (iii) Rate of pay or any other form of compensation and changes in compensation;
          (iv) Job assignments, job classifications, organizational structures, position descriptions,
lines of progression, and seniority lists;
          (v) Leaves of absence, sick leave, or any other leave;

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             (vi) Fringe benefits available by virtue of employment, whether or not administered by
   the Contractor;
             (vii) Selection and financial support for training, including apprenticeship, and on-the-job
   training under 38 U.S.C. 3687, professional meetings, conferences, and other related activities,
   and selection for leaves of absence to pursue training;
             (viii) Activities sponsored by the Contractor including social or recreational programs;
  and
             (ix) Any other term, condition, or privilege of employment.
         (2) The Contractor shall comp!y with the rules, regulations, and relevant orders of the
  Secretary of Labor issued under the Vietnam Era Veterans' Readjustment Assistance Act
  of 1972 (the Act), as amended (38 U.S.C. 4211and4212).
      (c) Listing openings.
         ( l) The Contractor shall immediately list all employment openings that exist at the time of
  the execution of this contract and those which occur during the performance of this contract,
  including those not generated by this contract, and including those occurring at an establishment
  of the Contractor other than the one where the contract is being performed, but excluding those
 of independently operated corporate affiliates, at an appropriate local public employment service
  office of the State wherein the opening occurs. Listing employment openings with the U.S.
  Department of Labor's America's Job Bank shall satisfy the requirement to list jobs with the
 local employment service office.
         (2) The Contractor shall make the listing of employment openings with the local
 employment service office at least concurrently with using any other recruitment source or effort
 and shall involve the normal obligations of placing a bona fide job order, including accepting
 referrals of veterans and nonveterans. This listing of employment openings does not require
 hiring any particular job applicant or hiring from any particular group of job applicants and is not
 intended to relieve the Contractor from any requirements of Executive orders or regulations
 concerning nondiscrimination in employment.
        (3) Whenever the Contractor becomes contractually bound to the listing tenns of this clause,
 it shall advise the State public employment agency in each State where it has establishments of
the name and location of each hiring location in the State. As long as the Contractor is
contractually bound to these terms and has so advised the State agency, it need not advise the
State agency of subsequent contracts. The Contractor may advise the State agency when it is no
longer bound by this contract clause.
     (d) Applicability. This clause does not apply to the listing of employment openings that occur
and are fiUed outside the 50 States, the District of Columbia, the Commonwealth of Puerto Rico,
the Commonwealth of the Northern Mariana Islands, American Samoa, Guam, the Virgin Islands
of the United States, and Wake Island.
     (e) Postings.


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      ( l) The Contractor shall post employment notices in conspicuous places that are available to
employees and applicants for employment.
      (2) The employment notices shall-
          (i) State the rights of applicants and employees as well as the Contractor's obligation
under the law to take affirmative action to employ and advance in employment qualified
employees and applicants who are special disabled veterans, veterans of the Vietnam era, and
other eligible veterans; and
         (ii) Be in a fonn prescribed by the Deputy Assistant Secretary for Federal Contract
Compliance Programs, Department of Labor (Deputy Assistant Secretary of Labor), and
provided by or through the Contracting Officer.
      (3) The Contractor shall ensure that applicants or employees who are special disabled
veterans are informed of the contents of the notice (e.g., the Contractor may have the notice read
to a visually disabled veteran, or may lower the posted notice so that it can be read by a person in
a wheelchair).
      (4) The Contractor shall notify each labor union or representative of workers with which it
has a collective bargaining agreement, or other contract understanding, that the Contractor is
bound by the terms of the Act and is committed to take affinnative action to employ, and
advance in employment, qualified special disabled veterans, veterans of the Vietnam era, and
other eligible veterans.
   <O Noncompliance. If the Contractor does not comply with the requirements of this clause, the
Government may take appropriate actions under the rules, regulations, and relevant orders of the
Secretary of Labor issued pursuant to the Act.
   (g) Subcontracts. The Contractor shall insert the terms of this clause in all subcontracts or
purchase orders of$ l 00,000 or more unless exempted by rules, regulations, or orders of the
Secretary of Labor. The Contractor shall act as specified by the Deputy Assistant Secretary of
Labor to enforce the terms, including action for noncompliance.

SECTION 5.23
AFFIRMATIVE ACTION FOR WORKERS WITH DISABILITIES (JUN 1998) (FAR 52.222-
36)

   (a) General. (1) Regarding any position for which the employee or applicant for employment
is qualified, the Contractor shall not discriminate against any employee or applicant because of
physical or mental disability. The Contractor agrees to take affirmative action to employ,
advance in employment, and otherwise treat qualified individuals with disabilities without
discrimination based upon their physical or mental disabilities in all employment practices such
as -
  (i) Recruitment. Advertising, and job application procedures;
  (ii) Hiring, upgrading, promotion, award of tenure, demotion, transfer, layoff, termination,
right of return from layoff, and rehiring;
  (iii) Rates of pay or any other fonn of compensation and changes in compensation;
  (iv) Job assignments .. iob classifications, organizational structures, position descriptions, lines
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 of progression, and seniority lists;
    (v) Leaves of absence, sick leave, or any other leave;
    (vi) Fringe benefits available by virtue of employment, whether or not administered by the
 Contractor;
    (vii) Selection and financial support for training, including apprenticeships, professional
  meetings, conferences, and other related activities, and selection for leaves of absence to pursue
 training
    (viii) Activities sponsored by the Contractor, including social or recreational programs; and
    (ix) Any other term, condition, or privilege of employment.
    (2) The Contractor agrees to comply with the rules, regulations, and relevant orders of the
 Secretary of Labor (Secretary) issued under the Rehabilitation Act of 1973 (29 U.S.C. 793) (the
 Act), as amended.
    (b) Postings. (1) The Contractor agrees to post employment notices stating (i) the Contractor's
 obligation under the law to take affirmative action to employ and advance in employment
 qualified individuals with disabilities; and (ii) the rights of applicants and employees.
   (2) These notices shall be posted in conspicuous places that are available to employees and
 applicants for employment. The Contractor shall ensure that applicants and employees with
 disabilities are informed of the contents of the notice (e.g., the Contractor may have the notice
 read to a visually disabled individual, or may lower the posted notice so that it might be read by a
person in a wheelchair). The notices shall be in a form prescribed by the Deputy Assistant
Secretary.for Federal Contract Compliance, of the U.S. Department of Labor (Deputy Assistant
Secretary), and shall be provided by or through the Contracting Officer.
   (3) The Contractor shall notify each labor union or representative of workers with which it has
a collective bargaining agreement or other contract understanding, that the Contractor is bound
by the terms of Section 503 of the Act and is committed to take affirmative action to employ, and
advance in employment, qualified individuals with physical or mental disabilities.
   (c) Noncompliance. If the Contractor does not comply with the requirements of this clause,
appropriate actions may be taken under the rules, regulations, and relevant orders of the
Secretary issued pursuant to the Act.
   (d) Subcontracts. The Contractor shall include the terms ofthis clause in every subcontract or
purchase order in excess of $10,000 unless exempted by rules, regulations, or orders of the
Secretary. The Contractor shall act as specified by the Deputy Assistant Secretary to enforce the
terms, including action for noncompliance.

SECTION 5.24
[RESERVED]

SECTION 5.25
DRUG-FREE WORKPLACE (MAY 2001) (FAR 52.223-6)

  (a) Definitions. As used in this clause,
  "Controlled substance" means a controlled substance in schedules I through V of section 202
of the Controlled Substances Act (2 l U .S.C. 812) and as further defined in regulation at 21 CFR
 1308.11-1308.15.
  "Conviction" means a finding of guilt (including a plea of nolo contendere) or imposition of
sentence, or both, by any judicial body charged with the responsibility to determine violations of
the Federal or State criminal drug statutes.

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      "Criminal drug statute" means a Federal or non-Federal criminal statute involving the
  manufacture, distribution, dispensing, possession or use of any controlled substance.
     "Drug-free workplace" means the site(s) for the performance of work done by the Contractor in
  connection with a specific contract where employees of the Contractor are prohibited from
  engaging in the unlawful manufacture, distribution, dispensing, possession, or use of a controlled
  substance.
     "Employee" means an employee of a Contractor directly engaged in the performance of work
  under a Government contract. Directly engaged is defined to include all direct cost employees
  and any other Contractor employee who has other than a minimal impact or involvement in
  contract performance.
     "Individual" means an offeror/contractor that has no more than one employee including the
  offeror/contractor.
     (b) The Contractor, if other than an individual, shall - within 30 days after award (unless a
  longer period is agreed to in writing for contracts of 30 days or more performance duration); or
  as soon as possible for contracts of less than 30 days performance duration -
     ( l) Publish a statement notifying its employees that the unlawful manufacture, distribution,
 dispensing, possession, or use of a controlled substance is prohibited in the contractor's
 workplace and specifying the actions that will be taken against employees for violations of such
 prohibition;
    (2) Establish an ongoing drug-free awareness program to inform such employees about-
    (i) The dangers of drug abuse in the workplace;
    (ii) The contractor's policy of maintaining a drug-free workplace;
    (iii) Any available drug counseling, rehabilitation, and employee assistance programs; and
    (iv) The penalties that may be imposed upon employees for drug abuse violations occurring in
 the workplace.
    (3) Provide all employees engaged in performance of the contract with a copy of the statement
 required by subparagraph (b)(I) of this clause;
    (4) Notify such employees in writing in the statement required by subparagraph (b)(I) of this
 clause that, as a condition of continued employment on this contract, the employee will -
    (i) Abide by the terms of the statement; and
    (ii) Notify the employer in writing of the employee's conviction under a criminal drug statute
 for a violation occurring in the workplace no later than 5 days after such conviction.
    (5) Notify the Contracting Officer in writing within 10 days after receiving notice under
subdivision (b)(4)(ii) of this clause, from an employee or otherwise receiving actual notice of
such conviction. The notice shall include the position title of the employee;
   (6) Within 30 days after receiving notice under subdivision (b)(4Xii) of this clause of a
conviction, take one of the following actions with respect to any employee who is convicted of a
drug abuse violation occurring in the workplace:
   (i) Taking appropriate personnel action against such employee, up to and including
termination; or
   (ii) Require such employee to satisfactorily participate in a drug abuse assistance or rehabil-
itation program approved for such purposes by a Federal, State, or local health, law enforcement,
or other appropriate agency; and
   (7) Make a good faith effort to maintain a drug-free workplace through implementation of
subparagraphs (b)( l) through (b )(6) of this clause.
 · (c) The Contractor, if an individual, agrees by award of the contract or acceptance of a
purchase order, not to engage in the unlawful manufacture, distribution, dispensing, possession,

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 or use of a controJled substance while performing this contract.
   (d) In addition to other remedies available to the Government, the Contractor's failure to
 comply with the requirements of paragraphs (b) or (c) of this clause may, pursuant to FAR
 23.506, render the Contractor subject to suspension of contract payments, termination of the
 contract for default, and suspension or debarment.

 SECTION 5.26
 [RESERVED]

 SECTION 5.27
 FEDERAL, STATE, AND LOCAL TAXES (STATE AND LOCAL ADJUSTMENTS) (APR
 2003) (FAR 52.229-4)

    (a) As used in this clause-
    "After-imposed tax" means any new or increased Federal, State, or local tax or duty, or tax that
  was excluded on the contract date but whose exclusion was later revoked or amount of
 exemption reduced during the contract period, other than an excepted tax, on the transactions or
 property covered by this contract that the Contractor is required to pay or bear as the result of
 legislative, judicial, or administrative action taking effect after the contract date.
    "After-relieved tax" means any amount of Federal, State, or local tax or duty, other than an
 excepted tax, that would otherwise have been payable on the transactions or property covered by
 this contract, but which the Contractor is not required to pay or bear, or for which the Contractor
 obtains a refund or drawback, as the result of legislative, judicial, or administrative action taking
 effect after the contract date.
    "All applicable Federal, State, and local taxes and duties" means all taxes and duties, in effect
 on the contract date, that the taxing authority is imposing and collecting on the transactions or
 property covered by this contract.
    "Contract date" means the effective date of this contract and, for any modification to this
 contract, the effective date of the modification.
    "Excepted tax" means social security or other employment taxes, net income and franchise
 taxes, excess profits taxes, capital stock taxes, transportation taxes, unemployment compensation
 taxes, and property taxes. "Excepted tax" does not include gross income taxes levied on or
 measured by sales or receipts from sales, property taxes assessed on completed supplies covered
by this contract, or any tax assessed on the Contractor's possession of, interest in, or use of
property, title to which is in the Government.
  "Local taxes" includes taxes imposed by a possession or territory of the United States, Puerto
Rico, or the Northern Mariana Islands, if the contract is performed wholly or partly in any of
those areas.
   (b) Unless otherwise provided in this contract, the contract price includes all applicable
Federal, State, and local taxes and duties.
   (c) The contract price shall be increased by the amount of any after-imposed tax, or of any tax
or duty specifically excluded from the contract price by a term or condition of this contract that
the Contractor is required to pay or bear, including any interest or penalty, if the Contractor
states in writing that the contract price does not include any contingency for such tax and if
liability for such tax, interest, or penalty was not incurred through the Contractor's fault,
negligence, or failure to follow instructions of the Contracting Officer.


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   (d) The contract price shall be decreased by the amount of any after-relieved tax. The Govern-
 ment shall be entitled to interest received by the Contractor incident to a refund of taxes to the
 extent that such interest was earned after the Contractor was paid by the Government for such
 taxes. The Government shall be entitled to repayment of any penalty refunded to the Contractor
 to the extent that the penalty was paid by the Government.
   (e) The contract price shall be decreased by the amount of any Federal, State, or local tax, other
 than an excepted tax, that was included in the contract price and that the Contractor is required to
 pay or bear, or does not obtain a refund of, through the Contractor's fault, negligence, or failure
 to follow instructions of the Contracting Officer.
   (t) No adjustment shall be made in the contract price under this clause unless the amount of the
 adjustment exceeds $250.
   (g) The Contractor shall promptly notify the Contracting Officer of all matters relating to
 Federal, State, and local taxes and duties that reasonably may be expected to result in either an
 increase or decrease in the contract price and shall talce appropriate action as the Contracting
 Officer directs. The contract price shall be equitably adjusted to cover the costs of action talcen
 by the Contractor at the direction of the Contracting Officer, including any interest, penalty, and
 reasonable attorneys' fees.
   (h) The Government shall furnish evidence appropriate to establish exemption from any
 Federal, State, or local tax when-
         ( I) The Contractor requests such exemption and states in writing that it applies to a tax
 excluded from the contract price; and
         (2) A reasonable basis exists to sustain the exemption.

 SECTION 5.28
 RESERVED

SECTION 5.29
TAXES- FOREIGN NEGOTIATED BENEFITS CONTRACTS (JAN 1998) (FEHBAR
1652.229-70)

   (a) To the extent that this contract provides for performing services outside the United States,
 its possessions, and Puerto Rico, this clause applies in lieu of any Federal, State, and local taxes
clause of the contract.
   (b) "Contract date," as used in this clause, means the effective date of this contract or
 modification.
    "Country concerned," as used in this clause, means any country, other than the United States,
its possessions, and Puerto Rico, in which expenditures under this contract are made.
   "Tax" and "taxes," as used in this clause, include fees and charges for doing business that are
levied by the government of the country concerned or by its political subdivisions.
   "All applicable taxes and duties," as used in this clause, means all taxes and duties, in effect on
the contract date, that the taxing authority is imposing and collecting on the transactions covered
by this contract, pursuant to written ruling or regulation in effect on the contract date.
   "After-imposed tax," as used in this clause, means any new or increased tax or duty, or tax that
was exempted or excluded on the contract date but whose exemption was later revoked or
reduced during the contract period, other than excepted tax, on the transactions covered by this
contract that the Carrier is required to pay or bear as the result of legislative, judicial, or
administrative action talcing effect after the contract date.

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       "After-relieved tax," as used in this clause, means any amount of tax or duty, other than an
   excepted tax, that would othe1Wise have been payable on the transactions covered by this
  contract, but which the Carrier is not required to pay or bear, or for which the Carrier obtains a
   refund, as the result of legislative, judicial, or administrative action taking effect after the
  contract date.
      "Excepted tax," as used in this clause, means social security or other employment taxes, net
  income and franchise taxes, excess profits truces, capital stock taxes, transportation taxes,
  unemployment compensation taxes, and property taxes. "Excepted tax" does not include gross
  income taxes levied on or measured by sales or receipts from sales covered by this contract, or
  any tax assessed on the Carrier's possession of, interest in, or use of property, title to which is in
  the U.S. Government.
      (c) Unless otherwise provided in this contract, the contract price includes all applicable taxes
  and duties, except taxes and duties that the Government of the United States and the government
  of the country concerned have agreed shall not be applicable to expenditures in such country by
  or on behalf of the United States.
      (d) The contract price shall be increased by the amount of any after-imposed tax or of any tax
 or duty specifically excluded from the contract price by a provision of this contract that the
 Carrier is required to pay or bear, including any interest or penalty, if the Carrier states in writing
  that the contract price does not include any contingency for such tax and if liability for such tax,
  interest, or penalty was not incurred through the Carrier's fault, negligence, or failure to follow
  instructions of the Contracting Officer or to comply with the provisions of paragraph (i) below.
     (e) The contract price shall be decreased by the amount of any after-relieved tax, including any
 interest or penalty. The Government of the United States shall be entitled to interest received by
 the Carrier incident to a refund of taxes to the extent that such interest was earned after the
 Carrier was paid by the Government of the United States for such taxes. The Government of the
 United States shall be entitled to repayment of any penalty refunded to the Carrier to the extent
 that the penalty was paid by the Government.
     (0 The contract price shall be decreased by the amount of any tax or duty, other than an
 excepted tax, that was included in the contract and that the Carrier is required to pay or bear, or
 does not obtain a refund of, through the Carrier's fault, negligence, or failure to follow
 instructions of the Contracting Officer or to comply with the provisions of paragraph (i) below.
     (g) No adjustment shall be made in the contract price under this clause unless the amount of the
adjustment exceeds $250.
     (h) If the Carrier obtains a reduction in tax liability under the United States Internal Revenue
Code (Title 26, U.S. Code) because of the payment of any tax or duty that either was included in
the contract price or was the basis of an increase in the contract price, the amount of the
reduction shall be paid or credited to the Government of the United States as the Contracting
Officer directs.
    (i) The Carrier shall take all reasonable action to obtain exemption from or refund of any taxes
or duties, including interest or penalty, from which the United States Government, the Carrier,
any subcontractor, or the transactions covered by this contract are exempt under the laws of the
country concerned or its political subdivisions or which the governments of the United States and
of the country concerned have agreed shall not be applicable to expenditures in such country by
or on behalf of the United States.
    (j) The Carrier shall promptly notify the Contracting Officer of all matters relating to taxes or
duties that reasonably may be expected to result in either an increase or decrease in the contract
price and shall take appropriate action as the Contracting Officer directs. The contract price shall

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 be equitably adjusted to cover the costs of action taken by the Carrier at the direction of the
 Contracting Officer, including any interest, penalty, and reasonable attorneys' fees.

 SECTION 5.30
 [RESERVED]


 SECTION 5.31
 [RESERVED]


 SECTION 5.32
 [RESERVED]


SECTION 5.33
DISCOUNTS FOR PROMPT PAYMENT (FEB 2002) (FAR 52.232-8)

        (a) Discounts for prompt payment will not be considered in the evaluation of offers.
However, any offered discount will form a part of the award, and will be taken if payment is
made within the discount period indicated in the offer by the offeror. As an alternative to
offering a discount for prompt payment in conjunction with the offer, offerors awarded contracts
may include discounts for prompt payment on individual invoices.
        (b) In connection with any discount offered for prompt payment, time shall be computed
from the date of the invoice. If the Contractor has not placed a date on the invoice, the due date
shall be calculated from the date the designated billing office receives a proper invoice, provided
the agency annotates such invoice with the date of receipt at the time of receipt. For the purpose
of computing the discount earned, payment shall be considered to have been made on the date
that appears on the payment check or, for an electronic funds transfer, the specified payment
date. When the discount date falls on a Saturday, Sunday, or legal holiday when Federal
Government offices are closed and Government business is not expected to be conducted,
payment may be made on the following business day.

SECTION 5.34
INTEREST (JUN 1996) (FAR 52.232-17) FEHBAR (JAN 1995)

  (a) Except as otherwise provided in this contract under a Price Reduction for Defective Cost or
Pricing Data clause or a Cost Accounting Standards clause, all amounts that become payable by
the Contractor to the Government under this contract shall bear simple interest from the date due
until paid unless paid within 30 days of becoming due. The interest rate shall be the interest rate
established by the Secretary of the Treasury as provided in Section 12 of the Contract Disputes
Act of 1978 (Public Law 95-563), which is applicable to the period in which the amount
becomes due, as provided in paragraph (b) of this clause, and then at the rate appJicable for each
six-month period as fixed by the Secretary until the amount is paid.
  (b) Amounts shall be due at the earliest of the following dates:
  (I) The date fixed under this contract.


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   (2) The date of the first written demand for payment consistent with this contract, including
 any demand resulting from a default termination.
   (3) The date the Government transmits to the Contractor a proposed supplemental agreement to
 confirm completed negotiations establishing the amount of debt.
   (4) If this contract provides for revision of prices, the date of written notice to the Contractor
 stating the amount of refund payable in connection with a pricing proposal or a negotiated
 pricing agreement not confirmed by contract modification.
   (c) The interest charge made under this clause may be reduced under the procedures
 prescribed in 32.614-2 of the Federal Acquisition Regulation in effect on the date of this
 contract.

 SECTION 5.35
 ASSIGNMENT OF CLAIMS (JAN 1986) (FAR 52.232-23)

  (a) The Contractor, under the Assignment of Claims Act, as amended, 31 U.S.C. 3727, 41
U.S.C. 15 (hereafter referred to as "the Act"). may assign its rights to be paid amounts due or to
become due as a result of the performance of this contract to a bank, trust company, or other
financing institution, including any Federal lending agency. The assignee under such an
assignment may thereafter further assign or reassign its right under the original assignment to
any type of financing institution described in the preceding sentence.
  (b) Any assignment or reassignment authorized under the Act and this clause shall cover all
unpaid amounts payable under this contract, and shall not be made to more than one party,
except that an assignment or reassignment may be made to one party as agent or trustee for two
or more parties participating in the financing of this contract.
  (c) The Contractor shall not furnish or disclose to any assignee under this contract any
classified document (including this contract) or infonnation related to work under this contract
until the Contracting Officer authorizes such action in writing.

SECTION 5.36
DISPUTES (JUL 2002) (FAR 52.233-1)

         (a) This contract is subject to the Contract Disputes Act of 1978, as amended (41 U.S.C.
 601-613).
         (b) Except as provided in the Act, all disputes arising under or relating to this contract
 shall be resolved under this clause.
         (c) "Claim," as used in this clause, means a written demand or written assertion by one of
the contracting parties seeking, as a matter of right, the payment of money in a sum certain, the
adjustment or interpretation of contract terms, or other relief arising under or relating to this
contract. However, a written demand or written assertion by the Contractor seeking the payment
of money exceeding $100,000 is not a claim under the Act until certified. A voucher, invoice, or
other routine request for payment that is not in dispute when submitted is not a claim under the
Act. The submission may be converted to a claim under the Act, by complying with the
submission and certification requirements of this clause, if it is disputed either as to liability or
amount or is not acted upon in a reasonable time.
        (d)( I) A claim by the Contractor shall be made in writing and, unless otherwise stated in
this contract, submitted within 6 years after accrual of the claim to the Contracting Officer for a


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  written decision. A claim by the Government against the Contractor shall be subject to a written
 decision by the Contracting Officer.
           (2)(i) The Contractor shall provide the certification specified in paragraph (d)(2)(iii) of
 this clause when submitting any claim exceeding $100,000.
          (ii) The certification requirement does not apply to issues in controversy that have not
 been submitted as all or part of a claim.
          (iii) The certification shall state as follows: "I certify that the claim is made in good faith;
 that the supporting data are accurate and complete to the best of my knowledge and belief; that
 the amount requested accurately reflects the contract adjustment for which the Contractor
 believes the Government is liable; and that I am duly authorized to certify the claim on behalf of
 the Contractor."
          (3) The certification may be executed by any person duly authorized to bind the
 Contractor with respect to the claim.
          (e) For Contractor claims of $100,000 or less, the Contracting Officer must, if requested
 in writing by the Contractor, render a decision within 60 days of the request. For Contractor-
 certified claims over $100,000, the Contracting Officer must, within 60 days, decide the claim or
 notify the Contractor of the date by which the decision will be made.
          (t) The Contracting Officer's decision shall be final unless the Contractor appeals or files
 a suit as provided in the Act.
          (g) If the claim by the Contractor is submitted to the Contracting Officer or a claim by the
Government is presented to the Contractor, the parties, by mutual consent, may agree to use
alternative dispute resolution (ADR). If the Contractor refuses an offer for ADR, the Contractor
shall infonn the Contracting Officer, .in writing, of the Contractor's specific reasons for rejecting
the offer.
         (h) The Government shall pay interest on the amount found due and unpaid from (l) the
date that the Contracting Officer receives the claim (certified, if required); or (2) the date that
payment otherwise would be due, if that date is later, until the date of payment. With regard to
claims having defective certifications, as defined in FAR 33.201, interest shall be paid from the
date that the Contracting Officer initially receives the claim. Simple interest on claims shall be
paid at the rate, fixed by the Secretary of the Treasury as provided in the Act, which is applicable
to the period during which the Contracting Officer receives the claim and then at the rate
applicable for each 6-month period as fixed by the Treasury Secretary during the pendency of the
claim.
         (i) The Contractor shall proceed diligently with perfonnance of this contract, pending
final resolution of any request for relief, claim, appeal, or action arising under or relating to the
contract, and comply with any decision of the Contracting Officer.

SECTION 5.37
NOTICE OF INTENT TO DISALLOW COSTS (APR 1984) (FAR 52.242-1)

  (a) Notwithstanding any other clause of this contract--
  ( I) The Contracting Officer may at any time issue to the Contractor a written notice of intent
to disallow specified costs incurred or planned for incurrence under this contract that have been
determined not to be allowable under the contract terms; and
  (2) The Contractor may, after receiving a notice under subparagraph (I) above, submit a
written response to the Contracting Officer, with justification for allowance of the costs. If the


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 Contractor does respond within 60 days, the Contracting Officer shall, within 60 days of
 receiving the response, either make a written withdrawal of the notice or issue a written decision.
   (b) Failure to issue a notice under this Notice of Intent to Disallow Costs clause shall not
 affect the Government's right to take exception to incurred costs.

 SECTION 5.38
 CHANGES--NEGOTIATED BENEFITS CONTRACTS (JAN 1998) (FEHBAR 1652.243-70)

   (a) The Contracting Officer may at any time, by written order, and without notice to the
 sureties, if any, make changes within the general scope of this contract in any one or more of the
 following:
   ( l) Description of services to be performed.
   (2) Time of performance (i.e., hours of the day, days of the week, etc.).
   (3) Place of performance of the services.
   (b) If any such change causes an increase or decrease in the cost of, or the time required for,
 performance of any part of the work under this contract, whether or not changed by the order, the
Contracting Officer shall make an equitable adjustment in the contract price, the delivery
schedule, or both, and shall modify the contract.
   (c) The Carrier must assert its right to an adjustment under this clause within 30 days from the
date of receipt of the written order. However, if the Contracting Officer decides that the facts
justify it, the Contracting Officer may receive and act upon a proposal submitted before final
payment of the contract.
   (d) Failure to agree to any adjustment shall be a dispute under the Disputes clause. However,
nothing in this clause shall excuse the Carrier from proceeding with the contract as changed.

SECTION 5.39
COMPETITTON IN SUBCONTRACTING (DEC 1996) (FAR 52.244-5)

  (a) The Contractor shall select subcontractors (including suppliers) on. a competitive basis to
the maximum practical extent consistent with the objectives and requirements of the contract.
  (b) If the Contractor is an approved mentor under the Department of Defense Pilot Mentor-
Protege Program (Pub. L. 101-510, section 831 as amended), the Contractor may award
subcontracts under this contract on a noncompetitive basis to its proteges.

SECTION 5.40
GOVERNMENT PROPERTY (NEGOTIATED BENEFITS CONTRACTS) (JAN 1998)
(FEHBAR 1652.245-70)

  (a) Government-furnished property. ( 1) The Government shall deliver to the Carrier, for use in
connection with and under the terms of this contract, the Government-furnished property
described in this contract together with any related data and information that the Carrier may
request and is reasonably required for the intended use of the property (hereinafter referred to as
"Government-furnished property").
  (2) The delivery or performance dates for this contract are based upon the expectation that
Government-furnished property suitable for use (except for property furnished "as-is") wi.11 be
delivered to the Carrier at the times stated in this contract or, if not so stated, in sufficient time to
enable the Carrier to meet the contract's performance dates.
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      (3) If Government-furnished property is received by the Carrier in a condition not suitable for
   the intended use, the Carrier shall, upon receipt of it, notify the Contracting Officer, detailing the
   facts, and, as directed by the Contracting Officer and at Government expense, either repair,
   modify, return, or otherwise dispose of the property. After completing the directed action and
   upon written request of the Carrier, the Contracting Officer shall make an equitable adjustment
   as provided in paragraph (h) of this clause.
      (b) Changes in Government-furnished property. (l) The Contracting Officer may, by written
   notice, (i) decrease the Government-furnished property provided or to be provided under this
  contract, or (ii) substitute other Government-furnished property for the property to be provided
   by the Government, or to be acquired by the Carrier for the Government, under this contract.
  The Carrier shall promptly take such action as the Contracting Officer may direct regarding the
  removal, shipment, or disposal of the property covered by such notice.
     (2) Upon the Carrier's written request, the Contracting Officer shall make an equitable
  adjustment to the contract in accordance with paragraph (h) of this clause, if the Government has
  agreed in this contract to make the property available for performing this contract and there is
  any-
     (i) Decrease or substitution in this property pursuant to subparagraph (b)( l) above; or
     (ii) Withdrawal of authority to use this property, if provided under any other contract or lease.
     (c) Title in Government property. (1) The Government shall retain title to all Government-
  fumished property.
     (2) All Government-furnished property and all property acquired by the Carrier, title to which
  vests in the Government under this paragraph (collectively referred to as "Government proper-
  ty"), are subject to the provisions of this clause. Title to Government property shall not be        ·
  affected by its incorporation into or attachment to any property not owned by the Government,
  nor shall Government property become a fixture or lose its identity as personal property by being
  attached to any real property.
     (d) Use of Government property. The Government property shall be used only for perfonning
  this contract, unless otherwise provided in this contract or approved by the Contracting Officer.
     (e) Property administration. (1) The Carrier shall be responsible and accountable for all
  Government property provided under this contract and shall comply with Federal Acquisition
  Regulation (FAR) subpart 45.5, as in effect on the date of this contract.
     (2) The Carrier shall establish and maintain a program for the use, maintenance, repair,
  protection, and preservation of Government property in accordance with sound industrial
  practice and the applicable provisions of subpart 45.5 of the FAR.
    (3) If damage occurs to Government property, the risk of which has been assumed by the
 Government under this contract, the Government shall replace the items or the Carrier shall
 make such repairs as the Government directs. However, if the Carrier cannot effect such repairs
 within the time required, the Carrier shall dispose of the property as directed by the Contracting
 Officer. When any property for which the Government is responsible is replaced or repaired, the
 Contracting Officer shall make an equitable adjustment in accordance with paragraph (h) of this
 clause.
    (4) The Carrier represents that the contract price does not include any amount for repairs or
 replacement for which the Government is responsible. Repair or replacement of property for
 which the Carrier is responsible shall be accomplished by the Carrier at its own expense.
    (0 Access. The Government and all its designees shall have access at all reasonable times to
 the premises in which any Government property is located for the purpose of inspecting the
 Government property.

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     (g) Risk of loss. Unless otherwise provided in this contract, the Carrier assumes the risk of,
  and shall be responsible for, any loss or destruction of, or damage to, Government property upon
  its delivery to the Carrier. However, the Carrier is not responsible for reasonable wear and tear
  to Government property or for Government property properly consumed in performing this
  contract
     (h) F.quitable adjustment. When this clause specifies an equitable adjustment, it shall be made
  to any affected contract provision in accordance with the procedures of the Changes clause.
  When appropriate, the Contracting Officer may initiate an equitable adjustment in favor of the
  Government. The right to an equitable adjustment shall be the Carrier's exclusive remedy. The
  Government shall not be liable to suit for breach of contract for --
     ( 1) Any delay in delivery of Government-furnished property;
     (2) Delivery of Government-furnished property in a condition not suitable for its intended use;
    (3) A decrease in or substitution of Government-furnished property; or
    (4) Failure to repair or replace Government property for which the Government is responsible.
    (i) Final accounting and disposition of Government property. Upon completing this contract,
  or at such earlier dates as may be fixed by the Contracting Officer, the Carrier shall submit, in a
  form acceptable to the Contracting Officer, inventory schedules covering all items of
 Government property (including any resulting scrap) not consumed in performing this contract or
 delivered to the Government. The Carrier shall prepare for shipment, deliver f.o.b. origin, or
 dispose of the Government property as may be directed or authorized by the Contracting Officer.
 The net proceeds of any such disposal shall be credited to the contract price or shall be paid to
 the Government as the Contracting Officer directs.
    (j) Abandonment and restoration of Carrier's premises. Unless otherwise provided herein, the
 Government-
    ( l) May abandon any Government property in place, at which time all obligations of the
 Government regarding such abandoned property shall cease; and
    (2) Has no obligation to restore or rehabilitate the Carrier's premises under any circumstances
 (e.g., abandonment, disposition upon completion of need, or upon contract completion).
 However, if the Government-furnished property is withdrawn or is unsuitable for the intended
 use, or if other Government property is substituted, then the equitable adjustment under
 paragraph (h) of this clause may properly include restoration or rehabilitation costs.
    (k) Communications. AU communications under this clause shall be in writing.
    (l) Overseas contracts. If this contract is to be performed outside of the United States of
 America. its territories, or possessions, the words "Government" and "Government- furnished"
 (wherever they appear in this clause) shall be construed as "United States Government" and
 "United States Government-furnished", respectively.

 SECTION 5.41
 LIMITATION OF LIABILITY-- SERVICES (FEB 1997) (FAR 52.246-25)

         (a) Except as provided in paragraphs (b) and (c) below, and except to the extent that the
 Contractor is expressly responsible under this contract for deficiencies in the services required to be
 perfomied under it (including any materials furnished in conjunction with those services), the
 Contractor shall not be liable for loss of or damage to property of the Government that ( l) occun; after
 Government acceptance of services perfonned under this contract and (2) results from any defects or
 deficiencies in the services perfonned or materials furnished.

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          (b) The limitation of liability under paragraph (a) above shall not apply when a defect or
 deficiency in, or the Government's acceptance of, services perfonned or materials furnished results
 from willful misconduct or lack of good faith on the part of any of the Contractor's managerial
 personnel. The tenn Contractor's managerial personnel, as used in this clause, means the Contractor's
 directors, officers, and any of the Contractor's managers, superintendents, or equivalent representatives
 who have supervision or direction of -
          ( l) AU or substantial!y all of the Contractor's business;
          (2) AU or substantially all of the Contractor's operations at any one plant, laboratory, or
 separate location at which the contract is being performed; or
          (3) A separate and complete major industrial operation connected with the performance
 of this contract.
          (c) If the Contractor carries insurance, or has established a reserve for self-insurance,
 covering liability for loss or damage suffered by the Government through the Contractor's
 performance of services or furnishing of materials under this contract, the Contractor shall be
 liable to the Government, to the extent of such insurance or reserve, for loss of or damage to
 property of the Government occurring after Government acceptance of, and resulting from any
 defects and deficiencies in, services performed or materials furnished under this contract.

 SECTION 5.42
 PREFERENCE FOR U.S.-FLAG AIR CARRIERS (JUN 2003) (FAR 52.247-63)

 (a) Definitions. As used in this clause-
 "lnternational air transportation" means transportation by air between a place in the United States
 and a place outside the United States or between two places both of which are outside the United
 States.
 "United States" means the 50 States, the District of Columbia, and outlying areas.
 "U.S.-flag air carri,er" means an air carrier holding a certificate under 49 U.S.C. Chapter 411.
  (b) Section 5 of the International Air Transportation Fair Competitive Practices Act of 1974 (49
  U.S.C. 40118) (Fly America Act) requires that all Federal agencies and Government contractors
 and subcontractors use U.S.-flag air carriers for U.S. Government-financed international air
 transportation of personnel (and their personal effects) or property, to the extent that service by
 those carriers is available. It requires the Comptroller General of the United States, in the
 absence of satisfactory proof of the necessity for foreign-flag air transportation, to disallow
 expenditures from funds, appropriated or otherwise established for the account of the United
 States, for international air transportation secured aboard a foreign-flag air carrier if a U.S.-flag
 air carrier is available to provide such services.
 (c) If available, the Contractor, in performing work under this contract, shall use U.S.-flag
 carriers for international air transportation of personnel (and their personal effects) or property.
 (d) In the event that the Contractor selects a carrier other than a U.S.-flag air carrier for
 international air transportation, the Contractor shall include a statement on vouchers involving
 such transportation essentially as follows:


STATEMENT OF UNAVAILABILITY OF U.S.-FLAG AIR CARRIERS

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   International air transportation of persons (and their personal effects) or property by U.S.-flag
 air carrier was not available or it was necessary to use foreign-flag air carrier service for the
 following reasons (see section 47.403 of the Federal Acquisition Regulation):
 (State reasons):
 (End of statement)
   (e) The Contractor shall include the substance of this clause, including this paragraph (e), in
 each subcontract or purchase under this contract that may involve international air transportation.

 SECTION 5.43
 GOVERNMENT SUPPLY SOURCES (APR 1984) (FAR 52.251-1)

   The Contracting Officer may issue the Contractor an authorization to use Government supply
 sources in the performance of this contract. Title to all property acquired by the Contractor
 under such an authorization shall vest in the Government unless otheIWise specified in the
 contract. Such property shall not be considered to be Government-furnished property, as
 distinguished from Government property. The provisions of the clause entitled Government
 Property, except its paragraphs (a) and (b), shall apply to all property acquired under such
 authorization.

 SECTION 5.44
 Aurn:ORIZED DEVIATIONS IN CLAUSES (APR 1984) (FAR 52.252-6)

   (a) The use in this solicitation or contract of any Federal Acquisition Regulation (48 CFR
 Chapter I) clause with an authorized deviation is indicated by the addition of "(DEVIATION)"
 after the date of the clause.
   (b) The use in this solicitation or contract of any Federal Employees Health Benefits
 Acquisition Regulation (48 CFR Chapter 16) clause with an authorized deviation is indicated by
 the addition of "(DEVIATION)" after the name of the regulation.

 SECTION 5.45
 LIMITATION ON PAYMENTS TO INFLUENCE CERTAIN FEDERAL TRANSACTIONS
 (SEP 2005) (FAR 52.203-12)

   (a) Definitions.
   "Agency," as used in this clause, means executive agency as defined in FAR 2.101.
   "Covered Federal action," as used in this clause, means any of the following Federal actions:
   (1) The awarding of any Federal contract.
  (2) The making of any Federal grant.
  (3) The making of any Federal loan.
  (4) The entering into of any cooperative agreement.
  (5) The extension, continuation, renewal, amendment, or modification of any Federal contract,
grant, loan, or cooperative agreement.
  "Indian tribe" and "tribal organization," as used in this clause, have the meaning provided in
section 4 of the Indian Self-Determination and Education Assistance Act (25 U.S.C. 4508) and
include Alaskan Natives.
  "Influencing or attempting to influence," as used in this clause, means making, with the intent
to influence, any communication to or appearance before an officer or employee or any agency, a

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   Member of Congress, an officer or employee of Congress, or an employee of a Member of
   Congress in connection with any covered Federal action.
      "Local government," as used in this clause, means a unit of government in a State and, if
   chru:tered, established, or otherwise recognized by a State for the perfonnance of a governmental
   duty, including a local public authority, a special district, an intrastate district, a council of
   governments, a sponsor group representative organization, and any other instrumentality of a
   local government.
      "Officer or employee of an agency," as used in this clause, includes the following individuals
   who are employed by an agency:
     ( l) An individual who is appointed to a position in the Government under title 5, United States
   Code, including a position under a temporary appointment.
     (2) A member of the unifonned services, as defined in subsection 101(3), title 37, United
  States Code.
     (3) A special Government employee, as defined in section 202, title 18, United States Code.
     (4) An individual who is a member of a Federal advisory committee, as defined by the Federal
  Advisory Committee Act, title 5, United States Code, appendix 2.
     "Person," as used in this clause, means an individual, corporation, company, association,
  authority, finn, partnership, society, State, and local government, regardless of whether such
  entity is operated for profit, or not for profit. This tenn excludes an Indian tribe, tribal
  organization, or any other Indian organization with respect to expenditures specifically permitted
  by other Federal law.
     "Reasonable compensation," as used in this clause, means, with respect to a regularly
  employed officer or employee of any person, compensation that is consistent with the normal
  compensation for such officer or employee for work that is not furnished to, not funded by, or
  not furnished in cooperation with the Federal Government.
     "Reasonable payment," as used in this clause, means, with respect to professional and other
  technical services, a payment in an amount that is consistent with the amount normally paid for
  such services in the private sector.
     "Recipient," as used in this clause, includes the Contractor and all subcontractors. This term
  excludes an Indian tribe, tribal organization, or any other Indian organization with respect to
 expenditures specifically permitted by other Federal law.
     "Regularly employed," as used in this clause, means, with respect to an officer or employee of
 a person requesting or receiving a Federal contract, an officer or employee who is employed by
 such person for at least 130 working days within l year immediately preceding the date of the
 submission that initiates agency consideration of such person for receipt of such contract. An
 officer or employee who is employed by such person for less than 130 working days within l
 year immediately preceding the date of the submission that initiates agency consideration of such
 person shall be considered to be regularly employed as soon as he or she is employed by such
 person for 130 working days.
    "State," as used in this clause, means a State of the United States, the District of Columbia, or
 an outlying area of the United States, an agency or instrumentality of a State, and multi-State,
 regional, or interstate entity having governmental duties and powers.
    (b) Prohibitions.
    (1) Section 1352 of title 31, United States Code, among other things, prohibits a recipient of a
 Federal contract, grant, loan, or cooperative agreement from using appropriated funds to pay any
 person for influencing or attempting to influence an officer or employee of any agency, a
 Member of Congress, an officer or employee of Congress, or an employee of a Member of

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  Congress in connection with any of the following covered Federal actions: the awarding of any
  Federal contract; the making of any Federal grant; the making of any Federal loan; the entering
  into of any cooperative agreement; or the modification of any Federal contract, grant, loan, or
  cooperative agreement.
     (2) The Act also requires Contractors to furnish a disclosure if any funds other than Federal
  appropriated funds (including profit or fee received under a covered Federal transaction) have
  been paid, or will be paid, to any person for influencing or attempting to influence an officer or
  employee of any agency, a Member of Congress, an officer or employee of Congress, or an
  employee of a Member of Congress in connection with a Federal contract, grant, loan, or
  cooperative agreement.
     (3) The prohibitions of the Act do not apply under the following conditions:
     (i) Agency and legislative liaison by own employees.
     (A) The prohibition on the use of appropriated funds, in subparagraph (b )( l) of this clause,
  does not apply in the case of a payment of reasonable compensation made to an officer or
  employee of a person requesting or receiving a covered Federal action if the payment is for
  agency and legislative liaison activities not directly related to a covered Federal action.
     (8) For purposes of subdivision (b)(3)(i)(A) of this clause, providing any information
 specifically requested by an agency or Congress is permitted at any time.
    (C) The following agency and legislative liaison activities are permitted at any time where
 they are not related to a specific solicitation for any covered Federal action:
    (I) Discussing with an agency the qualities and characteristics (including individual
 demonstrations) of the person's products or services, conditions or terms of sale, and service
 capabilities.
    (2) Technical discussions and other activities regarding the application or adaptation of the
 person's products or services for an agency's use.
    (D) The following agency and legislative liaison activities are permitted where they are prior
 to formal solicitation of any covered Federal action--
    ( I) Providing any information not specifically requested but necessary for an agency to make
 an informed decision about initiation of a covered Federal action;                             '
    (2) Technical discussions regarding the preparation of an unsolicited proposal prior to its
 official submission; and
    (3) Capability presentations by persons seeking awards from an agency pursuant to the
 provisions of the Small Business Act, as amended by Pub. L. 95-507, and subsequent
 amendments.
   (E) Only those agency and legislative liaison activities expressly authorized by subdivision
(b)(3)(i) of this clause are permitted under this clause.
   (ii) Professional and technical services.
   (A) The prohibition on the use of appropriated funds, in subparagraph (b)(l) of this clause,
does not apply in the case of--
   ( l) A payment of reasonable compensation made to an officer or employee of a person
requesting or receiving a covered Federal action or an extension, continuation, renewal,
amendment, or modification of a covered Federal action, if payment is for professional or
technical services rendered directly in the preparation, submission, or negotiation of any bid,
proposal, or application for that Federal action or for meeting requirements imposed by or
pursuant to law, as a condition for receiving that Federal action.
   (2) Any reasonable payment to a person, other than an officer or employee of a person
requesting or re~eiving a co,~ered Federal action or an extension, continuation, renewal,

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   amendment, or modification of a covered Federal action if the payment is for professional or
   technical services rendered directly in the preparation, submission, or negotiation of any bid,
   proposal, or application for that Federal action or for meeting requirements imposed by or
   pursuant to law as a condition for receiving that Federal action. Persons other than officers or
  employees of a person requesting or receiving a covered Federal action include consultants and
   trade associations.
      (B) For purposes of subdivision (b)(3)(ii)(A) of this clause, "professional and technical
  services'' shall be limited to advice and analysis directly applying any professionaJ or technical
  discipline. For example, drafting of a legal document accompanying a bid or proposal by a
   lawyer is allowable. Similarly, technical advice provided by an engineer on the performance or
  operational capability of a piece of equipment rendered directly in the negotiation of a contract is
  allowable. However, communications with the intent to influence made by a professional (such
  as a licensed lawyer) or a technical person (such as a licensed accountant) are not allowable
  under this section unless they provide advice and analysis directly applying their professional or
  technical expertise and unless the advice or analysis is rendered directly and solely in the
  preparation, submission or negotiation of a covered Federal action. Thus, for example,
  communications with the intent to influence made by a lawyer that do not provide legal advice or
  analysis directly and solely related to the legal aspects of his or her client's proposal, but
  generally advocate one proposal over another are not allowable under this section because the
  lawyer is not providing professional legal services. Similarly, communications with the intent to
  influence made by an engineer providing an engineering analysis prior to the preparation or
  submission of a bid or proposal arc not allowable under this section since the engineer is
  providing technical services but not directly in the preparation, submission or negotiation of a
  covered Federal action.
      (C) Requirements imposed by or pursuant to Jaw as a condition for receiving a covered
  Federal award include those required by law or regulation and any other requirements in the
  actual award documents.
     (0) Only those professional and technical services expressly authorized by subdivisions
  (b )(3)(ii)of this clause are permitted under this clause.
     (E) The reporting requirements of FAR 3.803(a) shall not apply with respect to payments of
  reasonable compensation made to regularly employed officers or employees of a person.
     (c) Disclosure.
     ( l) The Contractor who requests or receives from an agency a Federal contract shall file with
 that agency a disclosure form, OMB standard form LLL, Disclosure of Lobbying Activities, if
 such person has made or has agreed to make any payment using nonappropriated funds (to
 include profits from any covered Federal action), which would be prohibited under subparagraph
 (b )( 1) of this clause, if paid for with appropriated funds.
     (2) The Contractor shall file a disclosure form at the end of each calendar quarter in which
 there occurs any event that materially affects the accuracy of the information contained in any
 disclosure form previously filed by such person under subparagraph (c)( I) of this clause. An
 event that materially affects the accuracy of the information reported includes-
     (i) A cumulative increase of $25,000 or more in the amount paid or expected to be paid for
 influencing or attempting to influence a covered Federal action; or
    (ii) A change in the person(s) or individual(s} influencing or attempting to influence a covered
 Federal action; or
    (iii) A change in the officer(s), employee(s), or Member(s) contacted to influence or attempt to
 influence a covered Federal action.
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   (3) The Contractor shall require the submittal of a certification, and if required, a disclosure
 form by any person who requests or receives any subcontract exceeding $100,000 under the
  Federal contract.
   (4) AU subcontractor disclosure forms (but not certifications) shall be forwarded from tier to
 tier until received by the prime Contractor. The prime Contractor shall submit all disclosures to
 the Contracting Officer at the end of the calendar quarter in which the disclosure form is
 submitted by the subcontractor. Each subcontractor certification shall be retained in the
 subcontract file of the awarding Contractor.
   (d) Agreement. The Contractor agrees not to make any payment prohibited by this clause.
   (e) Penalties.                                                        ·
   ( 1) Any person who makes an expenditure prohibited under paragraph (a) of this clause or
 who fails to file or amend the disclosure form to be filed or amended by paragraph (b) of this
 clause shall be subject to civil penalties as provided for by,31 U.S.C. 1352. An imposition of a
 civil penalty does not prevent the Government from seeking any other remedy that may be
 applicable.
   (2) Contractors may rely without liability on the representation made by their subcontractors
 in the certification and disclosure form.
   (f) Cost allowability. Nothing in this clause makes allowable or reasonable any costs which
 would otherwise be unallowable or unreasonable. Conversely, costs made specifically
 unallowable by the requirements in this clause will not be made allowable under any other
 provision.

 SECTION 5.46
 [RESERVED]

 SECTION 5.47
 PROTECTING THE GOVERNMENT'S INTEREST WHEN SUBCONTRACTING WITH
 CONTRACTORS DEBARRED, SUSPENDED OR PROPOSED FOR DEBARMENT (SEP
 2006) (FAR 52.209-6)

   (a) The Government suspends or debars Contractors to protect the Government's interests.
The Contractor shall not enter into any subcontract in excess of $30,000 with a Contractor that is
debarred, suspended, or proposed for debarment unless there is a compelling reason to do so.
   (b) The Contractor shall require each proposed first-tier subcontractor, whose subcontract will
exceed $30,000, to disclose to the Contractor, in writing, whether as of the time of award of the
subcontract, the subcontractor, or its principals, is or is not debarred, suspended, or proposed for
debarment by the Federal Government.
   (c) A corporate officer or a designee of the Contractor shall notify the Contracting Officer, in
writing, before entering into a subcontract with a party that is debarred, suspended, or proposed
for debarment (see FAR 9.404 for information on the Excluded Parties List System). The notice
must include the following:
      (I) The name of the subcontractor.
      (2) The Contractor's knowledge of the reasons for the subcontractor being in the Excluded
Parties List System.

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       (3) The compelling reason(s) for doing business with the subcontractor notwithstanding its
  inclusion in the Excluded Parties List System.
       (4) The systems and procedures the Contractor has established to ensure that it is fuUy
  protecting the Government's interests when dealing with such subcontractor in view of the
  specific basis for the party's debarment, suspension, or proposed debarment.

 SECTION 5.48
 BANKRUPTCY (JUL 1995) (FAR 52.242-13)

   In the event the Contractor enters into proceedings relating to bankruptcy, whether voluntary or
 involuntary, the Contractor agrees to furnish, by certified mail or electronic commerce method
 authorized by the contract, written notification of the bankruptcy to the Contracting Office
 responsible for administering the contract. This notification shall be furnished within five days
 of the initiation of the proceedings relating to bankruptcy filing. This notification shall include
 the date on which the bankruptcy petition was filed, the identity of the court in which the
 bankruptcy petition was filed, and a listing of Government contract numbers and contracting
 offices for all Government contracts against which final payment has not been made. This
 obligation remains in effect until final payment under this contract.

 SECTION 5.49
 FEHBP TERMINATION FOR CONVENIENCE OF THE OOVERNMENT-NEGOTIATED
 BENEFITS CONTRACTS (JAN 1998) (FEHBAR 1652.249-71)

     (a) The Government may terminate perfonnance of work under this contract in whole or, from
  time to time, in part if the Contracting Officer determines that a termination is in the
  Government's interest. The Contracting Officer shall terminate by delivering to the Carrier a
  Notice of Termination specifying the extent of terminating and the effective date.
     (b) After receipt of a Notice of Termination, and except as directed by the-Contracting Officer,
  the Carrier shall immediately proceed with the following obligations, regardless of any delay in
 determining or adjusting any amounts due under this clause:
     ( l) Stop work as specified in the notice.
     (2) Place no further subcontracts except as necessary to complete the continued portion of the
 contract.
     (3) Terminate all subcontracts to the extent they relate to the work terminated.
    (4) Assign to the Government, as directed by the Contracting Officer, all right, title, and
 interest of the Carrier under the subcontracts terminated, in which case the Government shall
 have the right to settle or to pay any tennination settlement proposal arising out of those
 terminations.
    (5) With approval or ratification to the extent required by the Contracting Officer, settle all
 outstanding liabilities and termination settlement proposals arising from the termination of
 subcontracts; the approval or ratification will be final for purposes of this clause.
    (6) As directed by the Contracting Officer, deliver to the Government any data, reports, or
 studies that, if the contract had been completed, would be required to be furnished to the
 Government.
    (7) Complete performance of the work not tenninated.


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      (c) After termination, the Carrier shall submit a final termination settlement proposal to the
  Contracting Officer in the form and with the certification prescribed by the Contracting Officer.
  The Carrier shall submit the proposal promptly, but no later than I year from the effective date of
  termination, unless extended in writing by the Contracting Officer upon written request of the
  Carrier within this I-year period. However, if the Contracting Officer determines that the facts
 justify it, a termination settJement proposal may be received and acted on after 1 year or any
  extension. If the Carrier fails to submit the proposal within the time allowed, the Contracting
  Officer may detennine, on the basis of information available, the amount, if any, due the Carrier
  because of the termination and shall pay the amount determined.
     (d) Subject to paragraph (c) of this clause, the Carrier and the Contracting Officer may agree
  upon the whole or any part of the amount to be paid or remaining to be paid because of the
  termination. The amount may include a reasonable allowance for profit on work done.
  However, the agreed amount, whether under this paragraph (d) or paragraph (e) of this clause,
  exclusive of costs shown in subparagraph (e)(3) of this clause, may not exceed the total contract
 price as reduced by ( l) the amount of payments previously made and (2) the contract price of
 work not terminated. The contract shall be modified, and the Carrier paid the agreed amount.
  Paragraph (e) of this clause shall not limit, restrict, or affect the amount that may be agreed upon
 to be paid under this paragraph.
     (e) If the Carrier and the Contracting Officer fail to agree on the whole amount to be paid
 because of the termination of work, the Contracting Officer shall pay the Carrier the amounts
 determined by the Contracting Officer as follows, but without duplication of any amounts agreed
 on under paragraph (d) above:
     (I) The contract price for completed services accepted by the Government not previously paid
 for.
     (2) The total of--
    (i) The costs incurred in the performance of the work terminated, including initial costs and
 preparatory expense allocable thereto, but ·excluding any costs attributable to services paid or to
 be paid under paragraph (e)(l) of this clause;
    (ii) The cost of settling and paying termination settlement proposals under terminated
 subcontracts that are properly chargeable to the terminated portion of the contract if not included
 in subdivision (e)(2)(i) of this clause; and
    (iii) A sum, as profit on subdivision (e)(2)(i) of this clause, determined by the Contracting
 Officer under 49.202 of the Federal Acquisition Regulation, in effect on the date of this contract,
to be fair and reasonable.
    (3) The reasonable costs of settlement of the work terminated, including--
    (i) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of
termination settlement proposals and supporting data;
    (ii) The termination and settlement of subcontracts (excluding the amounts of such
settlements); and
    (t) The cost principles and procedures of part 31 of the Federal Acquisition Regulation, in
effect on the date of this contract, shall govern all costs claimed, agreed to, or determined under
this clause.
   (g) The Carrier shall have the right of appeal, under the Disputes clause, from any
determination made by the Contracting Officer under paragraph (c), (e), or (i) of this clause,
except that if the Carrier failed to submit the termination settlement proposal or request for
equitable adjustment within the time provided in paragraph (c) or (i), respectively, and failed to
request a time extension, there is no right of appeal.
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     (h) In arriving at the amount due the Carrier under this clause, there shall be deducted--
    ( l) All unliquidated advance or other payments to the Carrier under the terminated portion of
  this contract;
    (2) Any claim which the Government has against the Carrier under this contract; and
    (i) If the termination is partial, the Carrier may file a proposal with the Contracting Officer for
  an equitable adjustment of the price( s) of the continued portion of the contract. The Contracting
  Officer shall make any equitable adjustment agreed upon. Any proposal by the Carrier for an
  equitable adjustment under this clause shall be requested within 90 days from the effective date
  of termination unless extended in writing by the Contracting Officer.
    (j)(l) The Government may, under the terms and conditions it prescribes, make partial
  payments and payments against costs incurred by the Carrier for the terminated portion of the
 contract, if the Contracting Officer believes the total of these payments will not exceed the
 amount to which the Carrier will be entitled.
    (2) If the total payments exceed the amount finally determined to be due, the Carrier shall
 repay the excess to the Government upon demand, together with interest computed at the rate
 established by the Secretary of the Treasury under 50 U.S.C. App. 1215(b)(2). Interest shall be
 computed for the period from the date the excess payment is received by the Carrier to the date
 the excess is repaid.                                                              ·
    (k) Unless otherwise provided in this contract or by statute, the Carrier shall maintain all
 records and documents relating to the terminated portion of this contract for 3 years after final
 settlement. This includes all books and other evidence bearing on the Carrier's costs and
 expenses under this contract. The Carrier shall make these records and documents available to.
 the Government, at the Carrier's office, at all reasonable times, without any direct charge. If
 approved by the Contracting Officer, photographs, microphotographs, or other authentic
 reproductions may be maintained instead of original records and documents.

 SECTION 5.50
 FEHBP TERMINATION FOR DEFAULT-- NEGOTIATED BENEFITS CONTRACTS (JAN
 1998) (FEHBAR 1652.249-72)

    (a) (I) The Government may, subject to paragraphs (c) and (d) below, by written notice of
  default to the Carrier, terminate this contract in whole or in part if the Carrier fails to--
    (i) Perform the services within the time specified in this contract or any extension;
    (ii) Make progress, so as to endanger perfonnance of this contract (but see subparagraph (a)(2)
 below); or
   (iii) Perform any of the other provisions of this contract (but see subparagraph (a)(2) below).
   (2) The Government's right to terminate this contract under subdivisions (I )(ii) and ( l )(iii)
 above, may be exercised if the Carrier does not cure such failure within l 0 days (or more if
 authorized in writing by the Contracting Officer) after receipt of the notice from the Contracting
 Officer specifying the failure.
   (b) If the Government terminates this contract in whole or in part, it may acquire, under the
 tenns and in the manner the Contracting Officer considers appropriate, supplies or service
 similar to those terminated, and the Carrier will be liable to the Government for any excess costs
 for those supplies or services. However, the Carrier shall continue the work not terminated.
   (c) Except for defaults of subcontractors at any tier, the Carrier shall not be liable for any
 excess costs if the failure to perform the contract arises from causes beyond the control and
 without the fault ?r .~e,glig~~~e .~~th~ Carrier. Examples of such causes include ( l) acts of God
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 or of the public enemy, (2) acts of the Government in either its sovereign or contractual capacity,
 (3) fires, (4) floods, (5) epidemics, (6) quarantine restrictions, (7) strikes, (8) freight embargoes,
 and (9) unusually severe weather. In each instance the failure to perform must be beyond tbe
 control and without the fault or negligence of the Carrier.
    (d) If the failure to perfonn is caused by the default of a subcontractor at any tier, and if the
 cause of the default is beyond the control of both the Carrier and subcontractor, and without the
 fault or negligence of either, the Carrier shall not be liable for any excess costs for failure to
 perform, unless the subcontracted supplies or services were obtainable from other sources in
 sufficient time for the Carrier to meet the required delivery schedule.
    (e) If this contract is terminated for default, the Government may require the Carrier to transfer
 title and deliver to the Government, as directed by the Contracting Officer, any completed or
 partially completed infonnation and contract rights that the Carrier has specifically produced or
 acquired for the terminated portion of this contract.
    (f) If, after termination, it is determined that the Carrier was not in default, or that the default
 was excusable, the rights and obligations of the parties shall be the same as if the termination had
 been issued for the convenience of the Government.
   (g) The rights and remedies of the Government in this clause are in addition to any other rights
 and remedies provided by law or under this contract.

 SECTION 5.5 l
 PENSION ADJUSTMENTS AND ASSET REVERSIONS (OCT 2004) (FAR 52.215-15)

    (a) The Contractor shall promptly notify the Contracting Officer in writing when it determines
 that it will terminate a defined benefit pension plan or otherwise recapture such pension fund
 assets.
    (b) For segment closings, pension plan terminations, or curtailment of benefits, the amount of
 the adjustment shall be-
    ( l) For contracts and subcontracts that are subject to full coverage under Cost Accounting
Standards (CAS) Board rules and regulations (48 CFR Chapter 99), the amount measured,
 assigned, and allocated in accordance with 48 CFR 9904.413-50(c)(12); and
   (2) For contracts and subcontracts that are not subject to full coverage under CAS, the amount
 measured, assigned, and allocated in accordance with 48 CFR 9904.4l3-50(c)(12), except the
numerator of the fraction at 48 CFR 9904.413-50(c)(l2)(vi)shall be the sum of the pension plan
costs allocated to all non-CAS-covered contracts and subcontracts that are subject to Federal
Acquisition Regulation (FAR) Subpart 31.2 or for which cost or pricing data were submitted.
   (c) For all other situations where assets revert to the Contractor, or such assets are
constructively received by it for any reason, the Contractor shall, at the Government's option,
make a refund or give a credit to the Government for its equitable share of the gross amount
withdrawn. The Government's equitable share shaU reflect the Government's parti~ipation in
pension costs through those contracts for which cost or pricing data were submitted or that are
subject to FAR Subpart 31.2.
   (d) The Contractor shall include the substance of this clause in all subcontracts under this
contract that meet the applicability requirement of FAR 15.408(g).

SECTION 5.52
REVERSION OR ADJUSTMENT OF PLANS FOR POSTRETIREMENT BENEFITS (PRB)
OTHER THAN PENSIONS (JUL 2005) (FAR 52.215-18)
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   (a) The Contractor shall promptly notify the Contracting Officer in writing when it detennines
 that it will tenninate or reduce a PRB plan.
   (b) If PRB fund assets revert, or inure to the Contractor, or are constructively received by it
 under a plan tennination or otherwise, the Contractor shall make a refund or give a credit to the
 Government for its equitable share as required by 31 .205-6(o )(6) of the Federal Acquisition
 Regulation (FAR). When detennining or agreeing on the method for recovery of the
 Government's equitable share, the contracting parties should consider the following methods:
 cost reduction, amortizing the credit over a number of years (with appropriate interest), cash
 refund, or some other agreed upon method. Should the parties be unable to agree on the method
 for recovery of the Government's equitable share, through good faith negotiations, the
 Contracting Officer shall designate the method of recovery.
  (c)The Contractor shall insert the substance of this clause in all subcontracts that meet the
 applicability requirements of FAR 15.408(j).

 SECTION 5.53
 NOTICE TO THE GOVERNMENT OF LABOR DISPUTES (FEB 1997) (FAR 52.222-1)

   If the Contractor has knowledge that any actual or potential labor dispute is delaying or
 threatens to delay the timely perfonnance of this contract, the Contractor shall immediately give
 notice, including all relevant infonnation, to the Contracting Officer.

 SECTION 5.54
 PENALTIES FOR UNALLOWABLE COSTS (MAY 2001) (FAR 52.242-3)

     (a) Definition. Proposal, as used in this clause, means either --
     (1) A final indirect cost rate proposal submitted by the Contractor after the expiration of its
  fiscal year wbich-
     (i) Relates to any payment made on the basis of billing rates; or
     (ii) Will be used in negotiating the final contract price; or
    (2) The final statement of costs incurred and estimated to be incurred under the Incentive Price
 Revision clause (if applicable), which is used to establish the final contract price.
    (b) Contractors which include unallowable indirect costs in a proposal may be subject to
 penalties. The penalties are prescribed in 10 U.S.C. 2324 or41 U.S.C. 256, as applicable, which
 is implemented in Section 42. 709 of the Federal Acquisition Regulation (FAR).
    (c) The Contractor shall not include in any proposal any cost that is unallowable, as defined in
 Subpart 2.lofthe FAR, or an executive agency supplement to the FAR.
    (d) If the Contracting Officer determines that a cost submitted by the Contractor in its proposal
 is expressly unallowable under a cost principle in the FAR, or an executive agency supplement to
 the FAR, that defines the allowability of specific selected costs, the Contractor shall be assessed
 a penalty equal to--
    (l) The amount of the disallowed cost allocated to this contract; plus
    (2) Simple interest, to be computed--
    (i) On the amount the Contractor was paid (whether as a progress or billing payment) in excess
 of the amount to which the Contractor was entitled; and
    (ii) Using the applicable rate effective for each six-month interval prescribed by the Secretary
 of the Treasury pursuant to Pub. L. 92-41 (85 Stat. 97).

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   (e) If the Contracting Officer detennines that a cost submitted by the Contractor in its proposal
 includes a cost previously detennined to be unallowable for that Contractor, then the Contractor
 will be assessed a penalty in an amount equal to two times the amount of the disallowed cost
 allocated to this contract.
   (f) Detenninations under paragraphs (d) and (e) of this clause are fi.nal decisions within the
 meaning of the Contract Disputes Act of 1978 (41 U.S.C. 601, et seq.).
   (g) Pursuant to the criteria in FAR 42.709-5, the Contracting Officer may waive the penalties
 in paragraph (d) or (e) of this clause.
   (h) Payment by the Contractor of any penalty assessed under this clause does not constitute
 repayment to the Government of any unallowable cost which has been paid by the Government
 to the Contractor.

 SECTION 5.55
 EMPLOYMENT REPORTS ON SPECIAL DISABLED VETERANS, VETERANS OF THE
 VIETNAM ERA, AND OTHER ELIGIBLE VETERANS (SEP 2006) (FAR 52.222-37)

            (a) Unless the Contractor is a State or local government agency, the Contractor shall
  report at least annually, as required by the Secretary of Labor, on-
        ( l) The number of special disabled veterans, the number of veterans of the Vietnam era, and
  other eligible veterans in the workforce of the Contractor by job category and hiring location;
  and
        (2) The total number of new employees hired during the period covered by the report, and
  of the total, the number of special disabled veterans, the number of veterans of the Vietnam era,
  and the number of other eligible veterans; and
        (3) The maximum number and the minimum number of employees of the Contractor during
  the period covered by the report.
     (b) The Contractor shaH report the above items by completing the Form VETS-100, entitled
  "Federal Contractor Veterans' Employment Report (VETS-100 Report)."
     (c) The Contractor shall submit VETS-100 Reports no later than September 30 of each year
 beginning September 30, 1988.
    (d) The employment activity report required by paragraph (a)(2) of this clause shall reflect
 total hires during the most recent 12-month period as of the ending date selected for the
 employment profile report required by paragraph (a)( l) of this clause. Contractors may select an
 ending date-
       (I) As of the end of any pay period between July l and August 31 of the year the report is
 due; or
       (2) As of December 31, if the Contractor has prior written approval from the Equal
 Employment Opportunity Commission to do so for purposes of submitting the Employer
 Infonnation Report EEO- I (Standard Form 100).
    (e) The Contractor shall base the count of veterans reported according to paragraph (a) of this
 clause on voluntary disclosure. Each Contractor subject to the reporting requirements at
 38 U.S.C. 4212 shall invite all special disabled veterans, veterans of the Vietnam era, and other
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  eligible veterans who wish to benefit under the affirmative action program at 38 U.S.C. 4212 to
  identify themselves to the Contractor. The invitation shall state that-
        ( l) The information is voluntarily provided;
        (2) The information will be kept confidential;
        (3) Disclosure or refusal to provide the information will not subject the applicant or
  employee to any adverse treatment; and
        (4) The information will be used only in accordance with the regulations promulgated under
  38 u.s.c. 4212.
     (f) The Contractor shall insert the terms of this clause in all subcontracts or purchase orders of
  $I 00,000 or more unless exempted by rules, regulations, or orders of the Secretary of Labor.

  SECTION 5.56
  AUTHORIZATION AND CONSENT (JUL 1995) (FAR 52.227-1)

    (a) The Government authorizes and consents to all use and manufacture, in performing this
 contract or any subcontract at any tier, of any invention described in and covered by a United
 States patent ( l) embodied in the structure or composition of any article the delivery of which is
 accepted by the Government under this concract or (2) used in machinery, tools, or methods
  whose use necessarily results from compliance by the Contractor or a subcontractor with (i)
 specifications or written provisions forming a part of this contract or (ii) specific written
 instructions given by the Contracting Officer directing the manner of performance. The entire
 liability to the Government for infringement of a patent of the United States shall be determined
 solely by the provisions of the indemnity clause, if any, included in this contract or any
 subcontract hereunder (including any lower-tier subcontract), and the Government assumes
 liability for all other infringement to the extent of the authorization and consent herein above
 granted.
   (b) The Contractor agrees to include, and require inclusion of, this clause, suitably modified to
 identify the parties, in all subcontracts at any tier for supplies or services (including construction,
 architect-engineer services, and materials, supplies, models, samples, and design or testing
 services expected to exceed the simplified acquisition threshold); however, omission of this
 clause from any subcontract, including those at or below the simplified acquisition threshold,
 does not affect this authorization and consent.

 SECTION 5.57
 NOTICE AND ASSISTANCE REGARDING PATENT AND COPYRIGHT INFRINGEMENT
 (AUG 1996) (FAR 52.227-2)

   (a) The Contractor shall report to the Contracting Officer, promptly and in reasonable written
 detail, each notice or claim of patent or copyright infringement based on the performance of this
 contract of which the contractor has knowledge.
   (b) In the event of any claim or suit against the Government on account of any alleged patent
 or copyright infringement arising out of the performance of this contract or out of the use of any
 supplies furnished or work or services performed under this contract, the Contractor shall furnish
 to the Government, when requested by the Contracting Officer, all evidence and information in
 possc:ssio!l. of the .c~n~ct?~ .~~n~ng to such suit or claim. Such evidence and information
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  shall be furnished at the expense of the Government except where the Contractor has agreed to
  indemnify the Government.
    (c) The Contractor agrees to include, and require inclusion of, this clause, in all subcontracts at
  any tier for supplies or services (including construction and architect-engineer subcontracts and
  those for materials, supplies, models, samples, or design or testing services) expected to exceed
  the simplified acquisition threshold at FAR 2. lO l.

  SECTION 5.58
  PAYMENT BY ELECTRONIC FUNDS TRANSFER-CENTRAL CONTRACTOR
  REGISTRATION (OCT 2003)(FAR 52.232-33)

  (a) Method ofpayment.
          (I) All payments by the Government under this contract shall be made by electronic
  funds transfer (EFI'), except as provided in paragraph (a)(2) of this clause. As used in this
  clause, the term "EFI'" refers to the funds transfer and may also include the payment information
  transfer.
          (2) In the event the Government is unable to release one or more payments by EFI', the
  Contractor agrees to either --
          (i) Accept payment by check or some other mutually agreeable method of payment; or
          (ii) Request the Government to extend the payment due date until such time as the
  Government can make payment by EFf (but see paragraph (d) of this clause).
  (b) Contractor's EFT i'![ormation. The Government shall make payment to the Contractor usi~g
  the EFI' information contained in the Central Contractor Registration (CCR) database. In the
 event that the EFf information changes, the Contractor shall be responsible for providing the
  updated information to the CCR database.
  (c) Mechanisms for EFT payment. The Government may make payment by EFT through either
 the Automated Clearing House (ACH) network, subject to the rules of the National Automated
 Clearing House Association, or the Fedwire Transfer System. The rules governing Federal
 payments through the ACH are contained in 31 CFR part 210.
 (d) Suspension of payment. If the Contractor's EFf information in the CCR database is incorrect,
 then the Government need not make payment to the Contractor under this contract until correct
 EFT information is entered into the CCR database; and any invoice or contract financing request
 shall be deemed not to be a proper invoice for the purpose of prompt payment under this
 contract. The prompt payment terms of the contract regarding notice of an improper invoice and
 delays in accrual of interest penalties apply.
 (e) Uability for uncompleted or erroneous transfers. ( l) If an uncompleted or erroneous transfer
 occurs because the Government used the Contractor's EFT information incorrectly, the
 Government remains responsible for -
         (i) Making a correct payment;
         (ii) Paying any prompt payment penalty due; and
         (iii) Recovering any erroneously directed funds.
         (2) If an uncompleted or erroneous transfer occurs because the Contractor's EFT
          information was incorrect, or was revised within 30 days of Government release of the
          EFf payment transaction instruction to the Federal Reserve System, and -
         (i) If the funds are no longer under the control of the payment office, the Government is
          deemed to have made payment and the Contractor is responsible for recovery of any
          erroneously directed funds; or
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          (ii) If the funds remain under the control of the payment office, the Government shall not
            make payment, and the provisions of paragraph (d) of this clause shall apply.
  (f) EFT and prompt payment. A payment shall be deemed to have been made in a timely manner
  in accordance with the prompt payment terms of this contract if, in the EFT payment transaction
  instruction released to the Federal Reserve System, the date specified for settlement of the
  payment is on or before the prompt payment due date, provided the specified payment date is a
  valid date under the rules of the Federal Reserve System.
  (g) EFT and assignment of claims. If the Contractor assigns the proceeds of this contract as
  provided for in the assignment of claims terms of this contract, the Contractor shall require as a
  condition of any such assignment, that the assignee shall register separately in the CCR database
  and shall be paid by EFI' in accordance with the terms of this clause. Notwithstanding any other
  requirement of this contract, payment to an ultimate recipient other than the Contractor, or a
  financial institution properly recognized under an assignment of claims pursuant to subpart 32.8
 is not permitted. In all respects, the requirements of this clause shall apply to the assignee as if it
 were the Contractor. EFI' information that shows the ultimate recipient of the transfer to be other
 than the Contractor, in the absence of a proper assignment of claims acceptable to the
 Government, is incorrect EFf information within the meaning of paragraph (d) of this clause.
 (h) liability for change of EFT information by financial agent. The Government is not liable for
 errors resulting from changes to EFf information made by the Contractor's financial agent.
 (i) Payment information. The payment or disbursing office shall forward to the Contractor
 available payment information that is suitable for transmission as of the date of release of the
 EFT instruction to the Federal Reserve System. The Government may request the Contractor to
 designate a desired fonnat and method(s) for delivery of payment information from a list of
 formats and methods the payment office is capable of executing. However, the Government does
 not guarantee that any particular format or method of delivery is available at any particular
 payment office and retains the latitude to use the format and delivery method most convenient to
 the Government. If the Government makes payment by check in accordance with paragraph (a)
 of this clause, the Government shall mail the payment information to the remittance address
 contained in the CCR database.
 (End of clause)

 SECTION 5.59
 PROHIBITION OF SEGREGATED FACILITIES (FEB 1999) (FAR 52.222-21)

   (a) "Segregated facilities," as used in this clause, means any waiting rooms, work areas, rest
 rooms and wash rooms, restaurants and other eating areas, time clocks, locker rooms and other
 storage or dressing areas, parking lots, drinking fountains, recreation or entertainment areas,
 transportation, and housing facilities provided for employees, that are segregated by explicit
 directive or are in fact segregated on the basis of race, color, religion, sex, or national origin
 because of written or oral policies or employee custom. The tenn does not include separate or
 single-user rest rooms or necessary dressing or sleeping areas provided to assure privacy
 between the sexes.
   (b) The Contractor agrees that it does not and will not maintain or provide for its employees
 any segregated facilities at any of its establishments, and that it does not and will not permit its
 employees to perfonn their services at any location under its control where segregated facilities
 are maintained. The Contractor agrees that a breach of this clause is a violation of the Equal
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   (c) The Contractor shall include this clause in every subcontract and purchase order that is
 subject to the Equal Opportunity clause of this contract.

 SECTION 5.60
 SUBCONTRACTS FOR COMMERCIAL ITEMS (MAR 2007) (FAR 52.244-6)

            (a) Definitions. As used in this clause-
    "Commercial item" has the meaning contained in Federal Acquisition Regulation 2.10 l,
 Definitions.
    "Subcontract" includes a transfer of commercial items between divisions, subsidiaries, or
 affiliates of the Contractor or subcontractor at any tier.
    (b) To the maximum extent practicable, the Contractor shall incorporate, and require its
 subcontractors at all tiers to incorporate, commercial items or nondevelopmental items as
 components of items to be supplied under this contract.
    (c )( l ) The Contractor shall insert the following clauses in subcontracts for commercial items:
            (i) 52.219-8, Utilization of Small Business Concerns (May 2004) (15 U.S.C. 637(d)(2)
 and (3)), in all subcontracts that offer further subcontracting opportunities. If the subcontract
 (except subcontracts to small business concerns) exceeds $550,000 ($1,000,000 for construction
 of any public facility), the subcontractor must include 52.219-8 in lower tier subcontracts that
 offer subcontracting opportunities.
            (ii) 52.222-26, Equal Opportunity (Mar 2007) (E.O. 11246).
            (iii) 52.222-35, Equal Opportunity for Special Disabled Veterans, Veterans of the
 Vietnam Era, and Other Eligible Veterans (Sept 2006) (38 U.S.C. 4212(a));
           (iv) 52.222-36, Affirmative Action for Workers with Disabilities (June 1998)
(29 u.s.c. 793).
           (v) 52.222-39, Notification of Employee Rights Concerning Payment of Union Dues or
Fees (Dec 2004) (E.O. 13201). Flow down as required in accordance with paragraph (g) of
FAR clause 52.222-39).
           (vi) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels
(Feb 2006) (46 U.S.C. App. 1241 and JO U.S.C. 2631) (flow down required in accordance with
paragraph (d) of FAR clause 52.247-64).
       (2) While not required, the Contractor may flow down to subcontracts for commercial items
a minimal number of additional clauses neeessary to satisfy its contractual obligations.
   (d) The Contractor shall include the terms of this clause, including this paragraph (d), in
subcontracts awarded under this contract.

SECTION 5.6 l
NOTIFICATION OF EMPLOYEE RIGITTS CONCERNING PAYMENT OF UNION DUES
OR FEES (DEC 2004) (FAR 52.222-39)
     (a) Definition. As used in this clause-


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 "United States" means the 50 States, the District of Columbia, Puerto Rico, the Northern
 Mariana Islands, American Samoa, Guam. the U.S. Virgin Islands, and Wake Island.
         (b) Except as provided in paragraph (e) of this clause, during the term of this contract, the
 Contractor shall post a notice, in the fonn of a poster, informing employees of their rights
 concerning union membership and payment of union dues and fees. in conspicuous places in and
 about all its plants and offices, including all places where notices to employees are customarily
 posted. The notice shall include the following information (except that the information pertaining
 to National Labor Relations Board shall not be included in notices posted in the plants or offices
 of carriers subject to the Railway Labor Act, as amended (45 U.S.C. 151-188)).

                                            Notice to Employees

 Under Federal law, employees cannot be required to join a union or maintain membership in a union in
 order to retain their jobs. Under certain conditions, the law permits a union and an employer to enter into
 a union-security agreement requiring employees to pay uniform periodic dues and initiation fees.
 However, employees who are not union members can object to the use of their payments for certain
 purposes and can only be required to pay their share of union costs relating to collective bargaining,
 contract administration, and grievance adjustment.
 If you do not want to pay that portion of dues or fees used to support activities not related to collective
 bargaining, contract administration, or grievance adjustment, you are entitled to an appropriate reduction
 in your payment. If you believe that you have been required to pay dues or fees used in part to support
 activities not related to collective bargaining, contract administration, or grievance adjustment, you may
 be entitled to a refund and to an appropriate reduction in future payments.

 For further information concerning your rights, you may wish to contact the National Labor Relations
 Board (NLRB) either at one of its Regional offices or at the following address or toll free number:

 National Labor Relations Board
 Division of Information
 1099 14th Street, N.W.
 Washington, DC 20570
 1-866-667-6572
 1-866-316-6572 ('ITY)
 To locate the nearest NLRB office, see NLRB's website at http://www.nlrb.gov.

        (c) The Contractor shall comply with all provisions of Executive Order 13201 of
February 17, 2001, and related implementing regulations at 29 CFR Part 4 70, and orders of the
Secretary of Labor.
        (d) In the event that the Contractor does not comply with any of the requirements set
forth in paragraphs (b), (c), or (g), the Secretary may direct that this contract be cancelled,
terminated, or suspended in whole or in part, and declare the Contractor ineligible for further
Government contracts in accordance with procedures at 29 CFR Part 470, Subpart B-
Compliance Evaluations, Complaint Investigations and Enforcement Procedures. Such other
sanctions or remedies may be imposed as are provided by 29 CFR Part 470, which implements
Executive Order 13201, or as are otherwise provided by law.
        (e) The requirement to post the employee notice in paragraph (b) does not apply to-
            (I) Contractors and subcontractors that employ fewer than 15 persons;



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               (2) Contractor establishments or construction work sites where no union has been
   Connally recognized by the Contractor or certified as the exclusive bargaining representative of
   the Contractor's employees;
               (3) Contractor establishments or construction work sites located in a jurisdiction
  named in the definition of the United States in which the law of that jurisdiction forbids
  enforcement of union-security agreements;
              (4) Contractor facilities where upon the written request of the Contractor, the
  Department of Labor Deputy Assistant Secretary for Labor-Management Programs has waived
  the posting requirements with respect to any of the Contractor's facilities if the Deputy Assistant
  Secretary finds that the Contractor has demonstrated that-
                (i) The facility is in all respects separate and distinct from activities of the Contractor
  related to the perfonnance of a contract; and
                (ii) Such a waiver will not interfere with or impede the effectuation of the Executive
  order; or
             (5) Work outside the United States that does not involve the recruitment or
  employment of workers within the United States.
          (t) The Department of Labor publishes the official employee notice in two variations; one
  for contractors covered by the Railway Labor Act and a second for all other contractors. The
  Contractor shall-
             ( l) Obtain the required employee notice poster from the Di vision of Interpretations and
  Standards, Office of Labor-Management Standards, U.S. Department of Labor, 200 Constitution
  Avenue, NW, Room N-5605, Washington, DC 20210, or from any field office of the
  Department's Office of Labor-Management Standards or Office of Federal Contract Compliance
  Programs;
            (2) Download a copy of the poster from the Office of Labor-Management Standards
 website at http://www.olms.dol.gov; or
            (3) Reproduce and use exact duplicate copies of the Department of Labor's official
 poster.
         (g) The Contractor shall include the substance of this clause in every subcontract or
 purchase order that exceeds the simplified acquisition threshold, entered into in connection with
 this contract, unless exempted by the Department of Labor Deputy Assistant Secretary for Labor-
 Management Programs on account of special circumstances in the national interest under
 authority of 29 CFR 470.3(c). For indefinite quantity subcontracts, the Contractor shall include
 the substance of this clause if the value of orders in any calendar year of the subcontract is
expected to exceed the simplified acquisition threshold. Pursuant to 29 CFR Part 470, Subpart
 B-Compliance Evaluations, Complaint Investigations and Enforcement Procedures, the
Secretary of Labor may direct the Contractor to take such action in the enforcement of these
regulations, including the imposition of sanctions for noncompliance with respect to any such
subcontract or purchase order. If the Contractor becomes involved in litigation with a
subcontractor or vendor, or is threatened with such involvement, as a result of such direction, the
Contractor may request the United States, through the Secretary of Labor, to enter into such
litigation to protect the interests of the United States.

SECTION 5.62
APPLICABLE LAW FOR BREACH OF CONTRACT CLAIM (OCT 2004) (FAR 52.233-4)

United States law will apply to resolve any claim of breach of this contract.

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                           APPENDIX A




                              ATTACH
                       2008 FEHB BROCHURE




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                                      APPENDIXB
               SUBSCRIPTION RATES, CHARGES, ALLOWANCES AND
                               LIMITATIONS

                                    Fee-For-Service Carrier

                             Blue Cross and Blue Shield Association
                                  CONTRACT NO. CS 1039

                                    EffectiveJanuaryl,2008

        (a) Biweekly net-to-carrier rates, with appropriate adjustments for Enrollees paid
      on other than a biweekly basis, are as follows:

         Regular Rates

         Standard Option                                Basic Option

           Selfonly                 $199.22               Self Only

           Self and Family          $456.19               Self and Family       $352.56



        (b) The amount of administrative expenses and charges to be included in the
      Annual Accounting Statement required by Section 3.2 shall be as set out in the
      schedule below:



      (i) Administrative Expenses         Actual, but not to exceed the Contractual Expense
                                          Limitation for 2008

      (ii) Taxes                          Actual (except that premium taxes as defined are not
                                          allowable).

      (iii) Service Charge                O. 71 o/o of estimated incurred claims and allowable
                                          administrative expenses or REDACTED



          (c) The administrative expense limit is REDACTED for 2008. This number was
          calculated by talcing the 2007 Final Agreed Limit, plus an additional amount
          equal to actual 2006 routine costs for compliance with currently existing
          transactions and code set regulations under HIPAA increased by 4.5% percent,
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         (Bureau of Labor Statistics price adjus1ment).

        If the Plan meets the limit of·REDACTED     an additional REDACfED may be
        charged in recognition of the impact of the Pension Protection Act. Pension
        funding will not be added to the base amount until it becomes a recurring
        expense. Therefore, the base amount for calculating the 2009 limit remains at
         REDACTED

        The National Provider Identifier (NPI) HIPAA cost will remain outside the limit
        for 2008. The actual cost for NPI testing from January through May 2008 and the
        initial NPI maintenance cost from June to December 2008 will be paid outside the
        limit if the administrative cost limit is exceeded. NPI funding will not be added to
        the base amount until it becomes a recurring expense.




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                                         APPENDIXC
                              FEHB Supplemental Literature Gujdelines
                                         (RV JAN 2000)

        This is the primary guide a Carrier should use to assess whether the Carrier's
 supplemental marketing literature, jncludjng website material, complies with FEHBAR 1603.70,
 Misleading, Deceptive or Unfair Advertising. (Use the NAIC Guidelines for additional guidance
 when needed.)

 a)   GENERAL
          1. Section 1.13 of the FEHB contract requires that the Carrier may not distribute or
 display marketing materials or other supplemental literature (including provider directories) in a
  Federal facility or arrange for the distribution of such documents by Federal agencies unless the
 documents have been prepared in accordance with FEHBAR 1652.203-70, and the Carrier has
 certified to OPM that is the case.
         2. Review supplemental marketing material for compliance each year, whether or not it
 changed from the past year.
         3. Word the literature simply and concisely to get a readily understandable, attractive
 marketing piece.
         4. Include sufficient detail to ensure accuracy.
         5. Under the FEHBP, the FEHB brochure is based on text approved by OPM and is a
 complete statement of benefits, limitations, and exclusions. Include the following statement
 (website material should include the statement as a preface) in all supplemental literature which
 in any way discusses Plan benefits:
         "This is a summary {or brief description] of the features of the [insert Plan's name].
 Before making a final decision, please read the Plan's Federal brochure ([insert brochure
 number]). All benefits are subject to the definitions, limitations, and e~clusions set forth in the
 Federal brochure."
        6. You may include non-FEHBP benefits, i.e., benefits which are not FEHB benefits and
are not guaranteed under the Federal contract with the foJlowing disclaimer:
        ''These benefits are neither offered nor guaranteed under contract with the FEHB
Program, but are made available to all enrollees and family members who become members of
[insert Plan's name]."
        7. Supplemental literature must be clearly distinguishable from the Federal brochure.
        8. Do not use the FEHB logo in your supplemental literature.
        9. Do not use material which conflicts with the Federal brochure. If your material
conflicts, you must change the material or not distribute it.

b)          RATE PRESENTATIONS
            Under the FEHBP there are only two categories of enrollment, Self Only and Self and
Family. For most enrollments, the premium for each enrollee's enrollment is shared between the
enrollee and the Government. The Government contribution is based on the formula provided in
the FEHB law. Deductions for most enrollees' share, along with the Government's contribution,
are made in accordance with the schedule on which the employee or annuitant's (retiree) salary
or annuitant check is issued by the enrollee's agency or retiree's retirement system. Most
et'tl!Jlt 1.y~s aM pttid biw~~idy. · /i 1111uitants are issued monthly checks.
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               Employees and annuitants do not have separate categories of enrollment. They pay the
      same rates, whether on a biweekly, semimonthly, or monthly basis, and receive the same benefits
      when they are in the same FEHB Plan, except that active Postal employees pay a lesser share, as
     their cost sharing formula with the Postal Service calls for a greater Government contribution.
              The enrollee's share for each FEHB Plan for each type of enrollment (Self Only, Self and
     Family) is listed in the FEHB Guide. This Guide is prepared each Open Season and is
     distributed directly to agencies by OPM; they in tum distribute the Guide to employees.
     Biweekly and monthly rates are also shown on an insert you prepare for your brochure. Separate
     guides are prepared for special groups of enrollees, including those for which the Government
     makes no premium contribution, such as former spouses and employees and dependents with
     temporarily continued coverage.
              In making your rate presentations:
              I. List your FEHB rates in each piece of supplemental material which lists benefits. Do
     not list the rates of any competitor Plan.
              2. Immediately above the rates include the following statement:
              "These rates do not apply to all enrollees. If you are in a special enrollment category,
     please refer to your special FEHB Guide or contact the agency which maintains your health
     benefits enrollment."
              3. If you wish to list Postal rates in addition to non-Postal rates, Postal and non-Postal
     rates should be clearly identified and listed separately. (Please note there are no monthly Postal
     rates; upon retirement, Postal employees receive the non-postal contribution.)

c) BENEFIT PRESENTATIONS
           Please note the following:
           1. Do not compare your benefits or operations with that of any other Plan.
           2. Accurately describe your FEHB benefits offering.                      ·
           3. Avoid incomplete or overstated benefit descriptions, or those which conflict with the
   Federal brochure.
           4. Show applicable coverage limitations, such as day or dollar limitations, coinsurance or
   deductibles.
           5. Do not list exclusions and limitations not listed in the Federal brochure.
           6. Do not include general references not in the brochure.
           7. Do not reference coverage for which a Federal employee or retiree would have to drop
   FEHB coverage. Exception: 5 CFR 890.301 provides that an annuitant or former spouse, as
   defined in 5 U.S.C. 8901(10), who cancels FEHBP enrollment for the purpose of enrolling in a
   prepaid health Plan under sections 1833 or 1876 of the Social Security Act may register to re-
   enroll. Therefore, if your's is such a prepaid Plan contracting with Medicare you must describe
   your Medicare supplemental program for Medicare-covered retirees.

d) ENROLLMENT INSTRUCTIONS
           Enrollment under the FEHBP is governed solely by the Federal Employees Health
   Benefits law and applicable regulations. The various Federal agencies have responsibility for
   administering the law and regulations during the annual open enrollment period (Open Season)
   and at all other times during the year. Agency personnel offices perform the basic health
   benefits functions, such as instructing employees about the conduct of the Open Season and
   other health benefits matters, answering employee questions, and processing elections and
   changes of enrollment, including determinations of eligibility and assignment of effective dates
   of cm•t-iage. '\grN·y pa}roli ~offc"s make the necessary salary deductions.
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           The Federal instrument for electing to enroll in a Plan or changing an existing enrollment
  in a Plan from Self Only to Self and Family (or the reverse) is the Standard Form (SF) 2809, or
  alternative electronic or telephonic method approved by OPM. Carriers must be able to accept
  electronic file transfers. The effective date for Open Season enrollments is the first day of the
  first pay period which begins on or after January 1 for employees; the effective date generally is
  January 1 for annuitants. The specific effective date for an individual will be assigned by the
  individual's personnel office.
           Covered dependents are as defined in the FEHB regulations. Basically, dependents are
  immediate family members, including spouse and unmarried children under age 22. When Self
 and Family coverage is established for an individual, all dependents as defined under the
 regulations are automatically covered as of the effective date assigned by the personnel office,
 whether or not they are listed on the SF 2809, on other documents, or communicated by
 electronic or telephonic transmittal. Family members (e.g., newborns) who are added under an
 existing Self and Family enrollment are automatically covered from the date the individual
 becomes a family member, e.g., from birth. Personnel offices do not issue any notification when
 a new dependent is added under an existing Self and Family enrollment and the enrollee does not
 submit a new SF 2809 or other election instrument.
          The agencies are the primary contact point for employees on health benefits enrollment
 matters. OPM's Office of Retirement Programs performs this function for annuitants (retirees).
 As highlighted below, Carriers may not impose their own enrollment requirements and
 procedures.
           I. Do not give specific instructions on enrollment. Statements regarding election of
 coverage or change of enroJlment procedures, requirements, or eligibility must be limited to
 referring individuals to their personnel office for the appropriate instructions; your plan's Self
Only and Self and Family enrollment codes; and notice for retirees to contact their retirement
system for instructions.
          2. While the Carrier may ask enrollees for information (see Section f) and may follow-up
with enrollees and, when necessary, the employing office, the Carrier will not require a member
complete plan specific enrollment or application forms. (You may ask the enrollee to complete
"information" forms.) You may ask the enrollee to keep you advised of family member changes
and you may verify the change, but failure to complete a form does not render an eligible
dependent ineligible.
          3. Personnel offices will not stock your Plan's forms. Do not indicate otherwise.
          4. If supplemental literature is directed to potential members rather than just-enrolled
members, do not include statements indicating otherwise.
          5. Again, the Federal brochure, rather than any other plan document, is the member's
complete statement of benefits. Do not indicate otherwise.

e) PROVIDER DIRECTORIES
        Carriers must distribute a provider directory along with the Plan's Federal brochure. The
directory must confonn to the requirements listed below. You must either send a copy of it
along with your Federal brochures (except that provider directories are not to bC sent along with
the brochures you will be sending to OPM's distribution center for annuitants) or otherwise make
them readily available to agencies and employees. Provider directories are to be sent to any
annuitant who requests one. Agencies and their employees will be advised to expect your
provider directory.


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         Please bear in mind that a Federal employee or annuitant choosing your Plan during the
 Open Season is doing so with the expectation that the Plan's provider directory is accurate and
 that providers shown will be available starting January l.
         I. Show the Plan's hospitals, individual physicians, and group practice medical facilities.
 State the addresses of the medical facilities and show the general location within the service area
 for individual doctors and hospitals.
         2. In the directory, display prominently the following statement: "It is important to know
 when you enroll in this Plan, benefits are available as described in the Plan's Federal brochure,
 but the continued participation of any one doctor, hospital or other provider cannot be
 guaranteed."
         3. Do not list enrollment or eligibility requirements on thC provider directory.

 f) INFORMATION FORMS
         You may distribute forms to obtain information from enrollees about the enrollee and any
 dependents. For instance, to obtain the information regarding Medicare you wiU need for rate-
 setting purposes under the Federal Program, you may ask who is enrolled under Medicare Part
 A, Medicare Part B or Medicare Parts A and B. For another example, Carriers may ask that a
 primary care doctor be selected for a Point of Service product. If you wish to distribute an
 information form, you may find such forms are more readily returned if they are postage-paid.
 Do not indicate enrollment in the Plan is contingent upon completing and returning the form.




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                                          APPENDIXD
                          RULES FOR COORDINATION OF BENEFITS
                                 Model Regulation Service--July 2005
                           National Association of Insurance Commissioners

When a person is covered by two (2) or more plans, the rules fur determining the order of benefit
payments are as follows:

       A.     (1)    The primary plan shall pay or provide its benefits as if the secondary plan or
                     plans did not exist.

              (2)    If the primary plan is a closed panel plan and the secondary plan is not a
                     closed panel plan, the secondary plan shall pay or provide benefits as if it
                     were the primary plan when a covered person uses a non-panel provider,
                     except for emergency services or authorized referrals that are paid or
                     provided by the primary plan.

              (3)    When multiple contracts providing coordinated coverage are treated as a
                     single plan under this regulation, this section applies only to the plan as a
                     whole, and coordination among the component contracts is governed by the
                     terms of the contracts. If more than one carrier pays or provides benefits
                     under the plan, the carrier designated as primary within the plan shall be
                     responsible for the plan's compliance with this regulation.

             (4)     If a person is covered by more than one secondary plan, the order of benefit
                     determination rules of this regulation decide the order in which secondary
                     plans benefits are determined in relation to each other. Each secondary plan
                     shall take into consideration the benefits of the primary plan or plans and the
                     benefits of any other plan, which, under the rules of this regulation, has its
                     benefits determined before those of that secondary plan.

      B.     (I)    Except as provided in Paragraph (2), a plan that does not contain order of
                    benefit determination provisions that are consistent with this regulation is
                    always the primary plan unless the provisions of both plans, regardless of the
                    provisions of this paragraph. state that the complying plan is primary.

             (2)    Coverage that is obtained by virtue of membership in a group and designed to
                    supplement a part of a basic package of benefits may provide that the
                    supplementary coverage shall be excess to any other parts of the plan
                    provided by the contract holder. Examples of these types of situations are
                    major medical coverages that are superimposed c;>Ver base plan hospital and
                    surgical benefits, and insurance type coverages that are written in connection
                    with a closed panel plan to provide out-of-network benefits.

      C.     A plan may take into consideration the benefits paid or provided by another plan
             only when, under the rules of this regulation, it is secondary to that other plan.


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        D.      Order of Benefit Determination

                Each plan determines its order of benefits using the first of the following rules that
                applies:

                ( l)       Non-Dependent or Dependent

                           (a)        Subject to Subparagraph (b) of this paragraph, the plan that covers the
                                      person other than as a dependent, for example as an employee,
                                      member, subscriber, policyholder or retiree, is the primary plan and
                                      the plan that covers the person as a dependent is the secondary plan.

                           (b)        (i)    If the person is a Medicare beneficiary, and, as a result of the
                                             provisions of Title XVlli of the Social Security Act and
                                             implementing regulations, Medicare is:

                                             (I)    Secondary to the plan covering the person as a
                                                    dependent; and

                                             (II)   Primary to the plan covering the person as other than a
                                                    dependent (e.g. a retired employee},

                                      (ii)   Then the order of benefits is reversed so that the plan covering
                                             the person as an employee, member, subscriber, policyholder
                                             or retiree is the secondary plan and the other plan covering the
                                             person as a dependent is the primary plan.

 Drafting Note: The provisions of Subparagraph (b) address the situation where federal law requires
 Medicare to be secondary with respect to group health plans in certain situations despite state law
 order of benefit determination provisions to the contrary. One example of this type of situation
 arises when a person, who is a Medicare beneficiary, is also covered under his or her own group
 health plan as a retiree and under a group health plan as a dependent of an active employee. In this
situation, each of the three plans is secondary to the other as the following illustrates: ( l} Medicare
 is secondary to the group health plan covering the person as a dependent of an active employee as
required pursuant to the Medicare secondary payer rules; (2) the group health plan covering the
person as a dependent of an active employee is secondary to the group health plan covering the
person as a retiree, as required under Subparagraph (a); and (3) the group health plan covering the
claimant as retiree is secondary to Medicare because the plan is designed to supplement Medicare
when Medicare is the primary plan. Subparagraph (b) resolves this problem by making the group
health plan covering the person as a dependent of an active employee the primary plan. The
dependent coverage pays before the non-dependent coverage even though under state law order of
benefit determination provisions in the absence of Subparagraph (b), the non-dependent coverage
(e.g. retiree coverage) would be expected to pay before the dependent coverage. Therefore, in cases
that involve Medicare, generally, the dependent coverage pays first as the primary plan, Medicare
pays second as the secondary plan, and the non-dependent coverage (e.g. retiree coverage) pays
third.


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The reason why Subparagraph (b) provides for this order of benefits making the plan covering the
person as dependent of an active employee primary is because Medicare will not be primary in most
situations to any coverage that a dependent has on the basis of active employment and, as such,
Medicare will not provide any information as to what Medicare would have paid had it been
primary. The plan covering the person as a retiree cannot determine its payment as a secondary plan
unless it has information about what the primary plan paid. The plan covering the person as a
dependent of an active employee could be subject to penalties under the Medicare secondary payer
rules if it refuses to pay its benefits. The plan covering the person as a retiree is not subject to the
same penalties because, in this particular situation, as described above, which does not involve a
person eligible for Medicare based on end-stage renal disease (ESRD), the plan can never be
primary to Medicare. As such, out of the three plans providing coverage to the person, the plan
covering the person as a dependent of an active employee can determine its benefits most easily.

               (2)    Dependent Child Covered Under More Than One Plan

                      Unless there is a court decree stating otherwise, plans covering a dependent
                      child shall determine the order of benefits as follows:

                      (a)     For a dependent child whose parents are married or are living
                              together, whether or not they have ever been married:

                              (i)     The plan of the parent whose birthday falls earlier in the
                                      calendar year is the primary plan; or

                              (ii)    If both parents have the same birthday, the plan that has·
                                      covered the parent longest is the primary plan.

                      (b)     For a dependent child whose parents are divorced or separated or are
                              not living together, whether or not they have ever been married:

                              (i)     If a court decree states that one of the parents is responsible
                                      for the dependent child's health care expenses or health care
                                     coverage and the plan of that parent has actual knowledge of
                                     those terms, that plan is primary. If the parent with
                                     responsibility has no health care coverage for the dependent
                                     chiJd's health care expenses, but that parent's spouse does,
                                     that parent's spouse's plan is the primary plan. This item shall
                                     not apply with respect to any plan year during which benefits
                                     are paid or provided before the entity has actual knowledge of
                                     the court decree provision;

                                     (ii)lf a court decree states that both parents are responsible
                                     for the dependent child's health care expenses or health
                                     care coverage, the provisions of Subparagraph (a) of this
                                     paragraph shall determine the order of benefits;



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                                             (iii)       If a court decree states that the parents have joint custody
                                                         without specifying that one parent has responsibility for the
                                                         health care expenses or health care coverage of the dependent
                                                         child, the provisions of Subparagraph (a) of this paragraph
                                                         shall determine the order of benefits; or

                                             (iv)        If there is no court decree allocating responsibility for the
                                                         child's health care expenses or health care coverage, the order
                                                         of benefits for the child are as follows:

                                                         en      The plan covering the custodial parent;

                                                         (II)    The plan covering the custodial parent's spouse;

                                                         (III)   The plan covering the non-custodial parent; and then

                                                         (IV)    The plan covering the non-custodial parent's spouse.

                            (c)              For a dependent child covered under more than one plan of
                                             individuals who are not the parents of the child, the order of benefits
                                             shall be determined, as applicable, under Subparagraph (a) or (b) of
                                             this paragraph as if those individuals were parents of the child.

Drafting Note: Subparagraph (c) addresses the situation where individuals other than the parents of
a child are responsible for the child's health care expenses or provide health care coverage for the
child under each of their plans. In this situation, for the purpose of determining the order of benefits
under this paragraph, Subparagraph (c) requires that these individuals be treated in the same manner
as parents of the child.       ·

               (3)          Active Employee or Retired or Laid-Off Employee

                            (a)          The plan that covers a person as an active employee that is-, an
                                         employee who is neither laid off nor retired or as a dependent of an
                                         active employee is the primary plan. The plan covering that same
                                         person as a retired or laid-off employee or as a dependent of a retired
                                         or laid-off employee is the secondary plan.

                            (b)          If the other plan does not have this rule, and as a result, the plans do
                                         not agree on the order of benefits, this rule is ignored.

                            (c)          This rule does not apply if the rule in Paragraph (1) can determine the
                                         order of benefits.

Drafting Note: This rule applies only in the situation when the same person is covered under two
plans, one of which is provided on the basis of active employment and the other of which is
provided to retired or laid-off employees. The rule in Paragraph (I) does not apply because the
person is covered either as a non-dependent under both plans (i.e. the person is covered under one
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plan as an active employee and at the same time is covered as a retired or laid-off employee under
the other plan) or as a dependent under both plans (i.e. the person is covered under one plan as a
dependent of an active employee and at the same time is covered under the other plan as a
dependent of a retired or laid-off employee). This rule does not apply when a person is covered
under his or her own plan as an active employee or retired or laid-off employee and a dependent
under a spouse's plan provided to the spouse on the basis of active employment. In this situation,
the rule in Paragraph ( l) applies because the person is covered as a non-dependent under one plan
(i.e. the person is covered as an active employee or retired or laid-off employee) and at the same
time is covered as a dependent under the other plan (i.e. the person is covered as a dependent under
a plan provided on the basis of active employment or a plan that is provided to retired or laid-off
employees).

               (4)     COBRA or State Continuation Coverage

                       (a)    If a person whose coverage is provided pursuant to COBRA or under
                              a right of continuation pursuant to state or other federal law is covered
                              under another plan, the plan covering the person as an employee,
                              member, subscriber or retiree or covering the person as a dependent
                              of an employee, member, subscriber or retiree is the primary plan and
                              the plan covering that same person pursuant to COBRA or under a
                              right of continuation pursuant to state or other federal law is the
                              secondary plan.

                      (b)     If the other plan does not have this rule, and if, as a result, the plans
                              do not agree on the order of benefits, this rule is ignored.

                      (c)    This rule does not apply if the rule in Paragraph (I) can determine the
                             order of benefits

Drafting Note: COBRA originally provided that coverage under a new group health plan caused
the COBRA coverage to end. An amendment passed as part of P.L. 101-239, the Omnibus Budget
Reconciliation Act of 1989 (OBRA 89), allows the COBRA coverage to continue if the newly
acquired group health plan contains any preexisting condition exclusion or limitation. In this
instance two group health plans wiU cover the person, and the rule above will be used to determine
which of the plans determines its benefits first. In addition, some states have continuation
provisions comparable to COBRA.

Drafting Note: This rule applies only in the situation when a person has coverage pursuant to
COBRA or under a right of continuation pursuant to state or other federal law and has coverage
under another plan on the basis of employment. The rule under Paragraph (1) does not apply
because the person is covered either: (a) as a non-dependent under both plans (i.e. the person is
covered under a right of continuation as a qualified beneficiary who, on the day before a qualifying
event, was covered under the group health plan as an employee or as a retired employee and is
covered under his or her own plan as an employee, member, subscriber or retiree); or (b) as a
dependent under both plans (i.e. the person is covered under a right of continuation as a qualified
beneficiary who, on the day before a qualifying event, was covered under the group health plan as a
dependent of an employee, member or subscriber or retired employee and is covered under the other
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plan as a dependent of an employee, member, subscriber or retiree). The rule under Paragraph (I)
applies when the person is covered pursuant to COBRA or under a right of continuation pursuant to
state or other federal law as a non-dependent and covered under the other plan as a dependent of an
employee, member, subscriber or retiree. The rule in this paragraph does not apply because the
person is covered as a non-dependent under one of the plans and as a dependent under the other
plan.

              (5)     Longer or Shorter Length of Coverage

                      (a)    If the preceding rules do not determine the order of benefits, the plan
                             that covered the person for the longer period of time is the primary
                             plan and the plan that covered the person for the shorter period of
                             time is the secondary plan.

                     (b)     To determine the length of time a person has been covered under a
                             plan, two successive plans shall be treated as one if the covered
                             person was eligible under the second plan within twenty-four (24)
                             hours after coverage under the first plan ended.

                     (c)    The start of a new plan does not include:

                            (i)     A change in the amount or scope of a plan's benefits;

                            (ii)    A change in the entity that pays, provides or administers the
                                    plan's benefits; or

                            (iii)   A change from one type of plan to another, such as, from a
                                    single employer plan to a multiple employer plan.

                     (d)    The person's length of time covered under a plan is measured from
                            the person's first date of coverage under that plan. If that date is not
                            readily available for a group plan, the date the person first became a
                            member of the group shall be used as the date from which to
                            determine the length of time the person's coverage under the present
                            plan has been in force.

             (6)     If none of the preceding rules determines the order of benefits, the allowable
                     expenses shall be shared equally between the plans.




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                                        APPENDIXE
                          Small Business Subcontracting Plan (JUL 2005)

          (a) This clause does not apply to small business concerns.
          (b) Defmitions. As used in this clause-
          "Commercial item" means a product or service that satisfies the definition of commercial
  item in section 2.101 of the Federal Acquisition Regulation.
          "Commercial plan" means a subcontracting plan (including goals) that covers the
 offeror's fiscal year and that applies to the e~tire production of commercial items sold by either
 the entire company or a portion thereof (e.g., division, plant, or product line).
          "Individual contract plan" means a subcontracting plan that covers the entire contract
 period (including option periods), applies to a specific contract, and has goals that~ based on
 the offeror's planned subcontracting in support of the specific contract, except that indirect costs
 incurred for common or joint purposes may be allocated on a prorated basis to the contract.
          "Master plan" means a subcontracting plan that contains all the required elements of an
 individual contract plan, except goals, and may be incorporated into individual contract plans,
 provided the master plan has been approved.
          "Subcontract" means any agreement (other than one involving an employer-employee
 relationship) entered into by a Federal Government prime Contractor or subcontractor calling for
 supplies or services required for performance of the contract or subcontract.
         (c) The offeror, upon request by the Contracting Officer, shall submit and negotiate a
 subcontracting plan, where applicable, that separately addresses subcontracting with small
business, veteran-owned small business, service-disabled veteran-owned small business,
 HUBZone small business concerns, small disadvantaged business, and women-owned small
business concerns. If the offeror is submitting an individual contract plan, the plan must
separately address subcontracting with small business, veteran-owned small business, service-
disabled veteran-owned small business, HUBZ.One small business, small disadvantaged business,
and women-owned small business concerns, with a separate part for the basic contract and
separate parts for each option (if any). The plan shall be included in and made a part of the
resultant contract. The subcontracting plan shall be negotiated within the time specified by the
Contracting Officer. Failure to submit and negotiate the subcontracting plan shall make the
offeror ineligible for award of a contract.
         (d) The offeror's subcontracting plan shall include the following:
         ( 1) Goals, expressed in terms of percentages of total planned subcontracting dollars, for
the use of small business, veteran-owned small business, service-disabled veteran-owned small
business, HUBZone small business, small disadvantaged business, and women-owned small
business concerns as subcontractors. The offeror shall include all subcontracts that contribute to
contract performance, and may include a proportionate share of products and services that are
normally allocated as indirect costs.

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          (2) A statement of-
          (i) Total dollars planned to be subcontracted for an individual contract plan; or the
  offeror's total projected sales, expressed in dollars, and the total value of projected subcontracts
  to support the sales for a commercial plan;
          (ii) Total dollars planned to be subcontracted to small business concerns;
          (iii) Total dollars planned to be subcontracted to veteran-owned small business concerns;
          (iv) Total dollars planned to be subcontracted to servi~isabled veteran-owned small
  business;
          (v) Total dollars planned to be subcontracted to HUBZone small business concerns;
          (vi) Total dollars planned to be subcontracted to small disadvantaged business concerns;
 and
         (vii) Total dollars planned to be subcontracted.to women-owned small business concerns.
         (3) A description of the principal types of supplies and services to be subcontracted, and
 an identification of the types planned for subcontracting to-
         (i) Small business concerns;
         (ii) Veteran-owned small business concerns;
         (iii) Service-disabled veteran-owned small business concerns;
         (iv) HUBZone small business concerns;
         (v) Small disadvantaged business concerns; and
         (vi) Women-owned small business concerns.
         (4) A description of the method used to develop the subcontracting goals in
 paragraph (d)( 1) of this clause.
         (5) A description of the method used to identify potential sources for solicitation
 purposes (e.g., existing company source lists, the Procurement Marketing and Access Network
 (PRO-Net) of the Small Business Administration (SBA), veterans service organizations, the
 National Minority Purchasing Council Vendor Information Service, the Research and
Infonnation Division of the Minority Business Development Agency in the Department of
Commerce, or small, HUBZone, small disadvantaged, and women-owned small business trade
associations). A firm may rely on the information contained in PRO-Net as an accurate
representation of a concern's size and ownership characteristics for the purposes of maintaining a
small, veteran-owned small, service-disabled veteran-owned small, HUBZone small, small
disadvantaged, and women-owned small business source list. Use of PRO-Net as its source list
does not relieve a firm of its responsibilities (e.g., outreach, assistance, counseling, or publicizing
subcontracting opportunities) in this clause.
        (6) A statement as to whether or not the offeror included indirect costs in establishing
subcontracting goals, and .a description of the method used to determine the proportionate share
of indirect costs to be incurred with-
        (i) Small business concerns;
        (ii) Veteran-owned small business concerns;

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           (iii) Service-disabled veteran-owned small business concerns;
          (iv) HUBZone small business concerns;
           (v) Small disadvantaged business concerns; and
          (vi) Women-owned small business concerns.
          (7) The name of the individual employed by the offeror who will administer the offeror's
  subcontracting program, and a description of the duties of the individual.
          (8) A description of the efforts the offeror will make to assure that small business,
  veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
  business, small disadvantaged business, and women-owned small business concerns have an
  equitable opportunity to compete for subcontracts.
          (9) Assurances that the offeror will include the clause of this contract entitled "Utilization
  of Small Business Concerns" in all subcontracts that offer further subcontracting opportunities,
  and that the offeror will require all subcontractors (except small business concerns) that receive
  subcontracts in excess of $500,000 ($1,000,000 for construction of any public facility) to adopt a
  subcontracting plan that complies with the requirements of this clause.
          ( 10) Assurances that the offeror will-
          (i) Cooperate in any studies or surveys as may be required;
          (ii) Submit periodic reports so that the Government can detennine the extent of
 compliance by the offeror with the subcontracting plan;
         (iii) Submit Standard Fonn (SF) 294, Subcontracting Report for Individual Contracts,
 and/or SF 295, Summary Subcontract Report, in accordance with paragraph (j) of this clause.
 The reports shall provide information on subcontract awards to small business concerns, veteran-
 owned small business concerns, service-disabled veteran-owned small business concerns,
 HUBZone small business concerns, small disadvantaged business concerns, women-owned small
business concerns, and Historically Black Colleges and Universities and Minority Institutions.
 Reporting shall be in accordance with the instructions on the forms or as provided in agency
 regulations.
         (iv) Ensure that its subcontractors agree to submit SF 294 and SF 295.
         ( 11) A description of the types of records that will be maintained concerning procedures
that have been adopted to comply with the requirements and goals in the plan, including
establishing source lists; and a description of the offeror's efforts to locate small business,
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged business, and women-owned small business concerns and award
subcontracts to them. The records shall include at least the following (on a plant-wide or
company-wide basis, unless otherwise indicated):
        (i) Source lists (e.g., PRO-Net), guides, and other data that identify small business,
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged business, and women-owned small business concerns.


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        (ii) Organizations contacted in an attempt to locate sources that are small business,
 veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
 business, small disadvantaged business, or women-owned small business concerns.
           (iii) Records on each subcontract solicitation resulting in an award of more than
 $100,000, indicating-
               (A) Whether small business concerns were solicited and, if not, why not;
              (B) Whether veteran-owned small business concerns were solicited and, if not, why
 not;
              (C) Whether service-disabled veteran-owned small business concerns were solicited
 and, if not, why not;
              (D) Whether HUBZone small business concerns were solicited and, if not, why not;
              (E) Whether small disadvantaged business concerns were solicited and, if not, why not;
              (F) Whether women-owned small business concerns were solicited and, if not, why
 not; and
              (G) H applicable, the reason award was not made to a small business concern.
          (iv) Records of any outreach efforts to contact-
              (A) Trade associations;
              (B) Business development organizations;
              (C) Conferences and trade fairs to locate small, HUBZone small, small disadvantaged,
and women-owned small business sources; and
              (D) Veterans service organizations.
          (v) Records of internal guidance and encouragement provided to buyers through-
              (A) Workshops, seminars, training, etc.; and
              (B) Monitoring performance to evaluate compliance with the program's requirements.
          (vi) On a contract-by-contract basis, records to support award data submitted by the
offeror to the Government, including the name, address, and business size of each subcontractor.
Contractors having commercial plans need not comply with this requirement.
       (e) In order to effectively implement this plan to the extent consistent with efficient contract
perfonnance, the Contractor shall perform the following functions:
      (1) Assist small business, veteran-owned smaH business, service-disabled ve~ran-owned
small business, HUBZone small business, small disadvantaged business, and women-owned
small business concerns by arranging solicitations, time for the preparation of bids, quantities,
specifications, and delivery schedules so as to facilitate the participation by such concerns.
Where.the Contractor's lists of potential small business, veteran-owned small business, service-
disabled veteran-owned small business, HUBZone small business, small disadvantaged business,
and women-owned small business subcontractors are excessively long, reasonable effort shall be
made to give all such small business concerns an opportunity to compete over a period of time.
      (2) Provide adequate and timely consideration of the potentialities of small business,
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small

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  business, small disadvantaged business, and women-owned small business concerns in all
  "make-or-buy" decisions.
         (3) Counsel and discuss subcontracti~g opportunities with representatives of smaJI business,
  veteran-owned smaJI business, service-disabled veteran-owned small business, HUBZone small
  business, smaJl disadvantaged business, and women-owned small business firms.
         (4) Confirm that a subcontractor representing itself as a HUB:Z.One small business concern is
  identified as a certified HUBZonc small business concern by accessing the Central Contractor
  Registration (CCR) database or by contacting SBA.
        (5) Provide notice to subcontractors concerning penalties and remedies for
  misrepresentations of business status as small, veteran-owned small business, HUB:Z.One small,
  small disadvantaged, or women-owned small business for the purpose of obtaining a subcontract
  that is to be included as part or all of a goal contained in the Contractor's subcontracting plan.
        (0 A master plan on a plant or division-wide basis that contains all the elements required by
 paragraph (d) of this clause, except goals, may be incorporated by reference as a part of the
 subcontracting plan required of the offeror by this clause; provided-
        ( l) The master plan has been approved;
        (2) The offeror ensures that the master plan is updated as necessary and provides copies of
 the approved master plan, including evidence of its approval, to the Contracting Officer; and
        (3) Goals and any deviations from the master plan deemed necessary by the Contracting
 Officer to satisfy the requirements of this contract are set forth in the individual subcontracting
 plan.
        (g) A commercial plan is the preferred type of subcontracting plan for contractors
 furnishing commercial items. The commercial plan shall relate to the offeror's planned
subcontracting generally, for both commercial and Government business, rather than solely to
 the Government contract Commercial plans are also preferred for subcontractors that provide
commercial items under a prime contract, whether or not the prime contractor is supplying a
coounercial item.
       (h) Prior compliance of the offeror with other such subcontracting plans under previous
contracts will be considered by the Contracting Officer in determining the responsibility of the
offeror for award of the contract.
       (i) The failure of the Contractor or subcontractor to comply in good faith with-
       ( l) The clause of this contract entitled "Utilization Of Small Business Concerns;" or
       (2) An approved plan required by this clause, shall be a material breach of the contract.
       (j) The Contractor shall submit the following reports:
       (I) Standard Form 294, Subcontracting Report/or Individual Contracts. This report shall
be submitted to the Contracting Officer semiannually and at contract completion. The report
covers subcontract award data related to this contract. This report is not required for commercial
plans.

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      (2) Standard Form 295, Summary Subcontract Report. This report encompasses all of the
 contracts with the awarding agency. It must be submitted semi-annually for contracts with the
 Department of Defense and annually for contracts with civilian agencies. If the reporting activity
 is covered by a commercial plan, the reporting activity must report annually all subcontract
 awards under that plan. All reports submitted at the close of each fiscal year (both individual and
 commercial plans) shall include a breakout, in the Contractor's format, of subcontract awards, in
 whole dollars, to small disadvantaged business concerns by North American Industry
 Classification System (NAICS) Industry Subsector. For a commercial plan, the Contractor may
 obtain from each of its subcontractors a predominant NAICS Industry Subsector and report all
 awards to that subcontractor under its predominant NAICS Industry Subsector.

                                               (End of clause)

   Alternate 1 (Oct 2001 ). When contracting by sealed bidding rather than by negotiation,
 substitute the following paragraph (c) for paragraph (c) of the basic clause:

      (c) The apparent low bidder, upon request by the Contracting Officer, shall submit a
   subcontracting plan, where applicable, that separately addresses subcontracting with small
   business, veteran-owned small business, service-disabled veteran-owned small business,
   HUBZone small business, small disadvantaged business, and women-owned small business
   concerns. If the bidder is submitting an individual contract plan, the plan must separately
   address subcontracting with small business, veteran-owned small business, service-disabled
   veteran-owned small _business, HUBZone small business, small disadvantaged business, and
   women-owned small business concerns, with a separate part for the basic contract and
   separate parts for each option (if any). The plan shall be included in and made a part of the
   resultant contract. The subcontracting plan sbaU be submitted within the time specified by
   the Contracting Officer. Failure to submit the subcontracting plan shall make the bidder
   ineligible for the award of a contract.

  Alternate 11 (Oct 200J). As prescribed in 19.708(b)( l ), substitute the following paragraph (c)
for paragraph (c) of the basic clause:

     (c) Proposals submitted in response to this solicitation shall include a subcontracting plan
  that separately addresses subcontracting with small business, veteran-owned small business,
  service-disabled veteran-owned small business, HUBZone small business, small
  disadvantaged business, and women-owned small business concerns. If the offeror is
  submitting an individual contract plan, the plan must separately address subcontracting with
  small business, veteran-owned small business, service-disabled veteran-owned small
  business, HUBZone small business, small disadvantaged business, and women-owned small
  business concerns, with a separate part for the basic contract and separate parts for each


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  option (if any). The plan shall be included in and made a part of the resultant contract. The
  subcontracting plan shall be negotiated within the time specified




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                        BLUE CROSS AND BLUE SHIELD ASSOCIATION

                                       FEDERAL EMPLOYEE PROGRAM

                                  BCBS PLAN SUBCONTRACTING PLAN
                                                     (FISCAL YEAR 2008)




       Carrier:                                         Blue Cross and Blue Shield Association
                                                        Federal Employee Program

       Address:                                         1310 G. Street N. W.
                                                        Washington, D. C. 20005

       Total Amount of Contract:                        $18,600,000,000 (Est.)

       Period of Contract Performance (DAY, MO. & YR.)
                                 1January,2008 through 31 December, 2008

       Period of this Small Business Subcontracting Plan - (DAY, Mo. & YR.)
                                 1 October, 2007 through 30 September 2008

       1.     Tyce of Plan

       This is a small business subcontracting plan (SADBUS Plan) providing estimates
       of small business contracting activity by the Blue Cross and Blue Shield Federal
       Employee Program (FEP) participating Plan indicated above covering contracting
       activity for fiscal year 2008. This information is submitted in accordance with and
       as required by U.S. Government, Office Of Personnel Management (OPM)
       contract C.S. 1039, and other related rules and regulations.

       Definition: Target Flnn(a) - Throughout this Subcontracting Plan the term
                   "Target Firm(sr will.be utilized to refer collectively to Small Business,
                   Women Owned Small Business, Small Disadvantaged Owned
                   Business, HUBZone Small Business, Veteran Owned Small Business
                   and Service Disabled Veteran Owned Small Business. When a
                   reference is intended to refer a specific grouping within the small
                   business program, the name of that individual category(s) will be
                   spelled out in its entirety.




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             2.    ~

             State separate dollar and percentage goals for targeted finn(s) in the following
             format. (For a contract with options, provide a separate statement for the basic
             contract and individual statement for each option year.)


                   A.     Total estimated dollar value and percent of planned subcontracting
                          with small business (include small disadvantaged and
                          women-owned small businesses): (% of "W)

                                               $34,215,952.05
                                       ~__.;:....;;.._-=..;.-'-'-...;..;.;..-'--~-
                                                                                     And   28.83%


                   B.     Total estimated dollar value and percent of planned subcontracting
                          with small disadvantaged businesses: (% of "A•)

                                                 $4,814,087.97                       And   14.07%

                   C.     Total estimated dollar value and percent of planned subcontracting
                          with women-owned small businesses: (% of "A")

                                                 $9,241,987.80                       And   27.017%

                    0.    Total estimated dollar value and percent of planned subcontracting
                          with Certified HUBZone Small Business Concerns: (%of •A")

                                                $1,318,662.00                        And    3.85%

                    E.    Total estimated dollar value and percent of planned subcontracting
                          with Veterans Owned Small Business:(% of "A")

                                                 $2,837,502.42                       And    8.29%

                    F.    Total estimated dollar value and percent of planned subcontracting
                          with Service Disabled Veterans Owned Small Business: (% of
                          "A")

                                                $1,065,760.00                        And   3.11%

                   G.     Total Estimated dollar value and percent of planned subcontracting
                          with large businesses (all business concerns classified as "other
                          ·an smalr): (%of "H")

                                               $84,447, 988.41                       And   71.17%



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                H.       Total estimated dollar value of all planned subcontracting i.e., the
                         sum of A and G above: $118.663.940.46 (100 per cent).


                I.       The following table identifies the principal products and/or services
                         to be subcontracted under this contract, and the types of targeted
                         firm(s) supplying them: (check all that apply)
                                                                          HUB-
        Subconbacl9d Product/Service         Other   SB      SOB   WOSB   Zone   VOSS   DVOSB

     Subeclibet information -                  x
     sottw.e                                   x      x
     r-"""",,_                                 x      x
     CIUns                                     x      x                    x
     DalaMWN
     ........,,,,                                     x       x     x      x
                                               x      x       x     x      x      x      x
     Tl'8inina                                 x      x
     Premhmn lteml                                    x       x     x      x      x      x
     Audit HIVicel                             x      x
     ,.,,...,,ic ,....,n servtcee                     x       x     x
     -Mrvices                                  x
                    lllllal                    x      x
     OtliCI fUmilure                           x      x
     Olllce 1UnnliM                            x      x       x     x      x      x      x
     Bu""1""11llV'll. . .                      x      x       x     x      x      x      x
     Buildinn se1Yices                                x       x     x      x      x      x
     Tenl"""'"' hem                                   x       x     x      x
     Subecriber -arch                          x      x       x     x
     Technicml consulli"" Hrvicel              x      x       x     x
                         Provide a description of the method used to develop the
                         subcontracting goals for targeted firm(s), i.e., explain the method
                         and state the quantitative basis (in dollars) used to establish the
                         percentage goals. Include any source lists used in the
                         determination process.

                                The various BCBS Plans (42+ Plans) each determine their own
                                individual goals and objectives by methods consistent with the
                                local Plan environment as well as their own history and
                                experience. In all instances, the projection of a goal for an
                                upcoming year involves looking at actual performance for the
                                past period, considering approved budgets and financial plans
                                for the upcoming period and making an educated estimate as to
                                whether the past year's data contains any anomalies, or is of
                                such a routine nature that it can be used, with minor
                                adjustments, to reasonably reflect what can be expected in the
                                upcoming period.

                                Past experience tends to be determined by one of either two
                                methods. Both of these methods involve the Plan classifying
                                vendors by category, i.e. small, or large business, small women
                                owned business, SBA certified small disadvantaged owned


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                                     business and small HUBZone business, and now veteran and
                                     disabled veteran owned small business. The two methods are:

                                     (a)            front end or zero based budget approach which involves
                                                    looking at budgets, discussing with various department
                                                    heads, etc., and determining what is anticipated to be
                                                    purchased in the future period, and then breaking it down
                                                    into what can reasonably be expected to be awarded to
                                                    each of the four categories.

                                     (b)            the back end or accounts payable approach, which is, to
                                                    ignore actual contracts and purchase orders issued and
                                                    look at the corporate-wide accounts payable files for the
                                                    previous period. The actual payments to vendors can
                                                    then be analyzed by small business category, as well as
                                                    cost or program objective. It is then a simple enough
                                                    process to either directly calculate an amount applicable
                                                    to FEP by cost code, or to prorate an amount applicable
                                                    to FEP in each category based on FEP as a proportion of
                                                    the Plans total business. This second method is the
                                                    more common as it tends to bring in a fair share of
                                                    indirect costs. Once a firm picture of the previous
                                                    period's business is defined, a reasonable estimate of the
                                                    future period can be made.

                                                This consolidated 2008 (fiscal year) FEP Subcontracting
                                                Plan is based on the following:

                                                    1. Actual SADBUS data for the period September 1,
                                                       2002 through March 30, 2007.

                                                    2. Total overall purchasing estimates submitted by the
                                                       various BCBS Plans for Calendar year 2008.

                                                    3. Data contained in BCBS Plan SADBUS
                                                       Subcontracting Plans for Fiscal Year 2008.

                       J.       Indirect costs have    X    have not             been included in
                                the dollar and percentage subcontracting goals stated above.
                                (Check one)




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                K.          If indirect costs have been included, explain the method used to
                            determine the proportionate share of such costs to be allocated as
                            subcontracts to targeted firm(s).

                                  Indirect costs are included in most Plan estimates as a result of
                                  the method of calculation of the estimates as described in the
                                  preceding paragraph dealing with how the basic estimates are
                                  calculated.

       3.       Proaram Administrator

                Name, title, position within the corporate structure, and duties and
                responsibilities of the employee who will administer the Carrier's
                subcontracting program.

                            Name:                  Dwight Wolfe

                            Title                  Director Contract Administration

                            Address:               Blue Cross and Blue Shield Association
                                                   1310 G Street, N.W.
                                                   Washington, D.C. 20005

                            Telephone:             (202) 942-1283

                 Duties: Has general overall responsibility for the Carrier's subcontracting
                 program, i.e., developing, preparing, and executing individual
                 subcontracting plans and monitoring performance relative to the
                 requirements of this particular plan. These duties include, but are not
                 limited to the following activities:

                A. Developing and promoting company-wide policy initiatives that
                         demonstrate the company's support for awarding contracts and
                         subcontracts to targeted firm{s); and assuring that targeted firm(s) are
                         included on the source lists for solicitations for products and services
                         they are capable of providing;

                 B. Developing and maintaining bidder's lists of targeted firm(s) from all
                    possible sources;

                 C. Ensuring periodic rotation of potential subcontractors on bidders lists;

                D. Ensuring that procurement "packages" are designed to permit the
                   maximum possible participation of targeted firm(s);




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          E. Making arrangements for utilization of various sources for the
             identification of targeted firm(s) such as the SBA's Procurement IAE
             Central Contractor Registration (CCR), the National Minority
             Purchasing Council Vendor Information Service, the Office of Minority
             Business Data Center in the Department of Commerce, and the
             facilities of local small business and minority associations, and contact
             with Federal agencies' Small and Disadvantaged Business Utilization
             Specialists (SADBUS);

          F. Overseeing the establishment and maintenance of contract and
             subcontract award records;

          G. Attending or arranging for the attendance of company counselors at
             Business Opportunity Workshops, Minority Business Enterprise
             Seminars, Trade Fairs, Procurement Conferences, etc.;

          H. Ensuring targeted firm(s) are made aware of subcontracting
             opportunities and how to prepare responsive bids to the company;

          I. Conducting or arranging for the conduct of training for purchasing
             personnel regarding the intent and impact of Section 8(d) of the Small
             Business Act on purchasing procedures;

          J. Monitoring the company's performance and making any adjustments
               necessary to achieve the subcontract plan goals;

          K. Preparing, and submitting timely, required subcontract reports;

          L. Coordinating the company's activities during the conduct of compliance
             reviews by Federal agencies;

          M. Providing technical assistance; e.g., engineering, quality control, and
             managerial assistance to targeted firm(s);

          N. Other Duties:

                                             NONE




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   4.   Equitable Oooortunitv

        Describe efforts the Carrier will make to ensure that targeted firm(s) will
        have an equitable opportunity to compete for subcontracts. These efforts
        include, but are not limited to, the following activities:

        A. Outreach efforts to obtain sources:

             1. Contacting minority and small business trade associations;

             2.   Contacting business development organizations;

             3. Attending small and minority business procurement conferences
                and trade fairs;

             4. Requesting sources from the Small Business Administration's IAE
                Central Contractor Registration CCR); and

             5. Developing a BCBS Plan wide register of targeted firms.

        B.   Internal efforts to guide and encourage purchasing personnel:

             1. Presenting workshops, seminars and training programs;

             2. Establishing, maintaining and using small, small disadvantaged,
                and women-owned small business source lists, guides and other
                data for soliciting subcontracts; and

             3. Monitoring activities to evaluate compliance with the
                subcontracting plan.

        C.   Additional efforts:

             All of the above listed Outreach and Internal efforts are utilized by
             one BCBS Plan or another to endure that targeted firms will have an
             equitable opportunity to compete for subcontracts.

             In addition, several Plans, including the FEPDO utilizes the National
             Minority Business Directory and U.S. Encyclopedia of Association to
             identify potential vendors.




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   5.   Flow-Down clause

        The Carrier agrees to include the provisions under FAR 52.219-8,
        "Utilization of Small, Small Disadvantaged, and Women-Owned Small
        Business Concerns,· in all subcontracts that offer further subcontracting
        opportunities and exceed the threshold for small purchases of $100,000. All
        subcontractors, except small business concerns, that receive subcontracts
        in excess of $500,000 ($1,000,000 for construction) must adopt and comply
        with a plan similar to the plan required by FAR 52.219-9, "Small, Small
        Disadvantaged, and Women-Owned Small Business Subcontracting Plann
        (FAR 19.704(a)(4)).

   6.   Recorting and Coooeration

        The Carrier gives assurance of (1) cooperation in any studies or surveys
        that may be required; (2) submission of periodic reports which show
        compliance with the subcontracting plan; (3) submission of Standard Form
        (SF) 294, "Subcontracting Report for Individual Contracts,• and

        SF-295, "Summary Subcontract Report,· in accordance with the
        instructions on the forms; and (4) ensuring that large business
        subcontractors with subcontracting plans agree to submit Standard Forms
        294and 295.

                R~BQtliag     Period                          Report DY§                        QugDg
                Oct 1-March31                                   SF-294                           04/30

                 Apr 1 - Sept 30                                SF-294                           10/30

                 Od 1-Sept30                                    SF-295                          10/30•

                 Oct 1 - Sept 30             SMALL DISADVANTAGED BUSINESS (SOB)                  10/30
                                                    PARTICIPATION REPORT
                                            (SOB Dollar Listing by 3-digit NAICS Code)
                                                     (OptiOnal Form 312)-

        *   The Carrier will be required to submit the SF-295 annuaUy as ihown in this chart.

        .. This report may be on any fonn (computer generated acceptable) desired by the Contractor, or
           Optional Fonn 312 title, SMALL DISADVANTAGED BUSINESS (SOB) PARTICIPATION
           REPORT may be utilized. This report is a listing of dollars spent with SBA certified Small
           Disadvantaged Business firms categorized into 3 digit NAICS code categories .




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               ADDRESSES

               (a) SF-294 (includes local plan submissions) to be submitted by FEP to
                   the FEHBP Program contracting officer; and

               (b) SF-295 (includes local plan submissions) to be submitted by FEP to
                   the FEHBP Program contracting officer. Copies should .also be sent to
                   the Insurance Policy and lnfonnation Division, Office of Insurance
                   Programs, OPM, and to the cognizant SBA Commercial Market
                   Representative.

          7.   §pecial

               The following is a recitation of the types of records the Carrier will maintain
               to demonstrate the procedures adopted to comply with the requirements
               and goals in the subcontracting plan. The records will include, but not be
               limited, to the following:

               A. If the Carrier is not using CCR as its source for targeted firm(s) list the
                  names of guides and other data identifying such vendors;

               B. Organizations contacted in an attempt to locate targeted firm(s);
               C. On a contract-by-contract basis, records on each subcontract
                  solicitation resulting in an award of more than $100,000 indicating (1)
                  whether targeted firm(s) were solicited, and if not. why not; and (3) if
                  applicable, the reason that the award was not made to a targeted finn;

               D. Records to support other outreach efforts, e.g., contacts with minority
                  and small business trade associations, attendance at small and
                  minority business procurement conferences and trade fairs;

               E. Records to support internal guidance and encouragement provided to
                  buyers through (1) workshops, seminars, training programs, incentive
                  awards; and (2) monitoring of activities to evaluate compliance; and

               F. On a contract-by-contract basis, records to support subcontract award
                  data including the name, address, and business size of each
                  subcontractor. (This item is not required on a contract-by-contract
                  basis for company or division-wide commercial plans.)

               G. Additional Records:

                                                  NONE




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                       Signature:
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                       Typed Name:          Jena L. Estes, CPA

                       Title:               Chief Operating Executive, FEP

                       Date Prepared:       June 26, 2007

                       Phone No.:           (202) 942-1230

                 Approval:

                       Agency:
                       Signature:
                       Title:
                       Date Approved:
                       Phone No.




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                                                                                                 Company                                                                                                 UNAUDITED
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                                                 Estimated Net Costs as of September 30, 2015                                          Estimated Net Costs as of September 30, 20115


                                                  Allocated                       Unallocated                                           Allocated                       Unallocated
                                     Life                            A&H                              Total               Life                             A&H                             Total
                                                   Annuity                         Annuity                                               Annuity                         Annuity

           Alabama                   (860,046)                0              0                  0      (860,046)           (807,155)              0                0                  0      (807,155)
           Alaska                      11.738                 0              0                  0        11.738               13,617              0                0                  0        13,617
           Arizona                  2,519.011           89,616               0                  0     2,608.627           3,527,791          54,264                0                  0     3,582,054
           Arkansas                 3,126,480           63.092               0                  0     3,189,573           4,214,167         140,853                0                  0     4,355,020
           California               7.639,201           49.451               0                  0     7,688,652          10,048,352          67,878                0                  0    10,116,230
           Colorado                   343.888                 0              0                  0       343.888              410,908              0                0                  0       410,908
           Connecticut                 72.111             2,431              0                  0        74,542               79,398          2,431                0                  0        81,828
           Delaware                    37,607                 0              0                  0        37,607               40,325              0                0                  0        40,325
           Dist. of Columbia            4,341                 0              0                  0         4,341                6,486              0                0                  0         6,486
           Florida                     36,043                 0              0                  0        36,043               41,831              0                0                  0        41,831
           Georgia                    854,385                 0              0                  0       854,385           1,245,701               0                0                  0     1,245,701
           Hawaii                      13,837                 0              0                  0        13,837               15,231              0                0                  0        15,231
           Idaho                      100,138             1,730              0                  0       101,868              107,532              0                0                  0       107,532
           Illinois                41,229,531             7,981              0                  0    41,237,512          48,847,379          10,680                0                  0    48,858,059
           Indiana                  9,985,943                 0              0                  0     9,985,943          12,013,767               0                0                  0    12,013,767
           Iowa                    17,735,623             5,714              0                  0    17,741,337          20,589,980           5,714                0                  0    20,595,693
           Kansas                  15,489,122                 0              0                  0    15,489,122          18,457,470               0                0                  0    18,457,470
           Kentucky                 8,096,449                 0              0                  0     8,096,449          10,101,675               0                0                  0    10,101,675
           Louisiana                2,106,969                 0              0                  0     2,106,969           2,716,436               0                0                  0     2,716,436
           Maine                        5,691                 0              0                  0         5,691                6,020              0                0                  0         6,020
           Maryland                   155,895                 0              0                  0       155,895              171,257              0                0                  0       171,257
           Massachusetts                    0                 0              0                  0              0                   0              0                0                  0             0
           Michigan                   302,856                 0              0                  0       302,856             343,907               0                0                  0       343,907
           Minnesota                  234,430                 0              0                  0       234,430             268,041               0                0                  0       268,041
           Mississippi               (217,902)                0              0                  0      (217,902)           (185,336)              0                0                  0      (185,336)
           Missouri               109,253,292          135,916               0                  0   109,389,208         140, 129,004        135,916                0                  0   140,264,921
           Montana                     91,406                 0              0                  0        91,406               98,857              0                0                  0        98,857
           Nebraska                 3,195,039                 0              0                  0     3,195,039           3,715,319               0                0                  0     3,715,319
           Nevada                      76,689                 0              0                  0        76,689              102,292              0                0                  0       102,292
           New Hampshire                    0                 0              0                  0              0                   0              0                0                  0             0
           New Jersey                       0                 0              0                  0              0                   0              0                0                  0             0
           New Mexico                  87,328                 0              0                  0        87,328               97,263              0                0                  0        97,263
           New York                         0                 0              0                  0              0                   0              0                0                  0             0
           North Carolina            (482,196)                0              0                  0      (482, 196)          (454,591)              0                0                  0      (454,591)
           North Dakota                 7,457                 0              0                  0         7,457                8,530              0                0                  0         8,530
           Ohio                    13,217,833                 0              0                  0    13,217,833          15,554,301               0                0                  0    15,554,301
           Oklahoma                11,961,158                 0              0                  0    11,961,158          15,548,993               0                0                  0    15,548,993
           Oregon                     120,386                 0              0                  0       120,386              142,990              0                0                  0       142,990
           Pennsylvania             2,458,605            (1,518)             0                  0     2,457,086           2,835,193          16,482                0                  0     2,851,675
           Puerto Rico                      0                 0              0                  0              0                   0              0                0                  0             0
           Rhode Island                 8,818                 0              0                  0         8,818                9,712              0                0                  0         9,712
           South Carolina            (263,735)                0              0                  0      (263,735)           (239,608)              0                0                  0      (239,608)
           South Dakota               105,010                 0              0                  0       105,010              135,894              0                0                  0       135,894
           Tennessee                4,635,175           14,413               0                  0     4,649,589           6,580,254           2,878                0                  0     6,583,132
           Texas                    1,909,904            (1,417)             0                  0     1,908,487           2,436,006           6,959                0                  0     2,442,965
           Utah                        48,550                 0              0                  0        48,550               52,646              0                0                  0        52,646
           Vermont                      1,856                 0              0                  0         1,856                2,207              0                0                  0         2,207
           Virginia                    67,971               389              0                  0        68,360               92,055            389                0                  0        92,445
           Washington                  94,808                 0              0                  0        94,808              113,482              0                0                  0       113,482
           West Virginia               51,037                 0              0                  0        51,037               58,282              0                0                  0        58,282
           Wisconsin                  389,683             5,368              0                  0       395,051             452,815               0                0                  0       452,815
           Wyoming                     32,400                 0              0                  0        32,400               33,076              0                0                  0        33,076
           Other                            0                 0              0                  0              0                   0              0                0                  0             0

           Total                  256,091,814          373,166               0                  0   256,464,981         319,779,754         444,444                0                  0   320,224, 198




For member company and association use only. The data utilizes estimates and excludes many costs incurred directly by the State Guaranty Associations. It MAY NOT be utilized In protesting actual assessments
made by State Guaranty Associations.
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                  Exhibit D
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            2013 Contract No. CS 1039

           Between the U.S. Office of Personnel Management
            and the Blue Cross and Blue Shield Association
              on Behalf of, and as Agent for, Participating
                  Blue Cross and/or Blue Shield Plans
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              CONTRACT FOR FEDERAL EMPLOYEES HEAL TH BEl\!EFTTS

CONTRACT NO: CS 1039                               FULL CONTRACT
EFFECTIVE:   January I, 1960                       EFFECTIVE: January I, 2013

BETWEEN:            The United States Office of Personnel Management
                    herein4fier called OPJ\I or the Govemment

                    Address:                       1900 E Street. NW
                                                   Washington. DC .:!041~-3610

                    AND

                    CONTRACTOR:                    Blue Cross and Blue Shield Association
                                                   hereinafter also mlled the Carrier

                    Address:                       1310 G. Street. NW. Suite 900
                                                   Washington, DC .:!0005



In consideration of payment by OPM of subscription charges set forth in Appendix B, the Carrier
agrees to perform all of the services set forth in this contract. including Appendix A.

FOR THE CARRIER                                    FOR THE GOVERNMENT


William A. Breskin                                 Sylvia V. Pulley
Name of person authorized to execute contract      Name of Contracting Officer
           (type or print)                                (type or print)

Vice President, Government Programs                Chief, Health Insurance I, Federal Employee

Ti~
                                                   Insurance Operations
                                                   Title


                                                   ~ <"r· ~,;'L,/
Signature                                          Signature                     =--o
Date signed                                        Date signed




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                 FEDERAL EMPLOYEES

             HEAL TH BENEFITS PROGRAM




                 STANDARD CONTRACT



                            FOR




             FEE-FOR-SERVICE CARRIERS




                            2013




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                                     TABLE   or CONTEl\'TS
This is an experience-rated contract for the fee-for-service plan Carrier and consists of the cover
page, the table of contents and the provisions, clauses and appendices as included in PARTS 1
through 6.
                               PART I - GENERAL PROVISIONS

1.1      DEFINITIONS OF FEHB TERMS
1.2      ENTIRE CONTRACT
l .J     ORDER OF PRECEDENCE
1A      INCORPORATION OF LAWS AND REGuLA TIONS
1.5      RECORDS AND INFORMATION TO BE FURNISHED BY OPM
1.6     CONFIDENTIALITY OF RECORDS (FEHBAR)
I. 7    ST ATIS TICS AND SPECIAL STUDIES
1.8     NOTICE
1.9     PLAN PERFORMANCE-EXPERIENCE-RAI ED FFS CONTRACTS
1.10    NOTICE OF SIGNIFICANT EVENTS (FEHBAR)
I.I I   FEHB INSPECTION (FEHBAR)
1.12    CORRECTION OF DEFICIENCIES
1.13    INFORMATION AND MARKETING MATERIALS
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1.15    RENEW AL AND WITHDRAW AL OF APPROVAL (FEHBAR)
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1.17    NOVATION AGREEMENT (FEHBAR)
1.18    AGREEMENT TO RECOGNIZE CARRIER'S CHANGE OF NAME (FEHBAR)
1.19    UNDERWRITER
1.20    CERTIFICATION UNDER P.L. 104-191 (HEALTH INSURANCE PORTABILITY
        AND ACCOUNTABILITY ACT OF 1996)
1.21    PATIENTS' BILL OF RIGHTS
1.22    ADMINISTRATIVE SIMPLIFICATION - HIPAA
1.23    HIPAA COMPLIANCE
1.24    NOTICE ON TERMINATION OF FEHBP OR PROVIDER CONTRACT
1.25    TRANSITIONAL CARE      .
1.26    STANDARDS FOR PHARMACY BENEFITS MANAGEMENT COMPANY (PBM)
        ARRANGEMENTS
1.27    DISCLOSURE NOTICE UNDER P .L. 108-173
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1.28     CARRIER DISASTER RECOVERY PLAN
1.29     HEALTH INFORMATION TECHNOLOGY REQUIREMENTS
1.30     HEALTH INFORMATION TECHNOLOGY PRIVACY AND SECURITY
1.31     DEFINITION OF INFORMATION SECURITY
1.32     CARRIER PERSONNEL SECURITY REQUIREMENTS
1.33     INFORMATION TECHNOLOGY SYSTEMS SECURITY
1.34     CARRIER ACCESS TO OPM IT SYSTEMS
1.35     PROCEDURES FOR REPORTING A SECURITY BREACH



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  2.1      ENROLLMENT ELIGIBILITY AND EVIDENCE OF ENROLLMENT
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  2.7      DEBARMENT AND OTHER SANCTIONS
  2.8      FILING HEAL TH BENEFIT CLAIMS/COURT REVIEW OF DISPUTED CLAIMS
  2.9      CLAIMS PROCESSING
  2. I 0   CA LC ULA TION OF COST SHARING PROVISIONS
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                   PART Ill - PAYMENTS, CHARGES AND ACCOUNTING

  3.1      PAYMENTS-EXPERIENCE-RATED CONTRACTS (FEHBAR)
  3.2      ACCOUNTING AND ALLOWABLE COST (FEHBAR)
  3.3      SPECIAL RESERVE
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  3.5      NON-COMMINGLING OF FUNDS (FEHBAR)
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  3.7      SERVICE CHARGE
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  3.11     SURVEY CHARGES
 3.12      FEHB CLEARINGHOUSE
 3.13      TAXPAYER IDENTIFICATION NUMBER (FEHBAR)
 3.14       REPORTABLEOVERPAYMENTS
 3.15       AUDIT RESOLUTION
 3.16      REPORTABLE FINDINGS
                             PART IV - SPECIAL PROVISIONS

 4.1       ALTERATIONS IN CONTRACT (FAR)

                                 PART V - STANDARD CLAUSES
 This contract shall include all of the following standard clauses required by the Federal
 Acquisition Regulation (FAR) or Federal Employees Health Benefits Acquisition Regulation
 (FEHBAR).



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This contract shall include all of the following standard clause5 required by the Federal
Acquisition Regulation (FAR) or Federal Employee~ Health Bcncfih '\cqui;;ition Regulation
(FEHBAR).

 5.1  DEFINITIONS
 5.2  [RESERVED]
 5.3  GRA Tu ITIES
 5.4  COVENANT AGAINST CONTINGPff FEES
 5.5  ANTI-KICKBACK PROCEDURES
 5.6  [RESERVED]
 5.7  AUDIT AND RECORDS-NEGOTIAT101\
 5.8  PRICE REDUCTION FOR DEFECTIVE CERTIFIED COST OR PRICING DATA
 5.9  [RESERVED]
 5.10 SUBCONTRACTOR CERTIFIED COST OR PRICfNG DATA
 5.11 [RESERVED]
 5.12 [RESERVED]
 5.13 [RESERVED]
 5.14 UTILIZATION OF SMALL Bl.iSINESS CO\CJ:.R:--S
 5.15 [RESERVED]
 5.16 [RESERVED]
 5.17 CONVICT LABOR
5.18 CONTRACT WORK HOURS AND SAFETY STANDARDS ACT-OVERTIME
      COMPENSATION
5.19 EQUAL OPPORTUNITY
5.20 [RESERVED]
5.21 NOTIFICATION OF VISA DENIAL
5.22 EQUAL OPPORTUNITY FOR VETERANS
5.23 AFFIRMATIVE ACTION FOR WORKERS WITH DISABILITIES
5.24 [RESERVED]
5.25 DRUG FREE WORKPLACE
5.26 [RESERVED]
5.27 FEDERAL, STA TE, AND LOCAL TAXES (STA TE AND LOCAL ADJUSTMENTS)
5.28 [RESERVED]
5.29 T AXES--FOREIGN NEGOTIATED BENEFITS CONTRACTS
5.30 [RESERVED]
5.31 [RESERVED]
5.32 [RESERVED]
5.33 DISCOUNTS FOR PROMPT PAYMENT
5.34 INTEREST (FEHBAR MODIFICATION OF FAR)
5.35 ASSIGNMENT OF CLAIMS
5.36 DISPUTES
5.37 NOTICE OF INTENT TO DISALLOW COSTS
5.38 CHANGES--NEGOTIA TED BENEFITS CONTRACTS
5.39 COMPETITION IN SUBCONTRACTING
5.40 GOVERNMENT PROPERTY (NEGOTIATED BENEFITS CONTRACTS)
5.41 LIMITATION OF LIABILITY--SERVICES


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 5.42 PREFERE\!C:E FOR ll.S. FLAG AIR CARRIERS
 5.43 GOVERN\ff\!T Sl 1PPLY SOl!RCES
 5.44 AUTHORIZED Dl:.VIATIONS IN CLAUSES
 5.45 LIMITATI ON ON PAYMENTS TO INFLUENCE CERTAIN FEDERAL
      TRANSACTIONS
 5.46 [RESERVED]
 5.47 PROTECTI.i\G THE GOVER;\MEl\T'S I.l\TEREST WHEI\ SliBC00<TRACTl~G
      WITH CONTRACTORS DEBARRED. SUSPENDED OR PROPOSED FOR
      DEBARMENT
 5.48 BAl\KRljPTCY
 5.49 FEHBP TERMINATION FOR CONVENIENCE OF THE GOVERNMENT--
      NEGOTIATED BENEFITS CONTRACTS
5.50 FEHBP TERMINATION FOR DEFAULT-- NEGOTIATED BENEFITS CONTRACTS
5.51 PENSION ADJUSTMENTS AND ASSET REVERSIONS
5.52 REVERS!Ol\' OR AD.IUSTi\1ENT OF PLANS FOR POSTRETIRPv1E'\'T BE:'\EFITS
      (PRB) OTHER THAN PENSJONS
5.53 NOTICE TO THE GOVERNMENT OF LABOR DISPUTES
5.54 PEJ\ALTIES FOR Lil\ALLOWABLE COSTS
5.55 EMPLOYMENT REPORTS ON VETERANS
5.56 AUTHORIZATION AND CONSENT
5.57 NOTICE AND ASSISTANCE REGARDING PATENT AND COPYRIGHT
      INFRINGEMENT
5.58 PAYMENT BY ELECTRONIC FUNDS TRANSFER-CENTRAL CONTRACTOR
      REGISTRATION
5.59 PROHIBITION OF SEGREGATED FACILITIES
5.60 SUBCONTRACTS FOR COMMERCIAL ITEMS
5.61 NOTIFICATION OF EMPLOYEE RIGHTS UNDER NATIONAL LABOR
       RELATIONS ACT
5.62 APPLICABLE LAW FOR BREACH OF CONTRACT CLAIM
5.63 CENTRAL CONTRACTOR REGISTRATION
5.64 CONTRACTOR CODE OF BUSINESS ETHICS AND CONDUCT
5.65 EMPLOYMENT ELIGIBILITY VERIFICATION
5 .66 UPDATES OF PUB LI CALLY AVAILABLE INFORMATION REGARDING
       RESPONSIBILITY MATTERS (DEVIATION)
5.67 PERSONAL IDENTITY VERIFICATION OF CONTRACTOR PERSONNEL
5.68 PRIVACY OR SECURITY SAFEGUARDS
5.69 ENCOURAGING CONTRACTOR POLICIES TO BAN TEXT MESSAGING WHILE
       DRIVING

                           PART Vl--APPENDICES

A-   FEHBPBROCHURE
B-   SUBSCRIPTION RATES, CHARGES AND LIMITATIONS
C-   FEHBP SUPPLEMENTAL LITERATURE GUIDELINES JANUARY 2000
D-   RULES FOR COORDINATION OF BENEFITS, MODEL REGULATION SERVICE,
     JANUARY 2005, NATIONAL ASSOCIATION OF INSURANCE COMMISSIONERS


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E-   SMALL   BUSl~ESS   SUBCONTRACTI!\G PLAN (ii' applicahlcl




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                               PART I - GE~ERAL PROVISIONS

 SECTION I .I
 DEFINITIONS Of FEHB TERMS (JAN 2012)

 For purpose of this contract the following definitions apply:

Act: The Federal Employees Health Benefits Act, as amended; chapter 89 of title 5. United
States Code.

Benefits: Covered services or payment for covered services set forth in Appendix A. to whid1
Members are entitled to the extent provided by this contract.

Carrier: As defined by chapter 89 of title 5, United States Code, and may be used
interchangeably \\ ith the 1erm Contractor.

Enrollee· The Federal employee. Tribal Employee. annuitant. former spouse. temporarily-
covered former Federal employee or famil)' member enrolled under this contract.

FEHBP: Federal Employees Health Benefits Program.

Letter of Credit: The method by which certain Carriers, and their underwriters if authorized,
receive recu11"ing premium payments and contingency reserve payments by drawing against a
commitment (certified by a responsible OPM official) which specifies a dollar amount available.
For each Carrier pa11icipating in the Letter of Credit arrangement for payment under FEHBAR
I 63?.. I 70(b). 1he terms "canier reserves" and "special reserves" include any balance in 1he
Carrier's Letter of Credit account.

Member: The Enrollee and/or an eligible family member for benefit purposes, and sometimes
referred to as subscriber.

Regulations: (I) The Federal Employees Health Benefits Regulations; part 890, title 5, Code of
Federal Regulations, and (2) Chapters I and 16 of title 48, Code of Federal Regulations.

Subcontractor: Any supplier, distributor, vendor, or firm that furnishes supplies or services to
or for a prime contractor, or another subcontractor, except for providers of direct medical
services or supplies pursuant to the Carrier's health benefits plan.

Tribal Employee: A full-time or part-time common law employee of a tribal employer.

Tribal Employer: A tribal employer is an Indian tribe or tribal organization, as those terms are
defined in 25 U.S.C. Chapter 18, carrying out at least one program under the Indian Self-
Determination and Education Assistance Act or an urban Indian organization as that term is
defined in 25 U.S.C. Chapter 18 carrying out at least one program under the title V of the Indian
Health Care Improvement Act provided that OPM accepts the tribe, tribal organization, or urban
Indian organization's agreement to offer FEHB.


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 SECTION I 2
 ENTIRE CONTRACT (.JAN 2009)

        (a) This document as described in the Table of Conlents constitutes the entire contract
between the pa11ies. No oral statement of any person shall modify or otherwise affect the terms,
conditions, or specifications stated in this contract. Requests for modifications of this contract
must be submitted to the authorized Contrm:Ling OJlicer. Only the Contracting Officer acting
within the scope of his or her authority may execute a contract modification on behalf of the
government.
        (b) All srntement~ concerning co\·ernge or henellt~ made hy OJ>f'vL the Carrier or by any
individual covered under this contract shall be deemed representations and not warranties. No
such statement shall convey or void any coverage. increase or reduce any benefits under this
contract or be used in the prosecution of or defense of a claim under this contract unless it is
contained in writing and a copy of the instrument containing the statement is or has been
furnished to the Member or to the person making rhe claim.

SECTION 1.3
ORDER OF PRECEDENCE (JA:i'< 1996)

        Any inconsistency in this contract shall be resolved by giving precedence in the
following descending order: The Act, the regulations in part 890. title 5. Code of Federal
Regulations, the regulations in chapters I and 16, title 48, Code of Federal Regulations, and this
contract.

SECTION l.4
INCORPORATION OF LAWS AND REGULA TIOl\IS (.JAN 2002)

         (a) The applicable provisions of (l) chapter 89 of title 5, United States Code; (2) OPM's
regulations as contained in part 890 of title 5, Code of Federal Regulations; and (3) chapters I
and 16 of title 48, Code of Federal Regulations constitute a part of this contract as if fully set
forth herein, and the other provisions of this contract shall be construed so as to comply
therewith.
         (b) If the Regulations are changed in a manner which would increase the Carrier's
liability under this contract, the Contracting Officer will make an equitable adjustment in
accordance with the changes clause, Section 5.38 -- Changes--Negotiated Benefits Contracts.

SECTION 1.5
RECORDS AND INFORMATION TO BE FURNISHED BY OPM (JAN 2012)

        (a) OPM shall maintain or cause to be maintained records from which the Carrier may
determine the names and social security numbers of all Enrollees. OPM, other agencies of the
Federal Government, Tribal Employer, or the FEHB Clearinghouse shall furnish the information
to the Carrier at such times and in such fmm and detail as will enable the Carrier to maintain a
currently accurate record of all Enrollees.
        (b) The Carrier is entitled to rely on information furnished to it under paragraph (a).
OPM agrees that any liabilities incurred under this contract in reliance upon such information



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 shall he a valid charge against the contract. Errors or delays in keeping or reporting data relating
 to CO\'erage ~hall not in\'aliclatc coverage that would othern ise he \'al idly in force and shall not
 continue coverage that would othern1se be terminated. OPM shall make an equitable adjustmem
 of premiums upon discovery of errors or delays under this Section.
         (c) Clerical error (whether by OPM, any other agency, Tribal Employer, the FEHB
 Clearinghouse. or the Carrier) in keeping records pertaining to coverage under this contract.
 delay~ in making entries thereon, or failure to make or account for any deduction of enrollment
 charges, shall not invalidate coverage otherwise validly in force or continue coverage othe1wise
 validly tem1inated. OPM shall make an equitable adjustment of premiums when an error. delay.
or failure i~ di~co\erecl. !fan: person finds relevant facts pertaining to a person cmered under
this contract to be misstated. and if the misstatement affects the existence, amount. or extent of
coverage. the actual facts shall determine whether coverage is in force under the terms of this
contract and in what amount or to what extent. Any claim payments the Carrier makes before an
adjustment or determination shall be a valid charge against this contract.
         (cl) The OPM -;hall direct the agencies and Tribal Employers to prm icle the Carrier or the
FEHB Clearinghouse. not less often than quarterly. the names of Enrollees enrolled under the
contract by payroll office and the premium paid for those Enrollees for the current pay C) cle.
The Carrier shall ar least quanerly reconcile its enrollment records with tho~e provided b) the
Government. the Tribal Employer, or the FEHB Clearinghouse.
         (e) In instances of erroneous enrollments where benefit payments have been made in
effor, the CmTier must inform Enrollees within forty-five days of when the Carrier receives
notification from the agency or the Tribal Employer that the Carrier will collect for these benefit
payments. The Carrier shall provide notice to the Enrollees that they have the right to contest
their enrollment change with their agency, Tribal Employer, or their retirement system.


SECTION 1.6
CONFIDENTIALITY OF RECORDS
(JAN 1991) (FEHBAR 1652.224-70)

         (a) The Carrier shall use the personal data on employees and annuitants that is provided
by agencies and OPM, including social security numbers, for only those routine uses stipulated
for the data and published annually in the Federal Register as part of OPM's notice of systems of
records.
         (b) The Carrier shall also hold all medical records, and information relating thereto, of
Federal subscribers confidential except as follows:
         (I) As may be reasonably necessary for the administration of this contract;
         (2) As authorized by the patient or his or her guardian;
         (3) As disclosure is necessary to pennit Government officials having authority to
investigate and prosecute alleged civil or criminal actions;
         (4) As necessary to audit the contract;
         (5) As necessary to carry out the coordination of benefit provisions ofthis contract; and
         (6) For bona fide medical research or educational purposes. Release of infonnation for
medical research or educational purposes shall be limited to aggregated infonnation of a
statistical nature that does not identify any individual by name, social security number, or any
other identifier unique to an individual.



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        (c) If the Carrier uses medical records for the administration or the contract. or for hona
fide research or educational purposes. it shall so -;tate in the Plan\ hnichure

SECTION 1.7
STATISTICS AND SPECIAL STUDIES (JAN 2009)

        (a) The Carrier shall maintain or cause to be maintaineu ~tati5tical records of it~
operations under the contract and shall furni5h OPM. in the form pre~cribed by the Contracting
Officer. the statistical reports reasonably necessary for the OPM to carry out its functions under
Chapter 89 of title 5. United State~ Code.
        (b) The Carrier shall fornish such other reasonable stati~tical data and reports of special
studies as the Contracting Officer may from time to time request for the purpose of carrying out
its functions under Chapter 89 of title 5, United States Code.
        (c) The Carrier shall furnish the routine reports in the required number of copies in a
fonnat to be dete1mined by the Contracting Offa:er as in~tructcd hy OP\1.
        (d) The Carrier shall notify the OPM Contract Representative immediately upon a change
in the name or address of the Carrier's contract administralor(s).

SECTION 1.8
NOTICE (JAN 2003)

        Where the contract requires that notice be given to the other party, such notice must be
given in writing to the address shown on this contracrs signature page. To notify OPM, the
Carrier must write to the Contracting Officer, unless otherwise specified.

SECTION 1.9
PLAN PERFORMANCE--EXPERIENCE-RATED FFS CONTRACTS (JAN 2013)

        (a) Detection of Fraud and Abuse. The Carrier shall conduct a program to assess its
vulnerability to fraud and abuse and shall operate a system designed to detect and eliminate
fraud and abuse internally by Carrier employees and subcontractors, by providers providing
goods or services to FEHB Members, and by individual FEHB Members. The program must
specify provisions in place for cost avoidance not just fraud detection, along with criteria for
follow-up actions. The Carrier must submit to OPM an annual analysis of the costs and
benefits of its fraud and abuse program. The Carrier must submit annual reports to OPM by
March 31 addressing the following:
        1) Cases opened;
       2) Dollars identified as lost and recovered on active cases
       3) Actual savings and prevented loss on active cases;
       4) Active cases referred to law enforcement (other than the OPM-OIG)
        5) Active cases referred to OPM - OIG;
       6) Active cases resolved administratively;
       7) Percentage of active cases where the FEHB Program is the only or primary line of
            business affected
       8) Number ofFEHB providers who are on prepayment review; and
       9) Number of arrests and criminal convictions resulting from active cases



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   The report \viii also include rhc industry standards checklist.
            (b) Clinical Care ~1casurcs. The Carrier shall me;isure ancllor collect data on the
   quality of the health care services that are provided to its members as reque:,ted by OPM.
   Measurement/data collection effo11s may include performance measurement system:, such as
   Healthcare Effectiveness Data and Info1mation Set (HEDIS) or similar measures developed by
   accrediting organizations such as the National Committee for Quality Assurance (NCQA). the
  Joint Commi~~iun on Accreditation of Healthcare Organiza11ons (JCAHO). or L.,RAC. Co:.b
   incurred by the Carrier for collecting or contracting with a vendor to collect quality
  measures/data shall be the CmTier's responsibility and are allowable administrative expenses .
  .>ubject to the ad1111nistra1i,·e co"t limitation.
           (c) Patient Safety. The Call'ier shall implement a patient safety improvement program.
  At a minimum. the CaJTier shall --
           (I) Report to OPM on its cuJTent patient safety initiatives;
           (2) Report to OPM on how it will strengthen its patient safety program for the future;
           (3) As~ist OP1V1 in prO\ iding its members with consumer information and education
  regarding patient ~afety: and
           ( 4) Work with its pro,·iders. independent accrediting organizations. and other~ to
 implement patient safety improvemem programs.
           (d) Accreditation. To demonstrate its commitment to providing quality, cost-effective
 health care, the Carrier shall continue to pursue and maintain accreditation according to the
 steps and timeframes outlined in the caffier's current business plan. The carrier shall submit
 accreditation changes and business plan updates to its OPM contract representative.
           (e) Consumer Assessments of Healthcare Providers and Systems CCAHPS). In
 addition to any other means of surveying Plan members that the Carrier may develop, the
 Carrier shall participate in the HEDIS Consumer Assessments of Healthcare Providers and
 Systems (C AHPS) to provide feedback to Enrollees on Enrollee experience with the various
 FEHBP plans. The Carrier shall take into account the published results of the survey, or other
 results as directed by OPM, in identifying areas for improvement as part of the Carrier's
 quality assurance program. Payment of survey charges will be in accordance with Section
 3.11.
          (f) Contract Quality Assurance. The Carrier shall develop and apply a quality
 assurance program specifying procedures for assuring contract quality. At a minimum the
 carrier shall meet the following standards and submit an annual report to OPM on these
standards by July 1 of the following contract period:
          (I) Claims Processing Accuracy - the number of FEHB claims processed accurate) y
and the total number of FEHB claims processed for the given time period, expressed as a
percentage.
          REQUIRED STANDARD: An average of95 percent ofFEHB claims must be processed
accurately.
         (2) Claims Coding Accuracy - the number of FEHB claims coded accurately divided by
the total number ofFEHB claims coded for the given time period, expressed as a percentage.
          REQUIRED STANDARD: An average of98 percent ofFEHB claims shall be coded
accurately.
          (3) Recovery ofErroneous Payments - the average number of working days it takes for
the Carrier to begin collection action against an FEHB provider or member following
identification of an erroneous payment, including overpayments.



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            Rr:Ql 'IRED ST.'\ND'\RD: The Carrier take> an m·erage of no more than ~O working days
  from the date it identifies an FFl-IB erroneous payment 10 the da1c it he~ins the collection
  action.
           (4) Coordination ofBenefits (COB) - the Carrier must demonstrate that a statistically
 valid sampling technique is routinely used to identify FEHB claims prior to or after processing
 that require(d) coordination of benefits (COB) with a third party payer. As an alternative, the
 Carrier may provide evidence that it pur~ue:> all claim~ tor (013.
           (5) Claims Timelines.1 - the average number of \\Orking Lia) s from the date the Carrier
 receives an FEHB claim to the date it adjudicates it (paid. denied or a request for further
 information is sent out). for the gi' en cime pt'riod. L'.\JXL'~~cd a~ a cumulati' c pen:entage.
           REQUfRED STANDARD: The Carrier adjudicates 95 percent of claims within 30 working
 days.
          (6) Processing JD cards on change v.f plan or option - the number of calendar days
 from the date the Carrier receives the enrollment from the Enrollee-s agency, Tribal Employer,
 or retirement system to the elate it issues the ID card.
           REQUIRED STANDARD: The Carrier issues the ID card "ithin fifteen calendar days after
 receiving the enrollment from the Enrollee-s agenc~. Tribal Emplo~er. or retirement system
 except that the Carrier will issue ID card~ re~ulting from an open ~eason election within fifteen
 calendar days or by December 15, whichever is later.
          (7) Member Inquiries - the number of working days taken to respond to an FEHB
 member's written inquiry, expressed as a cumulative percentage, for the given time period.
          REQUIRED STANDARD: The Ca1Tier responds to 90 percent of inquiries within 15
 working days (including internet inquiries).
          (8) Written inquiries Accuracy- the number ofFEHB written inquiries handled
accurately divided by the total number ofFEHB written inquiries handled for the given time
 period_ expressed as a percentage.
          REQUIRED STANDARD: A minimum of97 percent ofFEHB written inquines shall be
answered accurately.
          (9) Telephone Inquiries Accuracy- the number of FEHB telephone inquiries handled
accurately divided by the total number ofFEHB telephone inquiries handled for the given time
period, expressed as a percentage.
          REQUIRED STANDARD: A minimum of 97 percent of FEHB telephone inquiries shall be
answered accurately.
          (10) internet Inquiries Accuracy - the number of FEHB Internet inquiries handled
accurately divided by the total number of FEHB Internet inquiries handled for the given time
period, expressed as a percentage.
          REQUIRED STANDARD: A minimum of 97 percent of FE.BB Internet inquiries shall be
answered accurately.
           (11) Telephone Access - the Carrier shall repmt on the following statistics concerning
telephone access to the member services department (or its equivalent) for the given time
period. Except that, if the Carrier does not have a computerized phone system, report results of
periodic surveys on telephone access.
                     (i) Call Answer Timeliness - the average number of seconds elapsing before the
Carrier connects a member's telephone call to its service representative.
          REQUIRED STANDARD: On average, no more than 30 seconds elapse before the CaiTier
connects a member's telephone call to its service representative.



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                  fiiJ Telephone f31ockage Rale - the percentage of time that callers receiH' a
 husy signal   I\hen c;illing the Carrier.
           REQUIRED ~TANDARD: No more than 5% of callers receive a busy 5ignal.
                  (iii) Telephone Abandonment Rate - the number of calls attempted but not
 completed (presumably because callers tired of waiting to be connected to a Cai,-ier
 representative) divided by the total number of calls attempted (both completed and not
 completed), exp1c~~ed a:, a pen:entage.
           REQUIRED s r ANDARD: On average, Enrollees abandon the effort no more than 5 percent
 of the time.
                  (ir) /11i1111/ ( 'ull Rn11!111io11 - the percentage of i~sues rc~oln:d during the initial
 call.
           REQUrRED STA1':D'\RD' On average. caller's issues must be resolved during the initial
 call at least 60% of the time.
          ( 12) Responsi1·enes.1· to FEHB Member Requests for Reconsideration:
          REOL·JRrn <.; l -\''"\RD: For 100 percent of v.ritten FEHB disputed claim requc~h
 received for the given time period. within 30 days after receipt by the Carrier. the Carner shall
 aHirm the denial in writing to the fEHB member. pay the claim, provide or authorize cm erage
 of the service, or request additional information reasonably necessary to mah.ea detenninauon.
          (g) Qualitv Assurance Plan. The Carrier must demonstrate that a statistically valid
 sampling technique is routinely used prior to or after processing to randomly sample FEHB
 claims against Carrier quality assurance/fraud and abuse prevention standards.
          (h) Reporting Compliance. The Carrier shall keep complete records of its quality
 assurance procedures and fraud prevention program and the results of their implementation and
make them available to the Government as determined by OPM.
          (i) FEHB Clearinghouse (CLER). The Carrier shall not have any CLER records with a
 160 en-or code and a fail count of four or higher, except for OPM annuitants. A · 160· error is
when a Carrier repo11s an enrollment but no agency or Tribal Employer repo11s that enrollment.
         U) Correction of Deficiencies. The Contracting Officer may order the correction ofa
deficiency in the Carrier's quality assurance program or fraud prevention program. The Carrier
shall take the necessary action promptly to implement the Contracting Officer's order. If the
Contracting Officer orders a modification of the Carrier's quality assurance program or fraud
prevention program pursuant to this paragraph U) after the contract year has begun, the costs
incurred to correct the deficiency may be excluded from the administrative expenses -- for the
contract year -- that are subject to the administrative expenses limitation specified at Appendix
B; provided the Carrier demonstrates that the correction of the deficiency significantly
increases the Carrier's liability under this contract.
         (k) In order to allow sufficient implementation time, the Contracting Officer will notify
the Carrier reasonably in advance of any new requirement(s) under paragraphs (a) through G)-

SECTION 1.10
NOTICE OF SIGNIFICANT EVENTS (JUL 2005) (FEHBAR 1652.222-70)

         (a) The Carrier agrees to notify the Contracting Officer of any Significant Event within
ten (I 0) working days after the Carrier becomes aware of it. As used in this section, a
Significant Event is any occurrence or anticipated occurrence that might reasonably be expected




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  to hm ea material effect upon the Carrier\ ability to meet its obligations under this contract.
                                   or
  including. but not limited 10. any     the following·
           ( 1) Disposal of major assets;
           (2) Loss of 15% or more of the Carrier's overall membership;
          (3) Termination or modification of any contract or subcontract if such termination or
  modification might have a material effect on the Carrier's obligations under this contract;
          (4) Addition or termination of provider agree1111.:1m;
          (5) Any changes in underwriters. reinsurers or participating plans;
          (6) The imposition of. or notice of the intent to impose. a receivership, conservatorship,
 or special regulatory monitoring:
          (7) The withdrawal ot: or notice of intent to withdraw State licensing, HHS qualification,
 or any other status under Federal or State lav.::
          (8) Default on a loan or other financial obligation;
          (9) Any actual or potential labor dispute that delays or threatens to delay timely
 performance or substantially impairs the functioning of the Carrier's facilities or facilities used
 by the Carrier in the performance of the contract:
          ( l 0) Any change in its charter. constitution. or by-laws" hich affects any provision of
 this contract or the Carrier's pai1icipat1on in the Federal Employees Health Benefits Program;
          (11) Any significant changes in policies and procedures or interpretations of the contract
 or brochure which would affect the benefits available under the contract or the costs charged to
 the contract;
          (12) Any fraud, embezzlement or misappropriation of FEHB funds; or
          (13) Any written exceptions, reservations or qualifications expressed by the independent
 accounting firm (which ascribes to the standards of the American Institute of Certified Public
 Accountants) contracted with by the Carrier to provide an opinion on its annual financial
 statements.
         (b) Upon learning of a Significant Event OPM may institute action, in proportion to the
 seriousness of the event, to protect the interest of Members, including, but not limited to--
         ( 1) Directing the Carrier to take corrective action;
         (2) Suspending new enrollments under this contract;
         (3) Advising Enrollees of the Significant Event and providing them an opportunity to
transfer to another plan;
         (4) Withholding payment of subscription income or restricting access to the Carrier's
Letter of Credit accoWlt;
         (5) Terminating the enrollment of those Enrollees who, in the judgment of OPM, would
be adversely affected by the Significant Event; or
         (6) Terminating this contract pursuant to Section 1.15, Renewal and Withdrawal of
Approval.
         (c) Prior to taking action as described in paragraph (b) of this clause, the OPM will
notify the Carrier and offer an opportunity to respond.
         (d) The carrier will insert this clause in any subcontract or subcontract modification if
the amoWlt of the subcontract or modification charged to the FEHB Program (or in the case ofa
community-rated carrier, applicable to the FEHB Program) equals or exceeds $550,000 and is at
least 25 percent of the total subcontract cost. The amount of the dollar charge to the FEHB
Program shall be adjusted by the same amount and at the same time as any change to the
threshold for application of the Truth in Negotiations Act pursuant to 41 U.S.C. 254b(a)(7).



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 SECTION 1.11
 FEHB INSPECTION (JUL 2005) (FEHBAR 1652.246-70)

          (a) The Contracting Officer. or an authorized representative of the Contracting Officer.
 has tht: right to in~pt:ct oi e\aluale the vvork performed or berng performt:u undt:r tht: contract.
 and the premises where the work is being performed, at all reasonable times and in a manner that
 will not unreasonably delay the work.
          (b) The Cun1rac1ur ~hall maintain and the Contracting Office1·. or an authnri1ecl
 representative of the Contracting Officer, shall have the right to examine and audit all boob and
 records relating to the contract for puq1oses of the Contracting Officer·s determination of the
 Carrier·s subcontractor or Large Provider's compliance with the terms of the contract. including
its payment (including rebate and other financial arrangements) and performance provisions.
The Contractor shall make a\ ailable at its office at all reasonable times tho~e book~ and record<;
for examination and audit for the record retention period specified in the:: Federal Employee::s
 Health Benctirs Acquisition Regulation (FEHBAR). 48 CFR 1652.204-70. This sub~ection i~
applicable to ~ubcomra1.:t and Large Provider Agreements with the exception of thu~e that an::
subject to the "Audits and Records - Negotiation" clause, 48 CFR 52.215-2.
         (c) If the Contracting Officer, or an authorized representative of the Contracting Officer,
performs inspection. audit or evaluation on the premises of the Carrier, the subcontractor. or the
Large Provider. the Carrier shall furnish or require the subcontractor or Large Provider to furnish
all reasonable facilities for the safe and convenient performance of these duties.
         (d) The Carrier shall insert this clause, including this subsection (d), in all subcontracts
for underwriting and claim payments and administrative services and in all Large Provider
Agreements and shall substitute "contractor". "Large Provider.·· or other appropriate reference
for the term ··carrier."

SECTION 1.12
CORRECTION OF DEFICIENCIES (JAN 1997)

        (a) The Carrier shall maintain sufficient financial resources, facilities, providers, staff
and other necessary resources to meet its obligations under this contract. If the OPM determines
that the Carrier does not demonstrate the ability to meet its obligations under this contract, the
OPM shall notify the Carrier of the asserted deficiencies. The Carrier agrees that, within ten ( 10)
working days following notification, it shall present detailed plans for correcting the deficiencies.
These plans shall be presented in a form prescribed by the OPM. Pending submission or
implementation of plans required under this Section, the OPM may institute action as it deems
necessary to protect the interests of Members, including, but not limited to:
        (I) Suspending new enrollments under this contract;
        (2) Advising Enrollees of the asserted deficiencies and providing them an opportunity to
transfer to another plan;
        (3) Withholding payment of subscription income or restricting access to the Carrier's
Letter of Credit account; or
        (4) Terminating the enrollment of those Enrollees who, in the judgment ofOPM, would
be adversely affected by the deficiency.



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         (b) The Carrier agrees that failure to suhmit or w diligent[~ implement plans which are
 required under this Section sh::ill constilllk' ~u1'flciL'nt t!rnund-; 1i•r tcrn1innt1nn ofthi~ contract
 pursuant to Section 1.15, Renewal and Wi1hdrawol of Approml.
        (c) Prior to taking action as described in paragraph (a) the OPM shall notify the Carrier
 and offer an oppo11unity to respond.
        (d) The Carrier shall include the substance of this clause in the contract with its
 underwriter and substitute an appropriate tt:rm for "Carrier."

 SECTION 1.13
 J"l\/FOR!vtATION AND \1ARKETl'\Ci VI ATER! \LS (.I:\".            ~O 13)


         (a) OPM and the CaiTier shall agree upon language setting forth the benefits. exclusions
 and other language of the Plan. The Carrier bears full responsibility for the accuracy of its
 FEHB brochure. OPM in its sole discretion. may order the Carrier to produce and distribute the
 agreed upon brochure text in a format and quamit~ appron·d h~ OP\tl. including an electronic
 508 compliant brochure version. Section 508 of the Rehabilitation Act of 1973, as amended
29 U.S.C. § 794d. for OPM"s web sire. ·r his formaned document is referred to as the FEHB
 brochure. The Carrier shall distribute the fl:HB brochure on a timely basis to new Enrollees and
to other Enrollees upon their request. The Carrier shall also distribute the document(s) to Federal
agencies and Tribal Employers to be made available to such individuals who are eligible to
enroll under this contract. At the direction of OPM, the Cai1ier shall produce and distribute an
audio cassette version, CD, or other electronic media of the approved language. The Carrier may
print additional FEHB brochures for distribution for its own use, but only in the approved format
and at its own expense.
        (b) Supplemental material. Only marketing materials or other supplemental literature
prepared in accordance with FEHBAR 1651.107'-70 (Section 1. 14 of this contract) may be
distributed or displayed at or through Federal facilities.
        (c) The Carrier shall reflect the statement of benefits in the agreed upon brochure text
included at Appendix A of this contract, verbatim, in the FEHB brochure.
        (d) OPM may order the Carrier to prepare an addendum or reissue the FEHB brochure or
any piece(s) of supplemental marketing material at no expense to the Government if it is found to
not conform to the agreed upon brochure text and/or supplemental marketing materials
preparations described in paragraphs (a), (b) and (c) of this section.
        (e) The Carrier shall produce and distribute an FEHB Summary of Benefits and
Coverage (SBC).

SECTION 1.14
MISLEADING, DECEPTIVE OR UNFAIR ADVERTISING (JAN 1991) (FEHBAR 1652.203-
70)

        (a) The Carrier agrees that any advertising material, including that labeled promotional
material, marketing material, or supplemental literature, shall be truthful and not misleading.
   (b) Criteria to assess compliance with paragraph (a) of this clause are available in the FEHB
Supplemental Literature Guidelines which are developed by OPM and should be used, along
with the additional guidelines set forth in FEHBAR 1603 .7002, as the primary guide in preparing
material; further guidance is provided in the NAIC Advertisements ofAccident and Sickness



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!m11ru11n: \/udel Reg11/utin11. The guideline:, are periodically updated and pro\·ided to the Carrier
 b~ OJ> 11v1
           (c) Failure to conform to paragraph (a) of this clause may result in a reduction in the
service charge, if appropriate, and corrective action to protect the interest of Federal Members.
CoJTective action will be appropriate to the circumstances and may include, but is not limited to
the following actions by OPM:
           (I) Directing the Carrier to cea::.e anJ desist distribution, publication. or broaJca:,t of the
material;
           (2) Directing the Ca1Tier to issue corrections at the Carrier's expense and in the same
manrn:r and media a~ the original mmerial \\as made: and
           (3) Directing the Carrier to provide, at the Carrier's expense, the correction 111 writing by
ce11ified mail to all Enrollees of the Plan(s) that had been the subject of the original material.
          (d) Egregious or repeated offenses may result in the following acuon by OPM:
          (I) Suspending new enrollments in the Carrier's Plan(s);
          {2) Prm iding Enrollees an opportunit) to transfer to another plan: and
          Cl) Terminating the contract in accordance with Section 1.15. Reneinil umJ IVithdrawal
of Apprornl.
          (e) Prior to taking action as described in paragraphs (c) and (d) of thi5 clau:,e, the OPM
will notify the Carrier and offer an opportunity to respond.
          (f) The Can-ier shall incorporate this clause in subcontracts with its underwriter, if any,
and other subcontractors directly involved in the preparation or disnibution of such advertising
material and shall substitute "Contractor" or other appropriate reference for the term "Carrier."

SECTION 1.15
RENEWAL AND WITHDRAWAL OF APPROVAL (JAN 1991) (FEJ-TBAR 1652.249-70)

         (a) The contract renews automatically for a term of one (1) year each January first,
unless written notice of non-renewal is given either by OPM or the Carrier not less than 60
calendar days before the renewal date, or unless modified by mutual agreement.
         (b) This contract also may be terminated at other times by order ofOPM pursuant to 5
U.S.C. 8902(e). After OPM notifies the Canier of its intent to terminate the contract, OPM may
take action as it deems necessary to protect the interests of Members, including but not limited
to--
       . (I) Suspending new enrollments under the contract;
         (2) Advising Enrollees of the asserted deficiencies; and
         (3) Providing Enrollees an opportunity to transfer to another plan.
         (c) OPM may, after proper notice, terminate the contract at the end of the contract term if
it finds that the Carrier did not have at least 300 Enrollees enrolled in its Plan at any time during
the two preceding contract terms.

SECTION 1.16
SUBCONTRACTS (JUL 2005) (FEHBAR 1652.244-70)

        (a) The Carrier will notify the Contracting Officer in writing at least 30 days in advance
of entering into any subcontract or subcontract modification, or as otherwise specified by this
contract, if the amount of the subcontract or modification charged to the FEHB Program equals or



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  exceeds $550.000 and is at least 25 percent or the tot:il \Ubcontract cost The amount of the dollar
  charge to the FFHB Program shall be adjw,tccl h~- thl· ~[lllll' amount and at the same time as an~1
  change to the threshold for application of the Truth in Negotiations Act pursuant to 4 J U .S.C.
  254b(a)(7). Failure to provide advance notice may result in a Contracting Officer's disallowance
 of subcontract costs or a penalty in the performance aspect of the Can-ier's service charge. In
  determining whether the amount chargeable to the FEHB Program contract for a given
 ::.ubcontract or modification equal!> or exceed:, the :b.550,0UU thre~hol<l, the follo\~ing rules apply:
           (I) For initial advance notification. the Carrier ~hall add the total cost/price for the base year
 and all options. including quantity or service options and option periods.
           (2) For contract rnodific.:ation:,. option~ and/Pr n.:11c11 al~ (e.g. c1 crgrccn contracts) not
 accounted for in paragraph (a)( J) of this clause, the earner shall provide advance notification if they
 cause the total price to equal or exceed the threshold. OPM's review will be of the modification(s),
 itself: but documentation for the original subcontract will be required to perform the review. The
 $550,000 threshold will be adjusted by the same amount and at the same time as any change to the
 threshold for application of the Trmh in '\egotiatinn!-. Act. All subcontract~ or subcontract
 modifications that equal or exceed the threshold are subject to audit under FAR 52.215-2 "Audit and
 Records-Negotiations'· if based on cost analysi:, or 48 Cl-R 1646.301 and 1652.246-70 ··FEHB
 Inspection·· if based on price analysi~.
           (b) The advance notification required by paragraph (a) of this clause shall include the
 information specified below:
          (1) A description of the supplies or services to be subcontracted;
          (2) Identification of the type of subcontract to be used;
          (3) Identification of the proposed subcontractor and an explanation of why and how the
 proposed subcontractor was selected, including the competition obtained;
          (4) The proposed subcontract price and the Carrier's cost or price analysis;
          (5) The subcontractor's current. complete. and accurate cost or pricing data and
 Certificate of Cum:nt Cost or Pricing Data, must be submitted to the Contracting Officer if
required by law, regulation, or other contract provisions.
          (6) (Reserved)
          (7) A negotiation memorandum reflecting--
          Ci) The principal elements of the subcontract price negotiations;
          (ii) The most significant consideration controlling establishment of initial or revised
prices;
          (iii) An explanation of the reason cost or pricing data are not required, ifthe Carrier
believes that cost or pricing data are not required.
          (iv) The extent, if any, to which the Canier did not rely on the subcontractor's cost or
pricing data in determining the price objective and in negotiating the final price;
         (v) The extent, if any, to which it was recognized in the negotiation that the
subcontractor's cost or pricing data were not accurate, complete, or current; the action taken by
the Carrier and the subcontractor; and the effect of any such defective data on the total price
negotiated;
         (vi)The reasons for any significant difference between the Carrier's price objective and
the price negotiated; and
         (vii) A complete explanation of the incentive fee or profit plan when incentives are used.
The explanation will identify each critical perf01mance element, management decisions used to




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 quantil~   each incenti\ c element. rea~on~ for the incentive'>. and a ~umnrnr~ or al I trade-off
 po~~ibilitie~ con~ider<:'cl.
          (c) rhe Carrier will obtain the Contracting Officer's written consent before placing any
 subcontract for which advance notification is required under paragraph (a) of this clause.
 However. the Contracting Officer may ratify in writing any such subcontract for which written
 consent was not obtained. Ratification will constitute the consent of the Contracting Officer.
          (d) Tho:: Comracting Ofiicer may waive the requirement for a<l,ance notification and
 consent reqL1ired b): paragraphs (a), (b) and (c) of this clause v.here the Carrier and ~ubcontractor
submit an application or renewal as a contractor team arrangement as defined in FAR Subpart
 9.6 and--
          ( I) The Comracting Officer evaluated the arrangement during negotiation or the contract
 or contract renewal: and
         (2) The subcontractor's price and/or costs were included in the Plan's rates that were
reviewed and approved by the Contracting Officer during negotiation of the contract or contract
rene\\al.
         (e) If the carrier follows the notification and consent requirernent5 of paragraphs (a). ( h)
and (c) of this clause and subsequently obtains the Contracting Officer"s con5cm or ratilicat1on.
then the n::asonablene5s of the subcontract" s costs will be inferred as pro\ ided for in 1631.205-
8 I. However. consent or ratification by the Contracting Officer will not constitute a
determination:
         (I) Of the acceptability of any subcontract terms or conditions;
         (2) Of the allowability of any cost under this contract; or
         (3) That the Carrier should be relieved of any responsibility for performing this contract.
         (f) No subcontract placed under this contract will provide for payment on a cost-plus-a-
percentage-of-cost basis. Any fee payable under cost reimbursement type subcontracts will not
exceed the fee limitations in FAR 15.404-4(c)(4)(i). Any profit or fee payable under a
subcontract will be in accordance with the provision of Section 3.7, Service Charge.
         (g) The Carrier will give the Contracting Officer immediate written notice of any action
or suit filed and prompt notice of any claim made against the Carrier by any subcontractor or
vendor that, in the opinion of the Carrier, may result in litigation related in any way to this
contract with respect to which the Carrier may be entitled to reimbursement from the
Government.

SECTION 1.17
NOV A TION AGREEMENT (JAN I 996)

        The agreement at FEHBAR 1642.1204 shall be submitted for approval to OPM when the
Carrier's assets or the entire portion of the assets pertinent to the performance of this contract, as
determined by the Government, are transferred.

SECTION 1.18
AGREEMENT TO RECOGNIZE CARRIER'S CHANGE OF NAME (JAN 1996)

        The agreement at FEHBAR 1642.1205 shall be submitted for approval to OPM when the
carrier changes its name and the Government's and Contractor's rights and obligations remain
unaffected.



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 SEC:TJO'\' l .1 <)
 UNDERWRITER (JAN 2009)

         (a) If this Plan is underwritten. the Carrier shall not modify (except as allowed in Section
2.3. Payment o(Benefits and Provision of Services and Supplies) or terminate the policy issued
by the Underwriter of the Plan or give noiice of 1erminauon or inlenl nol to rene'W lhe policy
without prior express approval of the Contracting Onlcer. The Carrier shall notify the
Contracting Officer in writing of its decision to change llnderwnters as soon as is reasonable
after the decision is made but no later than at the time the ( arrier ~uhm1t~ its benefit and rate
proposal to OPM for rhe succeeding contract term.
         (b) In the event of any inconsistency between the terms of this contract between OPM
and the Carrier and the terms of the policy issued by the Underwriter to the Carrier, the terms of
this contract shall prevail.
         (c) If this Plan is unden\l"itten. the polic~ i~-,u<?d tt1 the Carrier by its UndenHiter is a
part of this contract and is incorporated therein by reference. The Carrier !>hall include paragraph
(b) in the contract with its Underwriter.


SECTION I .20
CERTIFICATION UNDER P.L. 104-191 (HEALTH INSURANCE PORTABILITY AND
ACCOUNT ABILITY ACT OF 1996) (JAN 1998)

        The Carrier will issue a certification of coverage for members in accordance with the
regulations issued by the Department of Health and Human Services.

SECTION 1.21
PATIENTS' BILL OF RIGHTS (JAN 1999)

        (a) The Carrier shall implement the recommendations in the Health Care Consumer Bill
of Rights and Responsibilities ("Patients' Bill of Rights") in accordance with OPM guidance.
        (b) During the Carrier's provider contract renewal process, the Carrier shall make any
necessary modifications to such provider contracts to comply with the recommendations of the
Patients' Bill of Rights in accordance with OPM guidance. All new provider contracts with the
Carrier shall comply with the recommendations of the Patients' Bill of Rights in accordance with
OPM guidance.

SECTION I .22
ADMINISTRATIVE SIMPLIFICATION-HIPAA (JAN 2008)

        (a) The Carrier shall implement and be in compliance with the Department of Health and
Human Services (DHHS) regulations regarding the standards for electronic transactions, code
sets and unique identifiers on the date DHHS specifies. Subject to paragraph (c) of this section,
the regulations at 45 CFR parts 160 and 162 are incorporated by reference in this contract.
        (b) The Carrier shall implement and be in compliance with the DHHS regulations
regarding the standards for privacy and security of individually identifiable health infonnation on




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 the tbtc DI II IS ~pecifics. Suhject to paragraph (c) of this section. the regulation<, at 45 CFR rans
 1(J() and 16-l arc incorporated h~ rci'erence in thi~ contract.
          (c) Becau~e OPM has determined that the DHHS administral!ve simplification
 regulations should serve as a unifonn nationwide standard for the FEHB Program. and because
 of the preemption provision at 5 U.S.C. 8902(m)(l ), the provisions of 45 CFR part 160. subpart
 B are inapplicable to the Carrier with respect to the Plan.
          (<l) If the Carrit:r i~ an t:mployee organization that retain~ an undt:r"-"fllcr. thrn Lhe~e
 requirements also apply to the under-writer with respect to the Plan. If the Carrier for the plan
 authorized under 5 U.S.C. 8903(1)_ qualifies for limited application of the HHS Privacy Rule as a
 busine~s <l'.,'>llt:1ate. then the I IH~ Pri,·ac) Ruic rcquiremt:nb apply to the undern riling
 participating affiliates.

 SECTION 1.23
 HIPAA COMPLJANCE (JAN 1998)

  (al The Carrier shall comply with and shall take all steps reasonably necessary to ensure that its
affiliates_ subcontractor5. and agents comply with the guaranteed availabilit) pro' 1sions of the
Health Insurance Ponability and Accountability Act of 1996 (HIPAA) and 1mplemt:ming
regulations. "Guaranteed availability" means the Carrier, affiliates, subcontractors. and agents
do not engage in practices that: 1) decline to offer health insurance coverage (as defined in
section 2791 (b)(l) of the Public Health Service Act "the Act" ) to, or deny enrollment of an
eligible individual (as defined in section 274l(b) of the Act); or, 2) impose any preexisting
condition exclusion (as defined in section 2701(b)(l)(A) of the Act). with respect to such
coverage.
         (b) A State or Federal enforcement action as the result of noncompliance with the
requirements ofl-llPAA is a significant event under Section 1.10 of this contract. Notice of
Significant Events. If the Carrier, or any affiliate, subcontractor, or agent, is notified of any
enforcement action by any Federal or State authority with regard to HIPAA compliance, the
Carrier must notify OPM within ten working days oflearning of the action.

SECTION 1.24
NOTICE ON TERMINATION OF FEHBP OR PROVIDER CONTRACT (JAN 2003)

          (a) Members who are undergoing treatment for a chronic or disabling condition or who are
in the second or third trimester of pregnancy at the time a carrier terminates ( 1) its FEHBP contract.,
(2) the members' specialty provider contract, or (3) a Preferred Provider Organization (PPO) or
Point of Service (POS) network contract, for reasons other than cause, may be able to continue to
see their specialty provider for up to 90 days or through their postpartum care.
          (b) The Carrier shall notify its members in writing of its intent to tenninate its FEHBP
contract, the members' specialty provider contract, or a PPO or POS network contract, for reasons
other than cause, in order to allow sufficient time for the members to arrange for continued care
after the 90-day period or their postpartum care, whichever applies. The Carrier shall send the
required notice to the member if the Carrier has in its records an address for the member different
from the Enrollee's address; otherwise, the Carrier may send the notice to the Enrollee. The Carrier
shall send the notice in time to ensure it is received by the members no less than 90 days prior to the
date it tenninates the contract, unless the Carrier demonstrates it was prevented from doing so for



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 reasons beyond its control. The Carricr·s prompt notice will ensure that the notification period and
 the transitional care period run concurrently

 SECTION 1.25
 TRANSITIONAL CARE (JAN 2003)

          (a) "Transitional care·· is ;.pei.:ialized care provided for up to 90 days or through the
 postpartum period, whichever is later, to a member who is undergoing treatment for a chronic or
 disabling condition or who is in the second or third trimester of pregnancy when the Carrier
 terminates (I) its FEHBP contract.(~) the member·,. specialty provider contract, or (3) a
 Preferred Provider Organization (PPO) or Point of Service (POS) network contract for reasons
 other than cause. The 90-day period begins the earlier of the date the member receives the notice
 required under Section 1.24, J\iotice on Termination of FEHBP or Provider Contract, or the date
 the Carrier's or the provider"s contract ends.
         (b) The Carrier shall ensure the follo'' ing:
         (l) If it terminates a specialty provider contract or a PPO or POS network contract other
than for cause, it allows members who are undergoing treatment for a chronic or disabling
 condition or who are in the second or third trimester of pregnancy to continue treatment under
the speciaJty provider for up to 90 days, or through their postpartum period, whichever is later,
under the same terms and conditions that existed at the beginning of the transitional care period;
and
         (2) Ifit enrolls a new member who voluntarily changed carriers because the member's
former carrier was no longer available in the FEHB Program, it provides transitional care for the
member if he or she is undergoing treatment for a chronic or disabling condition or is in the
second or third trimester of pregnancy for up to 90 days, or through the postpartum period,
whichever is later, under the same terms and conditions the member had under the prior carrier.
         (c) In addition, the Carrier shaJl (1) pay for or provide the transitional care required under
this clause at no additionaJ cost to members;
         (2) require the specialty provider or network to promptly transfer all medical records to
the designated new provider during or upon completion of the transition period, as authorized by
the patient; and,
        (3) require the specialty provider or network to give all necessary information to the
Carrier for quality assurance purposes.

SECTION 1.26
STANDARDS FOR PHARMACY BENEFIT MANAGEMENT COMPANY (PBM)
ARRANGEMENTS (JAN 2012)

The Carrier will ensure and repo11 that the following standards are included in new, renewing or
amended contracts with vendors providing a retail pharmacy network and/or a mail order
pharmacy and/or a specialty pharmacy to Enrollees and Family Members (hereafter "PBM")
effective on or after January I, 2011. Notwithstanding the foregoing, the revisions to Section
l.26(a) in the January 2011 clause shall not take effect before the expiration of the Carrier's
current contract (including the exercise of an existing option to extend the term by not more than
one year at a time) but not later than January 2013. The PBM includes all entities that have a




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 majority ownership interest in or majority control over the PB!\11. The PB!\1 abo includes any
 other subsidiary of the entity that has majority ownership or control over the l'R\11.

This section does not apply to carrier-owned PBMs, which are already expected to adhere to the
FAR and FEHBAR standards and requirements, and the remaining provisions of this contract.

(a) Transparency Standards
           (I) The PBM is not majority-owned or majority-controlled by a pharmaceutical
 manufacturing company. The PBM must disclose to the CaJTier and OPM the name of any entity
 that has a majority O\'>'nership interest in or majority control owr the PH\1.
           (2) The PBM agrees to provide pass-through transparent pricing based on the PBM's cost
 for drngs (as described below) in which the Carrier receives the value of the PBM. s negotiated
 discounts, rebates, credits or other financial benefits.
               (i) The PBM shall charge the Carrier no more than the amount it pays the
                    pharmacies in its retail network for brand and generic drug'- plus a dispensing fee.
               (ii) The PBM shall charge the Carrier the cost of drugs at mail order pharmacies
               based on the actual cost. plus a dispensing fee. Costs shall not be based on industry
               benchmarks; for example, Average Acquisition Cost ~AAC) or Wholesale
               Acquisition Cost (WAC).
               (iii) The PBM, or any other entity that negotiates and collects Manufacturer Payments
               allocable to the Canier, agrees to credit to the Carrier either as a price reduction or by
               cash refund the value of all Manufacturer Payments properly allocated to the Carrier.
               Manufacturer Payments are any and all compensation. financial benefits, or
               remuneration the PBM receives from a pharmaceutical manufacturer, including but
               not limited to, discounts; credits; rebates, regardless ofhov. categorized: market share
               incentives, chargebacks, commissions. and administrative or management fees.
               Manufacturer payments also include any fees received for sales of utilization data to a
               pharmaceutical manufacturer.
         (3) The PBM must identify sources of profit to the Carrier and OPM as it relates to the
FEHB contract.
         (4) The PBM's administrative fees, such as dispensing fees, must be clearly identified to
retail claims, mail claims and clinical programs, if applicable. The PBM must agree to disclose
sources of each administrative fee to the Carrier and OPM.
          (5) The PBM, or any other entity that negotiates and collects Manufacturer Payments
allocable to the Plan, will provide the Carrier with quarterly and annual Manufacturer Payment
Reports identifying the following information. This information shall be presented for both the
total of all prescription drugs dispensed through the PBM, acting as a mail order pharmacy, and
its retail network and in the aggregate for the 25 brand name drugs that represent the greatest
cost to the Carrier or such number of brand name drugs that together represent 75% of the total
cost to the Carrier, whichever is the greater number:
          (i) the dollar amount of Total Product Revenue for the reporting period, with
         respect to the PBM's entire client base. Total Product Revenue is the PBM's
         net revenue which consists of sales of prescription drugs to clients, either
         through retail networks or PBM-owned or controlled mail order pharmacies.
         Net revenue is recognized at the prescription price negotiated with clients and
         associated administrative fees;



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           (ii) the dollar amount of total drug expenditures for the Plan:
           (iii)the dollar amount of all Manufacturer Payments earned hy the PBM for the repo11ing
                period;
           (iv) the Manufacturer Payments that have been (1) earned but not billed (2)
                billed and (3) paid to the PBM based on the drugs dispensed to the Plan members
                during the past year.
           (v) the percentage of all Manufacwrer Payrnems earned by the PBM for the
           reporting period that were Manufacturer Formulary Payments. which are
           payments the PBM receives from a manufacturer in return for formulary
           placement anclior accco,s. or pa~ ments that are characterized as ··formulary"· or
           "'base" rebates or payments pursuant to the PBM"s agreements with
           pharmaceutical manufacturers:
           (vi)the percentage of all Manufacturer Payments received by the PBM during the
           reporting period that were Manufacturer Additional Payments, which are all
           Manufacturer Payments other than Manufacturer Formulary Payments.
      (6) The PBM agrees to prO\idc the CaiTier, at least annually, with all financial and utilization
 information requested h) the Carrier relating to the provision of benefits to eligible Enrollees
 through the PBM and all financial and utilization information relating to ~ervices provided to the
 Carner.
      (7) The Carrier shall provide any information it receives from the PBM, including a copy of
 its contract with the PBM to OPM. A PBM providing information to a Carner under this
 subsection may designate that information as confidential commercial information. The Carrier
 in its contract with the PBM shall effectuate the PBM's consent to the disclosure of this
information to OPM. OPM shall treat such designated information as confidential under 5
C.F.R. § 294.112.
      (8) If the Ca!Tier's PBM arrangement is with an Underwriter rather than with the Carrier.
then all references to the Carrier and Plan appearing in this Section 1.26 shall be deemed to be
references to the Underwriter.
      (9) The Carrier will require that its PBM contractors:
          (i)       Provide infonnation to physicians, pharmacists, other health care professionals,
                    consumers, and payers about the factors that affect formulary system decisions,
                    including: cost containment measures; the procedures for obtaining non-formulary
                    drngs; and the importance of formulary compliance to improving quality of care
                    and restraining health care costs;
          (ii)      Provide consumer education that explains how fonnulary decisions are made and
                    the roles and responsibilities of the consumer; and
          (iii)     Disclose the existence offormularies and have copies of the current formulary
                    readily available and publicly accessible.
     (10) In accordance with FEHBAR 1652.204-74, FAR 52.215-2 and FEHBAR 1652.246-70,
all contracts and other documentation that support amounts charged to the Carrier contract are
fully disclosed to and auditable by the OPM Office oflnspector General (OPM OIG). The PBM
must provide the OPM OIG upon request all PBM records including, but not limited to:
               (i) All PBM contracts with Participating Pharmacies;
               (ii) All PBM contracts with Pharmaceutical Manufacturers;
               (iii)All PBM contracts with third parties purchasing or using claims data;
               (iv) All PBM transmittals in connection with sales of claims data to third parties; and



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                (v)   All PBM f\1axirnurn Allowable Cost (MAC) price    list~.


(b) Integrity Standard
The Carrier will require that its PBM contractors agree to adopt and adhere to a code of ethics
promulgated by a national professional association, such as the Code of Ethics of the American
Pharmacists Association (dated October 27, 1994), for their employed pharmacists.

(c) Performance Standards
The Carrier will require that its PBM contractors develop and apply a quality assurance program
specif~ ing procedures for ensuring contract qual it) on the follm1 ing :-,tand~1rcb at a minimum and
submit reports to the Carrier on their performance. PBMs must meet. at mmimum, the member
inquiry. telephone customer service, paper claims processing. and other applicable standards set
for Carriers at Section I. 9(f)( I), (2), (5), (7 ), and ( 11 ). All other standards discussed below will
have specific target goals the PBM is expected to achieve. Carriers may permit PBMs to
measure compliance using statistically valid samples for the PB\1s hook of business. Agreed to
standards shall be provided to OPM for its review and comment. Ir OPM has concerns about a
pa11icular standard. the Carrier agrees to present OPM"s concerns to the PBM and either revise
the standard as requested by OPM or revise the standard to the extent fea:,ible and present to
OPM information demonstrating the problems associated with making the requested revisions in
full.

    (1) Retail Pharmacy Standards

       (i)            Point of Service (POS) system response time. The PBM's network electronic
                      transaction system provides rapid response to network pharmacies.
      (ii)            POS system availability. The PBM's network electronic transaction system
                      generally is available to, and accessible by, network pharmacies.
        (iii)         Licensing- The PBM verifies the appropriate licensing of its
                      network pharmacies.

   (2) Mail Service Pharmacy Standards

       (i)            Dispensing accuracy - The PBM dispenses its prescriptions to the correct patient
                      and for the correct drug, drug strength and dosage in accordance with the
                      physician's prescription not less than 99.9% of the time.
       (ii)           Turnaround time - The PBM promptly dispenses and ships at least 98% on
                      average of all prescriptions not requiring intervention or clarification within 3
                      business days or meets an equivalent measure approved by OPM.

   (3) Prior Approval - if applicable - The PBM promptly reviews and responds to requests for
       prior approval for specific drugs following receipt of all required information.

   (4) Quality of Drug Therapy - The quality assurance program implemented by a Carrier's
   PBM contractor must include a process to measure the quality of its drug therapy provided to
   Enrollees. Specific areas to be addressed include achievement of quality targets measured by
   both internal and external metrics; identification and appropriate use of best practices; and



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    application of evidcncc-ha~cd medicine. as appropriate.

    (d) Alternative Drug Options
    The Carrier will require that its PBM contractors, at a minimum, utilize the following
    protocols for PBM initiated drug interchanges (any change from the original prescription)
    other than generic substitutions:

        (i)      The PBM must treat the prescribing physician, and not itself, as the ultimate
                 decision-maker. Furthermore. to the extent appropriate under the circumstances.
                 the PB!VI must alkl\\ the patient input into that decision-making process. At a
                 minimum. the P8M must provide the patient with a written notice in the package
                 sent to the patient that the drug interchange has occurred with the aporoval of the
                 Prescriber.
        (ii)     The PBM will obtain authorization for a drug interchange only with the
                 express. \erifiahle authorization from the Prescriber as communicated
                directly by the Prescriber. in writing or verbally. or by a licensed medical
                professional or other physician· s otlice staff member as authorized by the
                 Prescriber.
        (iii)   The PBM must memorialize in appropriate detail all conversations with
                patients and physicians in connection with drug interchanging requests,
                including the identity of the contact person at the physician's office and
                the basis for his or her authority.
        (iv)    The PBM will only interchange a patient's drug from a lower priced drug
                to a higher priced drug to patient or Plan when authorized by the Carrier or
                the Plan.
       (v)      The PBM will permit pharmacists to express their professional judgment to both
                the PBM and physicians on the impact of drug interchanges and to answer
                physicians' questions about dosing. PBMs will not require pharmacists to, and
                will not penalize pharmacists for refusing to, initiate calls to physicians for drug
                interchanges that in their professional judgment should not be made.
       (vi)     The PBM will offer to disclose, and if requested, will disclose to
                physicians, the Carrier, and patients (i) the reason(s) why it is suggesting a
                drug interchange and (ii) how the interchange will affect the PBM, the
                Plan, and the patients financially.

(e) Patient Safety Standard - The Carrier will require that its PBM contractors establish drug
utilization management, formulary process and procedures that have distinct systems for
identifying and rectifying consumer safety issues including:
         (i)   A system for identifying and communicating drug and consumer safety issues at
                point-of-service; and
         (ii)   A system of drug utilization management tools, such as prospective and
               concurrent drug utilization management that identifies situations which may
               compromise the safety of the consumer.

(f) Safety and Accessibility for Consumers - The Carrier will require that its PBM contractors
meet the following standards related to pharmacy network management and consumer access to
medications.


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     ( 1) The Carrier will require that its PBM contractor define the ~cope of it~ ~en ice~ with
 respect to:
          (i)   The distribution channels offered (e.g. pharmacy network, mail order pharmacies,
                or specialty pharmacies);
          (ii)  The types of pharmacy services offered within each distribution channel; and
          (iii) The geographic area !>erved by each distribution channel.

   (2) The Carrier will require that for each distribution channel provided by its PBM
comractor. the PB\1 contractor:
       (i)     Establishes criteria and measures actual performance 111 comparison to those
               criteria: and
       (ii)    Makes improvements where necessary to maintain the pharmacy network and
               meet contractual requirements.

(3) The Carrier will require that its PBM contractor establish a qua I it~ and !>afcty mechanism for
each distribution channel in order to identify and address concern~ related to:
        (i)     Quality and safety of drug distribution; and
       (ii)     Quality of service

   (g) Contract Terms - The contract between the PBM and the Carrier must not exceed 3 years
without re-competition unless the Contracting Officer approves an exception. The Carrier's
PBM contract must allow for termination based on a material breach of any terms and conditions
stated in the Carrier's PBM contract. The Carrier must provide sufficient written notice of the
material breach to the PBM and the PBM must be given adequate time to respond and cure the
material breach.


SECTION 1.27
DISCLOSURE NOTICE UNDER P.L. 108-173 (MEDICARE MODERNIZATION ACT OF
2003) (JAN 2006)

       The Carrier will issue, as part of its FEHB benefits brochure, a disclosure notice
concerning creditable prescription drug coverage in accordance with the regulation at 42 CFR
§423.56 issued by the Department of Health and Human Services.

SECTION 1.28
CARRIER DISASTER RECOVERY PLAN (JAN 2007)

The Carrier must implement a disaster recovery plan that addresses flexibility for the following:
      (a) Medical and pharmacy procedures and requirements
      (b) Barriers to accessing needed health care;
      (c) Requests for out-of-network medical services;
      (d) Alternatives for medical pre-certification, referrals, medical necessity review and
          notification of hospital admissions;
      (e) Accessing other PCPs or specialists;



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        (f)   Pharmac~ re~trict1on~.  refills. additiomt! supplies of medications as hackup:
        (g) Mail-order pham1ac':
        (h) Adhering to recommendations for vaccinations from the Center for Disease Control;
        (i) Claims payments;
        U) Crisis toll free hotline:
        (k) Ability to identify c1ment members;
        (I) Recovery procedure:, fur critical bw,ine~s functions (i.e., system, network,
            communication. v- ork area recovery); and
        (m)Secure backup site (hot/cold). A "hot work site" is a designated location to be used in
            thee' cnt of a di~a~tcr that is fully prepared for continuation of work to v- hi ch the
            employees can go. A ··cold work site .. is a designated location to use in the event of a
            disaster that is not full) prepared for continuation of work to which the employees
            can go.

The Carrier must prO\ idc OP\!! '' ith the followmg information:
      (a) description of it~ disaster recovery plan;
      (b) the carrier·s current state of readiness and the frequency of evaluations;
      (c) the carrier's work with its subcontractor on this issue;
      (d) a timeline; and
      (e) any potential problem areas.

The Carrier may implement its own additional measures.

Carriers must submit this information by January 1, 2007. Carriers who enter the FEHBP
subsequent to 2007. must submit this information by January I st of their first FEHBP contract
year. Any material change~ to the disaster recovery plan. such as a prime disaster recovery
subcontract change or a hot site change, should be reported to OPM.

SECTION 1.29
HEALTH INFORMATION TECHNOLOGY REQUIREMENTS (JAN 2011)

        (a) The Carrier agrees that as it implements, acquires, or upgrades health infonnation
technology systems, it shall utilize, where available, certified health information technology
systems and products that meet interoperability standards recognized by the Secretary of Health
and Human Services, as existing on the date of the implementation, acquisition, or upgrade of
health information technology systems ("Interoperability Standards"). Interoperability standards
include those standards adopted by the Secretary to promote meaningful use of health
information technology in accordance with Public Law 11 I -5, The Health lnfonnation
Technology for Economic and Clinical Health Act (HITECH Act).
        (b) The Carrier agrees that such health information technology systems will have already
been pilot tested in a variety of live settings and refined, if needed, before the Carrier will
consider them for implementation.
        (c) The Carrier agrees that as its provider agreements are established or renewed, it will
encourage contracted providers to comply with applicable Interoperability Standards and to
demonstrate meaningful use of health information technology in accordance with the HITECH
ACT.



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 SECTION 1.30
 HEALTH INFORMATIO!\ TECHNOLOGY PRJVACY AJ\D Sl:ClRITY (JAN 2012)

          (a) Any Ca1Tier subcontractor, large provider, or vendor. that administers a personal
health record or quality and cost or price transparency software applications for Members that
c.:ollect, create. receive, store or transmit individually identiliabk prnt..:ct..:J health informauon of
Members that does not qualify as a covered entity or businc5s a~sociate under the Health
Insurance Portability and Accountability Act of 1996 (HIPAA) or regulations will be required by
the Carrier to. at a minimum. comply with equi\·alent pri\ac: and ~ernrit: pulicie~ a:- art.:
required of a .. covered entity"' under the HIPAA Privacy and Security regulations.
          (b) The Carrier will provide for consumer transparency including. but not limited to. the
posting of the subcontractor's, large provider·s, or vendor·s notice of privacy practices
prominently at the point where the Member enters the subcontractor·::.. large provider·s, vendor's
or other entity·s vvebsite or web portal.
          (c) Notices of privacy practices disclosures must describe the uses of mdiv i<lually
identifiable protected health info1111ation and any potential disclosure to other entities a5
described in the HIPAA Privacy Rule.

SECTION 1.31
DEFINITION AND SCOPE OF INFORMATION SECURITY (.JAN 2012)

      (a) As indicated in FAR Subpart 2.1, information security means protecting OPM
information and information systems from unauthorized access, use, disclosure, disruption,
modification. or destruction in order to provide -
      1. Integrity. which means guarding against improper information modification or
destruction, and includes ensuring information nonrepudiation and authenticity; or destruction.
      2. Confidentiality, which means preserving authorized restrictions on access and disclosure,
including means for protecting personal privacy and proprietary information; and
      3. Availability, which means ensuring timely and reliable access to, and use of,
information.
       (b) This Contract grants the Carrier access to OPM's Letter of Credit (LOC) System. The
Carrier recognizes its responsibility to help maintain the information security ofOPM's LOC
System. Section 1.31 through 1.35 inclusive and Section 5.67 and 5.68 pertain exclusively to
such limited access to OPM's LOC System.

SECTION 1.32
CARRIER PERSONNEL ACCESS DETERMINATION REQUIREMENTS (JAN 2012)

       (a) Carrier personnel who receive a user identification and password to access OPM's LOC
System shall comply with the U.S. Office of Management and Budget (OMB) Memorandum M-
05-24, referenced in paragraph (a) of FAR 52.204-9, Personal Identity Verification of Contractor
Personnel, which is available on-line at
http://www.whitehouse.gov/omb/memoranda/fy2005/m05-24.pdf.
       (b) Homeland Security Presidential Directive (HSPD) 12 requires the Government to
institute standards for secure and reliable identification of employees and contractors accessing



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Federal facilities. OP\,1 lw, determined that a l\Jational Agency Check \.\ith Written Inquiries
(NACI) is required for Carrier cmrlovec~ with access to OPM"s I.OC Sy~tem. The CaJTier must
obtain these acces5 detenrnnations for its employees with access to OPM · s LOC System using
the e-QIP system. The NACI will be requested on a Standard Form (SF) 85, "Questionnaire for
Non-Sensitive Positions."· OPM will not allow Carrier employees who have not completed the
NACI process in any of its facilities, pursuant to applicable security policies.
       (c) Carriers mu:.L med fa1.:ilit) and acce::.::. clearance requirement::..
       (d) Carriers are responsible for the security, integrity and appropriate authorized use of
their systems interfacing with OPM's LOC System. OPM. through its Contracting Officer. may
require the use or 111odilirnuon or~.:'curit~ anclior secure communications technologies related to
Government systems acce>s and use.
      (e) OPM. at its discretion. may suspend or terminate the CmTier·s access to and/or use of
OPM"s LOC System when a security or other electronic access, use or misuse issue gives cause
for such action. The suspension or termination may last until such time as the Government
dete1111ines that the "ituation ha~ heen corrected or no longer existC>.

SECTION 1.33
INFORMA TIO!'< "l EU-li\OLOGY SYSTEMS SECuRITY (JULY 2011)

            Carriers must comply with OPM IT Security and Privacy, NIST and OMB
requirements for system users. System users are Carrier employees with a user identification and
password to access OPM·s LOCS. Based upon the Federal Information Processing Standards
Publication 199 (FIPS PUB 199). the Government has determined that a minimum level, applies
to the sensitivity of the data contained in OPM's LOC System and a minimum level, applies to
the operational criticality of the data processing capabilities ofOPM's LOC System. (Note:
FIPS PUB 199 is accessible on line at: http://csrc.nist.gov/publications/fips/fips I 99/FIPS-PUB-
199-final.pdf)
            In order to access the OPM LOC System, the Carriers must demonstrate that they
comply with the end-user security requirements in the Federal Information Security Management
Act of2002 (FISMA, Public Law 107-347, 44 U.S.C. 3531-3536); Office ofManagement and
Budget (OMB) Circular A-130, Appendix III, "Security of Federal Automated Information
Systems" and an acknowledgement of their understanding of the security requirements in the
contract. (Note: OMB Circular A-130, Appendix III is accessible on line at:
http://www.whitehouse.gov/omb/circulars/a I 30/appendix iii .pdf.)

SECTION 1.34
CARRIER ACCESS TO OPM IT SYSTEMS (JAN 201 I)

      Each Carrier employee is required to utilize individual identification and authorization to
access the OPM LOC System. Using shared accounts to access the OPM LOC System is strictly
prohibited. OPM will disable accounts and access to the OPM LOC System will be revoked and
denied if carriers share accounts. Users of the OPM LOC System will be subject to periodic
auditing to ensure compliance to OPM Security and Privacy Policy. In addition, Carriers are
required to comply with the following NIST 800-53 security controls to include at a minimum:
Access Control (AC) - Controls falling under the AC category ensure that proper restrictions are
in place to limit access to authorized users with a need to know.



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       (I J l'nivide to tll.: OP\11 ettcr or Credit (LOCJ Sy5tem 5'ccurit) Olfa:cr li~tcd in OP:Vl"s
 "Letter of Credit Drawdown System User Manual For Experience Rated Carriers'" - Contacts for
 Questions and Problem Resolution, an initial and complete list of employees· names that require
 access to OPM's LOC System;
               (2) By the fifth day of each month thereafter, send a staffing change report to the
 Contracung Officer·~ Representative. contract administrator and LOl !:lecurity Officer. The
 report mu~t contain the listing of all staff members with an LOC System u~er identification and
 password who left employment or were hired under this contract in the past 60 days. This form
 must be >t1hmined even if no ~cparmion ha, occurred during thi, period. failure to ~ubmit a
 'Contractor Staffing Change Repon· each month will result in the ~uspension~ of all user IDs
 associated with this contract: and
              (3) Anyone who accesses the OPM LOC System must complete orM·s IT Security
 and Privacy Awareness Training (ITPSA) annually and upon the initial access. This requirement
 applies to all Carriers.

 SECTION 1.35
 PROCEDl1RES FOR REPORTING A LETTER OF CREDIT SYSTEM SECURITY BREACH
 (JAN 2013)

             (a) A breach of data, system access, etc. includes loss of control, compromise,
 unauthorized disclosure, unauthorized acquisition, or unauthorized access of information
 whether physical or electronic. As an agency, OPM is required to immediately report all
 potential security and data breaches -- whether they involve paper documents or electronic
 information. ln order to meet this responsibility, OPM has established a new internal procedure
 for reporting the loss or possible compromise of any data, and this clause conforms to that
 procedure.
             (b) OPM Carriers must report any breach or potential breach to the OPM Situation
 Room and the Contracting Officer within 30 minutes of becoming aware of the risk- regardless
 of the time or day of the week. Breaches should be reported, even if it is believed the breach is
 limited, small, or insignificant. OPM's IT security experts, who will determine when a breach
 needs additional focus and attention. The OPM Situation Room is available 24 hours per day,
 365 days per year. Report the breach to the OPM Situation Room and the Contracting Officer
 either by phone or by e-mail; however, be sure NOT to include Pll in the e-mail.
             (I) OPM Carriers must report a breach or potential security breach to the OPM
 Situation Room at: sitroom@opm.gov, (202) 418-0111, Fax (202) 606-0624.
             (2) When notifying the Situation Room, please copy the Contracting Officer.
             (3) To get help with WinZip, please contact the OPM Help Desk at:
 helpdesk@.opm.gov, (202) 606-4927, TTY (202) 606-1295.
             (4) If you have questions regarding these procedures, contact the Contracting Officer.




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 SECTION 2.1
 ENROLLMENT ELIGIBILITY AND EVIDENCE OF ENROLLMENT (JAN 2012)

        (a) Lnrullmt'.nl.
        (1) Each eligible individual who wishes to be enrolled in the plan offered by this Carrier
shall. as a prerequisite to such enrollment. complete a Health Benefits Election Form. or use an
electronic or tdephonic method appron:d by OPM. \\ ithin the time and under the conditions
specified in 5 CFR Part 890. The personnel otlice having cognizance over the Enrollee shall
 promptly furnish notification of such election to the Carrier.
         (2) A person's eligibility for coverage, effective date of enrollment. the level of benefits
(option), the effective date of termination or cancellation of a person's coverage, the date any
extension ofa person's CO\erage ceases, and any continuance of benefits be~ond a period of
enrollment and the date any such continuance ceases. shall all be determined in accordance with
regulations or directions of OPM given pursuant to chapter 89. title 5. United States Code.
         (b) Special Limitations With Regard To Employee Organizations.
         (I) A plan sponsored by an employee organization as defined by the Act, is available
only to eligible employees, Tribal Employees, annuitants, fom1er spouses, and former employees
and eligible members of their families who must be or must become members of the sponsoring
organization to enroll in the Plan.
         (2) Employees or Tribal Employees with membership status in an employee organization
at the time they become annuitants may retain their membership in the organization and, if
eligible. continue their enrollment in the Plan. Survivor annuitants of Enrollees in the Plan may
continue their enrollment in the Plan without becoming members of the sponsoring employee
organization.
         (c) The Carrier shall issue evidence of the Enrollee's coverage and furnish to the Enrollee
copies of any forms necessary to make claim for benefits.

SECTION 2.2
BENEFITS PROVIDED (JAN 2009)

         (a) The Carrier shall provide the benefits as described in the agreed upon brochure text
found in Appendix A.
        (b) In addition to providing benefits in accordance with (a) above, the Carrier shall be
authorized to modify them as follows:
        (I) To permit methods of treatment not expressly provided for, but not prohibited by law,
rule or Federal policy, if otherwise contractually appropriate, and if such treatment is medically
necessary and is as cost effective as providing benefits to which the Member may otherwise be
entitled.
        (2) To pay for or provide a health service or supply in an individual case which does not
come within the specific benefit provisions of the contract, if the Carrier determines the benefit is
within the intent of the contract, and the Carrier determines that the provision of such benefit is
in the best interests of the Federal Employees Health Benefits Program.



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          (3) To offer in individual cases. a tier consultation \\ ilh and concurrence by the Member
 and pro,·ider(s). a benefit altcrnati\e nnt nrdinaril~ cmcrl'cl under this contract \\hich will result
  in equally effective medical treatment at no greater benefit cost. An alternative benefit will be
 made available for a limited time period and is subject to the Carrier·s ongoing review.
 Members must cooperate with the Carrier's review process.
          (c)The decision to offer. deny, or withdraw coverage for a modified benefit provided in
 accordance v..ith (b) above is ~olely within the Carrie1-'::. <li:.cretion (unle::.::. the Carrier an<l
 Member have entered into an alternative benefits agreement that expressly modifies this
 authority). and is not su~ject to OPM review under the disputed claims process.
            (d) In eal'h c.:a>e when the Carrier proYide~ a non-cm cred kncfit in accordance with
 the authority of (b) above. the Carrier shall document in writing prior to the provision of such
 benefit the reasons and justification for its determination. The \\Ti ting may be in the form of an
 alternative benefit agreement with the Member. Such payment or provision of services or
 supplies while a valid charge under the contract shall not be considered to be a precedent in the
 disposition of ,imilar cases or extensions in the same case he) tmd the approved period.
         (e) Except as provided for in (b) above. the Carrier shall pn)\.ide benefits for services or
 supplies in accordance with Appendix A.
         (J) The CruTier, subject to (g) below, shall detem1ine whether in its judgment a service or
 supply is medically necessary or payable under this contract.
         (g) The Carrier agrees to pay for or provide a health service or supply in an individual
 case ifOPM finds that the Member is entitled thereto under the terms of the contract.
         (h) (I) Notwithstanding (b) and (e) above, in accordance with Section 504 of the
Rehabilitation Act of 1973, 29 U.S.C. § 794, and 5 C.F.R. § 723.130(d), in the case ofa
Member who is a qualified individual with a h3.11dicap, the Canier shall pay for or
provide a covered health service or supply in the most integrated setting appropriate to
the Member·s needs. when required hy OPM following OPM consultation with the
Canier, pursuant to pru-agraph 2.2(g), above.
         (2) An OPM requirement under (h)(I) is subject to ongoing review by OPM and
the Carrier. Members must cooperate with the review process. If, in the Carrier's
judgment, the conditions for the OPM requirement are no longer satisfied, the Carrier
may request that OPM modify or terminate the requirement. OPM's decision to modify or
terminate a requirement shall be subject to judicial review.

SECTION 2.3
PAYMENT OF BENEFITS AND PROVISION OF SERVICES AND SUPPLIES (JAN 2013)

        (a) By enrolling or accepting services under this contract, Members are obligated to all
terms, conditions, and provisions of this contract. The Carrier may request Members to complete
reasonable forms or provide information which the Canier may reasonably request, provided,
however, that the Carrier shall not require Members to complete any form as a precondition of
receiving benefits unless the form has first been approved for use by OPM. Notwithstanding
Section 2.9, Claims Processing, forms requiring specific approval do not include claim forms
and other forms necessary to receive payment of individual claims.
        (b) All benefits shall be paid (with appropriate documentation of payment) widiin a
reasonable time after receipt of reasonable proof covering the occurrence, character, and extent
of the event for which the claim is made. The claimant shall furnish satisfactory evidence that all


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  sen· ice~ or supplies for'' hich e:-;penses are claimed are con:recl ~cr\'ices or ~upplies within the
  meaning of the comract.
           (c) The procedures and time period for filing claims :,hall be a~ specified in the agreed
  upon brochure text (Appendix A). However, failure to file a claim within the time required shall
  not in itself invalidate or reduce any claim where timely filing was prevented by administrative
  operations of Government or legal incapacitation, provided the claim was submitted as soon as
  rea:.onably po:.:.ible.
           (d) The Carrier may request a Member to submit to one or more medical examinations to
  determine whether benefits applied for are for services and supplies necessary for the diagnosis
  or treatment of an illnc·~~ or in.JLll') or cO\ered condition oftht' i\frmber and may \\ilhhold
 paymem of such benefits pending completion of the examinaiions. The examinations shall be
  made at the expense of the Carrier by a physician selected by the Member from a panel of at
 least three physicians whose names are furnished by the Carrier, and the results of the
 examinations shall be made available to the Carrier and the Member.
           (e) :\~a condi1ion precedent to the pro\'ision of benefits hereunder. the Carrier. to the
 extent reasonable and necessary and consistent \vith Federal law. shall be entitled to obtain from
 any person. Tribal Employer. organization or agency. including 1he Ofiice of Personnel
 Managemem, all information and records relating to visits or examination o1~ or treatment
 rendered or supplies furnished to, a Member as the Carrier requires in the administration of such
 benefits. The Carrier may obtain from any insurance company or other organization or person
 any infonnation. with respect to any Member, which it has determined is reasonably necessary
 to:
          (1) identify enrollment in a plan,
          (2) verify eligibility for payment of a claim for health benefits, and
          (3) carry out the provisions of the contract. such as subrogation. recovery of payments
 made in error. workers compensation. and coordination of benefits.
          (f) Benefits are payable to the Enrollee in the Plan or his or her assignees. However,
 under the following circumstances different payment arrangements are allowed:
          (1) Reimbursement Payments for the Enrollee. If benefits become payable to the estate
of an Enrollee or an Enrollee is a minor, or an Enrollee is physically or mentally not competent
to give a valid release, the Carrier may either pay such benefits directly to a hospital or other
provider of services or pay such benefits to any relative by blood or connection by marriage of
the Enrollee determined by the Carrier to be equitably entitled thereto.
          (2) Reimbursement Payments for a minor child. If a child is covered as a Family
Member under the Enrollee's self and family enrollment and is in the custody of a person other
than the Enrollee, and ifthat other person certifies to the Carrier that he or she has custody of and
financial responsibility for the child, then the Carrier may issue an identification card for the
child(ren) to that person and may reimburse that person for any covered medical service or
supply.
         (3) Reimbursement Payments to family members covered under the Enrollee's self and
family enrollment. If a covered child is legally responsible, or if a covered spouse is legally
separated, and if the covered person does not reside with the Enrollee and certifies such
conditions to the Carrier, then the Carrier may issue an identification card to the person and may
reimburse that person for any covered medical service or supply. In the case of a legally
separated spouse, the Carrier may also furnish the explanation of benefits to the spouse when
determined by the Carrier to be required.


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          (4) Reimbursement pa~ments to Government program<;. ~uch as Meclicaicl. If Federal
 la\1- rrm·icles that rcimhur~ement i~ pa~·able in a (im·ernment 11nigram under coordination of
 benefits or similar rules. in lieu of being payable to the Enrollee or other covered person, the
Carrier may reimburse the other Government program for any covered medical service or supply.
To the degree that the Carrier is able to identify Medicaid beneficiaries. the Carrier will process
claims directly to the provider of service or reimburse the Medicaid agency if the Medicaid
agency has aln:::ady paid the provider and i:> 5eeking reirnbur5t::m1.:nt. When thi5 ~nuation is
identified, the Carrier will update the member's records to ensure proper adjudication of claims.
          (5) Compliance with the HIPAA Privacy Rule. The Carrier may pay benefits to a
co\ered per:-.on other than the Enrollee ''hen in the e:-..crci5c uf ib di'->crction the Carrier clecide5
that such action is necessary to comply with the HIPAA Privacy Rule, 45 C.F.R. 9164.500 fil
~-
           (6) Any payments made in good faith in accordance with paragraphs (f)(l) through (f)(5)
  shall fully discharge the Carrier to the extent of such payment.
           (g) Erroneou.1 Puynu:n/1. It is the Carrier·s responsihilit) to proacti,·el) identif)
 overpayments through comprehensive. statisticall) \.alid revie""s and a robust internal control
 program. If the CaJTier detern1ines that a Member's claim has been paid in error for any reason
 (except in the case of fraud or abuse), the Carner ::.hall mahe a prompt and diligent effort to
  recover the erroneous payment to the member from the member or, if to the provider, from the
 provider. The recovery of any overpayment must be treated as an erroneous benefit payment,
 overpayment, or duplicate payment under 48 C.F.R. § J63 J.201-70(h) regardless of any time
 period limitations in the written agreement with the provider. The Can-ier shall follow general
 business practices and procedures in collecting debts owed under the Federal Employees Health
 Benefits Program. Prompt and diligent effort to recover erroneous payments means that upon
 discovering that an erroneous payment exists. the Carrier shall--
           (!) Send a written notice of en·oneous payment to the member or provider that provides:
 (A) an explanation of when and how the erroneous payment occurred, (B) when applicable, cite
 the appropriate contractual benefit provision, (C) the exact identifying information (i.e., dollar
 amount paid erroneously, date paid, check number, date of service and provider name), (D) a
 request for payment of the debt in full, and (E) an explanation of what may occur should the debt
not be paid, including possible offset to future benefits. The notice may also offer an installment
option. In addition, the Carrier shall provide the debtor with an opportunity to dispute the
existence and amount of the debt before proceeding with collection activities;
          (2) After confirming that the debt does exist and in the appropriate amount, send follow-
up notices to the member or the provider at 30, 60 and 90 day intervals, ifthe debt remains
unpaid and undisputed;
          (3) The Carrier may off-set future benefits payable to the member or to a provider on
behalf of the member to satisfy a debt due under the FEHBP ifthe debt remains unpaid and
undisputed for 120 days after the first notice;
          (4) After applying the first three steps, refer cases when it is cost effective to do so
to a collection attorney or a collection agency if the debt is not recovered; provided,
however, that the carrier may not commence an overpayment recovery lawsuit later than
December 31 of the third year after the year in which the overpayment was discovered by
the carrier (except in cases where the False Claims Act, 31 U.S.C § 3729, or another federal
limitations period applies);
          (5) Make prompt and diligent effort to recover erroneous payments until the debt is paid
in full or determined to be uncollectible by the Carrier because it is no longer cost effective to
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   pursue funher collcct1on cffom or it 11ould be again'>! equi1: and good conscience lO continue
  collection effons;
            (6) Additional prompt and diligent effort is required for significant claim overpayments
  that exceed$ I 0,000 per each claim. Examples of such efforts include copies of dated notices.
  offset attempt(s) made. certified letter communication(s), and third party collection efforts to the
  extent required unuer (g)(4) above. The Carrier should maintain and provide to OPM Ltpon
  reque5t, documentation of those efforts.
           (7) Susrend recovery efforts for a debt which is based upon a retroactive disenrollment
  tha1 ha5 been appealed under 5 c.r.R. ~ 890. I 0-1 or a claim that has been appealed as a di~puted
  claim under Section 2.8. until the appeal has been resolved:
           (8)(i) The Carrier may charge the contract for benefit payments made erroneously but in
  good faith provided that it can document that it made a prompt and diligent effort to recover
  erroneous payments as described above.
          Iii) NL)twithstanding (g)(8)(i). the Carrier may not charge the contract for the
  administrative cost~ to correct erroneous benetit payments (or to correct processes or procedures
  that caused erroneous benefit payments) when the errors are egregious or repeated. These costs
  are deemed tn be unrea~nnablc and unallowable under section 3.2(b)(2)(ii):
           (9) Maintain records that document individual unrecovered erroneous payment collection
  activities for audit or future reference.
           (I 0) IfOPM determines that a Member's claim has been paid in error for any reason
  (except fraud and abuse), the Carrier shall make a prompt and diligent effort to recover the
 erroneous payment to the member from the member or, if to the provider, from the provider as
 specified in (g)( I) through (9).
           ( 11) At the request of OPM, the Carrier shall provide evidence that if has taken the steps
 enumerated above in this subsection to promptly recover erroneous payments, including but not
  limited to overpayments related to Medicare coordination of benefits. OPM will review the
 Carrier's claims payments and procedures to validate the Carrier's prompt and diligent effort.
 The Contracting Officer may require the Carrier to establish and submit to the Contracting
 Officer a written corrective action plan.
          (12) In compliance with the provisions of the Contract Disputes Act, the Carrier shall
 return to the Program an amount equal to the uncollected erroneous payment where the
 Contracting Officer determines that (a) the Carrier's failure to appropriately apply its operating
 procedure caused the erroneous payment and (b) that the Carrier failed to make a prompt and
 diligent effort to recover an erroneous payment.
          (h) Erroneous payment recoveries may be reduced by any legal or collection agency fees
 expended to obtain the recoveries and which are not otherwise payable under this experience-rated
 contract. The amount credited to the contract shall be the net amount remaining after deducting the
 related legal or collection agency fees.
          (i) All health benefit refunds and recoveries, including erroneous payment recoveries, must be
 deposited into the working capital or investment account within 30 days and returned to or accounted
 for in the FEHBP letter of credit account within 60 days after receipt by the Carrier.
          (j) Notwithstanding subsection (f), the Carrier reserves the right to pay the Member
 directly for all covered services described in the agreed upon brochure text attached as Appendix
 A.


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        (a) .'\ \1cmbcr'5 CO\'erage i~ terminated a~ ~pcc1ficd in regulations issued b) the OP\1.
 Benefits after termination of coverage are as specified in the regulations.
        (b) A Member is entitled to a temporary continuation of coverage or an extension of
coverage under the conditions and to the extent specified in the regulations.
        (c) A Member whose coverage hereunder has terminated is entitled, upon application
within the times and under the condition~ specified in regulation~, to a non-group contract
regularly offered for the purpose of conversion from the contract or similar contracts. The
conversion contract shall be in compliance with 5 U.S.C .. chapter 89. and regulations issued
thereunder.
        (cl) Costs associated with writing or providing benefits under conversion contracts shall
not be an allowable cost of this contract.
        (e) The Carrier shall maintain on file with OPM copies of the conversion policies offered
to persons whose coverage under this contract terminates and advise OPM promptly of any
changes in the policies. The Contracting Officer 1m1) \\ ai\'c thi~ requirement where because of
the large number of different conversion pol ic1es offered h) the Carrier it would he impractical
to maintain a complete up-to-date file of all policies. In this case the Carrier shall submit a
representative sample of the general types of policies oftered and provide copies of specific
policies on demand.

SECTION 2.5
SUBROGATION (JAN 2006)

        (a) The Carrier's subrogation rights, procedures and policies, including recovery rights,
for payments with respect to benefits shall be in accordance with the provisions of the agreed
upon brochure text. which is incorporated in this Contract in Appendix A. As the member is
obligated by Section 2.3(a) to comply with the terms of this Contract, the Carrier, in its
discretion, shall have the right to file suit in federal court in order to enforce those rights.
        (b) Subrogation recoveries may be reduced by any legal fees expended to obtain the
recoveries and which are not otherwise payable under this experience-rated contract. The
amount credited to the contract shall be the net amount remaining after deducting the related
legal fees.

SECTION 2.6
COORDINATION OF BENEFITS (JAN 2001) (FEHBAR 1652.204-71)

          (a) The Carrier shall coordinate the payment of benefits under this contract with the
payment of benefits under Medicare, other group health benefits coverages, and the payment of
medical and hospital costs under no-fault or other automobile insurance that pays benefits
without regard to fault.
         (b) The Carrier shall not pay benefits under this contract until it has determined whether
it is the primary carrier or unless permitted to do so by the Contracting Officer.
         (c) In coordinating benefits between plans, the Carrier shall follow the order of
precedence established by the NAIC Group Coordination of Benefits Model Regulation, Rules
for Coordination of Benefits, as specified by OPM.
         (d) Where (1) the Carrier makes payments under this contract which are subject to COB
provisions; (2) the payments are erroneous, not in accordance with the terms of the contract, or in

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 exces~ of the limitations applicable under this contract: and{)) the C':llTicr i5 unable to rcco\·c1·
 such COB owrpa~ rnent' from the _l\1ember or the pnn idcr~ 01· ~en ices or supplies. the
 Contracting Officer may allow such amounts to be charged to the contract; the Carrier must be
 prepared to demonstrate that it has made a diligent effort to recover such COB overpayments.
           (e) COB savings shall be reported by experience-rated carriers each year along with the
 Carrier's annual accounting statement in a form specified by OPM.
           (i) Changl!~ in the order of precedence establisheJ b) the i\AIC Group Coonlination or
 Benefits Model Regulation, Rules for Coordination of Benefits. implemented after January I of
 any given year shall be required no earlier than the beginning of the following contract term.
    f.\D7L· In the <'1'1!171 that heni:fi1s un! /)(l_rnhle 10 thi: \/emher under 110-fwt!t lllt/Omohile
    insurunce. the no:fuuli aulomobile insurer shall be the Prmwry Carrier !fit is obligated
    li!ga/(1• to P'tf benefits for health care expense.1 ll'ithow regard to other health henefit.\'
    coverage that /he Member may have. The lerm "no:fault automobile insurance" includes
    any automobile insurance policy under which the imurer pay.1 henefitsfor health care
    expe11.1e.1 rn11lti11gfrmn the accidem 11 t1/11mt regard tn i1-/1ether the insured\ conduct
    contributed fl! the accident J

SECTION 2.7
DEBARMENT AND OTHER SANCTIONS (JAN 1999)

        (a) Notwithstanding 5 U.S.C. 8902(j) or any other provision of the law and regulations,
if, under 5 U.S.C. 8902a, 5 CFR 970, or Public Law 103-123 (or other applicable appropriations
law), a provider is barred from participating in the Program under 5 U.S.C. or the provider's
services under 5 U.S.C. are excluded, the Carrier agrees that no payment shall be made by the
Carrier pursuant to any contract under 5 U.S.C. (either to such provider or by reimbursement) for
any service or supply furnished by such provider during the period of the debarment. except as
provided in 5 CFR 970.200(b).
        (b) The OPM shall notify the Carrier when a provider is barred from the FEHBP.

SECTION 2.8
FILING HEALTH BENEFIT CLAIMS/COURT REVIEW OF DISPUTED CLAIMS (MAR
1995) (FEHBAR 1652.204-72)

         (a) General. (1) The Carrier resolves claims filed under the Plan. All health benefit
claims must be submitted initially to the Carrier. If the Carrier denies a claim (or a portion of a
claim), the covered individual may ask the Carrier to reconsider its denial. If the Carrier affirms
its denial or fails to respond as required by paragraph (b) of this clause, the covered individual
may ask OPM to review the claim. A covered individual must exhaust both the Carrier and
OPM review processes specified in this clause before seeking judicial review of the denied
claim.
        (2) This clause applies to covered individuals and to other individuals or entities who are
acting on the behalf of a covered individual and who have the covered individual's specific
written consent to pursue payment of the disputed claim.
        (b) Time limits for reconsidering a claim. (I) The covered individual has 6 months from
the date of the notice to the covered individual that a claim (or a portion of a claim) was denied
by the Carrier in which to submit a written request for reconsideration to the Carrier. The time
limit for requesting reconsideration may be extended when the covered individual shows that he

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  or she \\as prcn:ntccl by circumstances he~ond hi~ or her c<introl from making the request within
  the time limit.
           (2) The Carrier has 30 days after the date of receipt ora timel:-,-liled request for reconsid-
  eration to:
           (i) Affirm the denial in writing to the covered individual;
           (ii) Pay the bill or provide the service; or
           (iii) Re4uest from the covered individual or provider additional information needed tu
  make a decision on the claim. The Carrier must simultaneously notify the covered individual of
  the infomrntion requested if it requests additional information from a provider. The Carrier has
  30 days after the date the 111li.m1iation i~ recei\·t·d to artirm tllL· denial in '"'riiing lo the co\'erecl
  individual or pay the bill or provide the service. The Carrier mu;.t make its decision based on the
  evidence it has if the covered individual or pro\' icier does not respond within 60 clays after the
  date of the Carrier's notice requesting additional infonnation. The Canier must then send written
  notice to the covered individual of its decision on the claim. The covered individual may request
 OPM revie'' ns provided in paragraph (b)(3) ofrhi~ clau5c it' the Carner fails to act within the
  time limit sec forth in this paragraph.
          (3) The covered individual ma) write to OPM and request that OPM review the Carrier's
 decision if the Carrier either affirms its denial of a claim or fails to respond to a covered
 individual's written request for reconsideration within the time limit set forth in paragraph (b)(2)
 of this clause. The covered individual must submit the request for OPM review within the time
 limit specified in paragraph (e)(l) of this clause.
          (4) The Carrier may extend the time limit for a covered individual's submission of
 additional information to the Canier when the covered individual shows he or she was not
 notified of the time limit or was prevented by circumstances beyond his or her control from
 submitting the additional information.
          (c) Infom1ation required to process requests for reconsideration. (1) The covered
 individual must put the request to the Carrier to reconsider a claim in writing and give the
 reasons, in terms of applicable brochure provisions, that the denied claim should have been
 approved.
         (2) If the Carrier needs additional information from the covered individual to make a
 decision, it must:
          (i) Specifically identify the information needed;
         (ii) State the reason the information is required to make a decision on the claim;
         (iii) Specify the time limit (60 days after the date of the Carrier's request) for submitting
the information; and
         (iv) State the consequences of failure to respond within the time limit specified, as set out
in paragraph (b)(2) of this section.
         (d) Carrier determinations. The Carrier must provide written notice to the covered
individual of its determination. If the Carrier affirms the initial denial, the notice must infonn
the covered individual of:
         (1) The specific and detailed reasons for the denial;
         (2) The covered individual's right to request a review by OPM; and
         (3) The requirement that requests for OPM review must be received within 90 days after
the date of the Carrier's denial notice and include a copy of the denial notice as well as
documents to support the covered individual's position.



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           (el OPM revie\\. ( 1) 1f the covered in di vidu<JI seek~ further review of the denied claim.
  the C\)\'ercd indi,·idual must make a request to OP1\1 to re\'11:''' thL' Carrier\ decision. Such a
  request lo OPM must be made:
           (i) Within 90 days after the date of the Carrier's notice to the covered individual that the
  denial was affirmed: or
           (ii) If the Carrier fails to respond to the covered individual as provided in paragraph
  (b)(2J of this clause. v.1thin 120 day:; aJier the <late of the covered mdivi<lual'::. timely reque~t for
  reconsiderntion by the Carrier; or
           (iii) Within 120 days after the date the Carrier requests additional information from the
  CO\crcd indn iclual. 01 the date the CO\ered indi,·1<lual is notilicd that the Carrier i5 requesting
 additional information from a provider. OPM may extend the time limit for a covered
  individual's request for OPM review when the covered individual shows he or she was not
 notified of the time limit or was prevented by circumstances beyond his or her control from
 submitting the request for OPM review within the time limit.
          (2) In reYie'' ing a claim denied by the Carrier. OP"v1 may
          (i) Request that the covered indi\"idual submit additional information:
          (ii l Ohta in an advisory opinion from an mdependent phy~ician:
          (iii) Obtain any other information as may in its judgment be required to make a
 determination; or
          (iv) Make its decision based solely on the information the covered individual provided
 with his or her request for review.
          (3) When OPM requests information from the Carrier, the Carrier must release the
 info1mation within 30 days after the date of OPM's written request unless a different time limit is
 specified by OPM in its request.
          (4) Within 90 days after receipt of the request for review. OPM will either:
          (i) Give a written notice of its decision to the covered individual and the CaJTier: or
          (ii) Notify the individual of the status of the review. lfOPM does not receive requested
evidence within 15 days after expiration of the applicable time limit in paragraph ( e)(3) of this
clause, OPM may make its decision based solely on information available to it at that time and
give a written notice of its decision to the covered individual and to the Carrier.
         (f) OPM, upon its own motion, may reopen its review if it receives evidence that was
unavailable at the time of its original decision.
         (g) Court review. (I) A suit to compel enrollment under§ 890.102 of Title 5, Code of
Federal Regulations, must be brought against the employing office that made the enrollment
decision.
         (2) A suit to review the legality of OPM's regulations under this part must be brought
against the Office of Personnel Management.
         (3) Federal Employees Health Benefits (FEHB) carriers resolve FEHB claims under
authority of Federal statute (chapter 89, title 5, United States Code). A covered individual may
seek judicial review of OPM's final action on the denial of a health benefits claim. A legal action
to review final action by OPM involving such denial of health benefits must be brought against
OPM and not against the Carrier or the Carrier's subcontractors. The recovery in such a suit
shall be limited to a court order directing OPM to require the Carrier to pay the amount of
benefits in dispute.
         (4) An action under paragraph (3) of this clause to recover on a claim for health benefits:
         (i) May not be brought prior to exhaustion of the administrative remedies provided in
paragraphs (a) through (f) of this clause;

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         {ii) 'v1ay not be brought later than December :I 1 of the Jrd year after the year in which the
 care or sen ice\\ as provided: and
         (iii) Will be limited to the record that 'v\aS before OPM when it rendered its decision
 affirming the Carrier's denial of benefits.

 SECTION 2.9
 CLA!J'v1S PROCESSJJ\i(j (JA;\ 2011)

         A standardized claims filing process shall be used by all FEHB carriers The Carrier
 ~hall appl) pmcedurc~ for u~ing the ~tandarcl claim~ proc1o·s~. ,\t ;1 minimum the Carrier's
program must achieve the following objectives:
  (I) The majority of prcvider claims should be submitted electronically:
  (2) All providers shall be notified that future claims must be submitted electronically, or on the
Centers for Medicare and Medicaid Services 1500 form or the UB-04 form;
  (3) The Carrier shall not use an: unique prm 1der claim form(s) for ~uch FEHB member
claims;
  ( 4) The Carrier should reject all such claims submined on l'c.mm. other than the CMS 1500 form
or the l.JB-04 form and shall explain the reason on the Explanation of Benefits form; and
  (5) The Carrier shall advise OPM of its progress in implementing this policy as directed by the
Contracting Officer.

SECTION 2. l 0
CALCULATION OF COST SHARING PROVISIONS (JAN J 996)

  When the Member is required to pay a specified percentage of the cost of covered services. the
Member's obligation for covered services shall be based on the amount the provider has agreed
to accept as full payment, including future discounts that are known and that can be accurately
calculated at the time the claim is processed. This includes for example, prompt pay discounts as
well as other discounts granted for various business reasons. Any discount not determined at the
time of the actual adjudication shall be placed in the Special Reserve upon its determination.

SECTION 2.11
BENEFITS PAYMENTS WHEN MEDICARE IS PRIMARY (JAN 2007)

  When a Member who is covered by Medicare Part A, Part B, or Parts A and Bon a fee-for-
service basis (a) receives services that generally are eligible for coverage by Medicare (regard-
less of whether or not benefits are paid by Medicare) and are covered by the Carrier, and (b)
Medicare is the primary payer and the Carrier is the secondary payer for the Member under the
order of benefit determination rules stated in Appendix A and Appendix D of this contract, then
the Carrier shall limit its payment to an amount that supplements the benefits payable by
Medicare (regardless of whether or not Medicare benefits are paid). For Medicare Part B
prescription drugs, the Carrier will coordinate benefits except when prescription drugs are
purchased from retail or mail order. When emergency services have been provided by a
Medicare nonparticipating institutional provider and the provider is not reimbursed by Medicare,
the Carrier shall pay its primary benefits. Payments that supplement Medicare include amounts
necessary to reimburse the Member for Medicare deductibles, coinsurance, copayments, and the


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 balance bct\\CCn the 'vkclicare approved amount and the Medican: limiting clrnrge made by non-
 participating prm iders

 Carriers may use the Department of Veterans Affairs (VA) Medicare-equivalent remittance
 advice (MRA) when the form is submitted to determine the Plan ·s benefits payment for covered
 services provided to members who have Medicare as their primary payer. when Medicare does
 not pa) th..: VA facility.

SECTION 2.12
CO'\Tl\Tl'\G REQL:lRE\,JEl\'TS AfT[R TER\,ll'\ \TIO'\ OF rt            II~   CARRJ[R
(JAN 2004)

          (a) The Carrier shall fulfill all of the requirements agreed to under the contract that
continue after termination. The order of precedence for the applicable laws. regulations, and the
contract arc listed in Section I.~.
          (b) Contract requirements extend beyond the date ofthc Carrier·s termination until the
effective date of the new enrollme111 including proce5sing and paying claims incurred prior to the
effe1.:t1ve date of the new enrollment.
          (c) When the prior carrier is discontinued in whole or in part the gaining carrier assumes
full coverage on the effective date of the new enrollment.

SECTION 2.13
LARGE PROVIDER AGREEMENTS (OCT 2005) (FEHBAR 1652.204-74)

         (a) Notification and Information Requirements. ( 1) The experience-rated Carrier must
 provide notice to the Contracting Officer of its intent to enter into or to make a significant
 modification of a Large Provider Agreement:
         (i) Not less than 60 days before entering into any Large Provider Agreement; and
         (ii) Not less than 60 days before exercising a renewal or other option, or significant
 modification to a Large Provider Agreement, when such action would result in total costs to the
 FEHB Program of an additional 20 percent or more above the existing contract. However, if a
Carrier is exercising a simple renewal or other option contemplated by a Large Provider
Agreement that OPM previously reviewed, and there are no significant changes, then a statement
to the effect that the renewal or other option is being exercised along with the dollar amount is
sufficient notice.
        (2) The Carrier's notification to the Contracting Officer must be in writing and must, at a
mm1mum:
        (i) Describe the supplies and/or services the proposed provider agreement will require;
        (ii) Identify the proposed basis for reimbursement;
        (iii) Identify the proposed provider agreement, explain why the Carrier selected the
proposed provider, and what contracting method it used, where applicable, including the kind of
competition obtained;
        (iv) Describe the methodology the Carrier used to compute the provider's profit; and,
        (v) Describe provider risk provisions.
        (3) The Contracting Officer may request from the Carrier any additional information on
a proposed provider agreement and its terms and conditions prior to a provider award and during
the performance of the agreement.

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           (4) Within 30 days of rccci,·ing the Carrier\ notification. the Contracting Officer" ii I
 gi' c the Carrier either \\Titten comment> or-" ritten nuuce 1hat 1hcn: "ill be no comments. If the
  Contracting Officer comments, the Carrier must respond in writing within I 0 calendar days. and
 explain how it intends to address any concerns.
           (5) When computing the Carrier"s service charge. the Contracting Officer will consider
 how well the Carrier complies with the provisions of this section. including the advance
 notification re4uiremenb, as an a::,pect of the Carrier':-. p..:rformance factor.
           (6) The Contracting Officer's review of any Large Provider Agreement, option. renewal.
 or modification will not constitute a determination of the acceptability of the terms and conditions
 oi"any prm·iclcr agreement or of the allrmabilit) oi"an) cost~ under 1he Carrier's conlracl. nor \\ill
 it relieve 1he Carrier of any responsibility for perfonrnng the contract.
           (b) Records and Inspection. The Carrier must insert in nil Large Provider Agreements the
requirement that the provider will retain and make available to the Government all records
 relating to the agreement that support the annual statement of operations and Enrollee records--
 Retain for 6 ) cars after the agreement 1e1111 ends.
          (c) Audit and Records - ]\;egotiation. The prO\isions off AR 52.215-2. "Audit and
 Records--'\egotimion." when required. or Fl-.H BAR 1652.246- 70. ··fEHB Inspection·· apply to
all experience-rated Carriers' Large Provider Agreements. The Carrier will insert the clauses a1
FAR 52.215-2, when applicable, or FEHBAR 1652.246-70 in all Large Provider Agreements. In
FAR 52.215-2 the Carrier will substitute
          (I) The term "Large Provider" for the term "Contractor" throughout the clause, and
          (2) The term "Large Provider Agreement" for the term "Subcontracts" in paragraph (g) of
FAR 52.215-2. The term "Contracting Officer" will mean the FEHB Program Contracting
Officer at OPM. The Carrier will be responsible for ensuring the Large Provider complies with
the provisions set fo11h in the clause.
          (d) Prohibited Agreements. No prO\ idcr agreement made under this contract will provide
for payment on a cost-plus-a-percentage-of-cost basis.
          (e) The Carrier will insert this clause, 1652.204-74, in all Large Provider Agreements.

SECTION 2.14
COORDINATION OF PRESCRIPTION DRUG BENEFITS WITH MEDICARE (JAN 2006)

   (a) The Carrier shall comply with the Center for Medicare and Medicaid Services' (CMS)
       Part D Coordination of Benefits Guidance when the mechanisms and systems indicated in
       this guidance are in place and functioning properly. This guidance provides the
       requirements and procedures for coordination of benefits between Part D plans and other
       providers of prescription drug coverage.
   (b) For Medicare Part B covered prescription drugs, the Carrier will coordinate benefits with
       Medicare except when such prescription drugs are purchased from retail or mail order
       pharmacies. The Carrier may pay its benefits on retail pharmacy or mail order drugs
       eligible for Medicare Part B coverage.




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                    PART lll - PAYMENTS. CHARCiF<; A1\JD _1\CCOl fl\ITl~Ci

 SECl ION 3.1
 PAYMENTS-EXPERIENCE-RATED CONTRACTS (JAN 2003) (FEHBAR 1652.232-71)

   (a) OPM will pay to the Carrier, in full settlement of its obligations under this contract. subject
 to a<lJU::.tment for error or fraud, the subscription charge::. 1eceivcd for the Plan by the Employee::.
 Health Benefits Fund (hereinafter called the Fund) less the amounts set aside by OPM for the
 Contingency Reserve and for the administrative expenses of OPM and amounts for obligations
due pur-,uant to paragraph (b) ofthi~ clause. plus an~ p<i~ menh made b~ or:-vr from the
Contingency Reserve.
  (b) OPM will notify the Carrier of amounts due for outstar.ding obligations under the contract.
Not later than 60 days after the date of written notice from OPM, the Carrier shall reimburse
OPM. If payment is not received within the prescribed time frame, OPM shall v.ithhold the
amount due from the sub~cription charges Ol\ed the Carrier under paragraph (a) of this clause.
  (cl The specific subscription rates. charges. a!IO\>vances and limitations applicable to the
contract are set l'orth in Appendix B.
  (d) Recurring payments from premiums :::.hall be ma<le available for carrier draw<lown not latt:r
than thirty days after receipt by the Fund. The Contracting Officer may authorize special non-
recurring payments from the Contingency Reserve in accordance with OPM's regulations.
  (e) In the event this contract between the Carrier and OPM is terminated or not renewed in
accordance with General Provision 1.15, Renewal and Withdrawal ofApproval. the Contingency
Reserve of the Carrier held by OPM shall be available to the Carrier to pay the necessary and
proper charges against this contract to the extent that the Carrier reserves are insufficient for that
purpose.

SECTION 3.2
ACCOUNTING AND ALLOWABLE COST (JAN 2003) (FEHBAR 1652.216-71)

    (a) Annual Accounting Statements.
    (I) The Carrier shall furnish to OPM an accounting of its operations under the contract. In
preparing the accounting, the Carrier shall follow the reporting requirements and statement
formats prescribed by OPM in the OPM Annual and Fiscal Year Financial Reporting
Instructions.
     (2) The Carrier shall have its Annual Accounting Statements and that of its underwriter, if
any, audited in accordance with the FEHBP Experienced-Rated Carrier and Service Organization
Audit Guide (Guide). The Carrier shall submit the audit report and the Annual Accounting
Statements to OPM in accordance with the requirements of the Guide.
    (3) Based on the results of either the independent audit prescribed by the Guide or a
Government audit, OPM may require the Carrier to adjust its annual accounting statements (i) by
amounts found not to constitute actual, allowable, allocable and reasonable costs; or (ii) to reflect
prior overpayments or underpayments.
   (4) The Carrier shall develop corrective action plans to resolve audit findings identified in
audits that were perfonned in accordance with the Guide. The corrective action plans will be
prepared in accordance with and as defined by the Guide.
   (b) Definition of costs. (I) The Carrier may charge a cost to the contract for a contract term
ifthe cost is actual, allowable, allocable, and reasonable. In addition, the Carrier must:

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       (i) on request. document and make m ailahk accounting ~upport for the cost to ju~tif\ that the
   cost is :1c11ml. rea'>onahle and neces.,ary: and
       (ii) determine the cost in accordance wnh: (AJ the terms of this contract, and (B) Subpart
   31.2 of the Federal Acquisition Regulation (FAR) and Subpart 1631.2 of the Federal Employees
   Health Benefits Program Acquisition Regulation (FEIIB/\R) applicable on the first day of the
  contract period.
      (2) In the ab::.ence of specific contract tenm to the rnrnrary, the Carner ::.hall cla::.:-.il) contract
  costs in accordance with the following criteria:
      (i) Benefits. Benefit costs consist of payments made and liabilities incurred for covered
  health care :-.cn ice5 on behalf ofTEJ-lBP ,ub~cribcr-, Jc,~ an~ n:fund:-,. rebatc5. alltmanccs llr
  other credits received_
      (ii) Administrative expenses. Administrative expenses consist of all actual. allowable.
  allocable and reasonable expenses incurred in the adjudication of subscriber benefit claims or
  incurred in the Carrier's overall operation of the business. Unless otherwise stated in the contract.
 administrative expenses include. in part: all ta\es (c,cluding premium ta'\CS. as pro,·idcd in
 section 163 I .205-4 l ). insurance and reinsurance pre mi urns. medical and dental consultants used
  in the adjudication process. concurrent or managed care rev1e\\ when not billed by a health care
 provider and other form::. of utilization re\ iew, the co~t of maintaining eligibility file::., legal
 expenses incurred in the litigation of benefit payments and bank charges for letters of credit.
 Administrative expenses exclude the cost of Carrier personnel, equipment, and facilities directly
 used in the delivery of health care services, which are benefit costs, and the expense of managing
 the FEHBP investment program which is a reduction of investment income earned.
      (iii) Investment income. While compliance with the checks presented letter of credit
 methodology will minimize funds on hand, the Carrier shall invest and reinvest all funds on
 hand, including any in the Special Reserve or any attributable to the reserve for incurred but
 unpaid claims. which are in excess of the fi.mds needed to discharge promptly the obliga1ions
 incurred under the contract. Investment income represents the net amount earned by the Carrier
 after deducting investment expenses. Investment expenses are those actual, allowable, allocable,
and reasonable contract costs that are attributable to the investment of funds, such as consultant
or management fees.
     (iv) Other charges. (A) Mandatory statutory reserve. Charges for mandatory statutory
 reserves are not allowable unless specifically provided for in the contract. When the term
"mandatory statutory reserve" is specifically identified as an allowable contract charge without
further definition or explanation, it means a requirement imposed by State law upon the Carrier
to set aside a specific amount or rate of funds into a restricted reserve that is accounted for
separately from all other reserves and surpluses of the Carrier and which may be used only with
the specific approval of the State official designated by law to make such approvals. The amount
chargeable to the contract may not exceed an allocable portion of the amount actually set aside.
If the statutory reserve is no longer required for the purpose for which it was created, and these
funds become available for the general use of the Carrier, the Carrier shall return to the FEHBP a
pro rata share based upon FEHBP's contribution to the total Carrier's set aside shall be returned
to the FEHBP in accordance with FAR 31.201-5.
     (B) Premium truces. (1) When the term "premium taxes" is used in this contract without
further definition or explanation, it means a tax, fee, or other monetary payment directly or
indirectly imposed on FEHB premiums by any State, the District of Columbia. or the
Commonwealth of Puerto Rico or by any political subdivision or other governmental authority of


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tho'c cntitil·~- 11 ith the sole exception of n w-.: on nt'l income or profit. if that w:-... fee. or payment
i~ applicahli: to a brond range ofbusines~ acti1 it~
    (2) For purposes of this paragraph (B). OPM ha5 <lete1rnined that the term ··State·· as used in 5
U.S.C. 8909(t) includes, but is not limited to, a territory or possession of the United States.
   (c) Certification of Accounting Statement Accuracy. (I) The Carrier shall certify the annual
and fiscal year accounting statements in the fmm set forth in paragraph (c )(3) of this clause. The
Carrier"::. chief e>..ecutive officer and the chief finarn.:ial oflicer shall ~ign the cenilicate.
   (2) The Carrier shall require an authorized agent of its underwriter, if any, also to certify the
annual accounting statement.
   (~) rhe certificate required Sha JI be Ill the f'olJ011 ing itll"lll.


                                CERTIFJCA TION or ACC01JNTJNG
                                   STATEMENT ACCLiRACY

    This is to certif~ that I ha\e reYie\\ed thi~ accourning ~tatemcnl and to the best of my
 knowledge and belief:
    1. The statement was prepared in conformity with the guideline5 is~ued by the Office of
Personnel Management and fairly presents the financial results of this reponing period rn
conformity with those guidelines.
   2. The costs included in the statement are actual, allowable, allocable, and reasonable in
accordance with the te1ms of the contract and with the cost p1inciples of the Federal Employees
Health Benefits Acquisition Regulation and the Federal Acquisition Regulation;
   3. Income, rebates, allowances, refunds and other credits made or owed in accordance with
the terms of the contract and applicable cost principles have been included in the statement;
   4. If applicable, the letter of credit account was managed in accordance with 5 CFR part 890_
48 CFR chapter 16. and OPM guidelines.
Carrier N a m e : - - - - - - - - - - - - - - -
Name of Chief Executive Officer:
(Type or Print)

Name of Chief Financial Officer:

Signature of Chief Executive Officer:

Signature of Chief Financial Officer:

Date Signed:

Date Signed:
Underwriter:

Name and Title of Responsible Corporate Official:
(Type or Print:)

Signature of Responsible Corporate Official:

Date Signed: _ _ _ _ _ _ _ _ _ __

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  SECTION 3.3
  SPECIAL RESERVE (JAN 2003)

              (a) This contract is experience rated. The Special Reserve represents the cumulative
  c.liffen::ni..:e betvveen income to tht: plan (sub~i..:riptiun ini..:om.: plu!> imere~t on mve~trnt:nto. [nem
  (b )(2 )(iii) in Section 3 .2, Accounting und A.1!01n1hle ( ·0.11, \\hi ch also includes income gain or
  loss]) and plan expenses (benefit costs plus allowable administrative expenses and retentions).
  The ~pt'cial Rt:~en e held b:- or on bd1al ror the Carner i!> to he u~ed onl~ Jl)r payment or charge~
 again~t this contract.
     (b) If this contract is terminated or not renewed and there is a positive balance remaining in
 the Special Reserve after all allowable costs chargeable to the contract in accordance with
 Section 3.2 plus an agreed-upon amount of admini!>trative e:>.penses for contract liquidation ha\ e
 been paid. the balance of any fi.1nds held h~ the Carrie1-. including current income on its
 investment. shall be paid to OPM for credit to the ( arricr's Coming.ency Reserve maintained b~
 OPM ,,-hen the Carrier submits its annual accounting statement for the final contract ~ear.
    (c) The Carrier shall incorporate this clau!>e in all agreements with underwriters of the Carrier·~
 FEHB Plan.

 SECTION 3.4
 INVESTMENT INCOME (JAN 1998) (FEHBAR 1652.215-71)

    {a) The Carrier shall invest and reinvest all FEHB funds on hand that are in excess of the funds
  needed to promptly discharge the obligations incurred under this contract. The Carrier shall seek
  to maximize investment income with prudent consideration to the safety and liquidity of
  investments.
    (b) All investment income earned on FEHB funds shall be credited to the Special Reserve on
  behalf of the FEHBP.
    (c) When the Contracting Officer concludes that the Carrier failed to comply with paragraphs
 (a) or (b) of this clause, the Carrier shall credit the Special Reserve with investment income that
 would have been earned, at the rate{s) specified in paragraph (t) of this clause, had it not been for
 the Carrier's noncompliance. "Failed to comply with paragraphs (a) or (b)" means: (I). making
 any charges against the contract which are not allowable, allocable, or reasonable; or (2) failing
 to credit any income due the contract and/or failing to place excess funds, including subscription
 income and payments from OPM not needed to discharge promptly the obligations incurred
 under the contract, refunds, credits, payments, deposits, investment income earned, uncashed
checks, or other amounts owed the Special Reserve, in income producing investments and
accounts.
   (d) Investment income lost as a result ofunallowable, unallocable, or unreasonable charges
against the contract shall be paid from the first day of the contract term following the contract
tern1 in which the unallowable charge was made and shall end on the earlier of: (I) the date the
amounts are returned to the Special Reserve (or the Office of Personnel Management); (2) the
date specified by the Contracting Officer; or (3) the date of the Contracting Officer's Final
Decision.
   (e) Investment income lost as a result of failure to credit income due the contract or failure to
place excess funds in income producing investments and accounts shall be paid from the date the

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fund~ ~hnuld ha\'C been invested or appropriate inco111c "a~ not credited and shall end on the
cal"llLT or (1) tho: date the a111ounts <trC relllrncd !ll the Special Re,cn c (or tht' OfTicL' or
Personnel Management); (2) the date specified b) the Contracting 011icer: or (3) the date of the
Contracting Officer's Final Decision.
  (f) The Carrier shall credit the Special Reserve for income due in accordance with this clause.
All lost investment income payable shall bear simple interest at the quarterly rate determined by
the Senetary of the Treasury under the authority of26 L.S.C. 6621(a)(2) applicable to the
periods in which the amount becomes due, as provided in paragraphs (d) and (e) of this clause.
  (g) The Carrier shall incorporate this clause into agreements with underwriters of the Carrier's
FEl-113 plan and ~hall ~ubstitute "undcrnritcr" nr other appropriate rcrerenc.: for the term
"Carrier".

SECTION 3.5
NON-COMMJNGLING OF FUNDS (JA!'\ I 99 l) (FEHBAR I 652.232- 72)

    (a) The Carrier and/or its underwriter shall keep all FEHBP funds for this contract (cash and
 investments) physically separate from funds obtained from other sources. Accounting for such
 Fl:::J-IBP funds shall not be based on allocations or other sharing mechanisms and shall agree with
the Carrier's accounting records.
   (b) In certain instances the physical separation ofFEHBP funds may not be practical or
desirable. In such cases, the Canier may request a waiver from this requirement from the
Contracting Officer. The waiver shall be requested in advance and the Carrier shall demonstrate
that accounting techniques have been established that will clearly measure FEHBP cash and
investment income (i.e., subsidiary ledgers). Reconciliations between amounts reported and
actual amounts shown in accounting records shall be provided as supporting schedules to the
Annual /\ccounting Statements.
   (c) The Carrier shall incorporate this clause in all subcontracts that exceed $25,000 and shall
substitute "contractor" or other appropriate reference for "Carrier and/or its underwriter".

SECTION 3.6
UNCASHED CHECKS (JAN 1996)

  Payment of checks issued pursuant to this contract shall be voided ifthe checks have been
outstanding for two (2) years. The amounts represented by these checks shall be credited to the
Special Reserve of this contract no later than the 25th month after issuance. The term "Check"
shall include any written instrument issued to pay or reimburse the payment of benefits, or any
services, supplies or subcontracts hereunder.

SECTION 3.7
SERVICE CHARGE (JAN 1996)

  (a) Any service charge negotiated shall be set forth in Appendix Band shall be the total profit
that can be charged to the contract. The amount set forth in Appendix B shall encompass all
profit (whether entitled service charge, profit, fee, contribution to reserves or surpluses or any
other title) that may be included in major subcontracts in accordance with the provisions of
FEHBAR 1631.205-80, Major Subcontractor Service Charges.


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   (bJ One-t1~clfth of the service charge fo1 the contract term accrues on the l::ist cla~ tlf each
 month during the contract term rhc C;1rricr ;,hall II ithd1a11· the ~CJ"\ ice charge from the Special
 Reserve when it accrues.
   (c) If this contract is renewed by operation of section 1. l 5(a), the amount of the service charge
 accrued under (b) shall be "one-twenty-fourth" rather than "one-twelfth." The remainder of the
 service charge not otherwise accrued during the contract tenn shall accrue on the last day of the
 comract term.

SECTION 3.8
CO'.\TRA.C'TOR R[C'ORDS RETE\Tl<f\ {.fl I :2005J {fTHB,\R 1652.:20-1-70)

  Notwithstanding the provisions of Sec1ion 5. 7 (rAR 52.2 I 5-2(fJ). Audir and Record1 -
Negotiation the Carrier will retain and make available all records applicable to a comract term
that support the annual statement of operations and. for contracts that equal or exceed the
threshold at rAR I 5.403-4(a)( I). the ratL' submis~ion for rh::it contract term for ::i period of si\
years after the end of the contract term to which the records relate. This includes all records of
Large Provider Agreements and subcontracts that equal or exceed the threshold requirements. In
addition, individual Enrollee and/or patient claim records will be maimarned for six years after
the end of the contract te:nn to which the claim records relate. This clause is effective
prospectively as of the 2005 contract year.


SECTION 3.9
APPROVAL FOR ASSIGNMENT OF CLAIMS (JAN 1991) (FEHBAR 1652.232-73)

  (a) Notwithstanding the provisions of Sec1ion 5.35 [F !\R 52.232-:23). AssiJ;nmenl of Claims.
the Carrier shall not make any assignment under the Assignment of Claims Act without the prior
written approval of the Contracting Officer.
  (b) Unless a different period is specified in the Contracting Officer's written approval, an
assignment shall be in force only for a period of one year from the date of the Contracting
Officer's approval. However, assignments may be renewed upon their expiration.

SECTION 3.10
AUDIT, FINANCIAL, AND OTHER INFORMATION (JAN 200 I)

  The Carrier shall furnish to OPM audit, financial, and other information in the fom1at and
within the time frames specified in the Audit Guide for Financial Statement Audits, Reporting on
Internal Controls and Compliance with Laws and Regulations, Attestation Reports, Agreed-Upon
Procedures, and Reporting on Internal Controls of Third Party Servicing Organizations.
Information and reports shall be furnished in the required number of copies to the addresses
specified by OPM.

SECTION 3.11
SURVEY CHARGES (JAN 2002)

 (a) If the Carrier participates in an FEHB annual consumer assessment survey, it shall pay
OPM's contractor a pro rata share of the total cost of consolidating and reporting the survey

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n:<.ults to OP~1 The Carrier shnll pay a separate f.::c for cach plan option and 1or rating areu. The
Carrier agrc~·~ to pay the contractor·~ in\'llicc \I ithin >Oda~ s oi'thc billing d:ite. lfthc Cirncr
does not remit payment to the contractor within 60 days of the billing date. OPM shall withhold
the amount due from the Carrier·s subscription charges according to FEHBAR 1652.232-71,
Payments-experience-rated contracts. and forward payment to the contractor.
  (b) Costs incurred by the Carrier for contracting with a vendor to conduct the survey shall be
the Carrier'::. rcspon!:>ibilny an<l con::.titute allo\.\able admini::.trative charge::..

SECTION 3.12
F-1.1!8 CLl-.ARl'\CillOl.'SE (.IA'\   ~Ol~J


        (a) The FEHB Clearinghouse \\ill facilitate the reconciliation of enrollments between
carriers and Federal agencies, and between CaJTiers and Tribal Employers. The Carrier shall pay
a pro rata share based on its proportion of FEHB premiums as determined b} OPM for the cost
of dc\ eloping and operating the ClearinghmiSL'.
        {b) OPM shall withhold the amount due li·om the Carrier's subscription charges under
the authority of FEHBAR 1652.232- 71. Payment5--Experience-Rated Contract!:>. and shal 1
forward payment to the FEHB Clearinghou!:>e.

SECTION 3.13
TAXPAYER IDENTIFICATION NUMBER (JAN 2000) (FEHBAR 1652.204-73)

 (a)     Definitions.
     Common parent, as used in this provision, means that corporate entity that owns or controls
an affiliated group of corporations that files its Federal income tax returns on a consolidated
basis. and of which the Carrier is a member.
     Taxpayer Identification Number (TIN), as used in this provision, means the number required
by the Internal Revenue Service (IRS) to be used by the Carrier in reporting income tax and
other returns.
    (b) The Carrier must submit the information required in paragraphs (d) through (f) of this
clause to comply with debt collection requirements of 31 U.S.C. 770l(c) and 3325(d), reporting
requirements of26 U.S.C. 6041, 6041A, and 6050M, and implementing regulations issued by the
IRS. The Carrier is subject to the payment reporting requirements desc1ibed in Federal
Acquisition Regulation (FAR) 4.904. The Carrier's failure or refusal to furnish the information
will result in payment being withheld until the TIN number is provided.
    (c) The Government may use the TIN to collect and report on any delinquent amounts arising
out of the Carrier's relationship with the Government (31 U.S.C. 770l(c)(3)). The TIN provided
hereunder may be matched with IRS records to verify its accuracy.
    (d) Taxpayer Identification Number (TIN).
TIN:
    (e) Type oforganization.
D       Sole proprietorship;
D       Partnership;
D       Corporate entity (not tax-exempt);
D       Corporate entity (tax-exempt);
D       Other_ _ _ _ _ _ _ _ __
    (f) Common parent.
                                                                                         (FFS-2013)
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            Carrier is not owned or comrolled h~ a common rarcnt   a~   defined in 1x1rag.raph (a) of
 thi~   clau:sc
            Name and TIN of common parent:



 SECTJO:\ 3.14
 REPORTABLE OVERPAYMENTS (JAN 2011 J

        (<l) If 1he Carrier become~ a11 arc of L'ithc1· a duplicaic letter of credit payment or a
significant letter of credit overpaymem made b) ()PM, the Carrier shall notify the Contracting
Officer \Vithin a maximum of ten days and request instructions for disposition of the
overpayment. See FAR § 3.1003(a)(3) for penalties applicable to the failure to timely report
credible evidence of significant overpayments vvhich shall mean letter of credit payments that
are 25%, or a percentagt' determined b~ the Contracting Oflicer above the total check~
presented amount for the day(s) in question and are reoccurring with no correcti"e action plan
in place.

SECTION 3.15
AUDIT RESOLUTIONS (JAN 2011)

When OIG issues a Draft Report of findings to the Carrier. the Canier must respond with all
available, accurate and relevant documentation to validate or invalidate the findings. This must
be done within the timeframe specified in the OIG Draft Report transmittal Jetter. The Carriers
shall promptly begin reconciling findings and not wait until the receipt of the Final Report to
address disagreement with any findings pre..,iously communicated in the Draft Report.

OPM expects to fully resolve audits within 180 days of issuance of the final report. To enable
this, Carriers must expeditiously tender all documentation necessary for resolution of the audit
not later than 120 days from the date of the final audit report. This includes overpayment
recoveries via check or certification, full documentation of the Carrier's position for findings
being contested, evidence supporting due diligence assertions, and support for all other
pertinent issues which OPM must consider, as appropriate. Fully supported requests for an
extension will be evaluated by the Contracting Officer on a case-by-case basis.

SECTION 3.16 REPORTABLE FINDINGS (JAN 2013)

        (a) Audit findings (except for claim payment findings) in the scope of an OIG audit are
reportable as questioned charges unless the Carrier provides documentation supporting that the
findings were already identified and corrected (i.e., administrative expense overcharges and
untimely health benefit refunds were already processed and returned to the FEHBP) prior to
audit notification.

        (b) Claim payment findings (i.e., claim overpayments) in the scope of an OIG audit are
reportable as questioned charges unless the Carrier provides documentation supporting that these
findings were already identified (i.e., documentation that the plan initiated recovery efforts) prior


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to audit notilication and corrcckd (i.e .. claim~ \\ere <idjustcd and/01· voided and O\ crr<Jyment~
\I LTL' l"L'CU\ L'red and returned lo the ITI IBP) b~ the original due dale of lill' cl rail rcron n:~ponsc.




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   Pan IV-SPECIAL PROVISIONS is deleted and replaced v.ith the followrng:

   SECTION 4.1
   ALTERATIONS JN CONTRACT (JAN 2011) (I /\R 52.252-4)

   P011ions of this contract are altered as follows

   (a) Section 1.6 Confidentiality or Record:-.. 1111.: tullm\ mg   ~ubsection   is added:

          (d) Local Blue Cross and/or Blue Shield Plans may combine the personal data and
  medical records olT l'dcral ~ub~crihlT". and inflirmation relating the1·eto. "' ith the same
  information of other individuals '"ho have health benelits coverage under the Local Blue
  Cross and/or Blue Shield Plan. This combined data may only be used and disclosed for
  the Plan "s health care operations and payment activities, as such terms and conditions are
  defined under the Health Insurance Portability and Accountability Act, and its
  implementing regulation<> (-15 CFR § 16-1 50 I). Such acti\ ities include. but are not
  limited to: care management: prevention. detec1iun. and recovery of funds subject to
  fraud and abuse: and negotiation of provider contracts.

         (e) As used in subsection (b)(l) of this section_ "administration ofthis contract"
  means health care operations and payment activities, as such terms and conditions are
  defined under the Health Insurance Portability and Accountability Act, and its
  implementing regulations (45 CFR § 164.501).

  (b) Section 1-9 Plan Performance-Experience-Rated FFS Contracts.

  The Carrier may use the appropriate systems for measurement and/or collection of data
  on the quality of the health care services as described in subparagraph L9(b).

  (c) Section 1.14, Misleading, Deceptive, or Unfair Advertising, is amended by removing
  the reference to the NAIC Advertisements of Accident and Sickness Insurance Model
  Regulation (Appendix D-b). Carrier should continue to use the FEHB Supplemental
  Literature Guidelines (now at the renumbered Appendix C) along with FEHBAR
  1603.7002_

  (d) Section LIS Renewal and Withdrawal of Approval (FEHBAR). The following
  subsections are added:

          (d) If the agency suspends payment of the subscription charges for any reason, the
  Carrier may (1) suspend making benefit payments until payment of all subscription
  charges due is fully restored; or (2) terminate the contract without prior notice.

  (e) Section 1-21 Patient Bill of Rights. For the purpose of compliance with this Section,
  the Carrier will conduct the following minimum activities: (1) the Carrier will provide
  subscribers with a Fact Sheet that includes information about the disenrollment rate in the
  Blue Cross and Blue Shield Service Benefit Plan, as well as Local Plan-specific
  information including compliance with Federal and State financial requirements, public
  corporate information, years in existence, and accreditation status; (2) Provider


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  Directories 'v\·ill include language advising subsniber::. to contact their pro•ider~ direct!)
  to ohwin information about the providers. including but no1 limited to hoard
  certifications. languages spoken. avai la bi I ity of interpreters. foci] it~ accessibi I it~. and
  \.\l1cther the provider is accepting new patienb.

  (f) Section I.JO Health Information Technology Privacy and Security. Subsections (b)
  and (c) of Section 1.30 are amended to read as follows:

          (b) The CaiTier will promote consumer transparency by en5uring that at the point
  where the Federal member enters the subcontractor's. large provider's. or vendor's
  \\cb~itc or ''eh portal the link to the subcontractor·~. large pnn·ider"~. or \L'ndor"s nPtiCL'
  of priYacy practices and/or privacy policies is displayed on the bottom. or prominentl)
  displayed elsewhere. on the website or web portal.

           (c) Notice of privacy practices and/or privacy policies disclosures must describe
  the use~ of incli\'idually identifiable protected health infornrntion and any potential
  di::.closure 10 other entities as described in the HIP AA Pri•ac) Rule.

  (gJ Section 2.2 Benefits Provided. The follov. ing paragraph i::. added      w 5ubsecuun 2.2(a):

          (4) The Carrier may pay the Preferred Provider Organization level of benefits
  under this contract to ease the hardship of members affected by natural disasters such as
  earthquakes, floods, etc., when because of the natural disaster members have difficulty
  gaining access to Preferred network providers. The Carrier may pay the Preferred level
  of benefits without regard to the provider's contractual relationship with the Carrier and
  will determine an appropriate time frame based on local conditions during which the
  provision of this paragraph will apply. Benefits provided under this paragraph will be
  made available to all members similarly affected by the natural disaster.

  (h) Section 2.3 Payment of Benefits and Provision of Services and Supplies.
  Notwithstanding subsection (f) of Section 2.3, benefits provided under the contract are
  not assignable by the Member to any person without express written approval of the
  carrier, and in the absence of such approval, any such assignment shall be void.
  Notwithstanding such approval, no assignment of benefits may be made in any case prior
  to the time that a valid claim for benefits arises.

  (i) Section 2.3 Payment of Benefits and Provision of Services and Supplies. The
  introductory paragraph of Subsection 2.3(g) is amended to read as follows:

         (g) Erroneous Payments.
                 (i) If the Carrier or OPM determines that a Member's claim has been paid
         in error for any reason (except in the case of fraud or abuse), the Carrier shall
         make a prompt and diligent effort to recover the erroneous payment to the
         member from the member or, if to the provider, from the provider; the recovery of
         any overpayment must be treated as an erroneous benefit payment, overpayment,
         or duplicate payment under 48 C.F.R. 1631.20 I- 70(h) regardless of any time
         period limitations in the written agreement with the provider.

                 (ii) The Carrier shall be deemed to have satisfied the requirements of
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          Subsection (g) (1) above b) comp!) mg with ~ub:,ections (ii), (iii), and (iv). Local
          Blue Cross and Blue Shield Plan~ \\hich haH' time period limitations in their
          prov id er contract~ \\ h ich pre' en! t hl' Plan ll·om rem\ eri ng erroneous henelit
          payments made to provider:, v.ill panicipale in an action plan. The action plan
          shall be developed by the Blue Cross and Blue Shield Association by December
          31, 2008 and agreed to by the Contracting Officer and the Blue Cross and Blue
          Shield Association. The Blue Cross and Blue Shield Association and the
          Contrncung Oflicer !>hall utilize ;,tandard;. ol commercial rcasonablene!>s and
          neither shall unreasonabl) withhold agreement. The action plan shall_be designed
          to reduce the occurrence of erroneous benefit payments. to identify and recover
          erroncou~ hcnclit pa) mc1lls \\ iihin 1hc lillll' limit~ '1ipuJ[1ted in their provider
          contracts, and to demonstrate due dili"gence in making an attempt to identify and
          recover within that provider contract timeframe such erroneous benefit payments.

                 (iii) The Blue Cross and Blue Shield Association shall be responsible for
          monitoring and determining\\ hether each 131ue Cross and Blue Shield Plan
          panicipating 111 the action plan i:, complying with its obligations under the action
          plan.

                 (iv) A Blue Cross and Blue Shield Plan which is in compliance with its
         obligations under the action plan shall be found to be in compliance with its
         obligation under this Section 2.3(g) to make a prompt and diligent effort to
         recover erroneous benefit payments. In the event that any Plan with such time
         period limitations is determined to be not in substantial compliance with the
         action plan, and that Plan is determined not to have pursued material benefit
         payments with promptness and diligence. then the Plan shall return the erroneous
         benefit payments to the Program.

                 (v) The Carrier shall follow general business practices and procedures in
         collecting debts owed under the Federal Employees Health Benefits Program.
         Prompt and diligent effort to recover erroneous payments means that upon
         discovering that an erroneous payment exists, the Carrier shall-

  (j) Section 2.3 Payment of Benefits and Provision of Services and Supplies. Subsection
  (g)(7)(ii) of Section 2.3 is amended to read as follows:

  Notwithstanding (g)(7)(i), the Carrier may not charge the contract for the administrative
  costs to correct erroneous benefit payments (or to correct processes or procedures that
  caused erroneous benefit payments) when the errors are egregious and repeated. These
  costs are deemed to be unreasonable and unallowable under Section 3.2(b). The term
  "repeated" in the previous sentence does not apply to situations in which a claims
  processing system error causes multiple erroneous payments or to situations that involve
  audit findings on errors that are endemic to the provision of insurance and claims
  processing.

  (k) Section 2.3 Payment of Benefits and Provision of Services and Supplies. Subsection
  (g)(IO) of Section 2.3 is amended to read as follows:

     (10) In compliance with the Contracts Disputes Act, the Carrier shall return to the

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  Program an amount equal to the uncollected erroneous benefit pa) ment where the
  Contr;1cting Officer determines that the C'<irrier failed to make a prompt and diligent
  effort. a' that tnm is de~crihed above. to recm er the crTonl'Oll' henelit pa~ men! Thi'
  pro,·i::.ron applies to benefit payments which ha' e been paid in error for an) rca::.on
  (except in the case of fraud or abuse).

   (I) Section 2.4 Tennination of Coverage and Conversion Privileges. The conversion
  contract set forth in Section 2.4(c) ma) be a contract that is regular!) offer..:<l b) the local
  Blue Cross and/or Blue Shield Plan.

  (ml Section 2.5 Subrogation. The following      ~ubsc:ction~   ;m: added:

          (c) To the extent that a Member has received benefits for covered services under
  this contract for an injury or illness caused by a third party, the Carrier shall have the
  right to be subrogated and succeed to any rights of recovery against an) person or
  organi1ation from whom the Member is legally entitled to n:ceiH: all or part of those
  same benefits. including insurers of individuab (non-group) policies of liabilit) insurance
  that arc issued to and in the name of the Member. fhe obligaiion of the Carrier to
  reco\·er amounts through subrogation is limited lO making <1 rca~onablc effort to seek
  recovery of amounts to which it is entitled to recover in cases which are brought to its
  attention. The CaITier shall not be required to recover any amounts from any person or
  organization who causes an injury or illness for which the Member makes claims for
  benefits.

        (d) The Carrier may also recover directly from the Member all amounts received
 by the Member by suit, settlement, or otherwise from any third party or its insurer, or the
 Member·s insurer under an individual policy or liability insurance. for benefits which
 have also been paid under this contract.

          (e) The Member shall take such action, furnish such infonnation and assistance,
 and execute such papers as the Carrier or its representative believes are necessary to
 facilitate enforcement of its rights, and shall take no action which would prejudice the
 interests of the Carrier to subrogation.

         (f) Effective January I, I 997, all Participating Plans shall subrogate under a
 single, nation-wide policy to ensure equitable and consistent treatment for all Members
 under the contract.

 (n) Section 2.6 Coordination of Benefits (FEHBAR). The following subsections are
 added:

         (g) The benefits payable by this Plan shall be determined, on a claim by claim
 basis, only for those claims in excess of$100, except where Medicare is the primary
 payer of benefits.

        (h) Whenever payments which should have been made under this contract in
 accordance with this provision have been made under any other group health coverage,
 the Carrier shall have the right, exercisable alone and in its sole discretion, to pay over to
 any organizations making such other payments any amount it shall detennine to be
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   warranted m order to satisfy the intent ofthi' pro' is1on. and amounts so paid shall be
   deemed to he henefits raid under this contract and. lo the ntent of such rayments
   discharged from liahility under the cn111r;1c1.

   (o) Section 3.1 Payments (FEHBAR). The follo.....,ing sentence is added to the end of
   Section 3. l(a):

  OPM v.dl "'ithhold from the sub,,crip11on chargc,, amounb for other obligauons due
  under the contract only to the extent that OP!\.1 and the Carrier have agreed in >vriting to
  specific deductions for such other obligations.

  (p) Section 3.1 Payments (fl:.l lBAR) 1 hc follO\·ving sub~ection is added:

          (g) Except as required pursuant w Sections 1.25 and 2.12, in the event this
  contract is terminated or not renev.ed. the agency shall be liable for all sums due and
  unraid. including subscription chargL·~- for the reriod up to the last day of the Member"s
  entitlement to benefits.

  (q) Section 3.2 Accounting and Allo\\ablc Cost U· EHBARJ. Section 3.2(b)(2J(ii) of this
  contract is amended to comply with 5 U.S.C. 8909(f) as follows:

          (I) No tax, fee, or other monetary payment may be imposed, directly or indirectly,
  on a Carrier or an underwriting or plan administration subcontractor of an approved
  health benefits plan by any State, the District of Columbia, or the Commonwealth of
  Puerto Rico, or by any political subdivision or other governmental authority thereof, with
  respect to any payment made from the Fund.

           (2) Paragraph (I) shall not be construed to exempt any Carrier or subcontractor of
  an approved health benefits plan from the imposition, payment, or collection of a tax, fee,
  or other monetary payment on the net income or profit accruing to or realized by such
  Carrier or underwriting or plan administration subcontractor from business conducted
  under this Chapter, if that tax, fee, or payment is applicable to a broad range of business
  activity.

  (r) Section 3.2 Accounting and Allowable Cost (FEHBAR). The provision in Section 3.2
  (b)(2)(iv)(A) is supplemented as follows:

  Charges for mandatory statutory reserves (Section 3.2(b)(2)(iv)(A)) to satisfy mandatory
  statutory reserve requirements of Participating Plans are allowable to the extent that such
  requirements exceed that portion of the service charge at Appendix B, Subscription
  Rates, Charges, Allowances and Limitations applicable to such Plans.

  (s) Section 3.2 Accounting and Allowable Cost (FEHBAR). This section is modified as
  follows:

 The Carrier. as required by the Blue Cross and Blue Shield Service Benefit Plan
 Workplan, shall furnish OPM an accounting of its operations under the contract not less
 than 120 days after the end of the calendar year contract period.


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  (l) ~cction   3.3   ~pecial   Reserve. The provision in   ~ection   3.3(a) is ::.upplementecl as
   fol ltm"-:

  The Special reserve held by or on behalf of the Carrier is to be used only for payment or
  charges against this contract, including advance payments to Pa11icipating Plans and to
  hospitals.

  (u) ~ection 3.1 U, Audn, J-manciaL and Other lnformauon. Compliance b) the Carrier and
  Participating Blue Cross and Blue Shield Plans with the Blue Cross Blue Shield Sen ice
  Benefit Plan Workplan, as agreed upon between the Carrier and OPM. will constitute
  rnmplianee \\ ith the .-'\udit Guide referred to in Section\ 3.2 ;ind 3.10.

  SECTION 4.2
  HOSPITAL (FACILITY) BENEFIT PAYMENTS AND CONDITIONS (JAN 1991)

  (a) Benefit<; described in the agreed upon brochure text shall be pro\ ided to the C\tent
  practicable in the form of services rendered by hospitals. freestanding ambulatory
  facil it1es. and home health care agencies. and payment. therefore. by or on behalf of the
  canier shall constitute a complete discharge ofthe1r obltgatwns under thi:, contract to the
  extent of services rendered in accordance with the terms and conditions of the contract.

  (b) Benefits for inpatient hospital care shall be available only to a Member admitted to
  the hospital on the recommendation, and while under the active medical supervision of a
  duly licensed physician or alternative provider as described in section 8902(k)(l) of title
  5 U.S.C. who is a member of the staff of, or acceptable to, the hospital selected.

  (c) Hospital service is subject to all the rules and regulations of the hospital selected
  including rules governing admissions.

 (d) While a Member may elect to be hospitalized in any hospital, the Carrier does not
 undertake to guarantee the admission of such Member to the hospital, nor the availability
 of any accommodations or services therein requested by the Member or his physician.

 SECTION 4.3
 DEFINITION OF CARRIER (JAN 1991)

 The Carrier is the Blue Cross and Blue Shield Association, an Illinois not-for-profit
 corporation, acting on behalf of participating Blue Cross and Blue Shield Plans and
 pursuant to authority specified in Exhibit A for and in behalf of the organizations
 specified in Exhibit A (hereinafter sometimes referred to as "Participating Plans").

 SECTION 4.4
 AUDIT DISPUTES (JAN 2000)

 (a) Any questioned costs or issues documented by or on behalf of OPM's Office of the
 Inspector General (OIG) in draft or final audit reports examining the Carrier's and
 Participating Plans' performance under this contract, that are provided to the Carrier and
 that were initially raised in the timeframe set forth in subsection (c) below, remain open
 until resolved. Audit issues related to monetary findings for which extensions of the
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   waiver period for the ISSUance of tinal deci!>iOn!> and process111g of prior period
   adjustment~ \\CIT obtained in pre\ inus cn11tr;1ct terms ~1lsn remain open until resolved.

  (b) Resolution of a questioned CO!>t or issue.· can be the result of a resolution letter or the
  issuance of a final decision by the Contracting Officer, or by the processing of a prior
  period adjustment. an adjustment to the Special reserve. or submission of a claim to OPM
  (as appropriate) by the Carrier or Participating Plan. A prior period a4justment intended
  lO partially or lully 1e5olve an audit tinding ''Ill 1101 be co1151dered closed urnil properl)
  reported on the calendar year Annual Accounting Statement.

  (c) A claim ~eek1ng. as cl maucr of right. tllL' pa~ ment ofmone). in a sum certain.
  pursuant to 48 CFR section 52.233-1. ~hall not be made more than five years folloVving
  the last day prescribed by the contract for filing the calendar year Annual Accounting
  Statement for the year with respect to which the claim arises. A claim includes, in the
  case of the carrier, a charge against the contract.

  SECTION 4.5
  ASSOCIATION DUES (JAN 2004)

  A Participating local Blue Cross and Blue Shield Plan may charge to this contract
  Association Dues, with the exception of dues related to those lobbying costs and Special
  Assessments determined to be unallowable. In calculating the unallowable portion of
  dues related to lobbying costs for a contract year, the Blue Cross and Blue Shield Plan
  will rely on the percentage of dues, less any special assessments, as determined by the
  BCBSA for IRS purposes, to be not tax deductible from the previous contract year.

  SECTION 4.6
  TRAVEL COSTS (JAN 1996)

  The Carrier may charge and account for travel expenses related to administration of the
  contract on a per diem basis, su~ject to the maximums prescribed by the Federal Travel
  Regulations. For those travel costs for each contract term that are subject to the Federal
  per diem rates set forth at 48 CFR section 31.205-46, the Carrier shall charge to the
  contract an amount equal to the lesser of:

  (i) the actual aggregate charges for those costs, or
  (ii) the aggregate charges calculated using the per diem rates set forth in the Federal
  Travel Regulations.

  SECTION 4.7
  MARKET RESEARCH COSTS (JAN 1996)

  (a) Costs of market research surveys or studies are generally allowable ifthe survey or
  study is:

 I. directed to current Members and Members who left the Blue Cross and Blue Shield
 Service Benefit Plan in the most recent Open season, or
 2. focused on long-range planning, industry state-of-the-art developments, or product
 development issues for which a direct benefit or potential benefit to the FEHB Program
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  can be idemitied. or
  3. prc-appro' ed by the Contracting Officer.

  (bJ Costs of market research surveys or studies are generally not allowable if the primary
  purpose is to survey or study an otherwise unallowabie cost item, such as: to determine
  the effectiveness of advertising or sales strategies: to evaluate image effectiveness or
  ways to achieve image enhancement; or to perform a competitive analysis with other
  carriers in the H::HB Program. Such cost.<. are unaikrnable. reg.arctics.<. of••ho rc.:ene.<.
  the research surveys or studies.

  (c) Thio, prm i~ion Joes not .<.upcrscde other contwct rcquir~·menh. ~uch a~ prior   ~1pprm   al
  for subcontracts under Section I. J 6 Subcontracts (FEHBAR J 6.52.244- 70).

  SECTION 4.8
  PRESCRIPTION DRUG BENEFITS WAIVER PROVISIONS (JAN 2009)

  (a) For the purpose.<. of applying the special pro• is ions in this section. the Standard
  Option Mail Service Prescription Drug Program sen ice standards arc:
          (I) When a prescription order is placed that does not require adJiuonal
  information or clarification (i.e., a clean or non-diverted prescription), the prescription
  order shall be dispensed within three business days from the date of receipt so the
  enrollee may expect to receive the medication within 7 calendar days.

      (2) When a prescription order is placed that does require additional information,
  clarification or resolution of payment issues (i.e., a diverted prescription), the
  prescription order shall be dispensed within seven business days from the date of receipt
  so the enrollee may expect to receive the medication within J 4 calendar days. However
  the following situations will not be considered a diverted prescnption for the purposes of
  this section:
       (i) Prescriptions for refrigerated products that require prior arrangements
  between the mail order pharmacy and a Member before the Member can receive the
  Prescription;
      (ii) Prescriptions requiring specific counseling obligations imposed by the
  pharmaceutical manufacturer, distributor or the FDA;
      (iii) Prescriptions requiring "registration" with a pharmaceutical manufacturer.

 (b) The special provisions described in paragraphs (c)(l), (2), and (3) shall become
 effective automatically when less than 98 percent of the prescriptions are filled within the
 service standards described in either paragraph (a)(I) or (a)(2) for 7 consecutive business
 days. The special provisions shall terminate when for 7 consecutive business days 98
 percent or more of the prescriptions are filled within the service standards described in
 paragraphs (a)(l) and (a)(2) of this section.

 (c) The special provisions are:
         (I) The Carrier shall waive during the effective periods in paragraph (b) the
 coinsurance for a 21 day prescription filled at a Preferred retail pharmacy when the Mail
 Service Prescription Drug Program vendor is unable to fill the prescription within the
 service standards. This waiver of the coinsurance shall be in effect for 14 calendar days
 after notice to the enrollee as described in paragraph (c)(2) below.
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           (2) The Carrier shall ckl1ver to the enrollee a written or telephone notice no later
   than 5 clays from the elate of receipt li'r clean or non-diverted prescriptions nnd nn lnlt'r
  than 12 clav<; from the dale of receip1 l(,r di' crtecl p1·c.;criptinn~.
    This notice shall:
           (i) advise the enrollee that the Mail Service Prescription Drug Program may not
  be able to fill the prescription(s) vvithin the service standard timeframes;
           (ii) advise the enrollee that any applicable coinsurance will be waived for a 21 day
  !>upply of the medication(!>) \\hc:n JilkJ at <i P1eJ",.;rnxl retail pharmacy;
          (iii) provide the enrollee \\ ith instructions on how· to use the waiver, and
          (iv) advise the enrollee when the \:vaiver will expire.
          (3) Th<C' Carrie1 ma: u~c· ne\.l da: deli' er: s..:T\ ice al no additional cost to the
  enrollee in order lO meet the sen ice !>lane.lards in (a)( I) and (a)(2).

  SECTION 4.9
  SMALL BUSINESS SUBCONTRACTING PLAN (JAN 2002) (FAR 52.219-9) (AS
  AMEl\fDEDl

  An amended clause 52.219-9. :-,mall Uusiness Subcomracting Plan, is attached to
  Appendix £.

  SECTION 4.JO
  LETTER OF CREDIT (JAN 1997)

  As of January I, 1997, OPM will administer Letter of Credit drawdowns directly with the
  local Plans.

  SECTION 4.11
  PILOTING OF COST CONTAINMENT PROGRAMS (JAN 2001)

 Upon approval by the Contracting Officer, the Carrier may design and implement pilot
 programs in one or more local Plan areas that test the feasibility and examine the impact
 of various managed care initiatives. The Carrier shall brief the Contracting Officer on a
 pilot program prior to its implementation, advise the Contracting Officer of the progress
 of the pilot program and provide a written evaluation at the conclusion of the pilot
 program. The evaluation of the pilot program shall, at a minimum, assess the cost
 effectiveness, effect on quality of care and/or quality of life, and customer satisfaction,
 and recommend whether the pilot progran1 should be continued or expanded.

 SECTION 4.12
 TRANSITION COSTS FOR PLAN TERMINATIONS (JAN 1999)

 In the event a Participating Plan's license to use the Blue Cross and/or Blue Shield
 service marks is terminated, thereby rendering it ineligible to participate in this Contract,
 the costs of transitioning the terminated Plan's Service Benefit Plan subscribers to a
 successor Plan shall be subject to advance approval. The Carrier shall submit to OPM a
 proposed transition plan, together with a detailed estimate of costs, prior to the incurrence
 of any significant transition costs. OPM and the Carrier shall negotiate an advance
 agreement pursuant to FAR 31. l 09 that covers the extent of allowable transition costs.


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  P<\ Yl'v1ENT BY ELECTRONIC' rt 1NDS TRA\iSITR-CFl\ITRAL C'Ol\:TR!\C TOR
  RHdSTR.t\TION (MAY 1999) (F.t\R '.i~ ~:1~-~:1l

  The references to the Central Contractor Registration in FAR 52.232-33 are not
  applicable to this contract.




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SECTION 5.1
DEFINITIONS (JAN 2012) (FAR 52.202-1)

   a) When a solicitation provision or comraci dau~c uses a word or term that i~ defined in the
      Federal Acquisition Regulation (FAR). the word or term has the same meaning as the
      definition in FAR~. I 0 I in L'fil-ct ;11 the 1i111L' the :-.oliciwtion wa:-. issued. unkss-
              (l) The solicitation. or <tmcn<led solicitation, provides a different
              definition:
              (2) The contracting partie~ agree to a different definition;
              (3) The pan, subpart. or section or the FAR \.\.here the provision or clause
               is prescribed Jll'O\ ick~ ;1 di ITLTe111 meaning: 0r
              (4) The word or term i~ defined in f AR Part 31. for use in the cost
              principles and procedures.
   b) The FAR Index is a guid<: to \wrd~ and 1en11:> the f AR defines and sho\.\.s where each
      definition is located. The FAR Index is available via the Internet at
      https://www.acguisition.goy/far at the end of the FAR, after the FAR Appendix.

SECTION 5.2
[RESERVED)

SECTION 5.3
GRATUITIES (APR 1984) (FAR        5~.2m-3)


  (a) The right of the Contractor to proceed may be tenninated by written notice if, after notice
and hearing, the agency head or a designee determines that the Contractor, its agent, or another
representative -
  (1) Offered or gave a gratuity (e.g., an entertainment or gift) to an officer, official, or
employee of the Government; and
  (2) Intended, by the gratuity, to obtain a contract or favorable treatment under a contract.
  (b) The facts supporting this determination may be reviewed by any court having lawful
jurisdiction.
  (c) If this contract is terminated under paragraph (a) above, the Government is entitled -
  (I) To pursue the same remedies as in a breach of the contract; and
  (2) In addition to any other damages provided by law, to exemplary damages of not less than 3
nor more than 10 times the cost incurred by the Contractor in giving gratuities to the person
concerned, as determined by the agency head or a designee. (This subparagraph (c)(2) is
applicable only if this contract uses money appropriated to the Department of Defense.)
  (d) The rights and remedies of the Government provided in this clause shall not be exclusive
and are in addition to any other rights and remedies provided by law or under this contract.

SECTION 5.4
COVENANT AGAINST CONTINGENT FEES (APR 1984) (FAR 52.203-5)


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   (a) The Contractor \\'arranh that no person or agency ha~ been emplo~ eel en retained to solicit
 or nh1~1in this contract upon an agn.'L'lllClll or undcr~rancling for a contingent fee. e\ccpt a hnm1
 tide employee or agency. For breach or violation of this warranty, the Government ~hall have
 the right to annul this contract without liability or, in its discretion, to deduct from the contract
price or consideration. or otherwise recover, the full amount of the contingent fee.
   (b) "Bona fide agency," as used in this clause, means an established commercial or selling
agenc). maintaineJ by a contractor for the purpose of ::.ecuring bu~ine~~- that neither c:.\ctb nor
proposes to exert improper influence to solicit or obtain Government contrncb nor hokb itsel r
out as being able to obtain any Government contract or contracts through improper influence.
   "Bona fide cmplo~ee." a~ used in this clause. means a person. cmplu~cd h~ a c,1nt1acto1 and
subject to the contractor's supervision and control as to time. place. and manner of pertlirmance.
"ho neither e-.;erts nor proposes to exert improper influence to solicit or obtain Gm crnmcnt
contracts nor holds out as being able to obtain any Government contract or contracts through
improper influence.
   "Contingent ll:·e". a~ u~ed in thi~ clau~e. means any commission. pcrn·ntagt'. brokerage. nr
other fee that is contingelll upon tht: success that a person or concern has in securing a
Cio\ crnmem contract.
   "Improper mfluence," as use<l in this clause, means any influen1.:e that indu1.:t:s ur tend~ to
induce a Government employee or officer to give consideration or to act regarding a
Government contract on any basis other than the merits of the matter.

SECTION 5.5
ANTI-KICKBACK PROCEDURES (OCT 2010) (FAR 52.203-7)

   (a) Definitions.
   "Kickback." as used in this clause. means any money_ fee. commission. credit. gift. gratuit).
 thing of value, or compensation of any kind which is provided, directly or indirectly, to any
 prime Contractor, prime Contractor employee, subcontractor, or subcontractor employee for the
 purpose of improperly obtaining or rewarding favorable treatment in connection with a prime
 contract or in connection with a subcontract relating to a prime contract.
   "Person," as used in this clause, means a corporation, partnership, business association of any
kind, trust, joint-stock company, or individual.
   "Prime contract," as used in this clause, means a contract or contractual action entered into by
the United States for the purpose of obtaining supplies, materials, equipment, or services of any
kind.
   "Prime Contractor," as used in this clause, means a person who has entered into a prime
contract with the United States.
   "Prime Contractor employee," as used in this clause, means any officer, paitner, employee, or
agent of a prime Contractor.
   "Subcontract," as used in this clause, means a contract or contractual action entered into by a
prime Contractor or subcontractor for the purpose of obtaining supplies, materials, equipment,
or services of any kind under a prime contract.
   "Subcontractor," as used in this clause, (1) means any person, other than the prime Contractor,
who offers to furnish or furnishes any supplies, materials, equipment, or services of any kind
under a prime contract or a subcontract entered into in connection with such prime contract, and
(2) includes any person who offers to furnish or furnishes general supplies to the p1ime



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 Contractor or a higher tier q1hcontrnctor.
    "Suhconlractor cmplo~ ce." a~ u~cd in th!~ clatN·. llll'<lll~ ;m~ officer. partner. employee_ nr
 agent of a subcontractor.
    (b) The Anti-Kickback Act of I 986 (41 U.S.C. 51-58) (the Act), prohibits any person from --
    (I) Providing or attempting lo provide or offering to provide any kickback;
    (2) Soliciting, accepting, or attempting to accept any kickback; or
    (3) Including, directly or ind1rcctl). the amount ut" any kickback in the contract price chargc.;d
 by a prime Contractor to the United Stale:-. or in the contract price charged by a subcontractor to
 a prime Contractor or higher tier suhcontractor.
    (c)( 1) The Contractor ~hall hm c in pl<1cc ,111<.I folio\\ r~·a~onahk prnct:durc~ dcsigncd to
 prevent and detect possible violations de~<.:ribecl in paragraph (b) of this clause in its own
 operations and direct business relationship~-
   (2) When the Contractor has reasonable grounds to believe that a violation described in
paragraph (b) of this clause ma) h<l\"e occurred. the Contractor shall promptly repon in writing
the possible violation. Such rcporh -.hall hc mack to the inspector general of the contracting
agency. the head of the contracting agen<.:~ if the agency does not have an inspector general, or
the Department of Justice.
   (3) The Comrac!Or shall rnoperatc full) v\ith any Ft:deral agency investigating a possible
violation described in paragraph (b) of this clause.
   (4) The Contracting Officer may (i) offset the amount of the kickback against any monies
owed by the United States under the prime contract and/or (ii) direct that the Prime Contractor
withhold, from sums owed a subcontractor under the prime contract, the amount of the
kickback. The Contracting Officer may order the monies withheld under division (c)(4)(ii) of
this clause be paid over to the Government unless the Government has already offset those
monies under subdivision (c)(4)(i) of this clause. In either case. the Prime Contractor shall
notify the Contracting Officer "''hen the monies are withheld.
   (5) The Contractor agrees to incorporate the substance of this clause, including this paragraph
( c)(5) but excepting paragraph (c )( 1), in all subcontracts under this contract which exceed
$150,000.

SECTION 5.6
[RESERVED]

SECTION 5.7
AUDIT AND RECORDS-NEGOTIATION (OCT 2010)(FAR 52.215-2)

   (a) As used in this clause, "records" includes books, documents, accounting procedures and
practices, and other data, regardless of type and regardless of whether such items are in written
form, in the form of com put er data, or in any other fmm.
   (b) Examination ofcosts. If this is a cost- reimbursement, incentive, time-and-materials,
labor-hour, or price redeterminable contract, or any combination of these, the Contractor shall
maintain and the Contracting Officer, or an authorized representative of the Contracting Officer,
shall have the right to examine and audit all records and other evidence sufficient to reflect
properly all costs claimed to have been incurred or anticipated to be incurred directly or
indirectly in perfonnance of this contract. This right of examination shall include inspection at
all reasonable times of the Contractor's plants, or parts of them, engaged in performing the



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  contract.
     (c) ( "erlified c1111 or ;1rici11g dulo lfthe Contractor ha' hccn rcqu1rcd tn 'uhmit cel"ll!il'tl l·n<1
  or pricing data in connection 'v\llh any pricing action relating to this contract. the C. ontrac.:ting
  Officer, or an authorized representative of the Contracting Officer, in order to evaluate the
  accuracy. completeness. and currency of the certified cost or pricing data. shall ha\e the right to
  examine and audit all of the Contractor's records. including computations and projections.
  rdatcJ tu--
    (1) The proposal for the contract, subcontract, or modification;
    (2) The discussions conducted on the proposal(s), including those related to negotiating:
    (3 l Pricing \lrthe contracl. ~ubcontract. or modification: L)r
    (4) Performance of the contract, subcontract or modification.
    (d) ( 'omp1ro/ler Gen<!ral -- ( l) The Comptroller General of the United State~. or an authorized
 representative. shall have access to and the right to examine any of the Contractor's directly
 pertinent records involving transactions related to this contract or a !>ubcontract hereunder and to
 intcn·ie\\ an~ cuJTent emrlo~ ce regarding such transaction~.
    (2) This paragraph may not be construed to require the Contractor or subcontractor to create
 or maintain an) record that the Contractor or subcontractor docs not maintain 111 the ordinar~
 cuur!>e or bus1ne~~ or pursuant lo a provision of law.
    (e) Reporr.s. If the Contractor is required to furnish cost, funding, or performance reports, the
 Contracting Officer or an authorized representative of the Contracting Officer shall have the
 right to examine and audit the supporting records and materials, for the purpose of evaluating--
 ( I) The effectiveness of the Contractor's policies and procedures to produce data compatible
 with the objectives of these reports and (2) The data reported.
    (f) Availability. The Contractor shall make available at its office at all reasonable times the
 records. materials. and other evidence described in paragraphs (a). (b). (c). (d). and (e) of this
 clause. for examination. audit. or reproduction. until 3 years after final payment under this
 contract or for any shorter period specified in Subpart 4. 7, Contractor Records Retention, of the
Federal Acquisition Regulation (FAR), or for any longer period required by statute or by other
clauses of this contract. In addition--( 1) If this contract is completely or partially terminated, the
Contractor shall make available the records relating to the work terminated until 3 years after
any resulting final termination settlement; and (2) The Contractor shall make available records
relating to appeals under the Disputes clause or to litigation or the settlement of claims arising
under or relating to this contract until such appeals, litigation, or claims are finally resolved.
   (g) The Contractor shall insert a clause containing all the terms of this clause. including this
paragraph (g), in all subcontracts under this contract that exceed the simplified acquisition
threshold and--
   ( l) That are cost-reimbursement, incentive, time-and-materials, labor-hour. or price-
redeterminable type or any combination of these;
   (2) For which certified cost or pricing data are required; or
   (3) That require the subcontractor to furnish reports as discussed in paragraph (e) of this
clause.
   The clause may be altered only as necessary to identify properly the contracting parties and
the Contracting Officer under the Government prime contract.

SECTION 5.8
PRICE REDUCTJON FOR DEFECTIVE CERTIFIED COST OR PRICING DATA (AUG



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 :2011) (FAR 52.:215-10)

  (a) If any price, including profit or fee. negotiated in connection with this contract. or an)' cost
  reimbursable under this contract, was increased by any significant amount because ( 1) the
  Contractor or a subcontractor furnished ce11itied cost or pricing data that were not complete,
  accurate, and current as ce11ified in its Ce11ificate of Current Cost or Pricing Data, (2) a
  subcomractor or pro~pective :-.ubcu111rauu1 !"u1 rn~hed the lomractor cenilicd cost or prn.:mg cJata
  that were not complete, accurate, and currenl as certified in the Contractor's Certificate of
  Current Cost or Pricing Data. or (3) any of these parties furnished data of any description that
  nere not accurate. the price or cll~t ~hall hL· 1nlucccl according!~ and the contract !>hall be
  modified to reflect the reduction.
     (b) Any reduction in the contract price unde1· paragraph (a) of this clause due to defective data
 from a prospective subcontractor that was not subsequently awarded the subcontract shall be
 limited to the amount, plus applicable O\ erhead and profit markup, by which ( 1) the actual
 subcontract: or (2) the actual cu-,t ro the Contracwr. if there \\as no subcontract. \N<ls less than
 the prospective subcontract cost estimate ~ubmitted b) the Contractor: provided, that the actual
 subcontract price ""as not ibelf affectL'd b~ defccti\ c cenitied cost or pricing data.
    (c)(l) If the Contracting Ollice1 determ1m:~ under paragraph (a) of this dause that a price or
 cost reduction should be made, the Contractor agrees not to raise the following matters as a
 defense:
    (i) The Contractor or subcontractor was a sole source supplier or otherwise was in a superior
 bargaining position and thus the price of the contract would not have been modified even if
 accurate, complete, and current cenified cost of pricing data had been submitted;
    (ii) The Contracting Officer should have known that the certified cost or pricing data in issue
 were defective even though the Contractor or subcontractor took no affirmative action to bring
 the character of the data to the attention of the Contracting Otlicer:
    (iii) The contract was based on an agreement about the total cost of the contract and there was
no agreement about the cost of each item procured under the contract; or
    (iv) The Contractor or subcontractor did not submit a Certificate of Current Cost or Pricing
Data.
    (2)(i) Except as prohibited by subdivision (c)(2)(ii) of this clause, an offset in an amount
determined appropriate by the Contracting Officer based upon the facts shall be allowed against
the amount ofa contract price reduction if--
   (A) The Contractor certifies to the Contracting Officer that, to the best of the Contractor's
knowledge and belief, the Contractor is entitled to the offset in the amount requested; and
   (B) The Contractor proves that the certified cost or pricing data were available before the "as
of' date specified on its Certificate of Current Cost or Pricing Data, and that the data were not
submitted before such date.
   (ii) An offset shall not be allowed if--
   (A) The understated data were known by the Contractor to be understated before the "as of'
date specified on its Certificate of Current Cost or Pricing Data; or
   (B) The Government proves that the facts demonstrate that the contract price would not have
increased in the amount to be offset even if the available data had been submitted before the "as
of' date specified on its Certificate of Current Cost or Pricing Data.
   (d) If any reduction in the contract price under this clause reduces the price of items for which
payment was made prior to the date of the modification reflecting the price reduction, the



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     Contractor shall be liahk to and shall ray the l lnitcd States at !he time ~uch ll\ crra~ mcnt is
     repaid--
       ( l) lnterest compounded daily, as required by 26 U.S.C. 6622, on the amount of such
     overpayment to be computed from the date(s) of overpayment to the Contractor Lo the date the
     Government is repaid by the Contractor at the applicable underpayment rate effecti\'e for each
     quarter prescribed by the Secretary of the Treasury under 26 U.S.C. 662 I (a)(2 ): and
             (2) A penalt) equal to rhe amount of the overpayment, if the Conuactor or :-.ubctlllLracLOr
    kno\\ ingly submitted certified cost or pricing data which were incomplete, inaccurarc. or
    noncurrent.

    SECTIOJ\i 5.9
    rRESERVEDl

    SECTION 5.10
    Sl.'BCOl\TRi\CTOR CERTIFIED COST OR PRICING DAT.I\ (OCT 20 lo l 1r 1\R :'12.2 l :'i-12)

   (aJ Before a\\·ardmg any subcontract expected to exceed the threshold for ~ub1111s~1011 of
certified cost or pncing data at FAR 15.403-4, on the date of agreemelll on price or che date of
award, whichever is later; or before pricing any subcontract modification involving a pricing
adjustment expected to exceed the threshold for submission of certified cost or pricing data at
 FAR 15.403-4. the Contractor shall require the subcontractor to submit certified cost or pricing
data (actually or by specific identification in writing), unless an exception under FAR I 5 .403-1
applies.
  (b) The Contractor shall require the subcontractor to certify in substantially the form prescribed
in FAR 15.406-2 that. to the best of its knowledge and belief, the data submitted under paragraph
(a) of this clause Vvere accurate. complete. and cunent as of the date of agreement on the
negotiated price of the subcontract or subcontract modification.
  (c) In each subcontract that exceeds the threshold for submission of certified cost or pricing
data at FAR 15.403-4, when entered into, the Contractor shall insert either --
  (1) The substance of this clause, including this paragraph (c), if paragraph (a) of this clause
requires submission of certified cost or pricing data for the subcontract; or
  (2) The substance of the clause at FAR 52.215-13, Subcontractor Certified Cost or Pricing
Data - Modifications.

SECTION 5. 1I
[RESERVED)

SECTION 5.12
[RESERVED)

SECTION 5.13
[RESERVED]

SECTION 5.14
UTILIZATION OF SMALL BUSINESS CONCERNS 1 (JAN201 I) (FAR 52.219-8)

1
    Section 5.14 only applies to plans participating in the small business pilot (none are experience-rated HMOs).


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           (a) It is the policy of the l nited State:-. that ~mall husiness concerns_ veteran-owned small
  business concerns. service-disabled vctcran-0\,vncd smaJJ business concerns, HUBZone small
  business concerns, small disadvantaged business concerns, and women-owned small business
  concerns shall have the maximum practicable opportunity to participate in perforn1ing contracts
 let by any Federal agency, including contracts and subcontracts for subsystems, assemblies,
 compunems, am! rdated servicc:s for major S) ::.tenb. lt is further the policy of the l~nitt:d ~tales
 that its prime contractors establish procedures to ensure the timely payment of amounts due
 pursuant to the terms of their subcontracts with small business concerns. veteran-owned smaJJ
 business concerns. scr\'icc-disahkd \'elcTan-cm ncd small business concerns. Hl'BZono:: small
 business concerns, small disadvantaged business concerns. and women-owned small business
 concerns.
           (b) The Contractor hereby agrees to carry out this policy in the awarding of subcontracts
 to the fullest extent consistent with efficient comract performance. The Contractor fu11her agrees
 to cooperate in any studies or surYey~ <i~ may be conducted by the United States Small Business
 Administration or the <iwai·cling agenc) or the united States as may be necessary to determine the
 extent of the Contractor's compliance with this clause.
          (c) Dejini1ion.1. As used in tlm comract--
          "HUBZone small business concern" means a small business concern that appears on the
 List of Qualified HUBZone Small Business Concerns maintained by the Small Business
 Administration.
          "Service-disabled veteran-owned small business concern"--
          (1) Means a small business conccrn--
          {i) Not less than 51 percent of which is owned by one or more service-disabled veterans
 or, in the case of any publicly owned business. not Jess than 51 percent of the stock of which is
 owned by one or more service-disabled veterans: and
          (ii) The management and daily business operations of which are controlled by one or
more service-disabled veterans or, in the case of a veteran with permanent and severe disability,
the spouse or permanent caregiver of such veteran.
          (2) Service-disabled veteran means a veteran, as defined in 38 U.S.C. 101(2), with a
disability that is service-connected, as defined in 38 U.S.C. I 01 ( 16).
          "Small business concern" means a small business as defined pursuant to Section 3 of the
Small Business Act and relevant regulations promulgated pursuant thereto.
          "Small disadvantaged business concern" means a small business concern that represents,
as part of its offer that--
         (l)(i) It has received certification as a small disadvantaged business concern consistent
with 13 CFR part 124, Subpart B;
         (I )(ii) No material change in disadvantaged ownership and control has occurred since its
certification;
         (I )(iii) Where the concern is owned by one or more individuals, the net worth of each
individual upon whom the certification is based does not exceed $750,000 after taking into
account the applicable exclusions set forth at 13 CFR 124.104(c)(2); and
         (l)(iv) It is identified, on the date of its representation, as a certified small disadvantaged
business in the CCR Dynamic Small Business Search database maintained by the Small Business
Administration, or




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          (2) lt represents in writing that it qualifies as a smcill disach,antaged busim"'" (SD8) for
 an~  Federal ~ubcontracting program. and belie\ es in good faith 1h;it it 1' n1-1 ned and controlled b~­
 one or more socially and economicall) disadvantaged individuals and meets the SDB eligibility
 criteria of 13 CFR 124.1002.
          "Veteran-owned small business concern" means a small business concern--
          (1) Not less than 51 percent of which is owned by one or more veterans (as defined at 38
 L,.S.L. J0 I (2)) or, 111 the case of any publicl) owned bu!>iness. nut Jes!> than 51 pcn;cnt of the
 stock of which is owned by one or more veterans; and
          (2) The management and daily business operations of which are controlled by one or
 more 'eterans.
          "Women-ov.-ned small business concern" means a small business concern--
          ( I) That is at least 51 percent owned by one or more women. or. in the case of an~
 publicly owned business, at least 51 percent of the stock of which is owned by one or more
 women; and
         (2) Whose management and daily business operations are cnntrollccl by one or more
women.
         (d)(l) Contractors acting in good faith may rely on wrinen repre5entation~ b) their
5ubcontractors regarding their statu5 as a small busines5 concern, a veteran-ov.ned small busines!>
concern, a service-disabled veteran-owned small business concern, a HUBZone small business
concern, a small disadvantaged business concern, or a women-owned small business concern.
         (2) The Contractor shall confirm that a subcontractor representing itself as a HUBZone
small business concern is certified by SBA as a HUBZone small business concern by accessing
the Central Contractor Registration (CCR) database or by contacting the SBA. Options for
contacting the SBA include-
         (i) HUBZone small business database search application web page
at http://dsbs.sba.gov/dsbs/search/dsp_ searchhubzone.cfm: or http://wWI~.~ba.gov/hubzone:
         (ii) In writing to the Director/HUB, U.S. Small Business Administration, 409 3rd Street,
SW., Washington, DC 20416; or
         (iii) The SBA HUBZone Help Desk at hubzone@sba.gov.

SECTION 5.15
[RESERVED]

SECTION 5 .16
[RESERVED]

SECTION 5.17
CONVICT LABOR (JUN 2003) (FAR 52.222-3)

       (a) Except as provided in paragraph (b) of this clause, the Contractor shall not employ in
the perfonnance of this contract any person undergoing a sentence of imprisonment imposed by
any court of a State, the District of Columbia, Puerto Rico, the Northern Mariana Islands,
American Samoa, Guam, or the U.S. Virgin Islands.
        (b) The Contractor is not prohibited from employing persons-
        (1) On parole or probation to work at paid employment during the tenn of their sentence;
        (2) Who have been pardoned or who have served their tenns; or



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         (3) Confined for Yiolm ion of 1he la\\" or any of the States. the Di~trict of Columbia.
Puerto Rico. the Northern !\1ariana !-,lands. American Samoa. Guam_ or 1he ll.S. Virgin Islands
who are authorized to worJ.. at paid employment in the community under the laV\s of such
jurisdiction, if-
        (i) The worker is paid or is in an approved work training program on a voluntary basis;
        (ii) Representatives of local union central bodies or similar labor union organizations
have been con:>ulti::d;
        (iii) Such paid employment'"' ill not result in the displacement of employed \vorkers. or
be applied in skills. crafts. or trades in ""hi ch there is a surplus of available gainful labor in the
locality. or impair existing contracb for ~en·iccs:
        (iv) The rates of pay and other conditions of employment will not be less than those paid
or provided for work of a similar nature in the locality in which the work is being performed: and
        (v) The Attorney General of the United States has certified that the work-release laws or
regulations of the jurisdiction involved are in conformity with the requirements of Executive
Order I 1755_ as amended b~ E\ecuti'e Order' 12608 and 12943.

SECTION 5.18
CONTRACT Vi ORK llOLiRS AJ\D SM [TY S TA:\DARDS ACT -- OVERT!Ml:. COMPEl'i-
SATION (JUL 2005) (FAR 52.222-4)

       (a) Overtime requirement.1·. No Contractor or subcontractor employing laborers or
 mechanics (see Federal Acquisition Regulation 22.300) shall require or permit them to work over
 40 hours in any workweek unless they are paid at least I and Yi times the basic rate of pay for
each hour worked over 40 hours.
   (b) Violation: !iabi!i1y/(Jr unpaid wages: liquidated damages. The responsible Contractor and
 subcontractor are liable for unpaid wages if they violate the terms in paragraph (a) of this clause.
In addition, the Contractor and subcontractor are liable for liquidated damages payable to the
Government. The Contracting Officer will assess liquidated damages at the rate of $10 per
affected employee for each calendar day on which the employer required or permitted the
employee to work in excess of the standard workweek of 40 hours without paying overtime
wages required by the Contract Work Hours and Safety Standards Act.
   (c) Withholding for unpaid wages and liquidated damages. The Contracting Officer will
withhold from payments due under the contract sufficient funds required to satisfy any
Contractor or subcontractor liabilities for unpaid wages and liquidated damages. If amounts
withheld under the contract are insufficient to satisfy Contractor or subcontractor liabilities, the
Contracting Officer will withhold payments from other Federal or federally assisted contracts
held by the same Contractor that are subject to the Contract Work Hours and Safety Standards
Act.
   (d) Payrolls and basic records. (I) The Contractor and its subcontractors shall maintain
payrolls and basic payroll records for all laborers and mechanics working on the contract during
the contract and shall make them available to the Government until 3 years after contract
completion. The records shall contain the name and address of each employee, social security
number, labor classifications, hourly rates of wages paid, daily and weekly number of hours
worked, deductions made, and actual wages paid. The records need not duplicate those required
for construction work by Department of Labor regulations at 29 CFR 5.5(a)(3) implementing the
Davis-Bacon Act.



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   {:?)The contractor and its subcontractor~ shall allow authori7.ed repre~entati\ c~ of the Contract-
in!-! Officer or the Department of Lahar 10 in~pect. cop~. or transcribe record, mmnwincd under
paragraph (d)( 1) of this clause. The Contractor or subcontractor also shall allov\ authorized
representatives of the Contracting Officer or Department of Labor to interview employees in the
workplace during working hours.
   (e) Subcontracts. The Contractor shall insert the provisions set fo11h in paragraphs (a) through
ldJ of th1!> dau'e rn 'ub<.:omract' that may n::yuire or invoh c;; th..: t:mplo) ment of luburer,., and
mechanics and require subcontractors to include these prO\·isions in an) such lo\\ Cr tier
subcontracts. The Contractor shall be responsible for compliance by any subcontractor or lower-
1icr subcontractor 11ith the prm ision' ~et forth in paragraph!> (a) through (d) ofthi' clau-;c.

SECTION 5.19
.EQUAL OPPORTUNITY (MAR 2007) (fAR 52.222-26)

          (a) Definition. ·'Cnited States:· a' used in this clause. means the 50 State~. 1he Dis1rict of
 Columbia. Pueno Rico, the l\orthern Mariana Islands. American Samoa. Guam. the li.S. Virgin
 Jslands. and Wake Island.
       (b)( J) IC during any 12-month period (including the 12 momhs pn:ceding the a\\ard of 1hi'
 contract). the Contractor has been or is awarded nonexempt Federal contracts and/or
 subcontracts that have an aggregate value in excess of $10,000, the Contractor shall comply with
 this clause, except for work performed outside the United States by employees who were not
 recruited within the United States. Upon request, the Contractor shall provide infonnation
 necessary to determine the applicability of this clause.
       (2) If the Contractor is a religious corporation, association, educational institution, or
 society. the requirements of this clause do not apply with respect to the employment of
 individuals of a particular religion to pe1fo1m work connected with the carry111g on of the
 Contractor·s activities (41 CFR 60-1.5).
    (c)(l) The Contractor shall not discriminate against any employee or applicant for
employment because of race, color, religion, sex, or national origin. However, it shall not be a
violation of this clause for the Contractor to extend a publicly announced preference in
employment to Indians living on or near an Indian reservation, in connection with employment
opportunities on or near an Indian reservation, as permitted by 41 CFR 60-1.5.
      (2) The Contractor shall take affirmative action to ensure that applicants are employed, and
that employees are treated during employment, without regard to their race, color, religion, sex,
or national origin. This shall include, but not be limited to-
         (i) Employment;
         (ii) Upgrading;
         (iii) Demotion;
         (iv) Transfer;
         (v) Recruitment or recruitment advertising;
         (vi) Layoff or termination;
         (vii) Rates of pay or other forms of compensation; and
         (viii) Selection for training, including apprenticeship.
      (3) The Contractor shall post in conspicuous places available to employees and applicants
for employment the notices to be provided by the Contracting Officer that explain this clause.




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        (4) The Contractor shall. in all ~olicitatinn<; or ach"ertisements for employees plctccd hy or on
  behalf of the Contrnc10r. <;talc tha1 all qualified applicanh 'xiii recei,·e considcrminn for
  employment without regar<l to race. color, religion, sex. or national origin.
        (5) The Contractor shall send, to each labor union or representative of workers with which it
  has a collective bargaining agreement or other contract or understanding, the notice to be
  provided by the Contracting Officer advising the labor union or workers· representative of the
  Comra<.:tor" s commium:rn~ under thi~ daw,c. and po::.t copie~ of the notice 111 con~picuou::. plm:e~
 available to employees and applicants for employment.
       (6) The Contractor shall comply with Executive Order 11246. as amended. and the rules,
 regulations. and ordcr5 nf the Sccr.:tar~ of Labor.
       (7) The Contractor shall furni~h to the contracting agency all information required by
 Executive Order 11246. as amended. and by the rules. regulations. and orders of the Secretary of
 Labor. The Contractor shall also tile ~tandard Form 100 (EE0-1 ), or any successor form, as
 prescribed in 41 CFR Part 60-J. Unle~s the Contractor has filed within the I 2 months preceding
 the dntc of contrnct a\\ard. the Contractor shall." ithin 30 da~s after contract a\\ard. apply to
 either the regional Office of Federal Contract Compliance Programs (OFCCP) or the local office
 ofthc Equal Employment Opponunit) Commission for the necessary fonns.
       (8) The Contractor shall permit m:ccss to 1ts premises, during normal business hours, b) the
 contracting agency or the OFCCP for the purpose of conducting on-site compliance evaluations
 and complaint investigations. The Contractor shall permit the Government to inspect and copy
 any books, accounts, records (including computerized records), and other material that may be
 relevant to the matter under investigation and pertinent to compliance with Executive
 Order 11246, as amended, and rules and regulations that implement the Executive Order.
       (9) If the OFCCP determines that the Contractor is not in compliance with this clause or any
rule, regulation, or order of the Secretary of Labor. this contract may be canceled, terminated. or
 suspended in whole or in part and the Contractor may be declared ineligible for forther
Government contracts, under the procedures authorized in Executive Order 11246, as amended.
In addition, sanctions may be imposed and remedies invoked against the Contractor as provided
in Executive Order 11246, as amended; in the rules, regulations, and orders of the Secretary of
Labor; or as otherwise provided by law.
      (10) The Contractor shall include the terms and conditions of this clause in every
subcontract or purchase order that is not exempted by the rules, regulations, or orders of the
Secretary of Labor issued under Executive Order I 1246, as amended, so that these terms and
conditions will be binding upon each subcontractor or vendor.
      (I I) The Contractor shall take such action with respect to any subcontract or purchase order
as the Contracting Officer may direct as a means of enforcing these terms and conditions,
including sanctions for noncompliance, provided, that ifthe Contractor becomes involved in, or
is threatened with, litigation with a subcontractor or vendor as a result of any direction, the
Contractor may request the United States to enter into the litigation to protect the interests of the
United States.
   (d) Notwithstanding any other clause in this contract, disputes relative to this clause will be
governed by the procedures in 4 I CFR 60- I .1.

SECTION 5.20
[RESERVED]

SECTION 5.21


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 NOTTFIC I\ TIOl\1 OF VIS.I\ DF},,) !AL (Jl!l\J 2003) (FAR 52.222-29)

     It is a violation of Executi\'e Order 11246 for a Contractor to refu::.e to cmplo~ any applicant or
not to assign any person hired in the United States, Puerto Rico, the Northern Mariana Islands,
American Samoa, Guam, the U.S. Virgin Islands, or Wake Island on the basis that the
individual's race, color, religion, sex, or national origin is not compatible with the policies of the
wunU) \\here the work i::. to be performed or for whom the vHirk '"'iii be p..:rt'ormed (41CFR60-
 1.10). The Contractor shall notify the U.S. Department of State, Assistant Secn:'taJ"). Bureau of
Political-Military Affairs (PM). 2201 C Street NW, Room 6212. Washington. DC 20520. and the
! · .S. Department of Labor. Deput) .i\ssistant Secrctar~ for Federal Contract C«1mpl1ancc. ''hen it
has kno\\ledge of any employee or potential employee being denied an entry 'isa to a country
where this contract will be pe1formed. and it believes the denial is attributable to the race. color.
religion, sex, or national origin of the employee or potential employee.

 SECTIO~    5.22
EQUAL OPPORTUNITY FOR VETERANS (SEP 20 I 0) (FAR 52.222->5 J

          la) Deji1111ium. As used in this clausc-
    A/l employment openings means all positions except executive and senior management. those
 positions that will be filled from within the Contractor's organization. and positions lasting 3
 days or less. This term includes full-time employment, temporary employment of more than 3
 days duration, and part-time employment.
    Armed Forces service medal veteran means any veteran who, while serving on active duty in
 the U.S. military, ground, naval, or air service, participated in a United States military operation
 for which an Arrned Forces service medal was awarded pursuant to E>.ecutive Order 12985 (61
 FR 1209).
   Disabled veteran means-
         ( I) A veteran of the U.S. military, ground, naval, or air service, who is entitled to
 compensation (or who but for the receipt of military retired pay would be entitled to
compensation) under laws administered by the Secretary of Veterans Affairs; or
         (2) A person who was discharged or released from active duty because of a service-
connected disability.
   Executive and senior management means-
         ( I) Any employee-
         (i) Compensated on a salary basis at a rate ofnot less than $455 per week (or $380 per
week, if employed in American Samoa by employers other than the Federal Government),
exclusive of board, lodging or other facilities;
         (ii) Whose primary duty consists of the management of the enterprise in which the
individual is employed or ofa customarily recognized department or subdivision thereof;
         (iii) Who customarily and regularly directs the work of two or more other employees; and
         (iv) Who has the authority to hire or fire other employees or whose suggestions and
recommendations as to the hiring or firing and as to the advancement and promotion or any other
change of status of other employees will be given particular weight; or
         (2) Any employee who owns at least a bona fide 20-percent equity interest in the
enterprise in which the employee is employed, regardless of whether the business is a corporate
or other type of organization, and who is actively engaged in its management.



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      ()fhl:'r prn!l:'cled \'l!fff(/11 mean<. a 'ctcran ''ho served on active dut> in the l; S. military.
  ground. naval. or air ser\'icc. during ;i \\<tr nr 111 a campaign or e..;pedition for \\hich a campaign
  badge has been authorized under the Im' s administered by the Department of Detense.
     Positions that will befilledjrom wilhin 1he Contractor's organization means employment
  openings for which the Contractor will give no consideration to persons outside the Contractor's
  organization (including any affiliates, subsidiaries, and parent companies) and includes any
  openings th..: Cumractor propu~e~ tu iii I from regularly established .. recall" li~ts. The e>-.ception
  does not apply to a pai1icuiar opening once an employer decides to consider applil:ants outside of
  its organization.
     Qualified di.\{/b/ecl rr1c·ra11 mean~ a <.fo,,1bicd ,·cteran "ho ha~ the abilit> to perform the
 essential functions of the empio)mcnt positions with or without reasonable accommodation.
     Recenf~)l .1eparated vell!ran means any \'eteran during the three-year period beginning on the
 date of such veteran·s discharge or release from active duty in the U.S. military, ground, naval or
 air service.
             (b) Gr:neru/
             (I) The Contracwr shaii 1101 discriminate against any employee or applicant for
 employment because the indi' iclu<il 1s a disabled \eteran. recently separated 'eteran. other
 protected vctt:rans, or Armed Furc..:s :.ervice medal veteran, regarding any position for \\h1ch 1he
 employee or applicant for employment is qualified. The Contractor shall take affirmative action
 to employ, advance in employment, and otherwise treat qualified individuals, including qualified
disabled veterans, without discrimination based upon their status as a disabled veteran, recently
separated veteran, Am1ed Forces service medal veteran, and other protected veteran in all
employment practices including the following:
            (i) Recruitment, advertising, and job application procedures.
            (ii) Hiring, upgrading, promotion. award of tenure, demotion, transfer. layoff,
termination. right of return from layoff and rehiring.
            (iii) Rate of pay or any other form of compensation and changes in compensation.
            (iv) Job assignments, job classifications, organizational structures, position descriptions,
lines of progression, and seniority lists.
            (v) Leaves of absence, sick leave, or any other leave.
            (vi) Fringe benefits available by virtue of employment, whether or not administered by
the Contractor.
            (vii) Selection and financial support for training, including apprenticeship, and on the job
training under 38 U.S.C. 3687, professional meetings, conferences, and other related activities,
and selection for leaves of absence to pursue training.
            (viii) Activities sponsored by the Contractor including social or recreational programs.
            (ix) Any other term, condition, or privilege of employment.
           (2) The Contractor shall comply with the rules, regulations, and relevant orders of the
Secretary of Labor issued under the Vietnam Era Veterans' Readjustment Assistance Act of
1972 (the Act), as amended (38 U.S.C. 4211 and 4212).
           (3) The Department of Labor's regulations require contractors with 50 or more
employees and a contract of $100,000 or more to have an affirmative action program for
veterans. See 41 CFR part 60-300, subpart C.
           (c) Listing openings.
           (I) The Contractor shall immediately list all employment openings that exist at the time
of the execution of this contract and those which occur during the performance of this contract,



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  including those not generated b~ this contract. and including those occurring at an establishment
  of the Contractor other than the nne \vhere the contn1ct i<. heing performed. hul \?\eluding those
  of independently operated corporate affiliates, at an appropriate emplo) ment ::.ervice delivery
  system where the opening occurs. Listing employment openings with the State workforce agency
 job bank or with the local employment service delivery system where the opening occurs shall
  satis(v the requirement to list jobs with the appropriate employment service delivery system.
           t2) l he Comractor ::.hall make the h::.llng of employ mem upen111g!> v. 1th the appropriate
    employment service delivery system at least concurrent!) with using any other recruitment
 source or effort and shall involve the nomial obligations of placing a bona fide job order.
  including accepting referrals of' etcran::. and non' etcran!>. ·r hi5 listing of cmplo: ment upcnings
 does not require hiring any particular job applicant or hiring from any particular group ofjob
 applicants and is not intended to relieve the Contractor from any requirements of Executive
 orders or regulations concerning nondiscrimination in employment.
           (3) Whenever the Contractor becomes contractually bound to the listing terms of this
 clause. it slrnll ach·ise the State workforce agenc~ in each State \\here it ha<. cstabli~hments of the
 name and location of each hiring location in the State. As long as the Contractor i!> contractually
 bound to these terms and has so advised the State agenc). it need not advise the State agenc: of
 subsel1uem contracts. The Contractor ma) advise the Stati.:: agency whi.::n it i!> no longer bow1<l by
 this contract clause.
          (d) Applicability. This clause does not apply to the listing of employment openings that
 occur and are filled outside the 50 States, the District of Columbia, Puerto Rico. the Northern
 Maiiana Islands, American Samoa, Guam. the U.S. Virgin Islands. and Wake Island.
          (e) Postings. (J) The Contractor shall post employment notices in conspicuous places that
are available to employees and applicants for employment.
          (2) The employment notices shall-
          (i) State the rights of applicants and employees as well as the Contractor·s obligation
under the law to take affirmative action to employ and advance in employment qualified
employees and applicants who are disabled veterans, recently separated veterans, Armed Forces
service medal veterans, and other protected veterans; and
          (ii) Be in a form prescribed by the Director, Office of Federal Contract Compliance
Programs, and provided by or through the Contracting Officer.
          (3) The Contractor shall ensure that applicants or employees who are disabled veterans
are informed of the contents of the notice (e.g., the Contractor may have the notice read to a
visually disabled veteran, or may lower the posted notice so that it can be read by a person in a
wheelchair).
          (4) The Contractor shall notify each labor union or representative of workers with which
it has a collective bargaining agreement, or other contract understanding, that the Contractor is
bound by the terms of the Act and is committed to take affinnative action to employ, and
advance in employment, qualified disabled veterans, recently separated veterans, other protected
veterans, and Anned Forces service medal veterans.
         (f) Noncompliance. If the Contractor does not comply with the requirements of this
clause, the Government may take appropriate actions under the rules, regulations, and relevant
orders of the Secretary of Labor. This includes implementing any sanctions imposed on a
contractor by the Department of Labor for violations of this clause (52.222-35, Equal
Opportunity for Veterans). These sanctions (see 41 CFR 60-300.66) may include-
         ( 1) Withholding progress payments;



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         (2) Termination or susrcn~ion of the contract: or
         (3 l   Debarmelll of the contractor
         (g) Subcontruct.1. The Comractor shall insen the terms of this clau5e in subcontract5 of
 $I 00,000 or more unless exempted by rules, regulations, or orders of the Secretary of Labor. The
 Contractor shall act as specified by the Director, Office of Federal Contract Compliance
 Programs, to enforce the terms. including action for noncompliance.

 SECTION 5.23
 AFFIRMATIVE ACTION FOR WORKERS WITH DJSABfLJTIES (0CT2010) (FAR 52.222-
 36)

    (a) General. ( 1) Regarding any position for which the employee or applicant for emp!oyment
 is qualified, the Contractor shall not discriminate against any employee or applicant because of
 physical or mental disability. The Contractor agrees to take affirmative action to employ,
 advance in emplo~ mcnt. and tithel'll ise tre<H qualified indi,·iduals ~ ith disabili1ies "i1hou1
 discrimination based upon their physical or mental disabilities in all employment practices such
 as -
    (i) Recruitment. Advertising, and job application procedures;
    (ii) Hiring, upgrading, promotion. award of tenure. demotion. transfer, layoff. termination,
 right of return from layoff, and rehiring;
    (iii) Rates of pay or any other form of compensation and changes in compensation:
    (iv) Job assignments. job classifications, organizational structures, position descriptions, lines
 of progression, and seniority lists;
    (v) Leaves of absence, sick leave, or any other leave;
    (vi) Fringe benefits available by virtue of employment. whether or not administered by the
 Contractor:
    (vii) Selection and financial support for training, including apprenticeships, professional
meetings, conferences, and other related activities, and selection for leaves of absence to pursue
training
   (viii) Activities sponsored by the Contractor, including social or recreational programs; and
   (ix) Any other term, condition, or privilege of employment.
   (2) The Contractor agrees to comply with the rules, regulations, and relevant orders of the
Secretary of Labor (Secretary) issued under the Rehabilitation Act of 1973 (29 U.S.C. 793) (the
Act), as amended.
   (b) Postings. (I) The Contractor agrees to post employment notices stating (i) the Contractor's
obligation under the law to take affirmative action to employ and advance in employment
qualified individuals with disabilities; and (ii) the rights of applicants and employees.
   (2) These notices shall be posted in conspicuous places that are available to employees and
applicants for employment. The Contractor shall ensure that applicants and employees with
disabilities are informed of the contents of the notice (e.g., the Contractor may have the notice
read to a visually disabled individual, or may lower the posted notice so that it might be read by a
person in a wheelchair). The notices shall be in a form prescribed by the Deputy Assistant
Secretary for Federal Contract Compliance, of the U.S. Department of Labor (Deputy Assistant
Secretary), and shall be provided by or through the Contracting Officer.
   (3) The Contractor shall notify each labor union or representative of workers with which it has
a collective bargaining agreement or other contract understanding, that the Contractor is bound



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hy the term> of Section '.iO:l of the Act nnd is committed to take nffirmatiH: action to employ. and
nch·ant·e in emrlo~ ment. qualified indi,·icluals "ith phYsical or mcntnl disabili11c~
  (c) Noncompliance. Jf the Contractor does not comply vvith the requiremenb of this clause,
appropriate actions may be taken under the rules, regulations, and relevant orders of the
Secretary issued pursuant to the Act.
  (d) Subcontracts. The Contractor shall include the terms of this clause in every subcontract or
purchase onJer lll ell.ce::,::, of~ 15.0UU unle::,::, exempted b) rule:.. r.:gul<ition::,. or order:. of the
Secretaiy. The Contractor shall act as specified by the Deputy /\s::,istant Secretary to enforce the
terms. including action for noncompliance.

SECI JON 5.24
[RESERVED]

SECTION 5.:25
DRCG-FREF. WORKPLACE (MAY 2001 l (FAR 52.223-6)

   (a) Definitions. As used in this clause.
   "Controlled substance" means a controlled substance in schedule::, l through \' of ::,ection 202
 of the Controlled Substances Act (21 U.S.C. 812) and as further defined in regulation at 21 CFR
 1308.11-1308.15.
   "Conviction" means a finding of guilt (including a plea of no lo contendere) or imposition of
sentence, or both, by any judicial body charged with the responsibility to determine violations of
the Federal or State criminal drug statutes.
   "Criminal drug statute" means a Federal or non-Federal c1iminal statute involving the
manufacture, distribution. dispensing, possession or use of any controlled substance.
   "Drug-free workplace" means the site(s) for the perfonnance of work done hy the Contractor in
connection with a specific contract where employees of the Contractor are prohibited from
engaging in the unlawful manufacture, distribution, dispensing, possession, or use of a controlled
substance.
   "Employee" means an employee of a Contractor directly engaged in the performance of work
under a Government contract. Directly engaged is defined to include all direct cost employees
and any other Contractor employee who has other than a minimal impact or involvement in
contract performance.
  "Individual" means an offeror/contractor that has no more than one employee including the
offeror/contractor.
  (b) The Contractor, if other than an individual, shall - within 30 days after award (unless a
longer period is agreed to in writing for contracts of 30 days or more performance duration); or
as soon as possible for contracts of less than 30 days performance duration -
  (I) Publish a statement notifying its employees that the unlawful manufacture, distribution,
dispensing, possession, or use of a controlled substance is prohibited in the contractor's
workplace and specifying the actions that will be taken against employees for violations of such
prohibition;
  (2) Establish an ongoing drug-free awareness program to inform such employees about-
  (i) The dangers of drug abuse in the workplace;
  (ii) The contractor's policy of maintaining a drug-free workplace;
  (iii) Any available drug counseling, rehabilitation, and employee assistance programs; and



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    (iv) The penaltie<. that may he 1111ro~ed upon employee<; for drug al:n1<;c 'iolntion~ occurring in
 the workrlace
    (3) Provide all employees engaged in performance of the comract with a cop) of the statement
 required by subparagraph (b)( I) of this clause;
    (4) Notify such employees in \\riting in the statement required by subparagraph (b)(l) of this
 clause that, as a condition of continued employment on this contract. the employee will -
    \i) Abide b) the ll.:rms ol the ~tatement. and
    (ii) Notify the employer in '' riting of the employee's conviction under a criminal drug statute
for a violation occurring in the workplace no later than 5 days after such conviction.
    (5) >iotif) the Contracting Officer in\\ riting ,,·i1hin 10 clays after recei\ ing notice under
subdivision (b)( 4)( ii) of this clause, from an employee or otherwise receiving actual notice of
such conviction. The notice shall include the position title of the employee:
   (6) Within 30 days after receiving notice under subdivision (b)( 4 )(ii) of this clause of a
conviction, take one of the following actions with respect to any emplo)ee who is convicted of a
drug abuse \'iolminn occurring in the 11orkplacc:
   (i) Taking appropriate personnel action agaimt such employee. up to and including
termination: or
   (ii) Require such emplo)eC to satisfactorily participate in a drug abuse assistance or rehabil-
itation program approved for such purposes by a Federal. State, or local health, law enforcement,
or other appropriate agency; and
   (7) Make a good faith effo11 to maintain a drug-free workplace through implementation of
subparagraphs (b)(I) through (b)(6) of this clause.
   (c) The Contractor. if an individual, agrees by award of the contract or acceptance ofa
purchase order, not to engage in the unlawful manufacture, distribution, dispensing, possession,
or use of a controlled substance while perfo1111ing this contract.
   (d) Jn addition to other remedies available to the Government the Contractor's failure to
comply with the requirements of paragraphs (b) or (c) of this clause may, pursuant to FAR
23.506, render the Contractor subject to suspension of contract payments, termination of the
contract for default, and suspension or debarment.

SECTION 5.26
[RESERVED]

SECTION 5.27
FEDERAL, STA TE, AND LOCAL TAXES (STA TE AND LOCAL ADJUSTMENTS) (APR
2003) (FAR 52.229-4)

  (a) As used in this clause-
  "After-imposed tax" means any new or increased Federal, State, or local tax or duty, or tax that
was excluded on the contract date but whose exclusion was later revoked or amount of
exemption reduced during the contract period, other than an excepted tax, on the transactions or
property covered by this contract that the Contractor is required to pay or bear as the result of
legislative, judicial, or administrative action taking effect after the contract date.
  "After-relieved tax" means any amount of Federal, State, or local tax or duty, other than an
excepted tax, that would otherwise have been payable on the transactions or property covered by
this contract, but which the Contractor is not required to pay or bear, or for which the Contractor



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  oh1ains fl refund or drawback. as the rc~ult of legislative. judicial. or adrniniqr~HiH' ac1ion laking
  ctfrc1 afler the contract dme.
     "All applicable Federal, State, and local taxe!> and duties·· mean!> all taxe!> and dutie~. in effect
  on the contract date, that the taxing authority is imposing and collecting on the transactions or
  property covered by this contract.
     "Contract date" means the effective date of this contract and, for any modification to this
  contract, tht! eJfocuve date of the mo<lilication.
     "Excepted tax" means social security or other employment taxes. net income and franchise
 taxes. excess profits taxes, capital stock taxes. transportation taxes. unemployment compensation
  ta\es. and proper!) ta\c~. "Excepted tax" doe'> no! include gros~ income W\c~ le' icd on or
 measured by sales or receipts from sales. property taxes assessed on completed supplies covered
 by this contract. or any tax assessed on the Contractor's possession of. interest in. or use of
 property, title to which is in the Government.
   '·Local taxes'" includes taxes imposed by a possession or territor) of the Unitt:d States, Puerto
 Rico. or the 1\Jorthern 'v1ariana blands. if the contract is pcrf(mncd \I boll~ nr part I~ in any of
 those areas.
    (b) Unless otherv.ise provided in this contract. the contract price rnclude>. all applicable
 Federal, State, and local taxes and duties.
    (c) The contract price shall be increased by the amount of any after-imposed tax, or of any tax
 or duty specifically excluded from the contract price by a term or condition of this contract that
 the Contractor is required to pay or bear, including any interest or penalty. if the Contractor
 states in writing that the contract price does not include any contingency for such tax and if
 liability for such tax, interest, or penalty was not incurred through the Contractor's fault,
 negligence, or failure to follow instructions of the Contracting Officer.
    (d) The contract price shaJJ be decreased by the amount of any after-relieved tax. The Govern-
 ment shall be entitled to interest received by the Contractor incident to a refund of taxes to the
 extent that such interest was earned after the Contractor was paid by the Goverrunent for such
taxes. The Government shall be entitled to repayment of any penalty refunded to the Contractor
to the extent that the penalty was paid by the Government.
   (e) The contract price shall be decreased by the amount of any Federal, State, or local tax, other
than an excepted tax, that was included in the contract price and that the Contractor is required to
pay or bear, or does not obtain a refund of, through the Contractor's fault, negligence, or failure
to follow instructions of the Contracting Officer.
   (f) No adjustment shall be made in the contract price under this clause unless the amount of the
adjustment exceeds $250.
   (g) The Contractor shall promptly notify the Contracting Officer of all matters relating to
Federal, State, and local taxes and duties that reasonably may be expected to result in either an
increase or decrease in the contract price and shall take appropriate action as the Contracting
Officer directs. The contract price shall be equitably adjusted to cover the costs of action taken
by the Contractor at the direction of the Contracting Officer, including any interest, penalty, and
reasonable attorneys' fees.
   (h) The Government shall furnish evidence appropriate to establish exemption from any
Federal, State, or local tax when-
          (1) The Contractor requests such exemption and states in writing that it applies to a tax
excluded from the contract price; and
          (2) A reasonable basis exists to sustain the exemption.



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 SFC'llOl\! 5.~8
 RESERVED

 SECTION 5.29
 TAXES -FOREIGN NEGOTIATED BENEFITS CONTRACTS (JAN 1998) (FEHBAR
 1652.229- 7u)

      (a) To the extent that this contract provides for perf01ming services outside the United States.
   its possession~. and Puerto Rico. thi-, clau~e applies in lieu of an~ rcdcral. Stale. :md local t:1\e~
  clause of the contra1.:t.
      (b) "Contract date." as used in this clause. means the effective date of this contract or
  modification.
      "Country con1.:erned," as used lJl this clause. means any country, other than the United State~.
  its possessions. and Puerto Rico. in'' hich expenditure~ under this contrat:t arc made.
      "Tax" and "taxes." as used in this clause. include tees and charges for doing business that arc
  levied by the government of the country concerned or by its political subdi\'isions.
      "All applicable taxes and Jutic~," as used in this clause, mean::, all taxes and duties, in dkct on
 the contract date. that the taxing authority is imposing and collecting on the transactions covered
 by this contract, pursuant to written ruling or regulation in effect on the contract date.
      "After-imposed tax," as used in this clause, means any new or increased tax or duty, or tax that
 was exempted or excluded on the contract date but whose exemption was later revoked or
 reduced during the contract period, other than excepted tax, on the transactions covered by this
 contract that the Carrier is required to pay or bear as the result of legislative, judicial, or
 administrative action taking effect after the contract date.
     "After-relieved tax." as used in this clause. means any amount of ta:-; or duty. other than an
 excepted tax, that would otherwise have been payable on the transactions covered by this
 contract, but which the Carrier is not required to pay or bear, or for which the Carrier obtains a
 refund, as the result oflegislative, judicial, or administrative action taking effect after the
 contract date.
     "Excepted tax," as used in this clause, means social security or other employment taxes, net
 income and franchise taxes, excess profits taxes, capital stock taxes, transportation taxes,
unemployment compensation taxes, and property taxes. "Excepted tax" does not include gross
 income taxes levied on or measured by sales or receipts from sales covered by this contract, or
any tax assessed on the Carrier's possession of, interest in, or use of property, title to which is in
the U.S. Government.
     (c) Unless otherwise provided in this contract, the contract price includes all applicable taxes
and duties, except taxes and duties that the Government of the United States and the government
of the country concerned have agreed shall not be applicable to expenditures in such country by
or on behalf of the United States.
    (d) The contract price shall be increased by the amount of any after-imposed tax or of any tax
or duty specifically excluded from the contract price by a provision of this contract that the
Carrier is required to pay or bear, including any interest or penalty, if the Carrier states in writing
that the contract price does not include any contingency for such tax and if liability for such tax,
interest, or penalty was not incurred through the Carrier's fault, negligence, or failure to follow
instructions of the Contracting Officer or to comply with the provisions of paragraph (i) below.



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   (c) The contracl price ~hall be decreased h: the amount of an: arier-rclic\·ecl ta'(. including any
 intere~t  or penalt:. The (it1"ern111en1 of the I :n1tcd State~ shall he cntitlt'd tn 1ntt'rc~t received h:
 the Carrier incident to a refund of taxes to the e>-.tent that such interest \\as earned atier the
Carrier was paid by the Government of the United States for such taxes. The Government of the
United States shall be entitled to repayment of any pet)alty refunded to the CaiTier to the extent
that the penalty was paid by the Government.
   (I) The contract price ;,hall be decreased by the amount ol an) ta.\ or dut). other than an
excepted tax. that was included in the contract and that the Carrier is required to pay or bear, or
does not obtain a refund of. through the Carrier's fault. negligence. or failure to follow
ino.lruction!> of the Contracting Officer or to com pl) "ith the pnn isirnh t>I. paragraph (i) below.
   (g) No adjustment shall be made in the contract price under th1:-. clause unle;,s the amoum of the
adjustment exceeds $250.
   (h) If the Carrier obtains a reduction in tax liability under the united States Internal Revenue
Code (Title 26. l!.S. Code) because of the payment of any ta>-. or duty that either was inc'luded in
the contrnct price or \.\as the basis of an increase in the contract prit:c. the :1111ount of the
reduction shall be paid or credited to the GoYernment of the Lnited States as the Contracting
Onicer directs.
   t1) The Carrier ~hall take all reasonable action to obtain e:--emption from ur refund or an) taxes
or duties. including interest or penalty, from which the United States Government, the Carrier,
any subcontractor, or the transactions covered by this contract are exempt under the laws of the
country concerned or its political subdivisions or which the governments of the United States and
of the country concerned have agreed shall not be applicable to expenditures in such country by
or on behalf of the United States.
   (j) The Carrier shall promptly notify the Contracting Officer of all matters relating to taxes or
duties that reasonably may be expected to result in either an increase or decrease in the contract
price and shall take appropriate action as the Contracting Officer directs. The contract price shall
be equitably adjusted to cover the costs of action taken by the Carrier at the direction of the
Contracting Officer, including any interest, penalty, and reasonable attorneys' fees.

SECTION 5.30
[RESERVED]

SECTION 5.31
[RESERVED]

SECTION 5.32
[RESERVED]

SECTION 5.33
DISCOUNTS FOR PROMPT PAYMENT (FEB 2002) (FAR 52.232-8)

        (a) Discounts for prompt payment will not be considered in the evaluation of offers.
However, any offered discount will form a part of the award, and will be taken if payment is
made within the discount period indicated in the offer by the offeror. As an alternative to
offering a discount for prompt payment in conjunction with the offer. offerors awarded contracts
may include discounts for prompt payment on individual invoices.



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         (b) In connection 11 ith ::m~ di~counl offered for prom rt payment. rime ~hall he computed
 from the date orrhc in\OICt' If the Contractor has not placed a d<ite on the in\(lice. the due date
 shall be calculated from the date the designated billing office receives a proper invoice, provided
 the agency annotates such invoice with the date of receipt at the time of receipt. For the purpose
 of computing the discount earned. payment shall be considered to have been made on the date
 that appears on the payment check or. for an electronic funds transfer, the specified payment
 dale. When the di~wunt dat..: falb on a Saturday. Sunda), or legal hol1<lu) v,hen l·ederal
 Government offices arc closed and Government business is not expected to be conducted,
 payment may be made on the following business day.

 SECTION 5.34
 INTEREST (OCT '.201 Ol (F.'\R 51.131-17) f'EHBAR (.JAN 1995)

          (a) Except a!> other\\ise provi<led in this contract under a Price Reduction for Defective
 Certified Coc;t 01· Pricing Data cl;i11~e or a Coq Accounting Standard~ clause. all amounts that
 become payable by the Contractor to the Government under this contract shall bear simple
 interest from the date due unti I paid unless paid \\Jthin 30 days of becoming due. The interest
 rate shall be the 1mcre~t rate estabh~he<l by the Secretary of the Treasury as provided in Section
 61 I of the Contract Disputes Act of 1978 (Public Law 95-563), which is applicable to the period
 in which the amount becomes due, as provided in paragraph (e) of this clause, and then at the
 rate applicable for each six-month period as fixed by the Secretary until the amount is paid.
          (b) The Government may issue a demand for payment to the Contractor upon finding a
debt is due under the contract.
          (c) Final Decisions. The Contracting Officer will issue a final decision as required by
33.21 I if-
         ( 1) The Contracting Officer and the Contractor are unahle to reach agreement on the
existence or amount of a debt in a timely maimer;
         (2) The Contractor fails to liquidate a debt previously demanded by the Contracting
Officer within the timeline specified in the demand for payment unless the amounts were not
repaid because the Contractor has requested an installment payment agreement; or
         (3) The Contractor requests a deferment of collection on a debt previously demanded by
the Contracting Officer (see 32.607-2).
         (d) If a demand for payment was previously issued for the debt, the demand for payment
included in the final decision shall identify the same due date as the original demand for
payment.
         (e) Amounts shall be due at the earliest of the following dates:
   (I) The date fixed under this contract.
   (2) The date of the first written demand for payment, including any demand resulting from a
default termination.
         (f) The interest charge shall be computed for the actual number of calendar days involved
beginning on the due date and ending on-
        ( 1) The date on which the designated office receives payment from the Contractor;
        (2) The date of issuance of a Government check to the Contractor from which an amount
otherwise payable has been withheld as a credit against the contract debt; or
        (3) The date on which an amount withheld and applied to the contract debt would
otherwise have become payable to the Contractor.



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         (c) The interest charge made under thi~ clau~e ma~ he reduced under the procedure~
 prcscrihed in 32.608-2 of the Fcdernl .'\cquisition lfr[!ulation in effect on the dmc nfthi.;
 contract.

SECTION 5.35
ASSIGNMENT OF CLAIMS (JAN 1986) (FAR 52.232-23)

  (a) The Contractor, under the Assignment of Claims Act, as amenc.kd. 31 l..' .S.C. 3727. 41
U.S.C. 15 (hereafter referred to as "the Act"). may assign its rights to be paid amounts due or to
hccorne clue a~ a re~ult of the performance of'thi~ contract tll a bank. tnht r:o1npan~. or other
financing institmion. including any Federal lending agency. rhe a5~ignee under such an
assignment may thereafter fLmher assign or reassign its right under the original assignment to
any type of financing institution described in the preceding sentence.
  (b) Any assignment or reassignment authorized under the Act and this clau~e shall cover all
unpaid amounts pil)·ablc under this contract. and shall not he made to more than one pan~.
except that an assignment or reassignment may be made ro one part~ a~ agem or trustee for tv,.o
or more panie5 participating in the financing of this contract
  (c) The Contractor sha!J not furnish or disdose to any assignee Lmlkr thi5 contract any
classified document (including this contract) or information related to work under this contract
until the Contracting Officer authorizes such action in writing.

SECTION 5 .36
DISPUTES (JUL 2002) (FAR 52.233-1)

         (a) This contract is subject to the Contract Disputes Act of 1978. as amended ( 41 U.S.C.
 601-613).
         (b) Except as provided in the Act, all disputes arising under or relating to this contract
shall be resolved under this clause.
         (c) "Claim," as used in this clause, means a written demand or written assertion by one of
the contracting parties seeking, as a matter of right, the payment of money in a sum certain, the
adjustment or interpretation of contract terms, or other relief arising under or relating to this
contract. However, a written demand or written assertion by the Contractor seeking the payment
of money exceeding $I 00,000 is not a claim under the Act until certified. A voucher, invoice, or
other routine request for payment that is not in dispute when submitted is not a claim under the
Act. The submission may be converted to a claim under the Act, by complying with the
submission and certification requirements of this clause, if it is disputed either as to liability or
amount or is not acted upon in a reasonable time.
        (d)(l) A claim by the Contractor shall be made in writing and, unless otherwise stated in
this contract, submitted within 6 years after accrual of the claim to the Contracting Officer for a
written decision. A claim by the Government against the Contractor shall be subject to a written
decision by the Contracting Officer.
        (2)(i) The Contractor shall provide the certification specified in paragraph (d)(2)(iii) of
this clause when submitting any claim exceeding $I 00,000.
        (ii) The certification requirement does not apply to issues in controversy that have not
been submitted as all or part of a claim.




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            (iii) The certification sh:ill -;iate as follo\\S: "l certif~ that the claim is made in good faith:
 th::it the ~upporting d:na ~11c accuratl' and complete to the he,t ofrn) knm"cdgc :me! belief: that
 the amount requested accurate!) reflects the contract adjustment for which the Contractor
 believes the Government is liable; and that I am duly authorized to certify the claim on behalf of
 the Contractor."
           (3) The certification ma) be executed by any person duly authorized to bind the
 Contractor with re!>pect to the daim.
            (e) For Contractor claims of $100,000 or less. the Contracting Officer must. if requested
 in writing by the Contractor. render a decision within 60 days of the request. For Contractor-
certi1ied claim~ O\Cr SI 00_000. the ( omractmg Officer rnu~t. 11 ithin 60 day~. decide the claim or
 noti(y the Contractor of the date by \-\-hich the decision ""ill be made.
           (f) The Contracting Officer's decision shall be final unless the Contractor appeals or files
a suit as provided in the Act.
           (g) If the claim b; the Contractor is submitted to the Contracting Officer or a claim by the
Go\ crnmcnt i' pre~cntcd to the Contractor. the parties. by mutual consent. ma) agr.:c to use
alternative dispute resolution (ADR). If the Contractor refuse5 an offer for ADR. the Contractor
shall inform the Contracting Officer. in writing_ of the Contractor's specific reasons for rejecting
the offer.
           (h) The Government shall pay interest on the amount found due and unpaid from (I) the
date that the Contracting Officer receives the claim (certified, if required); or (2) the date that
payment otheiwise would be due, if that date is later. until the date of payment. With regard to
claims having defective certifications. as defined in FAR 33.201, interest shall be paid from the
date that the Contracting Officer initially receives the claim. Simple interest on claims shall be
paid at the rate, fixed by the Secretary of the Treasury as provided in the Act, which is applicable
to the period during which the Contracting Officer receives the claim and then at the rate
applicable for each 6-month period as fixed by the Treasury Secretary during the pendency of the
claim.
           (i) The Contractor shall proceed diligently with performance of this contract, pending
final resolution of any request for relief, claim, appeal, or action arising under or relating to the
contract, and comply with any decision of the Contracting Officer.

SECTION 5.37
NOTICE OF INTENT TO DISALLOW COSTS (APR I 984) (FAR 52.242-1)

  (a) Notwithstanding any other clause of this contract--
  (!) The Contracting Officer may at any time issue to the Contractor a written notice of intent
to disallow specified costs incurred or planned for incurrence under this contract that have been
determined not to be allowable under the contract terms; and
  (2) The Contractor may, after receiving a notice under subparagraph (I) above, submit a
written response to the Contracting Officer, with justification for allowance of the costs. If the
Contractor does respond within 60 days, the Contracting Officer shall, within 60 days of
receiving the response, either make a written withdrawal of the notice or issue a written decision.
  (b) Failure to issue a notice under this Notice oflntent to Disallow Costs clause shall not
affect the Government's right to take exception to incurred costs.

SECTION 5.38



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 CH.'\NGES--\TCiOTl.A TED REJ\IFFITS COl\!TR.'\CTS (.I!\'\ I(J<J8) IFFI           mL\ R 1652.243-70)
    (a) The Contracting Officer may at any time, by written order. and wllhout notice to the
 sureties, if any, make changes within the general scope of this contract in any one or more of the
 following:
   (I) Description of services to be performed.
   (2) I ime or  perfonnance {i.e., hours of the da)' day:. ol the \\t:d... etc.).
   (3) Place of performance of the services.
   (b) If any such change causes an increase or decrease in the cost of. or the time required for.
 performance of an\ pan of the \\Ork under this contract. \\hL'lhcr ur not changed b) the order. the
Contracting Officer shall make an equitable adjustment in the contract price. the delivery
schedule. or both. and shall modify the contract.
   (c) The Carrier must assert its right to an adjustment under this clause within 30 days from the
date of receipt of the written order. However, if the Contracting Officer decides that the facts
justif) it. the Contracting Officer may rccei\'e and ac1 upon a prnpn~al submitted before final
payment of the contract.
   (d) failure to agree to any adjustment shall bt' a dispute under the Disputes clause. However.
nothing in this clause shall ex1.:use the Carrier from proct:cding \\ith th1.: contract as changed.

SECTION 5.39
COMPETITION IN SUBCONTRACTING (DEC 1996) (FAR 52.244-5)

  (a) The Contractor shall select subcontractors (including suppliers) on a competitive basis to
the maximum practical extent consistent with the objectives and requirements of the contract.
  (b) If the Contractor is an approved mentor under the Department of Defense Pilot Mentor-
Protege Program (Pub. L. 101-510. section 831 as amended). the Contractor may award
subcontracts under this contract on a noncompetitive basis to its proteges.

SECTION 5.40
GOVERNMENT PROPERTY (NEGOTIATED BENEFITS CONTRACTS) (JAN 1998)
(FEHBAR 1652.245-70)

  (a) Government-furnished property. (I) The Government shall deliver to the Carrier, for use in
connection with and under the terms of this contract, the Government-furnished property
described in this contract together with any related data and inforn1ation that the Carrier may
request and is reasonably required for the intended use of the property (hereinafter referred to as
"Government-furnished property").
  (2) The delivery or performance dates for this contract are based upon the expectation that
Government-furnished property suitable for use (except for prope11y furnished "as-is") will be
delivered to the Carrier at the times stated in this contract or, if not so stated, in sufficient time to
enable the Carrier to meet the contract's performance dates.
  (3) If Government-furnished property is received by the Carrier in a condition not suitable for
the intended use, the Carrier shall, upon receipt of it, notify the Contracting Officer, detailing the
facts, and, as directed by the Contracting Officer and at Government expense, either repair,
modify, return, or otherwise dispose of the property. After completing the directed action and




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  upon 1vritte11 requc~t pf th1: Carri LT. the Contracting Officer shall make an equitable adjustment
  as provided in 1>ar<1!;.!r<1ph I h) n 1· 1his clau~c
     (b) Changes in Go1ernment-furni~hed propeny. (I) The Contracting Onicer ma). b) INritten
  notice, (i) decrease the Government-furnished property provided or to be provided under this
  contract, or (ii) substitute other Government-furnished property for the prope1iy to be provided
  by the Government. or to be acquired by the Carrier for the Government. under this contract.
  Thi.: Carner ~hall prumptl) tal-.1.: ~uch action a~ the Contracting 011icer may Jinxt regarding the
 removal, shipment. or disposal of the property covered b) such notice.
     (2) Upon the Carrier's written request. the Contracting Officer shall make an equitable
 adjustment to the contract in <IL·cordance 11ith par,1graph (h) of this clau~c. if the Cio1crnme111 has
 agreed in this rnntract to make the property available for performing this contrw.:t and there i~
 any -
     (i) Decrease or substitution in this propeny pursuant to subparagraph (b)(l) above; or
     (ii) Withdrawal of authority to use thi:, property, if provided under any other contract or lea~e.
    (c) Title in Clmcrnment prnpert~. (I) The Gcl\'ernment shall retain title to all Gm crnrnent-
 furnished pro pert v.
    (2) All Government-furnished propen~ and all property acquired by the Carrier. title to •vhich
 vests in Lhe Go1 emment Lmder this paragraph (collectively referred to as "Government proper-
 ty"), are subject to the provisions of this clause. Title to Government property shall not be
 affected by its incorporation into or attachment to any property not owned by the Government,
 nor shall Government prope11y become a fixture or lose its identity as personal property by being
 attached to any real property.
    (d) Use of Government property. The Government property shall be used only for perfonning
 this contract, unless otherwise provided in this contract or approved by the Contracting Officer.
    (e) Prope11; administration. (I) The Carrier shall be responsible and accountable for all
 Government propert~ pr01,ided under this contract and shall comply with Federal Acquisition
 Regulation (FAR) subpart 45.5, as in effect on the date of this contract.
    (2) The Carrier shall establish and maintain a program for the use, maintenance, repair,
 protection, and preservation of Government property in accordance with sound industrial
practice and the applicable provisions of subpart 45.5 of the FAR.
   (3) If damage occurs to Govenunent property, the risk of which has been assumed by the
 Government under this contract, the Government shall replace the items or the Carrier shall
make such repairs as the Government directs. However, ifthe Carrier cannot effect such repairs
within the time required. the Carrier shall dispose of the property as directed by the Contracting
Officer. When any property for which the Government is responsible is replaced or repaired, the
Contracting Officer shall make an equitable adjustment in accordance with paragraph (h) of this
clause.
   (4) The Carrier represents that the contract price does not include any amount for repairs or
replacement for which the Government is responsible. Repair or replacement of property for
which the Carrier is responsible shall be accomplished by the Carrier at its own expense.
   (f) Access. The Government and all its designees shall have access at all reasonable times to
the premises in which any Government property is located for the purpose of inspecting the
Government property.
   (g) Risk of loss. Unless otherwise provided in this contract, the Carrier assumes the risk of,
and shall be responsible for, any Joss or destruction of, or damage to. Government property upon
its delivery to the Carrier. However, the Carrier is not responsible for reasonable wear and tear



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 to Government property or for Ciovcrnmcnt propert: pro1x·rl: con,umed in performing this
 contract.
    (h) Equitable adjustment. When this clause specilie~ an equitable at.lju5tment. it shall be made
 to any affected contract provision in accordance with the procedures of the Changes clause.
 When appropriate, the Contracting Officer may initiate an equitable adjustment in favor of the
 Government. The right to an equitable adjustment shall be the Carrier's exclusive remedy. The
 Government shall not be liable to ~uit for bn.:a1.:h of 1.:011tra1.:t for --
    (I) Any delay in delive11 of Government-furnished propen::
    (2) Delivery of Government-furnished property in a condition not suitable for its intended use:
    (3) A decrease in or 5uhstitution of GO\ ernment-rurni:--hL·d pro pen:: or
    (4) Failure to repair or replace Government property for which the Government is responsible.
    (i) Final accounting and disposition of Gowrnment property. L! pon completing this contract.
 or at such earlier dates as may be fixed by the Contracting Officer. the Carrier shall submit, in a
 form acceptable to the Contracting Officer. inventory ~chedule5 CO\ering all items of
 Gm ernme111 propen: (including any resulting scrap) not u111,u111ccl in performing thi~ contract or
 deliYered to the Government. The Carrier shall prepare for ~hipment. deli' er f.o.b. origin, or
di~pose of the Government property as may be directed or authori1ed by the Contracting Officer.
The net proceeds of any such disposal shall be credited to the 1.:ontract price: or shall be paid to
the Government as the Contracting Officer directs.
   U) Abandonment and restoration of Carrier's premises. Unless otherwise provided herein, the
Government-
   ()) May abandon any Government property in place, at which time all obligations of the
Government regarding such abandoned property shall cease~ and
   (2) Has no obligation to restore or rehabilitate the Carrier's premises under any circumstances
(e.g .. abandonment disposition upon completion of need, or upon contract completion).
However. if the Government-furnished property is withdnmn or is unsuitable for the intended
use, or if other Government property is substituted, then the equitable adjustment under
paragraph {h) of this clause may properly include restoration or rehabilitation costs.
   (k) Communications. All communications under this clause shall be in writing.
   (I) Overseas contracts. If this contract is to be performed outside of the United States of
America, its territories, or possessions, the words "Government" and "Government- furnished"
(wherever they appear in this clause) shall be construed as "United States Government" and
"United States Government-furnished", respectively.

SECTION 5.41
LIMITATION OF LIABILITY -- SERVICES (FEB 1997) (FAR 52.246-25)

        (a) Except as provided in paragraphs (b) and (c) below, and except to the extent that the
Contractor is expressly responsible under this contract for deficiencies in the services required to be
performed under it (including any materials furnished in conjunction with those services), the
Contractor shall not be liable for loss of or damage to property of the Government that (1) occurs after
Government acceptance of services performed under this contract and (2) results from any defects or
deficiencies in the services perfonned or materials furnished.
        (b) The limitation ofliability under paragraph (a) above shall not apply when a defect or
deficiency in, or the Government's acceptance of, services performed or materials furnished results
from willful misconduct or lack of good faith on the part of any of the Contractor's managerial



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personnel. The tc1111 Contmctor\ managerial personnel. a5 u~ccl in thi~ clau~i:. mean, the Contractor's
directors. ntlicer~. and an~ nJ" tllL· Contractor\ manager~. supcrintcndcnK or equi1·alent rcpre<;cntati1 cs
who have supenision or direction of--
         ( I) All or substantially all of the Contractor's business;
         (2) All or substantially all of the Contractor's operations at any one plant. laboratory. or
separate location at which the contract is being perfo1med; or
         (3) A ~eparntc anJ cumpkte major inc..lu~trial operation cunnectt:J Vl-ith the performance
of this contract.
         (c) If the Contractor carries insurance. or has established a reserve for self-insurance.
co1 ering liabilit:- for lo~~ rn damage -,uffcrcd b:- the Gm crnment through the C\)ntrm.:tor\
performance of sen-ices or furnishing of materials under this contract. the Contractor shall be
liable to the Gm ernment. to the extent of such insurance or reserve. for loss of or damage to
propeny of the Government occurring after Government acceptance of: and resulting from any
defects and deficiencies in. 5ervices performed or materials furnished under thi~ contract.

SECTlOJ\ 5.42
PREFERENCL FOR L.:-,.-fl.AG AIR CARRIERS (.luN 2003) (FAR 52.247-63)

(a) Definitions. As used in this clause-
"International air transportation" means transportation by air between a place in the United States
and a place outside the United States or between two places both of which are outside the United
States.

"United States" means the 50 States, the District of Columbia, and outlying areas.

"U.S.-flag air carrier" means an air caJTier holding a certificate under 49 lJ.S.C. Chapter 411.
(b) Section 5 of the International Air Transportation Fair Competitive Practices Act of 1974 (49
U.S.C. 40118) (Fly America Act) requires that all Federal agencies and Government contractors
and subcontractors use U.S.-flag air carriers for U.S. Government-financed international air
transportation of personnel (and their personal effects) or property, to the extent that service by
those carriers is available. It requires the Comptroller General of the United States, in the
absence of satisfactory proof of the necessity for foreign-flag air transportation, to disallow
expenditures from funds, appropriated or otherwise established for the account of the United
States, for international air transportation secured aboard a foreign-flag air carrier if a U .S.-flag
air carrier is available to provide such services.
(c) If available, the Contractor, in performing work under this contract, shall use U.S.-flag
carriers for international air transportation of personnel (and their personal effects) or property.
(d) In the event that the Contractor selects a carrier other than a U.S.-flag air carrier for
international air transportation, the Contractor shall include a statement on vouchers involving
such transportation essentially as follows:


STATEMENT OF UNAVAILABILITY OF U.S.-FLAG AIR CARRIERS
  International air transportation of persons (and their personal effects) or property by U.S.-flag
air carrier was not available or it was necessary to use foreign-flag air carrier service for the
following reasons (see section 47.403 of the Federal Acquisition Regulation):



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(State rea'.'.ons,)
( F.nd of slntcment J
   (e) The Contractor shall include the substance of this clau:-.e. including this paragraph (e), in
each subcontract or purchase under this contract that may involve international air transportation.

SECTION 5.43
uU\; LR1\ ML!\ J s L.,PPL \' SUL Kl L:::i (Al.Ju 20 I u)\J AR 52.25 1-1)

  The Contracting Officer may issue the Contractor nn authorization to use Government supply
sources in the pcrformnnce of thi~ contract. Title to all prupcrt~ acquin:d b! the Contractor
under such an authorization shall vest in the Government unle~~ othen-vise specified in the
contract. Such property shall not be considered to be Government-furnished property. as
distinguished from Government property. The provisions of the clause entitled ··Government
Property:· at 52.245-1, shall apply to all prope11y acquired under such authorization.

SECTIO:\ 5.44
AL.:1HOR1ZED DEVIATIONS IN CLALJSES (APR 1984J                (1·.·\J~   52.25.2-6)

  (a) The use in this solicitation or contract of any Federal Acquisition Regulation (48 CFR
Chapter I) clause with an authorized deviation is indicated by the addition of "(DEVIATION)"
after the date of the clause.
  (b) The use in this solicitation or contract of any Federal Employees Health Benefits
Acquisition Regulation (48 CFR Chapter 16) clause with an authorized deviation is indicated by
the addition of "(DEVIATION)" after the name of the regulation.

SECTION 5.45
LIMITATION ON PAYMENTS TO INFLUENCE CERTAIN FEDERAL TRANSACTIONS
(OCT 2010) (FAR 52.203-12)

   (a) Definitions. As used in this clause-
   "Agency"' means "executive agency" as defined in Federal Acquisition Regulation (FAR)
2.101.
   "Covered Federal action" means any of the following actions:
      (1) Awarding any Federal contract.
      (2) Making any Federal grant.
      (3) Making any Federal loan.
      (4) Entering into any cooperative agreement.
      (5) Extending, continuing, renewing, amending, or modifying any Federal contract, grant,
loan, or cooperative agreement.
  "Indian tribe" and "tribal organization" have the meaning provided in section 4 of the Indian
Self-Determination and Education Assistance Act (25 U.S.C. 450b) and include Alaskan
Natives.
  "Influencing or attempting to influence" means making, with the intent to influence, any
communication to or appearance before an officer or employee of any agency, a Member of
Congress, an officer or employee of Congress, or an employee of a Member of Congress in
connection with any covered Federal action.



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      ·'Local gowrn111cnt"· 111can'i a unit of government in a State nncl. if chartered. estahli~hed. or
  othern ise rcco~nitc'd h~ a '-.tatc for the performance of a gm cm mental dut~. incl11cling a local
  public authoritj. a ~pecwl district. an intrastate district, a council of go\ ernmems. a sponsor
  group representative organization, and any other instrumentality of a local government.
     "Officer or employee of an agency'' includes the following individuals who are employed by
  an agency:
         (I) An 111di \ iJual 'A-ho i~ appoi111eJ to a po~nion rn the Governme111 under I it!e 5, L,nited
  States Code. induding a position under a temporary appointment.
         (2) A member of the uniformed services. as defined in subsection J 01 (3). Title 37, United
  States Cock.
         (3) A ~pecial Governmem employee. as defined in section 202. Title 18. Linited States
 Code.
         (4) An individual v.ho is a member of a Federal advisory commitlee, as defined by the
 Federal Ad\ isory Committee Act, Title 5. United States Code, appendi;,. 2.
     ··Person"" mcnn~ an indi,·iclual. corporation. companj. association. nurhority. tirm. pnrtnership.
 society. State. and local government. regardless of whether such entity i~ operated for profit. or
 n01 for profit. This term excludes an Indian tribe. tribal organization. or any other Indian
 organization eligible to receive Federal contracts, grants, cooperative agreements, or Joans from
 an agency. but only with respect to expenditures by such tribe or organization that are made for
 purposes specified in paragraph (b) of this clause and are permitted by other Federal law.
    "'Reasonable compensation .. means, with respect to a regularly employed officer or employee
 of any person. compensation that is consistent with the normal compensation for such officer or
 employee for work that is not furnished to, not funded by, or not furnished in cooperation with
 the Federal Government.
    '"Reasonable payment'' means. with respect to professional and other technical services. a
payment in an amount that j5 consistent with the amount nonnally paid for such services in the
private sector.
    "Recipient" includes the Contractor and all subcontractors. This term excludes an Indian tribe,
tribal organization, or any other Indian organization eligible to receive Federal contracts, grants,
cooperative agreements, or loans from an agency, but only with respect to expenditures by such
tribe or organization that are made for purposes specified in paragraph (b) of this clause and are
permitted by other Federal law.
    "Regularly employed" means, with respect to an officer or employee of a person requesting or
receiving a Federal contract, an officer or employee who is employed by such person for at least
130 working days within I year immediately preceding the date of the submission that initiates
agency consideration of such person for receipt of such contract. An officer or employee who is
employed by such person for less than 130 working days within I year immediately preceding
the date of the submission that initiates agency consideration of such person shall be considered
to be regularly employed as soon as he or she is employed by such person for 130 working days.
   "State" means a State of the United States, the District of Columbia, or an outlying area of the
United States, an agency or instrumentality of a State, and multi-State, regional, or interstate
entity having governmental duties and powers.
   (b) Prohibition. 31 U.S.C. 1352 prohibits a recipient of a Federal contract, grant, loan, or
cooperative agreement from using appropriated funds to pay any person for influencing or
attempting to influence an officer or employee of any agency. a Member of Congress, an officer
or employee of Congress, or an employee of a Member of Congress in connection with any



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   covered Federal action~. In accordance \\ith 31 l '.S.C. I 3:'~ ihl' Contractor shall not use
   arproprimecl fund~ to pa~ any per~on for inllucncing or attc111111i11g Ill i11tlt1t'nce <111 o!licer or
  employee of any agency. a Member of Congress. an oJlicer or l:lllplo) t:e of Congress. or an
  employee of a Member of Congress in connection with the award of this contractor the
  extension. continuation, renewal. amendment. or modification of this contract.
        (1) The term appropria1edfund5 does not include profit or fee from a covered Federal
  action.
        (2) To the extent the Contractor can demonstrate that the Contractor has ~ufficient monies,
  other than Federal appropriated funds. the Government will assume thcit these other monies were
  spent for an) influencing activities that \\11lild be unalh1\1abk if paid llir \1·i1h hxicral
  appropriated funds.
     (c) Ell"eplion.1. The prohibition in paragraph (bl of this clause docs not apply under the
  following conditions:
        (I) Agency and legislalive liai:;on by Contractor emplo.J ·ees.
           (i) Pa~·ment of reasonable compensmion madc to an 11ffictT or cmplo~ec of the Contractor
 if the paymem is for agency and legislative liaison activities not direct!) related to this contract.
  for purposes of this paragraph. providing any information ~pc>c1Jicall~ requested by an agenC) or
 Congress is permitted at any time.
           (ii) Participating with an agency in discussions that are not related to a specific
 solicitation for any covered Federal action, but that concern-
              (A) The qualities and characte1istics (including individual demonstrations) of the
 person's products or services, conditions or terms of sale. and service capabilities: or
              (B) The application or adaptation of the person·s products or services for an agency's
 use.
          (iii) Providing prior to formal solicitation of any covered Federal action any information
 not specifically requested but necessary for an agency to make an informed decision about
 initiation of a covered Federal action;
          (iv) Participating in technical discussions regarding the preparation of an unsolicited
 proposal prior to its official submission; and
          (v) Making capability presentations prior to formal solicitation of any covered Federal
action by persons seeking awards from an agency pursuant to the provisions of the Small
 Business Act, as amended by Pub. L. 95-507, and subsequent amendments.
       (2) Professional and technical services.
          (i) A payment of reasonable compensation made to an officer or employee of a person
requesting or receiving a covered Federal action or an extension, continuation, renewal,
amendment, or modification ofa covered Federal action, if payment is for professional or
technical services rendered directly in the preparation, submission, or negotiation of any bid,
proposal, or application for that Federal action or for meeting requirements imposed by or
pursuant to law as a condition for receiving that Federal action.
          (ii) Any reasonable payment to a person, other than an officer or employee of a person
requesting or receiving a covered Federal action or an extension, continuation, renewal,
amendment, or modification of a covered Federal action if the payment is for professional or
technical services rendered directly in the preparation, submission, or negotiation of any bid,
proposal, or application for that Federal action or for meeting requirements imposed by or
pursuant to law as a condition for receiving that Federal action. Persons other than officers or




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  ernplo' eesor     n pC'r~on r.:que~ting or rccei\'ing a ccn cretl l·cdcral net ion includC' consulwn1<; and
  trade ao;<;ociatillll'-.
            (iii) A~ used in paragraph (c)(2) of1his clause. ··profrssional and technical service5·· are
  limited to advice and analysis directly applying any professional or technical discipline (for
  examples. see FAR 3.803(a)(2)(iii)).
           (iv) Requirements imposed by or pursuant to law as a condition for receiving a covered
  Federal av.arJ include tho:-.e re4uired b)' law or n:gulauon and any mher 1e4uiremcn1:, in the
  actual av.ard document:,.
        (3) Only those communications and services expressly authorized by paragraphs (c )(1) and
  (2) of'thi-., clau~.: an:: pcrmiu.:d.
     (d) D1.1clo.111re.
        (I) If the Contractor did not submit OMB Standard Form I.LL. Disclosure of Lobbying
 Activities, with its oiler. but registrants under the Lobbying Disclosure Act of 1995 have
  subsequently made a lobbying contact on behalf of the Contractor with respect to this contract,
 the Contractor sh;tll rnmplete and submit 0\1B Standard form LLL to JlrO\ ide 1hi: name of the
  lobbying registrants. including the individuals performing the services.
        (2) If the Contractor did submit OMB Standard Form LLL disclosure pursuant to paragraph
 (d) of the provi;.ion al f AR 52.203-11, Certilicaiion and Di;,clo~ure Regarding Payment;, tO
 Influence Certain Federal Transactions. and a change occurs that affects Block I 0 of the OMB
 Standard Form LLL (name and address oflobbying registrant or individuals performing
 services), the Contractor shall. at the end of the calendar quarter in which the change occurs,
 submit to the Contracting Officer within 30 days an updated disclosure using OMB Standard
 Form LLL.
    (e) Penalties.
        (I) Any person who makes an expenditure prohibited under paragraph (b) of this clause or
 who fails to file or amend the disclosure to be filed or amended by paragraph (cl) of this clause
 shall be subject to civil penalties as provided for by 31U.S.C.1352. An imposition ofa civil
 penalty does not prevent the Government from seeking any other remedy that may be applicable.
       (2) Contractors may rely without liability on the representation made by their subcontractors
 in the certification and disclosure form.
    (t) Cost allowability. Nothing in this clause makes allowable or reasonable any costs which
would otherwise be unallowable or unreasonable. Conversely, costs made specifically
unallowable by the requirements in this clause will not be made allowable under any other
provision.
    (g) Subcontracts.
       (1) The Contractor shall obtain a declaration, including the certification and disclosure in
paragraphs (c) and (d) of the provision at FAR 52.203-11, Certification and Disclosure
Regarding Payments to Influence Certain Federal Transactions, from each person requesting or
receiving a subcontract exceeding $150,000 under this contract. The Contractor or subcontractor
that awards the subcontract shall retain the declaration.
       (2) A copy of each subcontractor disclosure form (but not certifications) shall be forwarded
from tier to tier until received by the prime Contractor. The prime Contractor shall, at the end of
the calendar quarter in which the disclosure form is submitted by the subcontractor, submit to the
Contracting Officer within 30 days a copy of all disclosures. Each subcontractor certification
shall be retained in the subcontract file of the awarding Contractor.




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      (])The Contractor shall 111cludc the substanCL' ol' thi.., clau<;c. including this paragraph (g). in
 an~ ~ubcontrncl
               ncceding 'I; I )0.000

 SECTION 5.46
 [RESERVED]

 ~LC! 10;-., 5.4 7
 PROTECTING THE GOVERNMENT'S INTEREST WHC~ SL~BCO!\'TRACTJNG WITH
 CONTRACTORS DEBARRED. SUSPENDED OR PROPOSED FOR DEBARMENT (DEC
 2010) (f AR 52.209-6)

          (a) Definilion Commercial(r amilahle 11f(-1he-1!11:/f ((·ors; item. as used in this chuse-
          ( I) Means any item of supply (including construction material) that is-
          (i) A commercial item (as defined in paragraph (I) of the Jetinilion in FAR 2.10 I);
          (ii) Sold in substantial quantities in the c11mmncinl ma1lc1place: and
          (iii) Offered to the Government. under a contract or ~ubcontracl at any tier. without
  modification. in the same form in which it is sold in the commcn:ial marketplace: and
          (2) Does not include bulk cargo, as defined in ~ecuon 3 of the Shipping Act of 1984 (46
 U.S.C. App. 1702), such as agricultural products and petroleum products.
          (b) The Government suspends or debars Contractors to protect the Government's
 interests. Other than a subcontract for a commercially available off-the-shelf item, the Contractor
 shall not enter into any subcontract, in excess of $30.000 with a Contractor that is debarred,
 suspended, or proposed for debarment by any executive agency unless there is a compelling
 reason to do so.
          (c) 1l1e Contractor shall require each proposed subcontractor whose subcontract will
 exceed $30.000. other than a subcontractor providing a commercially available off-the-shelf
 item, to disclose to the Contractor, in writing, whether as of the time of award of the subcontract,
 the subcontractor, or its principals, is or is not debarred, suspended, or proposed for debarment
 by the Federal Government.
         (d) A corporate officer or a designee of the Contractor shall notify the Contracting
Officer, in writing, before entering into a subcontract with a party (other than a subcontractor
providing a commercially available off-the-shelf item) that is debarred, suspended, or proposed
for debarment (see FAR 9.404 for information on the Excluded Parties List System). The notice
must include the following:
       (I) The name of the subcontractor.
      (2) The Contractor's knowledge of the reasons for the subcontractor being in the Excluded
Parties List System.
      (3) The compelling reason(s) for doing business with the subcontractor notwithstanding its
inclusion in the Excluded Parties List System.
      (4) The systems and procedures the Contractor has established to ensure that it is fully
protecting the Government's interests when dealing with such subcontractor in view of the
specific basis for the party's debarment, suspension, or proposed debarment.
         (e) Subcontracts. Unless this is a contract for the acquisition of commercial items, the
Contractor shall include the requirements of this clause, including this paragraph (e)
(appropriately modified for the identification of the parties), in each subcontract that-


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        ('.2) h 1101 ;1,11hcn11tract rnrcnrnmerciall;. an1ilnhle   nff-thc-~helfitcm~.


 SECTION 5.48
 BANKRUPTCY (.JUL 1995) (FAR 52.242-13)

  In the event the Contractor e111ers into proceedings relating to bankruptcy, whether voluntary or
involuntary, the Contractor agree" to furnish, by certified mail or ekctronic commerce method
authorized by the contract. written notification of the bankruptcy to the Contracting Office
respon~ihk ror admini-,tcring the comract. This notilication !->hall be i'urni:->hcd \1ith1n fi\e da)"
of the initiation of the proceedings relating to bankruptcy filing. J'his notification shall mclude
the date on \\hich the bankruptcy petition was filed. lhe identit;. ofthc court in 11·hich the
bankruptcy petition was filed. and a listing of Government contract numbers and contracting
offices for all Government contracts against which final payment has not been made. This
obliga1ion rc111~1in!-> in c:flcct umil final payment under thi~ comract.

SECTION 5.49
Fl:.HBP TERMINAi ION FOR CONVENIENCE OF THE GOVERNMENT--NEGOTIATED
BENEFITS CONTRACTS (JAN 1998) (FEHBAR 1652.249-71)

    (a) The Government may terminate performance of work under this contract in whole or, from
 time to time, in part if the Contracting Officer determines that a termination is in the
 Government's interest. The Contracting Officer shall terminate by delivering to the Carrier a
 Notice of Termination specifying the extent of terminating and the effective date.
    (b) After receipt of a Notice ofTennination. and except as directed by the Contracting Officer.
 the Carrier shall immt:diately proceed with the following obligations, regardless of any delay in
 determining or adjusting any amounts due under this clause:
   (I) Stop work as specified in the notice.
   (2) Place no further subcontracts except as necessary to complete the continued portion of the
contract.
   (3) Terminate all subcontracts to the extent they relate to the work terminated.
   (4) Assign to the Government, as directed by the Contracting Officer, all right, title, and
interest of the Carrier under the subcontracts terminated, in which case the Government shall
have the right to settle or to pay any termination settlement proposal arising out of those
terminations.
   (5) With approval or ratification to the extent required by the Contracting Officer, settle all
outstanding liabilities and termination settlement proposals arising from the termination of
subcontracts; the approval or ratification will be final for purposes of this clause.
   (6) As directed by the Contracting Officer, deliver to the Government any data, reports, or
studies that, ifthe contract had been completed, would be required to be furnished to the
Government.
   (7) Complete performance of the work not terminated.
   (c) After termination, the Carrier shall submit a final termination settlement proposal to the
Contracting Officer in the form and with the certification prescribed by the Contracting Officer.
The Carrier shall submit the proposal promptly, but no later than I year from the effective date of
termination, unless extended in writing by the Contracting Officer upon written request of the



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  Carrier \\'Jthin this 1-year period. Ho\\e\ er. if the Contracting Oflicer determines that the fact~
   just it~ it. a terrninatinn ~t'ttlement proposal may he rccl·i1l'tl and acted nn ;ifter 1 year or an:
  exten5ion. lfthe Carrier fails to submit the proposal '~ithin 1he time allowed. the Contracting
  Officer may determine, on the basis of information available, the amount, if any, due the Carrier
  because of the termination and shall pay the amount determined.
      (d) Subject to paragraph (c) of this clause, the CaITier and the Contracting Officer may agree
  upon the IAihole or an) pan of the amounL to be paid or remaining tu be paid because of the
  tem1ination. The amount ma) include a reasonable allo\\ance for profit on v.ork done.
  However. the agreed amount. whether under this paragraph (cl) or paragraph (e) of this clause.
  exclu~i1e 1)fcost~ sho\\11 in 5ubparagrnph (e)(3) uf"thi~ clatbL'. nw: not exceed the total contract
  price as reduced by ( 1) the amount of payments pre\ 1ousl) made and (2) the contract price of
  work not terminated. The contract shall be modified. and the Carrier paid the agreed amount.
  Paragraph (e) of this clause shall not limit, restrict, or affect the amount that may be agreed upon
  to be paid under this paragraph.
     (e) lfthe Carrier and the Contracting Officl'r foil tn agree on the 11hole amount to be paid
 because of the termination of work. the Contracting Oflicer ~hall pa: the Carrier the amounts
 determined by the Contracting Officer as follows. blll "ithout duplication of any amounts agreed
 on under paragraph (d) above:
     (I) The contract price for completed services accepted by the Government not previously paid
 for.
     (2) The total of--
     (i) The costs incurred in the performance of the work terminated. including initial costs and
 preparatory expense allocable thereto, but excluding any costs attributable to services paid or to
 be paid under paragraph (e)(I) of this clause;
     (ii) The cost of settling and paying termination settlement proposals under terminated
 subcontracts that are properly chargeable to the terminated portion of the contract if not included
 in subdivision (e)(2)(i) of this clause; and
    (iii) A sum, as profit on subdivision (e)(2)(i) of this clause, determined by the Contracting
 Officer under 49.202 of the Federal Acquisition Regulation, in effect on the date of this contract,
to be fair and reasonable.
    (3) The reasonable costs of settlement of the work terminated, including--
    (i) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of
tenn.ination settlement proposals and supporting data;
    (ii) The tennination and settlement of subcontracts (excluding the amounts of such
settlements); and
    (f) The cost principles and procedures of part 31 of the Federal Acquisition Regulation, in
effect on the date of this contract, shall govern all costs claimed, agreed to, or determined under
this clause.
    (g) The Carrier shall have the right of appeal, under the Disputes clause, from any
detennination made by the Contracting Officer under paragraph (c), (e), or (i) of this clause,
except that ifthe Carrier failed to submit the termination settlement proposal or request for
equitable adjustment within the time provided in paragraph (c) or (i), respectively, and failed to
request a time extension, there is no right of appeal.
    (h) In arriving at the amount due the Carrier under this clause, there shall be deducted--
    ( I) All unliquidated advance or other payments to the Carrier under the terminated portion of
this contract;



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   (~) :\ny claim \\-hich the Government ha~ against the Carrier under thi~ contract: and
   ri) If the 1crmination is panial. the Carrier ma~ lik a propn,~11111th thl' Contracting Officer f(1r
 an equitable adju~tmem oftht: price(~) of the continued portion of the contract. The Contracting
 Officer shall make any equitable adjustment agreed upon. Any proposal by the Carrier for an
equitable adjustment under this clause shall be requested within 90 days from the effective date
of termination unless extended in writing by the Contracting Oflicer.
   (j)( I) l he lru1 ernmcnt ma), under tht: term::. and cundit1u11:> 11 prt:::.cn bt:::.. maJ....e partial
payments and payments against costs incurred by the Carrier for the terminated portion of the
contract. if the Contracting Officer believes the total of these payments will not exceed the
amount to 11 hich the: Carrier 11 ill hc L"ntitlcd.
   (2) If the total payments exceed the amount finally determined to be duc. the Carrier shall
repay the excess to the Government upon demand. together with interest computed at the rate
established by the Secretary of the Treasury under 50 U.S.C. App. 1215(b)(2). Interest shall be
computed for the period from the date the exces~ payment is received by the Carrier to the date
the e\cess i~ rcpaid
  (k) Unle:=.:. otherwi~e provided in this contract orb~ statute. tht: Carrier shall maintain all
records and document~ relating 10 1he terminated portion ofth1~ comrm:t for 3 years after final
~ettkment. Thi~ rncllllks all boob and other t:vidence bearing on the Carrier's L:osts and
expenses under this contract. The Carrier shall make these records and documents available to
the Government, at the Carrier's office, at all reasonable times, without any direct charge. If
approved by the Contracting Officer, photographs, microphotographs, or other authentic
reproductions may be maintained instead of original records and documents.

SECTION 5.50
FEHBP TERM INA TTON FOR DEFAULT-- NEGOTIATED BENEFITS CONTRACTS (.JAN
1998) (FEHBAR 1652.249-72)

  (a) (1) The Government may, subject to paragraphs (c) and (d) below, by written notice of
default to the Carrier, terminate this contract in whole or in part ifthe Carrier fails to--
  (i) Perform the services within the time specified in this contract or any extension;
  (ii) Make progress, so as to endanger performance of this contract (but see subparagraph (a)(2)
below); or
  (iii) Perform any of the other provisions of this contract (but see subparagraph (a)(2) below).
  (2) The Government's right to terminate this contract under subdivisions (1 )(ii) and (I )(iii)
above, may be exercised if the Carrier does not cure such failure within 10 days (or more if
authorized in writing by the Contracting Officer) after receipt of the notice from the Contracting
Officer specifying the failure.
  (b) lfthe Government terminates this contract in whole or in part, it may acquire, under the
terms and in the manner the Contracting Officer considers appropriate, supplies or service
similar to those terminated, and the Carrier will be liable to the Government for any excess costs
for those supplies or services. However, the Carrier shall continue the work not terminated.
  (c) Except for defaults of subcontractors at any tier, the Carrier shall not be liable for any
excess costs if the failure to perform the contract arises from causes beyond the control and
without the fault or negligence of the Carrier. Examples of such causes include (1) acts of God
or of the public enemy, (2) acts of the Government in either its sovereign or contractual capacity.
(3) fires, (4) floods, (5) epidemics, (6) quarantine restrictions, (7) strikes, (8) freight embargoes,



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<Jnd (9J unusu:ill: severe 11·cnthcr. In each instnnce thl' r:ulurc to perform must be beyond the
control and\\ ithout thl' fault or negligence of the C1rric1·.
   (d) Jr the failure to perform is caused by the default of a sulx:ontractor at any tier. and if the
cause of the default is beyond the control of both the CaITier and subcontractor, and without the
fault or neg Iigence of either. the Carrier shall not be liable for any excess costs for failure to
perform. unless the subcontracted supplies or services were obtainable from other sources in
~ufficiem time for the Carrier lO meet the required ddivel) ~ch<::Juk.
   (e) If this contract is terminated for default. the Government ma) require the Carrier to transfer
title and deliver to the Government. as directed by the Contracting Officer. any completed or
partiall) completed information and contract righb that the ( arricr ha~ specificall) produced or
acquired for the terminated portion of this contract.
   (f) IC after termination. it is determined that the Carrier \HlS not in default. or that the default
was excusable, the rights and obligations of the panies shall be the same as if the termination had
been issued for the convenience of the Government.           ·
  (g) The rights and remedies of the Gm·ernmen1 in thi' clm1;,e ~ire in addition to an) other righ1~
and remedies provided by law or under this contract.

SEC! 10.i\ 5.51
PENSION ADJUSTMENTS AND ASSET REVERSIONS (OCT 2010) (FAR 52.215-15)

    (a) The Contractor shall promptly notify the Contracting Officer in writing when it determines
 that it will terminate a defined benefit pension plan or otherwise recapture such pension fund
 assets.
    (b) For segment closings, pension plan terminations, or curtailment of benefits, the amount of
 the adjustment shall be-
   ( 1) For contracts and subcontracts that are subject to full coverage under Cost Accounting
 Standards (CAS) Board rules and regulations (48 CFR Chapter 99), the amount measured,
 assigned, and allocated in accordance with 48 CFR 9904.413-50(c)(l2); and
   (2) For contracts and subcontracts that are not subject to full coverage under CAS, the amount
measured, assigned, and allocated in accordance with 48 CFR 9904.413-50(c)(l2), except the
numerator of the fraction at 48 CFR 9904.413-50(c)( l 2)(vi)shall be the sum of the pension plan
costs allocated to all non-CAS-covered contracts and subcontracts that are subject to Federal
Acquisition Regulation (FAR) Subpart 31.2 or for which certified cost or pricing data were
submitted.
   (c) For all other situations where assets revert to the Contractor, or such assets are
constructively received by it for any reason, the Contractor shall, at the Government's option,
make a refund or give a credit to the Government for its equitable share of the gross amount
withdrawn. The Government's equitable share shall reflect the Government's participation in
pension costs through those contracts for which certified cost or pricing data were submitted or
that are subject to FAR Subpart 31 .2.
   (d) The Contractor shall include the substance of this clause in all subcontracts under this
contract that meet the applicability requirement of FAR I 5.408(g).

SECTION 5.52
REVERSION OR ADJUSTMENT OF PLANS FOR POSTRETIREMENT BENEFITS (PRB)
OTHER THAN PENSIONS (JUL 2005) (FAR 52.215-18)



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   (a) I he ( on1ractl1r ~h<ill promptl~ notify the Contr<icting Officer in l\Tiring 11hen it determinc<-
 that it 1vill ter111inate or reduce a PRB plan.
   (b) lf PRB fund assets revert, or inure to the Contractor. or are constructively received by it
 under a plan termination or otherwise, the Contractor shall make a refund or give a credit to the
 Government for its equitable share as required by 31.205-6(0)(6) of the Federal Acquisition
 Regulalloll (FAR). When determining or agreeing on the method for recovery oJ'the
 Go\ernmenl ·:'.equitable share. the contracting pa11ies should consid.:r the follovving methods:
 cost reduction. amortizing the credit over a number of years (with appropriate interest). cash
 refund. or :-onK' olhL'r agreed upon method. Should thL' p~1rties be unable to agree llll the 111.;-thod
 for recO\ ay of the Government· s equitable share. through good faith negotiarion::., the
 Contracting Officer shall designate the method of recovery.
  (c)The Contracror shall insert the substance of this clause in all subcontracts that meet the
 applicability requireme111::, off AR l 5.408(j).

SECTJOi\ 5.5:1
NO !Kr: 10 HIE GOVI-.R:\MENT OF LABOR DJSPL;TES (rEB 1997) (fAR 5:2.222-1)

  If the Contractor has knowledge that any actual or potential labor dispute is delaying or
threatens to delay the timely performance of this contract, the Contractor shall immediately give
notice. including all relevant information, to the Contracting Officer.

SECTION 5.54
PENALTIES FOR UNALLOWABLE COSTS (MAY 2001) (FAR 52.242-3)

   (a) Definition. Proposal. as used in this clause. means either --
   (!)A final indirect cost rate proposal submitted by the Contractor after the expiration of its
fiscal year which--
   (i) Relates to any payment made on the basis of billing rates; or
   (ii) Will be used in negotiating the final contract price; or
   (2) The final statement of costs incurred and estimated to be incurred under the Incentive Price
Revision clause (if applicable), which is used to establish the final contract price.
   (b) Contractors which include unallowable indirect costs in a proposal may be subject to
penalties. The penalties are prescribed in I 0 U.S.C. 2324 or 41 U.S.C. 256, as applicable, which
is implemented in Section 42.709 of the Federal Acquisition Regulation (FAR).
   (c) The Contractor shall not include in any proposal any cost that is unallowable, as defined in
Subpart 2.lofthe FAR, or an executive agency supplement to the FAR.
  (d) If the Contracting Officer detennines that a cost submitted by the Contractor in its proposal
is expressly unallowable under a cost principle in the FAR, or an executive agency supplement to
the FAR, that defines the allowability of specific selected costs, the Contractor shall be assessed
a penalty equal to--
  (1) The amount of the disallowed cost allocated to this contract; plus
  (2) Simple interest, to be computed--
  (i) On the amount the Contractor was paid (whether as a progress or billing payment) in excess
of the amount to which the Contractor was entitled; and




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   (ii) l '<>ing the <ipplicnhle rntc effective for each ~i\-month inlLT\ ~ii prc~crihed h: the Secretnry
 oft he Trea~ury pur>uant to Puh. L. 92-41 (8) Stat. 97).
   (e) If the Contracting Officer determines that a cost submitted by the Contractor in its proposal
includes a cost previously determined to be unallowable for that Contractor, then the Contractor
will be assessed a penalty in an amount equal to two times the amount of the disallowed cost
allocated to this contract.
  (t) Dekrmination~ under paragraphs (u) and (e) oi'thi~ clau~e a1e Jina! decision~ vvithin the
meaning of the Contract Disputes Act of 1978 (-11 U.S.C. 60 I. et seq.).
  (g) Pursuant to the criteria in FAR 42.709-5. the Contracting Ot1icer may waive the penalties
in paragraph (d) or (e) of this clause.
  (h) Payment by the Contractor of any penalty assessed under this clause does not constitute
repayment to the Government of any unallo\\'ahle cost ,,·hich has been paid by the Government
to the Contractor.

SECTlOJ\' 5.55
EMPLOYMENT REPORTS ON VETERAl\'S (SEP 2010) (I AR 52.222-37)

    (a) Dejinuions. As used m this clause, .. Armed l-on:es service medal veteran;· .. disabled
 veteran," "other protected veteran." and "recently separated veteran,'' have the meanings
 given in the Equal Opportunity for Veterans clause 52.222-35.
     (b) Unless the Contractor is a State or local government agency, the Contractor shall report at
 least annually, as required by the Secretary of Labor, on-
       ( I) The total number of employees in the contractor·s workforce, by job category and hiring
 location, who are disabled veterans, other protected veterans, Armed Forces service medal
 veterans. and recently separated veterans.
       (2) The total number of new employees hired during the period CO\ ercd by the repo11. and
of the total, the number of disabled veterans, other protected veterans, Armed Forces service
medal veterans, and recently separated veterans; and
       (3) The maximum number and the minimum number of employees of the Contractor or
subcontractor at each hiring location during the period covered by the report.
   (c) The Contractor shall report the above items by completing the Form VETS-IOOA, entitled
"Federal Contractor Veterans' Employment Report (VETS-1 OOA Report)."
   (d) The Contractor shall submit VETS- I OOA Reports no later than September 30 of each year.
   (e) The employment activity report required by paragraphs (b)(2) and (b)(3) of this clause
shall reflect total new hires, and maximum and minimum number of employees, during the most
recent 12-month period preceding the ending date selected for the report. Contractors may select
an ending date-
       ( I) As of the end of any pay period between July I and August 31 of the year the report is
due; or
      (2) As of December 31, if the Contractor has prior written approval from the Equal
Employment Opportunity Commission to do so for purposes of submitting the Employer
Information Report EEO-I (Standard Form 100).
   (f) The number of veterans reported must be based on data known to the contractor when
completing the VETS-IOOA. The contractor's knowledge of veterans status may be obtained in a
variety of ways, including an invitation to applicants to self-identify (in accordance with 41 CFR
60-300.42), voluntary self-disclosure by employees, or actual knowledge of veteran status by the



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 contmctnr. Thi-; paragraph clcie~ not relieve an emplciyer ofliahilit) j()r cJi,crimination uncll'r :rn
 !I.S.C 4:.>J:.>.
    (g) -1 he Comractor shall insert the terms of thi::. clau::.c in subcomracts of$ I 00,000 or more
 unless exempted by rules, regulations. or orders of the Secretary of Labor.

 SECTION 5.56
 ALH!URJL.\ I JU0. AMJ lOi\Sl::.i'< J l].JEl 2UU7) (1-1\H. 52.227-1)

    (a) The Government authorizes and consents to all use and manufacture. in perfonning this
contract or an) ~uhetliltr:ict rn an) tier. of an) im c'ntion ck:scribed in and co1 creel hy a l.'nited
States patent-
       ( I) Embodied in the structure or composition of any article the delivery of which is
accepted by the Government under this contract; or
       (:.>) U::.ed in machiner), tools. or methods •vho:,e use neces:,arily result!> from compliance by
the Cnntractor or a ~uhcontractor 11ith (i) :,,pecificaiion-. or llTitten prOI ision::- IC.1rming a p<irt or
this contract or (ii) 5pecific 1-Hi1ten instructions given by the Contracting Officer directing the
manner of performance. the entire liability to the Government for infringement of <1 United Stme'.>
patem shall be determined so!el) by the provi::.1011::. of the indemnit} clause, if any, included in
this contract or any subcontract hereunder (including any lower-tier subcontract), and the
Government assumes liability for all other infringement to the extent of the authorization and
consent hereinabove granted.
   (b) The Contractor shall include the substance of this clause, including this paragraph (b). in
all subcontracts that are expected to exceed the simplified acquisition threshold. However,
omission of this clause from any subcontract, including those at or below the simplified
acquisition threshold, does not affect this authorization and consent.

SECTION 5.57
NOTICE AND ASSISTANCE REGARDING PATENT AND COPYRIGHT INFRINGEMENT
(DEC 2007) (FAR 52.227-2)

    a) The Contractor shall report to the Contracting Officer, promptly and in reasonable written
detail, each notice or claim of patent or copyright infringement based on the performance of this
contract of which the Contractor has knowledge.
    (b) In the event of any claim or suit against the Government on account of any alleged patent
or copyright infringement arising out of the performance of this contract or out of the use of any
supplies furnished or work or services performed under this contract, the Contractor shall furnish
to the Government, when requested by the Contracting Officer, all evidence and information in
the Contractor's possession pertaining to such claim or suit. Such evidence and information shall
be furnished at the expense of the Government except where the Contractor has agreed to
indemnify the Government.
   (c) The Contractor shall include the substance of this clause, including this paragraph (c), in
all subcontracts that are expected to exceed the simplified acquisition threshold.

SECTION 5.58
PAYMENT BY ELECTRONIC FUNDS TRANSFER-CENTRAL CONTRACTOR
REGISTRATION (OCT 2003)(FAR 52.232-33)



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 (~)   \k1h11d of /1Ul'l/11'171.
           (I) All payments by the Government under 1h1~ con1rac1 shall be made by electronic
  funds transfer (EFT), except as provided in paragraph (a)(2) of this clause. As used in this
  clause, the term "EFT" refers to the funds transfer and may also include the payment information
  transfer.
           (2) Jn tht: event !ht: uO\·ernmt:nL i::. unabk to rcka::,c unc ur mure payment:> b) lFT, 1he
  Contractor agrees to either --
           (i) Accept payment by check or some other mutually agreeable method of payment: or
           (ii) Request the Gm crnmcnt to c:-.lc'nd 1hc pa~ rncnt dt1L' date until 5uch time ;is the
  Government can make pa:yrnent by EF I (bu1 see paragraph (d) of this clause).
  (b) Controclor'.1· EFT informalion. The Government shall make payment to the Contractor using
 the EFT information contained in the Central Contrac1or Registration (CCR) database. In the
 even1 1hat the EFT information changes, the Comracto1 shall be responsible for providing the
 updated information to the CCR databa~t:.
 (c) .Ht!chani.1ms /(Jr EFTpayme111. The Gm ernmem rna) make paymem by EFT through either
 the Automated Clearing House (ACH) net\\Ork. ~ubjcct 10 1he rules of the National Automated
 Cleanng House Association, or the Fed\\ire 1 ransfrr ~) ~wm. !'he ruh:s governing federal
 payments through the ACH are contained in 31 CFR part 210.
 (d) Suspension ofpayment. lfthe Contractor·s EFT info1111ation in the CCR database is incorrect,
 then the Government need not make payment to the Contractor under this contract until correct
 EFT information is entered into the CCR database: and any invoice or contract financing request
 shall be deemed not to be a proper invoice for the purpose of prompt payment under this
 contract. The prompt payment terms of the contract regarding notice of an improper invoice and
 delays in accrual of interest penalties appl).
 (e) Liohiliry for 1111comple1ed or erroneous 1rn11.1/C'n. ( 1) lf an uncompleted or erroneous transfer
 occurs because the Government used the Contracwr·s EFT information incorrectly, the
Government remains responsible for -
          (i) Making a correct payment;
         (ii) Paying any prompt payment penalty due; and
         (iii) Recovering any erroneously directed funds.
         (2) If an uncompleted or erroneous transfer occurs because the Contractor's EFT
           information was incorrect, or was revised within 30 days of Government release of the
           EFT payment transaction instruction to the Federal Reserve System, and -
         (i) If the funds are no longer under the control of the payment office, the Government is
          deemed to have made payment and the Contractor is responsible for recovery of any
          erroneously directed funds; or
         (ii) If the funds remain under the control of the payment office, the Government shall not
            make payment, and the provisions of paragraph (d) of this clause shall apply.
(f) EFT and prompt payment. A payment shall be deemed to have been made in a timely manner
in accordance with the prompt payment terms of this contract if, in the EFT payment transaction
instruction released to the Federal Reserve System, the date specified for settlement of the
payment is on or before the prompt payment due date, provided the specified payment date is a
valid date under the rules of the Federal Reserve System.
(g) EFT and assignment of claims. If the Contractor assigns the proceeds of this contract as
provided for in the assignment of claims terms of this contract, the Contractor shall require as a



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 condition of an> 'uch a~'ignment. that the assignet' ~hall register \cparately in the CCR database
 and '11:!11 hl' p<1id h> fT'J in accordance \\ith the term' ofthi~ clau'ic. '-<ot\\ithswnding an> othn
 requirement of thi~ contract. payment to an ultimate recipient other than the Contractor. or a
 financial institution properly recognized under an assignment of claims pursuant to subpart 32.8
 is not permitted. In all respects. the requirements of this clause shall apply to the assignee as ifit
 were the Contractor. EFT infonnation that shows the ultimate recipient of the transfer lo be other
 than the Cuntrm:tor, in the ab:::.enc.: of a prnp.:r a:::.:::.ignmelll of claim::. acccptabk to the
Government, is incorrect EFT info1111ation within the meaning of paragraph (cl) of this clause.
(h) Liahilizv for change of EFT information hyfinancia! agent. The Government is not liahle for
error!> re,ul1i11g from changes to EFT information made b> the Contraetor"s financial agl'llt.
(i) Payment in/ornwtwn. The payment or disbursing ofiice shall forward to the Contractor
available payment information that is suitable for transmission as of the date of relea~e of the
EFT instruction to the Federal Reserve System. The Government may request the Contractor to
designate a desired format and method(s) for delivery of payment information from a list of
formab and method5' the payment office i~ capabk ofe\ccuting. 1-hme\·er. the CiO\l'l"llment doe'
not guarantee that any panicular format or method of delivery is a\'ailahle at an> panicular
paymelll oflice and retain5 the latitude to use the format and delivery method most rnm·cnient to
the Gu\ernment. lfthe Government makes payment by check in at:cordance with paragraph la)
of this clause, the Government shall mail the payment information to the remittance address
contained in the CCR database.
(End of clause)

SECTION 5.59
PROHIBITION OF SEGREGATED FACILITIES (FEB 1999) (FAR 52.222-21)

  (a) "Segregated facilities." as u5ed in thi5 clause_ means any waiting rooms. work areas. re~t
rooms and wash rooms, restaurants and other eating areas, time clocks, locker rooms and other
storage or dressing areas, parking lots, drinking fountains, recreation or entertainment areas,
transportation, and housing facilities provided for employees, that are segregated by explicit
directive or are in fact segregated on the basis of race, color, religion, sex, or national origin
because of written or oral policies or employee custom. The term does not include separate or
single-user rest rooms or necessary dressing or sleeping areas provided to assure privacy
between the sexes.
  (b) The Contractor agrees that it does not and will not maintain or provide for its employees
any segregated facilities at any of its establishments, and that it does not and will not permit its
employees to perform their services at any location under its control where segregated facilities
are maintained. The Contractor agrees that a breach of this clause is a violation of the Equal
Opportunity clause in this contract.
  (c) The Contractor shall include this clause in every subcontract and purchase order that is
subject to the Equal Opportunity clause of this contract.

SECTION 5.60
SUBCONTRACTS FOR COMMERCIAL ITEMS (DEC 2010) (FAR 52.244-6)

  (a) Definitions. As used in this clause-




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   ··commercial item .. has the meaning contained in J'cckral .-\cquisition Regulation 2.101.
 Definition~.
     ··Subcontract'· includes a transfer of commercial items bcrncen divi5ion5. subsidiaries. or
 affiliates of the Contractor or subcontractor at any tier.
     (b) To the maximum extent practicable. the Contractor shall incorporate, and require its
 subcontractors at all tiers to incorporate. commercial items or nondevelopmental items as
 component;, or item;, to be supplied under thi~ cuntn.11.:1.
     (c)(l) The Contractor shall inse11 the follo1Aing clause;, in 5ubcontracts for commercial items:
           (i) 52.203-13, Contractor Code of Business Ethics and Conduct (APR 2010) (Pub. L.
  I I0-252. Title VI. Chapter I (..j I L S.C. 251 1wtc ). if the· .,ubwntract C:\cet:cl'> S5.000.000 and has
 a performance period of more than 120 <lays In altering thi;, clause to identify the appropriate
 panies. all disclosures of violation of the civil False Claims Act or of Federal criminal Jaw shall
 be directed to the agency Office of the Inspector General, with a copy to the Contracting Officer.
           (ii) 52.203-15, Whistlcblower Protection!:. Lnckr the American Recovery and
 Reimestmt:nt Act of2009 (.11 iN 2010) (Section 155~ nf Puh. I 111-5). if the subcontract is
 funded under the Recovery Act.
           (iii) 52.219-8. Utilization of Small Business Concern>. (DEC 2010) ( 15 U.S.C. 637(d)(2)
 an<l (3 )), if the subcomract oflers further 5ubcomractrng opportunities. lf the subcontract l e>.cept
subcontracts to small business concerns) exceeds $650.000 $1 .5 million for construction of any
public facility), the subcontractor must include 52.219-8 in lower tier subcontracts that offer
subcontracting opportunities.
          (iv) 52.222-26, Equal Opportunity (Mar 2007) (E.O. I 1246).
          (v) 52.222-35, Equal Opportunity for Veterans (SEP 2010) (38 U.S.C. 4212(a))
          (vi) 52.222-36, Affirmative Action for Workers with Disabilities (OCT 2010)
(29 U.S.C. 793).
          (vii) 52.222-40. Notification of Emplo~ ee Rights Under the National Labor Relations
Act (Dec 2010) (E.O. 13496), if flow down is required in accordance with paragraph (f) of FAR
clause 52.222-40.
           (viii) [Reserved].
          (ix) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels
(Feb 2006) (46 U.S.C. App. 1241 and 10 U.S.C. 2631), if flow down is required in accordance
with paragraph (d) ofFAR clause 52.247-64).
        (2) While not required, the Contractor may flow down to subcontracts for commercial
items a minimal number of additional clauses necessary to satisfy its contractual obligations.
    (d) The Contractor shall include the terms of this clause, including this paragraph (d), in
subcontracts awarded under this contract.

SECTION 5.61
NOTIFICATION OF EMPLOYEE RIGHTS UNDER NATIONAL LABOR RELATIONS ACT
(DEC 2010)

        (a) During the tenn of this contract, the Contractor shall post an employee notice, of such
size and in such form, and containing such content as prescribed by the Secretary of Labor, in
conspicuous places in and about its plants and offices where employees covered by the National
Labor Relations Act engage in activities relating to the perfonnance of the contract, including all




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  rlaccs \\here notice~ to employees arc cuqom8rily posted hoth ph~ ~ically and eleetronirnlh. in
  the lan~uagt'~ employee' ~peak. in acc0rd<ince \\ith ~<)(TR 471 ~(d) and (I}
       (I J Ph) sic al posting of the employee notice shall be in conspicuous places in and about the
  Contractor's plants and offices so that the notice is prominent and readily seen by employees
  who are covered by the National Labor Relations Act and engage in activities related to the
  performance of the contract.
      (2J IJ"the Lunuactor customarily posts notices to emplo)ees ekdrorncally, then the
  Contractor shall also post the required notice electronically by displaying prominently. on an)
  Web site that is maintained by the Contractor and is customarily used for notices to employees
                                                                        or
  about ll'rllls and condition~ of emp!O)·lllcnl. a link 10 the Dcpanmclll    Labnr"~ \\'eb ~ite that
 contains the full text of the poster. The link to the Depanment"s Web site. as referenced 111 (b)(3)
 of this section. must read ... lmp01tant Notice about Employee Rights to Organi/.C and Ffargain
 Collectively with Their Employers.··
      (b) This required employee notice, printed by the Depa1tment of Labor, ma) be-
      t I l Obtained from rhc Di\ i>ion of lnterprerations and Standarch. Office of l .abor-
 Managemen1 Standards. ll.S. Department of Labor. 200 Constitution A\·enue. NW .. Room'\-
 5609. V/ashing1on. DC 202 l 0. (202) 693-0123. or from any lield onice of the Otlice of Labor-
 Management !::.tandards or Oflice of Federal Contract Compliance Programs;
      (2) Provided by the Federal contracting agency if requested;
      (3) Downloaded from the Office of Labor-Management Standards Web site at
 hllp.llwww. dol.l{OV!olmslregs/compliance/EO I 3-196. htm; or
      (4) Reproduced and used as exact duplicate copies of the Department of Labor's official
 poster.
     (c) The required text of the employee notice referred to in this clause is located at Appendix
 A. Subpa11 A, 29 CFR Part 471.
     (cl) The Contractor shall comply with all provisions of the employee notice and related rules.
 regulations, and orders of the Secretary of Labor.
     (e) In the event that the Contractor does not comply with the requirements set forth in
 paragraphs (a) through (d) of this clause, this contract may be terminated or suspended in whole
 or in part, and the Contractor may be suspended or debarred in accordance with 29 CFR 471.14
and subpart 9.4. Such other sanctions or remedies may be imposed as are provided by 29 CFR
 part 4 71, which implements Executive Order 13496 or as otherwise provided by law.
     (f) Subcontracts.
     (I) The Contractor shall include the substance of this clause, including this paragraph (f), in
every subcontract that exceeds $I 0,000 and will be performed wholly or partially in the United
States, unless exempted by the rules, regulations, or orders of the Secretary of Labor issued
pursuant to section 3 of Executive Order 13496 of January 30, 2009, so that such provisions will
be binding upon each subcontractor.
     (2) The Contractor shall not procure supplies or services in a way designed to avoid the
applicability of Executive Order 13496 or this clause.
     (3) The Contractor shall take such action with respect to any such subcontract as may be
directed by the Secretary of Labor as a means of enforcing such provisions, including the
imposition of sanctions for noncompliance.
(4) However, ifthe Contractor becomes involved in litigation with a subcontractor, or is
threatened with such involvement, as a result of such direction, the Contractor may request the




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 l inited States. through the   Secretar~   of Lnhor. to enter 1n1n   ~uch   litigation to protect the interests
 of the l nited States.

SECTION 5.62
APPLICABLE LAW FOR BREACH OF CONTRACT CLAIM (OCT 2004) (FAR 52.233-4)

 LniteJ States Ja"" will apply to resolve an) claim uf breach ur 1h1::. cuntract.

SECTION 5.63
CF.'.'\TRAL CCJ\!TRi\CTOR RUil\ TR.'\TIO'\              (!Tl~   20 I 2J ( F.\R :12.204-7)

 (a) Definitions. As used in this clause-
    ··central Contractor Registration (CCR) database·· means the primary Government repository
 for Contractor infonnation required for the conduct oJ" bu~ine!>o. vvith the Government.
    ""Data Universal Numbering System (Dl ''\'SJ number·· mean~ the 9-digit number assigned h)
 Dun and Bradstreet. Inc. (D&Bl to identit~ unique business entities.
    ··Data Universal Numbering System ~4 (DL'\!\-·-1-J number.. means the DlJ'.\'S number
 assigned by D&B plus a 4-character suffix that may be ao.signed by a business concern. (D&B
 has no affiliation with this 4-character suffix.) This 4-character suffix may be assigned at the
 discretion of the business concern to establish additional CCR records for identifying alternative
 Electronic Funds Transfer (EFT) accounts (see the FAR at Subpart 32.11) for the same concern.
    "'Registered in the CCR database'" means that-
       (]) The Contractor has entered all mandatory infom1ation. including the DUNS number or
 the DUNS+4 number, into the CCR database; and
       (2) The Government has validated all mandatOr) data fields. to include validation of the
 Taxpayer Identification Number (TIN) with the Internal Revenue Service (IRS). and has marked
 the record "Active". The Contractor will be required to provide consent for TIN validation to the
 Government as a part of the CCR registration process.
 (b)(l) By submission of an offer, the offeror acknowledges the requirement that a prospective
 awardee shall be registered in the CCR database prior to award, during performance, and through
final payment of any contract, basic agreement, basic ordering agreement, or blanket purchasing
agreement resulting from this solicitation.
       (2) The offeror shall enter, in the block with its name and address on the cover page of its
offer, the annotation "DUNS" or "DUNS +4" followed by the DUNS or DUNS +4 number that
identifies the offeror's name and address exactly as stated in the offer. The DUNS number will
be used by the Contracting Officer to verify that the offerer is registered in the CCR database.
(c) If the offeror does not have a DUNS number, it should contact Dun and Bradstreet directly to
obtain one.
      (!)An offeror may obtain a DUNS number-
         (i) Via the Internet at http://fedgov.dnb.com/webform or if the offerer does not have
internet access, it may call Dun and Bradstreet at 1-866-705-5711 if located within the United
States; or
         (ii) If located outside the United States, by contacting the local Dun and Bradstreet office.
The offerer should indicate that it is an offeror for a U.S. Government contract when contacting
the local Dun and Bradstreet office.
      (2) The offerer should be prepared to provide the following information:



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          (i) Cnmpan) legal business.
          (ii) ·1 r~1tk~1: le. doing husines~. or 01her name h' '' hich your cntit) is cnmnwnl)'
 recogniLed.
          (iii) Company Physical Street Address, City, State, and ZIP Code.
          (iv) Company Mailing Address, City. State and ZIP Code (if separate from physical).
          (v) Company Telephone Number.
          ( >iJ Date the company was 5Laned.
          (vii) Number of employees at your location.
          (viii) Chief executive officer/key manager.
          ri:-,) l.ine ofbu~ine~s (indu!:>try).
          (X) Company Headquarters name and address (reporting relationship v.ithin your enlit) ).
(d) lf the Offcror does not become registered in the CCR database in the time prescribed by the
Contracting Officer, the Contracting Officer will proceed to award to the next otherwise
succe:,sful registered Offeror.
(e) Proces~ing 1ime. which normally takes 48 hour~. should be taken into consickrmion 11 hen
reg1~tcring. Ofterors who are not registered should consider applying for registration
immed iatel) upon receipt of this soliciration.
(l) ·1 he C.omrw.:tor i:, responsible for the accuracy and completeness of the data within the CCR
database, and for any liability resulting from the Government's reliance on inaccurate or
incomplete data. To remain registered in the CCR database after the initial registration. the
Contractor is required to review and update on an annual basis from the date of initial
registration or subsequent updates its infom1ation in the CCR database to ensure it is current.
accurate and complete. Updating information in the CCR does not alter the tem1s and conditions
of this contract and is not a substitute for a properly executed contractual document.
(g)
      (1)
         (i) If a Contractor has legally changed its business name, "doing business as .. name, or
 division name (whichever is shown on the contract), or has transferred the assets used in
 performing the contract, but has not completed the necessary requirements regarding novation
 and change-of-name agreements in Subpart 42.12, the Contractor shall provide the responsible
 Contracting Officer a minimum of one business day's written notification of its intention to
 (A) change the na111e in the CCR database; (B) comply with the requirements of Subpart 42.12 of
the FAR; and (C) agree in writing to the timeline and procedures specified by the responsible
Contracting Officer. The Contractor must provide with the notification sufficient documentation
to support the legally changed name.
         (ii) If the Contractor fails to comply with the requirements of paragraph (g)(l)(i) of this
clause, or fails to perform the agreement at paragraph (g)(I )(i)(C) of this clause, and, in the
absence of a properly executed novation or change-of-na111e agreement, the CCR infonnation
that shows the Contractor to be other than the Contractor indicated in the contract will be
considered to be incorrect information within the meaning of the "Suspension of Payment"
paragraph of the electronic funds transfer (EFT) clause of this contract.
      (2) The Contractor shall not change the name or address for EFT payments or manual
payments, as appropriate, in the CCR record to reflect an assignee for the purpose of assignment
of claims (see FAR Subpart 32.8, Assignment of Claims). Assignees shall be separately
registered in the CCR database. Information provided to the Contractor's CCR record that
indicates payments, including those made by EFT, to an ultimate recipient other than that



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 Contractor \\ill be considered to be incorrect inl0rnwtion \\ithin the meaning of the ··suspension
 or p<l~ mcnr· paragraph of the ITT cfau.;L' of tfii, cnntract
 (h) Offerors and Contractors may obtam information on regi~lration and annual confirmation
 requirements via the internet at https://www.acquisition.gov or by calling 1-888-227-2423, or
 269-961-5757.

 SEC! 100. 5.64
CONTRACTOR CODE           or BUSJNESS ETI !JCS AND CONDUCT (APR 2010) (FAR 52.203-
 13).

    (a) Dejini1io11s. As used in this clause--
    Agenl means any individual. including a director. an officer. an employee. or an independent
 Contractor, authorized to act on behalf of the organization.
    Full cooperalion--(1) Means disclosure to the Go' crnment of the information sufficient for
 Ja1~ enforcemclll to identit~ the ncnurc and ntclll nf rhc offcn~e and the indi1 iduals responsible
 for the conduct. lt includes providing timely and complete respon~c to Government auditors' and
 investigators' request for documents and acce~~ to emplo~ ee~ \·\ith information;
    (2) Does not foredose any Comractor right~ ari~111g in lav., the I· AR, or the tt:nm. of the
 contract. It does not require--
    (i) A Contractor to waive its attorney-client privilege or the protections afforded by the
 attorney work product doctrine; or
    (ii) Any officer, director, owner, or employee of the Contractor. including a sole proprietor, to
waive his or her attorney client privilege or Fifth Amendment rights; and
    (3) Does not restrict a Contractor from--
    (i) Conducting an internal investigation: or
    (ii) Defending a proceeding or dispute arising under the contract or related to a potential or
disclosed violation.
    Principal means an officer, director, owner, partner, or a person having primary management
or supervisory responsibilities within a business entity (e.g., general manager; plant manager;
head of a division, or business segment; and similar positions).
   Subcontract means any contract entered into by a subcontractor to furnish supplies or services
for performance of a prime contract or a subcontract.
   Subcontractor means any supplier, distributor, vendor, or firm that furnished supplies or
services to or for a prime contractor or another subcontractor.
    United States means the 50 States, the District of Columbia, and outlying areas.
    (b) Code of business ethics and conduct. (I) Within 30 days after contract award, unless the
Contracting Officer establishes a longer time period, the Contractor shall-
   (i) Have a written code of business ethics and conduct;
   (ii) Make a copy of the code available to each employee engaged in performance of the
contract.
   (2) The Contractor shall--
   (i) Exercise due diligence to prevent and detect criminal conduct; and
   (ii) Otherwise promote an organizational culture that encourages ethical conduct and a
commitment to compliance with the law.
   (3)(i) The Contractor shall timely disclose. in writing, to the agency Office of the Inspector
General (OIG), with a copy to the



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   C1111tracting Officer. whenever. in conncc1ion 11 i1h thl' [I\\ arc!. performance. or clo~cnut or thi"
  conrrm:t or an~ suhcnntract 1hercunder. the Cnntract11r hr1~ cn:clihlc C\ idencc that a principal.
  employee. agent, or subcontractor of the Comractor has committe<l--
      (A) A violation of Federal criminal law involving fraud, conflict of interest, bribery. or
  gratuity violations found in Title 18 of the United States Code: or
      (B) A violation of the civil False Claims Act (31 U.S.C. 3729-
  3 733 ).
      (ii) The Government, to the extent permitted by law and regulation, 1\.ill safeguard and treat
  information obtained pursuant to the Contractor's disclosure as confidential where the
  inl\ir111.tlillll ha~ been !llarh.ed · 'confickntial" or· 'proprietar)" b) the co1111x1n).
 To the extent permitted by la\\. and regulation. such information will not be released by the
 Government to the public pursuant to a Freedom of Information Act request. 5 l '.S.C. Section
 552. without prior notification to the Contractor. The Government may transfer documents
 provided by the Contractor to any department or agency within the Executive Branch if the
 information rl'latt!~ to !llatters within the organization\ jurisdiction.
     (iii) If the ,·iolation relates to an order agamst a Government wide acquisition contract. a muhi-
 agenc) contract. a multiple-award schedule contract such as the Federal Suppl) Schedule. or an~
 other procurement instrument imended for use by multiple agencies, the Contractor shall notify
 the OIG of the ordering agency and the IG of the agency responsible for the basic contract.
     (c) Business ethics awareness and complic:ince program and internal control system. This
 paragraph (c) does not apply if the Contractor has represented itself as a small business concern
pursuant to the award of this contract or if this contract is for the acquisition of a commercial
 item as defined at FAR 2.10 I. The Contractor shall establish the following within 90 days after
contract award, unless the Contracting Officer establishes a longer time period:
     ( 1) An ongoing business ethics awareness and compliance program.
     (i) This program shall include reasonable steps to communicate periodically and in a practical
manner the Contractor's standards and procedures and other aspects of the Contractor's business
ethics awareness and compliance program and internal control system, by conducting effective
training programs and otherwise disseminating information appropriate to an individual's
respective roles and responsibilities.
    (ii) The training conducted under this program shall be provided to the Contractor's principals
and employees, and as appropriate, the Contractor's agents and subcontractors.
    (2) An internal control system.
    (i) The Contractor's internal control system shall--
    (A) Establish standards and procedures to facilitate timely discovery of improper conduct in
connection with Government contracts; and
    (B) Ensure corrective measures are promptly instituted and carried out.
    (ii) At a minimum, the Contractor's internal control system shall provide for the following:
    (A) Assignment ofresponsibility at a sufficiently high level and adequate resources to ensure
effectiveness of the business ethics awareness and compliance program and internal control
system.
    (B) Reasonable efforts not to include an individual as a principal, whom due diligence would
have exposed as having engaged in conduct that is in conflict with the Contractor's code of
business ethics and conduct.




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      !C) Periodic rcvie''~ ofcompan_\ hu.'>ine..;<. practice~. procedure~. policie<;_ and internal control'
  for compliance" ith the Cnntrm:tor'~ c(ide o!" hu~inL''" l'thic-: and conduct and the 'peciCll
  requirements of Government contracung. induding--
     (1) Monitoring and auditing to detect criminal conduct;
      (2) Periodic evaluation of the effectiveness of the hu5iness ethics awareness and compliance
  program and internal control system. especially if crimmal conduct has been detected; and
     (3) Periodic a::.~e::,::.mt:nL of thi:: n::.k ol cnnllnal condw.:L 1\ 1Lh appropriate ::,tep::, to de::,ign,
  implement, or modify the busines:; ethic::, a,.,arenc::.~ and compliance program and the internal
 control system as necessary to reduce the risk of criminal conduct identified through this process.
     (0) An intt:rnal reporting mcchani~ni. ,uch :b a hu!linL'. "hich allo"' for anon) mit:-- or
 confidentiality, by which employees ma) report ::,uspectecl instances of improper conduct. and
 instructions that encourage employees to make \uch reports.
     (E) Disciplinary action for improper conduct or for failing to take reasonable steps to prevent
 or detect improper conduct.
     (F) Timely di5closure. in \\riting. to the <igcnr~ OJCI. 11ith a copy to the Contracting Officer.
 whenever. in connection with the award. performance. or closeout of an) Government contract
 perfom1ed by the Contractor or a subcomrac1or th~reunder. the Contractor has credible evidence
 that a principal, employee, agent, or subcomractor of the Comractor has committed a violauon of
 Federal criminal law involving fraud. conflict of interest. hiibery. or gratuity violations found in
 Title 18 U.S.C. or a violation of the civil False Claims Act (31 U.S.C. 3729-3733).
     (I) If a violation relates to more than one Government contract, the Contractor may make the
 disclosure to the agency OIG and Contracting Officer responsible for the largest dollar value
 contract impacted by the violation.
    (2) If the violation relates to an order against a Govemmentwide acquisition contract, a multi-
 agency contract, a multiple-award schedule contract such as the Federal Supply Schedule. or any
other procurement instrument intended for use by multiple agencies. the contractor shall notify
the OIG of the ordering agency and the IG of the agency responsible for the basic contract, and
the respective agencies' contracting officers.
    (3) The disclosure requirement for an individual contract continues until at least 3 years after
final payment on the contract.
    (4) The Government will safeguard such disclosures in accordance with paragraph (b)(3)(ii) of
this clause.
    (G) Full cooperation with any Government agencies responsible for audits, investigations, or
corrective actions.
    (d) Subcontracts. (I) The Contractor shall include the substance of this clause, including this
paragraph (d), in subcontracts that have a value in excess of $5,000,000 and a perfotmance
period of more than 120 days.
    (2) In altering this clause to identify the appropriate parties, all disclosures of violation of the
civil False Claims Act or of Federal criminal law shall be directed to the agency Office of the
Inspector General, with a copy to the Contracting Officer.

SECTION 5.65
EMPLOYMENT ELIGIBILITY VERIFICATION (JAN 2009) (FAR 52.222-54).

  (a) Definitions. As used in this clause--Commercially available off-the-shelf (COTS) item--
  (1) Means any item of supply that is--



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      (i I!\ cnmmcrcial item (as defined in paragraph (I I of the cletinition at :2.101 ):
      (1il "nld in ~uhqant1al quantities in the cnmmercinl markctpl<KL': and
      (iii) Offered to the Government. without modilication, in the :,ame form in v\hid1 it i~ :,old in
  the commercial marketplace; and
      (2) Does not include bulk cargo, as defined in section 3 of the Shipping Act of 1984 (46
  U.S.C. App. 1702). such as agricultural products and petroleum products. Per 46 CFR
  S25.!(cJ(2J, 'bulk cargo" means cargo that i:, loaded and earned in bulk unbmuJ :,hip \\llhout
 mark or count. in a loose unpackaged form. ha,·ing homogcnous characteristic~. Bulk rnrgo
  loaded into intennodal equipment. except LASH or Seabee barges. is subject to mark and count
 and. thc'rcfore. cca~c~ to be bulk cargo.
      Lmployec assigned to the contract mean~ an employee V>ho \\as hired after '.\ovt::mber 6. 1986.
 \\ho is directly performing work. in the United States. under a contract that is required to include
 the clause prescribed at 22.1803. An employee is not considered lo be directly performing -work
 under a contracr if the employee--
     ( I) ~ormall: performs support \\Ork. such as indi1-cct or o\erhcad functions: and
     (2) Doe:, not perform any substantial duties applicable to the contract.
     Subcontract means any contract. as defined 1112.10 I. entered into by a subt:ontractor w furnish
 ~upphes or :,erv ices for performance of a prime contract or a subcontract. lt mclu<lc5 but 1~ not
 limited to purchase orders, and changes and modifications to purchase orders.
     Subcontractor means any supplier, distributor, vendor, or firm that furnishes supplies or
 services to or for a prime Contractor or another subcontractor.
     United States, as defined in 8 U.S.C. 1101 (a)(38). means the 50 States, the District of
 Columbia, Puerto Rico, Guam, and the U.S. Virgin Islands.
     (b) Enrollment and verification requirements. (1) If the Contractor is not enrolled as a Federal
 Contractor in E-Verify at time of contract award, the Contractor shall--
     (i) Enroll. Enroll as a Federal Contractor in the E-Verify program \\'ithin 30 calendar days of
contract award;
     (ii) Verify all new employees. Within 90 calendar days of enrollment in the E-Verify program,
begin to use E-Verify to initiate verification of employment eligibility of all new hires of the
Contractor, who are working in the United States, whether or not assigned to the contract, within
3 business days after the date of hire (but see paragraph (b)(3) of this section); and
    (iii) Verify employees assigned to the contract. For each employee assigned to the contract,
initiate verification within 90 calendar days after date of enrollment or within 30 calendar days
of the employee's assignment to the contract, whichever date is later (but see paragraph (b)(4) of
this section).
    (2) If the Contractor is enrolled as a Federal Contractor in E-Verify at time of contract award,
the Contractor shall use £-Verify to initiate verification of employment eligibility of--
    (i) All new employees. (A) Enrolled 90 calendar days or more.
The Contractor shall initiate verification of all new hires of the Contractor, who are working in
the United States, whether or not assigned to the contract, within 3 business days after the date of
hire (but see paragraph (b)(3) of this section); or
    (B) Enrolled less than 90 calendar days. Within 90 calendar days after enrollment as a Federal
Contractor in £-Verify, the Contractor shall initiate verification of all new hires of the              ,
Contractor, who are working in the United States, whether or not assigned to the contract, within
3 business days after the date of hire (but see paragraph (b)(3) of this section); or




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        (ii) Employees assigned to the contract. Fur c<ich emplo~ cc assigned to the contract. the
    Contractor o;hall initiate 1erification 11 ithi11 llfJ c:dc11d<1r cla~ s after elate of L'nntract a11·;ml or
    within 30 days after assignment to the rnntract. 1\h1chcver date is later (but see paragraph (bJ(4J
    of this section).
        (3) If the Contractor is an institution of higher education (as defined at 20 U.S.C. I 00 I (a)); a
    State or local government or the government of a Federally recognized Indian tribe; or a surety
    performing under a takeover agrei:mcnt cntereJ imo "ith a} eJeral agern.:y pur~uant 10 a
    performance bond, the Contractor ma) choo~c to 1 erif") onl) employees assigned to the contract.
    whether existing employees or new hires. The Contractor shall follow the applicable verification
    requirements al (b)( l) or (b)(~ ). re~pcc1i1 c·I~. c\cc·pt that an~ requin:mern for 1 erification of ne11
    employees applies only lo new employee~ as'.-.igned to the contract.
       (4) Option to verify employment cligibilit~ of all employees.
   The Contractor may elect lo verify all existing employees hired after November 6, 1986, rather
   than just those employees assigned lo the contract. The Contrat:tor shall initiate verification for
   each existing emplo)ee wurking in the L:nitc'd ~talc'- 11ho11;.i~ hired after
   November 6. 1986. within 180 calendar da~~ of--
       (i) Enrollment in the E-Verify program: or
       (ii) Notification to £-Verify Operauon::. of the Contrat:tor'~ uet:ision to exercise this opuon,
   using the contact information provided in the E-Verify program Memorandum of Understanding
   (MOU).
       (5) The Contractor shall comply. for the period of perfomiance of this contract, with the
   requirements of the E-Verify program MOU.
       (i) The Department of Homeland Security (DHS) or the Social Security Administration (SSA)
   may terminate the Contractor's MOU and deny access to the E-Verify system in accordance with
   the terms of the MOU. Jn such case. the Contractor \\ill be referred to a suspension or debarment
   official.
      (ii) During the period between termination of the MOU and a decision by the suspension or
  debarment official whether to suspend or debar, the Contractor is excused from its obligations
   under paragraph (b) of this clause. If the suspension or debarment official determines not to
  suspend or debar the Contractor, then the Contractor must reenroll in E-Verify.
      (c) Web site. Information on registration for and use of the E-Verify program can be obtained
  via the Internet at the Department of Homeland Security Web site: http://www.dhs.gov/E-Verify.
      (d) Individuals previously verified. The Contractor is not required by this clause to perform
  additional employment verification using E-Verify for any employee--
      (!) Whose employment eligibility was previously verified by the Contractor through the E-
. Verify program;
      (2) Who has been granted and holds an active U.S. Government security clearance for access
  to confidential, secret, or top secret information in accordance with the National Industrial
  Security Program Operating Manual; or
      (3) Who has undergone a completed background investigation and been issued credentials
  pursuant to Homeland Security Presidential Directive (HSPD)-12, Policy for a Common
  Identification Standard for Federal Employees and Contractors.
      (e) Subcontracts. The Contractor shall include the requirements of this clause, including this
  paragraph (e) (appropriately modified for identification of the parties), in each subcontract that-
      (!) Is for--(i) Commercial or noncommercial services (except for commercial services that are
  part of the purchase of a COTS item (or an item that would be a COTS item, but for minor



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 modification~).   performed by the COTS pro,·icler. nncl nrc   normal!~   prc11'idccl for that COTS
 itL'lll ): or
    (i1) Construction;
    (2) Has a value of more than $3,000; and
    (3) Includes work performed in the United States.

 ~Ll l JU;\ 5.66
 UPDATES OF PUB LI CALLY AVAILABLE INfORMATION                        REGARDI~G
 RESPONSIBILITY MATTERS (FEB 2012) (FAR 52.209-9)

         (a) ·r he Contractor shall update the information in the 1:cderal Awardce Performance arnJ
integrity Information System (F APIIS) on a semi-annual basis. throughout the life of the
contract. by posting the required information in the Central Contractor Registration database via
https:1/\\ W\\ .acquisition.gov.
         (h) :'\~required by section JOJO nfthe Supplememal Appropriation:-. .'\ct. 2010 (Puh L.
111-21 :2)_ all infomiation posted in FAPIJS on or after April 15. :2011. except past performance
re,·iews. "'ill be publicly available_ FAPIIS consists oft\l\o segments-

          (I) The non-public segment, into which Government officials and the Contractor post
 information, which can only be viewed by-
          (i) Government personnel and authorized users performing business on behalf of the
 Government; or
          (ii) The Contractor, when viewing data on itself; and
          (2) The publicly-available segment, to which all data in the non-public segment of
 FAPIIS is automatically transferred after a waiting period of 14 calendar days. except for-
         (1) Past perfomiance reviews required by subpart 42.15:
         (ii) Infonnation that was entered prior to April 15, 2011; or
         (iii) Information that is withdrawn during the 14-calendar-day waiting period by the
 Government official who posted it in accordance with paragraph (c)(l) of this clause.
         (c) The Contractor will receive notification when the Government posts new information
to the Contractor's record.
         (I) If the Contractor asserts in writing within 7 calendar days, to the Government official
who posted the information, that some of the information posted to the non-public segment of
F APIIS is covered by a disclosure exemption under the Freedom of Information Act, the
Government official who posted the information must within 7 calendar days remove the posting
from FAPIIS and resolve the issue in accordance with agency Freedom oflnformation
procedures, prior to reposting the releasable information. The contractor must cite 52.209-9 and
request removal within 7 calendar days of the posting to FAPIIS_
         (2) The Contractor will also have an opportunity to post comments regarding infonnation
that has been posted by the Government. The comments will be retained as long as the associated
information is retained, i.e.~, for a total period of 6 years. Contractor comments will remain a part
of the record unless the Contractor revises them.
         (3) As required by section 3010 of Pub. L 111-212, all information posted in FAPIIS on
or after April 15, 2011, except past performance reviews, will be publicly available.
        (d) Public requests for system information posted prior to April 15, 2011. will be handled
under Freedom of Information Act procedures, including, where appropriate, procedures



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 promulgated under E.O. 12600.

 ~ECTION 5.6 7
 PERSONAL IDENTJTY VERIFICATION OF CONTRACTOR PERSONNEL (JAN 2011)
 (FAR 52.204-9)

    (a) The Contractor shall comply wnh agency per~onal identity verilication procedures
 identified in the contract that implement t lomeland Security Presidential Directive-12 ( HSPD-
 12). Office of Management and Budge! (O\H3 l guidance \1-05-24 and Federal Information
 Processing Standards Publication (FIPS Pl :13) Number 20 J.
   (b) The Contractor shall account for all forms of Government-provided identification issued to
the Contractor employees in connection with performance under this contract. The Contractor
shall return such identification to the i~~uing •igency al the earliest of any of the following, uni es~
othern ise de1crminecl b~ the Gm crnmc111:
   ( l) When no longer needed for contract performa111:e.
   ( 2) Upon completion of the Contractor emplo) c:e · ~ emplo) ment.
   (3) Upon contract completion or terminauon.
   (c) The Contracting Officer may delay final payment under a contract if the Contractor fails to
comply with these requirements.
   (d) The Contractor shall insert the substance of this clause, including this paragraph (d), in all
subcontracts when the subcontractor·s employees are required to have routine physical access to
a Federally-controlled facility and/or routine access to a Federally-controlled information
system. It shall be the responsibility of the prime Contractor to return such identification to the
issuing agency in accordance with the terms set forth in paragraph (b) of this section. unless
otherwise approved in writing by the Contracting Officer.

[Note: For purposes of this Contract, a Federally-controlled information system means the OPM
Letter of Credit System.]

SECTION 5.68
PRIVACY OR SECURITY SAFEGUARDS (AUG 1996) (FAR 52.239-1)

   (a) The Contractor shall not publish or disclose in any manner, without the Contracting
Officer's written consent, the details of any safeguards either designed or developed by the
Contractor under this contract or otherwise provided by the Government.
   (b) To the extent required to carry out a program of inspection to safeguard against threats and
hazards to the security, integrity, and confidentiality of Government data, the Contractor shall
afford the Government access to the Contractor's facilities, installations, technical capabilities,
operations, documentation, records, and databases.
   (c) If new or unanticipated threats or hazards are discovered by either the Government or the
Contractor, or if existing safeguards have ceased to function, the discoverer shall immediately
bring the situation to the attention of the other party.

[Note: For purposes of this Contract and this clause, privacy or security safeguards pertain to the
OPM Letter of Credit System.]



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 SH 1101\   ~Hi
 [NCOLRAGJ~G  COI\TRACTOR POLJCJES TO BAN TEXT Ml::SSAGlMi WlllLC
DRIVING (AUG 201 I) (FAR 52.223-18)

  (a) Definitions. As used in this clause-
      ··Dri\ 111g··_
          (I) Means operating a motor vehicle on an active roadwa; with the motor running.
 including while temporarily stationary because of traffic. a traffic light. stop sign. or otherwise.
          (~)Doc~ not include opcrnt1ng a motor \chicle ,,·ith or 11itlwut the motor running 1\hcn
 one has pulled over to the side ot: or off. an active road\.\ay and has halted in a location \.\here
 one can safely remain stationary.
     ··Text messaging'· means reading from or entering data into any handheld or other electrornc
de' ice. including for the purpose of short message service te~ting, e-mailing. in~tant messaging.
 nhtaining na1 ig~llional information. or engaging in any other form nf elect runic data rctric1·al or
electronic daLa communication. The term does not include glancing m or hstening to a
n,11·igational de,·ice that is secured in a commerc1ally designed holder affrxed to the \'eh1cle.
prondcd that the destination and route are programmed into the device either before driving or
while stopped in a location off the roadway where it is safe and legal to park.
(b) This clause implements Executive Order 13513, Federal Leadership on Reducing Text
Messaging While Driving, dated October I, 2009.
(c) The Contractor is encouraged to-
         (1) Adopt and enforce policies that ban text messaging while d1iving-
                    (i) Company-owned or -rented vehicles or Government-owned vehicles; or
                    (ii) Privately-owned vehicles when on official Government business or when
performing any work for or on hehalf of the Government.
         (2) Conduct initiatives in a manner commensurate with the size of the business, such as-
                    (i) Establishment of new rules and programs or re-evaluation of existing
         programs to prohibit text messaging while driving; and
                    (ii) Education, awareness, and other outreach to employees about the safety risks
associated with texting while driving.
(d) Subcontracts. The Contractor shall insert the substance of this clause, including this
paragraph (d), in all subcontracts that exceed the micro-purchase threshold.




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                        APPENDIX A




                               2013




                       Brochure Text

    For a copy of the 2013 brochure, please go to www.fepblue.org.




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                                          APPPiDJX B

         SUBSCRIPTION RATES, U-JARGcS, ALLOWANCES AND LIMITATIONS

                                      Fee-For-Service Carrier

                            (Blue Cro5::. an<l Blue   ~hield   A::.::.ociation)
                                    CONTRACT NO. CS I 039
                                     Effective January I. 2013


   (a) Biweekly net-to-carrier rates. \.-\ith appropriate adjustments for Enrollees paid on other
than a biweekly basis, are as follows:

Standard Option                                                   Basic Option

Self Only           $266.11                                       Self Only          $227.21
Self and famil)     $601.05                                       Self and Family    $532.02

    (b) The amount of administrative expenses and charges to be included in the Annual
Accounting Statement required by Section 3.2 shall be as set out in the schedule below:

                                                                            Amount

   (i) Administrative Expenses          Actual, but not to exceed the Contractual Expense Limitation
                                        for 2013. * plus an amount sufficient to cover the costs
                                        needed to pay the Plan·s Independent Public Accountant to
                                        undertake the audits and agreed upon procedures required in
                                        the "FEHBP Experienced-Rated Carrier and Service
                                        Organization Audit Guide."




   (ii) Taxes                           Actual (except that premium taxes as defined are not
                                        allowable).

   (iii) Service Charge                    REDACTED



        *The Contractual Expense Limitation for 2013 is the Contractual Expense Limitation for
2012 I     REDACTED        ), plus or minus adjustments for inflation and enrollment changes.
Notwithstanding Section 3.2(b) of this Contract, costs of"activities that improve health care
quality", as determined in accordance with the medical loss ratio provision of the Affordable
Care Act (Section 2718 of the Public Health Service Act; 42 U .S.C. § 300gg- l 8, and its
implementing regulations), are accounted for as benefits and are not counted toward the



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Contrnctual Expense Limit. The base shall be adjusted hy percentage changes in enrollment
(from OPf\.1\ i\1arch :'.O l ::'. to i\1ctrch 20 l .i headcount) and hy the percentage chm1gc in tht'
a\ erage rno111hl) Consumer Price Index for All Lrban Consumers (published monthly by the
Bureau of Labor Statistics) from the 12 month period ending on June 30, 2012, to the 12 month
period ending on June 30. 2013.




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                                        APPE\DIX C
                             FEHB Supplemental Literature Guidelines
                                        (RV J/\N 2013)

        Tl11S is the primary guide a Carrie1 ~hould u:.e tu a:.~e:.:. whether the Carrier':.
 supplemental marketing literature. irn:luding v.cbsite material, complies with FEHBAR 1603.70,
 Misleading. Deceptive or Unfair Advertising. (Use the NAlC Guidelines for additional guidance
 \\hen needed.)

 a)   GENER.!\.L
         I. Section 1.13 of the FEHB comract requires that the Carrier may not distribute or
 display marketing materials or other supplemental literature (111cluding provider directories) in a
 Federal or Tribal Employer facility or arrangL' !"or 1he di-;trihu1ion or~uch documents by Federal
 agencies or Tribal Employers unles~ the documents hm e been prepared in accordance with
 FEHBAR 1652.203-70. and the Carrier has cenilied to OPl\tl thm is lhe case.
         2. Review supplemental marketing matt.:rial for compliance each year, whether or not it
 changed from the past year.
         3. Word the literature simply and concisely to get a readily understandable. attractive
 marketing piece.
         4. Include sufficient detail to ensure accuracy.
         5. Under the FEHBP, the FEHB brochure is based on text approved by OPM and is a
complete statement of benefits, limitations, and exclusions. Include the following statement
(website material should include the statement as a preface) in all supplemental literature which
in any way discusses Plan benefits:
         "This is a summary [or brief description} of the features of the [insert Plan's name}.
Before making a final decision, please read the Plan's Federal brochure ([insert brochure
number]). All benefits are subject to the definitions, limitations, and exclusions set forth in the
Federal brochure. "
        6. You may include non-FEHBP benefits, i.e., benefits which are not FEHB benefits and
are not guaranteed under the Federal contract with the following disclaimer:
        "These benefits are neither offered nor guaranteed under contract with the FEHB
Program, but are made available to all Enrollees and family members who become members of
[insert Plan's name]."
        7. Supplemental literature must be clearly distinguishable from the Federal brochure.
        8. Do not use the FEHB logo in your supplemental literature.
        9. Do not use material which conflicts with the Federal brochure. If your material
conflicts, you must change the material or not distribute it.

b)      RATE PRESENTA TIO NS
        Under the FEHBP there are only two categories of enrollment, Self Only and Self and
Family. For most enrollments, the premium for each Enrollee's enrollment is shared between the
Enrollee and the Government or Tribal Employer. The Government or Tribal Employer
contribution is based on the formula provided in the FEHB law. Deductions for most Enrollees'
share, along with the Government's contribution or Tribal Employer's contribution, are made in
accordance with the schedule on which the employee, Tribal Employee, or annuitant's (retiree)


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 sal~Iry  nr annuitant chcei.. is is~ued h) the Enrollee\ agency. Tri ha I Fmplo) er. or retiree\
 retirement ')Stem \fo..,I empln)e~·.., ML' paid hiweekl) ..t\nnuitant~ are i..,sued nwnthl) cllL-ck<.,.
           Employees, Tribal Emplo)ees. and annuitants do not have separate categories oJ'
 enrollment. They pay the same rates, whether on a biweekly, semimonthly, or monthly basis.
 and receive the same benefits when they are in the same FEHB Plan, except that active Postal
 employees pay a lesser share. as their cost sharing fonnula with the Postal Service calls for a
 gn:::ater vov..:rnme111 contribution.
           The Enrollee\ share for each FEHB Plan for each type of enrollment (Sell' Only. Self and
 Family) is listed in the Guide to Federal Benefits. This Guide is prepared each Open Season and
 i~ distributed dire..:tl) to agcnues b) OP:V1. the) in turn distrihute the Guidi: to cmpili) c·c~. The
 Guide will be made available to Tribal Employers to distribute to fribal Employees. Bmeekl)
and monthly rates are also shO\~·n on an insert you prepare for your brochure. Separate guide~
are prepared for special groups of Enrollees, including those for which the agenc:- or Tribal
Employer makes no prenmun contribution, such as former spouses and employees and famil)
member'\\ ith temporaril) continued coverage.
           In rnai..ing :our rate presentations:
           I. With the exception of the Summary of Benefits and Coverage refrren..:ed at ~ection
 l .I 3(eJ, list your J-EHB rates in each piece of supplemental material \.\olm:h lists benelii:,. Do not
list the rates of any competitor Plan.
           2. Immediately above the rates include the following statement:
           "These rates do not apply to all Enrollees. If you are in a special enrollment category,
please refer to your special Guide to Federal Benefits or contact the agency or Tribal Employer
which maintains your health benefits enrollment."
           3. If you wish to list Postal rates in addition to non-Postal rates, Postal and non-Postal
rates should be clearly identified and listed separately. (Please note there are no monthly Postal
rates: upon retirement. Postal employees receive the non-postal contribution.)

c)   BENEFIT PRESENTATIONS
         Please note the following:
         1. Do not compare your benefits or operations with that of any other Plan.
        2. Accurately describe your FEHB benefits offering.
         3. A void incomplete or overstated benefit descriptions, or those which conflict with the
Federal brochure.
        4. Show applicable coverage limitations, such as day or dollar limitations, coinsurance or
deductibles.
        5. Do not list exclusions and limitations not listed in the Federal brochure.
        6. Do not include general references not in the brochure.
        7. Do not reference coverage for which a Federal employee, Tribal Employee, or retiree
would have to drop FEHB coverage. Exception: 5 CFR 890.301 provides that an annuitant or
former spouse, as defined in 5 U.S.C. 8901(10), who cancels FEHBP enrollment for the purpose
of enrolling in a prepaid health Plan under sections 1833 or 1876 of the Social Security Act may
register to re-enroll. Therefore, if yours is such a prepaid Plan contracting with Medicare you
must describe your Medicare supplemental program for Medicare-covered retirees.

d)  ENROLLMENT fNSTRUCTIONS
       Enrollment under the FEHBP is governed solely by the Federal Employees Health
Benefits law and applicable regulations. The various Federal agencies and Tribal Employers
have responsibility for administering the law and regulations during the annual open enrollment
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  period (Open Season) and at all other timL'' during the~ ear ..'\gency and Tribal Emplo: er
  per5onnel offices perform the ba~ic hc;tlth hent'lit' function'. -;uch a~ in,tructing empln:ees
  about the conduct of the Open Season and other health benclits matter:,, ansv.ering employee
  questions, and processing elections and changes of enrollment, including determinations of
 eligibility and assignment of effective dates of coverage. Agency and Tribal Employer payroll
 offices make the necessary salary deductions.
          The Federal instrument for clet:ting tu enroll in a Plan or chang111g an l!Xi::.ting l!nrollml!nt
  in a Plan from Self Only to Self and f'amil) (or the re,erse) i:, the Standard Form (SF) 2809, or
 alternative electronic or telephonic method approved by OPM. Carriers must be able to accept
 electronic file transfers. The effccti\ e datL' l(ir Open SL·a~1111 L'nrollmcnb i:, the fir~l da) of the
 first pay period which begins on or alier Janmlr) I for employees; the effective date generally is
 January I for annuitants and Tribal Emplo:ees. Tht· specific effective date for an individual will
 be assigned by the individual's personnel office.
          Covered Family Members are as dclined in the FCHB regulations. Basically, Family
 Members are immediate famil) memher~. including ~111iu~e and children under age 26. When
 Self and Family coverage is established for an indi' idual. all famil} members as defined under
 the regulations are automaticall) covered a~ or th~ elkctiH' date assigned h~ the personnel
 oi1ice, whether or not they are listed on the SJ-' 2809, on other documents, or communicated by
 electronic or telephonic transmittal. Family members (e.g., newborns) who are added under an
 existing Self and Family enrollment are automatically covered from the date the individual
 becomes a family member, e.g., from birth. Personnel offices do not issue any notification when
 a new Family Member is added under an existing Self and Family enrollment and the Enrollee
 does not submit a new SF 2809 or other election instrument.
          The agencies and Tribal Employers are the primary contact point for employees and
Tribal Employees on health benefits enrollment matters. OPM's Office of Retirement Programs
performs this function for annuitants (retirees) As highlighted below. Carriers may not impose
their own enrollment requirements and procedures.
          l. Do not give specific instructions on enrollment. Statements regarding election of
coverage or change of enrollment procedures, requirements, or eligibility must be limited to
referring individuals to their personnel office for the appropriate instructions; your plan's Self
Only and Self and Family enrollment codes; and notice for retirees to contact their retirement
system for instructions.
         2. While the Carrier may ask Enrollees for information (see Section f) and may follow-
up with Enrollees and, when necessary, the employing office, the Carrier will not require a
member complete plan specific enrollment or application forms. (You may ask the Enrollee to
complete "information" forms.) You may ask the Enrollee to keep you advised offamily
member changes and you may verify the change, but failure to complete a form does not render
an eligible Family Member ineligible.
         3. Personnel offices will not stock your Plan's forms. Do not indicate otherwise.
         4. If supplemental literature is directed to potential members rather than just-enrolled
members, do not include statements indicating otherwise.
         5. Again, the Federal brochure, rather than any other plan document, is the Member's
complete statement of benefits. Do not indicate otherwise.
e) PROVIDER DIRECTORIES
         The provider directory must conform to the requirements listed below. Carriers must
provide access to the provider directory on their website and send a provider directory to any
Enrollee who requests one.


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        f>lca~c nntc that a rcderal employee. Trihal Fmployce. or annuitant chllo~ing ~om Plan
during thc Open Sc;.is\111 i~ doing ~u 11·1lh the t"';pcctation that the Plan\ 1m11 idt.:r din~cwr1 j,
accurate and that providers sho"'n \I ill be available starting January I.
        1. Show the Plan's hospitals, individual physicians, and group practice medical facilities.
State the addresses of the medical facilities and show the general location within the service area
for individual doctors and hospitals.
        2. In the Jll'ectory. di~play prominently the following statement: "It i~ 1111pona11t tu knuv.
"'hen you enroll in this Plan. benefits are available as described in the Plan· s f·e<leral brochure.
but the continued participation of any one doctor. hospital or other provider cannot be
guaranteed."
        3. Do nut list enrollment or eligibility requirements on the provider din:ctory.

f) INFORMATION FORMS
         You ma) distribute forms to obtain information from Enrollees about the Enrollee and
an: F::imil: \frmber~. For instance. to obtain the information regarding .'vlcdicarL': ou 11 ill need
for rate-:-.etting pu1voses under the Federal Program. you may ask who i:; enrolled under
Medicare Part A. Vled1care Part B or Medicare Parts A and B. For an01hcr e:-.ample. ( arricrs
may ask that a primary care doctor be selected for a Point of Service product. lf)OU v.i:,,h LO
distribute an information form, you may find such forms are more readily returned if they are
postage-paid. Do not indicate enrollment in the Plan is contingent upon completing and returning
the form.




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                                         .\PPE'\'DIX D
                          Rl'LES FOR COOIWL\ATIO'\ OF BE\'EFITS
                                Model Rcgulauon ~ervice--.luly 2005
                          National Association ofJnsurance Commissioners

When a person is covered by two {2) or more plans. the rules for determining the order of benefit
paymems are as follov,.s:

       A.     (1)    The primary plan slrnll pay or provide its benefits as if the secondary plan or
                     plans did not C\ i:--t.

              (2)    If the primary plan is a closed panel plan and the secondary plan is not a
                     closed panel plan. the secondar) plan shall pay or provide benefits as if it
                     were the primary plan v.hen a covered person uses a non-panel provider.
                     except for cmergcnc) sen ice'~ or authorized referrah that are paid or
                     provided hy the primar) plan.

              (3)    When multiple contracts pro\ 1ding coordinated coverage are treated as a
                     single plan under this regulation. this section applies only to the plan as a
                     whole, and coordination among the component contracts is governed by the
                     terms of the contracts. If more than one carrier pays or provides benefits
                     under the plan. the carrier designated as primary within the plan shall be
                     responsible for the plan's compliance with this regulation.

              (4)    If a person is covered b) more than one secondary plan, the order of benefit
                     detem1ination rules of this regulation decide the order in which secondary
                     plans benefits are detem1ined in relation to each other. Each secondary plan
                     shall take into consideration the benefits of the primary plan or plans and the
                     benefits of any other plan, which, under the rules of this regulation, has its
                     benefits determined before those of that secondary plan.

      B.     (I)     Except as provided in Paragraph (2), a plan that does not contain order of
                     benefit determination provisions that are consistent with this regulation is
                     always the primary plan unless the provisions of both plans, regardless of the
                     provisions of this paragraph, state that the complying plan is primary.

             (2)     Coverage that is obtained by vi1tue of membership in a group and designed to
                     supplement a part of a basic package of benefits may provide that the
                     supplementary coverage shall be excess to any other parts of the plan
                     provided by the contract holder. Examples of these types of situations are
                     major medical coverages that are superimposed over base plan hospital and
                     surgical benefits, and insurance type coverages that are written in connection
                     with a closed panel plan to provide out-of-network benefits.




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        C.      1\ plan ma: wkc inw con~idcrntion the benefit~ paid or pn111clcd h: anuthcr plan
                on!:   11   hen. unckr the rules of thi~ regulation. it is scco11d:1n tu   th~ll   ntlicr J'htn

        D.      Order of Benefit Determination

                Each plan determines its order of benefits using the first of the follovving rules that
                applie~:


                (I l        Non-Dependent or Dependent

                            (a)     Subject to Subparagraph (b) of this paragraph. the plan that c:overs the
                                    rerson other than as a dependent. for example as an employee.
                                    member. subscriber, policyholder or retiree. is the primary plan and
                                    the plan that covers the person as a dependent is the secondary plan.

                            (b)     (i)     If the person is a Medicare beneficiar). and. as a result t>f the
                                            pro\·ision~ of Title XVIII of the Social Sccurit: Act and
                                            1mplementing regulations, Medicare is:

                                            (I)      Secondary to the plan covering the person as a
                                                     dependent; and

                                            (II)     Primary to the plan covering the person as other than a
                                                     dependent (e.g. a retired employee),

                                    (ii)    Then the order of benefits is reversed so that the plan covering
                                            the person as an employee, member, subscriber, policyholder
                                            or retiree is the secondary plan and the other plan covering the
                                            person as a dependent is the primary plan.

 Drafting Note: The provisions of Subparagraph (b) address the situation where federal law requires
 Medicare to be secondary with respect to group health plans in certain situations despite state law
 order of benefit determination provisions to the contrary. One example of this type of situation
 arises when a person, who is a Medicare beneficiary, is also covered under his or her own group
health plan as a retiree and under a group health plan as a dependent of an active employee. In this
situation, each of the three plans is secondary to the other as the following illustrates: (I) Medicare
is secondary to the group health plan covering the person as a dependent of an active employee as
required pursuant to the Medicare secondary payer rules; (2) the group health plan covering the
person as a dependent of an active employee is secondary to the group health plan covering the
person as a retiree, as required under Subparagraph (a); and (3) the group health plan covering the
claimant as retiree is secondary to Medicare because the plan is designed to supplement Medicare
when Medicare is the primary plan. Subparagraph (b) resolves this problem by making the group
health plan covering. the person as a dependent of an active employee the primary plan. The
dependent coverage pays before the non-dependent coverage even though under state law order of_
benefit determination provisions in the absence of Subparagraph (b), the non-dependent coverage
(e.g. retiree coverage) would be expected to pay before the dependent coverage. Therefore, in cases
that involve Medicare, generally, the dependent coverage pays first as the primary plan, Medicare


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pays second as tht' secondary plan. and the· non-dcpL'ndcnt     CO\   eragc (e.g. retiree cm ~·rage J pays
third.

The reason why Subparagraph (b) provides for this order of benefits making the plan covering the
person as dependent of an active employee primary is because Medicare will not be primary in most
situations to any coverage that a dependent has on the basis of active employment and. as such.
Medicare will not provide any mformation a~ to \.\hat ;'vle<licare v.oul<l have paid had it been
primary. The plan covering the person as a rL'tiree cannot determine its payment as a secondary plan
unless it has information about what the primary plan paid. The plan covering the person as a
dependent of an active emplo: ee could be: ~ubjccl to p.:nal!it'~ under the "vk<licarc secondar) pnyer
rules if it refuses to pay its benefits. The plan cm ering the person as a retiree is not subject to the
same penalties because. in this pa11icular ~lluation. a~ dcs<.:rihed nbove. which does not inYolve a
person eligible for Medicare based on end-stage renal disease (ESRD). the plan can never be
primary to Medicare. As such. out of the three plans providing coverage to the person, the plan
co,·cring the person as a dependent of an acti\ c cmplo: cc can determine its benefits most easily.

               (2)     Dependent Child ( m cred l ncler "v1ore Than One Plan

                       Unless there is a court decree stating otherwise, plans covering a dependent
                       child shall detem1ine the order of benefits as follows:

                       (a)    For a dependent child whose parents are married or are living
                              together, whether or not they have ever been manied:

                              (i)     The plan of the parent whose birthday falls earlier in the
                                      calendar year is the primary plan: or

                              (ii)    If both parents have the same birthday, the plan that has
                                      covered the parent longest is the primary plan.

                       (b)    For a dependent child whose parents are divorced or separated or are
                              not living together, whether or not they have ever been married:

                              (i)     If a court decree states that one of the parents is responsible
                                      for the dependent child's health care expenses or health care
                                      coverage and the plan of that parent has actual knowledge of
                                      those terms, that plan is primary. If the parent with
                                      responsibility has no health care coverage for the dependent
                                      child's health care expenses, but that parent's spouse does,
                                      that parent's spouse's plan is the primary plan. This item shall
                                      not apply with respect to any plan year during which benefits
                                      are paid or provided before the entity has actual knowledge of
                                      the court decree provision;

                                      (ii)If a court decree states that both parents are responsible
                                      for the dependent child"s health care expenses or health
                                      care coverage, the provisions of Subparagraph (a) of this
                                      paragraph shall determine the order of benefits;
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                               (iii)   Jr a  court d..:crcc state' that the p~irL·nh 11~1\C jp111t cu,tod~
                                       without specifying that one parent ha~ respon,1bility for the
                                       health care expenses or health care coverage of the dependent
                                       child, the provisions of Subparagraph (a) of this paragraph
                                       shall determine the order of benefits: or

                               (iv)    lf there is no court decree allocating re!>ponsibilit) for the
                                       child"s health care expenses or health care cm-erage. the order
                                       of benefits for the chi Id are a' fol lo\\~:

                                       (I)      The plan covering the custodial parent:

                                       (II)     The plan covering the custodial parent" s   ~pause:


                                       (Ill)    The plan covering the   non-cu~todial   parent: and then

                                       (IV)     The plan covering the non-custodial parent·s spouse.

                       (c)     For a dependent child covered under more than one plan of
                               individuals who are not the parents of the child. the order of benefits
                               shall be determined, as applicable, under Subparagraph (a) or (b) of
                               this paragraph as if those individuals were parents of the child.

Drafting Note: Subparagraph (c) addresses the situation where individuals other than the parents of
a child are responsible for the child"s health care expenses or provide health care CO\-erage for the
child under each of their plans. In this situation, for the purpose of detem1ining the order of benefits
under this paragraph, Subparagraph (c) requires that these individuals be treated in the same manner
as parents of the child.

               (3)     Active Employee or Retired or Laid-Off Employee

                       (a)    The plan that covers a person as an active employee that is, an
                              employee who is neither laid off nor retired or as a dependent of an
                              active employee is the primary plan. The plan covering that same
                              person as a retired or laid-off employee or as a dependent of a retired
                              or laid-off employee is the secondary plan.

                      (b)     If the other plan does not have this rnle, and as a result, the plans do
                              not agree on the order of benefits, this rule is ignored.

                      (c)     This rnie does not apply ifthe rule in Paragraph (I) can determine the
                              order of benefits.

Drafting Note: This rule applies only in the situation when the same person is          covered under two
plans, one of which is provided on the basis of active employment and the               other of which is
provided to retired or laid-off employees. The rule in Paragraph (1) does not           apply because the
person is covered either as a non-dependent under both plans (i.e. the person is        covered under one
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 plan as an active employee and al th,· <;arnc time i-. \'.l)\crcd a~ a retired or laid-off crnplo~ee under
 the other plan) or as a dcpendcnr under lmth plan~ (i c. ti1L' pcr'ion j-, CO\Crt'd umkr one plan as a
 dependent of an active employee c1n<l at the same time i::, covered under the other plan as a
 dependent of a retired or laid-off employee). This rule does not apply when a person is covered
 under his or her own plan as an acti\'e employee or retired or laid-off employee and a dependent
 under a spouse's plan provided to the ~pouse on the basis of active employment. In this situation,
 the rule in Paragraph (I) applic~ becau~c the per~on i~ cu\ creel as a nun-depen<lent under one plan
 (i.e. the person is covered as an acti\'c employee or retired or laid-off employee) and at the same
 time is covered as a dependent under the other plan (i.e. the person is covered as a dependent under
 a plan provided on the basi~ of acti\ ,, L'lllJllO) lllL'lll or a plan that i~ pnl\·idcd tu retired or laid-off
 employees).

                 (4)     COBRA or State Cominuation Coverage

                         (a)     If a person '' ho~L' <.:O\ cragc i~ pnn ickd pursuant to COBRA or under
                                 a right of co11tinum1011 pursuant to state or other federal Jaw is covered
                                 under another plan. tht• plan cm ering the person a~ an employee.
                                 member, ::iubscriber or retiree or covering the person as a dependent
                                 of an employee, member_ subscriber or retiree is the primary plan and
                                 the plan covering that same person pursuant to COBRA or under a
                                 right of continuation pursuant to state or other federal law is the
                                 secondary plan.

                         (b)     If the other plan does not have this rule, and if, as a result, the plans
                                 do not agree on the order of benefits. this rule is ignored.

                         (c)     This rule does not apply if the rule in Paragraph (1) can determine the
                                 order of benefits

Drafting Note: COBRA originally provided that coverage under a new group health plan caused
the COBRA coverage to end. An amendment passed as part of P.L. 101-239, the Omnibus Budget
Reconciliation Act of 1989 (OBRA 89), allows the COBRA coverage to continue if the newly
acquired group health plan contains any preexisting condition exclusion or limitation. In this
instance two group health plans will cover the person, and the rule above will be used to determine
which of the plans determines its benefits first. In addition, some states have continuation
provisions comparable to COBRA.

Drafting Note: This rule applies only in the situation when a person has coverage pursuant to
COBRA or under a right of continuation pursuant to state or other federal law and has coverage
under another plan on the basis of employment. The rule under Paragraph (1) does not apply
because the person is covered either: (a) as a non-dependent under both plans (i.e. the person is
covered under a right of continuation as a qualified beneficiary who, on the day before a qualifying
event, was covered under the group health plan as an employee or as a retired employee and is
covered under his or her own plan as an employee, member, subscriber or retiree); or (b) as a
dependent under both plans (i.e. the person is covered under a right of continuation as a qualified
beneficiary who, on the day before a qualifying event, was covered under the group health plan as a
dependent of an employee, member or subscriber or retired employee and is covered under the other
plan as a dependent of an employee, member, subscriber or retiree). The rule under Paragraph (I)
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clpplic-, \\hen the per~on i~ CO\ creel pur-,uant to COBRA or under a right or cuntim1:llilln pur~uant to
;,tate or otlll'r federal let\\ a;, a 11011-clcpL'lllklll and co\'ercd under the other pl;111 a-, a tk11endc11t nf an
employee. member. sub5cnber or retiree. The rule in this paragraph doc~ not appl: bccau~e the
person is covered as a non-dependent under one of the plans and as a dependent under the other
plan.

                 ( 5)     Lunger or Shorter Length of Coverage

                          (a)     If the preceding rules do not determine the order of benefits. the plan
                                  1hat cowred the per:-.on for the longer pcri11d ,i1· 1imc· j, the p1·irnar:
                                  plan and the plan that covered the person for the :-.honer period                or
                                  time is the secondary plan.

                         (b)      To determine the length of time a person has been t:O\ ered under a
                                  plan. two successi\'e plans shall he trentcd :1-. one· if 1hc- CO\ cred
                                  per;,on was eligible under the second plan '' ith1n t11 e111:-fom (2-f)
                                  hour'.'. after coverage under the first plan ended.

                         (c)      The start of a new plan does not include:

                                  (i)      A change in the amount or scope of a plan· s benefits:

                                  (ii)     A change in the entity that pays. provides or administers the
                                           plan's benefits; or

                                  (iii)    A change from one type of plan to another. ~uch as. from a
                                           single employer plan to a multiple employer plan.

                         (d)      The person's length of time covered under a plan is measured from
                                  the person's first date of coverage under that plan. If that date is not
                                  readily available for a group plan, the date the person first became a
                                  member of the group shall be used as the date from which to
                                  determine the length of time the person's coverage under the present
                                  plan has been in force.

                (6)      If none of the preceding mies detetmines the order of benefits. the allowable
                         expenses shall be shared equally between the plans.                                   ·




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                                          APPENDIX E
                           Small Business Subcontracting Plan (JUL 2005)

         (a) This clause does not apply to small business concerns.
         (b) Definiliom-. A<> used in thi" clm1<:c--
          "Commercial item .. means a product or service that satisfies the definition of commercial
  item in section 2.101 of the Federal Acquisition Regulation.
          "Commercial plan'· means a ~ubcontrncting plan (including goals) that covers the
  offeror·s fiscal year and that applit:-, to the L'lllirc production of'commt:n:ial item!> ~old by either
  the entire company or a po11ion thereof (e.g .. division. plant. or product line).
          ··Individual contract pl;m·· means a subcontracting plan that co\ers the entire contract
  period (including option periods). applies to a specific contract. and has goals that are based on
  the offeror's planned subcontracting in support of the specific contract. except that indirect costs
  incurred for common or joint purpo:,e~ may be allocated on a prorated basis to the contract.
          ··Master plan·· means a subc11111racting plan that comains all the required elements of an
  individual contract plan. e:-.cept goal!>. and ma~ b1.: incorporat1.:d into indi\ idual contract plan5.
 provided the master plan has been approved.
          "Subcontract" means any agreement (other than one involving an employer-employee
 relationship) entered into by a Federal Government prime Contractor or subcontractor calling for
 supplies or services required for perfomrnnce of the contract or subcontract.
          (c) The offeror, upon request by the Contracting Officer, shall submit and negotiate a
 subcontracting plan, where applicable, that separately addresses subcontracting with small
 business, veteran-owned small business, service-disabled veteran-owned small business,
 HUBZone small business concern:.. small disad\.antaged business. and women-owned small
 business concerns. lfthe offeror is submitting an individual contract plan. the plan must
 separately address subcontracting with small business, veteran-owned small business, service-
 disabled veteran-owned small business, HUBZone small business, small disadvantaged business,
 and women-owned small business concerns, with a separate part for the basic contract and
 separate parts for each option (if any). The plan shall be included in and made a part of the
 resultant contract. The subcontracting plan shall be negotiated within the time specified by the
 Contracting Officer. Failure to submit and negotiate the subcontracting plan shall make the
offeror ineligible for award of a contract.
         (d) The offeror's subcontracting plan shall include the following:
         (1) Goals, expressed in terms of percentages of total planned subcontracting dollars, for
the use of small business, veteran-owned small business, service-disabled veteran-owned small
business, HUBZone small business, small disadvantaged business, and women-owned small
business concerns as subcontractors. The offeror shall include all subcontracts that contribute to
contract performance, and may include a proportionate share of products and services that are
normally allocated as indirect costs.
         (2) A statement of-
         (i) Total dollars planned to be subcontracted for an individual contract plan; or the
offeror's total projected sales, expressed in dollars, and the total value of projected subcontracts
to support the sales for a commercial plan;
         (ii) Total dollars planned to be subcontracted to small business concerns;
         (iii) Total dollars planned to be subcontracted to veteran-owned small business concerns;

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         Ii' l Total   c/oll;l!"~   planned to he subcontracted to sen·icl.'-d i-.ahkd 'ctc•r;111-m\ ned 'mall
 husine~s:
         (v) Total dollars planned          10   be subcomracted to HUBZone     ~ma/1 bu5ine~~   concerns:
         (vi) Total doJlars planned to be subcontracted to small disadvantaged business concerns;
 and
           (vii) Total dollars planned to be subcontracted to women-owned small husiness concerns.
          (3 J A d1:~1:rip1iun of the principal type~ of supplies and ~en-ice~ tu bl.' ~ubrnn1rac1..:J_ and
  an identification of the types planned for subcontracting to--
          (i) Small business concerns:
          (ii l Vl..'lnan-o\\ ned ~mall bu~ine~~ concern~:
          (iii) Service-disabled veteran-owned small business concerns:
          ( i\') HUB Zone small husiness concerns:
          (v) Small disadvantaged business concerns; and
          (\ i) Women-owned small business concerns.
          (-1) :\ ckscription of the method used to de\ clop the ~ubcuntracting gllal, in
 paragraph (d )(I) of this clause.
          <5) A de~cripuon of the method used to identi l'y poternial ~ciwu·~ for sol ici tai ll)ll
 pu1poses (e.g., exi~ting company source lists, the Procuremem Marketing and Access )\:etvvork
 (PRO-Net) of the Small Business Administration (SBA), veterans service organizations. the
 National Minority Purchasing Council Vendor Info1mation Service. the Research and
 Information Division of the Minority Business Development Agency in the Department of
 Commerce, or small, HUBZone, small disadvantaged. and women-owned small business trade
 associations). A film may rely on the information contained in PRO-Net as an accurate
 representation of a concern 's size and ownership characteristics for the purposes of maintaining a
 small. veteran-owned small. service-disabled veteran-owned small. l-flJBZone small. small
 disadvantaged. and vvomen-owned small business source list. Use of PRO-Net as its source list
 does not relieve a firm of its responsibilities (e.g., outreach, assistance, counseling, or publicizing
 subcontracting opportunities) in this clause.
         (6) A statement as to whether or not the offeror included indirect costs in establishing
 subcontracting goals, and a description of the method used to determine the proportionate share
of indirect costs to be incurred with-
         (i) Small business concerns;
         (ii) Veteran-owned small business concerns;
         (iii) Service-disabled veteran-owned small business concerns;
         (iv) HUBZone small business concerns;
         (v) Small disadvantaged business concerns; and
         (vi) Women-owned small business concerns.
         (7) The name of the individual employed by the offeror who will administer the offeror's
subcontracting program, and a description of the duties of the individual.
        (8) A description of the efforts the offeror will make to assure that small business,
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged business, and women-owned small business concerns have an
equitable opportunity to compete for subcontracts.
        (9) Assurances that the offeror will include the clause of this contract entitled "Utilization
of Small Business Concerns" in all subcontracts that offer further subcontracting opportunities,
and that the offeror will require all subcontractors (except small business concerns) that receive


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  subcontracts in exces~ of s:;oo.ooo (<;; 1.000.000 f(ir conqrnction       or     an: public racilityl to adopt a
  subcontracting p!Jn that co111pJi1."' \\ ith the· rcquirCl11l'l1tS nr thi.;, ciaUS<.'.
          (I 0) Assurances that the otkror v\ ill-
          (i) Cooperate in any studies or surveys as may be required;
          (ii) Submit periodic reports so that the Government can determine the extent of
 compliance by the offeror with the subcontracting plan:
          (iii) Submit Stan<lar<l form (SJ· J 29-L Subcomracting Report for Jn<lividual Contract~,
 and/or SF 295, Summary Subcontract Report. in accor<lance with paragraph U) of this clause.
 The reports shall provide information on subcontract awards to small business concerns, veteran-
 o,xned small busine5s corn:crn~. ~<-'r\ ic ..·-di:-.ahkd 'ctcr:m-01111<.'d ~mall husines!> concerns.
 HUBZone small business concern~. 5rnall tfoadvamagcd business concerns, women-owned small
 business concerns. and I listoricall: l31ack College:; and l_ini' ersities and Minority Institutions.
 Reporting shall be in accordance with the instructions on the forms or as provided in agency
 regulations.
         (iv) Ensure that ib ~ubcontractPrs agree to :-,ubmit SF 294 and SF 295.
         (l l) A description or the 1: pe~ of records that "ill be maintained concerning procedures
 that have been adopted to compl: \\uh the requirements and goals in the plan. including
 establishing source lists; and a descnpuon of the otferor" s efforts to locate small business,
 veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
 business, small disadvantaged business. and women-owned small business concerns and award
 subcontracts to them. The records shall include at least the following (on a plant-wide or
 company-wide basis, unless otherwise indicated):
         (i) Source lists (e.g.. PRO-Net). guides. and other data that identify small business,
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged bu~iness. and women-owned small business concerns.
         (ii) Organizations contacted in an attempt to locate sources that are small business.
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged business, or women-owned small business concerns.
         (iii) Records on each subcontract solicitation resulting in an award of more than
$100,000, indicating-
             (A) Whether small business concerns were solicited and, if not, why not;
            (B) Whether veteran-owned small business concerns were solicited and, if not, why
not;
            (C) Whether service-disabled veteran-owned small business concerns were solicited
and, if not, why not;
            (D) Whether HUBZone small business concerns were solicited and, if not, why not;
            (E) Whether small disadvantaged business concerns were solicited and, if not, why not;
            (F) Whether women-owned small business concerns were solicited and, if not, why
not; and
            (G) If applicable, the reason award was not made to a small business concern.
        (iv) Records of any outreach efforts to contact-
            (A) Trade associations;
            (B) Business development organizations;
            (C) Conferences and trade fairs to locate small, HUBZone small, small disadvantaged,
and women-owned small business sources; and
            (D) Veterans service organizations.
        (v) Records of internal guidance and encouragement provided to buyers through-
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            (i\J \1·/nrkshop~ . ..;eminars. training. etc: and
                ( B) :Vlonitonng performance toe\ aluatc compkmce "ith the· prngr:1m · ... requirement'
             (vi) On a contract-b)-COntract basis. records to support av.ard data ~ubm1ttcd b) the
  offeror to the Government, including the name, addre'ss, and business size of each subcontractor.
  Contractors having commercial plans need not comply with this requirement.
         (e) In order to effectively implement this plan to the extent consistent with efficient contract
  performance. the Comractor ~hall perform the following funct10n::.:
         ( 1) Assist :,mall business, veteran-owned small business. servit:e-disabled 'ctcran-ovvncd
  small business. HUBZone small business, small disadvantaged business. and women-owned
  ::.mall bu::.incs::. nineern, b~ arranging solit:itation::.. time for the preparnti11n 11l'hid,. quamitic,.
  spet:1fit:ations. and delivery schedules so as to facilitate the participation b~ such concerns.
  Where the Contractor·s lists of potential small business. veteran-owned small hu~iness. sen ice-
 disabled veteran-o'Wned small business, HUBZone small business. small disadvantaged business.
 and \\-omen-owned small busines:, subcontractors are excessi\·el; long. reasonable effort shall be
  made to gi' call such small busine~s concerns an opportunit~ to compc·tc 11\ er ;1 pcTiod Dftime.
         (~) Prm ide adequate and timely consideration of the potentialitie::. of small bu,,inc~s.
 'eteran-owned small business. service-disabled veteran-owned small bus1nc,,s. I IL 13Lune small
 business, small disadvantaged business, and women-owned small bu~ines~ rnncerns 111 all
 "make-or-buy" decisions.
         (3) Counsel and discuss subcontracting oppo1tunities with representatives or small business,
 veteran-owned small business, service-disabled veteran-owned small business. HUBZone small
 business. small disadvantaged business, and women-owned small business firms.
        (4) Confirm that a subcontractor representing itself as a HUBZone small business concern is
 identified as a certified HUBZone small business concern by accessing the Central Contractor
 Registration (CCR) database or by contacting SBA.
        ( 5) Prm 1de notice to subcontractors concerning penalties and remedies for
 misrepresentations of business status as small, veteran-owned small business, HUBZone small,
small disadvantaged, or women-owned small business for the purpose of obtaining a subcontract
that is to be included as part or all of a goal contained in the Contractor's subcontracting plan.
        (f) A master plan on a plant or division-wide basis that contains all the elements required by
paragraph (d) of this clause, except goals, may be incorporated by reference as a part of the
subcontracting plan required of the offeror by this clause; provided-
        ( I) The master plan has been approved;
        (2) The offeror ensures that the master plan is updated as necessary and provides copies of
the approved master plan, including evidence of its approval, to the Contracting Officer; and
       (3) Goals and any deviations from the master plan deemed necessary by the Contracting
Officer to satisfy the requirements of this contract are set forth in the individual subcontracting
plan.
       (g) A commercial plan is the preferred type of subcontracting plan for contractors
furnishing commercial items. The commercial plan shall relate to the offeror's planned
subcontracting generally, for both commercial and Government business, rather than solely to
the Government contract. Commercial plans are also prefen-ed for subcontractors that provide
commercial items under a prime contract, whether or not the prime contractor is supplying a
commercial item.
       (h) Prior compliance of the offeror with other such subcontracting plans under previous
contracts will be considered by the Contracting Officer in determining the responsibility of the
offeror for award of the contract.
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      (i) The failure of the Con1r;1c1or nr ~ubcontractor to comply in good laith '' ith-
      ( I) The cl<iusc of rim cnntraL·t L'llt11bl ··t ti li1atin11 Of \nrnll Hll'-inc~s Concern': .. or
      (2) An approved plan required b) thi~ clau!>c. ~hall be a material breach of the contract.
      (j) The Contractor shall submit the following reports:
      (1) Standard Form 29./. Suhco111rac1111g Repor!for Individual Contracts. This report shall
be submitted to the Contracting Officer semiannually and at contract completion. The report
cover!> o.ubcontract av.ard data related to thi~ contract. l"hi~ report i~ not requireu for commercial
plans.
      (2) Standard Form 195. Summary Suhcrmlrac/ Reporl. This report encompasses all of the
contracts vvith the a\\arding c1gcnc~. It mu~l be ~uhmittcd ~emi-annuall) fi.ir conlracb \\ith the
Depa11ment of Defense and annually for contracts v. ith ci,·iltan agencies. If the reporting activity
is covered by a commercial plan. the reporting acti\ ity must report annually all subcontract
awards under that plan. All reports submitted at the close of each fiscal year (both individual and
commercial plans) shall include a breakout. in the Contractor·,. format. of subcontract awards, in
whole dollars. to small di::.adYanl<lged hu~inc~~ concern::. b~ '\'orth American Industry
Classification System (NAICSl Indu~tr~ '.-.ubsector. For a commercial plan. the Contractor may
obtain from each of its subcontractors a predominant t\;AICS Industry Subsector and report all
awards to that subconLractor under its predominant :\AICS Industry Subsector.

                                           (End of clause)

  Alternate I (Oct 2001 ). When contracting by sealed bidding rather than by negotiation,
substitute the following paragraph (c) for paragraph (c) of the basic clause:

     (c) The apparent low bidder. upon request by the Contracting Officer, shall submit a
  subcontracting plan, where applicable. that separately addresses subcontracting with small
  business, veteran-owned small business. service-disabled veteran-owned small business,
  HUBZone small business, small disadvantaged business, and women-owned small business
  concerns. If the bidder is submitting an individual contract plan, the plan must separately
  address subcontracting with small business, veteran-owned small business, service-disabled
  veteran-owned small business, HUBZone small business, small disadvantaged business, and
  women-owned small business concerns, with a separate part for the basic contract and
  separate parts for each option (if any). The plan shall be included in and made a part of the
  resultant contract. The subcontracting plan shall be submitted within the time specified by
  the Contracting Officer. Failure to submit the subcontracting plan shall make the bidder
  ineligible for the award of a contract.

   Alternate JI (Oct 2001). As prescribed in l 9.708(b)(l ), substitute the following paragraph (c)
for paragraph (c) of the basic clause:

     (c) Proposals submitted in response to this solicitation shall include a subcontracting plan
  that separately addresses subcontracting with small business, veteran-owned small business,
  service-disabled veteran-owned small business, HUBZone small business, small
  disadvantaged business, and women-owned small business concerns. If the offeror is
  submitting an individual contract plan, the plan must separately address subcontracting with
  small business, veteran-owned small business, service-disabled veteran-owned small
  business, HUBZone small business, small disadvantaged business, and women-owned small
  business concerns, with a separate part for the basic contract and separate parts for each
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 option rifan: l The plan shall be included in and made a part nfthc rc,ulwnt contract. The
 ~uhcnntracung plan ~hall he negotiated within the time specitied




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               Blue Cross® and Blue Shield®
                   Service Benefit Plan
                                             http://www.fepblue.org


                                                                                                              2011
                     A fee-for-service plan (standard and basic option)
                          with a preferred provider organization
                                                                                         -------:•!'!:..




Sponsored and administered by: The Blue Cross and Blue Shield Association and participating Blue Cross and
Blue Shield Plans
Who may enroll in this Plan: All Federal employees and annuitants who are eligible to enroll in the FEHB




                                                                        @
Enrollment codes for this Plan:
   104 Standard Option - Self Only
   105 Standard Option - Self and Family
   111 Basic Option - Self Only
   112 Basic Option - Self and Family                                   ACCREDITED
                                                                    CASE MANAGEMENT
                                                                    Case management accreditation for this Plan is provided
                                                                    either through URAC or through Health Plan accreditation
                                                                    fromNCQA.




                                                                                           @
                                                                                          ACCREDITED
                                                                                       HEALTH WEB SITE
                                                                   This Plan has Health Web Site accreditation from URAC.

                                                                    See the 2011 FEHB Guide for more information on
                                                                    accreditation.
                                                                    Authorized for distribution by the:

                                                                                  United States
                                                                                  Office of Personnel Management
                                                                                  Center for
                                                                                  Retirement and Insurance Services
                                                                                  http://WWW.opm.gov/insure



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                   Important Notice from the Blue Cross and Blue Shield Service Benefit Plan About
                                      Our Prescription Drug Coverage and Medicare
OPM has determined that the Blue Cross and Blue Shield Service Benefit Plan's prescription drug coverage is, on average,
expected to pay out as much as the standard Medicare prescription drug coverage will pay for all plan participants and is
considered Creditable Coverage. Thus you do not need to enroll in Medicare Part D and pay extra for prescription drug
benefit coverage. If you decide to enroll in Medicare Part D later, you will not have to pay a penalty for late enrollment as
long as you keep your FEHB coverage.

However, if you choose to enroll in Medicare Part D, you can keep your FEHB coverage and your FEHB plan will
coordinate benefits with Medicare.

Remember: If you are an annuitant and you cancel your FEHB coverage, you may not re-enroll in the FEHB Program.

                                                      Please be advised

If you lose or drop your FEHB coverage and go 63 days or longer without prescription drug coverage that's at least as good
as Medicare's prescription drug coverage, your monthly premium will go up at least 1% per month for every month that you
did not have that coverage. For example, if you go 19 months without Medicare Part D prescription drug coverage, your
premium will always be at least 19 percent higher than what many other people pay. You'll have to pay this higher premium
as long as you have Medicare prescription drug coverage. In addition, you may have to wait until the next Annual
Coordinated Election Period (November 15th through December 31st) to enroll in Medicare Part D.

                                             Medicare's Low Income Benefits
 For people with limited income and resources, extra help paying for a Medicare prescription drug plan is available.
 Information regarding this program is available through the Social Security Administration (SSA) online at www.
 socialsecurity.gov. or call the SSA at 1-800-772-1213 (TTY 1-800-325-0778).

You can get more information about Medicare prescription drug plans and the coverage offered in your area from these
places:
• Visit www.medicare.gov for personalized help,
• Call 1-800-MEDICARE (1-800-633-4227), (TIY users should call 1-877-486-2048).
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                                                      Introduction
This brochure describes the benefits of the Blue Cross and Blue Shield Service Benefit Plan under our contract (CS 1039)
with the United States Office of Personnel Management, as authorized by the Federal Employees Health Benefits law. This
Plan is underwritten by participating Blue Cross and Blue Shield Plans (Local Plans) that administer this Plan in their
individual localities. The Blue Cross and Blue Shield Association is the Carrier of the Plan. The address for the Blue Cross
and Blue Shield Service Benefit Plan administrative office is:

Blue Cross and Blue Shield Service Benefit Plan
1310 G Street, NW, Suite 900
Washington, DC 20005

This brochure is the official statement of benefits. No oral statement can modify or otherwise affect the benefits, limitations,
and exclusions of this brochure. It is your responsibility to be informed about your health care benefits.

If you are emolled in this Plan, you are entitled to the benefits described in this brochure. If you are emolled in Self and
Family coverage, each eligible family member is also entitled to these benefits. You do not have a right to benefits that were
available before January I, 2011, unless those benefits are also shown in this brochure.

OPM negotiates benefits and rates with each plan annually. Benefit changes are effective January I, 2011, and changes are
summarized on pages 9-11. Rates are shown on the back cover of this brochure.


                                                    Plain Language
All FEHB brochures are written in plain language to make them responsive, accessible, and understandable to the public. For
instance,
• Except for necessary technical terms, we use common words. For instance, ''you" means the emollee or family member;
  "we" means the Blue Cross and Blue Shield Service Benefit Plan.
• We limit acronyms to ones you know. FEHB is the Federal Employees Health Benefits Program. OPM is the United States
  Office of Personnel Management. lfwe use others, we tell you what they mean first.
• Our brochure and other FEHB plans' brochures have the same format and similar descriptions to help you compare plans.

If you have comments or suggestions about how to improve the structure of this brochure, let OPM know. Visit OPM's "Rate
Us" feedback area at www.opm.gov/insure or e-mail OPM at fehbwebcomments@opm.gov. You may also write to OPM at
the U.S. Office of Personnel Management, Insurance Operations, Program Planning & Evaluation, 1900 E Street, NW,
Washington, DC 20415-3650.


                                             Stop Health Care Fraud!
Fraud increases the cost of health care for everyone and increases your Federal Employees Health Benefits Program
premium.

OPM's Office of the Inspector General investigates all allegations of fraud, waste, and abuse in the FEHB Program
regardless of the agency that employs you or from which you retired.

Protect Yourself From Fraud - Here are some things you can do to prevent fraud:

Do not give your plan identification (ID) number over the telephone or to people you do not know, except for your health
care provider, authorized health benefits plan, or OPM representative.
• Let only the appropriate medical professionals review your medical record or recommend services.
• Avoid using health care providers who say that an item or service is not usually covered, but they know how to bill us to
  get it paid.
• Carefully review explanations of benefits (EOBs) statements that you receive from us.


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• Please review your claims history periodically for accuracy to ensure services are not being billed to your accounts that
  were never rendered.
• Do not ask your doctor to make false entries on certificates, bills, or records in order to get us to pay for an item or service.


• If you suspect that a provider has charged you for services you did not receive, billed you twice for the same service, or
  misrepresented any information, do the following:

Call the provider and ask for an explanation. There may be an error.

If the provider does not resolve the matter, call us at 1-800-FEP-8440 (1-800-337-8440) and explain the situation.

Ifwe do not resolve the issue:

                                    CALL-THE HEALTH CARE FRAUD HOTLINE
                                                          202-418-3300

                                                        OR WRITE TO:
                                       United States Office of Personnel Management
                                       Office of the Inspector General Fraud Hotline
                                               1900 E Street NW Room 6400
                                                Washington, DC 20415-1100

• Do not maintain as a family member on your policy:

Your former spouse after a divorce decree or annulment is final (even if a court order stipulates otherwise); or

Your child age 26 or over (unless he/she was disabled and incapable of self-support prior to age 26).
• If you have any questions about the eligibility of a dependent, check with your personnel office if you are employed, with
  your retirement office (such as OPM) if you are retired, or with the National Finance Center if you are enrolled under
  Temporary Continuation of Coverage.
• You can be prosecuted for fraud and your agency may take action against you if you falsify a chum to obtain FEHB
  benefits or try to obtain services for someone who is not an eligible family member or if you are no longer enrolled in the
  Plan.
• If your enrollment continues after you are no longer eligible for coverage (i.e., you have separated from Federal service)
  and premiums are not paid, you will be responsible for all benefits paid during the period in which premiums were not
  paid. You may be billed for services received directly from your provider. You may be prosecuted for fraud for knowingly
  using health insurance benefits for which you have not paid premiums. It is your responsibility to know when you or a
  family member are no longer eligible to use your health insurance coverage.


                                          Preventing Medical Mistakes
An influential report from the Institute of Medicine estimates that up to 98,000 Americans die every year from medical
mistakes in hospitals alone. That's about 3,230 preventable deaths in the FEHB Program a year. While death is the most
tragic outcome, medical mistakes cause other problems such as permanent disabilities, extended hospital stays, longer
recoveries, and even additional treatments. By asking questions, learning more and understanding your risks, you can
improve the safety of your own health care, and that of your family members. Take these simple steps:

1. Ask questions if you have doubts or concerns.
• Ask questions and make sure you understand the answers.
• Choose a doctor with whom you feel comfortable talking.
• Take a relative or friend with you to help you ask questions and understand answers.


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2. Keep and bring a list of all the medicines you take.
• Bring the actual medicines or give your doctor and phannacist a list of all the medicines that you take, including non-
  prescription (over-the-counter) medicines.
• Tell them about any drug allergies you have.
• Ask about any risks or side effects of the medication and what to avoid while taking it. Be sure to write down what your
  doctor or pharmacist says.
• Make sure your medicine is what the doctor ordered. Ask the pharmacist about your medicine if it looks different than you
  expected.
• Read the label and patient package insert when you get your medicine, including all warnings and instructions.
• Know how to use your medicine. Especially note the times and conditions when your medicine should and should not be
  taken.
• Contact your doctor or pharmacist if you have any questions.

3. Get the results of any test or procedure.
• Ask when and how you will get the results of tests or procedures.
• Don't assume the results are fine if you do not get them when expected, be it in person, by phone, or by mail.
• Call your doctor and ask for your results.
• Ask what the results mean for your care.

4. Talk to your doctor about which hospital is best for your health needs.
• Ask your doctor about which hospital has the best care and results for your condition if you have more than one hospital to
  choose from to get the health care you need.
• Be sure you understand the instructions you get about follow-up care when you leave the hospital.

5. Make sure you understand what will happen if you need surgery.
• Make sure you, your doctor, and your surgeon all agree on exactly what will be done during the operation.
• Ask your doctor, "Who will manage my care when I am in the hospital?"
• Ask your surgeon:

"Exactly what will you be doing?"

"About how long will it take?"

"What will happen after surgery?"

"How can I expect to feel during recovery?"
• Tell the surgeon, anesthesiologist, and nurses about any allergies, bad reaction to anesthesia, and any medications you are
  taking.

Patient Safety Links
0 www.ahrq.gov/consumer/. The Agency for Healthcare Research and Quality makes available a wide-ranging list of topics
not only to inform consumers about patient safety but to help choose quality health care providers and improve the quality of
care you receive.

0 www.npsf.org. The National Patient Safety Foundation has information on how to ensure safer health care for you and
your family.




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0 www.talkaboutrx.org. The National Council on Patient Information and Education is dedicated to improving
communication about the safe, appropriate use of medicines.
0 www.leapfroggroup.ofi. The Leapfrog Group is active in promoting safe practices in hospital care.
0 www.ahqa.org. The American Health Quality Association represents organizations and health care professionals working
to improve patient safety.
0 www.quic.gov/report/toc.htm. Find out what federal agencies are doing to identify threats to patient safety and help
prevent mistakes in the nation's health care delivery system.
Never Events

You will not be billed for inpatient services related to treatment of specific hospital-acquired conditions or for inpatient
services needed to correct never events, if you use Service Benefit Plan Preferred or Member hospitals. This policy helps to
protect you from preventable medical errors and improve the quality of care you receive.
When you enter the hospital for treatment of one medical problem, you don't expect to leave with additional injuries,
infections or other serious conditions that occur during the course of your stay. Although some of these complications may
not be avoidable, too often patients suffer from injuries or illnesses that could have been prevented if the hospital had taken
proper precautions.
We have a benefit payment policy that will encourage hospitals to reduce the likelihood of hospital-acquired conditions such
as certain infections, severe bedsores and fractures; and reduce medical errors that should never happen called "Never
Events". When a Never Event occurs, neither you nor your FEHB plan will incur costs to correct the medical error.




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                             Section 1. Facts about this fee-for-service Plan
This Plan is a fee-for-service (FFS) plan. You can choose your own physicians, hospitals, and other health care providers.

We reimburse you or your provider for your covered services, usually based on a percentage of the amount we allow. The
type and extent of covered services, and the amount we allow, may be different from other plans. Read brochures carefully.

This Plan is a "non-grandfathered health plan" under the Affordable Care Act. A non-grandfathered plan must meet
immediate health care reforms legislated by the Act. Specifically, this Plan must provide preventive services and screenings
to you without any cost sharing when the services are performed by a Preferred provider; and emergency services performed
by Preferred and Non-preferred providers in an emergency department of a hospital are subject to the same member
coinsurance or copayment.

Questions regarding what protections apply to a non-grandfathered health plan may be directed to us by calling the customer
service number on the back of your Service Benefit Plan ID card or by visiting our Web site, www.fepblue.org. You can also
read additional information from the U.S. Department of Health and Human Services at www.healthcare.gov.

General features of our Standard and Basic Options

We have a Preferred Provider Organization (PPO)

Our fee-for-service plan offers services through a PPO. This means that certain hospitals and other health care providers are
"Preferred providers." When you use our PPO (Preferred) providers, you will receive covered services at a reduced cost. Your
Local Plan (or, for retail pharmacies, Caremark) is solely responsible for the selection of PPO providers in your area. Contact
your Local Plan for the names of PPO (Preferred) providers and to verify their continued participation. You can also go to our
Web page, www.fepblue.org, which you can reach through the FEHB Web site, www.opm.gov/insure. Contact your Local
Plan to request a PPO directory.

Under Standard Option, PPO (Preferred) benefits apply only when you use a PPO (Preferred) provider. PPO networks may
be more extensive in some areas than in others. We cannot guarantee the availability of every specialty in all areas. If no PPO
(Preferred) provider is available, or you do not use a PPO (Preferred) provider, non-PPO (Non-preferred) benefits apply.

Under Basic Option, you must use Preferred providers in order to receive benefits. See page 14 for the exceptions to
this requirement.

Note: Dentists and oral surgeons who are in our Preferred Dental Network for routine dental care are not necessarily
Preferred providers for other services covered by this Plan under other benefit provisions (such as the surgical benefit for oral
and maxillofacial surgery). Call us at the customer service number on the back of your ID card to verify that your provider is
Preferred for the type of care (e.g., routine dental care or oral surgery) you are scheduled to receive.

How we pay nrofessional and facmty providers

We pay benefits when we receive a claim for covered services. Each Local Plan contracts with hospitals and other health care
facilities, physicians, and other health care professionals in its service area, and is responsible for processing and paying
claims for services you receive within that area. Many, but not all, of these contracted providers are in our PPO (Preferred)
network.
• PPO providers. PPO (Preferred) providers have agreed to accept a specific negotiated amount as payment in full for
  covered services provided to you. We refer to PPO facility and professional providers as "Preferred." They will generally
  bill the Local Plan directly, who will then pay them directly. You do not file a claim. Your out-of-pocket costs are generally
  less when you receive covered services from Preferred providers, and are limited to your coinsurance or copayments (and,
  under Standard Option only, the applicable deductible).
• Participating providers. Some Local Plans also contract with other providers that are not in our Preferred network. If
  they are professionals, we refer to them as "Participating" providers. If they are facilities, we refer to them as "Member"
  facilities. They have agreed to accept a different negotiated amount than our Preferred providers as payment in full. They
  will also generally file your claims for you. They have agreed not to bill you for more than your applicable deductible, and
  coinsurance or copayments, for covered services. We pay them directly, but at our Non-preferred benefit levels. Your out-
  of-pocket costs will be greater than if you use Preferred providers.


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Note: Not all areas have Participating providers and/or Member facilities. To verify the status of a provider, please contact
the Local Plan where the services will be performed.
• Non-participating providers. Providers who are not Preferred or Participating providers do not have contracts with us,
  and may or may not accept our allowance. We refer to them as "Non-participating providers" generally, although if
  they are facilities we refer to them as "Non-member facilities." When you use Non-participating providers, you may
  have to file your claims with us. We will then pay our benefits to you, and you must pay the provider.

You must pay any difference between the amount Non-participating providers charge and our allowance (except in certain
circumstances - see page 128). In addition, you must pay any applicable coinsurance amounts, copayment amounts, amounts
applied to your calendar year deductible, and amounts for noncovered services. Important: Under Standard Option, your
out-of-pocket costs may be substantially higher when you use Non-participating providers than when you use
Preferred or Participating providers. Under Basic Option, you must use Preferred providers to receive benefits. See page
14 for the exceptions to this requirement.

Note: In Local Plan areas, Preferred providers and Participating providers who contract with us will accept 100% of the Plan
allowance as payment in full for covered services. As a result, you are only responsible for applicable coinsurance or
copayments (and, under Standard Option only, the applicable deductible), for covered services, and any charges for
noncovered services.

Your rights

OPM requires that all FEHB plans provide certain information to their FEHB members. You may get information about us,
our networks, and our providers. OPM's FEHB Web site (www.opm.gov/insure) lists the specific types of information that
we must make available to you. Some of the required information is listed below.
• Care management, including medical practice guidelines;
• Disease management programs; and
• How we determine if procedures are experimental or investigational.

If you want more information about us, call or write to us. Our telephone number and address are shown on the back of your
Service Benefit Plan ID card. You may also visit our Web site at www.fepblue.org.

Your medical and claims records are confidential

We will keep your medical and claims information confidential. Note: As part of our administration of this contract, we may
disclose your medical and claims information (including your prescription drug utilization) to any treating physicians or
dispensing pharmacies. You may view our Notice of Privacy Practice for more information about how we may use and
disclose member information by visiting our Web site at www.fe.pblue.org.




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                                      Section 2. How we change for 2011
Do not rely only on these change descriptions; this Section is not an official statement of benefits. For that, go to Section 5
(Benefits). Also, we edited and clarified language throughout the brochure; any language change not shown here is a
clarification that does not change benefits.

Program-wide changes
• Several provisions of the Affordable Care Act (ACA) affect eligibility and benefits under the FEHB Program and
  FSAFEDS beginning January 1, 2011. For instance, children up to age 26 will be covered under a Self and Family
  enrollment. Please read the information in Sections 11 and 12 carefully.
• We have reorganized organ and tissue transplant benefit information to clarify coverage. (See pages 57 to 65.)
• We have reorganized Mental health and substance abuse benefits to clarify coverage. (See pages 84 to 86.)
• The State of Oklahoma is a Medically UnderservedArea. (See page 13.)

Changes to this Plan
Changes to our Standard Option only
• Your share of the non-Postal premium will increase for Self Only or increase for Self and Family. (See page 142.)
• You are entitled to receive a $50 credit toward meeting your calendar year deductible when you complete a Blue Health
  Assessment questionnaire. Previously, you were entitled to receive your annual physical examination or one preventive
  care visit at no charge when you used a Preferred provider. [See Section 5(h).]
• We now provide preventive care benefits for all covered adult preventive care when performed by Preferred, Participating,
  or Non-Participating providers. Previously, certain preventive services were only covered when performed by a Preferred
  provider. (See pages 33-35.)
• Your coinsurance amount for preventive care services for children performed by Participating and Non-Participating
  providers is now 35% of the Plan allowance after the calendar year deductible is satisfied. Previously, preventive care
  services for children performed by Participating and Non-Participating providers were paid in full up to the Plan
  allowance. (See page 36.)
• You may be eligible to receive your first 4 generic prescriptions filled (and/or refills ordered) at no charge through the
  Mail Service Prescription Drug Program when you change from certain brand-name drugs to a corresponding generic drug
  replacement. Previously, we waived your $10 copayment for the first 4 generic prescriptions filled (and/or refills ordered)
  through the Mail Service Prescription Drug Program. (See page 92.)
• We expanded the list of drugs included in our Standard Option Generic Incentive Program. (See page 92.)
• Your copayrnent for brand-name drugs purchased through the Mail Service Prescription Drug Program is now $70 per
  prescription for the first 30 brand-name prescriptions filled (and/or refills ordered) per calendar year. Previously, your
  copayrnent was $65 for the first 30 brand-name prescriptions. (See page 93.)
• The calendar year deductible is now $350 per person and $700 per family. Previously, the deductible was $300 per person
  and $600 per family.
• You now pay $250 per admission for inpatient care, including inpatient hospice care, at Preferred facilities, and $350 per
  admission, plus 35% of the Plan allowance, for inpatient care, including inpatient hospice care, at Member facilities.
  Previously, you paid $200 per admission to Preferred facilities and $350 per admission to Member facilities. [See Sections
  5(c) and 5(e).]
• Benefits for outpatient surgery and related services performed and billed for by a hospital or freestanding ambulatory
  facility are now subject to the calendar year deductible. Previously, you were not required to meet your deductible for
  these services.
  (See page 71.)




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• You now pay 15% of the Plan allowance for medical emergency treatment provided by Participating and Non-participating
  professional providers when the services are performed in the emergency room. Previously, you were responsible for 35%
  of the Plan allowance for professional emergency room care by Participating providers and a maximum of$350 per visit
  for professional emergency room care provided by Non-participating providers. (See page 82.)
• You now pay 15% of the Plan allowance for medical emergency treatment provided by Member and Non-member
  facilities when services are performed in the emergency room. Previously, you were responsible for 35% of the Plan
  allowance for medical emergency treatment in Member and Non-member facilities. (See page 82.)
• Your copayment for certain outpatient mental health and substance abuse services performed by both Preferred primary
  care and specialist providers is now $20 per visit. Previously, you paid $20 per visit for services performed by Preferred
  primary care providers and $30 per visit for Preferred specialist services. (See page 85.)
• We now provide benefits in full for inpatient mental health and substance abuse services you receive from Preferred
  professional providers. Previously, you paid 15% of the Plan allowance after meeting the calendar year deductible for
  these types of services. (See page 85.)

Changes to our Basic Option only
• Your share of the non-Postal premium will increase for Self Only or increase for Self and Family. (See page 142.)
• You are entitled to receive a $35 health account to be used for qualified medical expenses when you complete a Blue
  Health Assessment questionnaire. Previously, you were entitled to receive your annual physical examination or one
  preventive care visit at no charge when you used a Preferred provider. [See Section 5(h).]
• Your copayment for preferred brand-name drugs purchased at a Preferred Retail Pharmacy is now $40 per prescription for
  up to a 34-day supply. In addition, the minimum amount you pay for non-preferred brand-name drugs is now $50 for each
  34-day supply, or $150 for a 90-day supply. Previously, you paid $35 for preferred brand-name drugs, and for non-
  preferred brand-name drugs, you paid a minimum of $45 for each 34-day supply, or $135 for a 90-day supply. (See page
  91.)
• Your copayment for EEGs, ultrasounds, and X-rays is now $25. Previously, you had no copayment for these services. [See
  Sections 5(a) and 5(c).]
• Your copayment for CT scans, MR!s, PET scans, diagnostic bone density tests, nuclear medicine, diagnostic angiography,
  and diagnostic genetic testing is now $75. Previously, you had no copayment for these services. [See Sections 5(a) and 5
  (c).]
• Your copayment for surgery is now $150 per performing surgeon per day. Previously, you paid $100 per performing
  surgeon. [See Section 5(b). ]
• Your copayment for emergency room care related to an accidental injury or medical emergency is now $125 per visit.
  Previously, your copayment was $75 per visit. [See Section 5(d).]
• Your copayment for care provided at Preferred urgent care centers related to accidental injuries and medical emergencies is
  now $50 per visit. Previously, your copayment was $30 per visit. [See Section 5(d).]
• Your copayment for certain outpatient mental health and substance abuse services performed by both Preferred primary
  care and specialist providers is now $25 per visit. Previously, you paid $25 per visit for services performed by Preferred
  primary care providers and $35 per visit for Preferred specialist services. (See page 85.)
• Your copayment for outpatient mental health and substance abuse services provided and billed by a Preferred facility is
  now $25 per day per facility. Previously, you paid $75 per day per facility. (See page 86.)
• We now provide benefits in full for drugs and supplies related to outpatient mental health and substance abuse care from
  Preferred professional and facility providers. Previously, you paid 30% of the Plan allowance for these services. [See
  Section 5(e).]
• Your copayment for professional charges for intensive outpatient treatment in a provider's office or other professional
  setting is now $25 per visit. Previously, you paid $30 per visit for these services. (See page 85.)
• Your copayment for dental services performed by Preferred providers is now $25 per evaluation. Previously, you paid $20
  per evaluation. (See page 103.)



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Changes to both our Standard and Basic Options
• We now provide preventive care benefits in full to cover preventive services for adults and children recommended under
  the Affordable Care Act when you use a Preferred provider. You may be responsible for your associated office visit
  copayment ifthe primary purpose of the visit is other than preventive care. (See pages 33-36, 37, and 90.)
• We now provide preventive care benefits for adult screenings for gonorrhea infection, Human Immunodeficiency virus
  (HIV) infection, and syphilis infection. Previously, preventive care benefits were not available for these services. (See
  page 33.)
• We now provide preventive care benefits in full for nutritional counseling visits for adults and children when you use
  Preferred providers, and we have clarified the types of covered nutritional counseling providers and services. Previously,
  children meeting certain criteria could receive up to 4 nutritional counseling visits per year at no charge through our Jump
  4 Health Weight Management Program, and otherwise, member cost-share applied to these services. (See pages 34 and
  36.) The Jump 4 Health Weight Management Program continues to provide educational and individualized weight
  management guidance through our Web site, www.fe.pblue.org.
• We now provide benefits to cover up to 4 mental health visits per year in full for treatment of maternity-related depression
  when you see a Preferred provider. (See page 37.)
• We now provide benefits in full for smoking cessation treatment when you see a Preferred provider. Previously, these
  services were subject to a copayment. (See page 50.)
• You may be eligible to receive smoking cessation medications at no charge from a Preferred Retail Pharmacy when you
  engage in the Breathe for Smoking Cessation module after completing a Blue Health Assessment questionnaire. (See page
  94.)
• We now define the four tiers of benefit levels for prescription drugs. (See pages 91 and 93.)
• You are no longer required to obtain prior approval before receiving outpatient professional or outpatient facility care for
  mental health and substance abuse treatment. Previously, prior approval was required. [See Section 5(e).]
• We now provide benefits in full up to $1,000 per hearing aid per ear for hearing aids for children, hearing aids for adults,
  and bone anchored hearing aids for adults and children, when provided by any qualified hearing aid provider. Previously,
  Standard and Basic Option benefits were subject to member cost-sharing amounts and Basic Option benefits were limited
  to the services of Preferred providers. (See page 45.)
• We now provide benefits in full up to $1,000 per calendar year for speech-generating devices obtained from any qualified
  provider. Previously, Standard and Basic Option benefits were subject to member cost-sharing amounts and Basic Option
  benefits were limited to the services of Preferred providers. (See page 46.)
• We now provide benefits for osteopathic and chiropractic manipulative treatment, including extraspinal manipulations
  performed by chiropractors, limited to a combined total of 12 manipulation visits per year under Standard Option and 20
  manipulation visits per year under Basic Option. (See page 49.)
• You must now meet specific pre-surgical criteria before receiving surgery for morbid obesity. (See page 53.)
• We now provide benefits for additional types of organ/tissue transplants and have enhanced our organ/tissue transplant
  prior approval procedures for members and providers. (See pages 17-18, and 57-65.)
• We now provide benefits for donor screening tests and donor search expenses related to blood or marrow stem cell
  transplants when performed on three potential non-full siblings. Previously, benefits were only available for donor
  screening tests and donor search expenses for full siblings and the actual donor. (See page 64.)
• You are no longer required to obtain prior approval for outpatient intensity-modulated radiation therapy (IMRT) related to
  the treatment of head, neck, breast, or prostate cancer. Previously, pnor approval was required for all outpatient IMRT
  services. (See page 17.)




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                                  Section 3. How you receive benefits
 Identification cards         We will send you an identification (ID) card when you enroll. You should carry your ID
                              card with you at all times. You will need it whenever you receive services from a covered
                              provider, or fill a prescription through a Preferred retail or internet pharmacy. Until you
                              receive your ID card, use your copy of the Health Benefits Election Form, SF-2809, your
                              health benefits enrollment confumation letter (for annuitants), or your electronic
                              enrollment system (such as Employee Express) confirmation letter.

                              If you do not receive your ID card within 30 days after the effective date of your
                              enrollment, or if you need replacement cards, call the Local Plan serving the area where
                              you reside and ask them to assist you, or write to us directly at: FEP Enrollment Services,
                              840 First Street, NE, Washington, DC 20065. You may also request replacement cards
                              through our Web site, www.fepblue.org.

 Where you get covered        Under Standard Option, you can get care from any "covered professional provider" or
 care                         "covered facility provider." How much we pay - and you pay- depends on the type of
                              covered provider you use. If you use our Preferred, Participating, or Member providers,
                              you will pay less.

                              Under Basic Option, you must use those "covered professional providers" or "covered
                              facility providers" that are Preferred providers for Basic Option in order to receive
                              benefits. Please refer to page 15 for the exceptions to this requirement. Refer to page 7 for
                              more information about Preferred providers.

                              The term "primary care provider" includes family practitioners, general practitioners,
                              medical internists, pediatricians, obstetricians/gynecologists, and physician assistants.

  • Covered professional      We consider the following to be covered professionals when they perform services
    providers                 within the scope of their license or certification:

                              Physicians -Doctors of medicine (M.D.); Doctors of osteopathy (D.0.); Doctors of dental
                              surgery (D.D.S.); Doctors of medical dentistry (D.M.D.); Doctors ofpodiatric medicine
                              (D.P.M.); Doctors ofoptometry (O.D.); and Doctors of Chiropractic/chiropractors (D.C.).
                              Reimbursable chiropractic services shall only be those covered services listed under the
                              Chiropractic benefit on page 48; Manipulative treatment on page 49; covered services
                              provided in medically underserved areas as described on page 13; and the performance of
                              covered physical therapy evaluations and physical therapy treatment modalities identified
                              onpage42.

                              Other Covered Health Care Professionals - Professionals who provide additional
                              covered services and meet the state's applicable licensing or certification requirements and
                              the requirements of the Local Plan. Examples of other covered health care professionals
                              include:
                               • Audiologist - A professional who, if the state requires it, is licensed, certified, or
                                 registered as an audiologist where the services are performed.
                               • Clinical Psychologist-A psychologist who (1) is licensed or certified in the state
                                 where the services are performed; (2) has a doctoral degree in psychology (or an allied
                                 degree if, in the individual state, the academic licensing/certification reqmrement for
                                 clinical psychologist is met by an allied degree) or is approved by the Local Plan; and
                                 (3) has met the clinical psychological experience requirements of the individual State
                                 Licensing Board.
                               • Clinical Social Worker-A social worker who (1) has a master's or doctoral degree in
                                 social work; (2) has at least two years of clinical social work practice; and (3) ifthe
                                 state requires it, is licensed, certified, or registered as a social worker where the
                                 services are performed.




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                               • Diabetic Educator- A professional who, if the state requires it, is licensed, certified,
                                 or registered as a diabetic educator where the services are performed.
                               • Dietician - A professional who. if the state requires it, is licensed, certified, or
                                 registered as a dietician where the services are performed.
                               • Independent Laboratory-A laboratory that is licensed under state law or, where no
                                 licensing requirement exists, that is approved by the Local Plan.
                               • Lactation Consultant -A person who is licensed as a Registered Nurse in the United
                                 States (or appropriate equivalent if providing services overseas) and is licensed or
                                 certified as a lactation consultant by a nationally recognized organization.
                               • Mental Health or Substance Abuse professional -A professional who is licensed by
                                 the state where the care is provided to provide mental health and/or substance abuse
                                 services within the scope of that license.
                               • Nurse Midwife-A person who is certified by the American College of Nurse
                                 Midwives or, ifthe state requires it, is licensed or certified as a nurse midwife.
                               • Nurse Practitioner/Clinical Specialist-A person who (I) has an active RN. license
                                 in the United States; (2) has a baccalaureate or higher degree in nursing; and (3) if the
                                 state requires it, is licensed or certified as a nurse practitioner or clinical nurse
                                 specialist.
                               • Nursing School Administered Clinic -A clinic that (1) is licensed or certified in the
                                 state where services are performed; and (2) provides ambulatory care in an outpatient
                                 setting - primarily in rural or inner-city areas where there is a shortage of physicians.
                                 Services billed by these clinics are considered outpatient "office" services rather than
                                 facility charges.
                               • Nutritionist-A professional who, ifthe state requires it, is licensed, certified, or
                                 registered as a nutritionist where the services are performed.
                               • Physical, Speech, and Occupational Therapist - A professional who is licensed
                                 where the services are performed or meets the requirements of the Local Plan to
                                 provide physical, speech, or occupational therapy services.
                               • Physician Assistant -A person who is nationally certified by the National
                                 Commission on Certification of Physician Assistants in conjunction with the National
                                 Board of Medical Examiners or, if the state requires it, is licensed, certified, or
                                 registered as a physician assistant where the services are performed.
                               • Other professional providers specifically shown in the benefit descriptions in
                                 Section 5.

                              Medically underserved areas. In the states OPM determines are "medically
                              underserved":

                              Under Standard Option, we cover any licensed medical practitioner for any covered
                              service performed within the scope of that license.

                              Under Basic Option, we cover any licensed medical practitioner who is Preferred for
                              any covered service performed within the scope of that license.

                              For 2011, the states are: Alabama, Arizona, Idaho, Illinois, Kentucky, Louisiana,
                              Mississippi, Missouri, Montana, New Mexico, North Dakota, Oklahoma, South Carolina,
                              South Dakota, and Wyoming.

  • Covered facility          Covered facilities include those listed below, when they meet the state's applicable
    providers                 licensing or certification requirements.
                               • Hospital - An institution, or a distinct portion of an institution, that:




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                                I. Primarily provides diagnostic and therapeutic facilities for surgical and medical
                                   diagnoses, treatment, and care of injured and sick persons provided or supervised by a
                                   staff oflicensed doctors of medicine (M.D.) or licensed doctors ofosteopathy (D.O.),
                                   for compensation from its patients, on an inpatient or outpatient basis;
                               2. Continuously provides 24-hour-a-day professional registered nursing (R.N.) services;
                                  and
                               3. Is not, other than incidentally, an extended care facility; a nursing home; a place for
                                  rest; an institution for exceptional children, the aged, drug addicts, or alcoholics; or a
                                  custodial or domiciliary institution having as its primary purpose the furnishing of
                                  food, shelter, training, or non-medical personal services.

                              Note: We consider college infirmaries to be Non-member hospitals. In addition. we may,
                              at our discretion, recognize any institution located outside the 50 states and the Distnct of
                              Columbia as a Non-member hospital.
                               • Freestanding Ambulatory Facility- A freestanding facility, such as an ambulatory
                                 surgical center, freestanding surgi-center, freestanding dialysis center, or freestanding
                                 ambulatory medical facility, that:
                               I. Provides services in an outpatient setting;
                               2. Contains permanent amenities and equipment primarily for the purpose of performing
                                 medical, surgical, and/or renal dialysis procedures;
                               3. Provides treatment performed or supervised by doctors and/or nurses, and may
                                  include other professional services performed at the facility; and
                               4. Is not, other than incidentally, an office or clinic for the private practice of a doctor or
                                  other professional.


                              Note: We may, at our discretion, recognize any other similar facilities, such as birthing
                              centers, as freestanding ambulatory facilities.
                               • Blue Distinction Centers®

                              Certain Preferred facilities have been selected to be Blue Distmction Centers for Bariatric
                              Surgery, Cardiac Care, Knee and Hip Replacement, Spine Surgery, and Complex and Rare
                              Cancers. These facilities meet stringent quality criteria established by expert physician
                              panels, surgeons, and other medical professionals. Blue Distinction Centers offer
                              comprehensive care delivered by multidisciplinary teams with subspecialty training and
                              distinguished clinical expertise.

                              Blue Distinction Centers are Preferred facilities, which means that your out-of-pocket
                              costs for covered facility services are limited. Some Blue Distinction Centers may use
                              professional providers who do not participate in our provider network. Non-participating
                              providers have no agreements with us to limit what they can bill you. This is why it's
                              important to always request Preferred providers for your care. For more information, see
                              pages 20-22 in Section 4, Your costs for covered services, or call your Local Plan at the
                              number listed on the back of your ID card. For listings of Preferred providers in your area,
                              visit our Provider Directory at www.ft;pblue.org.

                              If you are considering covered bariatric surgery, cardiac procedures, knee or hip
                              replacement, spine surgery, or inpatient treatment for a complex or rare cancer, you may
                              want to consider receiving those services at a Blue Distinction Center. You can find these
                              facilities listed in the online provider directory available at www.fepblue.org, or by calling
                              the customer service number listed on the back of your ID card.
                               • Blue Distinction Centers for TransplantsSM




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                              In addition to Preferred transplant facilities, you have access to the Blue Distinction
                              Centers for TransplantsSM, a centers of excellence program. Blue Distinction Centers for
                              Transplants are selected based on their ability to meet defined clinical quality criteria that
                              are unique for each type of transplant. These facilities negotiate a payment for transplant
                              services performed during the transplant period (see page 129 for the definition of
                              "transplant period").

                              Members who choose to use a Blue Distinction Centers for Transplants facility for a
                              covered transplant only pay the $250 per admission copayment under Standard Option, or
                              the $150 per day copayment ($750 maximum) under Basic Option, for the transplant
                              period. Members are not responsible for additional costs for included professional
                              services. Regular Preferred benefits (subject to the regular cost-sharing levels for facility
                              and professional services) are paid for pre- and post-transplant services performed in Blue
                              Distinction Centers for Transplants before and after the transplant period.

                              Blue Distinction Centers for Transplants are available for eight types of transplants: heart;
                              heart-lung; single, double, or lobar lung; liver; pancreas; simultaneous pancreas-kidney;
                              simultaneous liver-kidney; and autologous or allogeneic bone marrow (see page 65 for
                              limitations).

                              All members (including those who have Medicare Part A or another group health
                              insurance policy as their primary payor) must contact us at the customer service
                              number listed on the back of their ID card before obtaining services. We will refer
                              you to the designated Plan transplant coordinator for information about Blue Distmction
                              Centers for Transplants and assistance in arranging for your transplant at a Blue
                              Distinction Centers for Transplants facility.
                               • Cancer Research Facility- A facility that is:
                               l. A National Cooperative Cancer Study Group institution that is funded by the National
                                  Cancer Institute (NCI) and has been approved by a Cooperative Group as a blood or
                                  marrow stem cell transplant center;
                               2. An NCI-designated Cancer Center; or
                               3. An institution that has a peer-reviewed grant funded by the National Cancer Institute
                                  (NCI) or National Institutes of Health (NIH) to study allogeneic or autologous blood
                                  or marrow stem cell transplants.
                               • Other facilities specifically listed in the benefits descriptions in Section 5(c).

 What you must do to get      Under Standard Option, you can go you can go to any covered provider you want, but in
 covered care                 some circumstances, we must approve your care in advance.

                              Under Basic Option, you must use Preferred providers in order to receive benefits,
                              except under the special situations listed below. In addition, we must approve certain types
                              of care in advance. Please refer to Section 4, Your costs for covered services, for related
                              benefits information.
                               1. Medical emergency or accidental injury care in a hospital emergency room and related
                                  ambulance transport as described in Section 5(d), Emergency services/accidents,
                               2. Professional care provided at Preferred facilities by Non-preferred radiologists,
                                  anesthesiologists, certified registered nurse anesthetists (CRNAs), pathologists,
                                  emergency room physicians, and assistant surgeons;
                               3. Laboratory and pathology services, X-rays. and diagnostic tests billed by Non-
                                  preferred laboratories, radiologists, and outpatient facilities;
                               4. Services of assistant surgeons;
                               5. Special provider access situations (contact your Local Plan for more information); or
                               6. Care received outside the United States and Puerto Rico.



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                              Unless otherwise noted in Section 5, when services of Non-preferred providers are
                              covered in a special exception, benefits will be provided based on the Plan allowance. You
                              are responsible for the applicable coinsurance or copayment, and may also be responsible
                              for any difference between our allowance and the billed amount.
  • Transitional care         Specialty care: If you have a chronic or disabling condition and
                               • lose access to your specialist because we drop out of the Federal Employees Health
                                 Benefits (FEHB) Program and you enroll in another FEHB plan, or
                               • lose access to your Preferred specialist because we terminate our contract with your
                                 specialist for reasons other than for cause,

                              you may be able to continue seeing your specialist and receiving any Preferred benefits
                              for up to 90 days after you receive notice of the change. Contact us or, if we drop out of
                              the Program, contact your new plan.
                              If you are in the second or third trimester of pregnancy and you lose access to your
                              specialist based on the above circumstances, you can continue to see your specialist and
                              your Preferred benefits will continue until the end of your postpartum care, even if it is
                              beyond the 90 days.
  • If you are hospitalized   We pay for covered services from the effective date of your enrollment. However, if you
    when your enrollment      are in the hospital when your enrollment in our Plan begins, call us immediately. If you
    begins                    have not yet received your Service Benefit Plan ID card, you can contact your Local Plan
                              at the telephone number listed in your local telephone directory. If you already have your
                              new Service Benefit Plan ID card, call us at the number on the back of the card. If you are
                              new to the FEHB Program, we will reimburse you for your covered services while you are
                              in the hospital beginning on the effective date of your coverage.
                              However, if you changed from another FEHB plan to us, your former plan will pay for the
                              hospital stay until:
                               • You are discharged, not merely moved to an alternative care center; or
                               • The day your benefits from your former plan run out; or
                               • The 92nd day after you become a member of this Plan, whichever happens first.

                              These provisions apply only to the benefits of the hospitalized person. If your plan
                              terminates participation in the FEHB in whole or in part, or if OPM orders an enrollment
                              change, this continuation of coverage provision does not apply. In such cases, the
                              hospitalized family member's benefits under the new plan begin on the effective date of
                              enrollment.
 How to get approval for:
  • Your hospital stay        Precertification is the process by which - prior to your inpatient hospital admission - we
                              evaluate the medical necessity of your proposed stay, the procedure(s)/service(s) to be
                              performed, and the number of days required to treat your condition. Unless we are misled
                              by the information given to us, we will not change our decision on medical necessity.
                              In most cases, your physician or hospital will take care of precertification. Because you
                              are still responsible for ensuring that your care is precertified, you should always ask your
                              physician or hospital whether they have contacted us.
    Warning:                  We will reduce our benefits for the inpatient hospital stay by $500 if no one contacts us
                              for precertification. If the stay 1s not medically necessary, we will not pay any benefits.
                               • You, your representative, your doctor, or your hospital must call us at the telephone
                                 number listed on the back of your Service Benefit Plan ID card any time prior to
                                 admission.



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     How to precertify an       • If you have an emergency admission due to a condition that you reasonably believe
     admission                    puts your life in danger or could cause serious damage to bodily function, you, your
                                  representative, your doctor, or your hospital must telephone us within two business
                                  days following the day of the emergency admission, even if you have been discharged
                                  from the hospital.
                                • Provtde the following information:
                                  - Enrollee's name and Plan identification number;
                                  - Patient's name, birth date, and phone number;
                                  - Reason for hospitalization, proposed treatment, or surgery;
                                  - Name and phone number of admitting doctor;
                                  - Name of hospital or facility; and
                                  - Number of planned days of confinement.
                               • We will then tell the doctor and/or hospital the number of approved inpatient days and
                                 we will send written confirmation of our decision to you, your doctor, and the hospital.


  • Maternity care            You do not need to precertify a maternity admission for a routine delivery. However, if
                              your medical condition requires you to stay more than 48 hours after a vaginal delivery or
                              96 hours after a cesarean section, then your physician or the hospital must contact us for
                              precertification of additional days. Further, if your baby stays after you are discharged,
                              then your physician or the hospital must contact us for precertification of additional days
                              for your baby.

  • If your hospital stay     If your hospital stay- including for maternity care - needs to be extended, you, your
    needs to be extended:     representative, your doctor, or the hospital must ask us to approve the additional days.

  • What happens when          • Ifno one contacts us, we will decide whether the hospital stay was medically
    you do not follow the        necessary.
    precertification rules     • If we determine that the stay was medically necessary, we will pay the inpatient
                                 charges, less the $500 penalty. [See Section S(c) for payment information.]
                               • If we determine that it was not medically necessary for you to be an inpatient, we will
                                 not pay inpatient hospital benefits. We will only pay for any covered medical supplies
                                 and services that are otherwise payable on an outpatient basis.

                              Ifwe denied the precertification request, we will not pay inpatient hospital benefits or
                              inpatient physician care benefits. We will only pay for any covered medical supplies and
                              services that are otherwise payable on an outpatient basis.

                              When we precertified the admission but you remained in the hospital beyond the number
                              of days we approved and you did not get the additional days precertified, then:
                               • for the part of the admission that was medically necessary, we will pay inpatient
                                 benefits, but
                               • for the part of the admission that was not medically necessary, we will pay only
                                 medical services and supplies otherwise payable on an outpatient basis and we will not
                                 pay inpatient benefits.

  • Exceptions:               You do not need precertification in these cases:
                               • You are admitted to a hospital outside the United States.
                                 You have another group health insurance policy that is the primary payor for the
                                 hospital stay. (See page 14 for special instructions regarding admissions to Blue
                                 Distinction Centers for Transplants.)




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                               • Medicare Part A is the primary payor for the hospital stay. (See page 14 for special
                                 instructions regarding admissions to Blue Distinction Centers for Transplants.)

                              Note: If you exhaust your Medicare hospital benefits and do not want to use your
                              Medicare lifetime reserve days, then you do need precertification.

  • Other services            These services require prior approval under both Standard and Basic Option:
                                  Outpatient surgical services - The surgical services listed below require prior
                                  approval when they are to be performed on an outpatient basis. This requirement
                                  applies to both the physician services and the facility services from Preferred,
                                  Participating/Member, and Non-participating/Non-member providers. You must
                                  contact us at the customer service number listed on the back of your ID card before
                                  obtaining these types of services.
                                      Outpatient surgery for morbid obesity. Note: See page 53 for complete surgical
                                    requirements;
                                      Outpatient surgical correction of congenital anomalies; and
                                      Outpatient surgery needed to correct accidental injuries (see Definitions) to jaws,
                                    cheeks, lips, tongue, roof and floor of mouth.
                               • Outpatient intensity-modulated radiation therapy (IMRT) - Prior approval is
                                 required for all outpatient IMRT services except IMRT related to the treatment of
                                 head, neck, breast, or prostate cancer. Brain cancer is not considered a form of head or
                                 neck cancer; therefore, prior approval is required for IMRT treatment of brain cancer.
                                 Contact us at the customer service number listed on the back of your ID card before
                                 receiving outpatient IMRT for cancers which require prior approval. We will request
                                 the medical evidence we need to make our coverage determination ..
                               • Hospice care - Contact us at the customer service number listed on the back of your
                                 ID card before obtaining home hospice, continuous home hospice, or inpatient hospice
                                 care services. We will request the medical evidence we need to make our coverage
                                 determination and advise you which home hospice care agencies we have approved.
                                 See page 76 for information about the exception to this requirement.
                               • Organ/tissue transplants - Contact us at the customer service number listed on the
                                 back of your ID card before obtaining services. We will request the medical evidence
                                 we need to make our coverage determination. We will consider whether the facility is
                                 approved for the procedure and whether you meet the facility's criteria.
                               • Clinical trials for certain organ/tissue transplants - See pages 62 and 63 for the list
                                 of conditions covered only in clinical trials for blood or marrow stern cell transplants.
                                 Contact us at the customer service number on the back of your ID card for information
                                 or to request prior approval before obtaining services. We will request the medical
                                 evidence we need to make our coverage determination.

                              Note: For the purposes of the blood or marrow stern cell clinical trial transplants listed on
                              pages 62 and 63, a clinical trial is a research study whose protocol has been reviewed and
                              approved by the Institutional Review Board of the Cancer Research Facility (see page 14)
                              where the procedure is to be delivered.
                               • Prescription drugs - Certain prescription drugs require prior approval. Contact
                                 Caremark, our Retail Pharmacy Program administrator, at 1-800-624-5060 (TDD:
                                 1-800-624-5077 for the hearing impaired) to request prior approval, or to obtain an
                                 updated list of prescription drugs that require prior approval. We will request the
                                 information we need to make our coverage determination. You must periodically
                                 renew prior approval for certain drugs. See page 97 for more about our prescription
                                 drug prior approval program, which is part of our Patient Safety and Quality
                                 Monitoring (PSQM) program.




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                              Note: Until we approve them, you must pay for these drugs in full when you purchase
                              them - even if you purchase them at a Preferred retail pharmacy or through an internet
                              pharmacy- and submit the expense(s) to us on a claim form. Preferred pharmacies will
                              not file these claims for you.

                              Under Standard Option, members may use our Mail Service Prescription Drug Program to
                              fill their prescriptions. However, the Mail Service Prescription Drug Program also will not
                              fill your prescription until you have obtained prior approval. Medco, the administrator of
                              the Mail Service Prescription Drug Program, will hold your prescription for you up to
                              thirty days. If prior approval is not obtained within 30 days, your prescription will be
                              returned to you along with a letter explaining the prior approval procedures.

                              The Mail Service Prescription Drug Program is not available under Basic Option.

 Surgery by Non-              You may request prior approval and receive specific benefit information in advance for
 participating providers      non-emergency surgeries to be performed by Non-participating physicians when the
 under Standard Option        charge for the surgery will be SS,000 or more. When you contact your local Blue Cross
                              and Blue Shield Plan before your surgery, the Local Plan will review your planned surgery
                              to determine your coverage, the medical necessity of the procedure(s), and the Plan
                              allowance for the services. You can call your Local Plan at the customer service number
                              on the back of your ID card.

                              Note: Standard Option members are not required to obtain prior approval for surgeries
                              performed by Non-participating providers (unless the surgery is listed on page 17 or is one
                              of the transplant procedures listed above) - even ifthe charge will be $5,000 or more. If
                              you do not call your Local Plan in advance of the surgery, we will review your claim to
                              provide benefits for the services in accordance with the terms of your coverage.




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                                Section 4. Your costs for covered services
This is what you will pay out-of-pocket for your covered care:
 Copayment                      A copayment is a fixed amount of money you pay to the provider, facility, pharmacy, etc.,
                                when you receive certain services.

                                Example: If you have Standard Option when you see your Preferred physician, you pay a
                                copayment of $20 for the office visit and we then pay the remainder of the amount we
                                allow for the office visit. (You may have to pay separately for other services you receive
                                while in the physician's office.) When you go into a Preferred hospital, you pay a
                                copayment of $250 per admission. We then pay the remainder of the amount we allow for
                                the covered services you receive.

                                Copayments do not apply to services and supplies that are subject to a deductible and/or
                                coinsurance amount.

                                Note: If the billed amount (or the Plan allowance that providers we contract with have
                                agreed to accept as payment in full) is less than your copayment, you pay the lower
                                amount.

 Cost-sharing                   Cost-sharing is the general term used to refer to your out-of-pocket costs (e.g., deductible,
                                coinsurance, and copayments) for the covered care you receive.

 Deductible                     A deductible is a fixed amount of covered expenses you must incur for certain covered
                                services and supplies before we start paying benefits for them. Copayments and
                                coinsurance amounts do not count toward your deductible. When a covered service or
                                supply is subject to a deductible, only the Plan allowance for the service or supply that
                                you then pay counts toward meeting your deductible.

                                Under Standard Option, the calendar year deductible is $350 per person. Under a family
                                enrollment, the calendar year deductible for each family member is satisfied and benefits
                                are payable for all family members when the combined covered expenses of the family
                                reach $700.

                                Note: If the billed amount (or the Plan allowance that providers we contract with have
                                agreed to accept as payment in full) is less than the remaining portion of your deductible,
                                you pay the lower amount.

                                Example: If the billed amount is $100, the provider has an agreement with us to accept
                                $80, and you have not paid any amount toward meeting your Standard Option calendar
                                year deductible, you must pay $80. We will apply $80 to your deductible. We will begin
                                paying benefits once the remaining portion of your Standard Option calendar year
                                deductible ($270) has been satisfied.

                               Note: If you change plans during Open Season and the effective date of your new plan is
                               after January l of the next year, you do not have to start a new deductible under your old
                               plan between January 1 and the effective date of your new plan. If you change plans at
                               another time during the year, you must begin a new deductible under your new plan.

                                Under Basic Option, there is no calendar year deductible.

 Coinsurance                    Coinsurance is the percentage of the Plan allowance that you must pay for your care. Your
                                coinsurance is based on the Plan allowance, or billed amount, whichever is less. Under
                                Standard Option only, coinsurance does not begin until you meet your deductible.

                                Example: You pay 15% of the Plan allowance under Standard Option for durable medical
                                equipment obtained from a Preferred provider, after meeting your $350 calendar year
                                deductible.




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 If your provider routinely   Note: If your provider routinely waives (does not require you to pay) your applicable
 waives your cost             deductible (under Standard Option only), coinsurance, or copayrnents, the provider is
                              misstating the fee and may be violating the law. In this case, when we calculate our share,
                              we will reduce the provider's fee by the amount waived.

                              Example: If your physician ordinarily charges $100 for a service but routinely waives
                              your 35% Standard Option coinsurance, the actual charge is $65. We will pay $42.25
                              (65% of the actual charge of$65).

 Waivers                      In some instances, a Preferred, Participating, or Member provider may ask you to sign a
                              "waiver" prior to receiving care. This waiver may state that you accept responsibility for
                              the total charge for any care that is not covered by your health plan. If you sign such a
                              waiver, whether you are responsible for the total charge depends on the contracts that the
                              Local Plan has with its providers. If you are asked to sign this type of waiver, please be
                              aware that, if benefits are denied for the services, you could be legally liable for the
                              related expenses. If you would like more information about waivers, please contact us at
                              the customer service number on the back of your ID card.

 Differences between our      Our "Plan allowance" is the amount we use to calculate our payment for certain types of
 allowance and the bill       covered services. Fee-for-service plans arrive at their allowances in different ways, so
                              allowances vary. For information about how we determine our Plan allowance, see the
                              definition of Plan allowance in Section 10.

                              Often, the provider's bill is more than a fee-for-service plan's allowance. It is possible for
                              a provider's bill to exceed the plan's allowance by a significant amount. Whether or not
                              you have to pay the difference between our allowance and the bill will depend on the type
                              of provider you use. Providers that have agreements with this Plan are Preferred or
                              Participating and will not bill you for any balances that are in excess of our allowance for
                              covered services. See the descriptions appearing below for the types of providers available
                              in this Plan.
                               • Preferred providers. These types of providers have agreements with the Local Plan
                                 to limit what they bill our members. Because of that, when you use a Preferred
                                 provider, your share of the provider's bill for covered care is limited.

                                 Under Standard Option, your share consists only of your deductible and coinsurance
                                 or copayrnent. Here is an example about coinsurance: You see a Preferred physician
                                 who charges $250, but our allowance is $100. If you have met your deductible, you
                                 are only responsible for your coinsurance. That is, under Standard Option, you pay
                                 just 15% ofour $100 allowance ($15). Because of the agreement, your Preferred
                                 physician will not bill you for the $150 difference between our allowance and his/her
                                 bill.

                                 Under Basic Option, your share consists only of your copayrnent or coinsurance
                                 amount, since there is no calendar year deductible. Here is an example involving a
                                 copayrnent: You see a Preferred physician who charges $250 for covered services
                                 subject to a $25 copayrnent. Even though our allowance may be $100, you still pay
                                 just the $25 copayrnent. Because of the agreement, your Preferred physician will not
                                 bill you for the $225 difference between your copayrnent and his/her bill.

                                 Remember, under Basic Option, you must use Preferred providers in order to
                                 receive benefits. See page 15 for the exceptions to this requirement.




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                               • Participating providers. These types of Non-preferred providers have agreements
                                 with the Local Plan to limit what they bill our Standard Option members.

                                  Under Standard Option, when you use a Participating provider, your share of
                                  covered charges consists only of your deductible and coinsurance or copayment. Here
                                  is an example: You see a Participating physician who charges $250, but the Plan
                                  allowance is $100. If you have met your deductible, you are only responsible for your
                                  coinsurance. That is, under Standard Option, you pay just 35% of our $100 allowance
                                  ($35). Because of the agreement, your Participating physician will not bill you for the
                                  $150 difference between our allowance and his/her bill.

                                  Under Basic Option, there are no benefits for care performed by Participating
                                  providers; you pay all charges. See page 15 for the exceptions to this requirement.
                               • Non-participating providers. These Non-preferred providers have no agreement to
                                 limit what they will bill you. As a result, your share of the provider's bill could be
                                 significantly more than what you would pay for covered care from a Preferred
                                 provider. If you plan to use a Non-participating provider for your care, we encourage
                                 you to ask the provider about the expected costs and visit our Web site, www.fepblue.
                                 m:g, or call us at the customer service number on the back of your ID card for
                                 assistance in estimating your total out-of-pocket expenses.

                              Under Standard Option, when you use a Non-participating provider, you will pay your
                              deductible and coinsurance -plus any difference between our allowance and the charges
                              on the bill (except in certain circumstances - see page 128). For example, you see a Non-
                              participating physician who charges $250. The Plan allowance is again $100, and you
                              have met your deductible. You are responsible for your coinsurance, so you pay 35% of
                              the $100 Plan allowance or $35. Plus, because there is no agreement between the Non-
                              participating physician and us, the physician can bill you for the $150 difference between
                              our allowance and his/her bill. This means you would pay a total of $185 ($35 + $150)
                              for the Non-participating physician's services, rather than $15 for the same services when
                              performed by a Preferred physician. We encourage you to always visit Preferred
                              providers for your care. Using Non-participating or Non-member providers could
                              result in your having to pay significantly greater amounts for the services you
                              receive.

                              Under Basic Option, there are no benefits for care performed by Non-participating
                              providers; you pay all charges. See page 15 for the exceptions to this requirement.

                              The following table illustrates examples of how much you have to pay out-of-pocket for
                              services from a Preferred physician, a Participating physician, and a Non-participating
                              physician. The table uses our example of a service for which the physician charges $250
                              and the Plan allowance is $100. For Standard Option, the table shows the amount you pay
                              if you have met your calendar year deductible.




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  Physician's charge      $250                     $250                    $250                    $250
                                                                                                               --~-~-
  Our allowance           We set it at: $100       We set it at: $100      We set it at: $100      We set it at: $100
  We pay                  85% ofour                Our allowance less      65%ofour                65% of our
                          allowance: $85           copay:$75               allowance: $65          allowance: $65
  You owe: Coinsuranct    15%ofour                 Not applicable          35% of our              35% of our
                          allowance: $15                                   allowance: $35          allowance: $35
  You owe: Copayrnent     Not applicable           $25                     Not applicable          Not applicable
  +Difference up to       No: $0                   No:$0                   No: $0                  Yes: $150
  charge?
                          $15                      $25                     $35                     $185
  TOTAL YOU PAY


                                *Under Basic Option, there are no benefits for care performed by Participating and
                                Non-participating physicians. You must use Preferred providers in order to receive
                                benefits. See page 15 for the exceptions to this requirement.
                                Note: Under Standard Option, had you not met any of your deductible in the above
                                examples, only our allowance ($100), which you would pay in full, would count toward
                                your deductible.
                                Preferred hospitals may contract with Non-participating providers to provide certain
 Important notice about         medical or surgical services at their facilities. Non-participating providers have no
 Non-Participating              agreements with your Local Plan to limit what they can bill you. Using Non-
 providers!                     participating or Non-member providers could result in your having to pay
                                significantly greater amounts for the services you receive.
                                Here is an example: You have coverage under Standard Option and go into a
                                Preferred hospital for surgery. During surgery, you receive the services of a Non-
                                participating anesthesiologist. Under Standard Option, members pay 15% of the
                                Non-participating Provider Allowance plus any difference between that allowance
                                and the amount billed (after the member's $350 calendar year deductible has been
                                satisfied), for services provided in Preferred facilities by Non-participating
                                anesthesiologists (see page 51). For Preferred provider services, members pay only a
                                coinsurance amount of 15% of the Preferred Provider Allowance after meeting the
                                $350 calendar year deductible.
                                In this example, the Non-participating anesthesiologist charges $1,200 for his/her
                                services. Our Non-participating Provider Allowance for those services is $400. For
                                the Non-preferred anesthesiologist's services, you would be responsible for paying
                                15% of the allowance ($60), plus the $800 difference between the allowance and the
                                amount billed, for a total of$860. If you instead received services from a Preferred
                                anesthesiologist, you would pay only 15% of the $400 allowance (after meeting your
                                deductible), or $60, resulting in a savings to you of$800 ($860 - $60 = $800).
                                Always request Preferred providers for your care. Call your Local Plan at the
                                number listed on the back of your ID card or go to our Web site, www.fepblue.ore, to
                                check the contracting status of your provider or to locate a Preferred provider near
                                you.




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                                • Overseas providers. We pay overseas claims at Preferred benefit levels, using a
                                  customary percentage of the billed charge as our Plan allowance. Most overseas
                                  professional providers are under no obligation to accept our allowance, and you must
                                  pay any difference between our payment and the provider's bill. For facility care you
                                  receive overseas, we provide benefits in full after you pay the applicable copayment or
                                  coinsurance (and, under Standard Option, any deductible amount that may apply). See
                                  Section 5(i) for more information about our overseas benefits.
                               • Dental care. Under Standard Option, we pay scheduled amounts for routine dental
                                 services and you pay any balance. Under Basic Option, you pay $25 for any covered
                                 evaluation and we pay the balance for covered services. See Section 5(g) for a listing
                                 of covered dental services and additional payment information.
                               • Hospital care. You pay the coinsurance or copayment amounts listed in Section 5(c).
                                 Under Standard Option, you must meet your deductible before we begm providing
                                 benefits for certain hospital-billed services. Under Basic Option, you must use
                                 Preferred facilities in order to receive benefits. See page 15 for the exceptions to this
                                 requirement.

 Your catastrophic            If the total amount of out-of-pocket expenses in a calendar year for you and your covered
 protection out-of-pocket     family members for coinsurance and copayments (other than those listed below) exceeds
 maximum for                  $7,000 under Standard Option, or $5,000 under Basic Option, then you and any covered
 deductibles, coinsurance,    family members will not have to continue paying them for the remainder of the calendar
 and copayments               year.

                              Standard Option Preferred maximum: If the total amount of these out-of-pocket
                              expenses from using Preferred providers for you and your covered family members
                              exceeds $5,000 in a calendar year under Standard Option, then you and any covered
                              family members will not have to pay these expenses for the remainder of the calendar year
                              when you continue to use Preferred providers. You will, however, have to pay them when
                              you use Non-preferred providers, until your out-of-pocket expenses (for the services of
                              both Preferred and Non-preferred providers) reach $7,000 under Standard Option, as
                              shown above.

                              Basic Option maximum: If the total amount of these out-of-pocket expenses from using
                              Preferred providers for you and your covered family members exceeds $5,000 in a
                              calendar year under Basic Option, then you and any covered family members will not
                              have to pay these expenses for the remainder of the calendar year.

                              The following expenses are not included under this feature. These expenses do not count
                              toward your catastrophic protection out-of-pocket maximum, and you must continue to
                              pay them even after your expenses exceed the limits described above.
                               • The difference between the Plan allowance and the billed amount. See pages 20-22;
                               • Expenses for services, drugs, and supplies in excess of our maximum benefit
                                 limitations;
                               • Under Standard Option, your calendar year deductible;
                               • Under Standard Option, your 35% coinsurance for inpatient care in a Non-member
                                 facility;
                               • Under Standard Option, your 35% coinsurance for outpatient care by a Non-member
                                 facility;
                               • Your expenses for dental services in excess of our fee schedule payments under
                                 Standard Option. See Section 5(g);
                               • The $500 penalty for failing to obtain precertification, and any other amounts you pay
                                 because we reduce benefits for not complying with our cost containment requirements;

                               • Under Basic Option, coinsurance you pay for non-preferred brand-name drugs; and


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                               • Under Basic Option, your expenses for care received from Participating/Non-
                                 participating professional providers or Member/Non-member facilities, except for
                                 coinsurance and copayments you pay in those special situations where we do pay for
                                 care provided by Non-preferred providers. Please see page 15 for the exceptions to the
                                 requirement to use Preferred providers.

 Carryover                    Note: If you change to another plan during Open Season, we will continue to provide
                              benefits between January 1 and the effective date of your new plan.
                               • If you had already paid the out-of-pocket maximum, we will continue to provide
                                 benefits as described on page 22 and on this page until the effective date of your new
                                 plan.
                               • If you had not yet paid the out-of-pocket maximum, we will apply any expenses you
                                 incur in January (before the effective date of your new plan) to our prior year's out-of-
                                 pocket maximum. Once you reach the maximum, you do not need to pay our
                                 deductibles, copayments, or coinsurance amounts (except as shown on page 22 and on
                                 this page) from that point until the effective date of your new plan.

                              Note: Because benefit changes are effective January 1, we will apply our next year's
                              benefits to any expenses you incur in January.

                              Note: If you change options in this Plan during the year, we will credit the amounts
                              already accumulated toward the catastrophic protection out-of-pocket limit of your old
                              option to the catastrophic protection out-of-pocket limit of your new option. If you change
                              from Self Only to Self and Family, or vice versa, during the calendar year, please call us
                              about your out-of-pocket accumulations and how they carry over.

 If we overpay you            We will make diligent efforts to recover benefit payments we made in error but in good
                              faith. We may reduce subsequent benefit payments to offset overpayments.

                              Note: We will generally first seek recovery from the provider if we paid the provider
                              directly, or from the person (covered family member, guardian, custodial parent, etc.) to
                              whom we sent our payment.

 When Government              Facilities of the Department of Veterans Affairs, the Department of Defense, and the
 facilities bill us           Indian Health Service are entitled to seek reimbursement from us for certain services and
                              supplies they provide to you or a family member. They may not seek more than their
                              governing laws allow. You may be responsible to pay for certain services and charges.
                              Contact the government facility directly for more information.




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When you are age 65 or over and do not have Medicare

Under the FBHB law, we must limit our payments for inpatient hospital care and physician care to those payments you
would be entitled to if you had Medicare. Your physician and hospital must follow Medicare rules and cannot bill you for
more than they could bill you if you had Medicare. You and the FBHB benefit from these payment limits. Outpatient hospital
care and non-physician based care are not covered by this law; regular Plan benefits apply. The following chart has more
information about the limits.

If you ...
• are age 65 or over; and
• do not have Medicare Part A, Part B, or both; and
• have this Plan as an annuitant or as a former spouse, or as a family member of an annuitant or former spouse; and
• are not employed in a position that gives FBHB coverage. (Your employing office can tell you if this applies.)

Then, for your inpatient hospital care,
• the law requires us to base our payment on an amount - the "equivalent Medicare amount" - set by Medicare's rules for
  what Medicare would pay, not on the actual charge;
• you are responsible for your deductible (Standard Option only), coinsurance, or copayments under this Plan;
• you are not responsible for any charges greater than the equivalent Medicare amount; we will show that amount on the
  explanation of benefits (BOB) form that we send you; and
• the law prohibits a hospital from collecting more than the equivalent Medicare amount.

And, for your physician care, the law requires us to base our payment and your applicable coinsurance or copayment on ...
• an amount set by Medicare and called the "Medicare approved amount," or
• the actual charge if it is lower than the Medicare approved amount.

 If your physician ...                              Then you are responsible for ...

 Participates with Medicare or accepts              Standard Option: your deductibles, coinsurance, and copayments
 Medicare assigrnnent for the claim and is in
 our Preferred network                              Basic Option: your copayments and coinsurance

 Participates with Medicare or accepts              Standard Option: your deductibles, coinsurance, and copayments, and
 Medicare assigrnnent and is not in our             any balance up to the Medicare approved amount
 Preferred network
                                                    Basic Option: all charges

 Does not participate with Medicare, and is in      Standard Option: your deductibles, coinsurance, and copayments, and
 our Preferred network                              any balance up to 115% of the Medicare approved amount

                                                    Basic Option: your copayments and coinsurance, and any balance up to
                                                    ll5% of the Medicare approved amount
 Does not participate with Medicare and is not      Standard Option: your deductibles, coinsurance, copayments,
 in our Preferred network
                                                    Basic Option: all charges


It is generally to your financial advantage to use a physician who participates with Medicare. Such physicians are permitted
to collect only up to the Medicare approved amount.

Our explanation of benefits (BOB) form will tell you how much the physician or hospital can collect from you. If your
physician or hospital tries to collect more than allowed by law, ask the physician or hospital to reduce the charges. If you
have paid more than allowed, ask for a refund. If you need further assistance, call us.


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 When you have the            We limit our payment to an amount that supplements the benefits that Medicare would
 Original Medicare Plan       pay under Medicare Part A (Hospital Insurance) and Medicare Part B (Medical Insurance),
 (Part A, Part B, or both)    regardless of whether Medicare pays.

                              Note: We pay our regular benefits for emergency services to a facility provider, such as a
                              hospital, that does not participate with Medicare and is not reimbursed by Medicare.

                              We use the Department of Veterans Affairs (VA) Medicare-equivalent Remittance Advice
                              (MRA) when the MRA statement is submitted to determine our payment for covered
                              services provided to you if Medicare is primary, when Medicare does not pay the VA
                              facility.

                              If you are covered by Medicare Part Band it is primary, your out-of-pocket costs for
                              services that both Medicare Part B and we cover depend on whether your physician
                              accepts Medicare assignment for the claim.
                               • If your physician accepts Medicare assignment, then you pay nothing for covered
                                 charges (see note below for Basic Option).
                               • If your physician does not accept Medicare assignment, then you pay the difference
                                 between the "limiting charge" or the physician's charge (whichever is less) and our
                                 payment combined with Medicare's payment (see note below for Basic Option).

                              Note: Under Basic Option, you must see Preferred providers in order to receive
                              benefits. See page 15 for the exceptions to this requirement.

                              It is important to know that a physician who does not accept Medicare assigument may
                              not bill you for more than 115% of the amount Medicare bases its payment on, called the
                              "limiting charge." The Medicare Summary Notice (MSN) form that you receive from
                              Medicare will have more information about the limiting charge. If your physician tries to
                              collect more than allowed by law, ask the physician to reduce the charges. If the physician
                              does not, report the physician to the Medicare carrier that sent you the MSN form. Call us
                              if you need further assistance.

                              Please see Section 9, Coordinating benefits with other coverage, for more
                              information about how we coordinate benefits with Medicare.




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                                      Standard and Basic Option Overview
This Plan offers both a Standard and Basic Option. Both benefit packages are described in Section 5. Make sure that you
review the benefits that are available under the option in which you are enrolled.

The Standard and Basic Option Section 5 is divided into subsections. Please read Important things youshould keep in mind at
the beginning of the subsections. Also read the General exclusions in Section 6; they apply to the benefits in the following
subsections. To obtain claim forms, claims filing advice, or more information about Standard and Basic Option benefits,
contact us at the customer service telephone number on the back of your Service Benefit Plan ID card or at our Web site at
www.fepblue.org.

Each option offers unique features.
  • Standard              When you have Standard Option, you can use both Preferred and Non-preferred providers.
    Option                However, your out-of-pocket expenses are lower when you use Preferred providers and
                          Preferred providers will submit claims to us on your behalf. Standard Option has a calendar year
                          deductible for some services and a $20 copayment for office visits to primary care providers
                          ($30 for specialists). Standard Option also features both a Preferred retail and a Preferred mail
                          service prescription drug program.

  • Basic Option          Basic Option does not have a calendar year deductible. Most services are subject to copayments
                          ($25 for primary care providers and $35 for specialists). Members do not need to have referrals
                          to see specialists. You must use Preferred providers for your care to be eligible for benefits,
                          except in certain circumstances, such as emergency care. Preferred providers will submit claims
                          to us on your behalf. Basic Option also offers a Preferred retail pharmacy program.




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                         Section S(a). Medical services and supplies
                  provided by physicians and other health care professionals
          Important things you should keep in mind about these benefits:
          • Please remember that all benefits are subject to the definitions, lim1tations, and exclusions in this
            brochure and are payable only when we determine they are medically necessary.
          • Please refer to Section 3, How you receive benefits, for a list of providers we consider to be primary
            care providers and other health care professionals.
          • Be sure to read Section 4, Your costs for covered services, for valuable information about how cost-
            sharing works, with special sections for members who are age 65 or over. Also read Section 9 about
            coordinating benefits with other coverage, including Medicare.
          • We base payment on whether a facility or a health care professional bills for the services or supplies.
            You will find that some benefits are listed in more than one section of the brochure. This is because
            how they are paid depends on what type of provider bills for the service. For example, physical
            therapy is paid differently depending on whether it is billed by an inpatient facility, a doctor, a
            physical therapist, or an outpatient facility.
          • The amounts listed in this Section are for the charges billed by a physician or other health care
            professional for your medical care. Look in Section 5(c) for charges associated with the facility (i.
            e., hospital or other outpatient facility, etc.).
          • PPO benefits apply only when you use a PPO provider. When no PPO provider is available, non-
            PPO benefits apply.
          • Under Standard Option,
            - The calendar year deductible is $350 per person ($700 per family). The calendar year deductible
              applies to almost all benefits in this Section. We added "(No deductible)" to show when the
              calendar year deductible does not apply.
            - We provide benefits at 85% of the Plan allowance for services provided in Preferred facilities by
              Non-preferred radiologists, anesthesiologists, certified registered nurse anesthetists (CRNAs),
              pathologists, emergency room physicians, and assistant surgeons (including assistant surgeons in
              a physician's office). You are responsible for any difference between our allowance and the billed
              amount.
          • Under Basic Option,
            - There is no calendar year deductible.
            - You must use Preferred providers in order to receive benefits. See below and page 15 for
              the exceptions to this requirement.
            - We provide benefits at I 00% of the Plan allowance for services provided in Preferred facilities by
              Non-preferred radiologists, anesthesiologists, certified registered nurse anesthetists (CRNAs),
              pathologists, emergency room physicians, and assistant surgeons (including assistant surgeons in
              a physician's office). You are responsible for any difference between our allowance and the billed
              amount.




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                  Benefit Description                                                     You Pay
               J'<otl': Thl' calendar~ cur dcductibk applies to almo>t all Standard Option bl'nl'f1t' in thh St·ction.
 \\ e ~a~   ''( i\o deductihle)'' when the Standard Option deductible does not apply. I' here i~ no calendar year deductible
                                                        under Basic Option.

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  Professional services of physicians and other health       Preferred primary care provider      Preferred primary care provider
  care professionals:                                        or other health care                 or other health care
  • Outpatient consultations                                 professional:                        professional:
                                                             $20 copayment for the office         $25 copayment per visit
  • Outpatient second surgical opinions                      visit charge (No deductible)
  • Office visits                                                                                 Preferred specialist: $35
                                                             Preferred specialist: $30            copayment per visit
  • Home visits                                              copayment for the office visit
  • Initial examination of a newborn needing definitive      charge (No deductible)               Note: You pay 30% of the Plan
    treatment when covered under a family enrollment                                              allowance for agents, drugs,
                                                             Participating: 35% of the Plan       and/or supplies administered or
  • Pharmacotherapy (medication management) [see             allowance                            obtained in connection with
    Section 5(f) for prescription drug coverage]                                                  your care. (See page 126 for
                                                             Non-participating: 35% of the        more information about
  Note: Please refer to pages 31-32 for our coverage of      Plan allowance, plus any             "agents.")
  laboratory, X-ray, and other diagnostic tests billed for   difference between our
  by a physician, and to pages 72-74 for our coverage        allowance and the billed             Participating/Non-participating:
  of these services when billed for by a facility, such as   amount                               You pay all charges
  the outpatient department of a hospital.
  Inpatient professional services:                           Preferred: 15% of the Plan           Preferred: Nothing
  • During a hospital stay                                   allowance
                                                                                                  Participating/Non-participating:
  • Services for nonsurgical procedures when ordered,        Participating: 35% of the Plan       You pay all charges
    provided, and billed by a physician during a             allowance
    covered inpatient hospital admission
                                                             Non-participating: 35% of the
  • Medical care by the attending physician (the             Plan allowance, plus any
    physician who is primarily responsible for your          difference between our
    care when you are hospitalized) on days we pay           allowance and the billed
    inpatient hospital benefits                              amount

  Note: A consulting physician employed by the
  hospital is not the attending physician.
  • Consultations when requested by the attending
    physician
  • Concurrent care - hospital inpatient care by a
    physician other than the attending physician for a
    condition not related to your primary diagnosis, or
    because the medical complexity of your condition
    requires this additional medical care
  • Physical therapy by a physician other than the
    attending physician
  • Initial examination of a newborn needing definitive
    treatment when covered under a family enrollment
  • Pharmacotherapy (medication management) [see
    Section 5(c) for our coverage of drugs you receive
    while in the hospital]
  • Second surgical opinion
  • Nutritional counseling when billed by a covered
    provider

                                                                    Diagnostic and treatment services - continued on next page
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                     Benefit Description                                                You Pay
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     Not covered :                                         All charges                          All charges
     • Routine services except for those Preventive care
       services described on pages 33-36
     • Telephone consultations and online medical
       evaluation and management services
     • Private duty nursing
     • Standby physicians
     • Routine radiological and staffconsultations
       required by hospital rules and regulations
     • Inpatient physician care when your hospital
       admission or portion ofan admission is not
       covered [see Section 5(c)]

  Note: Ifwe determine that a hospital admission is no
  covered, we will not provide benefits for inpatient
  room and board or inpatient physician care. However,
  we will provide benefits for covered services or
  supplies other than room and board and inpatient
  physician care at the level that we would have paid if
  they had been provided in some other setting.


  Diagnostic tests provided, or ordered and billed by a    Preferred: 15% of the Plan          Preferred: Nothing
  physician, such as:                                      allowance
                                                                                               Note: You pay 30% of the Plan
     • Blood tests                                         Participating: 35% of the Plan      allowance for agents, drugs,
     • EKGs                                                allowance                           and/or supplies administered or
  • Laboratory tests                                                                           obtained in connection with
                                                           Non-participating: 35% of the       your care. (See page 126 for
  • Neurological testing                                   Plan allowance, plus any            more information about
  • Pathology services                                     difference between our              "agents.")
                                                           allowance and the billed
  • Urinalysis                                             amount                              Participating/Non-participating:
                                                                                               You pay all charges (except as
  Diagnostic services billed by an independent             Note: If your Preferred             noted below)
  laboratory                                               provider uses a Non-preferred
                                                           laboratory or radiologist, we       Note: For services billed by
  Note: See Section 5(c) for services billed for by a      will pay Non-preferred benefits     Participating and Non-
  facility, such as the outpatient department of a         for any laboratory and X-ray        participating laboratories or
  hospital.                                                charges.                            radiologists, you pay any
                                                                                               difference between our
                                                                                               allowance and the billed
                                                                                               amount.
  Diagnostic tests provided, or ordered and billed by a    Preferred: 15% of the Plan          Preferred: $25 copayment
  physician, such as:                                      allowance
                                                                                               Note: You pay 30% of the Plan
  • EEGs                                                   Participating: 35% of the Plan      allowance for agents, drugs,
  • Ultrasounds                                            allowance                           and/or supplies administered or
  • X-rays (including set-up of portable X-ray                                                 obtained in connection with
    equipment)                                                                                 your care. (See page 126 for
                                                                                               more information about
                                                                                               "agents.")

                                                               Lab, X-ray and other diagnostic tests - continued on next page
2011 Blue Cross® and Blue Shield® Service Benefit Plan       33                         Standard and Basic Option Section 5(a)
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                 Benefit Description                                                         You Pay
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  Diagnostic services billed by an independent               Preferred: 15% of the Plan                Preferred: $25 copayment
  laboratory                                                 allowance
                                                                                                       Note: You pay 30% of the Plan
  Note: See Section 5(c) for services billed for by a        Participating: 35% of the Plan            allowance for agents, drugs,
  facility, such as the outpatient department of a           allowance                                 and/or supplies administered or
  hospital.                                                                                            obtained in connection with
                                                             Non-participating: 35% of the             your care. (See page 126 for
                                                             Plan allowance, plus any                  more information about
                                                             difference between our                    "agents.")
                                                             allowance and the billed
                                                             amount                                    Participating/Non-participating:
                                                                                                       You pay all charges (except as
                                                             Note: If your Preferred                   noted below)
                                                             provider uses a Non-preferred
                                                             laboratory or radiologist, we             Note: For services billed by
                                                             will pay Non-preferred benefits           Participating and Non-
                                                             for any laboratory and X-ray              participating laboratories or
                                                             charges.                                  radiologists, you pay any
                                                                                                       difference between our
                                                                                                       allowance and the billed
                                                                                                       amount in addition to the
                                                                                                       Preferred copayment listed
                                                                                                       above.
  Diagnostic tests provided, or ordered and billed by a      Preferred: 15% of the Plan                Preferred: $75 copayment
  physician, such as:                                        allowance
                                                                                                       Note: You pay 30% of the Plan
  • Bone density tests - diagnostic                          Participating: 35% of the Plan            allowance for agents, drugs,
  • CT scans/MR.Is/PET scans                                 allowance                                 and/or supplies administered or
  • Diagnostic angiography                                                                             obtained in connection with
                                                             Non-participating: 35% of the             your care. (See page 126 for
  • Genetic testing - diagnostic                             Plan allowance, plus any                  more information about
                                                             difference between our                    "agents.")
  Note: Genetic screening is not covered.                    allowance and the billed
  • Nuclear medicine                                         amount                                    Participating/Non-participating:
                                                                                                       You pay all charges (except as
                                                             Note: If your Preferred                   noted below)
  Diagnostic services billed by an independent               provider uses a Non-preferred
  laboratory                                                 laboratory or radiologist, we             Note: For services billed by
  Note: See Section 5( c) for services billed for by a       will pay Non-preferred benefits           Participating and Non-
  facility, such as the outpatient department of a           for any laboratory and X-ray              participating laboratories or
  hospital.                                                  charges.                                  radiologists, you pay any
                                                                                                       difference between our
                                                                                                       allowance and the billed
                                                                                                       amount in addition to the
                                                                                                       Preferred copayment listed
                                                                                                       above.




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                 Benefit Description                                                 You Pay
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  We provide benefits for a comprehensive range of        Preferred: Nothing (No                Preferred: Nothing
                                                                                                                     -_       -=~~~t~
  preventive care services for adults age 22 and over,    deductible)
  including the preventive services recommended unde                                            Participating/Non-participating:
  the Patient Protection and Affordable Care Act (the     Participating: 35% of the Plan        You pay all charges (except as
  "Affordable Care Act"). Covered services include:       allowance                             noted below)

  • Routine physical examination                          Non-participating: 35% of the         Note: For services billed by
  • Chest X-ray                                           Plan allowance, plus any              Participating and Non-
                                                          difference between our                participating laboratories or
  •EKG                                                    allowance and the billed              radiologists, you pay any
  • Urinalysis                                            amount                                difference between our
  • General health panel                                                                        allowance and the billed
                                                          Note: When billed by a facility,      amount.
  • Basic or comprehensive metabolic panel test           such as the outpatient
  •CBC                                                    department of a hospital, we          Note: When billed by a
                                                          provide benefits as shown here,       Preferred facility, such as the
  • Fasting lipoprotein profile                           according to the contracting          outpatient department of a
  • Screening for alcohol/substance abuse                 status of the facility.               hospital, we provide benefits as
                                                                                                shown here for Preferred
  Note: See page 50 for our coverage of smoking                                                 providers.
  cessation treatment.
                                                                                                Note: Benefits are not available
  • Individual counseling on prevention and reducing                                            for routine physical
    health risks                                                                                examinations, associated
                                                                                                laboratory tests, screening
  Note: Preventive care benefits are not available for                                          colonoscopies, or routine
  group counseling.                                                                             immunizations performed at
  • Genetic counseling and evaluation for women                                                 Member or Non-member
    whose family history is associated with an                                                  facilities.
    increased risk for harmful mutations in BRCAI or
    BRCA2 genes                                                                                 Note: See Section 5(c) for our
                                                                                                payment levels for covered
  Note: BRCA testing is covered only for members                                                cancer screenings and
  with a cancer diagnosis. See page 32 for the benefit                                          ultrasound screening for aortic
  levels that apply to diagnostic genetic testing.                                              abdominal aneurysm billed for
                                                                                                by Member or Non-member
  • Screening for chlamydia! infection                                                          facilities and performed on an
  • Screening for gonorrhea infection                                                           outpatient basis.
  • Screening for Human Immunodeficiency virus
    (HIV) infection
  • Screening for syphilis infection
  • Administration and interpretation of a Health Risk
    Assessment (HRA) questionnaire (see Definitions)

  Note: As a member of the Service Benefit Plan, you
  have access to the Blue Cross and Blue Shield HRA,
  called the "Blue Health Assessment" questionnaire.
  Completing the questionnaire entitles you to receive
  special benefit incentives. See Section 5(h) for
  complete information.

  Note: Preventive care benefits for each of the
  services listed above are limited to one per calendar
  year.

                                                                             Preventive care, adult - continued on next page
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                    Benefit Description                                                You Pay
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   Note: If the primary purpose of your office visit to a   Preferred: Nothing (No             Preferred: Nothing
  Preferred provider is other than preventive care, you     deductible)
  pay the copayment amount shown on page 30. The                                               Participating/Non-participating:
  copayment applies even if you receive a covered           Participating: 35% of the Plan     You pay all charges (except as
  preventive service during the visit.                      allowance                          noted below)

                                                            Non-participating: 35% of the      Note: For services billed by
                                                            Plan allowance, plus any           Participating and Non-
                                                            difference between our             participating laboratories or
                                                            allowance and the billed           radiologists, you pay any
                                                            amount                             difference between our
                                                                                               allowance and the billed
                                                            Note: When billed by a facility,   amount.
                                                            such as the outpatient
                                                            department of a hospital, we       Note: When billed by a
                                                            provide benefits as shown here,    Preferred facility, such as the
                                                            according to the contracting       outpatient department of a
                                                            status of the facility.            hospital, we provide benefits as
                                                                                               shown here for Preferred
                                                                                               providers.

                                                                                               Note: Benefits are not available
                                                                                               for routine physical
                                                                                               examinations, associated
                                                                                               laboratory tests, screening
                                                                                               colonoscopies, or routine
                                                                                               immunizations performed at
                                                                                               Member or Non-member
                                                                                               facilities.

                                                                                               Note: See Section 5(c) for our
                                                                                               payment levels for covered
                                                                                               cancer screenings and
                                                                                               ultrasound screening for aortic
                                                                                               abdominal aneurysm billed for
                                                                                               by Member or Non-member
                                                                                               facilities and performed on an
                                                                                               outpatient basis.
  • Colorectal cancer tests, includmg:                      Preferred: Nothing (No             Preferred: Nothing
    - Fecal occult blood test                               deductible)
                                                                                               Participating/Non-participating:
    - Screening colonoscopy (see page 52 for our            Participating: 35% of the Plan     You pay all charges (except as
      payment levels for colonoscopies performed by         allowance                          noted below)
      a physician to diagnose or treat a specific
      condition)                                            Non-participating: 35% of the      Note: For services billed by
                                                            Plan allowance, plus any           Participating and Non-
    - Sigmoidoscopy                                         difference between our             participating laboratories or
    - Double contrast barium enema                          allowance and the billed           radiologists, you pay any
  • Prostate cancer tests - Prostate Specific Antigen       amount                             difference between our
    (PSA) test                                                                                 allowance and the billed
                                                            Note: When billed by a facility,   amount.
  • Cervical cancer tests (including Pap tests)             such as the outpatient
  • Breast cancer tests (mammograms)                        department of a hospital, we
                                                            provide benefits as shown here,
  • Ultrasound for aortic abdominal aneurysm                according to the contracting
                                                            status of the facility.
                                                                               Preventive care, adult - continued on next page
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                Benefit Description                                                   You Pay
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  • Osteoporosis screening - annual screening for          Preferred: Nothing (No             Preferred: Nothing
    women age 60 and over                                  deductible)
                                                                                              Participating/Non-participating:
  Note: Preventive care benefits for each of the           Participating: 35% of the Plan     You pay all charges (except as
  services listed above are limited to one per calendar    allowance                          noted below)
  year.                                                    Non-participating: 35% of the      Note: For services billed by
  Note: If the primary purpose of your office visit to a   Plan allowance, plus any           Participating and Non-
  Preferred provider is other than preventive care, you    difference between our             participating laboratories or
  pay the copayment amount shown on page 30. The           allowance and the billed           radiologists, you pay any
  copayment applies even if you receive a covered          amount                             difference between our
  preventive service during the visit.                                                        allowance and the billed
                                                           Note: When billed by a facility,   amount.
  • Nutritional counseling when billed by a covered        such as the outpatient
    provider such as a physician, nurse, nurse             department of a hospital, we       Note: When billed by a
    practitioner, licensed certified nurse midwife,        provide benefits as shown here,    Preferred facility, such as the
    dietician or nutritionist, who bills independently     according to the contracting       outpatient department of a
    for nutritional counseling services                    status of the facility.            hospital, we provide benefits as
                                                                                              shown here for Preferred
  Note: Benefits are limited to individual nutritional                                        providers.
  counseling services. We do not provide benefits for
  group counseling services.                                                                  Note: Benefits are not available
                                                                                              for routine physical
                                                                                              examinations, associated
                                                                                              laboratory tests, screening
                                                                                              colonoscopies, or routine
                                                                                              immunizations performed at
                                                                                              Member or Non-member
                                                                                              facilities.

                                                                                              Note: See Section 5(c) for our
                                                                                              payment levels for covered
                                                                                              cancer screenings and
                                                                                              ultrasound screening for aortic
                                                                                              abdominal aneurysm billed for
                                                                                              by Member or Non-member
                                                                                              facilities and performed on an
                                                                                              outpatient basis.
  Routine immunizations [as licensed by the U.S. Food      Preferred: Nothing (No             Preferred: Nothing
  and Drug Administration (FDA)], limited to:              deductible)
                                                                                              Participating/Non-participating:
  • Hepatitis (Types A and B) for patients with            Participating: 35% of the Plan     You pay all charges (except as
    increased risk or family history                       allowance                          noted below)
  • Herpes Zoster (shingles)*
                                                           Non-participating: 35% of the      Note: We provide benefits for
  • Human Papillomavirus (HPV)*                            Plan allowance, plus any           services billed by Participating/
  • Seasonal Influenza and HIN! Influenza (Swme)*          difference between our             Non-participatmg providers
  • Measles, Mumps, Rubella                                allowance and the billed           related to the Seasonal
                                                           amount                             Influenza and HlNl Influenza
  • Meningococcal *                                                                           (Swine) vaccines. You pay any
  • Pneumococcal *                                         Note: When billed by a facility,   difference between our
                                                           such as the outpatient             allowance and the billed
  • Tetanus, Diphtheria, Pertussis booster (one every      department of a hospital, we
    10 yrs)                                                                                   amount.
                                                           provide benefits as shown here,
  • Varicella                                              according to the contracting
                                                           status of the facility.
                                                                              Preventive care, adult - continued on next page
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                 Benefit Description                                                     You Pay
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  *Many Preferred retail phannacies participate in our     Preferred: Nothmg (No                   Preferred: Nothing
  vaccine network. See page 90 for our coverage of         deductible)
  these vaccines when provided by pharmacies in the                                                Participating/Non-participating:
  vaccine network.                                         Participating: 35% of the Plan          You pay all charges (except as
                                                           allowance                               noted below)

                                                           Non-participating: 35% of the           Note: We provide benefits for
                                                           Plan allowance, plus any                services billed by Participating/
                                                           difference between our                  Non-participating providers
                                                           allowance and the billed                related to the Seasonal
                                                           amount                                  Influenza and HIN! Influenza
                                                                                                   (Swine) vaccines. You pay any
                                                           Note: When billed by a facility,        difference between our
                                                           such as the outpatient                  allowance and the billed
                                                           department of a hospital, we            amount.
                                                           provide benefits as shown here,
                                                           according to the contracting            Note: When billed by a facility,
                                                           status of the facility.                 such as the outpatient
                                                                                                   department of a hospital, we
                                                                                                   provide benefits as shown here,
                                                                                                   according to the contracting
                                                                                                   status of the facility.
  Note: U.S. FDA licensure may restrict the use of         See pages 33-34                         See pages 33-34
  listed immunizations and vaccines to certain age
  ranges, frequencies, and/or other patient-specific
  indications, including gender.

  Note: If the primary purpose of your office visit to a
  Preferred provider is other than preventive care, you
  pay the copayment amount shown on page 30. The
  copayment applies even if you receive a covered
  preventive service during the visit.

  Note: See page 90 for our payment levels for
  medicines to promote better health as recommended
  under the Affordable Care Act.

  Note: The benefits listed above and on on pages
  33-34 do not apply to children up to age 22. (See
  benefits under Preventive care, cluJdren, this
  Section.)

  Note: A complete list of the preventive care services
  recommended under the Affordable Care Act is
  available online at: www.healthcare.gov/law/about/
  provisions/services/lists.html. Services
  recommended under the Act and guidelines for health
  plan coverage are subject to Federal regulations.
  Not covered:                                             All charges                             Al/charges
  • Genetic screening related to family history of
    cancer or other disease (see page 32 for our
    coverage ofmedically necessary diagnostic genetic
    testing)
                                                                              Preventive care, adult - continued on next page


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                  Benefit Description                                                You Pay
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  • Group counseling on prevention and reducing           All charges                        All charges
    health risks
  • Self-administered health risk assessments (other
    than the Blue Health Assessment)
  • Screening services requested solely by the member.
    such as commercially advertised heart scans, body
    scans, and tests performed in mobile traveling vans


  We provide benefits for a comprehensive range of        Preferred: Nothing (No             Preferred: Nothing
  preventive care services for children up to age 22,     deductible)
  including the preventive services recommended unde                                         Participating/Non-participating:
  the Patient Protection and Affordable Care Act (the     Participating: 35% of the Plan     You pay all charges (except as
  "Affordable Care Act"), and services recommended        allowance                          noted below)
  by the American Academy of Pediatrics (AAP).            Non-participating: 35% of the      Note: For services billed by
  Covered services include:                               Plan allowance, plus any           Participating and Non-
  • Healthy newborn visits and screenings (inpatient o    difference between our             participating laboratories or
    outpatient)                                           allowance and the billed           radiologists, you pay any
  • Routine physical examinations                         amount.                            difference between our
                                                                                             allowance and the billed
  • Laboratory tests                                      Note: When billed by a facility,   amount.
  • Hearing and vision screenings                         such as the outpatient
                                                          department of a hospital, we       Note: For services billed by
  • Routine immunizations as licensed by the U.S.         provide benefits as shown here,    Participating/Non-participating
    Food and Drug Administration (FDA) limited to:        according to the contracting       providers related to the
    - Diphtheria, Tetanus, Pertussis                      status of the facility. provide    Seasonal Influenza and HlNl
    - Hemophilus Influenza type b (Hib)                   benefits as shown here,            Influenza (Swine) vaccines,
                                                          according to the contracting       you pay any difference between
    - Hepatitis (Types A and B)                           status of the facility.            our allowance and the billed
    - Human Papillomavirus (HPV)                                                             amount.
    - Inactivated Poliovirus                                                                 Note: When billed by a facility,
    - Measles, Mwnps, Rubella                                                                such as the outpatient
    - Meningococcal                                                                          department of a hospital, we
                                                                                             provide benefits as shown here,
    - Pneumococcal                                                                           according to the contracting
    - Rotavirus                                                                              status of the facility.
    - Seasonal Influenza and HIN! Influenza
    - Varicella

  Note: U.S. FDA Iicensure may restrict the use of
  certain immunizations and vaccines to specific age
  ranges, frequencies, and/or other patient-specific
  indications, including gender.
  • Screening for chlamydia] infection
  • Screening for gonorrhea infection
  • Screening for Human Immunodeficiency virus
    (HIV) infection
  • Screening for syphilis infection


                                                                          Preventive care, children - continued on next page

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                Benefit Description                                                     You Pay
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  Note: Benefits for sexually transmitted infection         Preferred: Nothing (No              Preferred: Nothing
  (STI) screening tests are limited to one test per STI     deductible)
  per year.                                                                                     Participating/Non-participating:
                                                            Participating: 35% of the Plan      You pay all charges (except as
  • Nutritional counseling services (see page 34)           allowance                           noted below)

  Note: See page 90 for our payment levels for              Non-participating: 35% of the       Note: For services billed by
  medicines to promote better health as recommended         Plan allowance, plus any            Participating and Non-
  under the Affordable Care Act.                            difference between our              participating laboratories or
                                                            allowance and the billed            radiologists, you pay any
  Note: If the primary purpose of your child's office       amount.                             difference between our
  visit to a Preferred provider is other than preventive                                        allowance and the billed
  care, you pay the copayment amount shown on page          Note: When billed by a facility,    amount.
  30. The copayment applies even if your child              such as the outpatient
  receives a covered preventive service during the visit.   department of a hospital, we        Note: For services billed by
                                                            provide benefits as shown here,     Participating/Non-participating
                                                            according to the contracting        providers related to the
                                                            status of the facility.provide      Seasonal Influenza and HIN!
                                                            benefits as shown here,             Influenza (Swine) vaccines,
                                                            according to the contractmg         you pay any difference between
                                                            status of the facility.             our allowance and the billed
                                                                                                amount.

                                                                                                Note: When billed by a facility,
                                                                                                such as the outpatient
                                                                                                department of a hospital, we
                                                                                                provide benefits as shown here,
                                                                                                according to the contracting
                                                                                                status of the facility.


  Maternity (obstetrical) care including related            Preferred: Nothing (No              Preferred: Nothing
  conditions resulting in childbirth or miscarriage when    deductible)
  provided, or ordered and billed by a physician or                                             Note: For Preferred facility
  nurse midwife, such as:                                   Note: For facility care related     care related to maternity,
                                                            to maternity, including care at     including care at Preferred
  • Prenatal care (including ultrasound, laboratory, and    birthing facilities, we waive the   birthing facilities, your
    diagnostic tests)                                       per admission copayment and         responsibility for covered
  • Tocolytic therapy and related services (when            pay for covered services in full    inpatient services is limited to
    provided and billed by a home infusion therapy          when you use Preferred              $150 per admission. For
    company or a home health care agency)                   providers.                          outpatient facility services
                                                                                                related to maternity, see pages
  Note: Maternity care benefits are not provided for        Participating: 35% of the Plan      71.
  oral tocolytic agents. See Section 5(f) for               allowance
  prescription drug coverage (including oral tocolytic                                          Participating/Non-participating:
                                                            Non-participating: 35% of the       You pay all charges (except as
  agents).                                                  Plan allowance, plus any            noted below)
  Note: Benefits for home nursing visits related to         difference between our
  covered tocolytic therapy are subject to the visit        allowance and the billed            Note: For services billed by
  limitations described on page 48.                         amount                              Participating and Non-
                                                                                                participating laboratories or
  • Delivery                                                                                    radiologists, you are
  • Postpartum care                                                                             responsible only for any
  • Assistant surgeons/surgical assistance if required                                          difference between our
    because of the complexity of the delivery                                                   allowance and the billed
                                                                                                amount.
                                                                                       Maternity care - continued on next page
2011 Blue Cross® and Blue Shield® Service Benefit Plan        40                        Standard and Basic Option Section 5(a)
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               Benefit Description                                                           You Pay                                                                     __
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   • Anesthesia (including acupuncture) when                 Preferred: Nothing (No                         Preferred: Nothing
     requested by the attending physician and                deductible)
     performed by a certified registered nurse                                                              Note: For Preferred facility
     anesthetist (CRNA) or a physician other than the        Note: For facility care related                care related to maternity,
     operating physician (surgeon) or the assistant          to maternity, including care at                including care at Preferred
                                                             birthing facilities, we waive the              birthing facilities, your
  • Breastfeeding education and individual coaching          per admission copayment and                    responsibility for covered
    on breastfeeding by a physician, physician               pay for covered services in full               inpatient services is limited to
    assistant, nurse midwife, nurse practitioner/clinical    when you use Preferred                         $150 per admission. For
    specialist, or registered nurse certified lactation      providers.                                     outpatient facility services
    consultant                                                                                              related to maternity, see pages
  • Mental health treatment for postpartum depression        Participating: 35% of the Plan                 71.
    and depression during pregnancy                          allowance
                                                                                                           Participating/Non-participating:
                                                             Non-participating: 35% of the                 You pay all charges (except as
  Note: We provide benefits to cover up to 4 visits per      Plan allowance, plus any
  year in full to treat depression associated with                                                         noted below)
                                                             difference between our
  pregnancy (i.e., depression during pregnancy,              allowance and the billed                      Note: For services billed by
  postpartum depression, or both) when you use a             amount                                        Participating and Non-
  Preferred provider. See Section 5(e) for our coverage                                                    participating laboratories or
  of mental health visits to Non-preferred providers and     Note: You may request prior                   radiologists, you are
  benefits for additional mental health services.            approval and receive specific                 responsible only for any
                                                             benefit information in advance                difference between our
  Note: See page 34 for our coverage of nutritional          for the delivery itself and any
  counseling.                                                                                              allowance and the billed
                                                             other maternity-related surgical              amount.
                                                             procedures to be provided by a
                                                             Non-participating physician
                                                             when the charge for that care
                                                             will be $5,000 or more. Call
                                                             your Local Plan at the customer
                                                             service number on the back of
                                                             your ID card to obtain
                                                             information about your
                                                             coverage and the Plan
                                                             allowance for the services.
  Note: Here are some things to keep in mind:
  • You do not need to precertify your normal delivery,
    see page 16 for other circumstances, such as
    extended stays for you or your baby.
  • You may remain in the hospital up to 48 hours after
    a regular delivery and 96 hours after a cesarean
    delivery. We will cover an extended stay if
    medically necessary.
  • We cover routine nursery care of the newborn child
    during the covered portion of the mother's
    maternity stay. We will cover other care of an
    infant who requires non-routine treatment only if
    we cover the infant under a Self and Family
    enrollment. Surgical benefits, not maternity
    benefits, apply to circumcision.


                                                                                         Maternity care - continued on next page



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  Note: When a newborn requires definitive treatment
  during or after the mother's confinement, the
  newborn is considered a patient in his or her own
  right. Regular medical or surgical benefits apply
  rather than maternity benefits.

  Note: See page 52 for our payment levels for
  circumcision.
  Not covered:                                             All charges                         Al/charges
  • Procedures, services, drugs, and supplies related to
    abortions except when the life ofthe mother would
    be endangered ifthe fetus were carried to term or
    when the pregnancy is the result ofan act ofrape
    or incest
  • Genetic testing/screening of the baby's father (see
    page 32 for our coverage ofmedically necessary
    diagnostic genetic testing)
  • Maternity care for women not enrolled in this Plan


  A range of voluntary family planning services,           Preferred: 15% of the Plan          Preferred primary care provider
  limited to:                                              allowance                           or other health care
  • Depo-Provera                                                                               professional: $25 copayment
                                                           Participating: 35% of the Plan      per visit
  • Diaphragms and contraceptive rings                     allowance
  • Intrauterine devices (IUDs)                                                                Preferred specialist: $3 5
                                                           Non-participating: 35% of the       copayment per visit
  • Implantable contraceptives                             Plan allowance, plus any
  • Oral and transdermal contraceptives                    difference between our              Note: You pay $150 for related
                                                           allowance and the billed            surgical procedures. See
  • Voluntary sterilization [see Surgical procedures in    amount                              Section 5(b) for our coverage
    Section 5(b)]                                                                              for related surgical procedures.

  Note: See Section 5(f) for prescription drug                                                 Note: You pay 30% of the Plan
  coverage.                                                                                    allowance for agents, drugs,
                                                                                               and/or supplies administered or
                                                                                               obtained in connection with
                                                                                               your care. (See page 126 for
                                                                                               more information about
                                                                                               "agents.")

                                                                                               Participating/Non-participating:
                                                                                               You pay all charges
  Not covered:                                             Al/charges                          Al/charges
  • Reversal of voluntary surgical sterilization
  • Contraceptive devices not described above




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                          Benefit Description                                         You Pay
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     Diagnosis and treatment of infertility, except as   Preferred: 15% of the Plan           Preferred primary care provider
     shown in Not covered                                allowance                            or other health care
                                                                                              professional: $25 copayment
     Note: See Section 5(f) for prescription drug        Participating: 35% of the Plan       per visit
     coverage.                                           allowance
                                                                                              Preferred specialist: $35
                                                         Non-participating: 35% of the        copayment per visit
                                                         Plan allowance, plus any
                                                         difference between our               Note: You pay 30% of the Plan
                                                         allowance and the billed             allowance for agents, drugs,
                                                         amount                               and/or supplies administered or
                                                                                              obtained in connect10n with
                                                                                              your care. (See page 126 for
                                                                                              more information about
                                                                                              "agents.")

                                                                                              Participating/Non-participating:
                                                                                              You pay all charges (except as
                                                                                              noted below)

                                                                                              Note: For services billed by
                                                                                              Participating and Non-
                                                                                              participating laboratories or
                                                                                              radiologists, you pay any
                                                                                              difference between our
                                                                                              allowance and the billed
                                                                                              amount.
     Not covered:                                                                             All charges
                                                         All charges
     • Assisted reproductive technology (ART)
       procedures, including but not limited to:
       - artificial insemination (AI)
       - in vitro fertilization (!VF)
       - embzyo transfer and Gamete Intratallopian
         Transfer (GIFT)
       - Zygote Intrafallopian Transfer (ZIFT)
       - intravaginal insemination (!VI)
       - intracervical insemination (!CI)
       - intracytoplasmic sperm injection (ICSI)
       - intrauterine insemination (IUI)
     • Services and supplies related to ARTprocedures,
       such as sperm banking
     • Infertility drugs used in conjunction with ART
       procedures




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                Benefit Description                                                      You Pay
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  • Testing and treatment, including materials (such as     Preferred: 15% of the Plan                Preferred primary care provider
    allergy serum)                                          allowance                                 or other health care
  • Allergy injections                                                                                professional:
                                                            Participating: 35% of the Plan            $25 copayment per visit;
                                                            allowance                                 nothing for injections
                                                            Non-participating: 35% of the             Preferred specialist: $35
                                                            Plan allowance, plus any                  copayment per visit; nothing
                                                            difference between our                    for injections
                                                            allowance and the billed
                                                            amount                                    Participating/Non-participating:
                                                                                                      You pay all charges (except as
                                                                                                      noted below)

                                                                                                      Note: For services billed by
                                                                                                      Participating and Non-
                                                                                                      participating laboratories or
                                                                                                      radiologists, you pay any
                                                                                                      difference between our
                                                                                                      allowance and the billed
                                                                                                      amount.
  Not covered: Provocative food testingand sublingual       All charges                               All charges
  allergy desensitization


  Outpatient treatment therapies:                           Preferred: 15% of the Plan                Preferred primary care provider
  • Chemotherapy and radiation therapy                      allowance                                 or other health care
                                                                                                      professional: $25 copayment
                                                            Participating: 35% of the Plan            per visit
  Note: We cover high dose chemotherapy and/or              allowance
  radiation therapy in connection with bone marrow                                                    Preferred specialist: $35
  transplants, and drugs or medications to stimulate or     Non-participating: 35% of the             copayment per visit
  mobilize stern cells for transplant procedures, only fo   Plan allowance, plus any
  those conditions listed as covered under Organ/tissue     difference between our                    Note: You pay 30% of the Plan
  transplants in Section 5(b). See also, Other services     allowance and the billed                  allowance for agents, drugs,
  under How to get approval for . .. in Section 3 (pages    amount                                    and/or supplies administered or
  17-18).                                                                                             obtained in connection with
  • Intensity-modulated radiation therapy (IMRT)                                                      your care. (See page 126 for
                                                                                                      more information about
  Note: You must get prior approval for outpatient                                                    "agents.")
  IMRT related to cancers other than head, neck,                                                      Participating/Non-participating:
  breast, or prostate cancer. Please refer to page 17                                                 You pay all charges
  for more information.
  • Renal dialysis - Hernodialysis and peritoneal
    dialysis
  • Intravenous (IV)/infusion therapy - Horne IV or
    infusion therapy

  Note: Horne nursing visits associated with Horne NI
  infusion therapy are covered as shown under Home
  health services on page 48.
  • Outpatient cardiac rehabilitation


                                                                                 Treatment therapies - continued on next page

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                Benefit Description                                                        You Pay
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  Note: See Section 5(c) for our payment levels for        Preferred: 15% of the Plan                Preferred primary care provider
  treatment therapies billed for by the outpatient         allowance                                 or other health care
  department of a hospital.                                                                          professional: $25 copayment
                                                           Participating: 35% of the Plan            per visit
  Note: See page 49 for our coverage of osteopathic        allowance
  and chiropractic manipulative treatment.                                                           Preferred specialist: $35
                                                           Non-participating: 35% of the             copayment per visit
                                                           Plan allowance, plus any
                                                           difference between our                    Note: You pay 30% of the Plan
                                                           allowance and the billed                  allowance for agents, drugs,
                                                           amount                                    and/or supplies administered or
                                                                                                     obtained in connection with
                                                                                                     your care. (See page 126 for
                                                                                                     more information about
                                                                                                     "agents.")

                                                                                                     Participating/Non-participating:
                                                                                                     You pay all charges
  Inpatient treatment therapies:                           Preferred: 15% of the Plan                Preferred: Nothing
  • Chemotherapy and radiation therapy                     allowance
                                                                                                     Participating/Non-participating:
                                                           Participating: 35% of the Plan            You pay all charges
  Note: We cover high dose chemotherapy and/or             allowance
  radiation therapy in connection with bone marrow
  transplants, and drugs or medications to stimulate or    Non-participating: 35% of the
  mobilize stem cells for transplant procedures, only fo   Plan allowance, plus any
  those conditions listed as covered under Organ/tissue    difference between our
  transplants in Section 5(b ). See also, Other services   allowance and the billed
  under How to get approval for . .. in Section 3 (pages   amount
  17-18).
  • Renal dialysis - Hemodialysis and peritoneal
    dialysis
  • Pharmacotherapy (medication management) [see
    Section 5(c) for our coverage of drugs
    administered in connection with these treatment
    therapies]




  • Physical therapy, occupational therapy, and speech     Preferred primary care provider           Preferred primary care provider
    therapy when performed by a licensed therapist or      or other health care                      or other health care
    physician                                              professional: $20 copayment               professional: $25 copayment
  • Cognitive rehabilitation therapy when performed        per visit (No deductible)                 per visit
    by a licensed therapist or physician                   Preferred specialist: $30                 Preferred specialist: $35
                                                           copayment per visit (No                   copayment per visit
  Note: When billed by a skilled nursing facility,         deductible)
  nursing home, or extended care facility, we pay                                                    Note: You pay 30% of the Plan
  benefits as shown here for professional care,            Participating: 35% of the Plan            allowance for agents, drugs,
  according to the contracting status of the facility.     allowance                                 and/or supplies administered or
                                                                                                     obtained in connection with
                                                                                                     your care. (See page 126 for
                                                                                                     more information about
                                                                                                     "agents.")

                       Physical therapy. occupational therapy. speech therapy, and cognitive therapy - continued on next page
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                 Benefit Description                                                  You Pay


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                                                         Non-participating: 35% of the          Note: Benefits are limited to 50
                                                         Plan allowance, plus any               visits per person, per calendar
                                                         difference between our                 year for physical, occupational,
                                                         allowance and the billed               or speech therapy, or a
                                                         amount                                 combination of all three.

                                                         Note: Benefits are limited to 75       Participating/Non-participating:
                                                         visits per person, per calendar        You pay all charges
                                                         year for physical, occupational,
                                                         or speech therapy, or a                Note: See Section 5( c) for our
                                                         combination of all three.              payment levels for
                                                                                                rehabilitative therapies billed
                                                         Note: Visits that you pay for          for by the outpatient
                                                         while meeting your calendar            department of a hospital.
                                                         year deductible count toward
                                                         the limit cited above.

                                                         Note: When billed by a facility,
                                                         such as the outpatient
                                                         department of a hospital, we
                                                         provide benefits as shown here,
                                                         according to the contracting
                                                         status of the facility.
  Not covered:                                           All charges                            All charges
  • Recreational or educational therapy, and any
    related diagnostic testing except as provided by a
    hospital as part ofa covered inpatient stay
  • Maintenance or palliative rehabilitative therapy
  • Exercise programs
  • Hippotherapy (exercise on horseback)
  • Services provided by massage therapists



  Hearing tests related to illness or injury             Preferred: 15% of the Plan            Preferred primary care provider
                                                         allowance                             or other health care
                                                                                               professional: $25 copayment
                                                         Participating: 35% of the Plan        per visit
                                                         allowance
                                                                                                Preferred specialist: $3 5
                                                         Non-participating: 35% of the          copayment per visit
                                                         Plan allowance, plus any
                                                         difference between our                Note: You pay 30% of the Plan
                                                         allowance and the billed              allowance for agents, drugs,
                                                         amount                                and/or supplies administered or
                                                                                               obtained in connection with
                                                                                               your care. (See page 126 for
                                                                                               more information about
                                                                                               "agents.")

                                                 Hearing services (testing, treatment, and supplies) - continued on next page

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                 Benefit Description                                                       You Pay

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                                                                                                       Participating/Non-participating:
                                                                                                       You pay all charges
  Not covered:                                                All charges                               All charges
  • Routine hearing tests (except as indicated under
    Preventive care, children)
  • Hearing aids (except as described on page 45)
  • Testing and examinations for the prescribing or
    fitting ofhearing aids(except as needed for covere
    hearing aids described on page 45)



  Benefits are limited to one pair of eyeglasses,             Preferred: 15% of the Plan               Preferred: 30% of the Plan
  replacement lenses, or contact lenses per incident          allowance                                allowance
  prescribed:
                                                              Participating: 35% of the Plan           Participating/Non-participating:
  • To correct an impairment directly caused by a             allowance                                You pay all charges
    single instance of accidental ocular injury or
    intraocular surgery;                                      Non-participating: 35% of the
  • If the condition can be corrected by surgery, but         Plan allowance, plus any
    surgery is not an appropriate option due to age or        difference between our
    medical condition                                         allowance and the billed
                                                              amount
  • For the nonsurgical treatment for amblyopia and
    strabismus, for children from birth through
    age 18

  Note: Benefits are provided for refractions only when
  the refraction is performed to determine the
  prescription for the one pair of eyeglasses,
  replacement lenses, or contact lenses provided per
  incident as described above.
  • Eye examinations related to a specific medical           Preferred primary care provider           Preferred primary care provider
    condition                                                or other health care                      or other health care
  • Nonsurgical treatment for amblyopia and                  professional: $20 copayment               professional: $25 copayment
    strabismus, for children from birth through age 18       (No deductible)                           per visit

                                                             Preferred specialist: $30                 Preferred specialist: $3 5
  Note: See page 4 3 for our coverage of eyeglasses,         copayment (No deductible)                 copayment per visit
  replacement lenses, or contact lenses when prescribed
  as nonsurgical treatment for amblyopia and                 Participating: 35% of the Plan            Note: You pay 30% of the Plan
  strabismus.                                                allowance                                 allowance for agents, drugs,
                                                                                                       and/or supplies administered or
  Note: See Section 5(b ), Surgical procedures, for          Non-participating: 35% of the             obtained in connection with
  coverage for surgical treatment of amblyopia and           Plan allowance, plus any                  your care. (See page 126 for
  strabismus.                                                difference between our                    more information about
                                                             allowance and the billed                  "agents.")
                                                             amount
                                                                                                       Participating/Non-participating:
                                                                                                       You pay all charges
  Not covered:                                               All charges                               All charges
                                                       Vision services (testing, treatment, and supplies) - continued on next page

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                Benefit Description                                                             You Pay

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  • Eyeglasses, contact lenses, routine eye                 All charges                                    All charges
    examinations, or vision testing for the prescribing
    or fitting of eyeglasses or contact lenses, except as
    described on page 43
  • Deluxe Jens features for eyeglasses or contact
    lenses such as special coating, polarization, UV
    treatment, etc.
  • Multifocal, accommodating, toric, or other
    premium intraocular lenses (IOLs) including
    Clystalens, ReStor, and ReZoom
  • Eye exercises, visual training, or orthoptics, except
     for nonsurgical treatment ofamblyopia and
   ' strabismus as described above
  • LASIK, INTACS, radial keratotomy, and other
    refractive services except as described on page 43


  Routine foot care when you are under active               Preferred primary care provider                Preferred primary care provider
  treatment for a metabolic or peripheral vascular          or other health care                           or other health care
  disease, such as diabetes                                 professional: $20 copayment                    professional: $25 copayment
                                                            for the office visit (No                       per visit
  Note: See Orthopedic and prosthetic devices for           deductible); 15% of the Plan
  information on podiatric shoe inserts.                    allowance for all other services               Preferred specialist: $3 5
                                                            (deductible applies)                           copayment per visit
  Note: See Section 5(b) for our coverage for surgical
  procedures.                                               Preferred specialist: $30                      Note: You pay 30% of the Plan
                                                            copayment for the office visit                 allowance for agents, drugs,
                                                            (No deductible); 15% of the                    and/or supplies administered or
                                                            Plan allowance for all other                   obtained in connection with
                                                            services (deductible applies)                  your care. (See page 126 for
                                                                                                           more information about
                                                            Participating: 35% of the Plan                 "agents.")
                                                            allowance
                                                                                                           Participating/Non-participating:
                                                            Non-participating: 35% of the                  You pay all charges
                                                            Plan allowance, plus any
                                                            difference between our
                                                            allowance and the billed
                                                            amount
  Not covered: Routine foot care, such as cutting,          All charges                                    All charges
  trimming, or removal ofcorns, calluses, or the free
  edge oftoenails, and similar routine treatment of
  conditions ofthe foot, except as stated above




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                   Benefit Description                                                        You Pay
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  Orthopedic braces and prosthetic appliances such as:
                                                             =



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                                                                 Preferred: 15% of the Plan
                                                                                              --~=         :     - --     --~
                                                                                                         Preferred: 30% of the Plan
                                                                                                                                   -
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  • Artificial limbs and eyes                                    allowance                               allowance

  • Functional foot orthotics when prescribed by a               Participating: 35% of the Plan          Participating/Non-participating:
    physician                                                    allowance                               You pay all charges
  • Rigid devices attached to the foot or a brace, or            Non-participating: 35% of the
    placed in a shoe                                             Plan allowance, plus any
  • Replacement, repair, and adjustment of covered               difference between our
    devices                                                      allowance and the billed
  • Following a mastectomy, breast prostheses and                amount
    surgical bras, including necessary replacements
  • Surgically implanted penile prostheses to treat
    erectile dysfunction

  Note: A prosthetic appliance is a device that is
  surgically inserted or physically attached to the body
  to restore a bodily function or replace a physical
  portion of the body.

  We provide hospital benefits for internal prosthetic
  devices, such as artificial joints, pacemakers, cochlear
  implants, and surgically implanted breast implants
  following mastectomy; see Section 5(c) for payment
  information. Insertion of the device is paid as
  surgery; see Section 5(b).
  • Hearing aids for children up to age 22, limited to           Any amount over $1,000 per             Any amount over $1,000 per
    $1,000 per ear per calendar year                             hearing aid per ear (No                hearing aid per ear
  • Hearing aids for adults age 22 and over, limited to          deductible)
    $1,000 per ear per 36-month period
  • Bone anchored hearing aids when medically
    necessary for members with traumatic injury or
    malformation of the external ear or middle ear
    (such as a surgically induced malformation or
    congenital malformation), limited to $1,000 per ear
    per calendar year

  • Wigs for hair loss due to chemotherapy for the           Any amount over $350 for one               Any amount over $350 for one
    treatment of cancer                                      wig per lifetime (No                       wig per lifetime
                                                             deductible)
  Note: Benefits for wigs are paid at 100% of the billed
  amount, limited to $350 for one wig per lifetime.
  Not covered:                                                   All charges                            All charges
  • Shoes and over-the-counter orthotics
  • Arch supports
  • Heel pads and heel cups
  • Mgs (including cranial prostheses), except for
    scalp hair prosthesis for hair Joss due to
    chemotherapy for the treatment ofcancer, as stated
    above




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                 Benefit Description                                                    You Pay
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  Durable medical equipment (DME) is equipment and         Preferred: 15% of the Plan             Preferred: 30% of the Plan
  supplies that:                                           allowance                              allowance

  I. Are prescribed by your attending physician (i.e.,     Participating: 35% of the Plan         Participating/Non-participating:
  the physician who is treating your illness or injury);   allowance                              You pay all charges
  2. Are medically necessary;
  3. Are primarily and customarily used only for a         Non-participating: 35% of the
  medical purpose;                                         Plan allowance, plus any
  4. Are generally useful only to a person with an         difference between our
  illness or injury;                                       allowance and the billed
  5. Are designed for prolonged use; and                   amount
  6. Serve a specific therapeutic purpose in the
  treatment of an illness or injury.

  We cover rental or purchase of durable medical
  equipment, at our option, including repair and
  adjustment. Covered items include:
  • Home dialysis equipment
  • Oxygen equipment
  • Hospital beds
  • Wheelchairs
  • Crutches
  • Walkers
  • Continuous passive motion (CPM) and dynamic
    orthotic cranioplasty (DOC) devices
  • Other items that we determine to be DME, such as
    compression stockings

  Note: We cover DME at Preferred benefit levels on!)
  when you use a Preferred DME provider. Preferred
  physicians, facilities, and pharmacies are not
  necessarily Preferred DME providers.

  Note: See Section 5(c) for our coverage ofDME
  provided and billed by a facility.
  • Speech-generating devices, limited to $1,000 per       Any amount over $1,000 per             Any amount over $1,000 per
    calendar year                                          year (No deductible)                   year

  Not covered:                                             All charges                            All charges
  • Exercise and bathroom equipment
  • Lifts, such as seat, chair, or van lifts
  • Carseats
  • Air conditioners, humidifiers, dehumidifiers, and
    purifiers
  • Breast pumps
  • Communications equipment, devices, and aids
    (including computer equipment) such as "story
    boards" or other communication aids to assist
    communication-impaired individuals (except for
    speech-generating devices as listed on page 46)
                                                                  Durable medical equipment (DME) - continued on next page
2011 Blue Cross® and Blue Shield® Service Benefit Plan       50                         Standard and Basic Option Section 5(a)
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  • Medical foods for children with inborn errors of         Preferred: 15% of the Plan          Preferred: 30% of the Plan
    amino acid metabolism                                    allowance                           allowance
  • Medical foods and nutritional supplements when           Participating: 35% of the Plan      Participating/Non-participating:
    administered by catheter or nasogastric tubes            allowance                           You pay all charges
  • Medical foods, as defined by the U.S. Food and
    Drug Administration, that are administered orally        Non-participating: 35% of the
    and that provide the sole source ( 100%) of              Plan allowance, plus any
    nutrition, for children up to age 22, for up to one      difference between our
    year following the date of the initial prescription or   allowance and the billed
    physician order for the medical food (e.g.,              amount
    Neocate)

  Note: See Section 10, Definitions, for more
  information about medical foods.
  • Ostomy and catheter supplies
  • Oxygen

  Note: When billed by a skilled nursing facility,
  nursing home, or extended care facility, we pay
  benefits as shown here for oxygen, according to the
  contracting status of the facility.
  • Blood and blood plasma, except when donated or
    replaced, and blood plasma expanders

  Note: We cover medical supplies at Preferred benefit
  levels only when you use a Preferred medical supply
  provider. Preferred physicians, facilities, and
  pharmacies are not necessarily Preferred medical
  supply providers.
  Not covered: Infant formulas used as a substitute for      All charges                         All charges
  breastfeeding


  Home nursing care for two (2) hours per day, up to 25      Preferred: 15% of the Plan          Preferred: $25 copayment per
  visits per calendar year, when:                            allowance                           visit
  • A registered nurse (RN.) or licensed practical           Participatmg: 35% of the Plan       Note: You pay 30% of the Plan
    nurse (L.P.N.) provides the services; and                allowance                           allowance for agents, drugs,
  • A physician orders the care                                                                  and/or supplies administered or
                                                             Non-participating: 35% of the       obtained in connection with
                                                             Plan allowance, plus any            your care. (See page 126 for
                                                             difference between our              more information about
                                                             allowance and the billed            "agents.")
                                                             amount
                                                                                                 Participating/Non-participating:
                                                                                                 You pay all charges
                                                                                Home health services - continued on next page


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                     Benefit Description                                                You Pay
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                                                            Note: Visits that you pay for
                                                            while meeting your calendar
                                                            year deductible count toward
                                                            the annual visit limit.
  Not covered:                                              All charges                          All charges
  • Nursing care requested by, or for the convenience
    of, the patient or the patient's family
  • Services primarily for bathing, feeding, exercising,
    moving the patient, homemaking, giving
    medication, or acting as a companion or sitter
  • Services provided by a nurse, nursing assistant,
    health aide, or other similarly licensed or
    unlicensed person that are billed by a skilled
    nursing facility, extended care facility, or nursing
    home, ezcept as included in the benefits described
    on page 75
  • Private duty nursing


  • One office visit per calendar year                      Preferred: $20 copayment per         Preferred: $25 copayment per
  • One set of X-rays per calendar year                     visit (No deductible)                visit

                                                            Participating: 35% of the Plan       Participating/Non-participating:
  Note: See page 49 for our coverage of osteopathic         allowance                            You pay all charges
  and chiropractic manipulative treatment.
                                                            Non-participating: 35% of the
  Note: Benefits may be available for other covered         Plan allowance, plus any
  services you receive from chiropractors in medically      difference between our
  underserved areas. See page 13 for additional             allowance and the billed
  information.                                              amount

                                                            Note: Office visits and X-rays
                                                            that you pay for while meeting
                                                            your calendar year deductible
                                                            count toward the appropriate
                                                            benefit limit.


  Manipulative treatment performed by a Doctor of           Preferred: $20 copayment per         Preferred: $25 copayment per
  Osteopathy (D.0.), Doctor of Medicine (M.D.), or          visit (No deductible)                visit
  Doctor of Chiropractic (D.C.) when the provider is
  practicing within the scope of his/her license, limited   Participating: 35% of the Plan       Note: Benefits for osteopathic
  to:                                                       allowance                            and chiropractic manipulative
                                                                                                 treatment are limited to a
  • Osteopathic manipulative treatment to any body          Non-participatmg: 35% of the         combined total of 20
    region                                                  Plan allowance, plus any             manipulative visits per person,
  • Chiropractic spinal and/or extraspinal manipulative     difference between our               per calendar year.
    treatment                                               allowance and the billed
                                                            amount                               Participating/Non-participating:
  Note: Benefits for manipulative treatment, including                                           You pay all charges
  treatment performed in a medically underserved area,
  are limited to the services and combined treatment
  visits stated here.

                                                                             Manipulative treatment - continued on next page
2011 Blue Cross® and Blue Shield® Service Benefit Plan        52                         Standard and Basic Option Section 5(a)
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                 Benefit Description                                                  You Pay
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  Note: Benefits may be available for other covered
                                                                    =--:~-~~-=:~-ii~---~=
                                                         Preferred: $20 copayment per
                                                                                                              _-      -~ ~==~~~~-~~
                                                                                                  Preferred: $25 copayment per
  services you receive from chiropractors in medically   visit (No deductible)                    visit
  underserved areas. See page 13 for additional
  information.                                           Participating: 35% of the Plan           Note: Benefits for osteopathic
                                                         allowance                                and chiropractic manipulative
                                                                                                  treatment are limited to a
                                                         Non-participating: 35% of the            combined total of 20
                                                         Plan allowance, plus any                 manipulative visits per person,
                                                         difference between our                   per calendar year.
                                                         allowance and the billed
                                                         amount                                   Participating/Non-participating:
                                                                                                  You pay all charges
                                                         Note: Benefits for osteopathic
                                                         and chiropractic manipulative
                                                         treatment are limited to a
                                                         combined total of 12
                                                         manipulative visits per person,
                                                         per calendar year.

                                                         Note: Manipulation visits that
                                                         you pay for while meeting your
                                                         calendar year deductible count
                                                         toward the treatment limit cited
                                                         above.


  Acupuncture                                            Preferred: 15% of the Plan               Preferred primary care
                                                         allowance                                physician: $25 copayment per
  Note: See page 66 for our coverage of acupuncture                                               visit
  when provided as anesthesia for covered surgery.       Participating: 35% of the Plan
                                                         allowance                                Preferred physician specialist:
  Note: See page 37 for our coverage of acupuncture                                               $35 copayment per visit
  when provided as anesthesia for covered maternity      Non-participating: 35% of the
  care.                                                  Plan allowance, plus any                 Note: You pay 30% of the Plan
                                                         difference between our                   allowance for drugs and
  Note: We may also cover services of certain            allowance and the billed                 supplies.
  alternative treatment providers in medically           amount
  underserved areas. See page 13 for additional                                                   Note: Acupuncture must be
  information.                                           Note: Acupuncture must be                performed and billed by a
                                                         performed and billed by a                physician.
                                                         physician or licensed
                                                         acupuncturist.                           Participating/Non-participating:
                                                                                                  You pay all charges
                                                         Note: Benefits for acupuncture
                                                         are limited to 24 visits per
                                                         calendar year.

                                                         Note: Visits that you pay for
                                                         while meeting your calendar
                                                         year deductible count toward
                                                         the limit cited above.
  Not covered:                                           All charges                              All charges
  • Services you receive from noncovered providers
    such as:
    - naturopaths
                                                                            Alternative treatments - continued on next page
2011 Blue Cross® and Blue Shield® Service Benefit Plan     53                         Standard and Basic Option Section 5(a)
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                 Benefit Description                                                    You Pay
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    - bypnotherapists                                      All charges                              All charges
  • Biofeedback
  • Self-care or self-help training


  • Smoking cessation treatment                            Preferred: Nothing (No                   Preferred: Nothing
  • Individual counseling for smoking and tobacco use      deductible)
                                                                                                    Participating/Non-participating:
    cessation                                              Participating: 35% of the Plan           You pay all charges
                                                           allowance
  Note: Benefits are not available for group counseling.
  • Smoking cessation classes                              Non-participating: 35% of the
                                                           Plan allowance, plus any
  Note: See Section 5(f) for our coverage of smoking       difference between our
  cessation drugs.                                         allowance and the billed
                                                           amount
  • Diabetic education when billed by a covered            Preferred: 15% of the Plan               Preferred primary care provider
    provider                                               allowance                                or other health care
                                                                                                    professional: $25 copayment
  Note: We cover diabetic educators, dieticians, and       Participating: 35% of the Plan           per visit
  nutritionists who bill independently only as part of a   allowance
  covered diabetic education program.                                                               Preferred specialist: $35
                                                           Non-participating: 35% of the            copayment per visit
  Note: See pages 34 and 36 for our coverage of            Plan allowance, plus any
  nutritional counseling services that are not part of a   difference between our                   Participating/Non-participating:
  diabetic education program.                              allowance and the billed                 You pay all charges
                                                           amount
  Not covered:                                             All charges                              All charges
  • Marital, family, educational, or other counseh'ng or
    training services when performed as part ofan
    educational class or program
  • Premenstrual syndrome (PMS), lactation (except m
    described on page 37), headache, eating disorder
    (except as described on pages 34 and 36), and othe
    educational clinics
  • Recreational or educational therapy, and any
    related diagnoshc testing except as provided by a
    hospital as part ofa covered inpatient stay
  • Services performed or billed by a school or
    halfway house or a member ofits staff




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                        Section S(b). Surgical and anesthesia services
                  provided by physicians and other health care professionals
          Important things you should keep in mind about these benefits:
          • Please remember that all benefits are subject to the definitions, limitations, and exclusions in this
            brochure and are payable only when we determine they are medically necessary.
          • Be sure to read Section 4, Your costs for covered services, for valuable information about how cost-
            sharing works, with special sections for members who are age 65 or over. Also read Section 9 about
            coordinating benefits with other coverage, including Medicare.
          • We base payment on whether a facility or a health care professional bills for the services or supplies.
            You will find that some benefits are listed in more than one section of the brochure. This is because
            how they are paid depends on what type of provider bills for the service.
          • The amounts listed in this Section are for the charges billed by a physician or other health care
            professional for your surgical care. Look in Section 5(c) for charges associated with the facility (i.
            e., hospital, surgical center, etc.).
          • YOU MUST GET PRIOR APPROVAL for the following surgical services if they are to be
            performed on an outpatient basis: surgery for morbid obesity; surgical correction of
            congenital anomalies; and outpatient surgery needed to correct accidental injuries (see
            Definitions) to jaws, cheeks, lips, tongue, roof and floor of mouth. Please refer to page 17 for
            more information.
          • YOU MUST GET PRIOR APPROVAL for all organ transplant surgical procedures (except
            kidney and cornea transplants); and if your surgical procedure requires an inpatient
            admission, YOU MUST GET PRECERTIFICATION. Please refer to the prior approval and
            precertification information shown in Section 3 to be sure which services require prior
            approval or precertification.
          • PPO benefits apply only when you use a PPO provider. When no PPO provider is available, non-
            PPO benefits apply.
          • Under Standard Option,
            - The calendar year deductible is $350 per person ($700 per family). The calendar year deductible
              applies to almost all Standard Option benefits in this Section. We say "(No deductible)" to show
              when the calendar year deductible does not apply.
            - We provide benefits at 85% of the Plan allowance for services provided in Preferred facilities by
              Non-preferred radiologists, anesthesiologists, certified registered nurse anesthetists (CRNAs),
              pathologists, emergency room physicians, and assistant surgeons (including assistant surgeons in
              a physician's office). You are responsible for any difference between our allowance and the billed
              amount.
            - You may request prior approval and receive specific benefit information in advance for surgeries
              to be performed by Non-participating physicians when the charge for the surgery will be $5,000
              or more. See page 18 for more information.
          • Under Basic Option,
            - There is no calendar year deductible.
            - You must use Preferred providers in order to receive benefits. See below and page 15 for
              the exceptions to this requirement.
            - We provide benefits at 100% of the Plan allowance for services provided in Preferred facilities by
              Non-preferred radiologists, anesthesiologists, certified registered nurse anesthetists (CRNAs),
              pathologists, emergency room physicians, and assistant surgeons (including assistant surgeons in
              a physician's office). You are responsible for any difference between our allowance and the billed
              amount.



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                Benefit Description                                                   You Pay

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   deductible)" \\hen the Standard Option deductible doe~ not appl~. There is no deductible under Basic Option.

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  A comprehensive range of services provided, or         Preferred: lS% of the Plan           Preferred: $1SO copayment per
  ordered and billed by a physician, such as:            allowance                            performing surgeon
  • Operative procedures                                 Participating: 3S% of the Plan       Note: If you receive the
  • Treatment of fractures and dislocations, including   allowance                            services of a co-surgeon, you
    casting                                                                                   pay a second $150 copayment
                                                         Non-participating: 35% of the        for those services. No
  • Normal pre- and post-operative care by the surgeon   Plan allowance, plus any             additional copayment applies to
  • Correction of amblyopia and strabismus               difference between our               the services of assistant
  • Colonoscopy (with or without biopsy) to diagnose     allowance and the billed             surgeons.
    or treat a specific condition                        amount
                                                                                              Note: You pay 30% of the Plan
                                                         Note: You may request prior          allowance for agents, drugs,
  Note: See page 34 for our coverage of screening        approval and receive specific
  colonoscopies billed for by a physician or other                                            and/or supplies admmistered or
                                                         benefit information in advance       obtained in connection with
  covered health care professional.                      for surgeries to be performed        your care. (See page 126 for
  • Other endoscopy procedures                           by Non-participating physicians      more information about
  • Biopsy procedures                                    when the charge for the surgery      "agents.")
                                                         will be $5,000 or more. See
  • Removal of tumors and cysts                          page 18 for more information.        Participating/Non-participating:
  • Correction of congenital anomalies (see                                                   You pay all charges
    Reconstructive surgery on page SS)
  • Treatment of bums
  • Circumcision of newborn
  • Insertion of internal prosthetic devices. See
    Section 5(a) - Orthopedic and prosthetic devices,
    and Section 5(c) - Other hospital services and
    supplies - for our coverage for the device.
  • Voluntary sterilization (e.g., tubal ligation,
    vasectomy)
  • Assistant surgeons/surgical assistance if required
    because of the complexity of the surgical
    procedures
    Gastric restrictive procedures, gastric
    malabsorptive procedures, and combination
    restrictive and malabsorptive procedures to treat
    morbid obesity - a condition in which an
    individual has a Body Mass Index (BMI) of 40 or
    more, or an individual with a BMI of 3S or more
    with co-morbidities who has failed conservative
    treatment; eligible members must be age 18 or over


  Note: See page 53 for complete surgical
  requirements.
  Note: Here are some things to keep in mind about
  surgery for morbid obesity:

                                                                              Surgical procedures - continued on next page


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               Benefit Description                                    You Pay

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  • Prior approval is required for outpatient
    surgery for morbid obesity. For more
    information about prior approval, please refer to
    page 17.
  • Benefits for the surgical treatment of morbid
    obesity, performed on an inpatient or outpatient
    basis, are subject to the following pre-surgical
    requirements:
    - Diagnosis of morbid obesity (as defined on page
      52) for a period of 2 years prior to surgery
    - Participation in a medically supervised weight
      loss program, including nutritional counseling,
      for at least 3 months prior to the date of surgery.
      (Note: Benefits are not available for commercial
      weight loss programs; see page 34 for our
      coverage of nutritional counseling services.)
    - Pre-operative nutritional assessment and
      nutritional counseling about pre- and post-
      operative nutrition, eating, and exercise
    - Evidence that attempts at weight loss in the l
      year period prior to surgery have been
      ineffective
    - Psychological assessment of the member's
      ability to understand and adhere to the pre- and
      post-operative program, performed by a
      psychiatrist, clinical psychologist, psychiatric
      social worker, or psychiatric nurse (see page 85
      for our payment levels for mental health
      services)
    - Patient has not smoked in the 6 months prior to
      surgery
    - Patient has not been treated for substance abuse
      for l year prior to surgery
  • Benefits for subsequent surgery for morbid obesity,
    performed on an inpatient or outpatient basis, are
    subject to the following additional pre-surgical
    requirements:
    - All criteria listed above for the initial procedure
      must be met again
    - Previous surgery for morbid obesity was at least
      2 years prior to repeat procedure
    - Weight loss from the initial procedure was less
      than 50% of the member's excess body weight a
      the time of the initial procedure
    - Member complied with previously prescribed
      post-operative nutrition and exercise program

                                                                 Surgical procedures - continued on next page


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                 Benefit Description                                                                You      Pa~·


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  • Claims for the surgical treatment of morbid obesity
    must include documentation from the patient's
    provider(s) that all pre-surgical requirements have
    been met

  Note: When multiple surgical procedures that add
  time or complexity to patient care are performed
  during the same operative session, the Local Plan
  determines our allowance for the combination of
  multiple, bilateral, or incidental surgical procedures.
  Generally, we will allow a reduced amount for
  procedures other than the primary procedure.

  Note: We do not pay extra for "incidental"
  procedures (those that do not add time or complexity
  to patient care).

  Note: When unusual circumstances require the
  removal of casts or sutures by a physician other than
  the one who applied them, the Local Plan may
  determine that a separate allowance is payable.
  Not covered:                                                   All charges                                    All charges
  • Reversal of voluntary sterilization
  • Services ofa standby physician
  • Routine surgical treatment ofconditions ofthe fool
    [see Section 5(a) - Foot care}
  • Cosmetic surgery
  • LASIK, INTACS, radial keratotomy, and other
    refractive surgery


  • Surgery to correct a functional defect                       Preferred: 15% of the Plan                     Preferred: $150 copayrnent per
  • Surgery to correct a congenital anomaly - a                  allowance                                      performing surgeon
    condition that existed at or from birth and is a             Participating: 35% of the Plan                 Note: If you receive the
    sigmficant deviation from the common form or                 allowance                                     services of a co-surgeon, you
    norm. Examples of congenital anomalies are:                                                                pay a second $150 copayrnent
    protruding ear deformities; cleft lip; cleft palate;         Non-participating: 35% of the                 for those services. No
    birth marks; and webbed fingers and toes.                    Plan allowance, plus any                      additional copayment applies to
                                                                 difference between our                        the services of assistant
  Note: Congenital anomalies do not include                      allowance and the billed                      surgeons.
  conditions related to the teeth or intra-oral structures       amount
  supporting the teeth.                                                                                        Note: You pay 30% of the Plan
                                                                 Note: You may request prior                   allowance for agents, drugs,
  Note: You must get prior approval for outpatient               approval and receive specific                 and/or supplies administered or
  surgical correction of congenital anomalies. Please            benefit information in advance                obtained in connection with
  refer to page 17 for more information.                         for surgeries to be performed                 your care. (See page 126 for
  • Treatment to restore the mouth to a pre-cancer stat          by Non-participating physician                more information about
                                                                 when the charge for the surgery               "agents.")
                                                                 will be $5,000 or more. See
  • All stages of breast reconstruction surgery                  page 18 for more information.                 Participating/Non-participating:
    following a mastectomy, such as:                                                                           You pay all charges
                                                                                        Reconstructive surgery - continued on next page
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                    Benefit Description                                                   You Pay

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     - surgery to produce a symmetrical appearance of        Preferred: 15% of the Plan          Preferred: $150 copayment per
       the patient's breasts                                 allowance                           performing surgeon
     - treatment of any physical complications, such as      Participating: 35% of the Plan      Note: If you receive the
       lymphedemas                                           allowance                           services of a co-surgeon, you
                                                                                                 pay a second $150 copayment
  Note: Internal breast prostheses are paid as               Non-participating: 35% of the       for those services. No
  orthopedic and prosthetic devices [see Section 5(a)].      Plan allowance, plus any            additional copayment applies to
  See Section 5(c) when billed by a facility.                difference between our              the services of assistant
                                                             allowance and the billed            surgeons.
  Note: If you need a mastectomy, you may choose to          amount
  have the procedure performed on an inpatient basis                                             Note: You pay 30% of the Plan
  and remain in the hospital up to 48 hours after the        Note: You may request prior         allowance for agents, drugs,
  procedure.                                                 approval and receive specific       and/or supplies administered or
  • Surgery for placement of penile prostheses to treat      benefit information in advance      obtained in connection with
    erectile dysfunction                                     for surgeries to be performed       your care. (See page 126 for
                                                             by Non-participating physician      more information about
                                                             when the charge for the surgery     "agents.")
                                                             will be $5,000 or more. See
                                                             page 18 for more information.       Participating/Non-participating:
                                                                                                 You pay all charges
  Not covered:                                               All charges                         All charges
  • Cosmetic surgery- any operative procedure or any
    portion ofa procedure performed primarily to
    improve physical appearance through change in
    bodily form - unless required for a congenital
    anomaly or to restore or correct a part of the body
    that has been altered as a result ofaccidental injury,
    disease, or surgery (does not include anomalies
    related to the teeth or structures supporting the
    teeth)
  • Surgeries related to sex transformation, sexual
    dysfunction, or sexual inadequacy, except as
    specifically shown above


  Oral surgical procedures, limited to:                      Preferred: 15% of the Plan          Preferred: $150 copayment per
  • Excision of tumors and cysts of the jaws, cheeks,        allowance                           performmg surgeon
    lips, tongue, roof and floor of mouth when               Participating: 35% of the Plan      Note: If you receive the
    pathological examination is necessary                    allowance                           services of a co-surgeon, you
  • Surgery needed to correct accidental injuries (see                                           pay a second $150 copayment
    Definitions) to jaws, cheeks, lips, tongue, roof and     Non-participating: 35% of the       for those services. No
    floor of mouth                                           Plan allowance, plus any            additional copayment applies to
                                                             difference between our              the services of assistant
  Note: You must get prior approval for outpatient           allowance and the billed            surgeons.
  surgery needed to correct accidental injuries as           amount
  described above. Please refer to page 17 for more
  information.
  • Excision of exostoses of jaws and hard palate
  • Incision and drainage of abscesses and cellulitis

                                                                       Oral and maxillofacial surgery - continued on next page

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                 Benefit Description                                                      You Pay

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   • Incision and surgical treatment of accessory
                                                   ~~~- ~~           =;_=~ -~~ -=:_ s~ ~~ _- ~ _-_ --=--=-~ =~-~~
                                                             Preferred: 15% of the Plan          Preferred: $150 copayment per
     sinuses, salivary glands, or ducts                      allowance                           performing surgeon
   • Reduction of dislocations and excision of               Participating: 35% of the Plan      Note: If you receive the
     temporomandibular joints                                allowance                           services of a co-surgeon, you
  • Removal of impacted teeth                                                                    pay a second $150 copayment
                                                             Non-participating: 35% of the       for those services. No
  Note: Dentists and oral surgeons who are in our            Plan allowance, plus any            additional copayment applies to
  Preferred Dental Network for routine dental care are       difference between our              the services of assistant
  not necessarily Preferred providers for other services     allowance and the billed            surgeons.
  covered by this Plan under other benefit provisions        amount
  (such as the surgical benefit for oral and maxillofacial                                       Note: You pay 30% of the Plan
                                                             Note: You may request prior         allowance for agents, drugs,
  surgery). Call us at the customer service number on        approval and receive specific
  the back of your ID card to verify that your provider                                          and/or supplies administered or
                                                             benefit information in advance      obtained in connection with
  is Preferred for the type of care (e.g., routine dental    for surgeries to be performed
  care or oral surgery) you are scheduled to receive.                                            your care. (See page 126 for
                                                             by Non-participating physician      more information about
                                                             when the charge for the surgery     "agents.")
                                                             will be SS,000 or more. See
                                                             page 18 for more information.      Participating/Non-participating:
                                                                                                You pay all charges
  Not covered:                                               Al/charges                          All charges
  • Oral implants and transplants except for those
    required to treat accidental injuries as specifically
    described above and in Section 5(g)
  • Surgical procedures that involve the teeth or their
    supporting structures (such as the periodontal
    membrane, gingiva, and alveolar bone), except for
    those required to treat accidental injuries as
    specifically described above and in Section 5(g)
  • Surgical procedures involving dental implants or
    preparation ofthe mouth for the fitting or the
    continued use ofdentures, except for those
    required to treat accidental injun"es as specifically
    described above and in Section 5(g)
  • Orthodontic care before, during, or after surgery,
    except for orthodontia associated with surgery to
    correct accidental injunes as specifically described
    above and in Section 5(g)



                                                                              Organ/tissue transplants - continued on next page




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                      Benefit Description                                                    You Pay

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     Solid organ transplants are subject to medical
                                                                                 -       ----t    ;-~~ =~~~~- ~~-               -   ~~t~~
     necessity and experimental/investigational review.
     Refer to Other services in Section 3 for prior approva1
     procedures.

     Note: You must obtain prior approval (see page 17)
     for those transplants listed under Prior Approval
     Requirements on page 61.

     Note: Refer to pages 16-17 for information about
     precertification of inpatient care.
     Solid organ transplants are limited to:                    Preferred: 15% of the Plan          Preferred: $150 copayment per
     • Cornea                                                   allowance                           performing surgeon

     • Heart                                                    Participating: 35% of the Plan      Note: If you receive the
     • Heart-lung                                               allowance                           services of a co-surgeon, you
                                                                                                    pay a second $150 copayment
     • Kidney                                                   Non-participating: 35% of the       for those services. No
     • Liver                                                    Plan allowance, plus any            additional copayment applies to
                                                                difference between our              the services of assistant
     • Pancreas                                                 allowance and the billed            surgeons.
     • Simultaneous pancreas-kidney                             amount
     • Simultaneous liver-kidney                                                                    Participating/Non-participating:
                                                                Note: You may request prior         You pay all charges
     • Autologous pancreas islet cell transplant (as an         approval and receive specific
       adjunct to total or near total pancreatectomy) only      benefit information in advance
       for patients with chronic pancreatitis                   for ladney and cornea
     • Intestinal transplants (small intestine) and the small   transplants to be performed by
       intestine with the liver or small intestine with         Non-participating physicians
       multiple organs such as the liver, stomach, and          when the charge for the surgery
       pancreas                                                 will be $5,000 or more. See
                                                                page 18 for more information.
     • Single, double, or lobar lung
     • For members with end-stage cystic fibrosis,
       benefits for lung transplantation are limited to
       double lung transplants

                                                                                 Organ/tissue transplants - continued on next page




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                Benefit Description                                                      You Pay

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  Blood or marrow stem cell transplants limited to          Preferred: 15% of the Plan
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                                                                                                 Preferred: $150 copayment per
  the stages of the following diagnoses. Physicians         allowance                            performing surgeon
  consider many features to determine how diseases
  will respond to different types of treatments. Some of    Participating: 35% of the Plan       Note: If you receive the
  the features measured are the presence or absence of      allowance                            services of a co-surgeon, you
  normal and abnormal chromosomes, the extension of                                              pay a second $150 copayment
                                                            Non-participating: 35% of the        for those services. No
  the disease throughout the body, and how fast the         Plan allowance, plus any
  tumor cells grow. By analyzing these and other                                                 additional copayment applies to
                                                            difference between our               the services of assistant
  characteristics, physicians can determine which           allowance and the billed
  diseases may respond to treatment without transplant                                           surgeons.
                                                            amount
  and which diseases may respond to transplant. For th                                           Participating/Non-participating:
  diagnoses listed below, the medical necessity                                                  You pay all charges
  limitation is considered satisfied if the patient meets
  the staging description.
  • Myeloablative allogeneic blood or marrow stem
    cell transplants for:
    - Acute lymphocytic or non-lymphocytic
      (i.e., myelogenous) leukemia
    - Chronic myelogenous leukemia
    - Hemoglobinopathy (i.e., Sickle cell anemia,
      Thalassemia major)
    - High-risk neuroblastoma
    - Hodgkin's lymphoma
    - Infantile malignant osteopetrosis
    - Inherited metabolic disorders (e.g., Gaucher's
      disease, metachromatic leukodystrophy,
      adrenoleukodystrophy, Hunter's syndrome,
      Hurler's syndrome, Sanfilippo's syndrome,
      Maroteaux-Lamy syndrome variants)
    - Marrow failure [i.e., severe or very severe
      aplastic anemia, Fanconi 's Anemia, Paroxysmal
      nocturnal hemoglobinuria (PNH), pure red cell
      aplasia, congenital thrombocytopenia]
    - MDS/MPN [e.g., Chronic myelomonocytic
      leukemia (CMML)]
    - Myelodysplas1a/Myelodysplastic syndromes
      (MDS)
    - Myeloproliferative neoplasms (MPN) (e.g.,
      Polycythemia vera, Essential thrombocythemia,
      Primary myelofibrosis)
    - Non-Hodgkin's lymphoma (e.g .• Waldenstrom's
      macroglobulinemia, B-cell lymphoma, Burkitt
      Lymphoma)

                                                                             Organ/tissue transplants - continued on next page




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                  Benefit Description                                                  You Pay

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        - Primary Immunodeficiencies (e.g., Severe        Preferred: 15% of the Plan               Preferred: $150 copayment per
          combined immunodeficiency, Wiskott-Aldrich      allowance                                performing surgeon
          syndrome, hemophagocytic lymphohistiocytosis,
          X-linked lymphoproliferative syndrome,          Participating: 35% of the Plan           Note: If you receive the
          KostJnann 's syndrome, Leukocyte adhesion       allowance                                services of a co-surgeon, you
          deficiencies)                                                                            pay a second $150 copayment
                                                          Non-participating: 35% of the            for those services. No
                                                          Plan allowance, plus any                 additional copayment applies to
                                                          difference between our                   the services of assistant
                                                          allowance and the billed                 surgeons.
                                                          amount
                                                                                                  Participating/Non-participating:
                                                                                                  You pay all charges

                                                                           Organ/tissue transplants - continued on next page




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               Benefit Description                                                      You Pay

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  Blood or marrow stem cell transplants limited to         Preferred: 15% of the Plan          Preferred: $150 copayment per
  the stages of the following diagnoses (continued from    allowance                           performing surgeon
  page 58). For the diagnoses listed below, the medical
  necessity limitation is considered satisfied if the      Participating: 35% of the Plan      Note: If you receive the
  patient meets the staging description.                   allowance                           services of a co-surgeon, you
                                                                                               pay a second $150 copayment
  • Myeloablative allogeneic blood or marrow stem          Non-participating: 35% of the       for those services. No
    cell transplants limited to the following diagnoses    Plan allowance, plus any            additional copayment applies to
    only when performed in a Blue Distinction              difference between our              the services of assistant
    Centers for Transplants facility. You must obtain      allowance and the billed            surgeons.
    prior approval of these transplant procedures from     amount
    the Local Plan.                                                                            Participating/Non-participating:
    - Chronic lymphocytic leukemia/small                                                       You pay all charges
      lymphocytic lymphoma (CLL/SLL)
    - Plasma Cell Disorders [e.g., Multiple Myeloma;
      Amyloidosis; Polyneuropathy, organomegaly,
      endocrinopathy, monoclonal gammopathy, and
      skin changes (POEMS) syndrome]
  • Reduced-intensity conditioning (RIC)
    nonmyeloablative allogeneic blood or marrow ste
    cell transplants limited to the following diagnoses,
    only when performed in a Blue Distinction
    Centers for Transplants facility. You must obtain
    prior approval of these transplant procedures from
    the Local Plan.
    - Myelodysplasia/myelodysplastic syndromes
      (MDS)

                                                                            Organ/tissue transplants - continued on next page




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                Benefit Description                                                     You Pay

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  Blood or marrow stem cell transplants limited to         Preferred: 15% of the Plan              Preferred: $150 copayment per
  the stages of the following diagnoses (continued from    allowance                               performing surgeon
  page 58). For the diagnoses listed below, the medical
  necessity limitation is considered satisfied if the      Participating: 35% of the Plan          Note: If you receive the
  patient meets the staging description.                   allowance                               services of a co-surgeon, you
                                                                                                   pay a second $150 copayment
  • Reduced-intensity conditioning (RIC)                   Non-participating: 35% of the           for those services. No
    nonmyeloablative allogeneic blood or marrow ste        Plan allowance, plus any                additional copayment applies to
    cell transplants limited to the following diagnoses,   difference between our                  the services of assistant
    only when performed in a Blue Distinction              allowance and the billed                surgeons.
    Centers for Transplants facility. You must obtain      amount
    prior approval of these transplant procedures from                                             Participating/Non-participating:
    the Local Plan (continued from page 59).                                                       You pay all charges
      - Myeloproliferative neoplasms (MPN) (e.g.,
        Polycythemia vera, Essential thrombocythemia,
        Primary myelofibrosis)
      - Non-Hodgkin's lymphoma (e.g., Waldenstrom's
        macroglobulinemia, B-cell lymphoma, Burkitt
        Lymphoma)
      - Plasma Cell Disorders [e.g., Multiple Myeloma;
        Amyloidosis; Polyneuropathy, organomegaly,
        endocrinopathy, monoclonal gammopathy, and
        skin changes (POEMS) syndrome]
      - Primary Immunodeficiencies (Severe combined
        immunodeficiency, Wiskott-Aldrich syndrome,
        Hemophagocytic lymphohistiocytosis, X-linked
        lymphoproliferative syndrome, Kostmann's
        syndrome, Leukocyte adhesion deficiencies)
  • Autologous blood or marrow stem cell transplants
    for:
      - Plasma Cell Disorders [e.g., Multiple Myeloma;
        Amyloidosis; Polyneuropathy, organomegaly,
        endocrinopathy, monoclonal gammopathy, and
        skin changes (POEMS) syndrome]

                                                                            Organ/tissue transplants - continued on next page




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                    Benefit Description                                You Pay

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  Prior approval requirements:
  You must obtain prior approval (see pages 17-18}
  from the Local Plan, for both the procedure and the
  facility, for the following transplant procedures:
  • Blood or marrow stem cell transplant procedures

  Note: See pages 62 and 63 for services related to
  blood or marrow stem cell transplants covered under
  clinical trials.
  • Autologous pancreas islet cell transplant
  • Heart
  • Heart-lung
  • Intestinal transplants (small intestine with or
    without other organs)
  • Liver
  • Lung (single, double, or lobar)
  • Pancreas
  • Simultaneous liver-kidney
  • Simultaneous pancreas-kidney

                                                              Organ/tissue transplants - continued on next page




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                Benefit Description                                                      You Pay

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  Blood or marrow stem cell transplants only when           Preferred: 15% of the Plan          Preferred: $150 copayment per
  performed in an approved clinical trial at a National     allowance                           performing surgeon
  Cancer Institute facility, a National Institutes of
  Health facility, or a Blue Distinction Centers for        Participating: 35% of the Plan      Note: If you receive the
  Transplants facility                                      allowance                           services of a co-surgeon, you
                                                                                                pay a second $150 copayment
  1. For the following procedures, we provide benefits      Non-participating: 35% of the       for those services. No
     only when conducted at a Cancer Research Facility      Plan allowance, plus any            additional copayment applies to
     (see page 14) and only when performed as part of a     difference between our              the services of assistant
     clinical trial that meets the requirements listed on   allowance and the billed            surgeons.
     page 63:                                               amount
    - Nonmyeloablative (reduced-intensity                                                       Participating/Non-participating:
      conditioning or RIC) allogeneic blood or                                                  You pay all charges
      marrow stem cell transplants for:
       • Breast cancer
       • Colon cancer
         Epidennolysis bullosa
       • Ovarian cancer
       • Prostate cancer
       • Renal cell carcinoma
       • Sarcoma
    - Autologous blood or marrow stem cell
      transplants for:
       • Breast cancer
       • Chronic lymphocytic leukemia!small
         lymphocytic Lymphoma (CLL/SLL)
       • Chronic myelogenous leukemia
       • Epithelial ovarian cancer

  Note: If a non-randomized clinical trial for a blood or
  marrow stem cell transplant listed above meeting the
  requirements shown on page 63 is not available at a
  Cancer Research Facility where you are eligible, we
  will arrange for the transplant to be provided at a
  transplant facility designated by your Local Plan.
  2. For the following procedure we provide benefits
     only when performed in a specific NIH-sponsored,
     multi-center, comparative clinical trial and when
     the requirements listed on page 63 are met:
    - Autologous blood or marrow stem cell
      transplants for systemic sclerosis

                                                                             Organ/tissue transplants - continued on next page




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                  Benefit Description                                                       You Pay

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  3. Requirements for blood or marrow stem cell
  transplants covered under clinical trials:

  For these blood or marrow stem cell transplant
  procedures and related services or supplies covered
  only through clinical trials:
     - You must contact us at the customer service
       number listed on the back of your ID card to
       obtain prior approval (see page 17);
    - The clinical trial must be reviewed and approved
      by the Institutional Review Board of the Cancer
      Research Facility where the procedure is to be
      delivered; and
    - The patient must be properly and lawfully
      registered in the clinical trial, meeting all the
      eligibility requirements of the trial.

  Note: See page 125 for our coverage of other costs
  associated with clinical trials.

                                                                                  Organ/tissue transplants - continued on next page




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                   .Benefit Description                                                     You Pay

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     Related transplant services:                              Preferred: 15% of the Plan          Preferred: $150 copayment per
     • Extraction or reinfusion of blood or marrow stem        allowance                           performing surgeon
       cells as part of a covered allogeneic or autologous     Participating: 35% of the Plan      Note: If you receive the
       blood or marrow stem cell transplant                    allowance                           services of a co-surgeon, you
     • Harvesting, immediate preservation, and storage of                                          pay a second $150 copayment
       stem cells when the autologous blood or marrow          Non-participating: 35% of the       for those services. No
       stem cell transplant has been scheduled or is           Plan allowance, plus any            additional copayment applies to
       anticipated to be scheduled within an appropriate       difference between our              the services of assistant
       time frame for patients diagnosed at the time of        allowance and the billed            surgeons.
       harvesting with one of the conditions listed on         amount
       pages 58-60, or pages 62-63                                                                 Participating/Non-participating:
                                                                                                   You pay all charges
     Note: Benefits are available for charges related to
     fees for storage of harvested autologous blood or
     marrow stem cells related to a covered autologous
     stem cell transplant that has been scheduled or is
     anticipated to be scheduled within an appropriate
     time frame. No benefits are available for any charges
     related to fees for long term storage of stem cells.
     • Collection, processing, storage, and distribution of
       cord blood only when provided as part of a blood
       or marrow stem cell transplant scheduled or
       anticipated to be scheduled within an appropriate
       time frame for patients diagnosed with one of the
       conditions listed on pages 58-60, or pages 62-63
     • Related medical and hospital expenses of the
       donor, as part of a covered blood or marrow stem
       cell transplant procedure
     • Related services or supplies provided to the
       recipient
     • Blood or marrow stem cell transplant donor testing
       for full sibling donors
     • Blood or marrow stem cell transplant donor testing
       for 3 potential non-full sibling donors in addition t
       the testing of the actual donor used for transplant

     Note: See Section 5{a) for coverage for related
     services, such as chemotherapy and/or radiation
     therapy and drugs administered to stimulate or
     mobilize stem cells for covered transplant procedures.

Organffissue Transplants at Blue Distinction Centers for Transplants

We participate in the Blue Distinction Centers for TransplantsSM program, a centers of excellence program for the organ/
tissue transplants listed below. You will receive enhanced benefits if you use a Blue Distinction Centers for Transplants
facility.

All members (including those who have Medicare Part A or another group health insurance policy as their primary
payor) must contact us at the customer service number listed on the back of their ID card before obtaining services.
You will be referred to the designated Plan transplant coordinator for information about Blue Distinction Centers for
Transplants.


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• Heart
• Heart-lung
• Liver
• Pancreas
• Simultaneous liver-kidney
• Simultaneous pancreas-kidney
• Single or double (bilateral) lung
• Lobar transplant (living donor lung)
• Blood or marrow stern cell transplants listed on pages 58-60 and pages 62-63
• Related transplant services listed on page 64

Note: Benefits for cornea, kidney-only, and intestinal transplants are not available through Blue Distinction Centers for
Transplants. See page 57 for benefit information for these transplants.

Note: See Section 5(c) for our benefits for facility care.
Note: Members will not be responsible for separate cost-sharing for the included professional services (see page 14).
Note: See pages 58-63 for requirements related to blood or marrow stern cell transplant coverage.
Note: See page 14 for special instructions regarding all admissions to Blue Distinction Centers for Transplants.




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  Not covered:                                               All charges                         All charges
  • Transplants for any diagnosis not listed as covered
  • Donor screening tests and donor search expenses,
    except as defined on page 64
  • Implants ofartificial organs, including those
    implanted as a bridge to transplant and/or as
    destination therapy



  Anesthesia (including acupuncture) for covered             Preferred: 15% of the Plan          Preferred: Nothing
  medical or surgical services when requested by the         allowance
  attending physician and performed by:                                                          Participating/Non-participating:
                                                             Participating: 35% of the Plan      You pay all charges
  • a certified registered nurse anesthetist (CRNA), or      allowance
  • a physician other than the physician (or the
    assistant) performing the covered medical or             Non-participating: 35% of the
    surgical procedure                                       Plan allowance, plus any
                                                             difference between our
  Professional services provided in:                         allowance and the billed
                                                             amount
  • Hospital (inpatient)
  • Hospital outpatient department
  • Skilled nursing facility
  • Ambulatory surgical center
  • Office

  Anesthesia services consist of administration by
  injection or inhalation of a drug or other anesthetic
  agent (includmg acupuncture) to obtam muscular
  relaxation, loss of sensation, or loss of consciousness.

  Note: See Section 5(c) for our payment levels for
  anesthesia services billed by a facility.




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                 Section S(c). Services provided by a hospital or other facility,
                                    and ambulance services
          Important things you should keep in mind about these benefits:
          • Please remember that all benefits are subject to the definitions, limitations, and exclusions in this
            brochure and are payable only when we determine they are medically necessary.
          • Be sure to read Section 4, Your costs for covered services, for valuable information about how cost-
            sharing works, with special sections for members who are age 65 or over. Also read Section 9 about
            coordinating benefits with other coverage, including Medicare.
          • YOU MUST GET PRECERTIFICATION FOR HOSPITAL STAYS; FAILURE TO DO SO
            WILL RESULT IN A $500 PENALTY. Please refer to the precertification information listed
            in Section 3 to be sure which services require precertification.
          • YOU MUST GET PRIOR APPROVAL for the following surgical services if they are to be
            performed on an outpatient basis: surgery for morbid obesity; surgical correction of
            congenital anomalies; and outpatient surgery needed to correct accidental injuries (see
            Definitions) to jaws, cheeks, lips, tongue, roof and Ooor of mouth. Please refer to page 17 for
            more information.
          • You should be aware that some PPO hospitals may have non-PPO professional providers on staff.
          • We base payment on whether a facility or a health care professional bills for the services or supplies.
            You will find that some benefits are listed in more than one section of the brochure. This is because
            how they are paid depends on what type of provider bills for the service. For example, physical
            therapy is paid differently depending on whether it is billed by an inpatient facility, a doctor, a
            physical therapist, or an outpatient facility.
          • The amounts listed in this Section are for the charges billed by the facility (i.e., hospital or surgical
            center) or ambulance service, for your inpatient or outpatient surgery or care. Any costs associated
            with the professional charge (i.e., physicians, etc.) are listed in Sections 5(a) or 5(b).
          • PPO benefits apply only when you use a PPO provider. When no PPO provider is available, non-
            PPO benefits apply.
          • Under Standard Option,
            - The calendar year deductible of $350 per person ($700 per family) applies to only a few benefits
              in this Section. Unlike in Sections 5(a) and 5(b), we added "(calendar year deductible applies)"
              when it applies
          • Under Basic Option,
            - There is no calendar year deductible.
            - You must use Preferred providers in order to receive benefits. See page 15 for the
              exceptions to this requirement.




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                Benefit Description                                                        You Pay
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                                                                                          bdo": ·'( caknda1· ~car dl'ductibk
                            applies)." I here   i~   no calendar year deductihle under Basic Option.
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  Room and board, such as:                                     Preferred: $250 per admission       Preferred: $150 per day
  • semiprivate or intensive care accommodations               copayment for unlimited days        copayment up to $750 per
                                                                                                   admission for unlimited days
  • general nursing care                                       Member: $350 per admission
  • meals and special diets                                    copayment for unlimited days,       Member/Non-member: You pay
                                                               plus 35% of the Plan allowance      all charges
  Note: We cover a private room only when you must             Non-member: $350 per
  be isolated to prevent contagion, when your isolation        admission copayment for
  is required by law, or when a Preferred or Member            unlimited days, plus 35% of the
  hospital only has private rooms. If a Preferred or           Plan allowance, and any
  Member hospital only has private rooms, we base our          remaining balance after our
  payment on the contractual status of the facility. If a      payment
  Non-member hospital only has private rooms, we
  base our payment on the Plan allowance for your type         Note: If you are admitted to a
  of admission. Please see page 129 for more                   Member or Non-member
  information.                                                 facility due to a medical
                                                               emergency or accidental
                                                               injury, you pay a $350 per
                                                               admission copayment for
                                                               unlimited days and we then
                                                               provide benefits at 100% of the
                                                               Plan allowance.
  Other hospital services and supplies, such as:               Preferred: $250 per admission       Preferred: $150 per day
  • Operating, recovery, maternity, and other treatment        copayment for unlimited days        copayment up to $750 per
    rooms                                                                                          admission for unlimited days
                                                               Note: For facility care related
  • Prescribed drugs                                           to maternity, including care at     Note: For Preferred facility
  • Diagnostic laboratory tests, pathology services,           birthing facilities, we waive the   care related to maternity
    MRls, machine diagnostic tests, and X-rays                 per admission copayment and         (including inpatient facility
                                                               pay for covered services in full    care, care at birthing facilities,
  • Administration of blood or blood plasma                    when you use a Preferred            and services you receive on an
  • Dressings, splints, casts, and sterile tray services       facility.                           outpatient basis), your
  • Internal prosthetic devices                                                                    responsibility for the covered
                                                               Member: $350 per admission          services you receive is limited
  • Other medical supplies and equipment, including            copayment for unlimited days,       to $150 per admission.
    oxygen                                                     plus 35% of the Plan allowance
  • Anesthetics and anesthesia services                                                            Member/Non-member: You pay
                                                               Non-member: $350 per                all charges
  • Take-home items                                            admission copayment for
  • Pre-admission testing recognized as part of the            unlimited days, plus 35% of the
    hospital admissions process                                Plan allowance, and any
                                                               remaining balance after our
  • Nutritional counseling                                     payment
  • Acute inpatient rehabilitation

  Note: Here are some things to keep in mind:
  • You do not need to precertify your normal delivery·
    see page 16 for other circumstances, such as
    extended stays for you or your baby.

                                                                                        Inpatient hospital - continued on next page



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